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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                          April 27, 2023
                       IN THE UNITED STATES BANKRUPTCY COURT                                           Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                            )
In re:                                                      )        Chapter 11
                                                            )
LOYALTY VENTURES INC., et al.,1                             )        Case No. 23-90111 (CML)
                                                            )
                                   Debtors.                 )        (Jointly Administered)
                                                            )

              ORDER CONFIRMING THE DEBTORS’ JOINT
         CHAPTER 11 PLAN AND APPROVING ON A FINAL BASIS
   THE DISCLOSURE STATEMENT OF LOYALTY VENTURES INC. AND ITS
DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

The above-captioned Debtors having:

         a.      commenced, on March 10, 2023 (the “Petition Date”), these chapter 11 cases
                 (the “Chapter 11 Cases”) by filing voluntary petitions in the United States
                 Bankruptcy Court for the Southern District of Texas (this “Court”) for relief under
                 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

         b.      continued to operate their businesses and manage their properties as debtors in
                 possession in accordance with Bankruptcy Code sections 1107(a) and 1108;

         c.      filed, on April 26, 2023, the First Amended Combined Disclosure Statement and
                 Joint Chapter 11 Plan of Loyalty Ventures Inc. and its Debtor Affiliates Pursuant
                 to Chapter 11 of the Bankruptcy Code [Docket No. 200] (as amended,
                 the “Disclosure Statement,” “Combined DS and Plan” or “Plan”), which is attached
                 hereto as Exhibit A2 as amended, supplemented or otherwise modified from time
                 to time;

         d.      obtained, on March 21, 2023, entry of the Order: (I) Conditionally Approving the
                 Disclosure Statement; (II) Approving the Combined Hearing Notice;
                 (III) Approving the Solicitation and Notice Procedures; (IV) Approving the Forms
                 of Ballot and Notices; (V) Approving Certain Dates and Deadlines in Connection
                 with the Solicitation and Confirmation of the Plan; and (VI) Scheduling a
                 Combined Hearing on (A) Final Approval of the Disclosure Statement and

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    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ tax identification numbers,
    are: Loyalty Ventures Inc. (3472); LVI Lux Holdings S.à r.l (5350); LVI Sky Oak LLC (1657); and Rhombus
    Investments L.P. (7493). The location of the Debtors’ service address for purposes of these chapter 11 cases is:
    8235 Douglas Avenue, Suite 1200, Dallas, Texas 75225.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.
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       (B) Confirmation of the Plan [Docket No. 136] (the “Disclosure Statement Order”),
       which conditionally approved the Plan and Disclosure Statement, the solicitation
       procedures (the “Solicitation Procedures”) and the related notices, forms and
       ballots (collectively, the “Solicitation Packages”);

e.     caused the Solicitation Packages and the Notice of (A) Deadline to Cast Votes to
       Accept or Reject the Plan, (B) Combined Hearing to Consider Approval of the
       Disclosure Statement and Confirmation of the Plan, (C) Deadline to Object to
       Confirmation, (D) Notice of Objection and Opt Out Rights and (E) Related Matters
       and Procedures (the “Combined Hearing Notice”) to be distributed on or about
       March 24, 2023, in accordance with the Bankruptcy Code, the Federal Rules of
       Bankruptcy Procedure (the “Bankruptcy Rules”), the Disclosure Statement Order
       and the Solicitation Procedures, as evidenced by, among other things, the Affidavits
       of Service of Mailings for the Period from March 22, 2023 through March 28, 2023
       [Docket No. 171] (the “Solicitation Affidavit”);

f.     filed, on April 13, 2023, the Notice of Filing of Plan Supplement [Docket No. 186];
       and

g.     filed, on April 26, 2023, the Declaration of Craig E. Johnson of Kroll
       Restructuring Administration LLC Regarding the Solicitation of Votes and
       Tabulation of Ballots Cast on the Joint Chapter 11 Plan of Loyalty Ventures Inc.
       and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket
       No. 199] (the “Final Voting Report”).

This Court having:

a.     entered the Disclosure Statement Order conditionally approving the Disclosure
       Statement on March 21, 2023;

b.     set April 20, 2023 at 4:00 p.m. (prevailing Central Time) as the deadline for voting
       on the Plan;

c.     set April 20, 2023 at 4:00 p.m. (prevailing Central Time) as the deadline for filing
       objections to the Plan and Disclosure Statement (the “Plan Objection Deadline”);

d.     set April 27, 2023 at 1:00 p.m. (prevailing Central Time) as the date and time for
       the commencement of the hearing on final approval of the Disclosure Statement
       and confirmation of the Plan (the “Confirmation Hearing”), in accordance with
       Bankruptcy Rules 3017 and 3018 and Bankruptcy Code sections 1126, 1128 and
       1129;

e.     reviewed the Plan and Disclosure Statement, the Plan Supplement, the Final Voting
       Report and all pleadings, exhibits, declarations, affidavits, statements, responses
       and comments regarding the Disclosure Statement and confirmation of the Plan,
       including all objections, statements and reservations of rights filed by parties in
       interest on the docket of these Chapter 11 Cases;



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       f.      held the Confirmation Hearing;

       g.      heard the statements and arguments made by counsel in respect of confirmation of
               the Plan and final approval of the Disclosure Statement;

       h.      considered all oral representations, live testimony, written direct testimony,
               exhibits, documents, filings and other evidence presented at the Confirmation
               Hearing;

       i.      made rulings on the record at the Confirmation Hearing held on April 27, 2023;

       j.      overruled any and all objections to the Disclosure Statement and to confirmation of
               the Plan, except as otherwise stated or indicated on the record, and overruled all
               statements and reservations of rights not consensually resolved or withdrawn unless
               otherwise indicated; and

       k.      taken judicial notice of all papers and pleadings filed in these Chapter 11 Cases.

       NOW, THEREFORE, this Court having found that notice of the Confirmation Hearing and

the opportunity for any party in interest to object to confirmation of the Plan and final approval of

the Disclosure Statement have been adequate and appropriate as to all parties affected or to be

affected by the Combined DS and Plan and the transactions contemplated thereby; and this Court

having considered the record in these Chapter 11 Cases, the Final Voting Report, the compromises

and the settlements embodied in and contemplated by the Plan, the arguments regarding

confirmation of the Plan, the evidence regarding confirmation of the Plan; and the Confirmation

Hearing having been held on April 27, 2023; and after due deliberation, and based upon the

additional findings of fact and conclusions of law on the record pursuant to Bankruptcy Rule 7052,

which are incorporated herein, it is HEREBY DETERMINED, FOUND, ADJUDGED,

DECREED, AND HELD THAT:

A.     Jurisdiction and Venue

       1.      Venue in this Court was proper as of the Petition Date and continues to be proper

under 28 U.S.C. §§ 1408 and 1409. Confirmation of the Plan is a core proceeding under 28 U.S.C.

§ 157(b)(2). This Court has subject matter jurisdiction over this matter under 28 U.S.C. § 1334.



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This Court has exclusive jurisdiction to determine whether the Plan complies with the applicable

provisions of the Bankruptcy Code and should be confirmed and to enter a final order with respect

thereto.

B.     Commencement of the Chapter 11 Cases

       2.       On the Petition Date, the Debtors commenced the Chapter 11 Cases. The Debtors

have operated their businesses and managed their properties as debtors in possession pursuant to

Bankruptcy Code sections 1107(a) and 1108. No request for the appointment of a trustee or

examiner has been made in the Chapter 11 Cases.

C.     Burden of Proof—Confirmation of the Plan

       3.       The Debtors, as proponents of the Plan, have met their burden of proving the

applicable elements of Bankruptcy Code sections 1129(a) and 1129(b) by a preponderance of the

evidence, which is the applicable evidentiary standard for confirmation of the Plan. In addition,

and to the extent applicable, the Plan is confirmable under a clear and convincing evidentiary

standard.

D.     Notice

       4.       As evidenced by the Solicitation Affidavit and the Final Voting Report, the Debtors

provided due, adequate and sufficient notice of the Combined DS and Plan, the Confirmation

Hearing and all of the other materials distributed by the Debtors in connection with the

confirmation of the Plan in compliance with the Bankruptcy Rules, including Bankruptcy Rules

2002(b), 3017, 3019 and 3020(b), the Bankruptcy Local Rules of the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Local Rules”) and the procedures set

forth in the Disclosure Statement Order. The Debtors provided due, adequate and sufficient notice

of the Plan Objection Deadline, the Confirmation Hearing and any applicable bar dates and




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hearings described in the Disclosure Statement Order in compliance with the Bankruptcy Code,

the Bankruptcy Rules, the Bankruptcy Local Rules and the Disclosure Statement Order.

E.     Voting

       5.       Votes to accept or reject the Plan have been solicited and tabulated fairly, in good

faith and in a manner consistent with the Bankruptcy Code, the Bankruptcy Rules and the orders

of this Court. Class 1, Class 2 and Class 5 are unimpaired, presumed to accept and not entitled to

vote on the Plan. Class 6, Class 7, Class 8 and Class 9 are impaired, deemed to reject and not

entitled to vote on the Plan. Class 3 and Class 4 are impaired under the Plan and are entitled to

vote on the Plan. Class 3 voted to accept the Plan and Class 4 voted to reject the Plan. See Docket

No. 199.

F.     Approval of Disclosure Statement and Confirmation of the Plan

       6.       The Disclosure Statement is APPROVED on a final basis under Bankruptcy Code

section 1125, and all objections, statements and reservations of rights with respect to the

Disclosure Statement are overruled.

       7.       The Plan, a copy of which is attached hereto as Exhibit A, is CONFIRMED

pursuant to Bankruptcy Code section 1129. The terms of the Plan are incorporated by reference

into, and are an integral part of, this Confirmation Order.

       8.       Any resolution or disposition of objections to confirmation of the Plan explained

or otherwise ruled upon by this Court on the record at the Confirmation Hearing is hereby

incorporated by reference. All parties had a full and fair opportunity to be heard on all issues

raised by objections to confirmation of the Plan or approval of the Disclosure Statement. Any and

all objections to confirmation of the Plan or approval of the Disclosure Statement that have not

been withdrawn or resolved as of the entry of this Confirmation Order are hereby overruled on

their merits. All withdrawn objections are deemed withdrawn with prejudice.


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       9.      The exhibits to the Plan and the documents contained in the Plan Supplement are

integral to and part of the Plan and are approved by this Court, and the Debtors are authorized and

directed to take all actions required or appropriate under the Plan and in all documents related to

the Plan and the transactions contemplated thereby, including, for the avoidance of doubt, the

transactions described more fully in Article VIII of the Plan.

       10.     The terms of the Plan, the Plan Supplement and any exhibits thereto are

incorporated herein by reference, and are nonseverable from, mutually dependent on and an

integral part of this Confirmation Order. The terms of the Plan, the Plan Supplement and all

exhibits thereto, and all other relevant and necessary documents shall be effective and binding as

of the Effective Date (unless (a) different date(s) is/are specified in the applicable foregoing

documents, in which case the applicable terms shall be effective and binding on such date(s)) on

the Debtors, any holder of a Claim or Interest, whether or not the Claim or Interest is impaired

under the Plan and whether or not the holder of such Claim or Interest has accepted the Plan, and

any other party in interest. The failure to specifically include or refer to any particular article,

section or provision of the Plan, the Plan Supplement or any related document in this Confirmation

Order does not diminish or impair the effectiveness or enforceability of such article, section or

provision.

       11.     The compromises and settlements set forth in the Plan (including the Plan

Supplement) are approved, and will be effective immediately and binding on all parties in interest

on the Effective Date (unless (a) different date(s) is/are specified in the applicable foregoing

documents, in which case the applicable terms shall be effective and binding on such date(s)).

       12.     On the Effective Date (unless (a) different date(s) is/are specified in the applicable

foregoing documents, in which case the applicable terms shall be effective and binding on such




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date(s)), the Debtors are authorized to consummate the Plan and the transactions contemplated

thereby, including the distributions of cash and payment of fees contemplated thereby.

G.      Allowed Loan Claims

        13.     For purposes of the Plan:

     a. The Allowed Revolving Loan Claims include: (i) $32,000,000.00 of outstanding principal
        of the Revolving Loans, (ii) $448,312.80 of accrued interest on the Revolving Loans, (iii)
        $103,631.18 of accrued commitment fees, (iv) $5,235.00 of accrued letter of credit fees,
                                                     xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        and (v) $8,506.65 of accrued fronting fees. In addition to the outstanding Revolving Loans,
         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        the following letters of credit (collectively, the “L/Cs”) were also outstanding as of the
         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        Petition Date and remain outstanding as of the date of this Confirmation Order: (i) L/C in
        xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        the  face amount of 7,500,000 Euros issued for the account of BrandLoyalty France
         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        S.A.R.L,  and (ii) L/C in the face amount of 100,000 Canadian dollars issued for the account
         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        of LoyaltyOne, Co. To the extent any of the L/Cs are drawn, the applicable amount(s) of
         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        such  L/C(s) shall be automatically added to the principal amount of the Allowed Revolving
        xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        Loan   Claims without the need for any further action or order of this Court.

     b. The Allowed Term A Loan Claims include: (i) $161,875,000.00 of outstanding principal
        of the Term A Loans, and (ii) $1,767,320.23 of accrued interest on the Term A Loans.

     c. The Allowed Term B Loan Claims include: (i) $ 462,500,000.00 of outstanding principal
        of the Term B Loans, (ii) $5,410,616.41 of accrued interest on the Term B Loans, and (iii)
        a prepayment premium in the amount of $9,250,000.00 (the “Prepayment Premium”).

The amounts listed above reflect amounts owing under the Credit Agreement as of the Petition

Date. Distributions on account of the Allowed Loan Claims under the Plan shall be in accordance

with the Plan and the Liquidating Trust Agreement. Notwithstanding anything to the contrary in

the Plan, the inclusion of the Prepayment Premium as part of the Allowed Term B Claims is not a

determination as to the entitlement to the payment of such amount under applicable law or the

Credit Agreement and all parties’ rights on those issues are reserved.

H.      Assumption, Assignment and Rejection of Executory Contracts and Unexpired
        Leases

        14.     Except as otherwise previously approved by an order of this Court, entry of this

Confirmation Order shall constitute an order, pursuant to Bankruptcy Code sections 365 and 1123,

approving the assumptions, assumptions and assignments, and rejections of such Executory


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Contracts and Unexpired Leases. Notwithstanding anything to the contrary in the Plan, the

Debtors and Liquidating Trustee, as applicable, may alter, amend, modify, or supplement the

Schedule of Assumed Executory Contracts and Unexpired Leases (the “Schedule” or “Schedules”)

in accordance with the terms of the Transaction Support Agreement at any time through and

including ninety (90) days after the Effective Date. The Debtors or the Liquidating Trustee, as

applicable, shall file any such amended Schedule(s) on the docket of these Chapter 11 Cases and

serve any such amended Schedule(s) on each non-Debtor counterparty whose Executory Contract

or Unexpired Lease is added or removed from the Schedule. Unless otherwise indicated herein or

the Plan Supplement, assumptions, assumptions and assignments, and rejections of Executory

Contracts and Unexpired Leases pursuant to the Plan shall be effective on the ninetieth (90th) day

after the Effective Date. The assumption of Executory Contracts and Unexpired Leases under the

Plan may include, among other things, the assignment of certain of such Executory Contracts and

Unexpired Leases to Affiliates or Entities in connection with the Successful Bid under the SISP.

       15.     To the maximum extent permitted by law, to the extent any provision (including,

without limitation, any “change of control” provision) in any Executory Contract or Unexpired

Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is

breached or deemed breached by, the assumption of such Executory Contract or Unexpired Lease,

then such provision is hereby deemed modified such that the transactions contemplated by the Plan

shall not entitle the counterparty thereto to terminate such Executory Contract or Unexpired Lease

or to exercise any other default-related rights with respect thereto, except for asserting and

pursuing payment of a Cure Claim consistent with the Plan.

       16.     The Debtors shall continue to make payments in the ordinary course under each

Executory Contract listed on the Schedule until such time as an Executory Contract is removed




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from the Schedule and rejected. With respect to any Executory Contract or Unexpired Lease

assumed by the Debtors, any Cure Claim amount shall be satisfied, pursuant to Bankruptcy Code

section 365(b)(1), by payment in the ordinary course or as soon as reasonably practicable

thereafter, with the amount and timing of payment of any such Cure Claim dictated by the Debtors’

ordinary course of business, the effective date of the assumption or as otherwise agreed or ordered

by the Court. With respect to any Executory Contract or Unexpired Lease assumed by the Debtors

and assigned to a third party, any Cure Claim amount shall be satisfied by the assignee, pursuant

to Bankruptcy Code section 365(b)(1), by payment on the effective date of such assumption and

assignment or as soon as reasonably practicable thereafter or as otherwise agreed or ordered by the

Court.

         17.   Payment of an Allowed Cure Claim upon the effective date of the assumption of

any Executory Contract or Unexpired Lease pursuant to the Plan and in the ordinary course, shall

result in the full release and satisfaction of any Cures, Claims or defaults, whether monetary or

nonmonetary, including defaults of provisions restricting the change in control or ownership

interest composition or other bankruptcy-related defaults, under such Executory Contract or

Unexpired Lease occurring at any time prior to the effective date of the assumption.

         18.   A Claim for damages resulting from the rejection of an Executory Contract or

Unexpired Lease shall be classified as a Convenience Claim or General Unsecured Claim, as

applicable, and shall be treated in accordance with Article VII of the Plan. The Holder of a Claim

for damages resulting from the rejection of an Executory Contract or Unexpired Lease must file a

Proof of Claim with the Debtors’ Claims and Noticing Agent within thirty (30) days of the effective

date of the rejection of the Executory Contract or Unexpired Lease, or its Claim shall be barred

forever.




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I.     Releases by the Debtors

       19.    The releases by the Debtors in Article XII.B of the Plan are approved as set forth

below and in the Plan.

       Releases by the Debtors

            NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN
       TO THE CONTRARY OTHER THAN ARTICLE IV.K.2. OF THE
       COMBINED DS AND PLAN, PURSUANT TO BANKRUPTCY CODE
       SECTION 1123(B) AND TO THE FULLEST EXTENT ALLOWED BY
       APPLICABLE LAW, FOR GOOD AND VALUABLE CONSIDERATION,
       ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED PARTY IS
       DEEMED RELEASED BY THE DEBTORS AND THEIR ESTATES FROM
       ANY AND ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN
       OR UNKNOWN, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED
       OR ASSERTABLE ON BEHALF OF THE DEBTORS OR THEIR ESTATES,
       THAT THE DEBTORS OR THEIR ESTATES WOULD HAVE BEEN
       LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
       INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE
       HOLDER OF ANY CLAIM AGAINST, OR INTEREST IN, A DEBTOR OR
       OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY MANNER
       ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS (INCLUDING
       THE MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY
       SECURITIES ISSUED BY THE DEBTORS AND THE OWNERSHIP
       THEREOF, THE DEBTORS’ IN- OR OUT-OF-COURT RESTRUCTURING
       EFFORTS AND CONTEMPLATED LIQUIDATION, ANY AVOIDANCE
       ACTIONS, ANY INTERCOMPANY TRANSACTION, THE CHAPTER 11
       CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
       NEGOTIATION, OR FILING OF THE TRANSACTION SUPPORT
       AGREEMENT, THE DISCLOSURE STATEMENT, THE DIP FACILITY,
       THE PLAN, THE PLAN SUPPLEMENT, OR ANY CONTRACT,
       INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT
       CREATED OR ENTERED INTO IN CONNECTION WITH THE
       TRANSACTION SUPPORT AGREEMENT, THE DISCLOSURE
       STATEMENT, THE DIP FACILITY, THE PLAN, THE PLAN
       SUPPLEMENT, THE CHAPTER 11 CASES, THE FILING OF THE
       CHAPTER 11 CASES, THE DIP FACILITY DOCUMENTS,
       SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION
       NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF
       CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
       ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, THE
       DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
       RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
       OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
       OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE


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       DATE, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION
       THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
       COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
       FRAUD, WILLFUL      MISCONDUCT OR GROSS NEGLIGENCE.
       NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
       FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
       (A) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR
       ENTITY UNDER THE PLAN, OR ANY DOCUMENT, INSTRUMENT, OR
       AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR (B)
       OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND CASH
       COLLATERAL ORDERS THAT, BY THEIR EXPRESS TERMS, SURVIVE
       THE TERMINATION OF THE CREDIT AGREEMENT OR DIP AND CASH
       COLLATERAL ORDERS.
             ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE
       THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
       BANKRUPTCY RULE 9019, OF THE DEBTOR RELEASE, WHICH
       INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS
       AND DEFINITIONS CONTAINED IN THE PLAN, AND FURTHER,
       SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
       THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND
       VALUABLE CONSIDERATION PROVIDED BY THE RELEASED
       PARTIES, INCLUDING, WITHOUT LIMITATION, THE RELEASED
       PARTIES’ CONTRIBUTIONS TO FACILITATING THE CHAPTER 11
       CASES AND IMPLEMENTING THE PLAN; (B) A GOOD FAITH
       SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
       THE DEBTOR RELEASE; (C) IN THE BEST INTERESTS OF THE
       DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR,
       EQUITABLE, AND REASONABLE; (E) GIVEN AND MADE AFTER DUE
       NOTICE AND OPPORTUNITY FOR HEARING; AND (F) A BAR TO ANY
       OF THE DEBTORS OR THE DEBTORS’ ESTATES, AS APPLICABLE,
       ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED
       PURSUANT TO THE DEBTOR RELEASE.
             FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD
       PARTIES SHALL BE RELEASED PARTIES UNDER THE PLAN, AND (ii)
       NO RELEASE PURSUANT TO THE PLAN SHALL BE PROVIDED TO
       ANY INDIVIDUAL OR ENTITY RELATED TO ANY SPINOFF CLAIM
       AND CAUSE OF ACTION. THE DEBTORS AND THEIR ESTATES ARE
       PRESERVING AND NOT RELEASING ANY SUCH CLAIMS OR CAUSES
       OF ACTION.

J.     Releases by the Releasing Parties

       20.     The releases by the Releasing Parties in Article XII.C of the Plan are approved as

set forth below and in the Plan.

       Releases by Holders of Claims and Interests


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       NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN
 TO THE CONTRARY, AS OF THE EFFECTIVE DATE, AND TO THE
 FULLEST EXTENT ALLOWED BY APPLICABLE LAW, EACH
 RELEASING PARTY IS DEEMED TO HAVE RELEASED EACH DEBTOR
 AND RELEASED PARTY FROM ANY AND ALL CLAIMS AND CAUSES
 OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY
 DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF
 THE DEBTORS OR THEIR ESTATES, THAT SUCH ENTITY WOULD
 HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
 INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO,
 OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE
 DEBTORS (INCLUDING THE MANAGEMENT, OWNERSHIP OR
 OPERATION THEREOF), ANY SECURITIES ISSUED BY THE DEBTORS
 AND THE OWNERSHIP THEREOF, THE DEBTORS’ IN- OR OUT-OF-
 COURT RESTRUCTURING EFFORTS AND CONTEMPLATED
 LIQUIDATION, ANY AVOIDANCE ACTIONS, ANY INTERCOMPANY
 TRANSACTION, THE CHAPTER 11 CASES, THE FORMULATION,
 PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING OF THE
 TRANSACTION SUPPORT AGREEMENT, THE DISCLOSURE
 STATEMENT, THE DIP FACILITY, THE PLAN, THE PLAN
 SUPPLEMENT, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO
 IN CONNECTION WITH THE TRANSACTION SUPPORT AGREEMENT,
 THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE PLAN, THE
 PLAN SUPPLEMENT, THE CHAPTER 11 CASES, THE FILING OF THE
 CHAPTER 11 CASES, THE DIP FACILITY DOCUMENTS,
 SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION
 NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF
 CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
 ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, THE
 DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
 RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
 OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
 OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE
 DATE, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION
 THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
 COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
 FRAUD, WILLFUL      MISCONDUCT OR GROSS NEGLIGENCE.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
 FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
 (A) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR
 ENTITY UNDER THE PLAN, OR ANY DOCUMENT, INSTRUMENT, OR
 AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR (B)
 OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND CASH
 COLLATERAL ORDERS THAT, BY THEIR EXPRESS TERMS, SURVIVE



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       THE TERMINATION OF THE CREDIT AGREEMENT OR DIP AND CASH
       COLLATERAL ORDERS.
            ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE
       THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
       BANKRUPTCY RULE 9019, OF THE THIRD-PARTY RELEASE, WHICH
       INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS
       AND DEFINITIONS CONTAINED IN THE PLAN, AND, FURTHER,
       SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
       THE THIRD-PARTY RELEASE IS: (A) CONSENSUAL; (B) ESSENTIAL
       TO THE CONFIRMATION OF THE PLAN; (C) GIVEN IN EXCHANGE
       FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY
       THE RELEASED PARTIES, INCLUDING, WITHOUT LIMITATION, THE
       RELEASED PARTIES’ CONTRIBUTIONS TO FACILITATING THE
       CHAPTER 11 CASES AND IMPLEMENTING THE PLAN; (D) A GOOD
       FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS
       RELEASED BY THE THIRD-PARTY RELEASE; (E) IN THE BEST
       INTERESTS OF THE DEBTORS AND THEIR CREDITORS; (F) FAIR,
       EQUITABLE, AND REASONABLE; (G) GIVEN AND MADE AFTER DUE
       NOTICE AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY
       OF THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF
       ACTION RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.
            FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD
       PARTIES SHALL BE RELEASED PARTIES UNDER THE PLAN, AND (ii)
       NO RELEASE PURSUANT TO THIS PLAN SHALL BE PROVIDED TO
       ANY INDIVIDUAL OR ENTITY RELATED TO ANY SPINOFF CLAIM
       AND CAUSE OF ACTION. THE RELEASING PARTIES ARE
       PRESERVING AND NOT RELEASING ANY SUCH CLAIMS OR CAUSES
       OF ACTION.

K.     Exculpation

       21.     The exculpation of the Exculpated Parties in Article XII.D of the Plan is approved

as set forth below and in the Plan.

       Exculpation

            NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN
       TO THE CONTRARY, NO EXCULPATED PARTY SHALL HAVE OR
       INCUR LIABILITY FOR, AND EACH EXCULPATED PARTY IS
       RELEASED AND EXCULPATED FROM, ANY CAUSE OF ACTION FOR
       ANY CLAIM RELATED TO ANY ACT OR OMISSION IN CONNECTION
       WITH, RELATING TO, OR ARISING OUT OF THE CHAPTER 11 CASES,
       THE     FORMULATION,      PREPARATION,     DISSEMINATION,
       NEGOTIATION, OR FILING OF THE TRANSACTION SUPPORT
       AGREEMENT AND RELATED NEGOTIATIONS, THE DIP FACILITY,
       THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN


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 SUPPLEMENT, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO
 IN CONNECTION WITH THE TRANSACTION SUPPORT AGREEMENT,
 AND RELATED NEGOTIATIONS. THE DIP FACILITY, THE
 DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENT,
 THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11 CASES,
 AND RELATED NEGOTIATIONS, THE DIP FACILITY DOCUMENTS,
 THE DIP FINANCING ORDERS, SOLICITATION OF VOTES ON THE
 PLAN, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
 CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION
 OF THE PLAN, THE DISTRIBUTION OF PROPERTY UNDER THE PLAN
 OR ANY OTHER RELATED AGREEMENT, OR UPON ANY OTHER
 RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT,
 OR OTHER OCCURRENCE TAKING PLACE ON OR AFTER THE
 PETITION DATE AND ON OR BEFORE THE CONFIRMATION DATE,
 EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
 DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
 JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL
 MISCONDUCT, OR GROSS NEGLIGENCE, BUT IN ALL RESPECTS
 SUCH ENTITIES SHALL BE ENTITLED TO REASONABLY RELY UPON
 THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
 RESPONSIBILITIES PURSUANT TO THE PLAN.
       THE   EXCULPATED     PARTIES   HAVE,   AND    UPON
 CONFIRMATION OF THE PLAN SHALL BE DEEMED TO HAVE,
 PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH THE
 APPLICABLE LAWS WITH REGARD TO THE SOLICITATION OF
 VOTES ON, AND DISTRIBUTION OF CONSIDERATION PURSUANT TO,
 THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH
 DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE
 VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION
 GOVERNING THE SOLICITATION OF ACCEPTANCES OR
 REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE
 PURSUANT TO THE PLAN. NOTWITHSTANDING ANYTHING TO THE
 CONTRARY IN THE FOREGOING, THE EXCULPATION SET FORTH
 ABOVE DOES NOT RELEASE OR EXCULPATE ANY CLAIM RELATING
 TO (A) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY
 OR ENTITY UNDER THE PLAN, OR ANY DOCUMENT, INSTRUMENT
 OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR
 (B) OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND
 CASH COLLATERAL ORDERS THAT, BY THEIR EXPRESS TERMS,
 SURVIVE THE TERMINATION OF THE CREDIT AGREEMENT OR DIP
 AND CASH COLLATERAL ORDERS.
       FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD
 PARTIES SHALL BE EXCULPATED PARTIES UNDER THE PLAN, AND
 (ii) NO EXCULPATION PURSUANT TO THIS PLAN SHALL BE




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         PROVIDED TO ANY INDIVIDUAL OR ENTITY RELATED TO ANY
         SPINOFF CLAIM AND CAUSE OF ACTION.

L.       Injunction

         22.   The injunction in Article XII.E of the Plan is approved as set forth below and in the

Plan.

         Injunction

               EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE
         CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD,
         OR MAY HOLD CLAIMS, INTERESTS, CAUSES OF ACTION, OR
         LIABILITIES THAT: (A) ARE SUBJECT TO COMPROMISE AND
         SETTLEMENT PURSUANT TO THE TERMS OF THE PLAN; (B) HAVE
         BEEN RELEASED PURSUANT TO ARTICLE XII.B. OF THE PLAN; (C)
         HAVE BEEN RELEASED PURSUANT TO ARTICLE XII.C. OF THE
         PLAN; (D) ARE SUBJECT TO EXCULPATION PURSUANT TO ARTICLE
         XII.D. OF THE PLAN; OR (E) ARE OTHERWISE RELEASED,
         SATISFIED, STAYED, OR TERMINATED PURSUANT TO THE TERMS
         OF THE PLAN, ARE PERMANENTLY ENJOINED AND PRECLUDED,
         FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF
         THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
         DEBTORS, THE RELEASED PARTIES, OR THE EXCULPATED
         PARTIES: (1) COMMENCING OR CONTINUING IN ANY MANNER ANY
         ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF
         OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
         CLAIMS     OR   INTERESTS;   (2)  ENFORCING, ATTACHING,
         COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
         JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES
         ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
         ANY SUCH CLAIMS OR INTERESTS; (3) CREATING, PERFECTING, OR
         ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST SUCH
         ENTITIES OR THE PROPERTY OR ESTATES OF SUCH ENTITIES ON
         ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
         ANY SUCH CLAIMS OR INTERESTS; (4) ASSERTING ANY RIGHT OF
         SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST
         ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE
         PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
         CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
         INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH
         SETOFF RIGHT IN A DOCUMENT FILED WITH THE BANKRUPTCY
         COURT     EXPLICITLY   PRESERVING    SUCH    SETOFF,  AND
         NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR
         OTHERWISE THAT SUCH ENTITY ASSERTS, HAS, OR INTENDS TO
         PRESERVE ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE LAW


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       OR OTHERWISE; AND (5) COMMENCING OR CONTINUING IN ANY
       MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
       ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
       ANY SUCH CLAIMS OR INTERESTS RELEASED, EXCULPATED, OR
       SETTLED PURSUANT TO THE PLAN.
            FOR THE AVOIDANCE OF DOUBT, NO (I) CLAIM OR CAUSE OF
       ACTION AGAINST THE BREAD PARTIES OR (II) ANY SPINOFF CLAIM
       AND CAUSE OF ACTION SHALL BE ENJOINED UNDER THE PLAN.

M.     Gatekeeper Provision

       23.     The gatekeeper provision in Article XII.F of the Plan is approved as set forth below

and in the Plan.

               No party may commence, continue, amend, or otherwise pursue, join in, or
       otherwise support any other party commencing, continuing, amending, or pursuing,
       a Claim or Cause of Action of any kind against a Debtor or Released Party that
       arose or arises from or is related to any Covered Claim without first (i) requesting
       a determination from the Bankruptcy Court, after notice and a hearing, that such
       Claim or Cause of Action represents a colorable claim against a Debtor or Released
       Party and is not a Claim that the Debtors released under the Plan, which request
       must attach the complaint or petition proposed to be filed by the requesting party
       and (ii) obtaining from the Bankruptcy Court specific authorization for such party
       to bring such Claim or Cause of Action against any such Debtor or Released Party.
       For the avoidance of doubt, any party that obtains such determination and
       authorization and subsequently wishes to amend the authorized complaint or
       petition to add any Claims or Causes of Action not explicitly included in the
       authorized complaint or petition must obtain authorization from the Bankruptcy
       Court before filing any such amendment in the court where such complaint or
       petition is pending. The Bankruptcy Court will have sole and exclusive jurisdiction
       to determine whether a Claim or Cause of Action is colorable and, only to the extent
       legally permissible, will have jurisdiction to adjudicate the underlying colorable
       Claim or Cause of Action. For the avoidance of doubt, the Bread Parties shall not
       be beneficiaries of this Article XII.F.




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N.     No Release, Injunction or Exculpation of the Bread Parties or Related to the Spinoff
       Transaction

       24.     The provisions in Article XII.J of the Plan denying any release, injunction or

exculpation to the Bread Parties or related to the Spinoff Transaction are approved as set forth

below and in the Plan.

              Notwithstanding any other provision of the Plan, in no event are any of the
       Bread Parties released, exculpated, or the beneficiary of any injunction, gatekeeper
       provision or any other provision of this Article XII of the Plan.

              Further, notwithstanding any other provision of the Plan, in no event is any
       individual or Entity released, exculpated, or the beneficiary of any injunction,
       gatekeeper provision or any other provision of this Article XII of the Plan for any
       Spinoff Claim and Cause of Action.

O.     Implementation of Other Necessary Documents and Agreements

       25.     The Debtors or the Liquidating Trustee, as applicable, are authorized, without

further notice to, or action, order or approval of this Court or any other Person, to execute and

deliver all agreements, documents, instruments and certificates relating to such documents and

agreements and to perform their obligations thereunder, including, without limitation, to pay all

fees, costs and expenses thereunder in accordance with the Plan. The terms and conditions of such

documents and agreements are reaffirmed or approved, as applicable, and shall, upon completion

of documentation and execution, be valid, binding and enforceable.

P.     No Action Required

       26.     Under Bankruptcy Code section 1142(b) and applicable nonbankruptcy law, no

action of the managers or members of the Debtors are required to authorize the Debtors to enter

into, execute, deliver, file, adopt, amend, restate, consummate or effectuate, as the case may be,

the Plan and any contract, instrument or other document to be executed, delivered, adopted or

amended in connection with the implementation of the Plan.




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Q.     Enforceability of Plan Documents

       27.     Pursuant to the provisions of this Confirmation Order and Bankruptcy Code

sections 1123(a) and 1142(a), the Plan, the Disclosure Statement, this Confirmation Order, the

Plan Supplement and all implementing Plan documents (collectively, the “Plan Documents”) shall

apply and be enforceable notwithstanding any otherwise applicable bankruptcy law.

R.     Exemption from Transfer Tax and Recording Fees

       28.     Pursuant to Bankruptcy Code section 1146, the assignment or surrender of any lease

or sublease, and the delivery of any deed or other instrument or transfer order, in furtherance of,

or in connection with the Plan, including any deeds or assignments executed in connection with

any disposition or transfer of assets contemplated under the Plan, shall not be subject to any stamp,

real estate transfer, mortgage recording or other similar tax.

S.     Preservation of Preserved Estate Claims

       29.     Except as provided in the Plan, the Confirmation Order or in any contract,

instrument, release or other agreement entered into or delivered in connection with the Plan, in

accordance with Bankruptcy Code section 1123(b), the Liquidating Trust will retain and may

enforce any Preserved Estate Claim that any Estate or Debtor may hold, including the Spinoff

Claims and Causes of Action, against any Entity, including but not limited to the Bread Parties,

but excluding the Lenders or the Administrative Agent. The Liquidating Trust may pursue any

such Preserved Estate Claims in accordance with the Plan and the Liquidating Trust Agreement.

The Debtors’ inclusion or failure to include or describe with sufficient specificity any Preserved

Estate Claim on the Schedule of Preserved Estate Claims shall not be deemed an admission, denial

or waiver of any Preserved Estate Claim that the Debtors or Estates may hold, other than with

respect to the Administrative Agent and the Lenders. The Debtors have preserved all Preserved

Estate Claims, other than any claim or Cause of Action against the Lenders or Administrative


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Agent and any claim or Cause of Action against a Released Party (to the extent such claim or

Cause of Action is released in Article XII of the Plan). With respect to all Causes of Action, for

the avoidance of doubt, no claim, Cause of Action or related enforcement action against the

Administrative Agent, the Lenders or the DIP Lender and its directors and officers shall be

preserved by the Debtors, nor shall the Liquidating Trustee have the right or authority to pursue

claims and Causes of Action against the Administrative Agent, any of the Lenders or the DIP

Lender and its directors and officers.

T.     Prosecution of the Preserved Estate Claims

       30.     Pursuant to Article VIII.N of the Plan, the Debtors or the Liquidating Trustee, as

applicable, are authorized to establish the Liquidating Trust in accordance with the Plan and the

Liquidating Trust Agreement for the benefit of the Liquidating Trust Beneficiaries. On the

Effective Date, the Debtors are authorized to transfer to the Liquidating Trust all of the Debtors’

and Estates’ rights, title and interest in and to all of the Liquidating Trust Assets (which, for the

avoidance of doubt, are defined to include the Preserved Estate Claims). Concurrently with this

transfer, the Liquidating Trustee is authorized to investigate, prosecute and settle Preserved Estate

Claims, monetize the Liquidating Trust Assets and make distributions, each in accordance with

the Plan, this Confirmation Order and the Liquidating Trust Agreement. For the avoidance of

doubt, the Liquidating Trust is an Entity organized for the purpose of carrying out the Plan, and

the Liquidating Trustee’s prosecution and liquidation, following the Effective Date, of the

Preserved Estate Claims for the benefit of Liquidating Trust Beneficiaries (as provided in Articles

VI and VII of the Plan) are important and integral elements of the implementation and execution

of the Plan and are necessary for the consummation of the Plan.




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U.     Release of Liens

       31.     Except as otherwise specifically provided in the Plan, this Confirmation Order, or

in any contract, instrument, release, or other agreement or document created pursuant to the Plan,

on the Effective Date and concurrently with the applicable distributions made pursuant to the Plan,

all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the

Estates shall be fully released, and all of the right, title, and interest of any Holder of such

mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the Debtors and

their successors and assigns, and all Claims against the Estates shall be fully released, in each case,

without any further approval or order of the Court and without any action or Filing being required

to be made by the Debtors, the Administrative Agent or any other Holder of a Secured Claim;

provided, however, notwithstanding the foregoing or anything to the contrary contained in the

Plan, on the later of (a)the Effective Date and (b) the date of the distribution of the cash proceeds

(the “BL Proceeds”) arising from the BL Closing, all mortgages, deeds of trust, Liens, pledges

and/or other security interests in favor of the Administrative Agent securing the obligations under

the Credit Agreement (other than any such mortgages, deeds of trust, Liens, pledges and/or other

security interests in the assets of LoyaltyOne or the BL Proceeds that constitute collateral securing

the obligations under the Credit Agreement) shall be automatically released, and all Claims against

obligors under the Credit Agreement (other than Claims against LoyaltyOne) shall be released, in

each case without any further approval or order of the Court and without any action, distribution

or Filing being required to be made by the Debtors, LoyaltyOne, the Administrative Agent or any

other Holder of a Secured Claim. In addition, at the sole expense of the Debtors, the

Administrative Agent shall execute and deliver all documents reasonably requested by the Debtors

to evidence the release of such mortgages, deeds of trust, Liens, pledges, and other security

interests and such Claims and hereby authorizes the Debtors and their designees to file UCC-3


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termination statements and other release documentation (to the extent applicable) with respect

thereto.

V.     Plan Modification

       32.     All modifications made to the Plan after solicitation of votes on the Plan had

commenced, as reflected in the First Amended Combined Disclosure Statement and Joint

Chapter 11 Plan of Loyalty Ventures Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the

Bankruptcy Code and this Confirmation Order, satisfy the requirements of Bankruptcy Code

section 1127(a) and Bankruptcy Rule 3019, and are not material or do not adversely affect the

treatment and rights of the holders of any Claims or Equity Interests under the Plan who have not

otherwise accepted such modifications. Accordingly, the Debtors have satisfied Bankruptcy Code

section 1127(c) and Bankruptcy Rule 3019 with respect to the Plan, as modified, and holders of

Claims or Equity Interests that have accepted or rejected the Plan (or are deemed to have accepted

or rejected the Plan) are deemed to have accepted or rejected, as the case may be, the Plan as

modified pursuant to Bankruptcy Code section 1127(d) and Bankruptcy Rule 3019.

W.     Continued Effect of Stays and Injunctions

       33.     Unless otherwise provided in the Plan or this Confirmation Order, all injunctions

or stays in effect in these Chapter 11 Cases pursuant to Bankruptcy Code sections 105 or 362 or

any order of this Court, and extant on the Confirmation Date (excluding any injunctions or stays

contained in the Plan or the Confirmation Order) shall remain in full force and effect until the

Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall

remain in full force and effect in accordance with their terms.




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X.     Waiver of Any Additional Section 341 Meeting of Creditors or Equity Holders;
       Waiver of Filings

       34.      Any requirement under Bankruptcy Code section 341 for the U.S. Trustee to

convene any additional meeting of creditors or equity holders is permanently waived as of the

Confirmation Date. Any requirement for the Debtors to file schedules of assets and liabilities and

statements of financial affairs, any reports pursuant to Bankruptcy Rule 2015.3 or any other list,

schedule or statement pursuant to Bankruptcy Code sections 521 or Bankruptcy Rule 1007 not

filed on the Confirmation Date is permanently waived as of the Confirmation Date.

Y.     Reporting

       35.      After the Effective Date, the Debtors or the Liquidating Trustee, as applicable, shall

have no obligation to provide any reports to any parties otherwise required under any “first day”

or other orders entered in the Chapter 11 Cases; provided, that the Liquidating Trustee shall

provide such reports as required by the Liquidating Trust Agreement.

Z.     Substantial Consummation

       36.      On the Effective Date, the Plan shall be deemed to be substantially consummated

under Bankruptcy Code sections 1101 and 1127.

AA.    Waiver of 14-Day Stay

       37.      Notwithstanding Bankruptcy Rule 3020(e), the terms and conditions of this

Confirmation Order will be effective and enforceable immediately upon its entry, and not subject

to any stay.



Signed:
          August
          April 27, 02,
                    20232019
                                               CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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                  Exhibit A to the Confirmation Order
                        Combined DS and Plan
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

                                                                    )
In re:                                                              )         Chapter 11
                                                                    )
LOYALTY VENTURES INC., et al.,1                                     )         Case No. 23-90111 (CML)
                                                                    )
                                        Debtors.                    )         (Jointly Administered)
                                                                    )

                    FIRST AMENDED COMBINED DISCLOSURE STATEMENT
                AND JOINT CHAPTER 11 PLAN OF LOYALTY VENTURES INC. AND
         ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

JACKSON WALKER LLP                                                 AKIN GUMP STRAUSS HAUER & FELD LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                         Philip C. Dublin (admitted pro hac vice)
Jennifer F. Wertz (TX Bar No. 24072822)                            Meredith A. Lahaie (admitted pro hac vice)
J. Machir Stull (TX Bar No. 24070697)                              One Bryant Park
Victoria Argeroplos (TX Bar No. 24105799)                          New York, New York 10036
1401 McKinney Street, Suite 1900                                   Telephone: (212) 872-1000
Houston, Texas 77010                                               Facsimile: (212) 872-1002
Telephone: (713) 752-4200                                          Email: pdublin@akingump.com
Facsimile: (713) 752-4221                                                   mlahaie@akingump.com
Email: mcavenaugh@jw.com
         jwertz@jw.com                                             -and-
         mstull@jw.com
         vargeroplos@jw.com                                        AKIN GUMP STRAUSS HAUER & FELD LLP
                                                                   Marty L. Brimmage, Jr. (TX Bar No. 00793386)
Proposed Co-Counsel to the Debtors and                             Lacy M. Lawrence (TX Bar No. 24055913)
Debtors in Possession                                              Rachel Biblo Block (TX Bar No. 24097382)
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                                                                   Dallas, Texas 75201
                                                                   Telephone: (214) 969-2800
                                                                   Facsimile: (214) 969-4343
                                                                   Email: mbrimmage@akingump.com
                                                                            llawrence@akingump.com
                                                                            rbibloblock@akingump.com

                                                                   Proposed Co-Counsel to the Debtors and Debtors in
                                                                   Possession




1    The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ tax identification numbers, are: Loyalty
     Ventures Inc. (3472); LVI Lux Holdings S.à r.l. (5350); LVI Sky Oak LLC (1657); and Rhombus Investments L.P. (7493).
     The location of the Debtors’ service address for purposes of these chapter 11 cases is: 8235 Douglas Avenue, Suite 1200,
     Dallas, TX 75225.
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  IMPORTANT INFORMATION ABOUT THE COMBINED DISCLOSURE STATEMENT AND PLAN

      THE DEBTORS ARE SOLICITING VOTES ON THE COMBINED DISCLOSURE STATEMENT
AND JOINT CHAPTER 11 PLAN OF LOYALTY VENTURES INC. AND ITS DEBTOR AFFILIATES
PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE FROM THE HOLDERS OF CLAIMS IN:
CLASS 3 LOAN CLAIMS AND CLASS 4 GENERAL UNSECURED CLAIMS.

     TO BE COUNTED FOR VOTING PURPOSES, YOUR BALLOT MUST BE RECEIVED BY THE
CLAIMS AND NOTICING AGENT NOT LATER THAN APRIL 20, 2023 AT 4:00 P.M. (PREVAILING
CENTRAL TIME).


           IF YOU HAVE A CLASS 3                            IF YOU HAVE A CLASS 4
               LOAN CLAIM:                                GENERAL UNSECURED CLAIM

 YOU ARE RECEIVING THIS DOCUMENT AND               YOU ARE RECEIVING THIS DOCUMENT AND
 THE ACCOMPANYING MATERIALS BECAUSE                THE ACCOMPANYING MATERIALS BECAUSE
 YOU ARE ENTITLED TO VOTE ON THE PLAN.             YOU ARE ENTITLED TO VOTE ON THE PLAN.

           DELIVERY OF BALLOTS                               DELIVERY OF BALLOTS

  CLASS 3 LOAN CLAIM BALLOTS MAY BE                 CLASS 4 GENERAL UNSECURED BALLOTS
 RETURNED BY THE FOLLOWING METHODS:                 MAY BE RETURNED BY THE FOLLOWING
                                                                 METHODS:
 BY E-BALLOT AT: https://cases.ra.kroll.com/LVI
                                                   BY E-BALLOT AT: https://cases.ra.kroll.com/LVI
  BY FIRST CLASS MAIL, OVERNIGHT MAIL
          OR HAND DELIVERY AT:                      BY FIRST CLASS MAIL, OVERNIGHT MAIL
                                                            OR HAND DELIVERY AT:
  Loyalty Ventures Inc. Ballot Processing Center
   c/o Kroll Restructuring Administration LLC       Loyalty Ventures Inc. Ballot Processing Center
           850 Third Avenue, Suite 412               c/o Kroll Restructuring Administration LLC
               Brooklyn, NY 11232                            850 Third Avenue, Suite 412
                                                                 Brooklyn, NY 11232
  PLEASE CHOOSE ONLY ONE METHOD TO
         RETURN YOUR BALLOT.                        PLEASE CHOOSE ONLY ONE METHOD TO
                                                           RETURN YOUR BALLOT.
   CLASS 3 BALLOTS MUST BE ACTUALLY
  RETURNED TO THE SOLICITATION AGENT                 CLASS 4 BALLOTS MUST BE ACTUALLY
  BY THE VOTING DEADLINE, AS DIRECTED               RETURNED TO THE SOLICITATION AGENT
             ON THE BALLOT.                         BY THE VOTING DEADLINE, AS DIRECTED
                                                               ON THE BALLOT.
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              IF YOU HAVE ANY QUESTIONS REGARDING THE PROCEDURE FOR
            VOTING ON THE PLAN, PLEASE CONTACT THE SOLICITATION AGENT AT:

                      BY EMAIL TO: LVIBALLOTS@RA.KROLL.COM, OR BY
                   TELEPHONE AT: (833) 570-5238 (TOLL FREE, US AND CANADA),
                               (646) 440-4764 (INTERNATIONAL)

          The Bankruptcy Court has established April 20, 2023, at 4:00 p.m. (prevailing Central Time) as the
deadline for filing and serving objections to the Confirmation of the Plan and the adequacy of information in
the Disclosure Statement (the “Combined DS and Plan Objection Deadline”). Any objection to the Plan must:
(a) be in writing; (b) conform to the Bankruptcy Rules; (c) state the name and address of the objecting party
and the amount and nature of the Claim or Interest; (d) state with particularity the basis and nature of any
objection to the Plan; (e) propose a modification to the Plan that would resolve such objection (if applicable);
and (f) be filed with the Court and served, no later than the Combined DS and Plan Objection Deadline, on:
(i) proposed co-counsel to the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York,
New York 10036, Attn: Philip C. Dublin (pdublin@akingump.com) and Meredith A. Lahaie
(mlahaie@akingump.com); (ii) proposed co-counsel to the Debtors, Jackson Walker LLP, 1401 McKinney
Street, Suite 1900, Houston, Texas 77010, Attn: Matthew D. Cavenaugh (mcavenaugh@jw.com), and Jennifer
F. Wertz (jwertz@jw.com), J. Machir Stull (mstull@jw.com), and Victoria Argeroplos (vargeroplos@jw.com);
(iii) the Office of the United States Trustee for the Southern District of Texas, 515 Rusk Street, Suite 3516,
Houston, Texas 77002; (iv) counsel to any statutory committee appointed in these cases; (v) counsel for Bank
of America, National Association, as the administrative agent under the Credit Agreement, Haynes and Boone,
LLP, 2323 Victory Avenue, Suite 700, Dallas, Texas 75219, Attn: Eli Columbus
(eli.columbus@haynesboone.com) and James Markus (James.Markus@haynesboone.com); and (vi) counsel to
the ad hoc group of Term B Loan Lenders under the Credit Agreement, Gibson, Dunn & Crutcher LLP, 200
Park Avenue, New York, New York 10166, Attn: Scott Greenberg (sgreenberg@gibsondunn.com) and Steven
Domanowski (sdomanowski@gibsondunn.com); AnnElyse Scarlett Gains (agains@gibsondunn.com) and
Stephen Silverman (ssilverman@gibsondunn.com).

         A hearing to approve the adequacy of the Disclosure Statement and confirm the Plan (the “Combined
Hearing”) will commence on April 27, 2023, at 1:00 p.m. (prevailing Central Time), in the United States
Bankruptcy Court for the Southern District of Texas before the Honorable Christopher M. Lopez, at 515 Rusk
Street, Houston, Texas 77002. Please be advised that the Combined Hearing may be continued from time to
time by the Bankruptcy Court or the Debtors without further notice other than by such continuance being
announced in open court or by a notice of continuance or reset being filed with the Bankruptcy Court and
served on parties entitled to notice under Bankruptcy Rule 2002 or otherwise. In accordance with the Plan,
the Plan may be modified, if necessary, before, during or as a result of the Combined Hearing without further
action by the Debtors and without further notice to or action, order or approval of the Court or any other
Entity.




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              SPECIAL NOTICE REGARDING FEDERAL AND STATE SECURITIES LAWS2

          This Combined DS and Plan provides that the Liquidating Trust Interests (including beneficial
interests in the Liquidating Trust) to be distributed to the Liquidating Trust Beneficiaries pursuant to this
Combined DS and Plan shall not constitute “securities” under applicable law. To the extent the Liquidating
Trust Interests are considered “securities” under applicable law, the offer, sale and issuance of such interests
will be exempt from registration under the Securities Act and any state securities laws (“Blue Sky Laws”)
requiring registration. The Bankruptcy Court has not reviewed this Combined DS and Plan, and any securities
to be issued on or after the Effective Date will not have been the subject of a registration statement filed with
the SEC under the Securities Act, or any securities regulatory authority of any state under any Blue Sky Laws.
This Combined DS and Plan has not been approved or disapproved by the SEC or any state regulatory
authority and neither the SEC nor any state regulatory authority has passed upon the accuracy or adequacy
of the information contained in this Combined DS and Plan. Any representation to the contrary is a criminal
offense. To the extent the Liquidating Trust Interests are considered securities under applicable law, the
Debtors are relying on section 1145(a) of the Bankruptcy Code to exempt from registration under the Securities
Act and Blue Sky Laws the offer, issuance, and distribution, if applicable, of the Liquidating Trust Interests
under this Combined DS and Plan, and to the extent such exemption is not available, the Liquidating Trust
Interests will be offered, issued, and distributed under this Combined DS and Plan pursuant to other applicable
exemptions from registration under the Securities Act and Blue Sky Laws. Neither the solicitation of votes to
accept or reject this Combined DS and Plan (the “Solicitation”) nor this Combined DS and Plan constitutes an
offer to sell or the solicitation of an offer to buy securities in any state or jurisdiction in which such offer or
solicitation is not authorized or is unlawful.




2   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Article I herein.



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                                                   DISCLAIMER

          This Combined DS and Plan contains summaries of certain provisions and certain other documents and
financial information. The information included in this Combined DS and Plan is provided solely for the purpose of
soliciting votes on the Combined DS and Plan and should not be relied upon for any purpose other than to determine
whether and how to vote on the Combined DS and Plan. All Holders of Claims entitled to vote to accept or reject the
Plan are advised and encouraged to read the Combined DS and Plan in its entirety before voting to accept or reject the
Plan. The Debtors believe that the summaries contained in this Combined DS and Plan are fair and accurate. The
summaries of the financial information and the documents that are attached to, or incorporated by reference in, this
Combined DS and Plan are qualified in their entirety by reference to such information and documents. In the event
of any inconsistency or discrepancy between a description in the Combined DS and Plan, on the one hand, and the
financial information and documents incorporated in the Combined DS and Plan by reference, on the other hand, the
financial information and documents, as applicable, shall govern for all purposes.

         Except as otherwise provided in the Combined DS and Plan or in accordance with applicable law, the Debtors
are under no duty to update or supplement the Combined DS and Plan. The Bankruptcy Court’s approval of the
Combined DS and Plan does not constitute a guarantee of the accuracy or completeness of the information contained
herein or the Bankruptcy Court’s endorsement of the merits of the Combined DS and Plan. The statements and
financial information contained in the Combined DS and Plan have been made as of the date hereof unless otherwise
specified. Holders of Claims reviewing the Combined DS and Plan should not assume at the time of such review that
there have been no changes in the facts set forth in the Combined DS and Plan since the date of the Combined DS and
Plan. No Holder of a Claim should rely on any information, representations or inducements that are not contained in
or are inconsistent with the information contained in the Combined DS and Plan and the documents attached to the
Combined DS and Plan. The Combined DS and Plan does not constitute legal, business, financial or tax advice. Any
Person or Entity desiring any such advice should consult with their own advisors.

         The financial information contained in or incorporated by reference the Combined DS and Plan has not been
audited, except as specifically indicated otherwise.

           Regarding contested matters, adversary proceedings and other pending, threatened or potential litigation or
other actions, the Combined DS and Plan does not constitute, and may not be construed as, an admission of fact,
liability, stipulation or waiver by the Debtors or any other party, but rather constitutes, and is to be construed as, a
statement made in the context of settlement negotiations in accordance with Rule 408 of the Federal Rules of Evidence
and any analogous state or foreign laws or rules. As such, the Combined DS and Plan shall not be admissible in any
non-bankruptcy proceeding involving the Debtors or any other party in interest, nor shall it be construed to be
conclusive advice on the tax, securities, financial or other effects of the Combined DS and Plan to Holders of Claims
against the Debtors or any other party in interest. Please refer to Article XVIII of the Combined DS and Plan, entitled
“Plan-Related Risk Factors” for a discussion of certain risk factors that Holders of Claims voting on the Plan should
consider.

         Except as otherwise expressly set forth herein, all information, representations or statements contained herein
have been provided by the Debtors. No Person is authorized by the Debtors in connection with the Combined DS and
Plan or the solicitation of votes thereon to give any information or to make any representation or statement regarding
the Combined DS and Plan other than as contained in the Combined DS and Plan and the exhibits attached hereto or
as otherwise incorporated herein by reference or referred to herein. If any such information, representation or
statement is given or made, it may not be relied upon as having been authorized by the Debtors.

          The Combined DS and Plan contains forward-looking statements within the meaning of the “safe harbor”
provisions of the Private Securities Litigation Reform Act of 1995, as amended, all of which are based on various
estimates and assumptions. Such forward-looking statements are subject to inherent uncertainties and to a wide variety
of significant business, economic and competitive risks, including, but not limited to, those summarized herein. When
used in the Combined DS and Plan, the words “believe,” “expect,” “anticipate,” “estimate,” “intend,” “project,”
“plan,” “likely,” “may,” “should” or other words or phrases of similar import generally identify forward-looking
statements. Although the Debtors believe that their plans, intentions, and expectations reflected in the forward-looking
statements are reasonable, they cannot be sure that they will be achieved. These statements are only predictions and
are not guarantees. Forward-looking statements are subject to risks and uncertainties that could cause actual results


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to differ materially from those contemplated by a forward-looking statement, including without limitation, our high
level of indebtedness; increases in market interest rates; the potential failure to satisfy the closing conditions under the
purchase agreement for our BrandLoyalty business, which may result in the sale transaction not being consummated;
the potential failure to satisfy the borrowing conditions under the bridge loan agreement in connection with the sale
of our BrandLoyalty business, which may result in the BrandLoyalty business not being able to obtain bridge loans,
which could lead to the insolvency of the BrandLoyalty business; continuing impacts related to COVID-19, including
variants, labor shortages, reduction in demand from clients, supply chain disruption for our reward suppliers and
capacity constraints, rising costs or other disruptions in the airline or travel industries; changes in geopolitical
conditions, including the Russian invasion of Ukraine and related global sanctions and Russian restrictions or actions
with respect to local assets; fluctuation in foreign exchange rates; execution of restructuring plans and any resulting
cost savings; loss of, or reduction in demand for services from, significant clients; loss of active AIR MILES Reward
Program Collectors or greater than expected redemptions by the same; unfavorable resolution of pending or future
litigation matters; disruption to operations due to the separation from our former parent or failure of the separation to
be tax-free; new regulatory limitations related to consumer protection or data privacy limiting our services; loss of
consumer information due to compromised physical or cyber security; the Transaction Support Agreement may be
terminated by certain of its parties if specified milestones are not achieved, amended or waived, or if certain other
events occur; our ability to operate within the restrictions and the liquidity limitations of the CCAA DIP Facility and
the DIP Facility; submission of other acquisition bids and negotiations with associated bidders in connection with the
proposed SISP; and the ability to obtain relief from the Bankruptcy Court to facilitate the smooth operation of our
businesses during the Chapter 11 Cases and other risks and uncertainties relating to the Chapter 11 Cases, including
but not limited to, our ability to obtain approval of the Bankruptcy Court and the Ontario Court with respect to motions
or other requests made to the Bankruptcy Court and the Ontario Court throughout the course of the Chapter 11 Cases
and the CCAA Proceeding, as the case may be including with respect to the CCAA DIP Facility and the DIP Facility,
the proposed SISP, and the Stalking Horse Transaction Agreement we entered into with BMO (each as defined below)
or the consummation of the transactions contemplated therein, the effects of the Chapter 11 Cases on us and on the
interests of various constituencies, Bankruptcy Court rulings in the Chapter 11 Cases and the outcome of the Chapter
11 Cases in general, the length of time we will operate under the Chapter 11 Cases, risks associated with third-party
motions in the Chapter 11 Cases, regulatory approvals required to emerge from chapter 11, the potential adverse effects
of the Chapter 11 Cases on our liquidity or results of operations and increased legal and other professional costs in
connection with the Chapter 11 Cases. All forward-looking statements attributable to the Debtors or Persons or
Entities acting on their behalf are expressly qualified in their entirety by the cautionary statements set forth in the
Combined DS and Plan. Forward-looking statements speak only as of the date on which they are made. Except as
required by law, the Debtors expressly disclaim any obligation to update or revise any forward-looking statement,
whether as a result of new information, subsequent events, anticipated or unanticipated circumstances or otherwise.




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                                                      Introduction

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) propose this Combined
Disclosure Statement and Joint Chapter 11 Plan of Loyalty Ventures Inc. and its Debtor Affiliates Pursuant to Chapter
11 of the Bankruptcy Code (as applicable, the “Disclosure Statement,” the “Combined DS and Plan,” or the “Plan”)
pursuant to Bankruptcy Code section 1125, to holders of Claims against, and Interests in, the Debtors in connection
with the solicitation of votes on the Plan. The Debtors are the proponents of the Plan within the meaning of Bankruptcy
Code section 1129. Other agreements and documents supplement this Plan and have been or will be filed with the
Bankruptcy Court. Unless otherwise indicated, capitalized terms used herein shall have the meanings set forth in
Article I, below. FOR THE AVOIDANCE OF DOUBT, LOYALTYONE CO., IS A NOT A DEBTOR IN THE
CHAPTER 11 CASES. CONTEMPORANEOUSLY WITH THE COMMENCEMENT OF THE CHAPTER 11
CASES, LOYALTYONE APPLIED FOR AND OBTAINED RELIEF UNDER THE COMPANIES’
CREDITORS ARRANGEMENT ACT (THE “CCAA”) IN CANADA TO, AMONG OTHER THINGS, SELL
SUBSTANTIALLY ALL OF ITS OPERATING ASSETS TO BANK OF MONTREAL (“BMO”) (OR AN
ALTERNATIVE PURCHASER), SUBJECT TO (I) THE COMPLETION OF A COURT-SUPERVISED SALE
AND INVESTMENT SOLICITATION PROCESS (THE “SISP”), AND (II) APPROVAL OF THE
TRANSACTION SELECTED PURSUANT TO THE SISP BY THE ONTARIO COURT OVERSEEING THE
CCAA PROCEEDING.

                                                    The Solicitation

          This Combined DS and Plan is submitted by the Debtors to be used in connection with the solicitation of
votes on the Plan. The Debtors will request that the Bankruptcy Court hold a hearing on conditional approval of the
Disclosure Statement contained in this Combined DS and Plan with respect to whether the Disclosure Statement
contains “adequate information” in accordance with Bankruptcy Code section 1125. At the hearing, the Bankruptcy
Court will determine whether to enter an order conditionally approving the Disclosure Statement contained in the
Combined DS and Plan as containing adequate information (the “Conditional Disclosure Statement Order”). Pursuant
to Bankruptcy Code section 1125(a)(1), “adequate information” is defined as “information of a kind, and in sufficient
detail, as far as reasonably practicable in light of the nature and history of the debtor and the condition of the debtor’s
books and records . . . that would enable a hypothetical reasonable investor typical of holders of claims or interests of
the relevant class to make an informed judgment about the plan . . . .” 11 U.S.C. § 1125(a)(1).

      ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO
READ THIS COMBINED DS AND PLAN IN ITS ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT
THE PLAN.

          The Bankruptcy Court has established April 20, 2023, at 4:00 p.m. (prevailing Central Time) as the
deadline for filing and serving objections to the Confirmation of the Plan and the adequacy of information in
the Disclosure Statement (the “Combined DS and Plan Objection Deadline”). Any objection to the Plan must:
(a) be in writing; (b) conform to the Bankruptcy Rules; (c) state the name and address of the objecting party
and the amount and nature of the Claim or Interest; (d) state with particularity the basis and nature of any
objection to the Plan; (e) propose a modification to the Plan that would resolve such objection (if applicable);
and (f) be filed with the Court and served, no later than the Combined DS and Plan Objection Deadline, on:
(i) proposed co-counsel to the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York,
New York 10036, Attn: Philip C. Dublin (pdublin@akingump.com) and Meredith A. Lahaie
(mlahaie@akingump.com); (ii) proposed co-counsel to the Debtors, Jackson Walker LLP, 1401 McKinney
Street, Suite 1900, Houston, Texas 77010, Attn: Matthew D. Cavenaugh (mcavenaugh@jw.com), and Jennifer
F. Wertz (jwertz@jw.com), J. Machir Stull (mstull@jw.com), and Victoria Argeroplos (vargeroplos@jw.com);
(iii) the Office of the United States Trustee for the Southern District of Texas, 515 Rusk Street, Suite 3516,
Houston, Texas 77002; (iv) counsel to any statutory committee appointed in these cases; (v) counsel for Bank
of America, National Association, as the administrative agent under the Credit Agreement, Haynes and Boone,
LLP, 2323 Victory Avenue, Suite 700, Dallas, Texas 75219, Attn: Eli Columbus
(eli.columbus@haynesboone.com) and James Markus (James.Markus@haynesboone.com); and (vi) counsel to
the ad hoc group of Term B Loan Lenders under the Credit Agreement, Gibson, Dunn & Crutcher LLP, 200
Park Avenue, New York, New York 10166, Attn: Scott Greenberg (sgreenberg@gibsondunn.com) and Steven
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Domanowski (sdomanowski@gibsondunn.com); AnnElyse Scarlett Gains (agains@gibsondunn.com) and
Stephen Silverman (ssilverman@gibsondunn.com).

         A hearing to approve the adequacy of the Disclosure Statement and confirm the Plan (the “Combined
Hearing”) will commence on April 27, 2023, at 1:00 p.m. (prevailing Central Time), in the United States
Bankruptcy Court for the Southern District of Texas before the Honorable Christopher M. Lopez, at 515 Rusk
Street, Houston, Texas 77002. Please be advised that the Combined Hearing may be continued from time to
time by the Bankruptcy Court or the Debtors without further notice other than by such continuance being
announced in open court or by a notice of continuance or reset being filed with the Bankruptcy Court and
served on parties entitled to notice under Bankruptcy Rule 2002 or otherwise. In accordance with the Plan,
the Plan may be modified, if necessary, before, during or as a result of the Combined Hearing without further
action by the Debtors and without further notice to or action, order or approval of the Court or any other
Entity.

                                      Answers to Commonly Asked Questions

What is chapter 11 of the Bankruptcy Code?

         Chapter 11 is a chapter of the Bankruptcy Code that allows financially distressed businesses to reorganize
their debts or liquidate their assets in a controlled and value maximizing fashion. The commencement of a chapter 11
case creates an “estate” containing all of the legal and equitable interests of the debtor in property as of the date the
bankruptcy case is filed. During a chapter 11 bankruptcy case, the debtor remains in possession of its assets unless the
bankruptcy court orders the appointment of a trustee.

What entities filed chapter 11 cases?

        Loyalty Ventures Inc. and three of its subsidiaries (LVI Sky Oak LLC, LVI Lux Holdings S.à r.l. and Rhombus
Investments L.P.) commenced chapter 11 cases.

Did LoyaltyOne file a chapter 11 case?

          No, LoyaltyOne did not file a chapter 11 case. LoyaltyOne commenced a proceeding and obtained initial
relief, under the CCAA on March 10, 2023.

What is the CCAA?

         The CCAA is Canada’s principal insolvency statute used for the restructuring or reorganization of large
corporations. The CCAA process is similar to chapter 11 in the United States, with some differences. The CCAA can
be used to effect balance sheet or operational restructurings, sales, or liquidations.

What will happen to the AIR MILES Reward Program?

         AIR MILES’ anchor partner, BMO, has signed an agreement to acquire the leading loyalty program, which
agreement will serve as the “stalking horse bid” in the proposed SISP, in each case subject to the approval of the
Ontario Court in the CCAA Proceeding. As part of the CCAA Proceeding, LoyaltyOne intends to seek approval of
the proposed SISP pursuant to which interested parties will be able to submit higher and better bids. Ultimately the
Successful Bid (as defined below) in the proposed SISP will be subject to approval of the Ontario Court.

When will the sale of AIR MILES to BMO be completed?

       LoyaltyOne brought a motion returnable March 20, 2023 before the Ontario Court seeking approval of,
among other things, the SISP and the BMO transaction solely for the purposes of acting as the “stalking horse bid” in




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the SISP. If approved, the SISP will set out the procedures for interested parties to submit binding and value
maximizing bids for the business and/or assets of LoyaltyOne.

         The proposed terms of the SISP provide that all binding offers must be submitted by 5:00 p.m. (Eastern Time)
on April 27, 2023 (as such date may be extended by LoyaltyOne for up to seven days with the consent of the Monitor
(as defined below), or by further order of the Ontario Court). If necessary, an auction among qualified bidders will
take place by no later than 10:00 a.m. (Eastern Time) on May 4, 2023, following which the Successful Bidder (as
defined below) will be announced. Subject to the availability of the Ontario Court, a motion will be brought by
LoyaltyOne to approve the highest or otherwise best bid received in, and selected in accordance with the proposed
SISP (the “Successful Bid”) on or about May 18, 2023 (or earlier if no auction is required), and such transaction will
close expeditiously in accordance with its terms thereafter.

          The outside date of the proposed SISP is June 30, 2023 (subject to limited extension rights in the event
regulatory approvals are needed), by which time any Successful Bid is to have closed, subject to certain extensions
set forth in the proposed SISP.

Will the commencement of the CCAA or the Chapter 11 Cases have any impact on the rewards under the AIR
MILES Reward Program?

       The Ontario Court provided LoyaltyOne with authority to continue to honor Collector obligations, including
AIR MILES Reward Miles (as defined below) and existing Collector redemptions and to continue to obtain services
from LVI so that there is no impact on the AIR MILES Reward Program resulting from the commencement of the
CCAA Proceeding or the Chapter 11 Cases.

How do I determine how my Claim or Interest is classified?

          Under the Plan, DIP Facility Claims, Administrative Claims and Priority Tax Claims are unclassified and will
be treated in accordance with Article VI herein. All other Claims and Interests are classified in a series of Classes, as
described in Article V and Article VII herein. You may review such Articles to determine how your Claim or Interest
is classified.

How do I determine what I am likely to recover on account of my Claim or Interest?

         After you determine the classification of your Claim or Interest, you can determine the likelihood and range
of potential recovery under the Plan with respect to your Claim or Interest by referring generally to classification and
treatment of Claims and Interests in the chart below and in Article V herein.

 Class                       Claims or Interests                               Status               Voting Rights
   1      Other Secured Claims                                               Unimpaired           Presumed to Accept
   2      Other Priority Claims                                              Unimpaired           Presumed to Accept
   3      Loan Claims                                                         Impaired              Entitled to Vote
   4      General Unsecured Claims                                            Impaired              Entitled to Vote
   5      Convenience Claims                                                 Unimpaired           Presumed to Accept
   6      510 Claims                                                          Impaired             Deemed to Reject
   7      Intercompany Claims                                                 Impaired             Deemed to Reject
   8      Intercompany Interests                                              Impaired             Deemed to Reject
   9      Interests                                                           Impaired             Deemed to Reject

What is necessary to confirm the Plan?

          Under applicable provisions of the Bankruptcy Code, Confirmation of the Plan requires that, among other
things, at least one Class of Impaired Claims votes to accept the Plan. Acceptance by a Class of Claims means that at



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least two-thirds in total dollar amount and more than one-half in number of the Allowed Claims actually voting in the
Class vote to accept the Plan. Because only those Holders of Claims who vote on the Plan will be counted for purposes
of determining acceptance or rejection of the Plan by an Impaired Class, the Plan can be approved with the affirmative
vote of members of an Impaired Class who own less than two-thirds in amount and one-half in number of the Claims
in that Class. In addition to acceptance of the Plan by a Class of Impaired Claims, the Bankruptcy Court must find
that the Plan satisfies a number of statutory requirements before it may confirm the Plan.

          If other applicable sections of the Bankruptcy Code have been satisfied for the Plan to be confirmed, the
Debtors will still request that the Bankruptcy Court confirm the Plan under Bankruptcy Code section 1129(b) with
respect to rejecting Classes. In such case, the Debtors will be required to demonstrate that the Plan does not
discriminate unfairly and is fair and equitable with respect to each Class of Impaired Claims or Interests that has
rejected the Plan. This method of confirming a plan is commonly called a “cramdown.” In addition to the statutory
requirements imposed by the Bankruptcy Code, the Plan itself also provides for certain conditions that must be
satisfied for the Plan to be confirmed and go effective.

Is there an official committee of unsecured creditors in this case?

        No. An official committee of unsecured creditors has not been appointed as of the filing of the Plan. A
committee may be formed in the future.

Are the Debtors reorganizing or selling their assets?

         The Debtors are liquidating their assets and seeking Confirmation of the Plan to, among other things,
authorize the formation of a liquidating trust to hold, investigate and pursue, as appropriate, claims and causes of
action against the Bread Parties and/or other parties, should such claims or causes of action be determined to exist.

When is the deadline for returning my ballot?

     TO BE COUNTED FOR VOTING PURPOSES, YOUR BALLOT MUST BE RECEIVED BY THE
CLAIMS AND NOTICING AGENT NOT LATER THAN APRIL 20, 2023 AT 4:00 P.M. (PREVAILING
CENTRAL TIME).

         It is important that all Holders of Claims entitled to vote on the Plan submit their votes timely. The
Debtors believe that the Plan provides the best possible recovery to Holders of Claims entitled to a recovery
under the Plan. The Debtors believe that acceptance of the Plan is in the best interest of Holders of Claims
entitled to a recovery under the Plan and recommend that Holders of Claims entitled to vote on the Plan vote
to accept the Plan.

         If you would like to obtain additional copies of this Combined DS and Plan or any of the documents attached
or referenced herein, or have questions about the solicitation and voting process or these Chapter 11 Cases generally,
please contact Kroll Restructuring Administration LLC, the Debtors’ Claims and Noticing Agent, by either (i) visiting
the Debtors’ restructuring website at https://cases.ra.kroll.com/LVI, (ii) calling (833) 570-5238 (Toll Free, US and
Canada) or (646) 440-4764 (International) or (iii) emailing LVIInfo@ra.kroll.com and referencing “Loyalty Ventures”
in the subject line.




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                                      ARTICLE I.
     DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, GOVERNING LAW
                                AND OTHER REFERENCES

A.       Defined Terms

         1.       “Accrued Professional Compensation” means, at any date, all accrued fees and reimbursable
expenses (including success fees) for services rendered by all Retained Professionals in the Chapter 11 Cases through
and including the Effective Date, to the extent that such fees and expenses have not been previously paid and regardless
of whether a fee application has been filed for such fees and expenses.

         2.       “Administrative Agent” means Bank of America, N.A., solely in its capacity as administrative agent
under the Credit Agreement.

          3.        “Administrative Claim” means a Claim, other than DIP Facility Claims incurred by the Debtors on
or after the Petition Date and before the Effective Date for a cost or expense of administration of the Chapter 11 Cases
entitled to priority under Bankruptcy Code sections 503(b), 507(a)(2) or 507(b), including: (a) the actual and
necessary costs and expenses incurred on or after the Petition Date until and including the Effective Date of preserving
the Estates and operating the Debtors’ businesses; (b) Allowed Professional Fee Claims; and (c) all fees and charges
assessed against the Estates pursuant to section 1930 of chapter 123 of title 28 of the United States Code.

        4.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims (other than requests for payment of Professional Fee Claims and Administrative Claims arising
under Bankruptcy Code section 503(b)(9)), which shall be thirty (30) days after the Effective Date.

         5.        “Ad Hoc Group of Term B Loan Lenders” means the ad hoc group of Term B Loan Lenders.

         6.        “Affiliate” means an affiliate as defined in Bankruptcy Code section 101(2).

           7.       “Allowed” means, with respect to any Claim: (a) a Claim as to which (i) no objection has been filed,
(ii) the relevant objection deadline has not expired and (iii) that is evidenced by a Proof of Claim, as applicable, timely
filed by the applicable bar date, if any, or that is not required to be evidenced by a filed Proof of Claim, as applicable,
under the Plan, the Bankruptcy Code or a Final Order; (b) a Claim that is scheduled by the Debtors as neither disputed,
contingent, nor unliquidated and as for which no Proof of Claim has been timely filed; or (c) a Claim that is Allowed
(i) pursuant to the Plan, (ii) in any stipulation that is approved by the Bankruptcy Court or (iii) pursuant to any contract,
instrument, indenture or other agreement entered into or assumed in connection herewith. Except as otherwise
specified in the Plan or any Final Order, the amount of an Allowed Claim shall not include interest, late fees or other
similar related charges on such Claim from and after the Petition Date. No Claim of any Entity subject to Bankruptcy
Code section 502(d) shall be deemed Allowed unless and until such Entity pays in full the amount that it owes such
Debtor or Liquidating Trustee, as applicable.

          8.        “Avoidance Actions” means any and all avoidance, recovery, subordination or other claims, actions
or remedies that may be brought by or on behalf of the Debtors or their Estates or other authorized parties in interest
under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under Bankruptcy Code
sections 502, 510, 542, 544, 545, 547 through and including Bankruptcy Code sections 553 and 724(a) or under similar
or related state or federal statutes and common law, including fraudulent transfer laws.

         9.      “Ballot” means the ballots accompanying this Combined DS and Plan upon which certain Holders
of Impaired Claims entitled to vote on the Plan shall, among other things, indicate their acceptance or rejection of the
Plan in accordance with the procedures governing the solicitation process as set forth in this Combined DS and Plan.

       10.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as may be
amended from time to time.




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         11.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas
or such other court having jurisdiction over the Chapter 11 Cases.

         12.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the United
States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as applicable to the
Chapter 11 Cases and the general, local, and chambers rules of the Bankruptcy Court.

        13.        “Bread” mean Bread Financial Holdings, Inc. (formerly known as Alliance Data Systems
Corporation).

          14.      “Bread Parties” means (i) Joseph L. Motes III, (ii) Bread, and (iii) Bread’s current and former
Affiliates (except for the Debtors and the Debtors’ direct and indirect non-Debtor subsidiaries), and Bread’s and its
current and former Affiliates’ directors, managers, officers, control persons, advisors, equity holders, predecessors,
successors, assigns and subsidiaries, but excludes any individual that meets both of the following: (y) who served as
a director, manager or officer for any Debtor or non-Debtor direct or indirect subsidiary of a Debtor at any time after
the completion of the Spinoff Transaction (as defined and described below) and (z) did not serve in any such capacity
for Bread or its Affiliates (except for the Debtors and the Debtors’ direct and indirect non-Debtor subsidiaries) at any
time after completion of the Spinoff Transaction.

        15.     “Business Day” means any day, other than a Saturday, Sunday or a legal holiday, as defined in
Bankruptcy Rule 9006(a).

        16.      “Cash” means the legal tender of the United States of America or the equivalent thereof, including
bank deposits and checks.

          17.       “Causes of Action” means any claims, interests, damages, remedies, causes of action, demands,
rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities,
guaranties and franchises of any kind or character whatsoever, whether known or unknown, choate or inchoate,
foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract,
tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) any claim based on or relating to, or in any manner
arising from, in whole or in part, breach of fiduciary duty, violation of local, state, federal, or foreign law, or breach
of any duty imposed by law or in equity, including securities laws, negligence, and gross negligence; (c) the right to
object to, subordinate, disallow, or otherwise contest Claims or Interests; (d) claims or causes of action pursuant to
Bankruptcy Code sections 362, 510, 542, 543, 544 through 550, or 553; (e) such claims and defenses as fraud, mistake,
duress, and usury, and any other defenses set forth in Bankruptcy Code section 558; (f) any Avoidance Action, (g)
Spinoff Claims and Causes of Action, and (h) with respect to each of the Bread Parties, all of the aforementioned items
that can be or may be asserted against any Bread Party.

       18.         “CCAA” means the Companies’ Creditor Arrangement Act (Canada) R.S.C. 1985, c. C 36, as
amended.

        19.        “CCAA Proceeding” means the proceeding commenced under the CCAA by LoyaltyOne in the
Ontario Court.

         20.       “Certificate” means any instrument evidencing a Claim or an Interest.

          21.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the chapter 11 case
filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with
reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

         22.       “Claim” means any claim, as defined in Bankruptcy Code section 101(5), against any of the Debtors.




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         23.       “Claims and Noticing Agent” means Kroll Restructuring Administration LLC, the claims, noticing
and solicitation agent proposed to be retained by the Debtors in the Chapter 11 Cases.

        24.      “Claims Register” means the official register of Claims against the Debtors maintained by the
Claims and Noticing Agent.

        25.      “Class” means a category of Claims or Interests under Bankruptcy Code section 1122(a).

         26.      “Combined DS and Plan” means this combined disclosure statement and joint chapter 11 plan,
including all appendices, exhibits, schedules and supplements hereto (including any appendices, exhibits, schedules
and supplements that are contained in the Plan Supplement), as it may be altered, amended, modified, or supplemented
from time to time in accordance with the terms hereof and the Transaction Support Agreement.

        27.      “Company” means the Debtors and their non-Debtor direct and indirect subsidiaries.

         28.       “Conditional Disclosure Statement Order” has the meaning set forth in the Introduction, and is
subject to the terms of the Transaction Support Agreement.

         29.      “Confirmation” means the entry of the Confirmation Order by the Bankruptcy Court on the docket
of the Chapter 11 Cases.

         30.      “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Cases.

          31.     “Confirmation Hearing” means the hearing before the Bankruptcy Court under Bankruptcy Code
section 1128 at which the Debtors seek entry of the Confirmation Order, as such hearing may be continued from time
to time in accordance with the milestones in the Transaction Support Agreement.

         32.       “Confirmation Order” means an order of the Bankruptcy Court (a) approving the adequacy of the
disclosure in the Combined DS and Plan pursuant to Bankruptcy Code section 1125 and (b) confirming the Combined
DS and Plan pursuant to Bankruptcy Code section 1129, including all exhibits, appendices, supplements and related
documents, which order shall be subject to the terms of the Transaction Support Agreement.

        33.    “Consenting Lenders” means, collectively, the Consenting Term A Loan Lenders, the Consenting
Term B Loan Lenders and the Consenting Revolver Lenders.

         34.     “Consenting Revolver Lenders” means Holders of Revolving Loan Claims that have executed and
delivered counterpart signature pages to the Transaction Support Agreement.

         35.      “Consenting Term A Loan Lenders” means Holders of Term A Loan Claims that have executed and
delivered counterpart signature pages to the Transaction Support Agreement.

         36.     “Consenting Term B Loan Lenders” means Holders of Term B Loan Claims that have executed and
delivered counterpart signature pages to the Transaction Support Agreement.

        37.      “Consummation” means the occurrence of the Effective Date.

         38.      “Convenience Claim” means any General Unsecured Claim against one or more of the Debtors that
is Allowed in an amount greater than $0 but less than or equal to $1,500,000.00.

         39.      “Convenience Claim Distribution Reserve” means an account funded by the Debtors and/or
LoyaltyOne on the Effective Date in an amount sufficient to render all Holders of Convenience Claims Unimpaired
to be held by the Liquidating Trust for distribution to Holders of Allowed Convenience Claims.




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          40.      “Covered Claims” means any claim or Cause of Action related to any act or omission in connection
with, relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation or
filing of the Transaction Support Agreement and related prepetition transactions, the DIP Facility, the Combined DS
and Plan, the Plan Supplement or any contract, instrument, release or other agreement or document created or entered
into in connection with the Transaction Support Agreement, the DIP Facility, the Combined DS and Plan, the Plan
Supplement, the Chapter 11 Cases, the Filing of the Chapter 11 Cases, the DIP Facility Documents, the DIP and Cash
Collateral Orders, solicitation of votes on the Plan, the prepetition negotiation and settlement of claims, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan or the distribution of
property under the Plan or any other related agreement, or upon any other related act or omission, transaction,
agreement, event, or other occurrence taking place on or after the Petition Date and on or before the Effective Date.
For the avoidance of doubt, Covered Claims do not include Spinoff Claims and Causes of Action or any claim or
Cause of Action that can be or is being asserted against the Bread Parties.

         41.     “Credit Agreement” means, that certain Credit Agreement dated as of November 3, 2021 (as
amended by Amendment No. 1 to Credit Agreement (Financial Covenant), dated as of July 29, 2022 and the Consent
dated as of March 1, 2023), among LVI and certain of its subsidiaries, as borrowers, certain other subsidiaries of LVI,
as guarantors, Bank of America, N.A., as administrative agent, and the lenders from time to time party thereto (as
further amended, amended and restated, supplemented or otherwise modified from time to time).

        42.      “Cure” or “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty)
based upon a Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under
Bankruptcy Code section 365 or 1123, other than a default that is not required to be cured pursuant to Bankruptcy
Code section 365(b)(2).

          43.     “D&O Liability Insurance Policies” means all directors’, managers’ and officers’ liability insurance
policies (including any “tail policy” or excess policies and all agreements, documents or instruments related thereto)
of any of the Debtors that have been issued or provide coverage at any time to current and/or former directors,
managers, officers and employees of the Debtors.

         44.      “Debtor Release” means the releases set forth in Article XII.B.

         45.      “Debtors” has the meaning set forth in the Introduction.

         46.      “Definitive Documents” has the meaning set forth in the Transaction Support Agreement.

         47.     “DIP and Cash Collateral Orders” means the Interim Cash Collateral Order and the Final DIP Order
in accordance with the terms hereof and the Transaction Support Agreement.

         48.      “DIP Facility” means that proposed senior secured superpriority debtor in possession credit facility
to be provided to LVI, as borrower, and the other Debtors, as guarantors, on the term and conditions set forth in the
DIP Term Sheet, as it may be altered, amended, modified, or supplemented from time to time in accordance with the
terms thereof and otherwise consistent with the terms of the Transaction Support Agreement.

         49.      “DIP Facility Claims” means Claims arising under the DIP Facility.

          50.      “DIP Facility Documents” means any documents governing the DIP Facility that are entered into in
accordance with the DIP Term Sheet and the DIP and Cash Collateral Orders and any amendments, modifications and
supplements thereto, and together with any related notes, certificates, agreements, security agreements, documents
and instruments (including any amendments, restatements, supplements or modifications of any of the foregoing)
related to or executed in connection therewith, as each may be altered, amended, modified, or supplemented from time
to time in accordance with the terms thereof and the Transaction Support Agreement.

         51.      “DIP Lender” means LoyaltyOne, in its capacity as lender under the DIP Facility.




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         52.      “DIP Motion” means the Debtors’ Emergency Motion for Entry of Interim and Final Orders
(I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Continue the Use of
Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing and (VII) Granting Related
Relief [Docket No. 116].

         53.      “DIP Orders” means the Interim DIP Order and the Final DIP Order.

        54.    “DIP Term Sheet” means that certain term sheet for the DIP Facility attached to the Transaction
Support Agreement.

         55.       “Disallowed” means, with respect to a Claim or portion thereof: (a) an objection has been filed to
the Claim, (b) the Claim has been disallowed, subordinated or expunged, in whole or in part, by a Final Order; (c) the
Claim has been withdrawn, in whole or in part; (d) the Claim is listed in any schedules as zero or as disputed,
contingent or unliquidated and in respect of which a Proof of Claim has not been timely filed or deemed timely filed
pursuant to the Combined DS and Plan, the Bankruptcy Code or any Final Order of the Bankruptcy Court; (e) the
Claim has been reclassified, expunged, subordinated or estimated to the extent that such reclassification, expungement,
subordination or estimation results in a reduction in the filed amount of any Proof of Claim; (f) the Claim is evidenced
by a Proof of Claim which has been filed, or which has been deemed to be filed under applicable law or order of the
Bankruptcy Court or which is required to be filed by order of the Bankruptcy Court but as to such Proof of Claim, was
not timely or properly filed; or (g) any and all Claims asserted by Bread or any of the Bread Parties including pursuant
to Bankruptcy Code section 502(d).

         56.      “Disclosure Statement” has the same meaning as the Combined DS and Plan.

          57.      “Disputed” means, with respect to a Claim, (a) any such Claim to the extent neither Allowed or
Disallowed under the Plan or a Final Order nor deemed Allowed under Bankruptcy Code section 502, 503, or 1111,
or (b) to the extent the Debtors, on or before the Effective Date, or after the Effective Date, the Liquidating Trustee,
or any party in interest has interposed a timely objection before the deadlines imposed by the Confirmation Order,
which objection has not been withdrawn or determined by a Final Order. To the extent only the Allowed amount of a
Claim is disputed, such Claim shall be deemed Allowed in the amount not disputed, if any, and Disputed as to the
balance of such Claims. Any and all Claims asserted by any of the Bread Parties are Disputed. For avoidance of
doubt, none of the Claims asserted by the Lenders against the Estate shall be Disputed by the Debtors or the
Liquidating Trustee.

         58.      “Disputed Claims Reserve” has the meaning set forth in the Liquidating Trust Agreement.

         59.       “Distribution Agent” means, as applicable, any Entity selected by the Requisite Consenting Lenders
(in consultation with the Debtors), including the Liquidating Trustee or any Entity the Liquidating Trustee selects
pursuant to the terms of the Liquidating Trust Agreement to make or to facilitate distributions in accordance with the
Plan.

          60.     “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the
Debtors or the Liquidating Trustee, on or after the Effective Date, upon which the Distribution Agent shall make
distributions to Holders of Allowed Claims entitled to receive distributions under the Plan.

         61.      “Distribution Record Date” has the meaning set forth in Article XI.D.1.

          62.      “E&O Liability Insurance Policies” means all errors and omissions insurance policies (including
any “tail policy” or excess policies and all agreements, documents or instruments related thereto) of any of the Debtors.

          63.       “Effective Date” means the date that is the first Business Day after the Confirmation Date on which:
(a) no stay of the Confirmation Order is in effect; (b) all conditions precedent to the occurrence of the Effective Date
set forth in Article XV.B. have been (i) satisfied or (ii) waived pursuant to Article XV.B.; and (c) the Debtors declare




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the Plan effective. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
thereafter and is otherwise in compliance with the milestones in the Transaction Support Agreement.

         64.      “Entity” means an entity as defined in Bankruptcy Code section 101(15).

        65.   “Estate” means the estate of any Debtor created under Bankruptcy Code sections 301 and 541 upon
the commencement of the applicable Debtor’s Chapter 11 Case.

         66.      “Exculpated Party” means the Debtors.

         67.       “Executory Contract” means a contract or lease to which one or more of the Debtors is a party that
is subject to assumption, assumption and assignment, or rejection under Bankruptcy Code sections 365 or 1123.

         68.      “Federal Judgment Rate” means the federal judgment rate in effect pursuant to 28 U.S.C. § 1961 as
of the Petition Date, compounded annually.

         69.      “File,” “Filed” or “Filing” means file, filed or filing in the Chapter 11 Cases with the Bankruptcy
Court or, with respect to the filing of a Proof of Claim, the Claims and Noticing Agent.

         70.      “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

          71.     “Final DIP Order” means the Final Order approving the DIP Facility, incorporating the stipulations
and releases and other terms, as appropriate, of the Interim Cash Collateral Order, authorizing the Debtors’ use of cash
collateral and granting adequate protection and releases, among other items, to the Lenders and the Administrative
Agent that is subject to the terms of the Transaction Support Agreement as applicable and that must be in form and
substance acceptable to the Requisite Consenting Lenders and Administrative Agent.

          72.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified or
amended, and as to which the time to appeal, seek leave to appeal, or seek certiorari has expired and no appeal or
petition for certiorari or motion for leave to appeal has been timely taken, or as to which any appeal that has been
taken or any petition for certiorari or motion for leave to appeal that has been or may be filed has been resolved by the
highest court to which the order or judgment could be appealed or from which certiorari or leave to appeal could be
sought or the new trial, reargument, leave to appeal or rehearing shall have been denied, resulted in no modification
of such order, or has otherwise been dismissed with prejudice.

          73.      “General Unsecured Claim” means any Claim (other than an Administrative Claim, a DIP Facility
Claim, a Professional Fee Claim, a Secured Tax Claim, an Other Secured Claim, a Priority Tax Claim, an Other Priority
Claim, a Loan Claim, an Intercompany Claim or a Section 510 Claim) against one or more of the Debtors including,
without limitation (a) Claims arising from the rejection of Unexpired Leases and Executory Contracts and (b) Claims
arising from any litigation or other court, administrative or regulatory proceeding, including damages or judgments
entered against, or settlement amounts owing by a Debtor related thereto provided, that, for the avoidance of doubt, a
Claim in the amount of $1,500,000.00 or less that would otherwise be a General Unsecured Claim shall be treated as
a Convenience Claim for purposes of this Plan.

         74.      “Governmental Unit” has the meaning set forth in Bankruptcy Code section 101(27).

         75.      “Holder” means an Entity holding a Claim or an Interest in a Debtor or the Liquidating Trust.

          76.     “Impaired” means, with respect to any Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of Bankruptcy Code section 1124.

          77.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in effect as of
the Petition Date, whether in the Debtors’ bylaws, certificates of incorporation, other formation documents, board
resolutions, management or indemnification agreements, employment contracts or otherwise providing a basis for any



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obligation of a Debtor to indemnify, defend, reimburse or limit the liability of, or to advances fees and expenses to,
any of the Debtors’ current and former directors, officers, equity holders, managers, members, employees,
accountants, investment bankers, attorneys, other professionals and professionals of the Debtors, and such current and
former directors’, officers’ and managers’ respective Affiliates.

         78.      “Insurance Contracts” means all insurance policies (including, but not limited to, the D&O Liability
Insurance Policies and expressly excluding any surety bonds, surety indemnity agreements or surety related products)
that have been issued (or provide coverage) at any time to any of the Debtors (or any of their predecessors) and all
agreements, documents or instruments relating thereto.

        79.       “Insurance Coverage Rights” means any direct or derivative rights, interests, claims, entitlements
or Causes of Action of any Debtor under any of the Insurance Contracts, including the rights of any Debtor to proceeds,
indemnification, reimbursement, contribution, benefits or other payment arising out of or under the Insurance
Contracts.

         80.      “Insurer” means any company, third party administrator or other entity that issued or entered into
an Insurance Contract and any respective predecessors, successors and/or affiliates of any of the foregoing, but shall
not include any companies or other entities in their role as issuer of bonds, surety indemnity agreements or surety
related products.

         81.      “Intercompany Claim” means any Claim held by a Debtor against another Debtor or an Affiliate of
a Debtor or any Claim held by an Affiliate of a Debtor against a Debtor, in each case other than a DIP Facility Claim.
In no event shall any claim held by the Debtors against any of the Bread Parties or any Spinoff Claim and Cause of
Action be considered an Intercompany Claim.

         82.      “Intercompany Interest” means any Interest in a Debtor held by another Debtor.

          83.       “Interest” mean, collectively, any shares (or any class thereof) of common stock or preferred stock,
limited liability company interests, and any other equity, ownership, or profits interests of any Debtor, and any options,
warrants, rights, or other securities or agreements to acquire or subscribe for, or which are convertible into any shares
(or any class thereof) of, common stock or preferred stock, limited liability company interests, or other equity,
ownership, or profits interests of any Debtor (in each case whether or not arising under or in connection with any
employment agreement) other than Intercompany Interests.

          84.      “Interim Cash Collateral Order” means the interim order authorizing the Debtors’ use of cash
collateral and granting adequate protection to the Lenders and the Administrative Agent, as entered by the Bankruptcy
Court at Docket No. 65.

         85.      “L/C Obligations” has the meaning set forth in Section 1.01 of the Credit Agreement.

         86.       “Law” means any federal, state, local or foreign law (including common law), statute, code,
ordinance, rule, regulation, order, ruling or judgment, in each case, that is validly adopted, promulgated, issued, or
entered by a governmental authority of competent jurisdiction (including the Bankruptcy Court).

         87.      “Lenders” means, collectively, the Holders of Loan Claims.

         88.       “Lien” means a lien as defined in Bankruptcy Code section 101(37).

        89.      “Liquidating Trust” means the trust established pursuant to Article VIII of the Plan, the Confirmation
Order and the Liquidating Trust Agreement.

          90.       “Liquidating Trust Agreement” means the agreement governing the Liquidating Trust to be included
in the Plan Supplement, which agreement shall be in form and substance (i) reasonably acceptable to the Debtors and
(ii) acceptable to the Requisite Consenting Lenders and the Administrative Agent.




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         91.      “Liquidating Trust Assets” means the following assets: (i) the Preserved Estate Claims; (ii) Insurance
Coverage Rights; (iii) any unencumbered or unsecured property, interests and rights of the Debtors and the Estates as
of the Effective Date; and (iv) collateral secured by a properly perfected lien of the Lenders; provided however, the
proceeds of such collateral shall not be used to pay a General Unsecured Claim unless and until all Loan Claims have
been indefeasibly paid in full.

         92.      “Liquidating Trust Beneficiaries” means Holders of the Liquidating Trust Interests.

         93.      “Liquidating Trust Expenses” means the reasonable and documented fees and expenses incurred by
the Liquidating Trust and reimbursable pursuant to the Liquidating Trust Agreement.

          94.      “Liquidating Trust Interests” means the interests in the Liquidating Trust which shall not be
certificated and shall not be transferrable (except as set forth in the Liquidating Trust Agreement).

         95.     “Liquidating Trust Oversight Committee” means a committee as described in the Liquidating Trust
Agreement that will be appointed on the Effective Date by the Requisite Consenting Lenders, in consultation with the
Debtors and the Administrative Agent, or after the Effective Date, in accordance with the Liquidating Trust Agreement.

          96.      “Liquidating Trust Proceeds” means net Cash proceeds of the Liquidating Trust Assets, excluding
the Liquidating Trust Reserve, available first to repay the DIP Facility Claims (to the extent not previously repaid by
any excess proceeds in the Winddown Reserve) unless otherwise agreed by the relevant parties, and then for
distribution to Liquidating Trust Beneficiaries in accordance with the Plan, the Confirmation Order and the Liquidating
Trust Agreement.

         97.      “Liquidating Trust Reserve” means, collectively, the (a) Convenience Claim Distribution Reserve,
(b) Professional Fee Escrow Account and (c) Winddown Reserve.

          98.      “Liquidating Trustee” means the Person appointed by the Requisite Consenting Lenders, in
consultation with the Debtors and Administrative Agent, to serve as trustee of the Liquidating Trust, who will be
identified in the Plan Supplement.

        99.     “Loan Claims” means, collectively, the Term A Loan Claims, the Term B Loan Claims and the
Revolving Loan Claims.

        100.    “Loans” means, collectively, the Revolving Loans, the Swing Line Loans, the L/C Obligations, the
Term A Loan and the Term B Loan.

         101.     “LoyaltyOne” means LoyaltyOne, Co., a Nova Scotia unlimited company.

         102.     “Lux Financing” means LVI Lux Financing S.à r.l, a private limited liability company incorporated
under the laws of Luxembourg.

         103.     “LVI” means Debtor Loyalty Ventures Inc., a Delaware corporation.

         104.     “Ontario Court” means the Ontario Superior Court of Justice (Commercial List).

          105.      “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax Claim
entitled to priority in right of payment under Bankruptcy Code section 507(a).

         106.     “Other Secured Claim” means any Secured Claim against the Debtors, including any Secured Tax
Claim, other than a Loan Claim.

         107.     “Person” means a person as defined in Bankruptcy Code section 101(41).




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      108.        “Petition Date” means March 10, 2023, the date on which the first of the Chapter 11 Cases is
commenced.

         109.     “Plan” has the same meaning as the Combined DS and Plan.

         110.      “Plan Supplement” means the compilation of documents and forms of documents, schedules and
exhibits (or substantially final forms thereof), in each case subject to the terms and provisions of the Transaction
Support Agreement, to be filed no later than the Plan Supplement Filing Date, as may be amended, modified or
supplemented from time to time through and including the Effective Date, which may include, as and to the extent
applicable: (a) the Schedule of Assumed Executory Contracts and Unexpired Leases; (b) the Schedule of Preserved
Estate Claims; (c) the Liquidating Trust Agreement; (d) the Amended Organizational Documents; (e) the Liquidation
Analysis; and (f) any and all other documentation that is contemplated by the Plan.

         111.    “Plan Supplement Filing Date” means the date that is at least seven (7) days before the deadline to
object to Confirmation of the Plan.

          112.     “Preserved Estate Claims” means (i) the Spinoff Claims and Causes of Action and (ii) all Causes of
Action of the Debtors that are not released or waived pursuant to the Plan and are identified in the Plan Supplement,
including, for the avoidance of doubt, all Causes of Action against the Bread Parties, whether or not described in the
Schedule of Preserved Estate Claims or in Article III.A. hereof, provided further that no claim or Cause of Action
against the Lenders or against a Released Party (to the extent such claim or Cause of Action is released in Article XII)
shall be a Preserved Estate Claim.

        113.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in Bankruptcy
Code section 507(a)(8).

        114.    “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the aggregate
amount of Allowed Claims in that respective Class.

         115.     “Professional Fee Claim” means all Administrative Claims for the compensation of Retained
Professionals and the reimbursement of expenses incurred by such Retained Professionals through and including the
Effective Date under Bankruptcy Code sections 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) to the
extent such fees and expenses have not been paid pursuant to an order of the Bankruptcy Court.

        116.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Reserve Amount as set forth in Article VI.A.

          117.    “Professional Fee Reserve Amount” means the aggregate amount of Retained Professional Fee
Claims and other unpaid fees and expenses that the Retained Professionals estimate they have incurred or will incur
in rendering services to the Debtors prior to and as of the Effective Date, which estimates Retained Professionals shall
deliver to the Debtors and the Consenting Term B Lenders and the Administrative Agent as set forth in Article VI.A.

         118.     “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.

         119.     “Reinstate,” “Reinstated” or “Reinstatement” means leaving a Claim Unimpaired under the Plan.

         120.      “Released Party” means each of the following, solely in its capacity as such: (a) the Debtors; (b) the
DIP Lender; (c) each Lender; (d) the Administrative Agent; and (e) with respect to the foregoing clauses (a) through
(d), each such Entity’s current and former Affiliates, directors, board observers, managers, officers, control persons,
equity holders (regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, participants, managed accounts or funds, fund advisors, predecessors, successors, assigns,
subsidiaries, principals, members, employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, investment managers, and other professionals, each in
their capacity as such; provided that none of the Bread Parties shall be a “Released Party,” provided further, that none




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of the Loan Parties (as defined in the Credit Agreement), other than the Debtors, shall be released (i) in relation to the
BL Purchase Agreement and related documentation, or (ii) from any Claims arising under the Credit Agreement.

          121.     “Releasing Party” means each of the following, solely in its capacity as such: (a) the Debtors;
(b) the DIP Lender; (c) each Lender; (d) the Administrative Agent; (e) Holders of Claims; (f) Holders of Interests;
with respect to the foregoing clauses (a) through (d), each such Entity’s current and former Affiliates, directors, board
observers, managers, officers, control persons, equity holders (regardless of whether such interests are held directly
or indirectly), affiliated investment funds or investment vehicles, participants, managed accounts or funds, fund
advisors, predecessors, successors, assigns, subsidiaries, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives,
investment managers and other professionals, each in their capacity as such; provided that a Holder of a Claim or
Interest shall not be a Releasing Party if such Entity: (x) elects to opt out of the releases contained in the Plan; or
(y) timely files with the Bankruptcy Court, on the docket of the Chapter 11 Cases, an objection to the releases
contained in the Plan that is not resolved before Confirmation.

          122.    “Requisite Consenting Lenders” means, at any applicable time of determination, Consenting
Lenders holding at least a majority of the aggregate outstanding principal amount held by all of the Consenting Lenders
of: (i) the Revolving Loans; (ii) the L/C Obligations; (iii) the Swing Line Loan; (iv) the Term A Loan and (v) the
Term B Loan, taken together.

          123.     “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a Final
Order in accordance with Bankruptcy Code sections 327, 363 or 1103 and to be compensated for services rendered
prior to or on the Effective Date pursuant to (i) Bankruptcy Code sections 327, 328, 329, 330 or 331 or (ii) an order
entered by the Bankruptcy Court authorizing such retention; or (b) for which compensation and reimbursement has
been Allowed by the Bankruptcy Court pursuant to Bankruptcy Code section 503(b)(4).

        124.    “Revolver Lenders” means the lenders under the Revolving Loans, the L/C Obligations and the
Swing Line Loans as defined in the Credit Agreement.

         125.     “Revolving Loans” has the meaning set forth in Section 2.01(a) of the Credit Agreement.

         126.      “Revolving Loan Claims” means any Claims against a Debtor arising under, derived from, secured
by, based on, or related to the Revolving Loans, the L/C Obligations and/or any Swing Line Loans. For the avoidance
of doubt, the Revolving Loan Claims, shall be deemed Allowed and not Disputed by the Debtors or the Liquidating
Trustee in the amount specified herein.

         127.     “Schedule of Assumed Executory Contracts and Unexpired Leases” means a schedule that will be
Filed as part of the Plan Supplement, as may be amended, and will include a list of all Executory Contracts and
Unexpired Leases that the Debtors intend to assume and assume and assign.

         128.     “Schedule of Preserved Estate Claims” means the schedule of certain Causes of Action of the
Debtors that are not released or waived pursuant to the Plan, as the same may be amended, modified or supplemented
from time to time, to be included in the Plan Supplement, and which for the avoidance of doubt, shall include any and
all Causes of Action against the Bread Parties and Spinoff Claims and Causes of Action.

         129.     “SEC” means the United States Securities and Exchange Commission.

         130.     “Section 510 Claim” means any Claim against any Debtor: (a) arising from the rescission of a
purchase or sale of a Security of any Debtor or an affiliate of any Debtor; (b) for damages arising from the purchase
or sale of such a Security; (c) for reimbursement or contribution Allowed under Bankruptcy Code section 502 on
account of such a Claim; or (d) any and all Claims which may be equitably subordinated under Bankruptcy Code
section 510(c).

        131.     “Secured Claim” means, when referring to a Claim, a Claim: (a) secured by a Lien on property in
which any of the Debtors has an interest, which Lien is valid, perfected and enforceable pursuant to applicable law or



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by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to Bankruptcy Code section 553, to the
extent of the value of the creditor’s interest in such Debtor’s interest in such property or to the extent of the amount
subject to setoff, as applicable, as determined pursuant to Bankruptcy Code section 506(a); or (b) Allowed pursuant
to the Plan, or separate order of the Bankruptcy Court, as a Secured Claim.

          132.     “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under Bankruptcy Code section 507(a)(8) (determined irrespective of time limitations),
including any related Secured Claim for penalties.

         133.     “Securities Act” means the Securities Act of 1933, as amended.

         134.     “Security” shall have the meaning set forth in Bankruptcy Code section 101(49).

         135.     “Servicer” means an agent or other authorized representative of Holders of Claims.

         136.      “Solicitation Agent” means Kroll Restructuring Administration LLC, in its capacity as the notice,
claims, and solicitation agent in the Chapter 11 Cases.

         137.      “Spinoff Claims and Causes of Action” means any Claim or Cause of Action that may be or can be
asserted against (i) any individual or (ii) any Entity (other than the Lenders or the Administrative Agent), for his, her,
or its involvement in, directly or indirectly, the Spinoff Transaction or any transaction related to the Spinoff
Transaction; provided however, that any such Spinoff Claims and Causes of Action shall not include claims or causes
of action against any individual that meets both of the following: (y) who served as a director, manager or officer for
any Debtor or non-Debtor direct or indirect subsidiary of a Debtor at any time after the completion of the Spinoff
Transaction (as defined and described below) and (z) did not serve in any such capacity for Bread or its Affiliates
(except for the Debtors and the Debtors’ direct and indirect non-Debtor subsidiaries) at any time after completion of
the Spinoff Transaction.

         138.     “Swing Line Loans” has the meaning set forth in Section 2.05(a) of the Credit Agreement.

         139.     “Tax Code” means the Internal Revenue Code of 1986, as amended from time to time.

         140.     “Term A Loan” has the meaning set forth in Section 2.01(b) of the Credit Agreement.

         141.     “Term A Loan Claims” means any Claim against a Debtor arising under, derived from, secured by,
based on or related to the Term A Loan as defined in the Credit Agreement. For the avoidance of doubt, the Term
Loan A Claims, shall be deemed Allowed and not Disputed by the Debtors or the Liquidating Trustee in the amount
specified herein.

       142.       “Term A Loan Lenders” means the lenders under the Term A Loan as defined in the Credit
Agreement.

         143.     “Term B Loan” has the meaning set forth in Section 2.01(c) of the Credit Agreement.

         144.     “Term B Loan Claims” means any Claim against a Debtor arising under, derived from, secured by,
based on, or related to the Term B Loan as defined in the Credit Agreement. For the avoidance of doubt, the Term
Loan B Claims, shall be deemed Allowed and not Disputed by the Debtors or the Liquidating Trustee in the amount
specified herein.

       145.       “Term B Loan Lenders” means the lenders under the Term B Loan as defined in the Credit
Agreement.

         146.     “Third-Party Release” means the releases set forth in Article XII.C.




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         147.     “Transaction Support Agreement” means that certain Transaction Support Agreement entered into
on March 10, 2023 by and among the Debtors and certain of their non-Debtor subsidiaries and the Consenting Lenders
party thereto, as may be amended from time to time pursuant to the terms thereof, and attached as Exhibit B to the
Combined DS and Plan.

         148.   “TSA Definitive Document Requirements” means the respective consent rights of the Debtors and
the Consenting Lenders who are party to the Transaction Support Agreement as set forth therein with respect to the
Definitive Documents.

         149.      “U.S. Trustee” means the Office of the United States Trustee for the Southern District of Texas.

         150.      “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed Claim
to a Holder that has not: (a) accepted a particular distribution; (b) given notice to the Debtors or Liquidating Trustee,
as applicable, of an intent to accept a particular distribution; (c) responded to the Debtors’ or Liquidating Trustee’s,
as applicable, requests for information necessary to facilitate a particular distribution; or (d) taken any other action
necessary to facilitate such distribution.

          151.      “Unexpired Lease” means a lease of nonresidential real property to which one or more of the Debtors
is a party that is subject to assumption or rejection under Bankruptcy Code section 365.

        152.      “Unimpaired” means, with respect to a Class of Claims, a Class consisting of Claims that are not
impaired within the meaning of Bankruptcy Code section 1124.

         153.       “Voting Deadline” means the date and time by which the Solicitation Agent must actually receive
the Ballots, as set forth on the Ballots.

         154.    “Winddown Reserve” means the amounts funded out of the DIP Facility, by the Debtors as of the
Effective Date, or as may be funded by LoyaltyOne or another party, to pay Allowed Cure Claims, Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Claims in Classes 1 and 2, Liquidating Trust Expenses,
and any other amounts as specified in the Plan or the Liquidating Trust Agreement.

B.       Rules of Interpretation

          For purposes of this Combined DS and Plan: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine or
neuter gender shall include the masculine, feminine and the neuter gender; (b) unless otherwise specified, any
reference herein to a contract, lease, instrument, release, indenture or other agreement or document being in a particular
form or on particular terms and conditions means that such document shall be substantially in such form or
substantially on such terms and conditions; (c) unless otherwise specified, any reference herein to an existing
document, schedule or exhibit, shall mean such document, schedule or exhibit, as it may have been or may be amended,
modified or supplemented; (d) unless otherwise specified, all references herein to “Articles” are references to Articles
hereof or hereto; (e) the words “herein,” “hereof” and “hereto” refer to the Combined DS and Plan in its entirety rather
than to any particular portion of the Plan; (f) captions and headings to Articles are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation of the Plan; (g) unless otherwise specified herein,
the rules of construction set forth in Bankruptcy Code section 102 shall apply; (h) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (i) references to docket
numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy
Court’s CM/ECF system; (j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims” and the like
shall include “Proofs of Interest,” “Holders of Interests,” “Disputed Interests,” and the like as applicable; (k) references
to “shareholders,” “directors” and/or “officers” shall also include “members” and/or “managers,” as applicable, as
such terms are defined under the applicable state limited liability company laws or applicable foreign law; and (l) the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation.”




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C.       Computation of Time

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day.

D.       Governing Law

         Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject to the provisions of any
contract, lease, instrument, release, indenture or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in accordance
with, the laws of the State of New York, without giving effect to conflict of laws principles.

E.       Reference to Monetary Figures

        All references in the Plan to monetary figures refer to currency of the United States of America, unless
otherwise expressly provided.

F.       Controlling Document

         In the event of any inconsistency among this Combined DS and Plan or any exhibit or schedule hereto, the
provisions of this Combined DS and Plan shall govern. In the event of any inconsistency among this Combined DS
and Plan and any document or agreement filed in the Plan Supplement, such document or agreement filed in the Plan
Supplement shall control. In the event of any inconsistency among this Combined DS and Plan or any document or
agreement filed in the Plan Supplement and the Confirmation Order, the Confirmation Order shall control.

G.       Certain Consent Rights

         Notwithstanding anything in the Combined DS and Plan to the contrary, any and all consent rights of the
Consenting Lenders and Administrative Agent set forth in the Transaction Support Agreement with respect to the
form and substance of this Combined DS and Plan, the Plan Supplement, and any other Definitive Document (as
defined in the Transaction Support Agreement), including any amendments, restatements, supplements, or other
modifications to such documents, and any consents, waivers, or other deviations under or from any such documents,
shall be incorporated herein by this reference (including to the applicable definitions in Article I hereof) and fully
enforceable as if stated in full herein.

                                     ARTICLE II.
          THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS OVERVIEW

A.       The Debtors’ Corporate History

        On November 5, 2021, Bread, a Delaware corporation then known as Alliance Data Systems Corporation
(“ADS”), completed a corporate spinoff (the “Spinoff Transaction”) of its loyalty programs business line, which
included (i) the AIR MILES Reward Program, Canada’s most recognized coalition loyalty program, and (ii) its
Netherlands-based BrandLoyalty business (“BrandLoyalty”). As a result of the Spinoff Transaction, LVI, a newly
formed independent, publicly-traded company, became the ultimate parent of the entities that own and operate the
AIR MILES and BrandLoyalty businesses.

         Pursuant to the Spinoff Transaction, 81% of the outstanding shares of LVI were distributed pro rata to the
holders of ADS common stock based on the outstanding shares of ADS common stock at the close of business on the
record date of October 27, 2021 and ADS retained 19% of the outstanding shares of LVI.3 In addition, and as described

3    ADS stockholders of record that did not sell their rights to receive LVI stock before the close of business on November 5,
     2021 received one share of LVI common stock for every two and one-half (2.5) shares of ADS common stock.



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in more detail below, as part of the Spinoff Transaction, ADS caused LVI and subsidiaries comprising the spun
business to make cash distributions totaling $750 million to ADS on November 3, 2021.4 On November 8, 2021,
“regular-way” trading of LVI common stock began on the Nasdaq Global Select Market under the symbol “LYLT”.

B.        The Company’s Business Operations

          LVI’s non-Debtor indirect subsidiaries own and operate two business segments: AIR MILES and
BrandLoyalty. Through the AIR MILES and BrandLoyalty businesses, the Company provides tech-enabled, data-
driven customer loyalty solutions by way of reward programs with partnering businesses, including financial
institutions, retailers, grocers and other consumer-facing enterprises. These solutions are focused on helping
partnering businesses achieve their strategic and financial objectives, including increased consumer basket size,
shopper traffic and frequency, digital reach and enhanced program reporting and analytics. The Company also helps
its partners create and increase consumer loyalty across multiple touch points, from traditional to digital to mobile and
emerging technologies. The Company looks to create value for its stakeholders through the continued development
of loyalty platforms for the tech-forward business and consumer era.

        The Company is headquartered in Dallas, Texas. As of December 2022, the Company employed
approximately 1204 individuals in 18 countries around the world and provided services to over 300 participating
businesses (with over 10 million Canadians actively participating in the AIR MILES Reward Program) in 41 countries
worldwide through the AIR MILES and BrandLoyalty businesses. As of the December 2022, the Company leased
approximately 29 properties worldwide, which are used to carry out the Company’s operational, sales and
administrative functions and include general office properties, warehouses, data centers, customer care centers,
automobiles and equipment. The Company’s principal leased facilities are located in Canada and the Netherlands.

             1.         AIR MILES Reward Program

          The AIR MILES Reward Program is a full-service outsourced coalition loyalty program, which assists its
partners in acquiring and retaining loyal and continuing customers. Consumers enrolled in the program (“Collectors”)
earn miles (“Reward Miles”) at more than 300 leading Canadian, global and online brands and at thousands of retail
and service locations across Canada the can be redeemed (i) toward in-store purchases and (ii) for travel, merchandise,
donations or other rewards. As noted above, over 10 million Canadians actively participate in the AIR MILES Reward
Program. The information generated from Collectors’ exercise of their Reward Miles powers an extensive dataset that,
along with LoyaltyOne’s analytics and marketing capabilities, enables AIR MILES’ clients to better inform and refine
their marketing activities. The majority of the business is focused on a small group of partners (typically referred to
as “Sponsors”) that pay LoyaltyOne a fee per Reward Mile issued to, and, in one case, redeemed by the Collectors, in
return for which LoyaltyOne provides a number of services to both Sponsors and Collectors, including, but not limited
to, all marketing (including the use of the AIR MILES Reward Miles brand), analytics, customer services and
redemption management.

         On the Petition Date, LoyaltyOne, which together with its subsidiary, LoyaltyOne Travel Services Co. / Cie
Des Voyages LoyaltyOne (“Travel Services”), owns and operates the AIR MILES Reward Program, was granted relief
under the CCAA by the Ontario Court pursuant to the Initial Order (as defined below). The CCAA Proceeding is
described in more detail in Article III.E.

             2.         BrandLoyalty

         BrandLoyalty provides purpose-driven, tailor-made, campaign-based loyalty solutions for grocers and other
high-frequency retailers. Through BrandLoyalty, the Company works to design campaigns to drive consumers’
shopping behavior and engender long-term loyalty to partnering brands. BrandLoyalty clients pay the Company a fee,
based on the number of redemptions, to create and implement customized campaigns. The BrandLoyalty campaigns
typically last between six and 20 weeks under contract terms generally less than one year in length. BrandLoyalty


4    The distribution qualified as a tax-free reorganization and a tax-free distribution to ADS and its stockholders for U.S. federal
     income tax purposes. Further, in connection with the Spinoff Transaction, the LVI and ADS indemnified each other for certain
     liabilities.



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does not generally maintain long-term agreements with its clients, meaning that client agreements must be renegotiated
for each campaign, including with respect to key terms such as volume, pricing or new campaign rewards.

         The Company has BrandLoyalty retailer clients operating on six continents. Many BrandLoyalty clients are
leading grocery retailers in their respective countries. In addition, BrandLoyalty manages a broad portfolio of reward
suppliers balanced between exclusive contracts, licenses and proprietary suppliers. As described in greater detail
below, the Company entered into a Sale and Purchase Agreement on March 1, 2023 with Opportunity Partners B.V.,
a private company with limited liability incorporated under the laws of the Netherlands, for the purchase of the
BrandLoyalty business for an aggregate purchase price of $6 million.

C.       The Debtors’ Prepetition Capital Structure

             1.         Capital Structure

          In connection with the Spinoff Transaction, certain of the Debtors and certain of their non-Debtor subsidiaries
entered into the Credit Agreement with the Administrative Agent and the Lenders. The Credit Agreement provided
for (a) the $175 million Term A Loan, (b) the $500 million Term B Loan, issued at 98.0% of the aggregate principal
amount and (c) the Revolving Loans in the maximum principal amount of $150 million. $650 million in Loan
proceeds were used to finance a portion of the $750 million distributed from LVI to ADS in connection with the
Spinoff Transaction.

                                                Approximate
                                                                           Current Interest
                                              Principal Amount
                  Facility                                                  Rate as of the               Maturity Date
                                              Outstanding as of
                                                                            Petition Date
                                                Petition Date
            Term A Loan                               $161,875,000               10.5%                 November 3, 2026
            Term B Loan                              $462,500,0005               11.2%                 November 3, 2027
           Revolving Loans                           $32,000,000 6               10.5%                 November 3, 2026
                                  Total:             $656,375,000

         Under the Credit Agreement, the Company is required to make quarterly principal amortization payments in
equal installments in an aggregate amount of 7.5% per annum of the initial aggregate principal amount of each of the
Term A Loan and the Term B Loan. Additionally, beginning with the fiscal year ending December 31, 2022, the Credit
Agreement requires, on an annual basis, the prepayment of the Term B Loan with either 0%, 25% or 50% of Excess
Cash Flow (as defined in the Credit Agreement) depending on the Consolidated Secured Leverage Ratio (as defined
in the Credit Agreement).

         The Credit Agreement was amended on July 29, 2022 (the “July Amendment”). Pursuant to the July
Amendment, Section 7.11 of the Credit Agreement was modified to, among other things, (i) adjust the financial
maintenance covenant applicable to the Term A Loan and Revolving Loans, (ii) adjust the definition of “Consolidated
EBITDA” for purposes of computing the financial maintenance covenant, (iii) provide for periodic permanent
reductions of commitments under the Revolving Loans and (iv) provide for new limitations on the incurrence of
additional indebtedness and the making of certain restricted payments.

        On February 28, 2023, LoyaltyOne made an intercompany loan to LVI in the amount of CAD $18 million
(the “LoyaltyOne Intercompany Loan”) to permit LVI to pay certain fees, costs and expenses, including employee

5    In addition to this amount, the Allowed Term Loan B Claims will include the prepayment premium under the Credit
     Agreement of $9,250,000.
6    As of the Petition Date, the L/C Obligations include the following: (i) L/C in the amount of 7,500,000 Euros issued for the
     account of BrandLoyalty France S.A.R.L; (ii) L/C in the amount of $200,000 issued for the account of BrandLoyalty Sourcing
     USA, Inc.; and (iii) L/C in the amount of 100,000 Canadian dollars issued for the account of LoyaltyOne, Co., which amounts
     are not included in the principal amount of the Revolving Loans. As of the Petition Date, there were no outstanding Swing
     Line Loans.



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expenses, incurred by LVI both in the ordinary course and in contemplation of the Chapter 11 Cases and to support
the continuity of LVI’s operations. The LoyaltyOne Intercompany Loan matures on May 26, 2023.

D.        Spinoff Agreements

         In conjunction with the Spinoff Transaction, the Company entered into several agreements with ADS/Bread
that govern the relationship of the parties. These agreements include, among others, the following:

         Tax Matters Agreement, dated as of November 5, 2021 (the “TMA”): The TMA addresses the rights and
          obligations of ADS/Bread, LVI and, purportedly, their respective subsidiaries with respect to various tax
          obligations and refunds. Under the TMA, ADS/Bread caused LVI to agree to pay over to ADS/Bread a tax
          refund of approximately CAD $100 million to which LoyaltyOne may become entitled within thirty (30)
          days of receipt thereof.

         Transition Services Agreement, dated as of November 5, 2021 (the “TSA”): The TSA provides that, despite
          the Spinoff Transaction, ADS/Bread and LVI would continue to provide each other with certain corporate,
          administrative and information technology services in substantially the same form as they did during the
          previous year and LVI would make a monthly payment to ADS for such services.

         Employee Matters Agreement, dated as of November 5, 2021 (the “Employee Matters Agreement”): The
          Employee Matters Agreement provides for the allocation of employees, employee compensation and benefit
          plan and programs between ADS/Bread and LVI.

E.        Intercompany Relationships

         As is customary for a global enterprise of the Company’s size and scale, the Debtors and their non-Debtor
subsidiaries and Affiliates (exclusive of the Bread Parties) are parties to a series of relationships with each other and
their non-Debtor Affiliates (exclusive of any Bread Parties), with whom the Debtors transact on a regular basis in the
ordinary course of conducting their global business. The Debtors engage in such intercompany transactions in order
to, among other things, provide enterprise-wide support services, divide the costs of management fees, complete
transactions with administrative ease and facilitate daily. These transactions are recorded in a number of different
ways, including through accounts receivable/payable relationships, intercompany loans and dividends.

F.        Common Stock

         As of March 2, 2023: (i) LVI had 24,725,000 shares of common stock outstanding, with 83 holders of record,
as well as an aggregate of 173,189,763 shares of common stock authorized but not issued and not reserved for specific
purposes; (ii) LVI had reserved 2,084,337 shares of common stock for issuance under the Company’s employee benefit
plans; and (iii) Bread held 19% of LVI’s outstanding common stock.

                                           ARTICLE III.
                             EVENTS LEADING TO THE CHAPTER 11 FILINGS

           A confluence of events and circumstances contributed to the Debtors’ need to commence the Chapter 11
Cases, as well as LoyaltyOne’s commencement of the CCAA Proceeding, beginning with issues arising prior to the
Spinoff Transaction and following on with issues arising from the financial condition in which the Company was left
as a result of the Spinoff Transaction. Following the Spinoff Transaction, various operational challenges accelerated
the timeline for the Debtors to exhaust their liquidity and confront their massive debt obligations. Despite the
Company’s best efforts, months of engagement with their lenders did not lead to an out of court solution or an in court
balance sheet restructuring; instead, the Company intends to conduct the orderly sale or wind-down, as applicable, of
its assets through the following proceedings and/or transactions: (1) the Chapter 11 Cases in respect of the Company’s
corporate holding company infrastructure; (2) the sale of the BrandLoyalty business; and (3) the sale of the AIR
MILES business either to BMO or to the entity otherwise designated as the Successful Bidder in the proposed SISP
in connection with the CCAA Proceeding.




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A.       Issues Arising from the Spinoff Transaction7

         Prior to the Spinoff Transaction, the businesses that would come to comprise the Company were part of
ADS’s “LoyaltyOne” business segment, which included the AIR MILES and BrandLoyalty business segments.
Historically, the AIR MILES and BrandLoyalty business segments had experienced consistent declines in revenue
and earnings for several years, including well before any impacts from the COVID pandemic. As part of the Spinoff
Transaction, ADS transferred those businesses from its (then) wholly-owned, indirect subsidiary, Alliance Data
International LLC (“ADILC”) to LVI, which was, at the time, another wholly-owned, indirect subsidiary of ADS.
ADS then distributed 81% of LVI’s common stock to ADS’s stockholders, while retaining the remaining 19% of
LVI’s common stock.

         ADS conditioned the Spinoff Transaction on the Company’s entry into the Credit Agreement, which, among
other things, contained quarterly amortization rates (equal to 7.5% of the initial $675 million principal balance per
annum) plus, additional annual prepayments equal to up to 50% of the Company’s excess cash flow depending on the
Company’s consolidated secured leverage ratio—which quarterly amortization payments severely strained the
Company’s available cash flows. ADS also required LVI to absorb $25 million of the debt issuance and other
transaction costs associated with the Spinoff Transaction.

         ADS then caused the Company to distribute $750 million—consisting of the remaining $650 million in debt
proceeds, along with $100 million of cash swept from the businesses that would comprise the Company—to ADS in
connection with the consummation of the Spinoff Transaction. ADS then used the $750 million to pay down its own
debts, with no benefit conferred upon the Company. At the same time, ADS required the Company to assume liability
for certain class action lawsuits consisting of claims that were based on and arose from actions that the board of
directors of ADS had directed prior to the Spinoff Transaction. Through the TMA, ADS also purported to obligate
LVI to pay over to ADS substantial anticipated tax refunds, which may be as much as CAD $100 million.

          LVI’s agreement to all these terms and conditions was authorized and directed by LVI’s then sole director,
Joseph L. Motes III (“Motes”), who was ADS’s Executive Vice President, General Counsel, Secretary and Chief
Administrative Officer. The day before the Spinoff Transaction was completed, but after he and ADS had approved
its terms, Motes resigned from LVI’s board, while continuing in his positions at ADS.

         The Debtors are vesting all claims and causes of action against the Bread Parties, and all other Preserved
Estate Claims, including and all claims related to the Spinoff (i.e. the Spinoff Claims and Causes of Action) in a
Liquidating Trust, and, through the Liquidating Trust, intend to have the Liquidating Trustee pursue claims that ADS,
Motes and other Bread Parties implemented the Spinoff Transaction to improve ADS’s own balance sheet at the
expense of LVI and the Lenders and contrary to the fiduciary duties Motes and ADS owed to LVI.

          Further, the Debtors, through the Liquidating Trust, intend to have the Liquidating Trustee allege that ADS’s
and Motes’s self-dealing and breaches of fiduciary duties at every step of the Spinoff Transaction—and their actions
taken in concert with one another—rendered LVI insolvent and unable to pay its debts as they came due, and form the
basis of the Causes of Action for breach of fiduciary duties that LVI, through the Liquidating Trust, intend to have the
Liquidating Trustee allege against Bread and Motes and seek damages. As LVI’s controlling shareholder, ADS also
breached ADS’s fiduciary duties to LVI, which fiduciary duties prohibited ADS from taking actions that would render
LVI insolvent. By orchestrating and effectively standing on both sides of the Spinoff Transaction, and pushing for
consummation of the Spinoff Transaction despite the fact that LVI would be rendered insolvent as a result, ADS
breached its fiduciary duties to LVI. In his capacity as LVI’s sole director prior to the Spinoff Transaction, Motes
acted solely in the interests of ADS in matters related to the Spinoff Transaction despite the fiduciary duties that he
owed to LVI. At the same time he served as LVI’s sole director, Motes was and continues to be a longtime ADS
senior executive. Motes was conflicted with divided loyalties at all relevant times.

           In addition to these fiduciary duty claims, LVI’s transfer of approximately $650 million in net debt proceeds
(i.e. the debt issued pursuant to the Credit Agreement net of the approximately $25 million of absorbed debt issuance


7    Jackson Walker LLP and Friedman Kaplan Seiler Adelman & Robbins LLP prepared this subsection addressing the Debtors’
     claim against the Bread Parties and Motes as well as all other portions herein addressing or relating to the Bread Parties.



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and transaction costs) to ADILC (and ultimately, ADS) should be avoided as both an actual and constructive fraudulent
transfer under both the Bankruptcy Code and the Texas Uniform Fraudulent Transfer Act. As part of the Spinoff
Transaction, LVI transferred $650 million in debt proceeds to ADILC in exchange for all issued and outstanding stock
of the ADS subsidiaries comprising the AIR MILES and BrandLoyalty businesses, which was not an exchange of
reasonably equivalent value. ADILC then distributed the $650 million up its own corporate chain to ADS, which used
those proceeds to pay down ADS’s outstanding debt. As a result of the transfer, LVI was rendered insolvent, was
unable to pay its debts as they came due, and was left with unreasonably small capital to operate its business. For
those reasons, LVI through the Liquidating Trust, intends to have the Liquidating Trustee seek to avoid the transfer
and recover its value from ADS (either as subsequent transferee, or as the Entity for whose benefit the transfer was
made, or as the successor-in-interest to the initial transferee ADILC), together with an award of prejudgment and
postjudgment interest, for the benefit of the Estate.

         If the Liquidating Trustee, on behalf of LVI prevails on its intended avoidance and recovery claim against
ADS, any otherwise allowable Claim of Bread will be Disallowed pursuant to section 502(d) of the Bankruptcy Code
unless and until it returns the entirety of the $650 million transfer.

B.       Operational Challenges

          In connection with the challenges existing prior to the Spinoff Transaction and the high leverage and debt
service obligations resulting from the Spinoff Transaction, the Company has faced several challenges that have
accelerated revenue declines and operational issues. Among other factors, these include, (i) the loss of Sobeys—at the
time, the second largest Sponsor in the AIR MILES Reward Program—as a Sponsor and concurrent negotiations with
other Sponsors that resulted in less beneficial contracts in respect of the AIR MILES Reward Program and (ii) supply
chain issues that were compounded by the impact of the Russian invasion of Ukraine.

          In late 2020, Sobeys informed ADS that it was considering exercising its early termination rights and
renegotiating or discontinuing its participation in the AIR MILES Reward Program before the expiration of its
contract. Sobeys then announced on June 7, 2022 that it would discontinue its participation in the AIR MILES Reward
Program beginning in August 2022.

         In addition to the direct impact from the loss of revenue and earnings attributable to the loss of Sobeys (or
any of the AIR MILES business’s major Sponsors), a departure of one would have a broader “network effect” on the
value of the entire AIR MILES Reward Program to the remaining Sponsors and Collectors. Much like an anchor
tenant in a mall, Sobeys was critical to the AIR MILES Reward Program because consumers tend to visit grocery
stores on a weekly basis, creating regular and frequent opportunities for Collectors to earn and redeem reward miles.

          Sobeys’s departure had the previously expected consequence of causing the remaining two of the AIR MILES
Reward Program’s top three customers (BMO and Shell Canada) to demand and obtain substantial price concessions
upon renewal of their contracts. The Company also negotiated a contract renewal with Metro Ontario Inc. (“Metro”)
in late 2022. In light of the Company’s limited negotiating power (due to the customer concentration risk represented
by those three clients) and crippling debt burden, along with the reduced network effect as a result of Sobeys’s exit,
these contract renewals incorporated reduced economics, shorter terms and certain termination risks. The price
concessions substantially compressed the AIR MILES business’s earnings margin.

         The AIR MILES business began to feel the cash impact of the loss of the Sobeys relationship and the repricing
of the BMO, Shell Canada and Metro contracts in late 2022, but will experience a substantial negative earnings impact
over the next three years. The renegotiated contract with BMO alone will result in approximately $40 million less in
pre-tax cash flow realized by the AIR MILES business than under the previous contract terms.

          The Company was also hampered by ongoing supply chain issues, which were further exacerbated by the
Russian invasion of Ukraine in February 2022 that hastened the Company’s already extensive revenue decline, which
conflict also resulted in rising energy prices, additional supply chain disruptions and increased economic uncertainty
in Europe and the United States.




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          The supply chain crisis of 2021 resulted in BrandLoyalty being unable to source and deliver reward
merchandise reliably or efficiently, constraining BrandLoyalty’s ability to execute successful programs. To prevent
similar challenges in 2022, the BrandLoyalty business increased its inventory orders in 2021 for 2022 delivery in an
attempt to create more certainty around the ability to deliver and execute on the BrandLoyalty programs planned for
2022. However, economic uncertainty at that time resulted in BrandLoyalty’s 2022 campaigns not resonating with
consumers. Retailers subsequently returned the unredeemed inventory and the BrandLoyalty business was therefore
left with significant surplus inventory on which it had already expended its liquidity. This created a net working capital
strain for the BrandLoyalty business.

         As a result, the Company provided the BrandLoyalty business with additional working capital throughout
2022 to order new inventory for 2023 delivery and meet the changing customer preferences for its 2023 programs.
This represented an ongoing drain on the Company’s liquidity position.

         The BrandLoyalty business also refocused its strategy towards familiar geographies and proven reward
categories to reduce execution risk, including providing alternative reward merchandise, with a focus on digital-first
campaigns to bypass supply chain challenges.

         These measures have not alleviated the liquidity issues imposed on the Company as a result of the Spinoff
Transaction, nor have they addressed the Company’s inability to service the debt imposed on it through the Spinoff
Transaction, resulting in the need for these Chapter 11 Cases, the CCAA Proceeding and the additional transactions
described herein.

C.       Prepetition Negotiations with the Lenders

           Following Sobeys’s public announcement that it would exit the AIR MILES Reward Program in mid-2022,
and concurrently with the Company’s negotiations with BMO and Shell, the Company experienced liquidity issues
less than a year after the Spinoff Transaction that threatened its ability to comply with certain covenants under the
Credit Agreement. In the summer of 2022, the Company with its existing counsel, Akin Gump Strauss Hauer & Feld
LLP and PJT Partners LP, negotiated an amendment to the Credit Agreement to provide needed covenant relief,
resulting in the July Amendment. The Company thereafter extended its engagement with its existing counsel, Akin
Gump Strauss Hauer & Feld LLP and Cassels Brock & Blackwell LLP, as Canadian counsel to LoyaltyOne, to assist
it in restructuring discussions with its Lenders.

         Around October of 2022, the Ad Hoc Group of Term B Loan Lenders formed and retained, among other
advisors, Gibson Dunn & Crutcher LLP as counsel and Piper Sander & Co as investment banker (together with Bennett
Jones LLP, as Canadian counsel to the Term B Loan Lenders, the “Ad Hoc Group Advisors”). The Company and its
counsel and advisors over the course of several months commenced discussions with the Ad Hoc Group Advisors
regarding long-term solutions for the Company to address its unsustainable debt obligations. In light of year-end
deadlines to pay certain interest and amortization payments, in December of 2022, the Lenders in the Ad Hoc Group
of Term B Loan Lenders signed non-disclosure agreements and negotiations began in earnest at the principal level as
the Company’s deadline to pay interest and amortization at year end loomed. Haynes and Boone LLP, counsel for the
Administrative Agent, and FTI Consulting, Inc., financial advisor for the Administrative Agent, also participated in
these discussions. Ultimately, the Company made the year-end interest and amortization payments required under the
Credit Agreement.

         In late January 2023, the parties recommenced discussion towards a holistic solution for the Company. In the
midst of those negotiations, the Company was approached by a party interested in purchasing the BrandLoyalty
business and began negotiations with its largest Sponsor concerning a potential sale of the AIR MILES business,
BMO. These discussions ultimately culminated in the proposed transactions and the Transaction Support Agreement
described in more detail below.

         As of March 16, 2023, the Debtors and their non-Debtor subsidiaries and affiliates and Lenders holding in
excess of 72% of the Loans outstanding under the Credit Agreement entered into the Transaction Support Agreement.
Pursuant to the Transaction Support Agreement, the parties have agreed to work cooperatively to implement the
following global transactions and/or proceedings in respect of the Company and its business lines: (x) the sale of the
AIR MILES business by LoyaltyOne in connection with the CCAA Proceeding; (y) the consummation of the Plan in


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connection with the Chapter 11 Cases, in connection with which the Debtors intend to transfer the claims and causes
of action against the Bread Parties and the Spinoff Claims and Cause of Actions to a liquidating trust and otherwise
wind-down their assets and operations; and (z) the sale of the Brand Loyalty Business pursuant to the BL Purchase
Agreement (defined below).

D.       Sale of BrandLoyalty and Bridge Loan Agreement

            1.        Purchase Agreement

         On March 1, 2023, Lux Financing, a private limited liability company (société à responsabilité limitée)
incorporated under the laws of Luxembourg, a wholly-owned indirect subsidiary of LVI, entered into a Sale and
Purchase Agreement (the “BL Purchase Agreement”) with Opportunity Partners (the “Buyer”), pursuant to which the
Buyer agreed to acquire from Lux Financing 100% of all issued and outstanding shares (the “Shares”) in the capital
of Apollo Holdings B.V., a private company with limited liability incorporated under the laws of the Netherlands
(“Apollo Holdings”) and the legal and beneficial owner, directly or indirectly, of all of the shares of the subsidiaries
of Lux Financing that constitute the BrandLoyalty business. Apollo Holdings and each of its direct and indirect
subsidiaries are collectively referred to herein as the “BL Entities.”

         Upon the terms and conditions set forth in the BL Purchase Agreement, the Buyer has agreed to purchase the
Shares from Lux Financing for a fixed aggregate purchase price of $6 million to be paid in cash at the closing of the
sale transaction contemplated by the BL Purchase Agreement (the “BL Closing”). Pursuant to the BL Purchase
Agreement, the Buyer also agreed to assume all liabilities of the BL Entities as of the BL Closing other than those
arising under the Credit Agreement.

            2.        Bridge Loan Agreement

         Also on March 1, 2023, certain of the BL Entities entered into a bridge loan agreement with Opportunity
Partners (the “Bridge Loan Agreement”). Under the terms of the Bridge Loan Agreement, Opportunity Partners has
agreed to lend such BL Entities up to €25,000,000 for the purpose of funding the working capital needs of the
BrandLoyalty business in the period between the signing of the Purchase Agreement and the BL Closing (the “Bridge
Loan”). The BL Entities’ obligations under the Bridge Loan will be assumed by the Buyer in connection with the BL
Closing and none of the Debtors nor LoyaltyOne have any obligations with respect to the Bridge Loan.

E.       CCAA Proceeding of LoyaltyOne

          On the Petition Date, LoyaltyOne brought an application before the Ontario Court for an initial order (the
“Initial Order”), among other things, granting a temporary stay of enforcement actions and proceedings as against
LoyaltyOne, LoyaltyOne’s subsidiary, Travel Services, and their respective property, businesses, directors and
officers (other than Motes and any other person who, at any time after November 5, 2021, has served as a director,
officer, or employee of (i) Bread or (ii) any other entity that, at any time after November 5, 2021, was or is a direct or
indirect subsidiary of Bread), and other typical application relief under the CCAA. The Initial Order was granted on
the Petition Date. LoyaltyOne intends to bring a motion before the Ontario Court on March 20, 2023 to seek approval
of, among other things, (i) the SISP to solicit interest in a sale or investment transaction concerning LoyaltyOne and/or
its assets, and (ii) the CCAA DIP Facility to be provided by BMO in the maximum principal amount of $70 million
that is intended to provide operating liquidity to the LoyaltyOne, as well as the Company (through the CCAA DIP
Facility). In connection with the SISP, and subject to the approval of the Ontario Court, BMO has agreed to serve as
a “stalking horse bidder” for substantially all of the operating assets of LoyaltyOne, including the equity interests of
LoyaltyOne’s subsidiary, Travel Services, for a total purchase price of $160,000,000, subject to certain adjustments
as set forth therein, pursuant to the terms of the Stalking Horse Transaction Agreement (as defined and described
below).

        Pursuant to the Initial Order, KSV Restructuring Inc. was appointed as the monitor (the “Monitor”) in the
CCAA Proceeding. Publicly filed materials and other information in respect of the CCAA Proceeding are available
on the Monitor’s website at https://www.ksvadvisory.com/experience/case/loyaltyone.




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            1.        The Stalking Horse Purchase Agreement

          On March 9, 2023, LoyaltyOne and BMO entered into an asset purchase agreement (the “Stalking Horse
Transaction Agreement”) pursuant to which BMO has agreed to: (i) purchase all or substantially all of the operating
assets of LoyaltyOne, including the equity interests in Travel Services; and (ii) assume certain liabilities associated
with the continued operation of the AIR MILES business. The sale is conditional upon, among other things: (a) the
Stalking Horse Transaction Agreement being selected as the Successful Bid in accordance with the proposed SISP;
(b) a sale approval and vesting order being granted by the Ontario Court, among other things, approving the Stalking
Horse Transaction Agreement and, upon closing, vesting the purchased assets in BMO free and clear of all
encumbrances, except Permitted Encumbrances (as such term is defined in the Stalking Horse Transaction
Agreement), and (c) regulatory approvals.

            2.        The SISP

         If approved by the Ontario Court, the proposed SISP will allow LoyaltyOne and its advisors to canvass the
market to determine if there are any other competing bids that would offer a more favorable outcome to its stakeholders
than that provided under the Stalking Horse Transaction Agreement. While the proposed SISP is conducted, the
Stalking Horse Transaction Agreement will provide critical stability to the business and LoyaltyOne’s stakeholders
by ensuring a going concern outcome in the CCAA Proceeding. Upon the completion of the SISP, LoyaltyOne will
seek an order approving the sale to the purchaser making the Successful Bid (the “Successful Bidder”) in the SISP.

            3.        CCAA DIP Facility

          Subject to the approval of the Ontario Court, LoyaltyOne and BMO have signed a term sheet pursuant to
which BMO will provide a DIP financing facility (the “CCAA DIP Facility”) to LoyaltyOne. If approved by the
Ontario Court, the CCAA DIP Facility will enable LoyaltyOne to: (i) operate throughout the pendency of the CCAA
Proceeding; (ii) provide necessary liquidity to administer the SISP; and (iii) advance necessary funds to LVI via the
DIP Facility to conduct the Chapter 11 Cases and, subject to Bankruptcy Court approval, provide critical services to
LoyaltyOne during the CCAA Proceeding. The cash consideration payable under the Stalking Horse Transaction
Agreement would, if such transaction is selected as the Successful Bid in the proposed SISP and closes in accordance
with its terms, provide funds necessary to satisfy in full any potential amounts payable in connection with the court-
ordered charges granted pursuant to the Initial Order, as amended from time to time, and those anticipated to be granted
during the pendency of the CCAA Proceeding, any other amounts that may be in priority to the obligations owing
under the CCAA DIP Facility, as well as to repay the outstanding balance of the CCAA DIP Facility to BMO, in its
capacity as lender under the CCAA DIP Facility. Subject to the approval of the Ontario Court, funds remaining
following satisfaction of the foregoing priority amounts are expected to be distributed to the Administrative Agent as
a partial recovery of Claims of Lenders.

                                        ARTICLE IV.
                     EVENTS FOLLOWING THE FILING OF THE CHAPTER 11 CASES

A.       First Day Motions

          On the Petition Date, the Debtors filed several motions designed to facilitate the administration of the Chapter
11 Cases by, among other things, stabilizing the Debtors’ operations, protecting employees and obtaining needed
funding. Copies of these motions, and corresponding orders in connection therewith, and all other pleadings in these
Chapter 11 Cases, can be obtained for free on the Solicitation Agent’s website at https://cases.ra.kroll.com/LVI or for
a fee at the Bankruptcy Court’s website https://ecf.txsb.uscourts.gov/.

B.       Cash Collateral Motion

         On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Interim Order
(I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the Automatic
Stay and (IV) Granting Related Relief [Docket No. 19] (the “Cash Collateral Motion”). Pursuant to the Cash Collateral
Motion, the Debtors sought authorization to use cash collateral on hand for working capital and other general corporate



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purposes. On March 10, 2023, the Bankruptcy Court entered the interim order [Docket No. 65] granting interim
approval of the use of cash collateral. The final hearing on the Cash Collateral Motion is set for April 4, 2023, at
10:00 a.m. (prevailing Central Time).

C.       Joint Administration Motion

           On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Directing
Joint Administration of Related Chapter 11 Cases and (II) Granting Related Relief [Docket No. 2] (the “Joint
Administration Motion”). Pursuant to the Joint Administration Motion, the Debtors sought entry of an order
(i) directing procedural consolidation and joint administration of these Chapter 11 Cases and (ii) granting related relief.
On March 10, 2023, the Bankruptcy Court entered the order [Docket No. 41] approving the Joint Administration
Order.

D.       Redaction Motion

          On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Waiving the
Requirement to File a List of and Provide Notice Directly to Equity Security Holders, (II) Authorizing the Debtors to
Redact Certain Personally Identifiable Information, (III) Approving the Form and Manner of the Notice of
Commencement, (IV) Extending the Deadline for the Debtors to File Schedules and SOFAs, (V) Extending the Time
by Which the Debtors file 2015.3 Financial Reports, and (VI) Granting Related Relief [Docket No. 38] (the “Redaction
Motion”). On March 10, 2023, the Bankruptcy Court entered the order [Docket No. 73] (i) waiving the requirement
to file a list of, and provide notice directly to, equity security holders of LVI, (ii) authorizing the Debtors to redact
certain personally identifiable information, (iii) approving the form and manner of notifying creditors of the
commencement of these Chapter 11 Cases, (iv) extending the deadline to file their schedules and SOFAs to May 8,
2023, (v) extending the deadline to file their 2013.5 reports to May 8, 2023, and (iv) granting related relief.

E.       Cash Management Motion

         On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
the Debtors to (A) Continue to Operate Their Cash Management System and Maintain Existing Bank Account, (B)
Maintain Existing Business Forms and (C) Perform Intercompany Transactions and (II) Granting Related Relief
[Docket No. 20] (the “Cash Management Motion”). Pursuant to the Cash Management Motion, the Debtors sought
entry of an order: (i) authorizing the Debtors to continue to (a) operate their Cash Management System (as defined
therein) and maintain their existing Bank Accounts (as defined therein), including honoring certain prepetition
obligations related thereto, (b) maintain existing Business Forms (as defined therein) and (c) perform Intercompany
Transactions (as defined therein); and (ii) granting related relief. On March 10, 2023, the Bankruptcy Court entered
an interim order [Docket No. 55] granting interim approval of the Cash Management Motion. The final hearing on
the Cash Management Motion is set for April 4, 2023, at 10:00 a.m. (prevailing Central Time).

F.       NOL Motion

         On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Approving
Notification and Hearing Procedures for Certain Transfers of Beneficial Ownership and Declarations of
Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. 6] (the “NOL Motion”).
Pursuant to the NOL Motion, the Debtors sought entry of an order: (i) approving certain notification and hearing
procedures related to certain transfers of any Beneficial Ownership (as defined therein) in, or declarations of
worthlessness with respect to, existing common stock of LVI or any beneficial interest therein, as set forth in Exhibit
1 to the proposed order (the “Procedures”); (ii) directing that any purchase, sale, other transfer of or declaration of
worthlessness with respect to common stock in violation of the Procedures shall be null and void ab initio; and (iii)
granting related relief. On March 10, 2023, the Bankruptcy Court entered an interim order [Docket No. 68] granting
interim approval of the NOL Motion. The final hearing on the NOL Motion is set for April 4, 2023, at 10:00 a.m.
(prevailing Central Time).




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G.       Wages Motion

          On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing,
But Not Directing, Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation and Reimbursable
Employee Expenses and (B) Continue Compensation and Benefits Programs and (II) Granting Related Relief [Docket
No. 7] (the “Wages Motion”). Pursuant to the Wages Motion, the Debtors seek entry of an order: (i) authorizing, but
not directing, the Debtors to (a) pay prepetition wages, salaries, other compensation and reimbursable employee
expenses and (b) continue compensation and benefits programs in the ordinary course, including payment of certain
prepetition obligations related thereto; and (ii) granting related relief. On March 10, 2023, the Bankruptcy Court
entered an order [Docket No. 66] granting the Wages Motion.

H.       Utilities Motion

          On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Approving
Debtors’ Proposed Form of Adequate Assurance of Payment for Future Utility Services; (II) Approving Adequate
Assurance Procedures; (III) Prohibiting Utility Providers from Altering, Refusing or Discontinuing Service; and (IV)
Granting Related Relief [Docket No. 23] (the “Utilities Motion”). Pursuant to the Utilities Motion, the Debtors sought
entry of an order: (i) approving the Debtors’ proposed adequate assurance of payment for future utility services; (ii)
approving the Debtors’ proposed procedures for resolving additional adequate assurance requests; (iii) prohibiting
utility providers from altering, refusing or discontinuing service; and (iv) granting related relief. On March 10, 2023,
the Bankruptcy Court entered an order [Docket No. 69] granting the Utilities Motion.

I.       Insurance Motion

         On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
Debtors to (A) Continue Insurance Coverage Entered into Prepetition and Satisfy Prepetition Obligations Related
Thereto, (B) Renew, Amend, Supplement, Extend or Purchase Insurance Policies and (C) Purchase Tail Coverage
Under Their Insurance Policies and (II) Granting Related Relief [Docket No. 5] (the “Insurance Motion”). Pursuant
to the Insurance Motion, the Debtors sought entry of an order: (i) authorizing the Debtors to (a) continue insurance
coverage entered into prepetition and satisfy prepetition obligations related thereto in the ordinary course, (b) renew,
amend, supplement, extend or purchase insurance coverage in the ordinary course and (c) purchase tail coverage under
certain of their insurance policies; and (ii) granting related relief. On March 10, 2023, the Bankruptcy Court entered
an order [Docket No. 67] granting the Insurance Motion.

J.       Claims Bar Date Motion

          On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order (I) Setting the
Claims Bar Dates, (II) Setting the Rejection Damages Bar Date, (III) Approving the Form of and Manner for Filing
Proofs of Claim, Including Section 503(B)(9) Requests, and (IV) Approving Notice of Bar Dates [Docket No. 39]
(the “Claims Bar Date Motion”). Pursuant to the Claims Bar Date Motion, the Debtors sought entry of an order to,
among other things establish deadlines by when Proofs of Claim must be filed. On March 12, 2023, the Bankruptcy
Court entered an order [Docket No. 77] (the “Claims Bar Date Order”) setting: (i) a general claims bar date, including
section 503(B)(9) requests, of April 10, 2023, at 5:00 p.m. prevailing Central Time; (ii) a governmental bar date of
September 6, 2023, at 5:00 p.m. prevailing Central Time; and (iii) a rejection damages bar date of the later of (a) the
general claims bar date or governmental bar date, as applicable, or (b) 5:00 p.m. prevailing Central Time on the date
that is 30 days after the entry of an order approving the rejection of the executory contract or unexpired lease.

         Notwithstanding anything to the contrary in the Claims Bar Date Order or elsewhere in the Plan or
Confirmation Order, the Lenders and the Administrative Agent shall not be required to File any Proof of Claims in the
Chapter 11 Cases or against the Estates for any claim or cause of action that they have or may have and all such claims
or causes of action are hereby preserved to the fullest extent of the law. For the avoidance of doubt, nothing in this
Article IV.J. shall allow, or should be interpreted to allow, the Lenders or the Administrative Agent to assert claims or
causes of action that are expressly released pursuant to the Plan or Confirmation Order.




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K.      Settlement with the Bread Parties

         Following the Petition Date, the Debtors, the Consenting Stakeholders and the Bread Parties reached an
agreement to resolve the Bread Parties’ objection to the DIP Motion and any potential objection by the Bread Parties
to entry of the Final DIP Order and the Confirmation Order on the terms set forth below (the “Bread Settlement”).
The provisions of this Bread Settlement are incorporated herein as operative terms of this Combined DS and Plan and
shall supersede any other conflicting provisions of this Combined DS and Plan:

        1.       Nothing in the Combined DS and Plan, the Confirmation Order, the Interim Cash Collateral Order
                 or the Interim DIP Order (and the Final DIP Order) shall impair or eliminate any alleged direct, non-
                 derivative claims the Bread Parties may assert against the Prepetition Secured Parties or any
                 defenses or arguments that any of the Bread Parties may have in connection with any Spinoff Claims
                 and Causes of Action that are Preserved Estate Claims, including, without limitation, the Bread
                 Parties’ ability to assert the following: (i) shared liability or judgment reduction doctrines that limit
                 or eliminate the Bread Parties’ liability to the estate or the Liquidating Trust; (ii) that the Spinoff
                 Claims and Causes of Action should be dismissed or that any liability of the Bread Parties should
                 be eliminated, reduced or mitigated by virtue of the actions of the beneficiaries of the Liquidating
                 Trust (or the predecessors of such beneficiaries) or eliminated, reduced or mitigated because the
                 beneficiaries of the Liquidating Trust (or the predecessors of such beneficiaries) are not proper
                 beneficiaries (through the Liquidating Trust) of the proceeds of any Spinoff Claims and Causes of
                 Action against any Bread Parties; and (iii) defenses such as in pari delicto, unclean hands or similar
                 defenses or doctrines.

        2.       The Challenge Period (as defined in the Interim DIP Order) and, solely with respect to the limited
                 potential estate claims described in this paragraph, any related statute of limitations and the
                 effectiveness of the Debtor Release of the Prepetition Secured Parties in the Combined DS and Plan
                 and any Confirmation Order) shall be tolled until 30 days following the conclusion of any litigation
                 by the Debtors or the Liquidating Trust against any of the Bread Parties for any Spinoff Claims and
                 Causes of Action, solely to permit any of the Bread Parties to seek standing to commence any claims
                 or causes of action against the Prepetition Secured Parties, and solely to the extent any of the Bread
                 Parties are held liable to the Debtors or the Liquidating Trust for any Spinoff Claims and Causes of
                 Action by a court of competent jurisdiction (a “Preserved Challenge”). The sole remedy that the
                 Bread Parties may seek in a Preserved Challenge shall be the reduction of amounts to be paid to the
                 Prepetition Secured Parties from the Liquidating Trust or the disgorgement of amounts previously
                 paid to the Prepetition Secured Parties from the Liquidating Trust, in both cases limited to the actual
                 amounts that the Bread Parties were held liable to pay to the Debtors or the Liquidating Trust as a
                 result of any Spinoff Claims and Causes of Action. The Bread Parties will not seek standing to
                 commence a Challenge other than a Preserved Challenge that complies with the terms of the prior
                 sentence, and all other parties reserve the right to contest standing, to contest any Preserved
                 Challenge and to contest the amount of reduction or disgorgement that the Bread Parties seek.

        3.       To the extent any Bread Parties have Allowed Claims in the Chapter 11 Cases, those Allowed
                 Claims shall participate in the Liquidating Trust with respect to any recoveries from assets that were
                 unencumbered as of the Petition Date or, to the extent securing DIP Facility Claims or adequate
                 protection claims under any of the DIP Orders, not applied to satisfy such claims, other than the
                 proceeds of claims against the Bread Parties (if any). The Debtors and all parties in interest retain
                 their rights to object to any proof of claim filed by any Bread Parties, and all rights and defenses of
                 the Bread Parties in respect thereto are also preserved.

        4.       The Bread Parties may raise any objections and arguments in connection with the Debtors’
                 Executory Contracts with any of the Bread Parties, including the Debtors’ assumption or rejection
                 thereof, and the rights of the Debtors and all other parties in interest with respect thereto are also
                 preserved.

        5.       For the avoidance of doubt, the Bread Parties may opt out of the Third-Party Release.



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             6.         The Bread Parties have agreed not to object to confirmation of the Plan or the DIP Orders, and have
                        agreed that any objections raised in connection with paragraph 4 above will not be styled as, or
                        argued by the Bread Parties to be, “confirmation objections” that seek to delay, hinder or prolong
                        entry of the Confirmation Order or the Effective Date of the Plan.

                                           ARTICLE V.
                     SUMMARY OF TREATMENT OF CLAIMS AND ESTIMATED RECOVERIES

        The Plan classifies Claims and Interests into nine (9) different Classes. The following chart provides a
summary of the Debtors’ estimate of the anticipated recoveries for each Class of Claims and Interests.8 The treatment
provided in this chart is for informational purposes only and is qualified in its entirety by Article VII herein.

                                                                                                                  Estimated
                                                                                 Estimated Amount
                                                                  Voting                                       Recoveries for
    Class         Claims or Interests          Status                            of Allowed Claims
                                                                  Rights                                       Allowed Claims
                                                                                     or Interests
                                                                                                                and Interests
                                                                Presumed
    1         Other Secured Claims           Unimpaired                                    $0                        100%
                                                                to Accept
                                                                Presumed
    2         Other Priority Claims          Unimpaired                                $300,000                      100%
                                                                to Accept
                                                                Entitled to         Approximately
    3                Loan Claims              Impaired                                                          less than 100%
                                                                   Vote              $664 million
                  General Unsecured                             Entitled to
    4                                         Impaired                                     $09                  less than 100%
                       Claims                                      Vote
                                                                Presumed            Approximately
    5          Convenience Claims            Unimpaired                                                              100%
                                                                to Accept            $5.5 million
                                                                Deemed to
    6             Section 510 Claims          Impaired                                     $0                         0%
                                                                  Reject
                                                                Deemed to
    7         Intercompany Claims             Impaired                                    N/A                         0%
                                                                  Reject
                     Intercompany                               Deemed to
    8                                         Impaired                                    N/A                         0%
                        Interests                                 Reject
                                                                Deemed to
    9                  Interests              Impaired                                    N/A                         0%
                                                                  Reject

                                                   ARTICLE VI.
                                        ADMINISTRATIVE AND PRIORITY CLAIMS

         In accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims, DIP Facility Claims,
Professional Fee Claims and Priority Tax Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Articles V and VII.




8       The amounts contained in this Article V represent the Debtors’ estimate of the Claims that they believe ultimately may be
        Allowed based on their review of their books and records, and do not represent amounts actually asserted by Creditors in
        Proofs of Claim or otherwise. The Debtors have not completed their analysis of Claims in the Chapter 11 Cases and such
        Claims remain subject to objection as necessary or appropriate. Therefore, there can be no assurances of the exact amount of
        the Allowed Claims at this time. The actual amount of the Allowed Claims may be greater or lower than estimated. See
        Art. XVIII. Likewise, because the recoveries in litigation are speculative, the range of recoveries for Classes 3 and 4 cannot
        be estimated with certainty.
9       The Debtors are currently unaware of any Claims that would constitute Class 4 Claims other than potential Claims that may
        be asserted by the Bread Parties. The Debtors maintain that any Claims asserted by the Bread Parties should be Disallowed
        in full and will file an appropriate Claims objection as and when appropriate.



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A.       Administrative Claims

             1.        Administrative Claims

          Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less favorable treatment,
in full and final satisfaction, settlement and release of and in exchange for each Allowed Administrative Claim, each
Holder of an Allowed Administrative Claim (other than Holders of Professional Fee Claims and Claims for fees and
expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full and final
satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative Claim
in accordance with the following: (a) if an Administrative Claim is Allowed on or prior to the Effective Date, on the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (b) if such Administrative Claim is not Allowed as of
the Effective Date, no later than thirty (30) days after the date on which an order Allowing such Administrative Claim
becomes a Final Order, or as soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim is
based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date in accordance
with the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim without
any further action by the Holder of such Allowed Administrative Claim; (d) at such time and upon such terms as may
be agreed upon by such Holder and the Debtors, or the Liquidating Trustee, as applicable; or (e) at such time and upon
such terms as set forth in an order of the Bankruptcy Court.

             2.        Professional Fee Claims

                  a.        Final Fee Applications

          All final requests for Professional Fee Claims shall be filed no later than forty-five (45) days after the
Effective Date. After notice and a hearing in accordance with the procedures established by the Bankruptcy Code and
prior Bankruptcy Court orders, the Allowed amounts of such Professional Fee Claims shall be determined by the
Bankruptcy Court and paid from the Professional Fee Escrow Account and, to the extent such account is insufficient,
first from the Winddown Reserve then from cash held by the Debtors or the Liquidating Trustee.

                  b.        Professional Fee Escrow Account

         On the Effective Date, the Debtors shall establish and fund the Professional Fee Escrow Account with Cash
equal to the Professional Fee Reserve Amount. The Professional Fee Escrow Account shall be maintained in trust
solely for the Retained Professionals. Such funds shall not be considered property of the Estates of the Debtors or the
Liquidating Trust, as applicable. Professional Fee Claims shall be paid in Cash to such Retained Professionals from
the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are Allowed
by a Final Order. When all such Allowed amounts owing to Retained Professionals have been paid in full, any
remaining amount in the Professional Fee Escrow Account shall be paid to the Winddown Reserve without any further
action or order of the Bankruptcy Court. To the extent that funds held in the Professional Fee Escrow Account are
unable to satisfy the amount of Professional Fee Claims owed to the Retained Professionals, such Retained
Professionals shall have Allowed Administrative Claims for any such deficiency, which shall be satisfied in accordance
with Article VI.A.2. hereof.

         Notwithstanding anything to the contrary set forth herein, professional fees and expenses of professionals
incurred in connection with the CCAA Proceeding shall in all cases continue to be paid in accordance with the terms
of the orders of the Ontario Court.

                  c.        Professional Fee Reserve Amount

         To receive payment for unbilled fees and expenses incurred through the Effective Date, the Retained
Professionals shall estimate their Accrued Professional Compensation prior to and as of the Effective Date and shall
deliver such estimate to the Debtors, the Administrative Agent and the Consenting Lenders, five (5) days before the
Effective Date. If a Retained Professional does not provide such estimate, the Debtors may estimate the unbilled fees
and expenses of such Retained Professional; provided that such estimate shall not be considered an admission or



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limitation with respect to the fees and expenses of such Retained Professional. The total amount so estimated as of
the Effective Date shall comprise the Professional Fee Reserve Amount.

                  d.       Payment of Certain Fees and Expenses

          Except as otherwise specifically provided in the Plan, from and after the Effective Date, the Liquidating
Trustee shall pay in Cash from the Winddown Reserve the reasonable and documented fees and expenses incurred by
the Liquidating Trustee (as applicable) after the Effective Date in the ordinary course of business and without any
further notice to or action, order, or approval of the Bankruptcy Court. The Liquidating Trustee shall pay all reasonable
and documented fees and expenses in accordance with the terms and conditions of the Plan, the DIP Orders and the
Transaction Support Agreement, and if any such fee and/or expense is unpaid as of the Effective Date, such fee and/or
expense shall be paid on the Effective Date. Upon the Effective Date, any requirement that Retained Professionals
comply with Bankruptcy Code sections 327 through 331 and 1103 in seeking retention or compensation for services
rendered after such date shall terminate, and the Liquidating Trustee may, in accordance with the Liquidating Trust
Agreement, employ and pay any Retained Professional in the ordinary course of business without any further notice
to or action, order, or approval of the Bankruptcy Court.

                  e.       Substantial Contribution Compensation and Expenses

        Any Entity that requests compensation or expense reimbursement for making a substantial contribution in
the Chapter 11 Cases pursuant to Bankruptcy Code sections 503(b)(3), (4), and (5) must file an application and serve
such application on counsel for the Debtors or Liquidating Trustee, as applicable, and as otherwise required by the
Bankruptcy Court, the Bankruptcy Code, and the Bankruptcy Rules on or before the Administrative Claims Bar Date.

            3.         Administrative Claims Bar Date

         All requests for payment of an Administrative Claim (other than DIP Facility Claims or Professional Fee
Claims) that accrued on or before the Effective Date that were not otherwise accrued in the ordinary course of business
must be filed with the Bankruptcy Court and served on the Debtors and Liquidating Trustee no later than the
Administrative Claims Bar Date. Holders of Administrative Claims (other than DIP Facility Claims or Professional
Fee Claims) that are required to, but do not, file and serve a request for payment of such Administrative Claims by the
Administrative Claims Bar Date shall be forever barred, estopped and enjoined from asserting such Administrative
Claims against the Debtors or their property and such Administrative Claims shall be deemed barred as of the Effective
Date.

          The Debtors, with the consent of the Consenting Lenders, or the Liquidating Trustee (as applicable), in
accordance with the terms of the Transaction Support Agreement, may settle Administrative Claims in the ordinary
course of business without further Bankruptcy Court approval. The Debtors, or Liquidating Trustee (as applicable)
may also choose to object to any Administrative Claim no later than ninety (90) days after the Administrative Claims
Bar Date, subject to extensions by the Bankruptcy Court, agreement in writing of the parties, or on motion of a party
in interest approved by the Bankruptcy Court. Unless the Debtors or Liquidating Trustee (as applicable), or any other
party in interest, objects to a timely-filed and properly served Administrative Claim, such Administrative Claim will
be deemed Allowed in the amount requested. In the event that the Debtors or Liquidating Trustee (as applicable) object
to an Administrative Claim, the parties may confer to try to reach a settlement and, failing that, the Bankruptcy Court
will determine whether such Administrative Claim should be allowed and, if so, in what amount.

B.       DIP Facility Claims

         Except to the extent that the relevant parties agree otherwise, in full and final satisfaction, compromise,
settlement and release of, and in exchange for, Allowed DIP Facility Claim, the Holder of the Allowed DIP Facility
Claim shall receive payment in Cash, first from any excess proceeds of the Winddown Reserve, and then from the
Liquidating Trust from available proceeds of the Preserved Estate Claims prior to any distribution to the Liquidating
Trust Beneficiaries on account of the Liquidating Trust Interests.




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C.       Priority Tax Claims

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement and release of and in exchange for each Allowed Priority Tax Claim, each Holder
of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in Bankruptcy Code
section 1129(a)(9)(C) and, for the avoidance of doubt, Holders of Allowed Priority Tax Claims will receive interest
on such Allowed Priority Tax Claims after the Effective Date in accordance with Bankruptcy Code sections 511 and
1129(a)(9)(C). To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim
shall be paid in accordance with the terms of any agreement between the Debtors or the Liquidating Trustee (as
applicable), in accordance with the terms of the Transaction Support Agreement, and the Holder of such Claim, or as
may be due and payable under applicable non-bankruptcy law, or in the ordinary course of business.

D.       Statutory Fees

          Prior to the Effective Date, the Debtors shall File reports for each month (including any fraction thereof)
when they become due, in a form reasonably acceptable to the U.S. Trustee. All fees due and payable pursuant to
section 1930 of title 28 of the U.S. Code prior to the Effective Date shall be paid by the Debtors inclusive of any
interest due and payable under 31 U.S.C. § 3717 on all disbursements, including Plan payments and disbursements in
and outside the ordinary course of the Debtors’ business (or such amount agreed to with the U.S. Trustee), for each
quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first. On and after the Effective Date, the Liquidating Trustee shall pay any and all such fees when due and
payable, and shall File with the Bankruptcy Court quarterly reports for each quarter (including any fraction thereof)
in a form reasonably acceptable to the U.S. Trustee, until the Chapter 11 Cases are converted, dismissed or closed,
whichever occurs first.

                                       ARTICLE VII.
               CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests

          The Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article VI
herein, all Claims and Interests are classified in the Classes set forth below in accordance with Bankruptcy Code
section 1122. A Claim or an Interest is classified in a particular Class only to the extent that the Claim or Interest
qualifies within the description of that Class and is classified in other Classes to the extent that any portion of the
Claim or Interest qualifies within the description of such other Classes. A Claim or an Interest also is classified in a
particular Class for the purpose of receiving Distributions under the Plan only to the extent that such Claim or Interest
is an Allowed Claim or Interest in that Class and has not been paid, released, or otherwise satisfied prior to the Effective
Date. The votes of each Class shall be tabulated on a Debtor-by-Debtor basis.

B.       Treatment of Claims and Interests

         Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive
such treatment on the Effective Date, or as soon as reasonably practicable thereafter, in full and final satisfaction,
settlement, release and in exchange for, such Holder’s Allowed Claim.

         (a)       Class 1 — Other Secured Claims

                   (1)      Classification: Class 1 consists of all Other Secured Claims.

                   (2)      Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                            to less favorable treatment of its Allowed Other Secured Claim, in full and final
                            satisfaction, settlement, release and in exchange for each Allowed Other Secured Claim,
                            each such Holder shall receive, at the option of the applicable Debtor(s), either:

                            (A)       payment in full in Cash;



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               (B)       delivery of collateral securing such Allowed Other Secured Claim; or

               (C)       such other treatment rendering its Allowed Other Secured Claim Unimpaired in
                         accordance with Bankruptcy Code section 1124.

       (3)     Voting: Class 1 is Unimpaired and Holders of Allowed Other Secured Claims in Class 1
               are conclusively presumed to have accepted the Plan pursuant to Bankruptcy Code section
               1126(f). Therefore, Holders of Allowed Other Secured Claims in Class 1 are not entitled
               to vote to accept or reject the Plan.

 (b)   Class 2 — Other Priority Claims

       (1)     Classification: Class 2 consists of all Other Priority Claims.

       (2)     Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
               to less favorable treatment, on the Effective Date, or as soon as reasonably practicable
               thereafter, in full and final satisfaction, compromise, settlement, release and in exchange
               for such Allowed Other Priority Claim, each Holder thereof shall receive either:

               (A)       payment in full in Cash; or

               (B)       such other treatment rendering its Allowed Other Priority Claim Unimpaired in
                         accordance with Bankruptcy Code section 1124.

       (3)     Voting: Class 2 is Unimpaired and Holders of Allowed Other Priority Claims in Class 2
               are conclusively presumed to have accepted the Plan pursuant to Bankruptcy Code section
               1126(f). Therefore, Holders of Allowed Other Priority Claims in Class 2 are not entitled
               to vote to accept or reject the Plan.

 (c)   Class 3 —Loan Claims

       (1)     Classification: Class 3 consists of Loan Claims.

       (2)     Allowance: The Loan Claims shall be deemed Allowed in the principal amount outstanding
               under the Credit Agreement plus the L//C Obligations and any and all other obligations
               related thereto, including accrued and unpaid interest, costs, fees, and indemnities as of the
               Petition Date.

       (3)     Treatment: Except to the extent that a Holder of an Allowed Loan Claim agrees to less
               favorable treatment, on the Effective Date or as soon as reasonably practicable thereafter,
               in full and final satisfaction, compromise, settlement and in exchange for each Allowed
               Loan Claim, as applicable, each Holder thereof shall receive its share of:

                     (a) the cash proceeds of any collateral securing the Loan Claims immediately upon
                         the Debtors’ or Liquidating Trustee’s receipt thereof, and

                     (b) the Liquidating Trust Interests on a Pro Rata basis based on the aggregate Allowed
                         Claims in Classes 3 and 4, after application of the cash proceeds of any collateral
                         securing the Loan Claims to the Class 3 Claims.

       (5)     Voting: Class 3 is Impaired. Therefore, Holders of Class 3 Loan Claims are entitled to
               vote to accept or reject the Plan.




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 (d)   Class 4 —General Unsecured Claims

       (1)      Classification: Class 4 consists of General Unsecured Claims.

        (2)     Treatment: Except to the extent that a Holder of an Allowed General Unsecured Claim
       agrees to less favorable treatment, on the Effective Date or as soon as reasonably practicable
       thereafter, in full and final satisfaction, compromise, settlement and in exchange for each Allowed
       General Unsecured Claim, as applicable, each Holder thereof shall receive its share of the
       Liquidating Trust Interests on a Pro Rata basis based on the aggregate amount of all Allowed Claims
       in Classes 3 and 4, after application of the cash proceeds of any collateral securing the Loan Claims
       to the Class 3 Claims; provided that to the extent that any Bread Parties have any Allowed Claims
       in Class 4, such Allowed Claims shall participate in the Liquidating Trust with respect to any
       recoveries from assets that were unencumbered as of the Petition Date or, to the extent securing DIP
       Facility Claims or adequate protection claims under any of the DIP Orders, not applied to satisfy
       such claims; provided further that, other than pursuant to the Bread Settlement, in no event shall any
       Bread Party receive any distribution on account of any Liquidating Trust Asset, including any
       proceeds received from Preserved Estate Claims or related proceeds from any Insurance Coverage
       Right on account of any recoveries obtained by the Liquidating Trust through the prosecution and/or
       settlement of Spinoff Claims and Causes of Action and all claims or Causes of Action asserted
       against the Bread Parties.

       (3)      Voting: Class 4 is Impaired. Therefore, Holders of Class 4 General Unsecured Claims are
                entitled to vote to accept or reject the Plan.

 (e)   Class 5 — Convenience Claims

       (1)      Classification: Class 5 consists of all Convenience Claims.

       (2)      Treatment: Except to the extent that a Holder of an Allowed Convenience Claim agrees to
                less favorable treatment, on the Effective Date or as soon as reasonably practicable
                thereafter, and subject to Article XI, each Allowed Convenience Claim shall receive
                payment in full in Cash from the Convenience Claim Distribution Reserve.

       (3)      Voting: Class 5 is Unimpaired. Therefore, Holders of Class 5 Convenience Claims are
                conclusively presumed to have accepted the Plan pursuant to Bankruptcy Code Section
                1126(f). Therefore, Holders of Class 5 Convenience Claims are not entitled to vote to
                accept or reject the Plan.

 (f)   Class 6 — Section 510 Claims

       (1)      Classification: Class 6 consists of all Section 510 Claims.

       (2)      Treatment: Holders of Section 510 Claims shall not receive or retain any property or
                interest in property on account of such Section 510 Claims.

       (3)      Voting: Holders of Section 510 Claims are deemed to have rejected the Plan pursuant to
                Bankruptcy Code section 1126(g). Therefore, Holders of Section 510 Claims are not
                entitled to vote to accept or reject the Plan.

 (g)   Class 7 — Intercompany Claims

       (1)      Classification: Class 7 consists of all Intercompany Claims.

       (2)      Treatment: On the Effective Date or as soon as reasonably practicable, each Intercompany
                Claim shall be cancelled, settled and released without any distribution.



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                  (3)      Voting: Holders of Intercompany Claims are Impaired, and such Holders of Intercompany
                           Claims are conclusively presumed to have rejected the Plan pursuant to Bankruptcy Code
                           section 1126(g). Therefore, Holders of Allowed Intercompany Claims are not entitled to
                           vote to accept or reject the Plan.

         (h)      Class 8 — Intercompany Interests

                  (1)      Classification: Class 8 consists of all Intercompany Interests.

                  (2)      Treatment: On the Effective Date or as soon as reasonably practicable, Intercompany
                           Interests shall be deemed to be cancelled, settled and extinguished without any distribution;
                           provided, however, notwithstanding the foregoing, the Liquidating Trustee may determine
                           to delay the cancellation, settlement and extinguishment of certain Intercompany Interests
                           pursuant to Article VIII.B. in order to maximize the recovery of assets and effectuate an
                           efficient winddown of the Debtors and non-Debtor Affiliates.

                  (3)      Voting: Holders of Intercompany Interests are Impaired, and such Holders of Intercompany
                           Interests are conclusively presumed to have rejected the Plan pursuant to Bankruptcy Code
                           section 1126(g). Therefore, Holders of Intercompany Interests are not entitled to vote to
                           accept or reject the Plan.

         (i)      Class 9 — Interests

                  (1)      Classification: Class 9 consists of all Interests.

                  (2)      Treatment: On the Effective Date, all Interests will be cancelled, released, and
                           extinguished, and will be of no further force or effect.

                  (3)      Voting: Class 9 is Impaired and Holders of Allowed Class 9 Interests are conclusively
                           presumed to have rejected the Plan. Therefore, Holders of Allowed Class 9 Interests are
                           not entitled to vote to accept or reject the Plan.

C.       Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ rights regarding
any Unimpaired Claim, including all rights regarding legal and equitable defenses to, or setoffs or recoupments
against, any such Unimpaired Claim.

D.       Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class thereof, is Impaired, the Bankruptcy
Court shall, after notice and a hearing, determine such controversy on or before the Confirmation Date.

E.       Elimination of Vacant Classes

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest, or a
Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than zero as of the date of the
Confirmation Hearing, shall be considered vacant and deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant
to Bankruptcy Code section 1129(a)(8).

F.       Voting Classes; Presumed Acceptance or Rejection by Non-Voting Classes

         If a Class contains Claims eligible to vote and no Holder of Claims eligible to vote in such Class votes to
accept or reject the Plan, the Plan shall be presumed accepted by the Holders of such Claims in such Class.



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        Claims in Classes 1, 2 and 5 are not Impaired under the Plan, and, as a result, the Holders of such Claims are
deemed to have accepted the Plan pursuant to Bankruptcy Code section 1126(f) and their votes will not be solicited.

         Claims in Classes 3 and 4 are Impaired under the Plan and are entitled to vote. Classes 3 and 4 (with respect
to each applicable Debtor) will each have accepted the Plan if the Plan is accepted by at least two-thirds in amount
and a majority in number of the Claims in each of Classes 3 and 4 (other than any Claims of creditors designated under
Bankruptcy Code section 1126(e)) that have voted to accept or reject the Plan.

         Claims in Class 6 and 7 and the Interests in Class 8 and 9 are Impaired and will not receive a Distribution
under the Plan. Pursuant to Bankruptcy Code section 1126(g), the Holders of Claims and Interests in such Classes are
deemed to reject the Plan and their votes will not be solicited.

G.       Confirmation Pursuant to Bankruptcy Code Sections 1129(a)(10) and 1129(b)

         The Debtors will seek Confirmation of the Plan pursuant to Bankruptcy Code section 1129(b) with respect
to a rejecting Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with
Article XIV herein (subject to the terms of the Transaction Support Agreement) to the extent that Confirmation
pursuant to Bankruptcy Code section 1129(b) requires modification, including by (a) modifying the treatment
applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules and (b) withdrawing the Plan as to an individual Debtor
at any time before the Confirmation Date.

H.       Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions, if any, and treatments under the Plan take into account and conform to the relative priority and rights of
the Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights
relating thereto, whether arising under general principles of equitable subordination, Bankruptcy Code section 510 or
otherwise. Pursuant to Bankruptcy Code section 510 and subject to the Transaction Support Agreement, the Debtors
or the Liquidating Trustee, as applicable, reserve the right to re-classify any Allowed Claim or Allowed Interest (other
than a Loan Claim) in accordance with any contractual, legal or equitable subordination relating thereto, which right
includes, among others, the right to seek to subordinate any Claims asserted by the Bread Parties.

                                           ARTICLE VIII.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests

          Pursuant to Bankruptcy Code section 1123 and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of all Claims and Interests and
controversies resolved pursuant to the Plan.

          The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates and Holders of Claims and Interests and
is fair, equitable, and is within the range of reasonableness. Subject to Article XI herein, all distributions made to
Holders of Allowed Claims in any Class are intended to be and shall be final.

B.       Transactions Related to the Plan

         On, before, or after the Effective Date, the Debtors or the Liquidating Trustee, as applicable, may take all
actions as may be necessary or appropriate to effectuate the transactions described in, approved by, contemplated by,
or necessary to effectuate the Plan, including: (a) the execution and delivery of any appropriate agreements or other
documents of merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer, formation,



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organization, dissolution or liquidation containing terms that are consistent with the terms of the Plan, and that satisfy
the requirements of applicable law and any other terms to which the applicable Entities may agree, including the
documents comprising the Plan Supplement; (b) the execution and delivery of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms consistent
with the terms of the Plan and having other terms for which the applicable Entities agree; (c) the filing of appropriate
certificates or articles of incorporation, formation, reincorporation, merger, amalgamation, consolidation, conversion,
or dissolution pursuant to applicable state law; (d) the cancelation, extinguishment or transfer of any of the Debtors’
interests in the equity of any non-Debtor Affiliates; (e) approval of any plan of liquidation, appointment of a liquidator,
or any other comparable or similar transaction or action (including in a Debtor’s capacity as an equity holder or
managing member of another Debtor or other wholly-owned non-Debtor subsidiary); (f) such other transactions that
are required to effectuate the transactions contemplated by the Plan and the Transaction Support Agreement and such
actions shall be made in the most efficient and non-adverse manner for the Consenting Lenders, including in regard
to tax matters and any mergers, consolidations, restructurings, conversions, dispositions, transfers, formations,
organizations, dissolutions, or liquidations; and (g) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable law, and/or
retaining the corporate existence and structure of the Debtors and non-Debtor Affiliates for a sufficient time to
maximize the recovery of assets and effectuate an efficient winddown of the Debtors and non-Debtor Affiliates.

        The Confirmation Order shall and shall be deemed to, pursuant to Bankruptcy Code section 1123, authorize,
among other things, all actions as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by, or necessary to effectuate the Plan.

C.       Subordination

          The allowance, classification, and treatment of satisfying all Claims and Interests under the Plan takes into
consideration any and all subordination rights, whether arising by contract or under general principles of equitable
subordination, Bankruptcy Code section 510 or otherwise. On the Effective Date, any and all subordination rights or
obligations that a Holder of a Claim or Interest may have with respect to any distribution to be made under the Plan
will be terminated, and all actions related to the enforcement of such subordination rights will be enjoined permanently.
Accordingly, distributions under the Plan to Holders of Allowed Claims will not be subject to turnover or payment to
a beneficiary of such terminated subordination rights, or to levy, garnishment, attachment or other legal process by a
beneficiary of such terminated subordination rights; provided, that any such subordination rights shall be preserved in
the event the Confirmation Order is vacated, the Effective Date does not occur in accordance with the terms hereunder
or the Plan is revoked or withdrawn.

D.       Cancellation of Instruments, Certificates, and Other Documents

          On the Effective Date, except as otherwise provided in the Plan: (a) the obligations of the Debtors under the
DIP Facility, the Credit Agreement and any Interests, Certificate, share, note, bond, indenture, purchase right, option,
warrant, or other instrument or document, directly or indirectly, evidencing or creating any indebtedness or obligation
of, or ownership interest in, the Debtors giving rise to any Claim or Interest, including, for the avoidance of doubt,
any and all shareholder or similar agreements related to Interests, shall be cancelled and none of the Debtors or the
Liquidating Trust (as applicable) shall have any continuing obligations thereunder; and (b) the obligations of the
Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of designation, bylaws or
certificate or articles of incorporation or similar documents governing the shares, Certificates, notes, bonds, purchase
rights, options, warrants, or other instruments or documents evidencing or creating any indebtedness or obligation of
the Debtors shall be released; provided that notwithstanding Confirmation or the occurrence of the Effective Date, any
such agreement that governs the rights of the Holder of an Allowed Claim shall continue in effect solely for purposes
of enabling such Holder to receive distributions under the Plan on account of such Allowed Claim as provided herein;
provided, further, that the preceding proviso shall not affect the resolution of Claims or Interests pursuant to the
Bankruptcy Code, the Confirmation Order, or the Plan or result in any expense or liability to the Debtors or the
Liquidating Trustee, as applicable, except to the extent set forth in or provided for under the Plan.

         Notwithstanding Confirmation, the occurrence of the Effective Date or anything to the contrary herein, those
matters that, by their express terms, survive the termination of the DIP Facility and the Credit Agreement shall survive



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the occurrence of the Effective Date, including the rights of the Administrative Agent to expense reimbursement,
indemnification and similar amounts.

E.       Sources for Plan Distributions and Transfers of Funds Among Debtors

          Distributions under the Plan shall be funded, as applicable, with: (a) Cash on hand, including cash from the
proceeds of the DIP Facility or by LoyaltyOne following the closing of the Successful Bid and if necessary, with the
approval of the Ontario Court; and (b) the Liquidating Trust Assets. For the avoidance of doubt, the Debtors shall
transfer all cash on hand on the Effective Date into the Liquidating Trust Reserve pursuant to the applicable budget
under the DIP Facility. Cash payments to be made pursuant to the Plan will be made by the Debtors, the Liquidating
Trustee or the Distribution Agent, as applicable. The Debtors or the Liquidating Trustee, as applicable, will be entitled
to transfer funds between and among the Debtors and non-Debtor subsidiaries as the Debtors or Liquidating Trustee,
as applicable as necessary or appropriate to enable the payments and distributions required by the Plan, provided that
such transfers do not adversely impact the Administrative Agent, or Lenders or any tax or other treatment of the
Administrative Agent or Lenders.

F.       Corporate Action

         Subject to the Transaction Support Agreement and, where required, approval of the Ontario Court, and except
as set forth herein, upon the Effective Date, all actions contemplated by the Plan (including any document
contemplated by the Plan Supplement) shall be deemed authorized, and approved, without any requirement for further
action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the Liquidating Trustee or
any other Entity, including, in each case, as applicable: (a) rejection or assumption, as applicable, of Executory
Contracts and Unexpired Leases; (b) implementation of the transactions contemplated by the Transaction Support
Agreement; and (c) all other acts or actions contemplated, or reasonably necessary or appropriate to promptly
consummate the transactions contemplated by the Plan (whether to occur before, on, or after the Effective Date). All
matters provided for in the Plan (including any document contained in the Plan Supplement) involving the corporate
structure of the Debtors, and any corporate action required by the Debtors in connection therewith, shall be deemed
to have occurred on, and shall be in effect as of, the Effective Date, without any requirement of further action by the
security holders, directors, managers, authorized persons or officers of the Debtors or Liquidating Trustee. On or
before the Effective Date, the appropriate officers of the Debtors or Liquidating Trustee, as applicable, shall be
authorized and (as applicable) directed to issue, execute, and deliver the agreements, documents and instruments
contemplated by the Plan (or necessary or desirable to effectuate the transactions related to the Plan) in the name of
and on behalf of the Debtors to the extent not previously authorized by the Bankruptcy Court, if and as applicable.
The authorizations and approvals contemplated by this Article VIII.F. shall be effective notwithstanding any
requirements under non-bankruptcy law.

G.       Amended Organizational Documents

          On the Effective Date, the organizational documents of each of the Debtors shall be amended, amended and
restated, or replaced as may be necessary to effectuate the transactions contemplated or permitted by this Plan and the
Liquidating Trust Agreement. To the extent required under this Plan or applicable non-bankruptcy law, on the
Effective Date, the Liquidating Trustee or each of the Debtors, as applicable, will file its Amended Organizational
Documents with the applicable Secretary of State and/or other applicable authorities in its respective state or country
of incorporation. The Amended Organizational Documents will prohibit the issuance of nonvoting equity securities,
to the extent required under section 1123(a)(6) of the Bankruptcy Code. After the Effective Date, the Liquidating
Trustee or Debtors, as applicable, may amend and restate the Amended Organizational Documents, and the
Liquidating Trustee or Debtors, as applicable, may file their respective certificates or articles of incorporation, bylaws,
or such other applicable formation or dissolution documents, and other constituent documents as permitted by the laws
of the respective states or countries of incorporation, the Liquidating Trust Agreement, and the Amended
Organizational Documents.

H.       Dissolution of Board of Directors

         As of the Effective Date, any remaining directors and officers of LVI shall be dismissed without further
action required on the part of LVI or any other party; provided, however, for the avoidance of doubt, the Liquidating


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Trustee, in accordance with the Liquidating Trust Agreement, may determine to retain any director, officer, manager
or managing member of LVI or any other Debtor.

I.       Employment Agreements

          To the extent that the Debtors intend for any employment, retirement, indemnification or other agreement
with its respective directors, officers, managing members and employees to remain in place after the Effective Date,
the Debtors, with the consent of the Consenting Lenders and Administrative Agent, will list such agreement on the
list of “Assumed Executory Contracts and Unexpired Leases” contained in the relevant exhibit of the Plan, and such
agreement will be assumed as of the Effective Date. If the Debtors do not list such agreement on the list of “Assumed
Executory Contracts and Unexpired Leases” in the relevant exhibit, such agreement shall be deemed rejected. If
contemplated or permitted by the Liquidating Trust Agreement, the Debtors, with the consent of the Consenting
Lenders and Administrative Agent, may also enter into new employment arrangements and/or change in control
agreements with individuals who will serve as officers after the Effective Date.

J.       Section 1146(a) Exemption

          To the fullest extent permitted by Bankruptcy Code section 1146(a), any transfers (whether from a Debtor to
the Liquidating Trustee or to any other Person) of property under the Plan or pursuant to: (a) the issuance, distribution,
transfer or exchange of any debt, equity security or other interest in the Debtors; (b) the creation, modification,
consolidation, termination, refinancing and/or recording of any mortgage, deed of trust, or other security interest or
the securing of additional indebtedness by such or other means; (c) the making, assignment or recording of any lease
or sublease; or (d) the making, delivery or recording of any deed or other instrument of transfer under, in furtherance
of, or in connection with, the Plan, including any deeds, bills of sale, assignments or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan, shall
not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real
estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
recording fee, sales or use tax or other similar tax or governmental assessment, and upon entry of the Confirmation
Order, the appropriate state or local governmental officials or agents shall forego the collection of any such tax or
governmental assessment and accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax, recordation fee, or governmental assessment. All filing or recording officers (or
any other Person with authority over any of the foregoing), wherever located and by whomever appointed, shall
comply with the requirements of Bankruptcy Code section 1146(c), shall forego the collection of any such tax or
governmental assessment, and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

K.       Preservation of Causes of Action

         Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan, including pursuant to Article XII herein, the DIP and Cash Collateral Orders or a
Final Order, in accordance with Bankruptcy Code section 1123(b), the Liquidating Trustee shall retain and may
enforce all rights to commence and pursue any and all Causes of Action, whether arising before or after the Petition
Date, including any actions specifically enumerated in the Plan Supplement, and the Liquidating Trustee’s rights to
commence, prosecute or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date. No Entity (other than the Administrative Agent and the Lenders) may rely on the absence of a
specific reference in the Plan, the Plan Supplement or the Disclosure Statement to any Cause of Action against
them as any indication that the Debtors or Liquidating Trustee will not pursue any and all available Causes of
Action against them. The Debtors and Liquidating Trustee expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided herein. For the avoidance of doubt,
any and all Spinoff Claims and Causes of Action and any and all Causes of Action against the Bread Parties are hereby
preserved. Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised or settled in the Plan, including pursuant to Article XII herein, the DIP and Cash Collateral Orders or a
Final Order, the Liquidating Trustee expressly reserves all Causes of Action for later adjudication, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
estoppel (judicial, equitable, or otherwise) or laches, shall apply to such Causes of Action upon, after, or as a
consequence of the Confirmation or Consummation For the avoidance of doubt, in no instance will any Cause of


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Action preserved pursuant to this Article VIII.K. include any claim or Cause of Action with respect to, or against, a
Released Party.

         In accordance with Bankruptcy Code section 1123(b)(3), any Causes of Action preserved pursuant to the first
paragraph of this Article VIII.K. that a Debtor may hold against any Entity shall vest in the Liquidating Trust on the
Effective Date. The Liquidating Trustee, through its authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action in accordance with this Plan and the Liquidating Trust
Agreement. Subject to the terms of this Plan and the Liquidating Trust Agreement, the Liquidating Trustee shall have
the exclusive right, authority and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw or litigate to judgment any such Causes of Action, or to decline to do any of the
foregoing, without the consent or approval of any third party or any further notice to or action, order or approval of
the Bankruptcy Court.

          For the avoidance of doubt, no claim, Cause of Action, or related enforcement action against the
Administrative Agent, Lenders or the DIP Lender and its directors and officers shall be preserved by the Debtors, nor
shall the Litigation Trustee have the right or authority to pursue claims and Causes of Action against the Administrative
Agent, any of the Lenders or the DIP Lender and its directors and officers.

L.       Convenience Claim Distribution Reserve

         On the Effective Date, the Debtors and/or LoyaltyOne shall establish and fund the Convenience Claim
Distribution Reserve with Cash in an amount as specified in the applicable budget to the DIP and Cash Collateral
Orders, to be held by the Liquidating Trust for payment of Allowed Convenience Claims. The Convenience Claim
Distribution Reserve shall be segregated from all other Liquidating Trust Assets and shall be maintained in trust by
the Liquidating Trust solely for the benefit of Holders of Allowed Convenience Claims. Such funds shall not be
considered Liquidating Trust Assets.

M.       Winddown Reserve

         On the Effective Date, the Debtors and/or LoyaltyOne shall establish and fund the Winddown Reserve with
Cash in an amount as specified in the applicable budget to the DIP and Cash Collateral Orders, to be held by the
Liquidating Trust for payment of Cure Claims, Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Claims in Classes 1 and 2, Liquidating Trust Expenses, and any other amounts as specified in the Liquidating
Trust Agreement. The Winddown Reserve shall be segregated from all other Liquidating Trust Assets and shall be
maintained in trust by the Liquidating Trust.

N.       Liquidating Trustee

            1.        Creation of the Liquidating Trust

          Subject to the Liquidating Trust Agreement in all respects, on the Effective Date, the Debtors and the
Liquidating Trustee shall execute the Liquidating Trust Agreement and shall take all steps necessary to establish the
Liquidating Trust in accordance with the Plan and for the benefit of the Liquidating Trust Beneficiaries. Additionally,
on the Effective Date, the Debtors shall irrevocably transfer and shall be deemed to have irrevocably transferred to
the Liquidating Trust all of the Debtors’ and Estates’ rights, title, and interest in and to all of the Liquidating Trust
Assets and, in accordance with section 1141 of the Bankruptcy Code, the Liquidating Trust Assets shall automatically
vest in the Liquidating Trust free and clear of all Claims, Liens, encumbrances, or interests, subject to the terms of
this Plan and the Liquidating Trust Agreement. The act of transferring the Liquidating Trust Assets to the Liquidating
Trust shall not be construed to destroy or limit any such assets or rights or be construed as a waiver of any right, and
such rights may be asserted by the Liquidating Trust as if the asset or right was still held by the Debtors. The
Liquidating Trust shall be governed by the Liquidating Trust Agreement to be filed with the Plan Supplement and
shall supplement and amend anything in the Combined DS and Plan that contradicts the terms of the Liquidating Trust
Agreement.




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            2.       Liquidating Trust Reserve

         On the Effective Date, the Debtors and/or LoyaltyOne shall fund the Liquidating Trust Reserve in accordance
with the Liquidating Trust Agreement, which shall vest in the Liquidating Trust free and clear of all Claims, Liens,
encumbrances, and charges. The Liquidating Trust Reserve shall be held separately from the Liquidating Trust Assets
and shall be used to (a) satisfy all Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Other
Priority Claims, Allowed Other Secured Claims, and any other amounts to be paid pursuant to Articles VI and VII,
not paid by the Debtors on or prior to the Effective Date and (b) fund the Liquidating Trust Expenses. Any excess
funds in the Liquidating Trust Reserve remaining after the payment or funding of amounts required under the
preceding clauses shall be deemed to be Liquidating Trust Proceeds and shall be available for Distribution first to
repay the DIP Facility Claims and then to Liquidating Trust Beneficiaries in accordance with the Plan and Liquidating
Trust Agreement.

          The Convenience Claim Distribution Reserve, the Professional Fee Escrow Account and the Winddown
Reserve shall be held separately from the Liquidating Trust Assets. Any excess funds in the (x) Convenience Claim
Distribution Reserve remaining after the payment or funding of amounts required to pay all Allowed Convenience
Claims, (y) Professional Fee Reserve Account after paying all Professional Fee Claims, or (z) Winddown Reserve
shall be deemed to be Liquidating Trust Proceeds and shall be available for Distribution first to repay the DIP Facility
Claims and then to the Liquidating Trust Beneficiaries in accordance with the Plan and Liquidating Trust Agreement.

         The Liquidating Trustee shall transfer any net Cash proceeds from the Preserved Estate Claims to the
Liquidating Trust Reserve until such time as (a) all Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Other Priority Claims, and Allowed Other Secured Claims have been paid in full or otherwise resolved or
(b) the Administrative Claims Bar Date and any other applicable Claims bar date has expired.

            3.       Liquidating Trust Oversight Committee

          On the Effective Date, the Requisite Consenting Lenders, in consultation with the Debtors and the
Administrative Agent, may appoint a Liquidating Trust Oversight Committee to oversee the Liquidating Trust and
Liquidating Trustee, subject to the terms of the Liquidating Trust Agreement. If appointed on the Effective Date, the
identities of the Liquidating Trust Oversight Committee members will be disclosed in advance of the Effective Date.
If the Requisite Consenting Lenders do not appoint the Liquidating Trust Oversight Committee on the Effective Date,
one may be established pursuant to the terms of the Liquidating Trust Agreement.

            4.       The Liquidating Trustee

         The Liquidating Trust shall be administered by the Liquidating Trustee, who shall be appointed by the
Requisite Consenting Lenders, in consultation with the Debtors and Administrative Agent, and whose identity will be
disclosed in the Plan Supplement. The Liquidating Trustee shall be the exclusive trustee of the Liquidating Trust
Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and responsibilities of the
Liquidating Trustee shall be specified in the Liquidating Trust Agreement and shall include, without limitation, the
power to (a) hire and compensate professionals and advisors selected by the Liquidating Trustee with the consent of
the Consenting Lenders, in consultation with the Liquidating Trust Oversight Committee, if applicable (but without
application to or order of the Bankruptcy Court); (b) object to and settle Disputed Claims after the Effective Date,
provided that the Consenting Lenders shall have a consent right over any settlement with any Bread Party or related
to any Spinoff Claim or Cause of Action; (c) investigate, prosecute and settle Preserved Estate Claims, provided that
the Consenting Lenders shall have a consent right over any settlement with any Bread Party or related to any Spinoff
Claim or Cause of Action; (d) monetize the Liquidating Trust Assets; (e) make Distributions; and (f) close the Chapter
11 Cases, in each case in accordance with the Plan, the Confirmation Order and the Liquidating Trust Agreement. The
compensation of the Liquidating Trustee shall be governed by the Liquidating Trust Agreement.




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             5.         Reports to be Filed by the Liquidating Trustee

         Following the Effective Date, the Liquidating Trustee shall file with the Bankruptcy Court (and provide to
any other party entitled to receive any such report pursuant to the Liquidating Trust Agreement), no later than 15 days
after June 30 and December 31 of each calendar year, a semi-annual report regarding the administration of property
subject to its ownership and control pursuant to this Plan, distributions made by it, and other matters relating to the
implementation of this Plan. Without limiting the generality of the foregoing, each such report shall include an update
regarding the status of the Liquidating Trust Assets, including any Causes of Action being prosecuted by the
Liquidating Trust.

             6.         Substitution in Pending Legal Actions

          On the Effective Date, the Liquidating Trust or the Liquidating Trustee, as applicable, shall be deemed to be
substituted as the party to any litigation in which the Debtors are a party and shall be authorized, but not required, to
file notices or other pleadings in such actions to effectuate its substitution for the applicable Debtor or Debtors. Such
substitution shall not result in Holders of Claims, including litigation Claims, against the Debtors receiving greater
rights in or against the Liquidating Trust than they are otherwise entitled to under the Plan and Liquidating Trust
Agreement on account of such Claims.

             7.         Tax Treatment; No Successor in Interest

           The Liquidating Trust is intended to be treated for U.S. federal income tax purposes as a liquidating trust
described in Treasury Regulation section 301.7701-4(d), subject to the Liquidating Trustee’s ability to timely elect to
treat any portion of the Liquidating Trust attributable to the disputed claims as one or more Disputed Claims Reserves
(as defined in the Liquidating Trust Agreement) treated as disputed ownership funds described in Treasury Regulation
section 1.468B-9. Pursuant to the Liquidating Trust Agreement, all relevant parties shall treat, for U.S. federal income
tax purposes, the transfer of assets by the Debtors to the Liquidating Trust as (a) in part as the transfer of assets by the
Debtors to the Holders of Allowed Claims entitled to Distributions from the Liquidating Trust Assets, subject to any
liabilities of the Debtors or the Liquidating Trust payable from the proceeds of such assets, followed by the transfer
of such assets (subject to such liabilities) by such Holders to the Liquidating Trust in exchange for the beneficial
interests in the Liquidating Trust, and (b) in part as the transfer of assets by the Debtors to one or more Disputed
Claims Reserves. Notwithstanding the foregoing provisions of this Article VIII.J.7, in the event of a final
determination under section 1313(a) of the Internal Revenue Code that the Liquidating Trust does not qualify as a
grantor trust, the Liquidating Trust Beneficiaries and the Liquidating Trustee intend that the Liquidating Trust be
treated as a partnership for U.S. federal income tax purposes and will take all actions reasonably necessary to cause
the Liquidating Trust to be treated as such a partnership. See Article XIX for a more detailed discussion of the U.S.
federal income tax treatment of the Plan.

                   a.        Purpose of the Liquidating Trust

          The Liquidating Trust shall be established for the primary purpose of liquidating and distributing the assets
transferred to it, in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
engage in the conduct of a trade or business, except to the extent reasonably necessary to, and consistent with, the
liquidating purpose of the Liquidating Trust. Accordingly, the Liquidating Trustee shall, in an expeditious but orderly
manner, liquidate and convert to Cash the Liquidating Trust Assets, make timely Distributions to the Liquidating Trust
Beneficiaries and not unduly prolong its duration. The Liquidating Trust shall not be deemed a successor-in-interest
of the Debtors for any purpose other than as specifically set forth in this Plan or in the Liquidating Trust Agreement.
The record holders of beneficial interests shall be recorded and set forth in a register maintained by the Liquidating
Trustee expressly for such purpose.




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          The Liquidating Trust is intended to qualify as a “grantor trust” as governed by sections 671 through section
679 of the Internal Revenue Code for U.S. federal income tax purposes with the Liquidating Trust Beneficiaries
treated as grantors and owners of the Liquidating Trust. For all U.S. federal income tax purposes, all parties
(including the Debtors, the Liquidating Trustee and the Liquidating Trust Beneficiaries) shall treat the transfer of the
Liquidating Trust Assets (other than the assets in any Disputed Claims Reserves) by the Debtors to the Liquidating
Trust, as set forth in the Liquidating Trust Agreement, as a transfer of such assets by the Debtors to the Holders of
Allowed Claims entitled to Distributions from the Liquidating Trust Assets, followed by a transfer by such Holders
to the Liquidating Trust. As soon as practicable after the Effective Date, the Liquidating Trustee shall make a good
faith determination of the fair market value of the Liquidating Trust Assets as of the Effective Date. This valuation
shall be used consistently by all parties (including the Debtors, the Liquidating Trustee and the Liquidating Trust
Beneficiaries) for all U.S. federal income tax purposes. See Article XIX for a more detailed discussion of the U.S.
federal income tax treatment of the Plan.

            8.        Abandonment of Liquidating Trust Assets

        Subject to the Liquidating Trust Agreement, after the Effective Date, the Liquidating Trustee may abandon
any Liquidating Trust Assets which the Liquidating Trustee determines in his or her reasonable discretion to be of de
minimis value or burdensome to the Liquidating Trust.

            9.        Securities Exempt

          The Liquidating Trust Interests (including beneficial interests in the Liquidating Trust) to be distributed to
the Liquidating Trust Beneficiaries pursuant to the Combined DS and Plan shall not constitute “securities” under
applicable law. Such interests shall not be transferrable (except under limited circumstances set forth in the
Liquidating Trust Agreement) and shall not have consent or voting rights or otherwise confer on the Liquidating Trust
Beneficiaries any rights similar to the rights of stockholders of a corporation in respect of actions to be taken by the
Liquidating Trustee and the Liquidating Trust Oversight Committee (if any) in connection with the Liquidating Trust
(except as otherwise provided in the Liquidating Trust Agreement). To the extent the Liquidating Trust Interests are
considered securities under applicable law, the offer, issuance, and distribution of such interests satisfies the
requirements of Bankruptcy Code section 1145 and, therefore, such offer, issuance, and distribution is exempt from
registration under the Securities Act and any state or local law requiring registration, and to the extent such exemption
is not available, the Liquidating Trust Interests will be offered, issued, and distributed under this Combined DS and
Plan pursuant to other applicable exemptions from registration under the Securities Act and Blue Sky Laws. To the
extent any “offer or sale” of the Liquidating Trust Interests may be deemed to have occurred, such offer or sale is
under the Plan and in exchange for Claims against one or more of the Debtors, or principally in exchange for such
Claims and partly for cash or property, within the meaning of section 1145(a)(1) of the Bankruptcy Code.

            10.       Dissolution of Liquidating Trust

         Subject to the terms of the Liquidating Trust Agreement, the Liquidating Trust Oversight Committee and
the Liquidating Trust shall be discharged or dissolved as provided therein.

O.       Preservation of Preserved Estate Claims

         Except as provided in this Plan, the Confirmation Order, or in any contract, instrument, release or other
agreement entered into or delivered in connection with this Plan, in accordance with section 1123(b) of the Bankruptcy
Code, the Liquidating Trust will retain and may enforce any Preserved Estate Claim that any Estate or Debtor may hold,
including the Spinoff Claims and Causes of Action, against any Entity, including but not limited to the Bread Parties.
The Liquidating Trust may pursue any such Preserved Estate Claims in accordance with this Plan and the Liquidating
Trust Agreement. The Debtors’ inclusion or failure to include or describe with sufficient specificity any Preserved
Estate Claim on the Schedule of Preserved Estate Claims shall not be deemed an admission, denial or waiver of any



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Preserved Estate Claim that the Debtors or Estates may hold, other than with respect to the Administrative Agent and
the Lenders. The Debtors intend to preserve all Preserved Estate Claims, other than any claim or Cause of Action
against the Lenders or Administrative Agent and any claim or Cause of Action against a Released Party (to the extent
such claim or Cause of Action is released in Article XII). No preclusion doctrine, including, without limitation, the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable
or otherwise) or laches will apply to the Preserved Estate Claims upon or after the entry of the Confirmation Order or
the Effective Date of the Plan based on the Plan or the Confirmation Order, including any argument of waiver on
account of the failure to include or describe with sufficient specificity any Preserved Estate Claim on the Schedule of
Preserved Estate Claims.

P.       Corporate Actions Regarding the Liquidating Trust

         The entry of the Confirmation Order shall constitute authorization for the Debtors and the Liquidating
Trustee, as applicable, to take or cause to be taken all corporate actions necessary or appropriate to implement all
provisions of, and to consummate, the Plan prior to, on and after the Effective Date and all such actions taken or
caused to be taken shall be deemed to have been authorized and approved by the Bankruptcy Court without further
approval, act or action under any applicable law, order, rule or regulation, including, without limitation: (a) the
establishment of the Liquidating Trust and the appointment of the Liquidating Trustee and Liquidating Trust
Oversight Committee; (b) the transfer of assets to the Liquidating Trust; (c) the adoption, execution, delivery and
implementation of all contracts, instruments, releases and other agreements or documents related to any of the
foregoing; and (d) the other matters provided for under this Plan involving the corporate structure of the Debtors or
corporate action to be taken by or required by the Debtors or the Liquidating Trustee. Notwithstanding any
requirement under non-bankruptcy law, all matters provided for in the Plan or deemed necessary or desirable by the
Debtors or the Liquidating Trustee, as applicable, before, on, or after the Effective Date involving the corporate
structure of the Debtors, including the dissolution of the Debtors shall be deemed to have occurred and shall be in
effect on the Effective Date or as otherwise provided under the Plan, without any requirement of further action by
the security holders, directors, managers, members or officers of the Debtors.

Q.       Effectuating Documents; Further Transactions

        The Debtors and the Liquidating Trustee are authorized to and may issue, execute, deliver, file, or record
such contracts, instrument, releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement and evidence the terms and conditions of this Plan, in each case, in the name of
and on behalf of the Debtors or the Liquidating Trust, as applicable, without the need for any approvals, authorization
or consents except those expressly required pursuant to this Plan.

R.       Closing the Chapter 11 Cases

         As soon as practicable after the Effective Date, the Liquidating Trustee shall, and shall be authorized to,
close the Chapter 11 Cases except for LVI’s Chapter 11 Case, which shall be designated as the lead case. All
contested matters and adversary proceedings relating to any of the Debtors, including objections to Claims, shall be
filed, administered and adjudicated in LVI’s Chapter 11 Case without the need to reopen any of the other Chapter
11 Cases; provided that for purposes of sections 546 and 550 of the Bankruptcy Code, the Chapter 11 Cases shall be
deemed to remain open until LVI’s Chapter 11 Case is closed.

        The Liquidating Trustee shall be permitted to close LVI’s Chapter 11 Case in accordance with the Liquidating
Trust Agreement.




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S.       Consenting Lender and Administrative Agent Fees

         On the Effective Date, the Debtors shall pay all fees and expenses owed to the advisors to the Consenting
Lenders and the Administrative Agent to the extent not already paid. After the Effective Date, the Liquidating Trust
shall pay all fees and expenses owed to the Consenting Lenders and Administrative Agent, to the extent not already
paid by the Debtors, in accordance with the Liquidating Trust Agreement from the Winddown Reserve.

                                      ARTICLE IX.
                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

          Except as otherwise provided in the Plan, the Plan Supplement, or a Final Order, each Executory Contract
and Unexpired Lease shall be deemed to be rejected, without the need for any further notice to or action, order, or
approval of the Bankruptcy Court, as of the ninetieth (90th) day after the Effective Date, pursuant to Bankruptcy Code
section 365, unless such Executory Contract or Unexpired Lease: (a) was previously assumed, assumed and assigned,
or rejected; (b) was previously expired or terminated pursuant to its own terms; (c) is the subject of a motion to assume
or assume and assign Filed on or before the Confirmation Date; or (d) is designated specifically, or by category, as an
Executory Contract or Unexpired Lease on the Schedule of Assumed Executory Contracts and Unexpired Leases. The
assumption of Executory Contracts and Unexpired Leases hereunder may include the assignment of certain of such
contracts to Affiliates or the Entity with the Successful Bid under the SISP. The Confirmation Order will constitute an
order of the Bankruptcy Court approving the above-described assumptions and assignments or rejections, all pursuant
to Bankruptcy Code sections 365(a) and 1123 and effective on the ninetieth (90th) day after the Effective Date.

          Except as otherwise provided herein or agreed to by the Debtors or the Liquidating Trustee, as applicable,
and the applicable counterparty, each assumed Executory Contract or Unexpired Lease shall include all modifications,
amendments, supplements, restatements, or other agreements related thereto, and all rights related thereto, if any,
including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests. To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption of such Executory Contract or Unexpired Lease (including any “change of control”
provision), then such provision shall be deemed modified such that the transactions contemplated by the Plan shall
not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired Lease or to exercise any
other default-related rights with respect thereto. Notwithstanding anything to the contrary in the Plan, the Debtors or
Liquidating Trustee, as applicable, reserve the right to alter, amend, modify, or supplement the Schedule of Assumed
Executory Contracts and Unexpired Leases in accordance with the terms of the Transaction Support Agreement at any
time through and including ninety (90) days after the Effective Date. Modifications, amendments, supplements, and
restatements to prepetition Executory Contracts and Unexpired Leases that have been executed by the Debtors during
the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease
or the validity, priority, or amount of any Claims that may arise in connection therewith.

B.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

          The Debtors shall file the Schedule of Assumed Contracts and Unexpired Leases as part of the Plan
Supplement identifying such contracts that the Debtors, with the consent of the Requisite Consenting Lenders and the
Administrative Agent, determine shall be assumed by the Debtors in connection with the Plan. Prior to the Effective
Date, the Debtors, using cash on hand or from the DIP Facility, or after the Effective Date, the Liquidating Trustee
from the Winddown Reserve, as applicable, shall pay Cure Claims as set forth on the Schedule of Assumed Contracts
and Unexpired Leases, if any, on the Effective Date or as soon as reasonably practicable thereafter, with the amount
and timing of payment of any such Cure dictated by the Debtors’ ordinary course of business or as otherwise agreed.
To the extent that a Cure Claim with respect to any contract set forth on the Schedule of Assumed Contracts and
Unexpired Leases is the same as the Cure Claim as previously set forth on a notice filed by the Debtors on the docket
of the Chapter 11 Cases, counterparties shall not have an additional opportunity to object to such Cure Claim. Any
Cure shall be deemed fully satisfied and released upon payment by the Debtors, Liquidating Trustee, or any other
Entity, as applicable, of the Cure in the Debtors’ ordinary course of business; provided, however, that nothing herein



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shall prevent the Debtors, or Liquidating Trustee, as applicable, from paying any Cure Claim despite the failure of the
relevant counterparty to File such request for payment of such Cure. The Debtors, or Liquidating Trustee, as
applicable, with the consent of the Consenting Lenders also may settle any Cure Claim without any further notice to
or action, order, or approval of the Bankruptcy Court.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article IX.B. in the amount and at the time dictated by the Debtors’
ordinary course of business, shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time prior to the effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts
or Unexpired Leases that have been assumed in the Chapter 11 Cases, including pursuant to the Confirmation
Order, and for which any Cure has been fully paid pursuant to this Article IX.B., in the Debtors’ ordinary
course of business, shall be deemed Disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

C.       Rejection Damages Claims

         In the event that the rejection of an Executory Contract or Unexpired Lease results in damages to the other
party or parties to such contract or lease, Claims for such damages shall be classified as General Unsecured Claims or
Convenience Claims, as applicable, and shall be treated in accordance with Article VII herein.

D.       Indemnification

         On and as of the Effective Date, the Indemnification Provisions will be assumed by the Debtors and will
survive the effectiveness of the Plan, and notwithstanding anything in the Plan to the contrary, none of the Debtors or
Liquidating Trustee will amend and/or restate the Indemnification Provisions before or after the Effective Date to
terminate or adversely affect any of the Indemnification Provisions; provided that none of the Indemnification
Provisions providing for indemnification of the Bread Parties by the Debtors or their subsidiaries shall be assumed,
and such Indemnification Provisions shall be rejected as of the Effective Date with regard to the Bread Parties, unless
specifically and expressly assumed by the Debtors. For the avoidance of doubt, the Liquidating Trust is not assuming
or being assigned the Debtors’ Indemnification Provisions pursuant to the Plan or the Confirmation Order. Unless
otherwise agreed to in writing by the Liquidating Trustee, the Liquidating Trust shall have no liability of any kind for
any claims or obligations related to the Debtors’ assumption of the Indemnification Provisions.

E.       Insurance Related Provisions

          Notwithstanding anything to the contrary in the Combined DS and Plan, the Confirmation Order, the
Liquidating Trust Agreement, any bar date notice or Claim objection, any other document related to any of the
foregoing or any other order of the Bankruptcy Court (including, without limitation, any other provision that purports
to be preemptory or supervening, grants an injunction or release, confers Bankruptcy Court jurisdiction, or requires a
party to opt out of any releases):

         (a)      nothing, including the dissolution or winding down of the Debtors, the vesting of the Insurance
                  Contracts (other than the D&O Liability Insurance Policies and the E&O Liability Insurance
                  Policies) with the Liquidating Trust or any relief permitting any Entity to pursue proceeds available
                  under any Insurance Contracts granted pursuant to this Combined DS and Plan, the Confirmation
                  Order or any other order of the Bankruptcy Court, shall impair, expand, or modify: (i) the rights
                  and obligations of the Debtors (and their Estates), the Liquidating Trust, named insureds or any
                  insured or beneficiary or any of the Insurers under any of the Insurance Contracts; (ii) the coverage
                  and benefits provided under the Insurance Contracts; (iii) the obligations, terms and conditions of
                  the Insurance Contracts; or (iv) the enforceability of the Insurance Contracts;

         (b)      on and after the Effective Date: (i) all Insurance Contracts (other than the D&O Liability Insurance
                  Policies and the E&O Liability Insurance Policies) which identify any of the Debtors as first named



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                  insureds or as a counterparty thereto shall vest unaltered in their entireties with the Liquidating
                  Trust; (ii) any non-monetary obligations together with direct or derivative rights, interests, claims,
                  entitlements or Causes of Action of any Debtor under any of the Insurance Contracts, including the
                  rights of any Debtor to proceeds, indemnification, reimbursement, contribution, benefits or other
                  payment arising out of or under the Insurance Contracts, shall vest with the Liquidating Trust; (iii)
                  the Liquidating Trust shall have standing to pursue the Insurance Coverage Rights; and (iv) the
                  Liquidating Trust shall be authorized to perform any administrative responsibilities on behalf of any
                  named insured under the Insurance Contracts;

         (c)      to the extent the Debtors (or, after the Effective Date, the Liquidating Trust) seek coverage or
                  payment under any Insurance Contracts, the Insurers shall be entitled to payment or reimbursement
                  in full from the applicable Debtor or Liquidating Trust, to the extent required under the applicable
                  Insurance Contract and applicable non-bankruptcy law, in the ordinary course and without the need
                  for the Insurer to file a Proof of Claim, Cure Claim or a request, application, claim, proof or motion
                  for payment or affiance of any Administrative Claim; provided, that any and all rights of the Debtors
                  and Liquidating Trust to dispute such payments or reimbursements are expressly reserved; provided,
                  however, without limiting the Insurance Coverage Rights granted to the Liquidating Trust, the
                  Liquidating Trust shall not be an “insured” or “named insured” (as defined or described in the
                  Insurance Contracts) under the Insurance Contracts at any time without the express written consent
                  of the applicable Insurer; provided, further, for the avoidance of doubt, any amounts payable on
                  account of Claims covered by the Insurance Contracts (i) up to the applicable self-insured retention
                  amount under such applicable Insurance Contract or (ii) that exceed the aggregate amount payable
                  under such applicable Insurance Contract, shall be treated in accordance with the Plan; and

         (d)      injunctions set forth in Article XII.E of the Combined DS and Plan, if and to the extent applicable,
                  shall be deemed lifted without further order of this Bankruptcy Court, solely to permit the Insurers
                  to: (i) administer, handle, defend, settle and/or pay, in the ordinary course (A) Claims where a
                  claimant has been granted relief to proceed with it Claims pursuant to this Combined DS and Plan,
                  the Confirmation Order or by any other order of the Bankruptcy Court, and (B) all costs in relation
                  to each of the foregoing; and (ii) take other actions relating to the Insurance Contracts in the ordinary
                  course (including effectuating a setoff) permitted under the Insurance Contracts and/or applicable
                  non-bankruptcy law; provided, however, that each applicable Insurer is prohibited from, and the
                  Confirmation Order shall include an injunction against, denying, refusing, altering or delaying
                  coverage on any basis regarding or related to the Chapter 11 Cases, this Plan or any provision within
                  this Plan, including the treatment or means of liquidation set out within this Plan for any insured
                  Claim or Causes of Action.

           None of the Debtors or the Liquidating Trustee, as applicable, shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policy or any E&O Liability Insurance Policy in effect prior to the
Effective Date, and any current and former directors, officers, managers and employees of the Debtors who served in
such capacity at any time before or after the Effective Date shall be entitled to the full benefits of any such policy for
the full term of such policy, subject to the terms and conditions thereof, regardless of whether such directors, officers,
managers and employees remain in such positions after the Effective Date. Notwithstanding anything to the contrary
in the Plan, the Debtors and the Liquidating Trustee (as applicable) shall retain the ability to supplement such D&O
Liability Insurance Policy or E&O Liability Insurance Policy as the Debtors or Liquidating Trustee may deem
necessary.

         No distributions under the Plan, other than to Holders of Claims in Classes 3 and 4, shall be made on account
of an Allowed Claim that is payable pursuant to one of the Debtors’ Insurance Contracts until the Holder of such
Allowed Claim has exhausted all remedies with respect to such Insurance Contract. Except for Claims being pursued
by the Liquidating Trustee, to the extent that one or more of the Debtors’ Insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately
upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.




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         Payments to Holders of Claims in Classes 1, 2, and 5 shall be made in accordance with the provisions of any
applicable Insurance Contract. Notwithstanding anything to the contrary herein (including Article XII) nothing
contained in the Plan shall constitute or be deemed a release, settlement, satisfaction, compromise, or waiver of any
Claim or Cause of Action that the Debtors or any other Entity may hold against any other Entity, including Insurers,
under any Insurance Contracts or applicable indemnity, nor shall anything contained herein constitute or be deemed
a waiver by such Insurers of any rights or defenses, including coverage defenses, held by such Insurers.

F.       Contracts and Leases After the Petition Date

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed under Bankruptcy Code section 365, will be performed by the applicable Debtor or
the Liquidating Trustee in the ordinary course of its business.

G.       Reservation of Rights

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor or the
Liquidating Trustee has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of assumption, the Debtors or the Liquidating Trustee, as applicable, shall have
ninety (90) days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.

         Notwithstanding anything to the contrary contained herein, the Bread Parties may raise any objections and
arguments in connection with the Debtors’ Executory Contracts with any of the Bread Parties, including the Debtors’
assumption or rejection thereof, and the rights of the Debtors and all other parties in interest with respect thereto are
also preserved.

H.       Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to Bankruptcy Code
section 365(d)(4), unless such deadline(s) have expired.

                                           ARTICLE X.
                            PROCEDURES FOR RESOLVING DISPUTED CLAIMS

         Subject to the Bread Settlement, this Article X shall not apply to DIP Facility Claims, or Loan Claims, which
Claims shall be Allowed in accordance with the Plan and not be subject to any avoidance, reductions, set off, offset,
recharacterization, subordination (whether equitable, contractual or otherwise), counterclaims, cross-claims, defenses,
disallowance, impairment, objection or any other challenges under any applicable law or regulation by any Person or
Entity.

A.       Disputed Claims Process

          The Liquidating Trustee in consultation with the Consenting Lenders, shall have the exclusive authority to
(i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a claim subject
to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to judgment any
objections to Claims as permitted under this Plan. Except as otherwise provided herein, all Proofs of Claim Filed after
the applicable Claims bar date shall be Disallowed and forever barred, estopped, and enjoined from assertion, and
shall not be enforceable against any Debtor, without the need for any objection by the Liquidating Trustee, or any
further notice to or action, order, or approval of the Bankruptcy Court.




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B.       Allowance of Claims

         Except as otherwise set forth in the Plan, after the Effective Date, the Liquidating Trustee shall have and
retain any and all rights and defenses the applicable Debtor had with respect to any Claim immediately before the
Effective Date. Except as specifically provided in the Plan or in any order entered in the Chapter 11 Cases before the
Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and until such
Claim is deemed Allowed in accordance with the Plan.

C.       Claims Administration Responsibilities

         Except as otherwise specifically provided in the Plan, after the Effective Date, pursuant to the terms of the
Liquidating Trust Agreement the Liquidating Trustee shall have the authority to: (1) File, withdraw, or litigate to
judgment, objections to Claims; (2) settle or compromise any Disputed Claim without any further notice to or action,
order, or approval by the Bankruptcy Court; and (3) administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy Court. For
the avoidance of doubt, except as otherwise provided in the Plan, from and after the Effective Date, the Liquidating
Trustee shall have and retain any and all rights and defenses held by any of the Debtors immediately prior to the
Effective Date with respect to any Disputed Claim, including the Causes of Action retained pursuant to the Plan
Supplement or as otherwise provided in this Plan.

D.       Adjustment to Claims Without Objection

         Any Claim that has been paid, satisfied, amended, superseded, cancelled, or otherwise expunged (including
pursuant to the Plan) may be adjusted or expunged on the Claims Register at the direction of the Liquidating Trustee,
without the need to File an application, motion, complaint, objection, or any other legal proceeding seeking to object
to such Claim and without any further notice to or action, order, or approval of the Bankruptcy Court. Additionally,
any Claim that is duplicative or redundant with another Claim against the same Debtor may be adjusted or expunged
on the Claims Register at the direction of the Liquidating Trustee without the need to File an application, motion,
complaint, objection, or any other legal proceeding seeking to object to such Claim and without any further notice to
or action, order, or approval of the Bankruptcy Court.

E.       Time to File Objections to Claims

          Any objections to Disputed Claims shall be Filed on or before the later of (1) the first Business Day following
the date that is 180 days after the Effective Date and (2) such later date as may be specifically fixed by the Bankruptcy
Court. For the avoidance of doubt, the Bankruptcy Court may extend the time period to object to Disputed Claims.

F.       Reservation of Rights to Object to Claims

          The failure of the Liquidating Trustee to object to any Claim shall not be construed as an admission to the
validity or amount of any such Claim, any portion thereof, or any other claim related thereto, whether or not such
claim is asserted in any currently pending or subsequently initiated proceeding, and shall be without prejudice to the
right of the Debtors or the Liquidating Trustee, as applicable, to contest, challenge the validity of, or otherwise defend
against any such Claim in the Bankruptcy Court or non-bankruptcy forum.

G.       Estimation of Claims

         Before the Effective Date, the Debtors, with the consent of the Consenting Lenders, and on or after the
Effective Date, the Liquidating Trustee, may (but are not required to) in accordance with the terms of the Liquidating
Trust Agreement, at any time request that the Bankruptcy Court estimate any Disputed Claim that is contingent or
unliquidated pursuant to Bankruptcy Code section 502(c) for any reason, regardless of whether any party in interest
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including during the litigation of any objection
to any Claim during the pendency of any appeal relating to such objection. Notwithstanding any provision to the
contrary in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject to appeal or



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has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by
the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim, that
estimated amount shall constitute a maximum limitation on such Claim for all purposes under the Plan and may be
used as evidence in any supplemental proceedings, and the Debtors or the Liquidating Trustee, as applicable, may
elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim.

          Notwithstanding Bankruptcy Code section 502(j), in no event shall any Holder of a Claim that has been
estimated pursuant to Bankruptcy Code section 502(c) or otherwise be entitled to seek reconsideration of such
estimation unless such Holder has Filed a motion requesting the right to seek such reconsideration on or before seven
(7) days after the date on which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and
resolution procedures are cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

H.       Reserved

I.       Disallowance of Claims

         Any Claims held by Entities from which the Bankruptcy Court has determined that property is recoverable
under Bankruptcy Code section 542, 543, 550 or 553 or that is a transferee of a transfer that the Bankruptcy Court has
determined is avoidable under Bankruptcy Code section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) unless such
Entity or transferee has paid the amount, or turned over any such property, for which such Entity or transferee is liable
under section 522(i), 542, 543, 550 or 553 of this title, shall be deemed Disallowed pursuant to Bankruptcy Code
section 502(d), and Holders of such Claims may not receive any distributions on account of such Claims until such
time as such Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto
has been entered and the full amount of such obligation to the Debtors has been paid or turned over in full. All Proofs
of Claim Filed on account of an indemnification obligations shall be deemed satisfied and Disallowed as of the
Effective Date to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case may be)
pursuant to the Plan, without any further notice to or action, order, or approval of the Bankruptcy Court. All Proofs of
Claim Filed on account of an employee benefit shall be deemed satisfied and Disallowed as of the Effective Date to
the extent the Liquidating Trustee elect to honor such employee benefit, without any further notice to or action, order,
or approval of the Bankruptcy Court.

         Except as provided herein or otherwise agreed to by the Debtors or the Liquidating Trustee, in their or its
sole discretion, any and all Proofs of Claim Filed after the applicable bar date shall be deemed Disallowed as of the
Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court, and Holders of such
Claims may not receive any distributions on account of such Claims, unless on or before the Confirmation Hearing
such late Claim has been deemed timely Filed by a Final Order.

J.       Amendments to Proofs of Claim

         On or after the later of the Effective Date or the deadline established by the Bankruptcy Court, a Proof of
Claim may not be Filed or amended without the prior authorization of the Bankruptcy Court or the Debtors or the
Liquidating Trustee, in consultation with the Consenting Lenders, as applicable, and any such new or amended Proof
of Claim Filed that is not so authorized before it is Filed shall be deemed Disallowed in full and expunged without
any further action, order, or approval of the Bankruptcy Court absent prior Bankruptcy Court approval or agreement
by the Debtors or Liquidating Trustee, in consultation with the Consenting Lenders, as applicable.

K.       No Distributions Pending Allowance

        Notwithstanding any other provision hereof, if any portion of a Claim is a Disputed Claim, as applicable, no
payment or distribution provided hereunder shall be made on account of such Claim unless and until such Disputed
Claim becomes an Allowed Claim.




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L.       Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be
made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon as reasonably
practicable after the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a
Final Order, the Distribution Agent shall provide to the Holder of such Claim the distribution (if any) to which such
Holder is entitled under the Plan as of the Effective Date, without any interest to be paid on account of such Claim.

         For the avoidance of doubt, interest shall not accrue or be paid on any Disputed Claim with respect to the
period from the Effective Date to the date a final distribution is made on account of such Disputed Claim, if and when
such Disputed Claim becomes an Allowed Claim.

                                             ARTICLE XI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date

           Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or Liquidating
Trustee, as the case may be, and the Holder of the applicable Claim, on the first Distribution Date, the Distribution
Agent shall make initial distributions under the Plan on account of Claims Allowed on or before the Effective Date or
as soon as reasonably practical thereafter; provided, however, that (1) Allowed Administrative Claims with respect to
liabilities incurred by the Debtors in the ordinary course of business shall be paid or performed in the ordinary course
of business in accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice, and (2) Allowed Priority Tax Claims shall be paid in accordance with Article VI. To the
extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be paid in full in
Cash in accordance with the terms of any agreement between the Debtors or the Liquidating Trustee, as applicable,
and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business. In no event shall the first Distribution Date for Convenience Claims or General Unsecured Claims
be prior to the date set by the Bankruptcy Court as the deadline for filing proofs of claims for Convenience Claims
and General Unsecured Claims.

B.       Rights and Powers of the Distribution Agent

            1.        Powers of Distribution Agent

         The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
and (c) exercise such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court,
pursuant to the Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the provisions
hereof.

            2.        Expenses Incurred On or After the Effective Date

         The Debtors or the Liquidating Trustee, as applicable, shall pay to the Distribution Agent all reasonable and
documented fees and expenses of the Distribution Agent without the need for any approvals, authorizations, actions,
or consents, except as otherwise ordered by the Bankruptcy Court from the Winddown Reserves. The Distribution
Agent shall submit detailed invoices to the Debtors or the Liquidating Trustee, as applicable, for all fees and expenses
for which the Distribution Agent seeks reimbursement, and the Debtors or the Liquidating Trustee, as applicable, shall
pay those amounts that they deem reasonable, and shall object in writing to those fees and expenses, if any, that the
Debtors or the Liquidating Trustee, as applicable, deem to be unreasonable. In the event that the Debtors or the
Liquidating Trustee, as applicable, object to all or any portion of the amounts requested to be reimbursed in a
Distribution Agent’s invoice, the Debtors or Liquidating Trustee, as applicable, and such Distribution Agent shall
endeavor, in good faith, to reach mutual agreement on the amount of the appropriate payment of such disputed fees
and/or expenses. In the event that the Debtors or the Liquidating Trustee, as applicable, and the Distribution Agent




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are unable to resolve any differences regarding disputed fees or expenses, either party shall be authorized to move to
have such dispute heard by the Bankruptcy Court.

C.       Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the relevant parties:
(a) no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final Order; and (b) any Entity
that holds both an Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim unless
and until all objections to the Disputed Claim have been resolved by settlement or Final Order or the Claims have
been Allowed or expunged.

D.       Delivery of Distributions

            1.       Record Date for Distributions

          On the Effective Date, the various transfer registers for each class of Claims as maintained by the Debtors or
their respective agents shall be deemed closed, and there shall be no further changes in the record Holders of any
Claims (the “Distribution Record Date”). The Distribution Agent shall have no obligation to recognize any transfer
of Claims occurring on or after the Distribution Record Date. In addition, with respect to payment of any Cure amounts
or disputes over any Cure amounts, none of the Debtors, the Liquidating Trustee, or the Distribution Agent (as
applicable) shall have any obligation to recognize or deal with any party other than the non-Debtor party to the
applicable executory contract or unexpired lease as of the Effective Date, even if such non-Debtor party has sold,
assigned, or otherwise transferred its Claim for a Cure amount.

            2.       Distribution Process

         Except as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders of
Allowed Claims at the address for each such Holder as indicated on the applicable register or in the Debtors’ records
as of the date of any such distribution (as applicable), including the address set forth in any Proof of Claim filed by
that Holder; provided that the manner of such distributions shall be determined at the discretion of the Debtors or
Liquidating Trustee, as applicable.

            3.       Delivery of Distributions on Loan Claims

         The Administrative Agent shall be deemed to be the Holder of all Allowed Loan Claims in Class 3 for
purposes of distributions to be made hereunder, and all distributions on account of such Allowed Loan Claims shall
be made to the Administrative Agent. As soon as practicable following compliance with the requirements set forth in
Article XI herein, the Administrative Agent shall arrange to deliver or direct the delivery of such distributions to or
on behalf of the Holders of Allowed Loan Claims in accordance with the terms of the Credit Agreement and the Plan.
Notwithstanding anything in the Plan to the contrary, and without limiting the exculpation and release provisions of
the Plan, the Administrative Agent shall not have any liability to any Entity with respect to distributions made or
directed to be made by the Administrative Agent.

            4.       Delivery of Distributions on DIP Facility Claims

        The DIP Lender shall be deemed to be the Holder of all DIP Facility Claims for purposes of distributions to
be made hereunder, and all distributions on account of such DIP Facility Claims shall be made to the DIP Lender.

            5.       Compliance Matters

         In connection with the Plan, to the extent applicable, the Debtors and Liquidating Trustee, as applicable, and
the Distribution Agent shall comply with all tax withholding and reporting requirements imposed on them by any
Governmental Unit, and all distributions pursuant to the Plan shall be subject to such withholding and reporting
requirements. Notwithstanding any provision in the Plan to the contrary, the Debtors and Liquidating Trustee, as



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applicable, and the Distribution Agent shall be authorized to take all actions necessary or appropriate to comply with
such withholding and reporting requirements, including liquidating a portion of the distribution to be made under the
Plan to generate sufficient funds to pay applicable withholding taxes and withholding distributions pending receipt of
information necessary to facilitate such distributions; provided that, the Debtors or Liquidating Trustee, as applicable,
and the Distribution Agent shall request appropriate documentation from the applicable distributees and allow such
distributees a reasonable amount of time (not less than sixty (60) days) to respond. The Debtors and Liquidating
Trustee, as applicable, reserve the right to allocate all distributions made under the Plan in compliance with all
applicable wage garnishments, alimony, child support, and other spousal awards, liens, and encumbrances. Any
amounts withheld or reallocated pursuant to this Article XI.D.5 shall be treated as if distributed to the Holder of the
Allowed Claim.

            6.         Foreign Currency Exchange Rate

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in Bloomberg News on the Petition Date.

            7.         Undeliverable, and Unclaimed Distributions

                  a.        Undeliverable Distributions. If any distribution to a Holder of an Allowed Claim is
                            returned to the Distribution Agent as undeliverable, no further distributions shall be made
                            to such Holder unless and until the Distribution Agent is notified in writing of such
                            Holder’s then-current address or other necessary information for delivery, at which time
                            all currently due missed distributions shall be made to such Holder on the next Distribution
                            Date. Undeliverable distributions shall remain in the possession of the Debtors or the
                            Liquidating Trustee, as applicable, until such time as a distribution becomes deliverable,
                            such distribution reverts to the Debtors or the Liquidating Trustee, as applicable, or is
                            cancelled pursuant to Article XI.D.7.b. below, and shall not be supplemented with any
                            interest, dividends, or other accruals of any kind.

                  b.        Failure to Present Checks. Checks issued by the Distribution Agent on account of Allowed
                            Claims shall be null and void if not negotiated within ninety (90) days after the issuance of
                            such check. Requests for reissuance of any check shall be made directly to the Distribution
                            Agent by the Holder of the relevant Allowed Claim with respect to which such check
                            originally was issued.

                            Any Holder of an Allowed Claim holding an un-negotiated check that does not request
                            reissuance of such un-negotiated check within one hundred and eighty (180) days after the
                            date of mailing or other delivery of such check shall have its Claim for such un-negotiated
                            check discharged and be discharged and forever barred, estopped, and enjoined from
                            asserting any such Claim against the Debtors or their property.

                            Within ninety (90) days after the mailing or other delivery of any such distribution checks,
                            notwithstanding applicable escheatment laws, all such distributions shall revert to the
                            Debtors or the Liquidating Trustee, as applicable. Nothing contained herein shall require
                            the Debtors or the Liquidating Trustee, as applicable, to attempt to locate any Holder of an
                            Allowed Claim.

                  c.        Reversion. Any distribution under the Plan that is an Unclaimed Distribution for a period
                            of six months after distribution shall be deemed unclaimed property under Bankruptcy
                            Code section 347(b), and such Unclaimed Distribution shall revest in the applicable Debtor
                            or with the Liquidating Trustee, as applicable. Upon such revesting, the Claim of the
                            Holder or its successors with respect to such property shall be cancelled, discharged, and
                            forever barred notwithstanding any applicable federal or state escheat, abandoned, or
                            unclaimed property laws, or any provisions in any document governing the distribution
                            that is an Unclaimed Distribution, to the contrary.


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             8.       Minimum Distributions

          Notwithstanding anything herein to the contrary, the Distribution Agent shall not be required to make
distributions or payments of less than $250 (whether Cash or otherwise). No fractional shares of Liquidating Trusts
Interests shall be distributed, and no Cash shall be distributed in lieu of such fractional amounts. When any distribution
pursuant to the Plan on account of an Allowed Claim would otherwise result in the issuance of a number Liquidating
Trusts Interests that is not a whole number, the actual distribution of Liquidating Trusts Interests shall be rounded as
follows: (a) fractions of one-half or greater shall be rounded to the next higher whole number and (b) fractions of less
than one-half shall be rounded to the next lower whole number with no further payment therefore.

E.       Claims Paid or Payable by Third Parties

          A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be Disallowed
without an objection to such Claim having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment on account of such Claim
from a party that is not a Debtor, Liquidating Trustee or Distribution Agent. To the extent a Holder of a Claim receives
a distribution on account of such Claim and receives payment from a party that is not a Debtor, Liquidating Trustee
or a Distribution Agent on account of such Claim, such Holder shall, within fourteen (14) days of receipt thereof,
repay or return the distribution to the Debtors or Liquidating Trustee, as applicable, to the extent the Holder’s total
recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of
the date of any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution
shall result in the Holder owing the Debtors annualized interest at the Federal Judgment Rate on such amount owed
for each Business Day after the fourteen-day grace period specified above until the amount is repaid.

F.       Setoffs

          Except as otherwise expressly provided for herein, each Debtor or the Liquidating Trustee, as applicable,
pursuant to the Bankruptcy Code (including Bankruptcy Code section 553), applicable non-bankruptcy law, or as may
be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the distributions to be made pursuant
to the Plan on account of such Allowed Claim (before any distribution is made on account of such Allowed Claim),
any claims, rights, and Causes of Action of any nature that such Debtor or the Liquidating Trustee (on behalf of such
Debtor), as applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims, rights, or
Causes of Action against such Holder have not been otherwise compromised or settled on or prior to the Effective
Date (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect such a setoff nor
the allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such Debtor or Liquidating
Trustee as applicable, of any such Claims, rights, and Causes of Action that such Debtor or Liquidating Trustee (on
behalf of such Debtor), as applicable, may possess against such Holder. In no event shall any Holder of a Claim be
entitled to set off any such Claim against any Claim, right or Cause of Action of the Debtor, unless such Holder has
indicated in any timely filed Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right
of setoff pursuant to Bankruptcy Code section 553 or otherwise. For the avoidance of doubt, any setoff right with
respect to LoyaltyOne shall be subject to approval of the Ontario Court.

         This Article XI.F. shall not apply to any Claims of the Lenders.

G.       Allocation Between Principal and Accrued Interest

          Except as otherwise provided herein, the aggregate consideration paid to Holders with respect to their
Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal amount of such Allowed Claims
(to the extent thereof) and, thereafter, to interest, if any, on such Allowed Claim accrued through the Effective Date.

          For the avoidance of doubt, unless otherwise specifically provided for in the Plan, the Confirmation Order,
or Final Order of the Bankruptcy Court, or required by applicable bankruptcy or non-bankruptcy law (including,
without limitation, as required pursuant to section 506(b) and section 511 of the Bankruptcy Code), postpetition
interest shall not accrue or be paid on any prepetition Claims against the Debtors, and no Holder of a prepetition Claim
against the Debtors shall be entitled to interest accruing on or after the applicable Petition Date on any such prepetition



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Claim. Additionally, and without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim
with respect to the period from the Effective Date to the date a final distribution is made on account of such Disputed
Claim, if and when such Disputed Claim becomes an Allowed Claim.

                                           ARTICLE XII.
                           RELEASE, INJUNCTION AND RELATED PROVISIONS

A.       Termination of Interests; Compromise and Settlement of Claims, Interests and Controversies

          Except as otherwise specifically provided in the Plan, the Confirmation Order, or in any contract,
instrument, or other agreement or document created pursuant to the Plan and to the fullest extent allowed by
applicable law: (a) the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction and release, effective as of the Effective Date, of any and all Claims (including any Intercompany
Claims resolved or compromised after the Effective Date by the Debtors or Liquidating Trustee, as applicable),
Interests (including any Intercompany Interests Reinstated or cancelled and released after the Effective Date
by the Debtors, or Liquidating Trustee, as applicable), and Causes of Action against the Debtors of any nature
whatsoever including demands, liabilities, and Causes of Action that arose before the Effective Date, any
liability (including withdrawal liability) to the extent such liability relates to services performed by employees
of the Debtors prior to the Effective Date and that arises from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date, all
debts of the kind specified in Bankruptcy Code sections 502(g), 502(h), or 502(i), any interest accrued on Claims
or Interests from and after the Petition Date, and all other liabilities against, liens on, obligations of, rights
against, and Interests in, the Debtors or any of their assets or properties; (b) the Plan shall bind all holders of
Claims and Interests; (c) all Claims and Interests shall be satisfied and released in full, and the Debtors’ liability
with respect thereto shall be extinguished completely, including any liability of the kind specified under
Bankruptcy Code section 502(g); and (d) all Entities shall be precluded from asserting against the Debtors, the
Debtors’ Estates, their successors and assigns, and their assets and properties any other Claims or Interests
based upon any documents, instruments, or any act or omission, transaction, or other activity of any kind or
nature that occurred prior to the Effective Date, in each case regardless of whether or not: (i) a Proof of Claim
based upon such debt or right is filed or deemed filed pursuant to Bankruptcy Code section 501; (ii) a Claim
or Interest based upon such debt, right, or Interest is Allowed pursuant to Bankruptcy Code section 502; (iii) the
Holder of such a Claim or Interest has accepted, rejected or failed to vote to accept or reject the Plan; or (iv)
any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests. The Confirmation Order shall be a judicial determination of the release and satisfaction of all Claims
and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith compromise of all Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim
or Interest may have with respect to any Allowed Claim or Interest, or any distribution to be made on account
of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and controversies,
as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. In accordance
with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or action,
order, or approval of the Bankruptcy Court, after the Effective Date the Liquidating Trustee may compromise
and settle Claims and Causes of Action against the Debtors and their Estates and against other Entities.

B.       Releases by the Debtors

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY OTHER
THAN ARTICLE IV.K.2. OF THIS COMBINED DS AND PLAN, PURSUANT TO BANKRUPTCY CODE
SECTION 1123(B) AND TO THE FULLEST EXTENT ALLOWED BY APPLICABLE LAW, FOR GOOD
AND VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED
PARTY IS DEEMED RELEASED BY THE DEBTORS AND THEIR ESTATES FROM ANY AND ALL
CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY


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DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS OR THEIR
ESTATES, THAT THE DEBTORS OR THEIR ESTATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF
OF THE HOLDER OF ANY CLAIM AGAINST, OR INTEREST IN, A DEBTOR OR OTHER ENTITY,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE
DEBTORS (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY
SECURITIES ISSUED BY THE DEBTORS AND THE OWNERSHIP THEREOF, THE DEBTORS’ IN- OR
OUT-OF-COURT RESTRUCTURING EFFORTS AND CONTEMPLATED LIQUIDATION, ANY
AVOIDANCE ACTIONS, ANY INTERCOMPANY TRANSACTION, THE CHAPTER 11 CASES, THE
FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING OF THE
TRANSACTION SUPPORT AGREEMENT, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE
PLAN, THE PLAN SUPPLEMENT, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER
AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE
TRANSACTION SUPPORT AGREEMENT, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE
PLAN, THE PLAN SUPPLEMENT, THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11
CASES, THE DIP FACILITY DOCUMENTS, SOLICITATION OF VOTES ON THE PLAN, THE
PREPETITION NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION,
THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE
PLAN, THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED
AGREEMENT, OR UPON ANY OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE,
EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL
ORDER BY A COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD,
WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. NOTWITHSTANDING ANYTHING TO THE
CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY
POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, OR ANY
DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR (B)
OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND CASH COLLATERAL ORDERS
THAT, BY THEIR EXPRESS TERMS, SURVIVE THE TERMINATION OF THE CREDIT AGREEMENT
OR DIP AND CASH COLLATERAL ORDERS.

       ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE DEBTOR RELEASE,
WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND DEFINITIONS
CONTAINED IN THE PLAN, AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S
FINDING THAT THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND VALUABLE
CONSIDERATION PROVIDED BY THE RELEASED PARTIES, INCLUDING, WITHOUT LIMITATION,
THE RELEASED PARTIES’ CONTRIBUTIONS TO FACILITATING THE CHAPTER 11 CASES AND
IMPLEMENTING THE PLAN; (B) A GOOD FAITH SETTLEMENT AND COMPROMISE OF THE
CLAIMS RELEASED BY THE DEBTOR RELEASE; (C) IN THE BEST INTERESTS OF THE DEBTORS
AND ALL HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR, EQUITABLE, AND REASONABLE;
(E) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (F) A BAR TO
ANY OF THE DEBTORS OR THE DEBTORS’ ESTATES, AS APPLICABLE, ASSERTING ANY CLAIM
OR CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

      FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD PARTIES SHALL BE RELEASED
PARTIES UNDER THE PLAN, AND (ii) NO RELEASE PURSUANT TO THIS PLAN SHALL BE
PROVIDED TO ANY INDIVIDUAL OR ENTITY RELATED TO ANY SPINOFF CLAIM AND CAUSE OF
ACTION. THE DEBTORS AND THEIR ESTATES ARE PRESERVING AND NOT RELEASING ANY SUCH
CLAIMS AND CAUSES OF ACTION.

C.    Releases by Holders of Claims and Interests

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY, AS OF
THE EFFECTIVE DATE, AND TO THE FULLEST EXTENT ALLOWED BY APPLICABLE LAW, EACH
RELEASING PARTY IS DEEMED TO HAVE RELEASED EACH DEBTOR AND RELEASED PARTY


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FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE
DEBTORS OR THEIR ESTATES, THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN
ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS (INCLUDING THE
MANAGEMENT, OWNERSHIP OR OPERATION THEREOF), ANY SECURITIES ISSUED BY THE
DEBTORS AND THE OWNERSHIP THEREOF, THE DEBTORS’ IN- OR OUT-OF-COURT
RESTRUCTURING EFFORTS AND CONTEMPLATED LIQUIDATION, ANY AVOIDANCE ACTIONS,
ANY INTERCOMPANY TRANSACTION, THE CHAPTER 11 CASES, THE FORMULATION,
PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING OF THE TRANSACTION SUPPORT
AGREEMENT, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE PLAN, THE PLAN
SUPPLEMENT, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE TRANSACTION SUPPORT
AGREEMENT, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE PLAN, THE PLAN
SUPPLEMENT, THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11 CASES, THE DIP
FACILITY DOCUMENTS, SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION
NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION, THE PURSUIT
OF CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, THE
DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR
UPON ANY OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR
CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A
COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL
MISCONDUCT OR GROSS NEGLIGENCE. NOTWITHSTANDING ANYTHING TO THE CONTRARY
IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST-
EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, OR ANY
DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR (B)
OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND CASH COLLATERAL ORDERS
THAT, BY THEIR EXPRESS TERMS, SURVIVE THE TERMINATION OF THE CREDIT AGREEMENT
OR DIP AND CASH COLLATERAL ORDERS.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE THIRD-PARTY RELEASE,
WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND DEFINITIONS
CONTAINED IN THE PLAN, AND, FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S
FINDING THAT THE THIRD-PARTY RELEASE IS: (A) CONSENSUAL; (B) ESSENTIAL TO THE
CONFIRMATION OF THE PLAN; (C) GIVEN IN EXCHANGE FOR THE GOOD AND VALUABLE
CONSIDERATION PROVIDED BY THE RELEASED PARTIES, INCLUDING, WITHOUT LIMITATION,
THE RELEASED PARTIES’ CONTRIBUTIONS TO FACILITATING THE CHAPTER 11 CASES AND
IMPLEMENTING THE PLAN; (D) A GOOD FAITH SETTLEMENT AND COMPROMISE OF THE
CLAIMS RELEASED BY THE THIRD-PARTY RELEASE; (E) IN THE BEST INTERESTS OF THE
DEBTORS AND THEIR CREDITORS; (F) FAIR, EQUITABLE, AND REASONABLE; (G) GIVEN AND
MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT TO
THE THIRD-PARTY RELEASE.

      FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD PARTIES SHALL BE RELEASED
PARTIES UNDER THE PLAN, AND (ii) NO RELEASE PURSUANT TO THIS PLAN SHALL BE
PROVIDED TO ANY INDIVIDUAL OR ENTITY RELATED TO ANY SPINOFF CLAIM AND CAUSE OF
ACTION. THE RELEASING PARTIES ARE PRESERVING AND NOT RELEASING ANY SUCH CLAIMS
AND CAUSES OF ACTION.

D.    Exculpation

     NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY, NO
EXCULPATED PARTY SHALL HAVE OR INCUR LIABILITY FOR, AND EACH EXCULPATED PARTY


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IS RELEASED AND EXCULPATED FROM, ANY CAUSE OF ACTION FOR ANY CLAIM RELATED TO
ANY ACT OR OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF THE
CHAPTER 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR
FILING OF THE TRANSACTION SUPPORT AGREEMENT AND RELATED NEGOTIATIONS, THE DIP
FACILITY, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENT, OR ANY
CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
ENTERED INTO IN CONNECTION WITH THE TRANSACTION SUPPORT AGREEMENT, AND
RELATED NEGOTIATIONS, THE DIP FACILITY, THE DISCLOSURE STATEMENT, THE PLAN, THE
PLAN SUPPLEMENT, THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11 CASES, AND
RELATED NEGOTIATIONS, THE DIP FACILITY DOCUMENTS, THE DIP FINANCING ORDERS,
SOLICITATION OF VOTES ON THE PLAN, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, THE
DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR
UPON ANY OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
OTHER OCCURRENCE TAKING PLACE ON OR AFTER THE PETITION DATE AND ON OR BEFORE
THE CONFIRMATION DATE, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT JURISDICTION TO HAVE
CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE, BUT IN ALL
RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE OF
COUNSEL WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN.

       THE EXCULPATED PARTIES HAVE, AND UPON CONFIRMATION OF THE PLAN SHALL BE
DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH THE
APPLICABLE LAWS WITH REGARD TO THE SOLICITATION OF VOTES ON, AND DISTRIBUTION
OF CONSIDERATION PURSUANT TO, THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT
OF SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES
OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN.
NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE EXCULPATION
SET FORTH ABOVE DOES NOT RELEASE OR EXCULPATE ANY CLAIM RELATING TO (A) ANY
POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, OR ANY
DOCUMENT, INSTRUMENT OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, OR
(B) OBLIGATIONS UNDER THE CREDIT AGREEMENT, OR DIP AND CASH COLLATERAL ORDERS
THAT, BY THEIR EXPRESS TERMS, SURVIVE THE TERMINATION OF THE CREDIT AGREEMENT
OR DIP AND CASH COLLATERAL ORDERS.

      FOR THE AVOIDANCE OF DOUBT: (i) NONE OF THE BREAD PARTIES SHALL BE
EXCULPATED PARTIES UNDER THE PLAN, AND (ii) NO EXCULPATION PURSUANT TO THIS PLAN
SHALL BE PROVIDED TO ANY INDIVIDUAL OR ENTITY RELATED TO ANY SPINOFF CLAIM AND
CAUSE OF ACTION.

E.    Injunction

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE CONFIRMATION ORDER, ALL
ENTITIES WHO HAVE HELD, HOLD, OR MAY HOLD CLAIMS, INTERESTS, CAUSES OF ACTION, OR
LIABILITIES THAT: (A) ARE SUBJECT TO COMPROMISE AND SETTLEMENT PURSUANT TO THE
TERMS OF THE PLAN; (B) HAVE BEEN RELEASED PURSUANT TO ARTICLE XII.B. OF THIS PLAN;
(C) HAVE BEEN RELEASED PURSUANT TO ARTICLE XII.C. OF THIS PLAN; (D) ARE SUBJECT TO
EXCULPATION PURSUANT TO ARTICLE XII.D. OF THIS PLAN; OR (E) ARE OTHERWISE
RELEASED, SATISFIED, STAYED, OR TERMINATED PURSUANT TO THE TERMS OF THE PLAN, ARE
PERMANENTLY ENJOINED AND PRECLUDED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE DEBTORS, THE
RELEASED PARTIES, OR THE EXCULPATED PARTIES: (1) COMMENCING OR CONTINUING IN
ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,


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AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION
WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3) CREATING, PERFECTING,
OR ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF,
SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS UNLESS SUCH
ENTITY HAS TIMELY ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED WITH THE
BANKRUPTCY COURT EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY ASSERTS, HAS, OR
INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE LAW OR
OTHERWISE; AND (5) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
ANY SUCH CLAIMS OR INTERESTS RELEASED, EXCULPATED, OR SETTLED PURSUANT TO THE
PLAN.

     FOR THE AVOIDANCE OF DOUBT, NO (I) CLAIM OR CAUSE OF ACTION AGAINST THE
BREAD PARTIES OR (II) ANY SPINOFF CLAIM AND CAUSE OF ACTION SHALL BE ENJOINED
UNDER THE PLAN.

F.       Gatekeeper Provision

          No party may commence, continue, amend, or otherwise pursue, join in, or otherwise support any other party
commencing, continuing, amending, or pursuing, a Claim or Cause of Action of any kind against any of the Debtors
or the Released Parties that arose or arises from or is related to any Covered Claim without first (i) requesting a
determination from the Bankruptcy Court, after notice and a hearing, that such Claim or Cause of Action represents a
colorable claim against a Debtor or a Released Party, as applicable, and is not a Claim that the Debtors released under
the Plan, which request must attach the complaint or petition proposed to be filed by the requesting party and
(ii) obtaining from the Bankruptcy Court specific authorization for such party to bring such Claim or Cause of Action
against a Debtor or a Released Party, as applicable. For the avoidance of doubt, any party that obtains such
determination and authorization and subsequently wishes to amend the authorized complaint or petition to add any
Claims or Causes of Action not explicitly included in the authorized complaint or petition must obtain authorization
from the Bankruptcy Court before filing any such amendment in the court where such complaint or petition is pending.
The Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a Claim or Cause of Action is
colorable and, only to the extent legally permissible, will have jurisdiction to adjudicate the underlying colorable
Claim or Cause of Action. For the avoidance of doubt, the Bread Parties shall not be beneficiaries of this Article XII.F.

G.       Protection Against Discriminatory Treatment

         In accordance with Bankruptcy Code section 525, and consistent with paragraph 2 of Article VI of the United
States Constitution, no Governmental Unit shall discriminate against any Debtor, or any Entity with which a Debtor
has been or is associated, solely because such Debtor was a debtor under chapter 11 or may have been insolvent before
the commencement of the Chapter 11 Cases.

H.       Release of Liens

          Except as otherwise specifically provided in the Plan, Confirmation Order, or in any contract, instrument,
release, or other agreement or document created pursuant to the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other security
interests against any property of the Estates shall be fully released, and all of the right, title, and interest of any Holder
of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the Debtors and their
successors and assigns, and all Claims against the Estates shall be fully released, in each case, without any further
approval or order of the Bankruptcy Court and without any action or Filing being required to be made by the Debtors,
the Administrative Agent or any other Holder of a Secured Claim; provided, however, notwithstanding the foregoing
or anything to the contrary contained in the Plan, on the later of (a) the Effective Date and (b) the date of the distribution


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of the cash proceeds (the “BL Proceeds”) arising from the BL Closing, all mortgages, deeds of trust, Liens, pledges
and/or other security interests in favor of the Administrative Agent securing the obligations under the Credit
Agreement (other than any such mortgages, deeds of trust, Liens, pledges and/or other security interests in the assets
of LoyaltyOne or the BL Proceeds that constitute collateral securing the obligations under the Credit Agreement) shall
be automatically released, and all Claims against obligors under the Credit Agreement (other than Claims against
LoyaltyOne) shall be released, in each case without any further approval or order of the Bankruptcy Court and without
any action, distribution or Filing being required to be made by the Debtors, LoyaltyOne, the Administrative Agent or
any other Holder of a Secured Claim. In addition, at the sole expense of the Debtors, the Administrative Agent shall
execute and deliver all documents reasonably requested by the Debtors to evidence the release of such mortgages,
deeds of trust, Liens, pledges, and other security interests and such Claims and hereby authorizes the Debtors and their
designees to file UCC-3 termination statements and other release documentation (to the extent applicable) with respect
thereto.

         To the extent that any Holder of a Secured Claim that has been satisfied in full pursuant to the Plan, or any
agent for such Holder, has filed or recorded publicly any Liens and/or security interests to secure such Holder’s
Secured Claim, then as soon as practicable on or after the Effective Date, such Holder (or the agent for such Holder)
shall take any and all steps requested by the Debtors, as applicable, that are necessary or desirable to record or
effectuate the cancellation and/or extinguishment of such Liens and/or security interests, including the making of any
applicable filings or recordings, and the Debtors shall be entitled to make any such filings or recordings on such
Holder’s behalf.

I.       Reimbursement or Contribution

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
Bankruptcy Code section 502(e)(1)(B), then to the extent that such Claim is contingent as of the Effective Date, such
Claim shall be forever Disallowed notwithstanding Bankruptcy Code section 502(j), unless prior to the Effective Date
(a) such Claim has been adjudicated as noncontingent, or (b) the relevant Holder of a Claim has filed a noncontingent
Proof of Claim on account of such Claim and a Final Order has been entered determining such Claim as no longer
contingent.

J.       No Release, Injunction, or Exculpation of the Bread Parties or related to the Spinoff Transaction

         Notwithstanding any other provision of the Plan, in no event are any of the Bread Parties released, exculpated,
or the beneficiary of any injunction, gatekeeper provision or any other provision of this Article XII of the Plan.

         Further, notwithstanding any other provision of the Plan, in no event is any individual or Entity released,
exculpated, or the beneficiary of any injunction, gatekeeper provision or any other provision of this Article XII of the
Plan for any Spinoff Claim and Cause of Action.

K.       Full Release of the Lenders and Administrative Agent

         In consideration for consents, agreements and contributions of the Lenders and Administrative Agent
provided under the Transaction Support Agreement, the Plan, the DIP and Cash Collateral Orders, among others, and
notwithstanding any other provision of the Plan, and in accordance with Bankruptcy Rule 9019 and Bankruptcy Code
section 1123(b), the DIP Lender, the Debtors and the Debtors’ non-Debtor subsidiaries pursuant to the Plan and any
corresponding operative document expressly waive, relinquish, exculpate, release, compromise, and/or settled any
and all Claims and Causes of Action that such parties have or may have against the Lenders, and Administrative Agent
and all of the Lenders and Administrative Agent are hereby released and/or are the beneficiary of every releases,
injunction, gatekeeper provision and any other provision of this Article XII of the Plan to the fullest extent of the law.

                                               ARTICLE XIII.
                                         CONFIRMATION OF THE PLAN

         The following is a brief summary of the Confirmation process. Holders of Claims are encouraged to review
the relevant provisions of the Bankruptcy Code and to consult with their own advisors.



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A.       Voting Procedures and Acceptance

         The Debtors are providing copies of this Combined DS and Plan and Ballots to all known Holders of Claims
in Classes 3 and 4. Ballots must be returned to the Claims and Noticing Agent in accordance with the procedures
set forth on the Ballot.

          The Bankruptcy Code requires, as a condition to confirmation, that, except as described in the following
section, each class of claims or interests that is impaired under a chapter 11 plan accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of acceptances with respect
to such class is not required. A class is “impaired” unless the plan: (a) leaves unaltered the legal, equitable and
contractual rights to which the claim or the equity interest entitles the holder of such claim or equity interest; or
(b) cures any default, reinstates the original terms of such obligation, compensates the holder for certain damages or
losses, as applicable, and does not otherwise alter the legal, equitable or contractual rights to which such claim or
equity interest entitles the holder of such claim or equity interest, each as more specifically set forth in Bankruptcy
code section 1124.

         Bankruptcy Code section 1126(c) defines acceptance of a plan by a class of impaired claims as acceptance
by holders of at least two-thirds in dollar amount and more than one-half in number of allowed claims in that class,
counting only those claims that actually voted to accept or to reject the plan. Thus, a class of claims will have voted
to accept the plan only if two-thirds in amount and a majority in number actually voting cast their ballots in favor of
acceptance.

        Claims in Classes 1, 2 and 5 are not Impaired under the Plan, and, as a result, the Holders of such Claims are
deemed to have accepted the Plan pursuant to Bankruptcy Code section 1126(f) and their votes will not be solicited.

         Claims in Classes 3 and 4 are Impaired under the Plan and are entitled to vote. Class 3 and Class 4 (with
respect to each applicable Debtor) will have accepted the Plan if the Plan is accepted by at least two-thirds in amount
and a majority in number of the Claims in each of Class 3 and Class 4 (other than any Claims of creditors designated
under section Bankruptcy Code section 1126(e)) that have voted to accept or reject the Plan.

          Claims in Classes 6 and 7 and the Interests in Classes 8 and 9 are Impaired and will not receive a recovery
under the Plan. Pursuant to Bankruptcy Code section 1126(g) of the Bankruptcy Code, the Holders of Claims and
Interests in such Classes are deemed to reject the Plan and their votes will not be solicited.

B.       The Confirmation Hearing

         After the Petition Date, under Bankruptcy Code section 1128(a), the Bankruptcy Court, after notice, may
schedule the Confirmation Hearing in respect of the Plan. The Conditional Disclosure Statement Order will set the
date and time for the Confirmation Hearing. The Confirmation Hearing may be continued from time to time without
further notice other than an adjournment announced in open court or a notice of adjournment filed with the Bankruptcy
Court and served in accordance with the Bankruptcy Rules, without further notice to parties in interest. The
Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put in place additional procedures
governing the Confirmation Hearing. Subject to Bankruptcy Code section 1127 and the Transaction Support
Agreement, the Plan may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to parties in interest.

        Additionally, Bankruptcy Code section 1128(b) provides that a party in interest may object to Confirmation.
Objections to Confirmation of the Plan must be made in writing and must be filed with the Bankruptcy Court
and served on counsel for the Debtors in accordance with the Conditional Disclosure Statement Order.

C.       Confirmation Standard

         Among the requirements for Confirmation are that the Plan (a) is accepted by all Impaired Classes of Claims
and Interests or, if rejected by an Impaired Class, that the Plan “does not discriminate unfairly” and is “fair and




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equitable” as to such Class; (b) is feasible; and (c) is in the “best interests” of Holders of Claims and Interests that are
Impaired under the Plan.

        The following requirements must be satisfied pursuant to Bankruptcy Code section 1129(a) before a
bankruptcy court may confirm a plan. The Debtors believe that the Plan fully complies with all the applicable
requirements of Bankruptcy Code section 1129 set forth below, other than those pertaining to voting, which has not
been completed.

             The Plan complies with the applicable provisions of the Bankruptcy Code.

             The Debtors have complied with the applicable provisions of the Bankruptcy Code.

             The Plan has been proposed in good faith and not by any means forbidden by law.

             Any payment made or to be made by the Debtors or by a Person issuing securities or acquiring property
              under the Plan, for services or for costs and expenses in or in connection with the Chapter 11 Cases, in
              connection with the Plan and incident to the Chapter 11 Cases is subject to the approval of the Bankruptcy
              Court as reasonable.

             With respect to each Holder within an Impaired Class of Claims or Interests, as applicable, each such
              Holder (a) has accepted the Plan or (b) will receive or retain under the Plan on account of such Claim or
              Interest property of a value, as of the Effective Date, that is not less than the amount that such Holder
              would so receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on
              such date.

             With respect to each Class of Claims or Interests, such Class has either (i) accepted the Plan, (ii) is
              Unimpaired under the Plan, or (iii) has rejected the Plan. The Plan meets the requirements of the
              Bankruptcy Code as to any such rejecting Class because (a) the Plan otherwise satisfies the requirements
              for Confirmation, (b) at least one Impaired Class of Claims has accepted the Plan without taking into
              consideration the votes of any insiders in such Class and (c) the Plan is “fair and equitable” and does not
              “discriminate unfairly” as to any rejecting Class.

             The Plan provides for treatment of Claims in accordance with the provisions of Bankruptcy Code section
              507(a).

             All fees payable under 28 U.S.C. § 1930 have been paid or the Plan provides for the payment of all such
              fees on the Effective Date.

D.       Best Interests Test

           As described above, Bankruptcy Code section 1129(a)(7) requires that each Holder of an Impaired Claim or
Interest either (a) accept the Plan or (b) receive or retain under the Plan property of a value, as of the Effective Date,
that is not less than the value such Holder would receive if the Debtors were liquidated under chapter 7 of the
Bankruptcy Code. The Debtors believe that the value of any distributions if the Chapter 11 Cases were converted to
cases under chapter 7 of the Bankruptcy Code would be no greater than the value of distributions under the Plan. As
a result, the Debtors believe Holders of Claims and Interests in all Impaired Classes will recover at least as much as a
result of Confirmation of the Plan as they would recover through a hypothetical chapter 7 liquidation.

         If not filed sooner, the Plan Supplement will include a liquidation analysis (the “Liquidation Analysis”)
prepared by the Debtors with the assistance of the Debtors’ advisors. The Debtors believe that the liquidation of the
Debtors’ businesses under chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be
realized by Holders of Claims as compared to distributions contemplated under the Plan. Consequently, the Debtors
believe that Confirmation of the Plan will provide Holders of Claims and Interests no less than such Holders would
receive in a liquidation under chapter 7 of the Bankruptcy Code.




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E.       Confirmation Without Acceptance by All Impaired Classes

         The Bankruptcy Code permits confirmation of a plan even if it is not accepted by all impaired classes, as
long as (a) the plan otherwise satisfies the requirements for confirmation, (b) at least one impaired class of claims has
accepted the plan without taking into consideration the votes of any insiders in such class and (c) the plan is “fair and
equitable” and does not “discriminate unfairly” as to any impaired class that has not accepted the plan. These so-called
“cramdown” provisions are set forth in Bankruptcy Code section 1129(b).

             1.       No Unfair Discrimination

         The no “unfair discrimination” test applies to Classes of Claims or Interests that are of equal priority and are
receiving different treatment under the Plan. The test does not require that the treatment be the same or equivalent,
but that such treatment be “fair.” The Debtors do not believe the Plan discriminates unfairly against any Impaired
Class of Claims or Interests. The Debtors believe the Plan and the treatment of all Classes of Claims and Interests
under the Plan satisfy the foregoing requirements for nonconsensual Confirmation.

             2.       Fair and Equitable Test

          This test applies to classes of different priority and status (e.g., secured versus unsecured) and includes the
general requirement that no class of claims or interests receive more than 100 percent of the amount of the allowed
claims or interests in such class. As to a dissenting class, the test sets forth different standards depending on the type
of claims or interests in such class. In order to demonstrate that a plan is fair and equitable with respect to a dissenting
class, the plan proponent must demonstrate the following:

             Secured Creditors: Each holder of a secured claim (a) retains its liens on the property, to the extent of
              the allowed amount of its secured claim, and receives deferred cash payments having a value, as of the
              effective date of the chapter 11 plan, of at least the allowed amount of such claim, (b) has the right to
              credit bid the amount of its claim if its property is sold and retains its liens on the proceeds of the sale
              (or if sold, on the proceeds thereof), or (c) receives the “indubitable equivalent” of its allowed secured
              claim.

             Unsecured Creditors: Either (a) each holder of an impaired unsecured claim receives or retains under
              the chapter 11 plan property of a value equal to the amount of its allowed claim or (b) the holders of
              claims and interests that are junior to the claims of the non-accepting class will not receive any property
              under the chapter 11 plan.

             Holders of Interests: Either (a) each holder of an impaired interest will receive or retain under the chapter
              11 plan property of a value equal to the greatest of the fixed liquidation preference to which such holder
              is entitled, the fixed redemption price to which such holder is entitled, or the value of the interest or
              (b) the holders of interests that are junior to the non-accepting class will not receive or retain any property
              under the chapter 11 plan.

         The Debtors believe that the Plan and treatment of all Classes of Claims and Interests therein satisfies the
“fair and equitable” requirement, notwithstanding the fact that certain Classes are deemed to reject the Plan.

                                        ARTICLE XIV.
                    MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification of Plan

        Effective as of the date hereof: (a) the Debtors reserve the right (subject to the terms of the Transaction
Support Agreement and the consents required therein, including the TSA Definitive Document Requirements) in
accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan before the entry of the
Confirmation Order consistent with the terms set forth herein; and (b) after the entry of the Confirmation Order, the
Debtors (subject to the terms of the Transaction Support Agreement and the consents required therein, including the



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TSA Definitive Document Requirements) or the Liquidating Trustee, as applicable, may, upon order of the Bankruptcy
Court, amend or modify the Plan, in accordance with Bankruptcy Code section 1127(b), remedy any defect or
omission, or reconcile any inconsistency in the Plan in such manner as may be necessary to carry out the purpose and
intent of the Plan consistent with the terms set forth herein.

B.       Effect of Confirmation on Modifications

          Entry of the Confirmation Order shall constitute approval of all modifications to the Plan occurring after the
solicitation of votes thereon pursuant to Bankruptcy Code section 1127(a) and a finding that such modifications to the
Plan do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan

         The Debtors reserve the right to revoke or withdraw the Plan with respect to any or all Debtors before the
Confirmation Date and to file subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan, or if
Confirmation or the Effective Date does not occur, then: (a) the Plan will be null and void in all respects; (b) any
settlement or compromise embodied in the Plan, assumption or rejection of Executory Contracts or Unexpired Leases
effectuated by the Plan, and any document or agreement executed pursuant hereto will be null and void in all respects;
and (c) nothing contained in the Plan shall (1) constitute a waiver or release of any Claims, Interests, or Causes of
Action by any Entity, (2) prejudice in any manner the rights of any Debtor or any other Entity, or (3) constitute an
admission, acknowledgement, offer, or undertaking of any sort by any Debtor or any other Entity.

                                              ARTICLE XV.
                                      CONDITIONS TO EFFECTIVE DATE

A.       Conditions Precedent to the Confirmation Date

         It shall be a condition to Confirmation of the Combined DS and Plan that the following conditions shall have
been satisfied or waived with the consent of the Requisite Consenting Lenders and Administrative Agent:

             1.   The Transaction Support Agreement shall be in full force and effect;

             2.   The Plan Supplement documents have been filed and are in form and substance, in accordance with
                  the terms of the Transaction Support Agreement; and

             3. The proposed Confirmation Order shall be in form and substance in accordance with the terms of
                  the Transaction Support Agreement.

B.       Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived:

             1.   The Bankruptcy Court shall have approved the Disclosure Statement as containing adequate
                  information with respect to the Plan within the meaning of Bankruptcy Code section 1125.

             2.   The Bankruptcy Court shall have entered the Confirmation Order, which shall (a) have become a
                  Final Order that has not been stayed or modified or vacated and (b) satisfy the TSA Definitive
                  Document Requirements (including that the Confirmation Order shall be in form and substance
                  reasonably acceptable to the Debtors, the Administrative Agent and the Requisite Consenting
                  Lenders) and shall:

                  a.       authorize the Debtors to take all actions necessary to enter into, implement, and
                           consummate the contracts, instruments, releases, leases, and other agreements or
                           documents created in connection with the Plan;




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         b.       decree that the provisions of the Confirmation Order and the Plan are nonseverable and
                  mutually dependent;

         c.       authorize the Liquidating Trustee or the Debtors, as applicable or necessary, to: (a) make
                  all distributions as required under the Plan, including Cash; and (b) enter into any
                  agreements as set forth in the Plan Supplement;

         d.       authorize the implementation of the Plan in accordance with its terms; and

         e.       provide that, pursuant to Bankruptcy Code section 1146, the assignment or surrender of
                  any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                  furtherance of, or in connection with the Plan, including any deeds, bills of sale, or
                  assignments executed in connection with any disposition or transfer of assets contemplated
                  under the Plan, shall not be subject to any stamp, real estate transfer, mortgage recording,
                  or other similar tax.

    3.   All governmental and material third party approvals and consents, including Bankruptcy Court
         approval, that are necessary to implement the transactions related to the Plan shall have been
         obtained, not be subject to unfulfilled conditions, and be in full force and effect, and all applicable
         waiting periods shall have expired without any action being taken or threatened by any competent
         authority that would restrain, prevent, or otherwise impose materially adverse conditions on such
         transactions.

    4.   The Final DIP Order shall not have been stayed or modified or vacated.

    5.   The Debtors shall not be in default under the DIP Facility or the Final DIP Order (or, to the extent
         that the Debtors are in default on the proposed Effective Date, such default shall have been waived
         by the Requisite Consenting Lenders and the DIP Lender or cured by the Debtors in a manner
         consistent with the DIP Facility and the Final DIP Order).

    6.   The final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
         therein, and all other schedules, documents, supplements and exhibits to the Plan shall be consistent
         with the Transaction Support Agreement and the Definitive Documents shall have satisfied the TSA
         Definitive Document Requirements.

    7.   The Transaction Support Agreement shall not have terminated as to all parties thereto and shall
         remain in full force and effect and the Debtors and the applicable Requisite Consenting Lenders
         then party thereto shall be in compliance therewith.

    8.   All professional fees and expenses of Retained Professionals approved by the Bankruptcy Court
         shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective
         Date have been placed in a Professional Fee Escrow Account pending approval by the Bankruptcy
         Court.

    9.   All accrued and unpaid professional fees and expenses of the Consenting Lenders and
         Administrative Agent as of the Effective Date shall have been indefeasibly paid in full in Cash.

    10. All compromises of Claims of LoyaltyOne or releases to be given by LoyaltyOne, or payments to
        be made by LoyaltyOne under this Plan have been approved by order of the Ontario Court in the
        CCAA Proceeding.

    11. With respect to all actions, documents and agreements necessary to implement the Plan: (a) all
        conditions precedent to such documents and agreements (other than any conditions precedent related
        to the occurrence of the Effective Date) shall have been satisfied or waived pursuant to the terms of
        such documents or agreements; (b) such documents and agreements shall have been tendered for



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                  delivery to the required parties and been approved by any required parties and, to the extent required,
                  filed with and approved by any applicable Governmental Units in accordance with applicable laws;
                  and (c) such documents and agreements shall have been effected or executed.

             12. All material authorizations, consents, regulatory approvals, rulings, or documents that are necessary
                 to implement and effectuate the Plan and the transactions contemplated herein shall have been
                 obtained.

C.       Waiver of Conditions Precedent

         The Debtors (with the prior consent of the Requisite Consenting Lenders and the Administrative Agent), may
waive any of the conditions to the Confirmation Date or the Effective Date set forth in Article XV at any time without
any notice to any other parties in interest and without any further notice to or action, order or approval of the
Bankruptcy Court, except with respect to any condition concerning the DIP Facility and the releases to be given by
LoyaltyOne, a waiver of such shall also require the consent of LoyaltyOne. The failure of the Debtors to exercise any
of the foregoing rights shall not be deemed a waiver of such rights or any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time (subject to the prior consent of the Requisite Consenting
Lenders and Administrative Agent).

D.       Effect of Non-Occurrence of Conditions to Consummation

         If the Confirmation Order is vacated pursuant to a Final Order, then (except as provided in any such Final
Order): (a) the Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the Plan,
assumption or rejection of Executory Contracts or Unexpired Leases effected under the Plan, and any document or
agreement executed pursuant to the Plan, shall be deemed null and void; and (c) nothing contained in the Plan, the
Confirmation Order, the Disclosure Statement or the Transaction Support Agreement shall: (i) constitute a waiver or
release of any Claims, Interests, or Causes of Action; (ii) prejudice in any manner the rights of the Debtors or any
other Entity; or (iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or
any other Entity.

E.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                              ARTICLE XVI.
                                        RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases
and the Plan pursuant to Bankruptcy Code sections 105(a) and 1142, including jurisdiction to:

        1.        Allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim against a Debtor, including the resolution of any request for payment of any
Claim and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims;

         2.       Decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals authorized
pursuant to the Bankruptcy Code or the Plan;

          3.       Resolve any matters related to Executory Contracts or Unexpired Leases, including: (a) the
assumption or assumption and assignment of any Executory Contract or Unexpired Lease to which a Debtor is party
or with respect to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Cure or Claims
arising therefrom, including pursuant to Bankruptcy Code section 365; (b) any potential contractual obligation under



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any Executory Contract or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease
is or was executory or expired;

         4.       Ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of the Plan and adjudicate any and all disputes arising from or relating to distributions under the Plan;

        5.      Adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

          6.      Enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of (a) contracts, instruments, releases, indentures, and other agreements or documents
approved by Final Order in the Chapter 11 Cases and (b) the Plan, the Confirmation Order, and contracts, instruments,
releases, indentures, and other agreements or documents created in connection with the Plan;

           7.     Enforce any order for the sale of property pursuant to Bankruptcy Code sections 363, 1123, or
1146(a);

         8.      Grant any consensual request to extend the deadline for assuming or rejecting Unexpired Leases
pursuant to Bankruptcy Code section 365(d)(4);

        9.         Issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

          10.     Hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of Action
in connection with or in any way related to the Chapter 11 Cases, including, among other things: (a) with respect to
the repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim for
amounts not timely repaid pursuant to Article XI herein; (b) with respect to the releases, injunctions and other
provisions contained in Article XII herein, including entry of such orders as may be necessary or appropriate to
implement such releases, injunctions, and other provisions; (c) that may arise in connection with the Consummation,
interpretation, implementation or enforcement of the Plan, the Confirmation Order and contracts, instruments,
releases, and other agreements or documents created in connection with the Plan; or (d) related to Bankruptcy Code
section 1141;

           11.    Hear and determine all disputes with respect to the Liquidating Trust Agreement;

           12.    Hear and determine all disputes with respect to any Liquidating Trust Assets;

         13.     Enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked or vacated;

         14.      Consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        15.      Hear and determine matters concerning state, local, and federal taxes in accordance with Bankruptcy
Code sections 346, 505, and 1146;

           16.    Enter an order or Final Decree concluding or closing the Chapter 11 Cases;

           17.    Enforce all orders previously entered by the Bankruptcy Court; and

           18.    Hear any other matter not inconsistent with the Bankruptcy Code.

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning documents
contained in the Plan Supplement that have a jurisdictional, forum selection or dispute resolution clause that refers



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disputes to a different court and any disputes concerning documents contained in the Plan Supplement that contain
such clauses shall be governed in accordance with the provisions of such documents.

                                               ARTICLE XVII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect

          Subject to Article XV.B. hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall be
immediately effective and enforceable and deemed binding upon, as applicable, the Debtors and any and all Holders
of Claims or Interests (irrespective of whether such Claims or Interests are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases and injunctions described in the
Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtors.

B.       Additional Documents

          On or before the Effective Date, the Debtors (in consultation with the Administrative Agent and Requisite
Consenting Lenders and subject to any consent rights set forth in the Transaction Support Agreement or the Plan) may
file with the Bankruptcy Court such agreements and other documents as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the Plan. The Debtors or the Liquidating Trustee, as applicable, and
all Holders of Claims receiving distributions pursuant to the Plan and all other parties in interest shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan.

C.       Statutory Committees and Cessation of Fee and Expense Payment

         On the Effective Date, any official committee appointed in the Chapter 11 Cases pursuant to Bankruptcy
Code section 1102(a) shall dissolve and members thereof shall be released from all rights and duties from, or related
to, the Chapter 11 Cases. The Debtors and the Liquidating Trust shall not be responsible for paying any fees or
expenses incurred by the members of, or advisors to, any statutory committee after the Effective Date.

D.       Reservation of Rights

          The Plan shall have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order. None
of the filing of the Plan, any statement or provision contained in the Plan, or the taking of any action by any Debtor
with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an
admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the Effective
Date.

E.       Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, director, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.

F.       Service of Documents

         After the Effective Date, any pleading, notice, or other document required by the Plan to be served on or
delivered to the Debtors or the Liquidating Trustee shall be served on:




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                      The Debtors                                            Counsel to the Debtors

 Loyalty Ventures Inc.                                        Akin Gump Strauss Hauer & Feld LLP
 8235 Douglas Avenue, Suite 1200                              One Bryant Park
 Dallas, Texas 75225                                          New York, NY 10036
 Attention: General Counsel                                   Attention: Philip C. Dublin; Meredith A. Lahaie
 Email: generalcounsel@loyalty.com                            Email: pdublin@akingump.com;
                                                              mlahaie@akingump.com
                                                              Akin Gump Strauss Hauer & Feld LLP
                                                              2300 N. Field Street, Suite 1800
                                                              Dallas, TX 75201
                                                              Attention: Rachel Biblo Block
                                                              Email: rbibloblock@akingump.com
                                                              Jackson Walker LLP
                                                              1401 McKinney Suite 1900
                                                              Houston, TX 77010
                                                              Attention: Matthew D. Cavenaugh; Jennifer F. Wertz
                                                              Email: mcavenaugh@jw.com; jwertz@jw.com
                                                                         Counsel to the Ad Hoc Group of
                    The U.S. Trustee
                                                                              Term B Loan Lenders
                                                              Gibson, Dunn & Crutcher LLP
 Office of the United States Trustee
                                                              200 Park Avenue
 515 Rusk Street, Suite 3516
                                                              New York, New York 10166
 Houston, TX 77002
                                                              Attention: Scott J. Greenberg; Steven A. Domanowski;
 Attention: Stephen D. Statham
                                                              AnnElyse S. Gains
 (stephen.statham@usdoj.gov)
                                                              Email: sgreenberg@gibsondunn.com;
                                                              sdomanowski@gibsondunn.com;
                                                              agains@gibsondunn.com

                                                              and

                                                              Bennett Jones LLP
                                                              100 King Street West, Suite 3400
                                                              Toronto, ON M5X 1A4
                                                              Attention: Kevin J. Zych; Jesse Mighton
                                                              Email: zychk@bennettjones.com;
                                                              mightonj@bennettjones.com
         Counsel to the Administrative Agent                               Counsel to the DIP Lender
 Haynes and Boone, LLP                                        Cassels Brock & Blackwell LLP
 2323 Victory Avenue                                          40 King St. West, Suite 2100
 Suite 700                                                    Toronto, ON M5H 3C2
 Dallas, TX 75219                                             Attention: Ryan C. Jacobs; Jane O. Dietrich; Natalie
 Attention: Eli Columbus, James Markus, Frasher               Levine
 Murphy, and Matt Ferris                                      Email: rjacobs@cassels.com; jdietrich@cassels.com;
 Email: eli.columbus@haynesboone.com;                         nlevine@cassels.com
 james.markus@haynesboone.com;
 frasher.murphy@haynesboone.com;
 matt.ferris@haynesboone.com

        After the Effective Date the Liquidating Trustee has the authority to send notices to Entities requiring that
they must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date




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the Liquidating Trustee is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule
2002 to those Entities who have filed such renewed requests.

          In accordance with Bankruptcy Rules 2002 and 3020(c), within fourteen (14) calendar days of the date of
entry of the Confirmation Order, the Debtors shall serve the Notice of Confirmation by United States mail, first class
postage prepaid, by hand, or by overnight courier service to all parties served with the Confirmation Hearing Notice;
provided that no notice or service of any kind shall be required to be mailed or made upon any Entity to whom the
Debtors mailed a Confirmation Hearing Notice, but received such notice returned marked “undeliverable as
addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason, unless the Debtors
have been informed in writing by such Entity, or are otherwise aware, of that Entity’s new address. To supplement
the notice described in the preceding sentence, within twenty-one (21) calendar days of the date of the Confirmation
Order, and in any event prior to the Effective Date, the Debtors shall publish the Notice of Confirmation once in The
New York Times (national edition) or a similar publication. Mailing and publication of the Notice of Confirmation in
the time and manner set forth in this paragraph shall be good and sufficient notice under the particular circumstances
and in accordance with the requirements of Bankruptcy Rules 2002 and 3020(c), and no further notice is necessary.

G.       Term of Injunctions or Stays

        Unless otherwise provided herein or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases (pursuant to Bankruptcy Code sections 105 or 362 or any order of the Bankruptcy Court)
and existing on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays
contained in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their
terms.

H.       Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

I.       Plan Supplement

         All exhibits and documents included in the Plan Supplement (as same may be amended from time to time)
are incorporated into and are a part of the Plan as if set forth in full in the Plan. Except as otherwise provided in the
Plan, such exhibits and documents included in the Plan Supplement shall initially be filed with the Bankruptcy Court
on or before the Plan Supplement Filing Date, and may be amended from time to time thereafter. After the exhibits
and documents are filed, copies of such exhibits and documents shall have been available upon written request to the
Debtors’ counsel at the address above or by downloading such exhibits and documents from the Debtors’ restructuring
website at https://cases.ra.kroll.com/LVI or the Bankruptcy Court’s website at
https://www.txs.uscourts.gov/page/bankruptcy-court.

J.       Non-Severability

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted; provided, that, absent the prior consent of the Administrative Agent and Requisite Consenting Lenders,
such alteration or interpretation is not inconsistent with the Transaction Support Agreement. Notwithstanding any
such holding, alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in full
force and effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation.
The Confirmation Order shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is: (a) valid and enforceable pursuant




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to its terms; (b) integral to the Plan and may not be deleted or modified without the Debtors’ and Requisite Consenting
Lenders’ prior consent, consistent with the terms set forth herein; and (c) nonseverable and mutually dependent.

K.       Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in good
faith and in compliance with the Bankruptcy Code, and pursuant to Bankruptcy Code section 1125(e), the Debtors and
each of the Consenting Lenders and each of their respective Affiliates, agents, representatives, members, principals,
equity holders (regardless of whether such interests are held directly or indirectly), officers, directors, managers,
employees, advisors, and attorneys will be deemed to have participated in good faith and in compliance with the
Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under the Plan, and, therefore,
neither any of such parties or individuals will have any liability for the violation of any applicable law, rule, or
regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the Securities
offered and sold under the Plan.

L.       Closing of Chapter 11 Cases

          The Liquidating Trustee shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close any of the Chapter 11 Cases.

M.       Waiver or Estoppel

         Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, the Transaction Support Agreement, or papers
filed with the Bankruptcy Court prior to the Confirmation Date.

                                               ARTICLE XVIII.
                                         PLAN-RELATED RISK FACTORS

     PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF CLAIMS THAT
ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ AND CAREFULLY CONSIDER THE
FACTORS SET FORTH HEREIN, AS WELL AS ALL OTHER INFORMATION SET FORTH OR
OTHERWISE REFERENCED IN THIS DISCLOSURE STATEMENT.

     ALTHOUGH THESE RISK FACTORS ARE MANY, THESE FACTORS SHOULD NOT BE
REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH THE
DEBTORS’ BUSINESSES OR THE PLAN AND ITS IMPLEMENTATION.

A.       General

         The following provides a summary of various important considerations and risk factors associated with the
Plan; however, it is not exhaustive. In considering whether to vote to accept or reject the Plan, Holders of Claims
should read and carefully consider the factors set forth below, as well as all other information set forth or otherwise
incorporated by reference in this Disclosure Statement.

B.       Risks Relating to the Plan and Other Bankruptcy Law Considerations

             1.       A Holder of a Claim or Interest May Object to, and the Bankruptcy Court May Disagree
                      with, the Debtors’ Classification of Claims and Interests

         Bankruptcy Code section 1122 provides that a plan may place a claim or an equity interest in a particular
class only if such claim or equity interest is substantially similar to the other claims or equity interests in such class.



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The Debtors believe that the classification of Claims and Interests under the Plan complies with the requirements set
forth in the Bankruptcy Code because the Debtors created nine (9) Classes of Claims and Interests, each encompassing
Claims or Interests, as applicable, that are substantially similar to the other Claims and Interests in each such Class.
However, a Holder of a Claim or Interest could challenge the Debtors’ classification. In such an event, the cost of the
Chapter 11 Cases and the time needed to confirm the Plan may increase, and there can be no assurance that the
Bankruptcy Court will agree with the Debtors’ classification. If the Bankruptcy Court concludes that the
classifications of Claims and Interests under the Plan do not comply with the requirements of the Bankruptcy Code,
the Debtors may need to modify the Plan (subject to the terms of the Transaction Support Agreement). The Plan may
not be confirmed if the Bankruptcy Court determines that the Debtors’ classification of Claims and Interests is not
appropriate.

            2.        The Bankruptcy Court May Not Confirm the Plan or May Require the Debtors to Re-
                      Solicit Votes with Respect to the Plan

         The Debtors cannot assure you that the Plan will be confirmed by the Bankruptcy Court. Bankruptcy Code
section 1129 sets forth the requirements for confirmation of a plan, and requires, among other things, a finding by the
Bankruptcy Court that the plan is “feasible,” that all claims and interests have been classified in compliance with the
provisions of Bankruptcy Code section 1122, and that, under the plan, each holder of a claim or interest within each
impaired class either accepts the plan or receives or retains cash or property of a value, as of the date the plan becomes
effective, that is not less than the value such Holder would receive or retain if the debtor were liquidated under
chapter 7 of the Bankruptcy Code. With respect to impaired classes of claims or interests that do not accept the plan,
section 1129(b) requires that the plan be fair and equitable (including, without limitation the “absolute priority rule”)
and not discriminate unfairly with respect to such classes. There can be no assurance that the Bankruptcy Court will
conclude that the feasibility test and other requirements of Bankruptcy Code section 1129 (including, without
limitation, finding that the Plan satisfies the “new value” exception to the absolute priority rule, if applicable) have
been met with respect to the Plan. If and when the Plan is filed, there can be no assurance that modifications to the
Plan would not be required for Confirmation, or that such modifications would not require a re-solicitation of votes
on the Plan.

         The Bankruptcy Court could fail to finally approve this Disclosure Statement and determine that the votes in
favor of the Plan could be disregarded. The Debtors would then be required to recommence the solicitation process,
which could include re-filing a plan and disclosure statement.

          If the Plan is not confirmed, the Chapter 11 Cases may be converted into cases under chapter 7 of the
Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate the Debtors’ assets for
distribution in accordance with the priorities established by the Bankruptcy Code. The Debtors believe that liquidation
under chapter 7 of the Bankruptcy Code would result in, among other things, smaller distributions being made to
creditors and interest Holders than those provided for in the Plan.

            3.        Parties in Interest May Object to the Plan’s Amount or Classification of Claims

          Except as otherwise provided in the Plan, the Debtors and other parties in interest reserve the right to object
to the amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure Statement
cannot be relied on by any Holder of a Claim where such Claim is subject to an objection. Any Holder of a Claim
that is subject to an objection thus may not receive its expected share of the estimated distributions described in this
Disclosure Statement.

            4.        Even if the Debtors Receive All Necessary Acceptances for the Plan to Become Effective,
                      the Debtors May Fail to Meet All Conditions Precedent to Effectiveness of the Plan

         Although the Debtors believe that the Effective Date would occur very shortly after the Confirmation Date,
there can be no assurance as to such timing.

          The Confirmation and Consummation of the Plan are subject to certain conditions that may or may not be
satisfied. The Debtors cannot assure you that all requirements for Confirmation and effectiveness required under the
Plan will be satisfied. If each condition precedent to Confirmation is not met or waived, the Plan will not be confirmed,



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and if each condition precedent to Consummation is not met or waived, the Effective Date will not occur. In the event
that the Plan is not confirmed or is not consummated, the Debtors may seek Confirmation of an alternative plan.

            5.        There is a Risk of Termination of the Transaction Support Agreement

           To the extent that events giving rise to termination of the Transaction Support Agreement occur, the
Transaction Support Agreement may terminate prior to the Confirmation or Consummation of the Plan, which could
result in the loss of support for the Plan by important creditor constituencies, which could adversely affect the Debtors’
ability to confirm and consummate the Plan. If the Plan is not consummated, there can be no assurance that the
Chapter 11 Cases would not be converted to chapter 7 liquidation cases or that any new chapter 11 plan would be as
favorable to Holders of Claims as the current Plan.

            6.        The Bankruptcy Court May Dismiss Some or All of the Chapter 11 Cases

          Certain parties in interest may contest the Debtors’ authority to commence and/or prosecute the Chapter 11
Cases. If, pursuant to any such proceeding, the Bankruptcy Court finds that some or all of the Debtors could not
commence the Chapter 11 Cases for any reason, the Debtors may be unable to consummate the transactions
contemplated by the Transaction Support Agreement and the Plan. If some or all of the Chapter 11 Cases are
dismissed, the Debtors may be forced to liquidate their businesses in another forum to the detriment of all parties in
interest.

            7.        The United States Trustee or Other Parties May Object to the Plan on Account of the
                      Debtor Releases, Third-Party Releases, Exculpations, or Injunction Provisions

          Any party in interest, including the U.S. Trustee, could object to the Plan on the grounds that the (i) debtor
releases contained in Article XII are to be given without adequate consideration, (ii) third-party releases contained in
Article XII.C. are not given consensually or in a permissible non-consensual manner or (iii) the injunction contained
in Article XII.E. is overly broad. In response to such an objection, the Bankruptcy Court could determine that any of
these provisions are not valid under the Bankruptcy Code. If the Bankruptcy Court makes such a determination, the
Plan could not be confirmed without modifying the Plan to alter or remove the applicable provision. This could result
in substantial delay in Confirmation of the Plan, the Plan not being confirmed at all, or the loss of support for the Plan
from the non-Debtor parties to the Transaction Support Agreement.

            8.        The Debtors May Seek to Amend, Waive, Modify, or Withdraw the Plan at Any Time Prior
                      to Confirmation

         The Debtors reserve the right, in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the
Transaction Support Agreement, and consistent with the terms of the Plan, to amend the terms of the Plan or waive
any conditions thereto if and to the extent such amendments or waivers are consistent with the terms of the Transaction
Support Agreement and necessary or desirable to consummate the Plan. The potential impact of any such amendment
or waiver on the Holders of Claims and Interests cannot presently be foreseen but may include a change in the
economic impact of the Plan on some or all of the proposed Classes or a change in the relative rights of such Classes.
All Holders of Claims and Interests will receive notice of such amendments or waivers required by applicable law and
the Bankruptcy Court. If, after receiving sufficient acceptances, but prior to Confirmation of the Plan, the Debtors
seek to modify the Plan, the previously solicited acceptances will be valid only if (1) all Classes of adversely affected
creditors accept the modification in writing, or (2) the Bankruptcy Court determines, after notice to designated parties,
that such modification was de minimis or purely technical or otherwise did not adversely change the treatment of
Holders of accepting Claims or is otherwise permitted by the Bankruptcy Code.

            9.        The DIP Facility and the CCAA Proceeding

         As will be set forth in the DIP Motion, LoyaltyOne is the Debtors’ proposed DIP Lender. LoyaltyOne cannot,
however, provide funding under the DIP Facility until the CCAA DIP Facility is approved in the CCAA Proceeding
by the Ontario Court and LoyaltyOne is authorized by the Ontario Court to advance funds to the Debtors pursuant to
the DIP Facility. The Debtors’ ability to fund the Chapter 11 Cases and Consummate the Plan (if and when confirmed)



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is thus dependent upon the Ontario Court’s approval of the CCAA DIP Facility and authorization for LoyaltyOne to
fund the DIP Facility, and if required, fund additional amounts under the Plan, the Bankruptcy Court’s subsequent
approval of the DIP Facility and LoyaltyOne’s continued ability to comply with the terms of the CCAA DIP Facility
and other Orders of the Ontario Court.

            10.       Use of Cash Collateral or the DIP Facility

          If the Chapter 11 Cases take longer than expected to conclude, the Debtors may exhaust their available cash
collateral and postpetition financing. There is no assurance that the Debtors will be able to obtain the right to further
postpetition financing and/or the use of cash collateral, in which case, the liquidity necessary for the orderly
functioning of the Debtors’ businesses may be impaired materially.

            11.       The Allowed Amount of Claims May Differ from Current Estimates

         There can be no assurance that the Debtors’ estimated Claim amounts are correct, and the actual amount of
Allowed Claims may differ from the estimates. The estimated amounts are subject to certain risks, uncertainties, and
assumptions. Should one or more of these risks or uncertainties materialize, or should underlying assumptions prove
incorrect, the actual amount of Allowed Claims may vary from the Debtors’ estimates. Further, a number of additional
Claims may be filed, including on account of rejection damages for executory contracts and unexpired leases rejected
pursuant to the Plan. Any such additional Claims may result in a greater amount of Convenience Claims and/or
General Unsecured Claims than the Debtors’ current estimates.

C.       Risks Relating to the Transactions Related to the Plan Generally

            1.        The Debtors May be Subject to Employee Attrition

         Uncertainty about the effects of the Plan on employees may have an adverse effect on the Debtors. These
uncertainties may impair the Debtors’ ability to retain and motivate key personnel, and the Debtors are highly
dependent on the efforts and performance of their senior management team. If key employees depart because of
uncertainty about their future roles and potential complexities of the Plan, the Debtors’ ability to consummate the Plan
could be adversely affected.

            2.        The Support of the Consenting Lenders and Administrative Agent is Subject to the Terms
                      of the Transaction Support Agreement Which is Subject to Termination in Certain
                      Circumstances

          Pursuant to the Transaction Support Agreement, the Consenting Lenders and the Administrative Agent have
agreed to support the transactions set forth in the Plan. Nevertheless, the Transaction Support Agreement is subject
to termination upon the occurrence of certain termination events (including the failure of the Debtors to satisfy the
milestones set forth therein). Accordingly, the Transaction Support Agreement may be terminated after the date of
this Disclosure Statement, and such a termination would present a material risk to Confirmation and/or Consummation
of the Plan because the Plan may no longer have the support of the Consenting Lenders and the Administrative Agent.

            3.        Certain Tax Implications of the Plan

         Holders of Allowed Claims should carefully review Article XIX, entitled “Certain U.S. Federal Income Tax
Consequences of the Plan” to determine how the tax implications of the Plan may adversely affect the Holders of
certain Claims. Each Holder should consult its own tax advisors regarding the tax consequences of the Plan, based
upon the particular circumstances pertaining to such Holder.

            4.        Recoveries on Account of Preserved Estate Claims are Speculative and Uncertain

        The ultimate recoveries, if any, that could be obtained by the Liquidating Trustee on behalf of Holders of
Allowed Claims in Class 3 and 4 are almost entirely contingent on the Preserved Estate Claims. Recoveries on account




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of any of the Preserved Estate Claims are speculative and uncertain due to the risk of success on the merits and the
potential difficulties of collection and enforcement of any judgments.

            5.       Liquidating Trust Expenses May Exceed Current Expectations

          The ultimate amount of Cash available to satisfy the amount of Allowed Claims in Class 3 depends, in part,
on the manner in which the Liquidating Trustee operates the Liquidating Trust and the Liquidating Trust Expenses
that it incurs. Such Liquidating Trust Expenses may include, without limitation, the reasonable and necessary
expenses of administering the Liquidating Trust, including the costs to liquidate the Liquidating Trust Assets,
investigate and prosecute the Preserved Estate Claims, prosecute objections to Claims, and make distributions. The
expenses of the Liquidating Trustee will be paid from the Liquidating Trust Reserve. As a result, if the Liquidating
Trustee incurs professional or other expenses in excess of current expectations, the amount of distributable assets
remaining to satisfy Allowed Claims in Class 3 will decrease.

D.       General Disclaimer

            1.       Information Contained Herein Is Solely for Soliciting Votes

          The information contained in this Combined DS and Plan is for the purpose of soliciting acceptances of the
Plan and may not be relied upon for any other purpose. Specifically, this Combined DS and Plan is not legal advice
to any Person or Entity. The contents herein should not be construed as legal, business, or tax advice. Each reader
should consult its own legal counsel and accountant with regard to any legal, tax, and other matters concerning its
Claim or Interest. This Combined DS and Plan may not be relied upon for any purpose other than to determine how
to vote to accept or reject the Plan and whether to object to Confirmation.

            2.       Combined DS and Plan May Contain Forward-Looking Statements

          The Combined DS and Plan contains forward-looking statements within the meaning of the “safe harbor”
provisions of the Private Securities Litigation Reform Act of 1995, as amended, all of which are based on various
estimates and assumptions. Such forward-looking statements are subject to inherent uncertainties and to a wide variety
of significant business, economic and competitive risks, including, but not limited to, those summarized herein. When
used in the Combined DS and Plan, the words “believe,” “expect,” “anticipate,” “estimate,” “intend,” “project,”
“plan,” “likely,” “may,” “should” or other words or phrases of similar import generally identify forward-looking
statements. Forward-looking statements are subject to risks and uncertainties that could cause actual results to differ
materially from those contemplated by a forward-looking statement, including without limitation, those risks
described in this Article and the Disclaimer to this Combined DS and Plan.

            3.       This Combined DS and Plan Has Not Been Approved by the United States Securities and
                     Exchange Commission

          This Combined DS and Plan has not and will not be filed with the SEC or any state regulatory authority.
Neither the SEC nor any state regulatory authority has approved or disapproved of the securities described in this
Combined DS and Plan or has passed upon the accuracy or adequacy of this Combined DS and Plan, or the exhibits
or the statements contained in this Combined DS and Plan.

            4.       No Legal, Business, or Tax Advice Is Provided to You by This Disclosure Statement

         THIS COMBINED DS AND PLAN IS NOT LEGAL, BUSINESS, OR TAX ADVICE TO YOU.
The contents of this Combined DS and Plan should not be construed as legal, business, or tax advice. Each Holder of
a Claim or Interest should consult his or her own legal counsel and accountant with regard to any legal, tax, and other
matters concerning his or her Claim or Interest. This Combined DS and Plan may not be relied upon for any purpose
other than to determine how to vote on the Plan or object to Confirmation.




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             5.       No Admissions Made

          The information and statements contained in this Combined DS and Plan will neither (1) constitute an
admission of any fact or liability by any entity (including, without limitation, the Debtors) nor (2) be deemed evidence
of the tax or other legal effects of the Plan on the Debtors, Holders of Allowed Claims or Interests, or any other parties-
in-interest.

             6.       Failure to Identify Litigation Claims or Projected Objections

         No reliance should be placed on the fact that a particular litigation Claim or projected objection to a particular
Claim is, or is not, identified in this Combined DS and Plan. All Parties, including the Debtors, reserve the right to
continue to investigate Claims and file and prosecute objections to Claims.

             7.       No Waiver of Right to Object or Right to Recover Transfers and Assets

         The vote by a Holder of an Allowed Claim for or against the Plan does not constitute a waiver or release of
any Claims or rights of the Debtors to object to that Holder’s Allowed Claim, or to bring Causes of Action or recover
any preferential, fraudulent, or other voidable transfer of assets, regardless of whether any Claims or Causes of Action
of the Debtors or their respective Estates are specifically or generally identified herein.

             8.       Information Was Provided by the Debtors and Was Relied Upon by the Debtors’ Advisors

        Counsel to and other advisors retained by the Debtors have relied upon information provided by the Debtors
in connection with the preparation of this Combined DS and Plan. Although counsel to and other advisors retained
by the Debtors have performed certain limited due diligence in connection with the preparation of this Combined DS
and Plan, they have not independently verified the information contained herein.

             9.       The Potential Exists for Inaccuracies and the Debtors Have No Duty to Update

         The Debtors make the statements contained in this Combined DS and Plan as of the date hereof, unless
otherwise specified herein, and the delivery of this Combined DS and Plan after that date does not imply that there
has not been a change in the information set forth herein since such date. Although the Debtors have used their
reasonable business judgment to ensure the accuracy of all of the information provided in this Combined DS and Plan
and in the Plan, the Debtors nonetheless cannot, and do not, confirm the current accuracy of all statements appearing
in this Disclosure Statement. Further, although the Debtors may subsequently update the information in this
Disclosure Statement, the Debtors have no affirmative duty to do so unless ordered by the Bankruptcy Court.

             10.      No Representations Outside of the Disclosure Statement Are Authorized

          No representations concerning or relating to the Debtors, the Chapter 11 Cases, or the Plan are authorized by
the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure Statement. In deciding whether
to vote to accept or reject the Plan, you should not rely upon any representations or inducements made to secure your
acceptance or rejection of the Plan that are other than as contained in, or included with, this Disclosure Statement,
unless otherwise indicated herein. You should promptly report unauthorized representations or inducements to the
counsel to the Debtors and the U.S. Trustee.

                                           ARTICLE XIX.
                   CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

A.       Introduction

          The following discussion summarizes certain U.S. federal income tax consequences of the implementation
of the Plan to the Debtors and certain Holders of Claims entitled to vote on the Plan, and it does not address the U.S.
federal income tax consequences to Holders of Claims or Interests not entitled to vote on the Plan. This summary is
based on the Tax Code, the U.S. Treasury Regulations promulgated thereunder (the “Treasury Regulations”), judicial



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decisions, revenue rulings and revenue procedures of the Internal Revenue Service (the “IRS”), and any other
published administrative rules and pronouncements of the IRS, all as in effect on the date hereof (collectively,
“Applicable Tax Law”). Changes in the Applicable Tax Law or new interpretations of Applicable Tax Law may have
retroactive effect and could significantly affect the U.S. federal income tax consequences described below. The
Debtors have not requested, and will not request, any ruling or determination from the IRS or any other taxing
authority, and no legal opinion of counsel will be rendered, with respect to the tax consequences discussed herein.
The discussion below is not binding upon the IRS or the courts, and no assurance can be given that the IRS would not
assert, or that a court would not sustain, a different position than any position discussed herein.

          This summary does not address the Canadian federal, provincial, municipal or local or other non-U.S., state,
local, or non-income tax consequences of the Plan (including such consequences with respect to the Debtors), nor
does it purport to address all aspects of U.S. federal income taxation that may be relevant to a Holder in light of its
individual circumstances or to a Holder that may be subject to special tax rules (such as persons who are related to the
Debtors within the meaning of the Tax Code, persons liable for alternative minimum tax, U.S. Holders whose
functional currency is not the U.S. dollar, U.S. expatriates, certain former citizens or long-term residents of the United
States, broker-dealers, banks, mutual funds, insurance companies, financial institutions, retirement plans, small
business investment companies, regulated investment companies, real estate investment trusts, tax-exempt
organizations, controlled foreign corporations, passive foreign investment companies, partnerships (or other entities
treated as partnerships or other pass-through entities), beneficial owners of partnerships (or other entities treated as
partnerships or other pass-through entities), subchapter S corporations, Holders who hold or who will hold Claims as
part of a straddle, hedge, conversion transaction, or other integrated investment, persons using a mark-to-market
method of accounting, and Holders of Claims who are themselves in bankruptcy). Furthermore, this summary assumes
that a Holder of a Claim holds only Claims in a single Class and holds such a Claim only as a “capital asset” (within
the meaning of section 1221 of the Tax Code). This summary also assumes that the Claims to which any of the Debtors
are a party will be respected for U.S. federal income tax purposes in accordance with their form, and that the Claims
constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the Tax Code. This discussion
does not address the U.S. federal income tax consequences to Holders (a) whose Claims are Unimpaired or otherwise
entitled to payment in full under the Plan, or (b) that are deemed to accept or deemed to reject the Plan. Additionally,
this discussion does not address any consideration being received other than in a person’s capacity as a Holder of a
Claim.

          For purposes of this discussion, a “U.S. Holder” is a Holder of a Claim (including a beneficial owner of
Claims) that is: (a) an individual citizen or resident of the United States for U.S. federal income tax purposes; (b) a
corporation (or other Entity treated as a corporation for U.S. federal income tax purposes) created or organized under
the laws of the United States, any state thereof or the District of Columbia; (c) an estate the income of which is subject
to U.S. federal income taxation regardless of the source of such income; or (d) a trust (i) if a court within the United
States is able to exercise primary jurisdiction over the trust’s administration and one or more United States persons
(within the meaning of section 7701(a)(30) of the Tax Code) have authority to control all substantial decisions of the
trust or (ii) that has a valid election in effect under applicable Treasury Regulations to be treated as a United States
person. For purposes of this discussion, a “Non-U.S. Holder” is any Holder of a Claim that is neither a U.S. Holder
nor a partnership (or other Entity treated as a partnership or other pass-through Entity for U.S. federal income tax
purposes).

         If a partnership (or other Entity treated as a partnership or other pass-through Entity for U.S. federal income
tax purposes) is a Holder of a Claim, the tax treatment of a partner (or other beneficial owner) generally will depend
upon the status of the partner (or other beneficial owner) and the activities of the Entity. Partners (or other beneficial
owners) of partnerships (or other entities treated as partnerships or other pass-through entities) that are Holders of
Claims should consult their respective tax advisors regarding the U.S. federal income tax consequences of the Plan.

      THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES
IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX
PLANNING AND ADVICE BASED UPON THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A
HOLDER OF A CLAIM. ALL HOLDERS OF CLAIMS ARE URGED TO CONSULT THEIR OWN TAX
ADVISORS AS TO THE FEDERAL, STATE, LOCAL, NON-U.S., NON-INCOME, AND OTHER TAX
CONSEQUENCES OF THE PLAN.




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B.      Certain U.S. Federal Income Tax Consequences to the Debtors and Effects of Liquidation on the
Debtors

         As of December 31, 2022, the Debtors had approximately $28 million of U.S. federal net operating loss
carryforwards (“NOLs”) and $51.2 million of interest deductions that may be (or become) available under section
163(j) of the Tax Code (the “163(j) Deductions”). The Debtors may generate additional tax attributes in the current
tax year including during the pendency of these Chapter 11 Cases. The Debtors do not currently believe that they
have any other material tax attributes. Realized gains, if any, may be offset by current-year losses and deductions,
which may include 163(j) Deductions and NOLs from prior years (subject to applicable limitations, including a
limitation on NOLs incurred on or after January 1, 2018, which can be carried forward indefinitely but are subject to
an annual limitation of 80% of taxable income); provided, that any such gain that is ordinary in nature may not be
offset by capital losses. Any taxable gain remaining after such offsets would result in a cash tax obligation.

C.       Certain U.S. Federal Income Tax Consequences to the U.S. Holders of Claims Entitled to Vote

         The following discussion assumes that the Debtors will undertake the transactions currently contemplated by
the Plan. U.S. federal income tax considerations relating to the transactions are complex and subject to uncertainties.
No assurance can be given that the IRS will agree with the Debtors’ interpretations of the tax rules applicable to, or
tax positions taken with respect to, the transactions undertaken to effect the transactions. U.S. Holders are urged to
consult their own tax advisors regarding the tax consequences of the transactions.

                  1.        Loan Claims

        Pursuant to the Plan, in full and final satisfaction, compromise, settlement or release of, and in exchange for
each Allowed Loan Claim, each Holder thereof shall receive its Pro Rata share of the Liquidating Trust Interests.

          A U.S. Holder of a Loan Claim should be treated as receiving its Pro Rata share of the Liquidating Trust
Interest in a fully taxable exchange under section 1001 of the Tax Code. Other than with respect to any amounts
received that are attributable to accrued but untaxed interest, a U.S. Holder should recognize gain or loss in an amount
equal to the difference, if any, between (a) the fair market value of its undivided interest in the Liquidating Trust
Assets consistent with its economic rights in the trust received in respect of its Claim, and (b) its adjusted tax basis in
its Claim. The character of such gain as capital gain or ordinary income will be determined by a number of factors,
including the tax status of a U.S. Holder, the rules regarding “market discount” (as discussed below) and accrued but
untaxed interest, whether the Claim constitutes a capital asset in the hands of a U.S. Holder and whether and to what
extent a U.S. Holder had previously claimed a bad debt deduction with respect to its Claim. If recognized gain or loss
is capital in nature, it generally would be long-term capital gain if a U.S. Holder held its Claim for more than one year
at the time of the exchange.

          As discussed below, each U.S. Holder of a Loan Claim that receives a Liquidating Trust Interest should be
treated for U.S. federal income tax purposes as directly receiving, and as a direct owner of, its respective share of the
Liquidating Trust Assets (consistent with its economic rights in the trust). Pursuant to the Plan, the Liquidating Trustee
will make a good faith determination of the fair market value of the Liquidating Trust Assets as of the Effective Date,
and all parties to the Liquidating Trust (including the Debtors, the Liquidating Trustee and the Liquidating Trust
Beneficiaries) must use this valuation for all U.S. federal income tax purposes. A U.S. Holder’s tax basis in its
respective share of the Liquidating Trust Assets will equal the fair market value of such respective share, and the U.S.
Holder’s holding period generally will begin the day following the establishment of a Liquidating Trust.

                  2.        General Unsecured Claims

          Pursuant to the Plan, in full and final satisfaction, compromise, settlement or release of, and in exchange for
each Allowed General Unsecured Claim, each Holder thereof shall receive its Pro Rata share of the Liquidating Trust
Interests.

         A U.S. Holder of a General Unsecured Claim should be treated as receiving its Pro Rata share of the
Liquidating Trust Interest in a fully taxable exchange under section 1001 of the Tax Code. Other than with respect to



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any amounts received that are attributable to accrued but untaxed interest, a U.S. Holder should recognize gain or loss
in an amount equal to the difference, if any, between (a) the fair market value of its undivided interest in the Liquidating
Trust Assets consistent with its economic rights in the trust received in respect of its Claim, and (b) its adjusted tax
basis in its Claim. The character of such gain as capital gain or ordinary income will be determined by a number of
factors, including the tax status of a U.S. Holder, the rules regarding “market discount” (as discussed below) and
accrued but untaxed interest, whether the Claim constitutes a capital asset in the hands of a U.S. Holder and whether
and to what extent a U.S. Holder had previously claimed a bad debt deduction with respect to its Claim. If recognized
gain or loss is capital in nature, it generally would be long-term capital gain if a U.S. Holder held its Claim for more
than one year at the time of the exchange.

          As discusses below, each U.S. Holder of a General Unsecured Claim that receives a Liquidating Trust Interest
should be treated for U.S. federal income tax purposes as directly receiving, and as a direct owner of, its respective
share of the Liquidating Trust Assets (consistent with its economic rights in the trust). Pursuant to the Plan, the
Liquidating Trustee will make a good faith determination of the fair market value of the Liquidating Trust Assets as
of the Effective Date, and all parties to the Liquidating Trust (including the Debtors, the Liquidating Trustee and the
Liquidating Trust Beneficiaries) must use this valuation for all U.S. federal income tax purposes. A U.S. Holder’s tax
basis in its respective share of the Liquidating Trust Assets will equal the fair market value of such respective share,
and the U.S. Holder’s holding period generally will begin the day following the establishment of a Liquidating Trust.

                   3.       Other Tax Considerations for U.S. Holders of Loan Claims

                            a.        Accrued but Untaxed Interest (or OID)

         A portion of the consideration received by a U.S. Holder of a Loan Claim may be attributable to accrued but
untaxed interest on such Claim. Such amount should be taxable to that U.S. Holder as ordinary interest income if such
accrued interest has not been previously included in a U.S. Holder’s gross income for U.S. federal income tax
purposes. Conversely, U.S. Holders of such Claims may be able to recognize a deductible loss to the extent that any
accrued interest on such Claims was previously included in such U.S. Holder’s gross income but was not paid in full
by the Debtors. Such loss may be ordinary, but the tax law is unclear on this point.

          Under the Plan, the consideration received is not sufficient to fully satisfy all principal and interest on
Allowed Loan Claims. As a result, the extent to which such consideration will be attributable to accrued but untaxed
interest is unclear. Pursuant to the Plan, the aggregate consideration to be distributed to U.S. Holders of Allowed Loan
Claims will be allocated first to the principal amount of such Allowed Claims, with any excess allocated to untaxed
interest that accrued on such Claims, if any. Certain legislative history indicates that an allocation of consideration as
between principal and interest provided in a chapter 11 plan is binding for U.S. federal income tax purposes, while
certain Treasury Regulations treat payments as allocated first to any accrued but untaxed interest. The IRS could take
the position that the consideration received by such U.S. Holders should be allocated in some way other than as
provided in the Plan. U.S. Holders of Loan Claims should consult their respective tax advisors regarding the proper
allocation of the consideration received by them pursuant to the Plan between principal and accrued but untaxed
interest in such event.

                            b.        Market Discount

          Under the “market discount” provisions of the Tax Code, some or all of any gain realized by a U.S. Holder
in the surrender of its Allowed Loan Claim may be treated as ordinary income (instead of capital gain), to the extent
of the amount of “market discount” on the debt instruments constituting the exchanged Claim. In general, a debt
instrument is considered to have been acquired with “market discount” if it is acquired other than on original issue
and if the U.S. Holder’s initial tax basis in the debt instrument is less than (i) the sum of all remaining payments to be
made on the debt instrument, excluding “qualified stated interest” or (ii) in the case of a debt instrument issued with
original issue discount (“OID”), its adjusted issue price, in each case, by at least a de minimis amount (equal to 0.25%
of the sum of all remaining payments to be made on the debt instrument, excluding qualified stated interest, multiplied
by the number of remaining whole years to maturity).

        Any gain recognized by a U.S. Holder on the taxable disposition of an Allowed Loan Claim (as described
below) that was acquired with market discount should be treated as ordinary income to the extent of the market


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discount that accrued thereon while such Claim was considered to be held by such U.S. Holder (unless such U.S.
Holder elected to include market discount in income as it accrued).

         Section 451 of the Tax Code generally requires accrual method U.S. Holders that prepare an “applicable
financial statement” (as defined in section 451 of the Tax Code) to include certain items of income (such as market
discount) no later than the time such amounts are reflected on such a financial statement. The application of this rule
to income of a debt instrument with market discount is effective for taxable years beginning after December 31, 2018.
However, the IRS issued the proposed Treasury Regulations in 2019, on which taxpayers generally may rely,
confirming that taxpayers may continue to defer income (including market discount income) for tax purposes until
there is a payment or sale at a gain. Accordingly, although market discount may have to be included in income
currently as it accrues for financial accounting purposes, taxpayers may continue to defer the income for tax purposes.
U.S. Holders are urged to consult their own tax advisors concerning the application of the market discount rules to
their Loan Claims.

                            c.        Medicare Tax

         Certain U.S. Holders of Loan Claims that are individuals, estates, or trusts are required to pay an additional
3.8% tax on, among other things, gains from the sale or other disposition of capital assets. U.S. Holders of Loan
Claims that are individuals, estates, or trusts should consult their tax advisors regarding the effect, if any, of this tax
provision on their ownership and disposition of any consideration to be received pursuant to the Plan.

                            d.        Limitation on Use of Capital Losses

          A U.S. Holder of an Allowed Loan Claim who recognizes capital losses as a result of the distributions made
pursuant to the Plan will be subject to limits on its use of capital losses. For a non-corporate U.S. Holder, capital
losses may be used to offset any capital gains (without regard to holding periods) plus ordinary income to the extent
of the lesser of (i) $3,000 ($1,500 for married individuals filing separate returns) or (ii) the excess of the capital losses
over the capital gains. A non-corporate U.S. Holder may carry over unused capital losses and apply them to capital
gains and a portion of their ordinary income for an unlimited number of years. For corporate U.S. Holders, losses
from the sale or exchange of capital assets may only be used to offset capital gains. A corporate U.S. Holder that has
more capital losses than can be used in a tax year may be allowed to carry over the excess capital losses for use in
other tax years. Corporate U.S. Holders may only carry over unused capital losses for the five years following the
capital loss year, but are allowed to carry back unused capital losses to the three years preceding the capital loss year.

D.       Certain U.S. Federal Income Tax Consequences to Non-U.S. Holders of Certain Claims Entitled to
Vote

                   1.       U.S. Federal Income Tax Consequences to Non-U.S. Holders of Allowed Loan Claims

         The following discussion assumes that the Debtors will undertake the Plan currently contemplated and
includes only certain U.S. federal income tax consequences of the Plan to Non-U.S. Holders. The discussion does not
include any non-U.S. tax considerations. The rules governing the U.S. federal income tax consequences to Non-U.S.
Holders are complex. Each Non-U.S. Holder is urged to consult its own tax advisor regarding the U.S. federal, state,
and local and the non-U.S. tax consequences of the Consummation of the Plan to such Non-U.S. Holder.

                   2.       Gain Recognition

          Any gain realized by a Non-U.S. Holder on the exchange of its Loan Claim generally will not be subject to
U.S. federal income taxation unless (a) the Non-U.S. Holder is an individual who was present in the United States for
one hundred and eighty-three (183) days or more during the taxable year in which the Plan Consummation occur and
certain other conditions are met or (b) such gain is effectively connected with the conduct by such Non-U.S. Holder
of a trade or business in the United States (and if an income tax treaty applies, such gain is attributable to a permanent
establishment maintained by such Non-U.S. Holder in the United States). Whether a Non-U.S. Holder would realize
any gain for U.S. federal income tax purposes is be determined under the principles discussed above with respect to
U.S. Holders under “U.S. Federal Income Tax Consequences to the U.S. Holders of Claims Entitled to Vote.”



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          If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax at a
rate of 30% (or at a reduced rate or exemption from tax under an applicable income tax treaty) on the amount by which
such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital losses allocable to U.S. sources during
the taxable year of the exchange. If the second exception applies, the Non-U.S. Holder generally will be subject to
U.S. federal income tax with respect to any gain in the same manner as a U.S. Holder (except that the Medicare tax
would generally not apply). In addition, if such a Non-U.S. Holder is a corporation, it may be subject to a branch
profits tax equal to 30% (or at a reduced rate or exemption from tax under an applicable income tax treaty) of its
effectively connected earnings and profits for the taxable year, subject to certain adjustments.

                  3.        Accrued but Untaxed Interest (or OID)

          Payments made to a Non-U.S. Holder pursuant to the Plan that are attributable to accrued but untaxed interest
(or OID) generally will not be subject to U.S. federal income or withholding tax; provided, that (a) such Non-U.S.
Holder is not a bank, (b) such Non-U.S. Holder does not actually or constructively own 10% or more of the total
combined voting power of all classes of the stock of LVI, and (c) the withholding agent has received or receives, prior
to payment, appropriate documentation (generally, IRS Form W-8BEN or W-8BEN-E, as applicable, or other
applicable IRS Form W-8) establishing that the Non-U.S. Holder is not a U.S. person, unless such interest (or OID) is
effectively connected with the conduct by the Non-U.S. Holder of a trade or business within the United States (in
which case, provided the Non-U.S. Holder provides a properly executed IRS Form W-8ECI (or successor form) to the
withholding agent, the Non-U.S. Holder (i) generally will not be subject to withholding tax, but (ii) will be subject to
U.S. federal income tax in the same manner as a U.S. Holder (unless an applicable income tax treaty provides
otherwise), and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
branch profits tax with respect to such Non-U.S. Holder’s effectively connected earnings and profits that are
attributable to the accrued but untaxed interest (or OID) at a rate of 30% (or at a reduced rate or exemption from tax
under an applicable income tax treaty)).

          A Non-U.S. Holder that does not qualify for exemption from withholding tax with respect to accrued but
untaxed interest (or OID) that is not effectively connected income generally will be subject to withholding of U.S.
federal income tax at a 30% rate (or at a reduced rate or exemption from tax under an applicable income tax treaty)
on payments that are attributable to accrued but untaxed interest (or OID). A Non-U.S. Holder generally will be
required to satisfy certain IRS certification requirements in order to claim a reduction of or exemption from
withholding under a tax treaty by filing IRS Form W-8BEN-E, as applicable (or a successor form), or other applicable
IRS Form W-8, upon which the Non-U.S. Holder certifies, under penalties of perjury, its status as a non-U.S. person
and its entitlement to the lower treaty rate or exemption from tax with respect to such payments. For purposes of
providing a properly executed IRS Form W-8BEN or W-8BEN-E, as applicable, or other applicable IRS Form W-8,
special procedures are provided under applicable Treasury Regulations for payments through qualified foreign
intermediaries or certain financial institutions that hold customers’ securities in the ordinary course of their trade or
business.

      BOTH U.S. HOLDERS AND NON-U.S. HOLDERS SHOULD CONSULT THEIR TAX ADVISORS
REGARDING THE POSSIBLE IMPACT OF THE FATCA RULES ON SUCH HOLDERS’ EXCHANGE OF
ANY OF THEIR CLAIMS PURSUANT TO THE PLAN.

E.       U.S. Federal Income Tax Treatment of the Liquidating Trust

                  1.        Formation of the Liquidating Trust

           The Liquidating Trust shall be established on the Effective Date. It is intended that the Liquidating Trust be
treated as a “liquidating trust” under Treasury Regulation Section 301.7701-4(d) and to qualify as a “grantor trust” as
governed by IRC Sections 671 through 679 of the Tax Code (other than in respect of any portion of the Liquidating
Trust Assets allocable to, or retained on account of, Disputed Claims, as discussed below). In order to qualify the
Liquidating Trust as a grantor trust, the Liquidating Trust Agreement requires all relevant parties to treat, for U.S.
federal income tax purposes, the transfer of the assets to the Liquidating Trust as (a) the transfer of assets by the
Debtors to the Holders of Allowed Claims entitled to Distributions from the Liquidating Trust Assets, subject to any
liabilities of the Debtors or the Liquidating Trust payable from the proceeds of such assets, followed by (b) the transfer
of such assets (subject to such liabilities) by such Holders to the Liquidating Trust in exchange for the beneficial


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interests in the Liquidating Trust. Accordingly, except with respect to the assets transferred to any Disputed Claims
Reserve, the Liquidating Trust Beneficiaries should be treated for U.S. federal income tax purposes as the grantors
and owners of their respective shares of the Liquidating Trust Assets.

          While the following discussion assumes that the Liquidating Trust would be so treated for U.S. federal
income tax purposes, no ruling will be requested from the IRS concerning the tax status of the Liquidating Trust as a
grantor trust. Accordingly, there can be no assurance that the IRS would not take a contrary position to the
classification of the Liquidating Trust as a grantor trust. If the IRS were to challenge successfully such classification,
the U.S. federal income tax consequences to the Liquidating Trust and the Holders of Claims could vary from those
discussed herein.

                   2.       General Tax Reporting by the Liquidating Trust and Liquidating Trust Beneficiaries

          For all U.S. federal income tax purposes, all parties must treat the Liquidating Trust as a grantor trust of
which the Holders of interests in the Liquidating Trust are the owners and grantors, and treat the Holders of interests
in the Liquidating Trust as the direct owners of an undivided interest in the Liquidating Trust Assets (other than any
assets allocable to Disputed Claims), consistent with their economic interests therein. The Liquidating Trustee will
file tax returns for the Liquidating Trust treating the Liquidating Trust as a grantor trust pursuant to Treasury
Regulations Section 1.671-4(a). The Liquidating Trustee also will send annually to each Holder of a Liquidating Trust
Interest a separate statement regarding the receipts and expenditures of the Liquidating Trust as relevant for U.S.
federal income tax purposes and will instruct all such Holders to use such information in preparing their U.S. federal
income tax returns or to forward the appropriate information to such Holder’s underlying beneficial holders with
instructions to utilize such information in preparing their U.S. federal income tax returns.

          Allocations of taxable income, gain, loss, deduction, and/or credit of the Liquidating Trust (other than such
items allocable to any assets allocable to, or retained on account of, Disputed Claims, if such items are otherwise
accounted for in a “disputed ownership fund”) among the Holders of interests in the Liquidating Trust, as well as
amounts realized by Holders on the Effective Date, will be determined by reference to the manner in which an amount
of Cash equal to such taxable income would be distributed (were such Cash permitted to be distributed at such time)
if, immediately prior to such deemed distribution, the Liquidating Trust had distributed all its assets (valued at their
tax book value, and, if applicable, other than assets allocable to Disputed Claims) to the Holders of interests in the
Liquidating Trust, adjusted for prior taxable income and loss and taking into account all prior and concurrent
distributions from the Liquidating Trust. Similarly, taxable loss of the Liquidating Trust will be allocated by reference
to the manner in which an economic loss would be borne immediately after a liquidating distribution of the remaining
Liquidating Trust Assets. The tax book value of the Liquidating Trust Assets for purposes of allocating taxable income
and loss shall equal their fair market value on the date of the transfer of the Liquidating Trust Assets to the Liquidating
Trust, adjusted in accordance with tax accounting principles prescribed by the Tax Code, applicable Treasury
Regulations, and other applicable administrative and judicial authorities and pronouncements.

          As soon as reasonably practicable after the transfer of the Liquidating Trust Assets to the Liquidating Trust,
the Liquidating Trust shall make a good faith valuation of the Liquidating Trust Assets. All parties to the Liquidating
Trust (including, without limitation, the Debtors, the Liquidating Trustee, and Holders of interests in the Liquidating
Trust) must consistently use such valuation for all U.S. federal income tax purposes. The Liquidating Trust shall also
file (or cause to be filed) any other statements, returns or disclosures relating to the Liquidating Trust that are required
by any Governmental Unit for tax purposes. Taxable income or loss allocated to a Holder of interests in the
Liquidating Trust will be treated as income or loss with respect to such Holder’s undivided interest in the Liquidating
Trust Assets, and not as income or loss with respect to its prior Allowed Claim. The character of any income and the
character and ability to use any loss will depend on the particular situation of the Holders of interests in the Liquidating
Trust.

          The U.S. federal income tax obligations of a Holder with respect to its interest in the Liquidating Trust are
not dependent on the Liquidating Trust distributing any Cash or other proceeds. Thus, a Holder may incur a U.S.
federal income tax liability with respect to its allocable share of the Liquidating Trust’s income even if the Liquidating
Trust does not make a concurrent distribution to the Holder. In general, other than in respect of Cash retained on
account of Disputed Claims and distributions resulting from undeliverable distributions (the subsequent distribution
of which still relates to a Holder’s Claim), a distribution of Cash by the Liquidating Trust will not be separately taxable


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to a Holder of interests in the Liquidating Trust since the beneficiary is already regarded for U.S. federal income tax
purposes as owning the underlying assets (and was taxed at the time the Cash was earned or received by the Liquidating
Trust). Holders are urged to consult their tax advisors regarding the appropriate U.S. federal income tax treatment of
any subsequent distributions of Cash originally retained by the Liquidating Trust on account of Disputed Claims.

         The Liquidating Trustee will comply with all applicable governmental withholding requirements. Thus, in
the case of any Holders of interests in the Liquidating Trust that are not U.S. persons, the Liquidating Trustee may be
required to withhold up to 30% of the income or proceeds allocable to such persons, depending on the circumstances
(including whether the type of income is subject to a lower treaty rate or is otherwise excluded from withholding).

                  3.        Tax Reporting for Assets Allocable to Disputed Claims

          Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
the receipt by the Liquidating Trust of an IRS private letter ruling if the Liquidating Trustee so requests one, or the
receipt of an adverse determination by the IRS upon audit if not contested by the Liquidating Trustee), the Liquidating
Trustee (a) may, elect to treat any Liquidating Trust Assets allocable to, or retained on account of, Disputed Claims
(i.e., a Disputed Claims Reserve) as a “disputed ownership fund” governed by Treasury Regulations Section 1.468B-
9 if applicable, and (b) to the extent permitted by applicable law, will report consistently for state and local income
tax purposes. Accordingly, if a “disputed ownership fund” election is made with respect to a Disputed Claims Reserve,
such reserve will be subject to tax annually on a separate entity basis on any net income earned with respect to the
Liquidating Trust Assets that are allocable to, or retained on account of, the Disputed Claims Reserve (including any
gain recognized upon the disposition of such assets). All distributions from such reserves (which distributions will be
net of the expenses, including taxes, relating to the retention or disposition of such assets) will be treated as received
by Holders in respect of their Claims as if distributed by the Debtors. All parties (including, without limitation, the
Debtors, the Liquidating Trustee, and the Holders of interests in the Liquidating Trust) will be required to report for
tax purposes consistently with the foregoing. A Disputed Claims Reserve will be responsible for payment, out of the
assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed Claims Reserve or its assets. In the
event, and to the extent, any Cash in the Disputed Claims Reserve is insufficient to pay the portion of any such taxes
attributable to the taxable income arising from the assets of such reserve (including any income that may arise upon
the distribution of the assets in such reserve), assets of the Disputed Claims Reserve may be sold to pay such taxes.

F.       Information Reporting and Backup Withholding

          The Debtors will withhold all amounts required by law to be withheld from payments of interest and
dividends. The Debtors will comply with all applicable reporting requirements of the Tax Code. In general,
information reporting requirements may apply to distributions or payments made to a Holder of a Loan Claim pursuant
to the Plan. Additionally, under the backup withholding rules, a Holder of a Loan Claim may be subject to backup
withholding with respect to distributions or payments made pursuant to the Plan unless, in the case of a U.S. Holder,
such U.S. Holder provides a properly executed IRS Form W-9 or, in the case of Non-U.S. Holder, such Non-U.S.
Holder provides a properly executed applicable IRS Form W-8 (or otherwise establishes such Non-U.S. Holder’s
eligibility for an exemption). The current backup withholding rate is 24%. Backup withholding is not an additional
tax but is, instead, an advance payment that may entitle the Holder against whom such withholding is made to a refund
from the IRS to the extent the withholding results in an overpayment of tax, provided, that the required information is
provided to the IRS.

         In addition, from an information reporting perspective, the Treasury Regulations generally require disclosure
by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s claiming a loss in excess
of specified thresholds. Holders are urged to consult their tax advisors regarding these regulations and whether the
treatment under the Plan would be subject to these Treasury Regulations and require disclosure on the Holders’ tax
returns.

     THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX. THE
FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF U.S. FEDERAL INCOME TAXATION
THAT MAY BE RELEVANT TO A PARTICULAR HOLDER OF A LOAN CLAIM OR A GENERAL
UNSECURED CLAIM IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX


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SITUATION. ALL HOLDERS OF LOAN CLAIMS AND GENERAL UNSECURED CLAIMS SHOULD
CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX CONSEQUENCES
APPLICABLE TO THEM, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL,
NON-U.S., NON-INCOME, OR OTHER TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX
LAWS.

                                         CONCLUSION AND RECOMMENDATION

          In the opinion of the Debtors, the Plan is preferable to all other available alternatives and provides for a larger
distribution to the Debtors’ creditors than would otherwise result in any other scenario. Accordingly, the Debtors
recommend that Holders of Claims entitled to vote on the Plan vote to accept the Plan and support Confirmation of
the Plan.


 Dated: April 26, 2023                                            Loyalty Ventures Inc.
                                                                  on behalf of itself and each of its Debtor affiliates

                                                                /s/ Charles Horn
                                                              Charles Horn
                                                              Chief Executive Officer and President
                                                              Loyalty Ventures Inc.




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                             EXHIBIT A
                       ORGANIZATIONAL CHART
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                                                                                                             Exhibit A                                                            KEY
                                                                                                        Organizational Chart                                           Debtor



                                                                                                               Loyalty Ventures Inc.                                 Non-Debtor

                                                                                                                                                                      Borrower under Credit Agreement

                                                                                                                                                                      Guarantor under Credit Agreement
                         LVI Sky Oak LLC                                                                    LVI Lux Holdings S.à r.l.
                                                LP 1%                                                                                 GP 99%




                                                                                                          Rhombus Investments L.P.



                                                                                                           LVI Lux Financing S.à r.l.




                                   Apollo Holdings B.V.                                                                                              LoyaltyOne, Co.


                                   BrandLoyalty entities(1)                                                                                    LoyaltyOne Travel Services Co.


(1) Certain of the entities that own and operate the BrandLoyalty business are borrowers and guarantors under the Credit Agreement.
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                            EXHIBIT B
                  TRANSACTION SUPPORT AGREEMENT
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                                                                                   Execution Version


THIS TRANSACTION SUPPORT AGREEMENT AND THE DOCUMENTS ATTACHED
HERETO COLLECTIVELY DESCRIBE TRANSACTIONS INVOLVING THE
COMPANY PARTIES THAT MAY BE EFFECTUATED (I) THROUGH THE FILING OF
CHAPTER 11 CASES IN THE BANKRUPTCY COURT (AS DEFINED BELOW) AND
(II) UNDER THE CCAA (AS DEFINED BELOW).

THIS TRANSACTION SUPPORT AGREEMENT IS NOT AN OFFER, ACCEPTANCE
OR SOLICITATION WITH RESPECT TO ANY SECURITIES, LOANS OR OTHER
INSTRUMENTS OR A SOLICITATION OF ACCEPTANCES AS TO ANY CHAPTER 11
PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE OR
ANY PLAN UNDER THE CCAA.        ANY SUCH OFFER, ACCEPTANCE OR
SOLICITATION WILL ONLY BE MADE IN COMPLIANCE WITH APPLICABLE
PROVISIONS OF SECURITIES LAWS, THE BANKRUPTCY CODE, THE CCAA AND
OTHER APPLICABLE LAW. NOTHING CONTAINED IN THIS TRANSACTION
SUPPORT AGREEMENT SHALL BE AN ADMISSION OF FACT OR LIABILITY OR,
UNTIL THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE
TERMS DESCRIBED HEREIN, BE DEEMED BINDING ON ANY OF THE PARTIES
HERETO.

THIS TRANSACTION SUPPORT AGREEMENT IS THE PRODUCT OF SETTLEMENT
DISCUSSIONS AMONG THE PARTIES HERETO AND, ACCORDINGLY, IS
PROTECTED BY RULE 408 OF THE FEDERAL RULES OF EVIDENCE AND ANY
OTHER APPLICABLE STATUTES OR DOCTRINES PROTECTING THE USE OR
DISCLOSURE OF CONFIDENTIAL SETTLEMENT DISCUSSIONS.

THIS TRANSACTION SUPPORT AGREEMENT DOES NOT PURPORT TO
SUMMARIZE ALL OF THE TERMS, CONDITIONS, REPRESENTATIONS,
WARRANTIES AND OTHER PROVISIONS WITH RESPECT TO THE
TRANSACTIONS DESCRIBED HEREIN, WHICH TRANSACTIONS WILL BE
SUBJECT TO THE COMPLETION OF DEFINITIVE DOCUMENTS INCORPORATING
THE TERMS SET FORTH HEREIN AND THE CLOSING OF ANY TRANSACTIONS
SHALL BE SUBJECT TO THE TERMS AND CONDITIONS SET FORTH IN SUCH
DEFINITIVE DOCUMENTS AND THE APPROVAL RIGHTS OF THE PARTIES SET
FORTH HEREIN AND IN SUCH DEFINITIVE DOCUMENTS.

                               TRANSACTION SUPPORT AGREEMENT

        This TRANSACTION SUPPORT AGREEMENT (together with all exhibits, schedules,
annexes and other attachments hereto, as amended, supplemented or otherwise modified from time
to time in accordance with the terms hereof, this “Agreement”), dated as of March 10, 2023, is
entered into by and among:

              i.     Loyalty Ventures Inc., a Delaware corporation (“LVI”), and its undersigned direct
                     and indirect subsidiaries (collectively with LVI, the “Company Parties” and each
                     a “Company Party”);



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              ii. (a) each of the record or beneficial holders (or providers of investment management
                  or advisory services on behalf of such holders) of Term B Loan Claims (as defined
                  below) identified on the signature pages hereto (such persons and entities described
                  in this clause (ii)(a), each, an “Initial Consenting Term B Loan Lender” and,
                  collectively, the “Initial Consenting Term B Loan Lenders”) and (b) each of the
                  other record or beneficial holders (or providers of investment management or
                  advisory services on behalf of such holders) of Term B Loan Claims that becomes
                  a party to this Agreement after the Agreement Effective Date (as defined below) in
                  accordance with the terms hereof by executing and delivering a Joinder Agreement
                  (as defined below) (such persons and entities described in this clause (ii)(b), each,
                  an “Additional Consenting Term B Loan Lender” and, collectively, the “Additiona l
                  Consenting Term B Loan Lenders” and, together with the Initial Consenting Term
                  B Loan Lenders, the “Consenting Term B Loan Lenders”);

              iii. (a) each of the record or beneficial holders of Term A Loan Claims (as defined
                   below) identified on the signature pages hereto (such persons and entities described
                   in this clause (iii)(a), each, an “Initial Consenting Term A Loan Lender” and,
                   collectively, the “Initial Consenting Term A Loan Lenders”) and (b) each of the
                   other record or beneficial holders of Term A Loan Claims that becomes a party to
                   this Agreement after the Agreement Effective Date in accordance with the terms
                   hereof by executing and delivering a Joinder Agreement (such persons and entities
                   described in this clause (iii)(b), each, an “Additional Consenting Term A Loan
                   Lender” and, collectively, the “Additional Consenting Term A Loan Lenders” and,
                   together with the Initial Consenting Term A Loan Lenders, the “Consenting Term
                   A Loan Lenders”);

              iv. (a) each of the record or beneficial holders of Revolving Loan Claims (as defined
                  below) identified on the signature pages hereto (such persons and entities described
                  in this clause (iv)(a), each, an “Initial Consenting Revolver Lender,” and,
                  collectively, the “Initial Consenting Revolver Lenders,” and, collectively with the
                  Initial Consenting Term B Loan Lenders and the Initial Consenting Term A Loan
                  Lenders, the “Initial Consenting Lenders”) and (b) each of the other record or
                  beneficial holders of Revolving Loan Claims that becomes a party to this
                  Agreement after the Agreement Effective Date in accordance with the terms hereof
                  by executing and delivering a Joinder Agreement (such persons and entities
                  described in this clause (iv)(b), each, an “Additional Consenting Revolver Lender,”
                  and, collectively, the “Additional Consenting Revolver Lenders,” and, together
                  with the Initial Consenting Revolver Lenders, the “Consenting Revolver Lenders,”
                  and, collectively with the Consenting Term A Loan Lenders and the Consenting
                  Term B Loan Lenders, the “Consenting Lenders”); and

              v. the Administrative Agent (as defined below), in its capacity as administrative agent
                 under the Credit Agreement (as defined below) (together with the Consenting
                 Lenders, the “Consenting Stakeholders”).

The Company Parties and each of the Consenting Stakeholders are referred to herein as the
“Parties” and individually as a “Party”.


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                                           RECITALS

         WHEREAS, as of the date hereof: (i) the Initial Consenting Term B Loan Lenders
collectively hold, in the aggregate, in excess of 69% of the aggregate outstanding principal amount
of the Term B Loan (as defined below) under that certain Credit Agreement, dated as of
November 3, 2021, (as amended by Amendment No. 1 to Credit Agreement (Financial Covenant),
dated as of July 29, 2022), among LVI and certain of its subsidiaries, as borrowers, certain other
subsidiaries of LVI, as guarantors, Bank of America, N.A., as administrative agent (the
“Administrative Agent”), and the lenders (the “Lenders”) from time to time party thereto (as
further amended, amended and restated, supplemented or otherwise modified from time to time,
the “Credit Agreement”); (ii) the Initial Consenting Term A Loan Lenders collectively hold, in the
aggregate, 0% of the aggregate outstanding principal amount of the Term A Loan (as defined
below) under the Credit Agreement; and (iii) the Initial Consenting Revolver Lenders collectively
hold, in the aggregate, 0% of the aggregate outstanding amount of Revolving Credit Exposure (as
defined below) under the Credit Agreement;

         WHEREAS, the Company Parties and the Consenting Stakeholders have agreed to
implement, support, and/or consent to, as applicable, those certain transactions with respect to the
Company Parties contemplated by and in accordance with and subject to the terms and conditions
set forth in the following documents (collectively, and including any CCAA Transaction (as
defined below), the “Transactions”): (i) that certain Asset Purchase Agreement attached hereto as
Exhibit A by and between LoyaltyOne Co., an indirect subsidiary of LVI and a Company Party
(“LoyaltyOne”), as seller, and an entity owned or controlled by Bank of Montreal, as Buyer, with
respect to the sale of certain assets of the AIR MILES business (including any exhibits, schedules,
annexes and other attachments thereto, each as may be modified in accordance with the terms
thereof and hereof, the “AIR MILES Transaction Agreement,” and, such transactions
contemplated thereby and approved in accordance with the SISP (as defined below), the “AIR
MILES Sale Transaction”); (ii) that certain term sheet for the Chapter 11 DIP Facility (as defined
below) (including any exhibits, schedules, annexes and other attachments thereto, each as may be
modified in accordance with the terms thereof and hereof, the “Chapter 11 DIP Term Sheet”);
(iii) that certain term sheet for the CCAA DIP Facility attached hereto as Exhibit B (as defined
below) (including any exhibits, schedules, annexes and other attachments thereto, each as may be
modified in accordance with the terms thereof and hereof, the “CCAA DIP Term Sheet” and,
together with the Chapter 11 DIP Term Sheet, the “DIP Term Sheets”); (iv) the Combined
Disclosure Statement and Joint Chapter 11 Plan of Loyalty Ventures Inc. and its Debtor Affiliates
Pursuant to Chapter 11 of the Bankruptcy Code (including any exhibits, schedules, annexes and
other attachments thereto, each as may be modified in accordance with the terms thereof and
hereof, the “Combined DS and Plan”); and (v) (a) that certain Sale and Purchase Agreement with
respect to the sale of the BrandLoyalty business (including any exhibits, schedules, annexes and
other attachments attached thereto, each as may be modified in accordance with the terms thereof),
(b) that certain Bridge Loan Agreement (including any exhibits, schedules, annexes and other
attachments attached thereto, each as may be modified in accordance with the terms thereof) and
(c) that certain Intercreditor Agreement Including Inventory Pledge (including any exhibits,
schedules, annexes and other attachments attached thereto, each as may be modified in accordance
with the terms thereof), in each case, attached hereto as Exhibit C (collectively, the “BrandLoyalty
Transaction Agreements” and the transactions contemplated by the foregoing clauses (a) through
(c), the “BrandLoyalty Sale Transaction” and, collectively, the AIR MILES Transaction


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Agreement, the DIP Term Sheets, the Combined DS and Plan, and the BrandLoyalty Transaction
Agreements, the “Transaction Documents”);

        WHEREAS, certain of the Consenting Stakeholders are party to that certain Consent,
dated March 1, 2023 (the “BL Consent Agreement”), by and among LVI and Brand Loyalty Group
B.V., Brand Loyalty Holding B.V. and Brand Loyalty International B.V. each a Guarantor (as
defined in the Credit Agreement) party thereto, such Consenting Lenders constituting Required
Lenders under and as defined in the Credit Agreement, and the Administrative Agent, pursuant to
which such Consenting Stakeholders party thereto have consented, inter alia, to the BrandLoyalty
Sale Transaction, including the entry by the Company Parties into the BrandLoyalty Transaction
Agreements, the incurrence of indebtedness and granting of liens pursuant to and as contemplated
by the BrandLoyalty Transaction Agreements, and the sale of assets and collateral pursuant to and
as contemplated by the BrandLoyalty Transaction Agreements (such consents, approvals,
covenants and agreements contemplated thereby, collectively, the “BrandLoyalty Consents”);

        WHEREAS, the Transaction Documents will set forth the material terms and conditions
of the Transactions, as supplemented by the terms and conditions of this Agreement;

         WHEREAS, pursuant to this Agreement, the Company Parties intend to, among other
things: (a) implement the Transactions with respect to the Chapter 11 Debtors (as defined below)
by commencing voluntary, prepackaged cases under chapter 11 (the “Chapter 11 Cases”) of
title 11 of the United States Code (as amended, the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”); and (b) with
respect to LoyaltyOne, commence a proceeding before the Ontario Superior Court of Justice
(Commercial List) (the “Ontario Court”) under the Companies’ Creditors Arrangement Act (the
“CCAA” and, such proceeding under the CCAA, the “CCAA Proceeding”) for the purpose of
conducting the sales and investment solicitation process (in the form attached hereto as Exhibit D,
the “SISP”), in connection with which the AIR MILES Transaction Agreement shall serve as the
stalking horse bid; and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed herein.

        NOW, THEREFORE, in consideration of the promises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

                                           AGREEMENT

                     1.   Certain Definitions.

         As used in this Agreement, the following terms have the following meanings:

       (a)    “Additional Consenting Revolver Lender” and “Additional Consenting Revolver
Lenders” have the meanings ascribed to such terms in the Preamble.




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      (b)    “Additional Consenting Term A Loan Lender” and “Additional Consenting Term
A Loan Lenders” have the meanings ascribed to such terms in the Preamble.

      (c)    “Additional Consenting Term B Loan Lender” and “Additional Consenting Term
B Loan Lenders” have the meanings ascribed to such terms in the Preamble.

          (d)        “Administrative Agent” has the meaning ascribed to such term in the Recitals.

          (e)        “Agreement” has the meaning ascribed to such term in the Preamble.

          (f)        “Agreement Effective Date” has the meaning ascribed to such term in Section 9
hereof.

        (g)          “AIR MILES Sale Transaction” has the meaning ascribed to such term in the
Recitals.

       (h)           “AIR MILES Transaction Agreement” has the meaning ascribed to such term in
the Recitals.

         (i)     “Alternative AIR MILES Transaction” means any plan, proposal or offer of
dissolution, winding up, liquidation, reorganization, assignment for the benefit of creditors,
merger, transaction, consolidation, business combination, amalgamation, arrangement, joint
venture, partnership, sale of assets, shares or restructuring of any of the Company Parties, in each
case, that is an alternative to a CCAA Transaction.

         (j)     “Alternative BL Transaction” means any plan, proposal or offer of dissolution,
winding up, liquidation, reorganization, assignment for the benefit of creditors, merger,
transaction, consolidation, business combination, amalgamation, arrangement, joint venture,
partnership, sale of assets, shares or restructuring of any of the Company Parties, in each case, that
is an alternative to the BrandLoyalty Sale Transaction.

         (k)     “Alternative Plan Transaction” means any plan, proposal or offer of dissolution,
winding up, liquidation, reorganization, assignment for the benefit of creditors, merger,
transaction, consolidation, business combination, amalgamation, arrangement, joint venture,
partnership, sale of assets, shares or restructuring of any of the Company Parties, in each case, that
is an alternative to the Combined DS and Plan.

     (l)    “Alternative Transaction” means an Alternative BL Transaction, Alternative AIR
MILES Transaction or Alternative Plan Transaction.

       (m)    “Alternative Transaction Proposal” means any inquiry, bid, term sheet, discussion
or agreement with respect to any Alternative Transaction.

          (n)        “Bankruptcy Code” has the meaning ascribed to such term in the Recitals.

          (o)        “Bankruptcy Court” has the meaning ascribed to such term in the Recitals.

          (p)        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure.


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         (q)         “BL Consent Agreement” has the meaning ascribed to such term in the Recitals.

         (r)         “BrandLoyalty Consents” has the meaning ascribed to such term in the Recitals.

        (s)          “BrandLoyalty Sale Transaction” has the meaning ascribed to such term in the
Recitals.

       (t)           “BrandLoyalty Transaction Agreements” has the meaning ascribed to such term in
the Recitals.

        (u)     “Canadian Securities Laws” means the Ontario Securities Act, together with all
applicable securities laws, rules and regulations and published policies thereunder or under the
securities laws of any other province or territory of Canada.

        (v)     “Cash Collateral” means cash, negotiable instruments, documents of title,
securities, deposit accounts or other cash equivalents whenever acquired in which a Chapter 11
Debtor, the Administrative Agent or a Consenting Lender have an interest.

       (w)   “Cash Collateral Order” means any order of the Bankruptcy Court authorizing the
Chapter 11 Debtors’ use of Cash Collateral.

         (x)         “CCAA” has the meaning ascribed to such term in the Recitals.

       (y)     “CCAA ARIO” means the amended and restated CCAA Initial Order, in the form
attached hereto as Exhibit E.

        (z)     “CCAA DIP Cash Flow Projection Materials” means (i) the Cash Flow Projection
(as defined in the CCAA DIP Term Sheet) and any amendments or restatements thereof, (ii) each
Proposed Amended Cash Flow Projection (as defined in the CCAA DIP Term Sheet) and (iii) the
related weekly materials and information provided with respect thereto pursuant to the terms of
the CCAA DIP to the CCAA DIP Lender and the CCAA Monitor, including (x) the actual cash
flow results from the immediately preceding one week period and (y) a comparison of the actual
cash flow results from the immediately preceding one week period as against the DIP Agreement
Cash Flow Projection (as defined in the CCAA DIP Term Sheet) for such week.

        (aa) “CCAA DIP Facility” means a debtor in possession financing facility on the terms
and conditions set forth in the CCAA DIP Term Sheet to be entered into by and among LoyaltyOne
and the CCAA DIP Lender.

        (bb) “CCAA DIP Facility Documents” means any documents governing the CCAA DIP
Facility that are entered into in accordance with the CCAA DIP Term Sheet, the CCAA Initial
Order and the CCAA ARIO and any amendments, modifications and supplements thereto, and
together with any related notes, certificates, agreements, security agreements, documents and
instruments (including any amendments, restatements, supplements or modifications of any of the
foregoing) related to or executed in connection therewith.

         (cc)        “CCAA DIP Lender” means the lender under the CCAA DIP Facility.



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         (dd)        “CCAA DIP Term Sheet” has the meaning ascribed to such terms in the Recitals.

       (ee) “CCAA Initial Order” means an order of the Ontario Court, inter alia, granting
LoyaltyOne protection under the CCAA, in the form attached hereto as Exhibit F.

       (ff)     “CCAA KERP” means those certain employee retention plans as provided for in
the CCAA ARIO, (i) which shall provide for the payment of no greater than CAD$12,215,402 in
the aggregate, (ii) which payments shall be secured by a charge as set forth in the CCAA ARIO of
no greater than CAD$5,350,000 and (iii) which payments shall be made in accordance with the
materials disclosed by the applicant on the application for the CCAA Initial Order.

       (gg) “CCAA Monitor” means KSV Restructuring Inc., in its capacity as proposed (and
once appointed) Ontario Court appointed monitor in the CCAA Proceeding.

         (hh)        “CCAA Proceeding” has the meaning ascribed to such term in the Recitals.

       (ii)   “CCAA Transaction” means the sale of the AIR MILES business pursuant to the
AIR MILES Transaction Agreement or such other purchase or sale agreement approved by the
Ontario Court as the successful bid resulting from the SISP.

     (jj)   “CCAA Transaction Order” means a final order of the Ontario Court approving the
CCAA Transaction, in the form attached hereto as Exhibit G.

         (kk)        “Chapter 11 Cases” has the meaning ascribed to such term in the Recitals.

         (ll)        “Chapter 11 Debtors” means those Company Parties that commence Chapter 11
Cases.

       (mm) “Chapter 11 DIP Facility” means a debtor in possession financing facility in an
amount not to exceed $30,000,000 and on the terms and conditions set forth in the Chapter 11 DIP
Term Sheet to be entered into by and among the Chapter 11 Debtors, as debtors in possession, and
the Chapter 11 DIP Lender.

        (nn) “Chapter 11 DIP Facility Documents” means any documents governing the Chapter
11 DIP Facility that are entered into in accordance with the Chapter 11 DIP Term Sheet and the
Chapter 11 DIP Orders and any amendments, modifications and supplements thereto, and together
with any related notes, certificates, agreements, security agreements, documents and instruments
(including any amendments, restatements, supplements or modifications of any of the foregoing)
related to or executed in connection therewith.

      (oo) “Chapter 11 DIP Facility Motion” means a motion that will be filed by the Chapter
11 Debtors seeking Bankruptcy Court approval of the Chapter 11 DIP Facility.

       (pp) “Chapter 11 DIP Lender” means LoyaltyOne in its capacity as the lender under the
Chapter 11 DIP Facility.

       (qq) “Chapter 11 DIP Orders” means the Chapter 11 Interim DIP Order and the Chapter
11 Final DIP Order.


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        (rr)         “Chapter 11 DIP Term Sheet” means has the meaning ascribed to such terms in the
Recitals.

        (ss)   “Chapter 11 Final DIP Order” means a final order of the Bankruptcy Court
approving the Chapter 11 DIP Facility and the Chapter 11 DIP Facility Documents and, as
applicable, authorizing the Chapter 11 Debtors’ use of Cash Collateral.

        (tt)   “Chapter 11 Interim DIP Order” means an interim order of the Bankruptcy Court
approving the Chapter 11 DIP Facility and the Chapter 11 DIP Facility Documents and, as
applicable, authorizing the Chapter 11 Debtors’ use of Cash Collateral.

       (uu) “Chapter 11 KERP” means that certain key employee retention plan for which the
Chapter 11 Debtors will seek Bankruptcy Court approval in the Chapter 11 Cases, which shall
provide for the payment of no greater than $743,617 in the aggregate.

      (vv) “Chapter 11 Solicitation” means the solicitation of votes in connection with the
Combined DS and Plan pursuant to Bankruptcy Code sections 1125 and 1126.

         (ww) “Claims” has the meaning ascribed to it in Bankruptcy Code section 101(5).

         (xx)        “Combined DS and Plan” has the meaning ascribed to such term in the Recitals.

       (yy) “Comeback Hearing” means the comeback motion in the CCAA Proceeding to be
heard by the Ontario Court no later than March 20, 2023.

     (zz)   “Company Claims/Interests” means any Claim against, or Equity Interest in, a
Company Party.

        (aaa) “Company Party” and “Company Parties” have the meanings ascribed to such terms
in the Preamble.

       (bbb) “Company Termination Events” has the meaning ascribed to such term in
Section 4(b).

       (ccc) “Company Termination Notice” has the meaning ascribed to such term in
Section 4(b).

        (ddd) “Conditional Disclosure Statement Order” means an order of the Bankruptcy Court
(i) approving, among other things, the adequacy of the disclosures in the Combined DS and P lan
on a conditional basis and the Chapter 11 Solicitation and (ii) scheduling the hearing on
confirmation of the Combined DS and Plan.

        (eee) “Confidentiality Agreement” means an executed confidentiality agreement,
including with respect to the issuance of a “cleansing letter” or other disclosure of material non-
public information agreement between any Company Party and any Consenting Lender, including
any confidentiality provisions or obligations under the Credit Agreement.




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        (fff) “Confirmation Order” means an order of the Bankruptcy Court (i) approving the
adequacy of the disclosure in the Combined DS and Plan pursuant to Bankruptcy Code section
1125 and (ii) confirming the Combined DS and Plan pursuant to Bankruptcy Code section 1129,
including all exhibits, appendices, supplements and related documents.

         (ggg) “Consenting Lenders” has the meaning ascribed to such term in the Preamble.

      (hhh) “Consenting Revolver Lenders” has the meaning ascribed to such term in the
Preamble.

       (iii)   “Consenting Revolver/Term A Loan Lenders’ Advisors” means (i) Haynes and
Boone, LLP, as counsel, (ii) Borden Ladner Gervais LLP, as Canadian counsel and (iii) FTI
Consulting, Inc., as financial advisor.

         (jjj)       “Consenting Stakeholders” has the meaning ascribed to such term in the Preamble.

      (kkk) “Consenting Term A Loan Lenders” has the meaning ascribed to such term in the
Preamble.

      (lll)          “Consenting Term B Loan Lenders” has the meaning ascribed to such term in the
Preamble.

       (mmm)“Consenting Term B Loan Lenders’ Advisors” means (i) Gibson, Dunn & Crutcher
LLP, as lead counsel, (ii) any local counsel retained by the Consenting Term B Loan Lenders,
which shall be limited to one local counsel in the State of Texas, (iii) Bennett Jones LLP, as
Canadian counsel and (iv) Piper Sandler & Co., as financial advisor.

         (nnn) “Credit Agreement” has the meaning ascribed to such term in the Recitals.

         (ooo) “Definitive Documents” means all material agreements, instruments, pleadings,
motions, orders and other related documents, exhibits, schedules and annexes utilized, filed or
executed in connection with the Transactions or to obtain approval and confirmation of the
Combined DS and Plan, and any amendment, modification or supplement thereto, or restatement
thereof, including this Agreement, the Combined DS and Plan, the Plan Supplement, the
Solicitation Materials, the Conditional Disclosure Statement Order, the Cash Collateral Order, the
Confirmation Order, the Chapter 11 DIP Facility Motion, the Chapter 11 Interim DIP Order, the
Chapter 11 DIP Facility Documents, the Chapter 11 Final DIP Order, the First Day Pleadings, the
CCAA Initial Order, the CCAA ARIO, the CCAA DIP Facility Documents, the DIP Term Sheets,
the SISP Approval Order, the SISP, the AIR MILES Transaction Agreement, any definitive
transaction agreement in respect of any other CCAA Transaction, the CCAA Transaction Order,
the CCAA DIP Cash Flow Projection Materials, any other projections or budgets provided in
respect of the CCAA DIP Facility or the Chapter 11 DIP Facility, and the BrandLoyalty
Transaction Agreements, each of which shall contain terms and conditions consistent with this
Agreement (including the Transaction Documents attached hereto) and shall otherwise be in form
and substance acceptable to the Company Parties and the Requisite Consenting Lenders.

         (ppp) “DIP Term Sheets” has the meaning ascribed to such term in the Recitals.



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        (qqq) “Equity Interests” means, collectively, any shares (or any class thereof) of common
stock or preferred stock, limited liability company interests, and any other equity, ownership, or
profits interests of any Company Party, and any options, warrants, rights, or other securities or
agreements to acquire or subscribe for, or which are convertible into any shares (or any class
thereof) of, common stock or preferred stock, limited liability company interests, or other equity,
ownership, or profits interests of any Company Party (in each case whether or not arising under or
in connection with any employment agreement).

       (rrr) “First Day Pleadings” means the first day pleadings to be filed in connection with
the Chapter 11 Cases, including any orders attached thereto.

         (sss)       “Forbearance” has the meaning ascribed to such term in Section 2(b).

       (ttt)   “Initial Consenting Lender” and “Initial Consenting Lenders” have the meanings
ascribed to such terms in the Preamble.

       (uuu) “Initial Consenting Revolver Lender” and “Initial Consenting Revolver Lenders”
have the meanings ascribed to such terms in the Preamble.

       (vvv) “Initial Consenting Term A Loan Lender” and “Initial Consenting Term A Loan
Lenders” have the meanings ascribed to such terms in the Preamble.

       (www) “Initial Consenting Term B Loan Lender” and “Initial Consenting Term B Loan
Lenders” have the meanings ascribed to such terms in the Preamble.

         (xxx) “Joinder Agreement” has the meaning ascribed to such term in Section 2(e).

         (yyy) “Lenders” has the meaning ascribed to such term in the Recitals.

       (zzz) “Loan Claims” means, collectively, the Revolving Loan Claims, the Term A Loan
Claims and the Term B Loan Claims.

         (aaaa) “LoyaltyOne” has the meaning ascribed to such term in the Recitals.

         (bbbb) “LVI” has the meaning ascribed to such term in the Preamble.

       (cccc) “LVI Lux Dissolution” means the dissolution and liquidation of LVI Lux
Financing.

        (dddd) “LVI Lux Financing” means LVI Lux Financing S.à r.l., a private limited liability
company (société à responsabilité limitée) incorporated under the laws of Luxembourg, with
registered office at 11-13, boulevard de la Foire, L-1528 Luxembourg, Grand Duchy of
Luxembourg, registered with the Luxembourg Trade and Companies Register under the number
B181593.

         (eeee) “Milestones” means the applicable milestones set forth on Section 4(c).

         (ffff)      “Ontario Court” has the meaning ascribed to such term in the Recitals.



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        (gggg) “Ontario Securities Act” means the Securities Act (Ontario) and the rules,
regulations and published policies made thereunder.

         (hhhh) “Party” and “Parties” have the meanings ascribed to such terms in the Preamble.

     (iiii)          “Petition Date” means the date on which the first of the Chapter 11 Cases is
commenced.

        (jjjj) “Plan Effective Date” means the date on which all conditions precedent to the
effectiveness of the Combined DS and Plan have been satisfied or waived in accordance with the
terms of the Combined DS and Plan and the Confirmation Order, and the Combined DS and Plan
is substantially consummated according to its terms.

       (kkkk) “Plan Supplement” means the compilation of documents and forms of documents,
schedules and exhibits to the Combined DS and Plan that, subject to the terms and conditions
provided in this Agreement, will be filed by the Chapter 11 Debtors with the Bankruptcy Court.

          (llll) “Qualified Marketmaker” means an entity that (i) holds itself out to the public or
the applicable private markets as standing ready in the ordinary course of business to purchase
from customers and sell to customers Company Claims/Interests (or enter with customers into long
and short positions in Company Claims/Interests), in its capacity as a dealer or market maker and
(ii) is, in fact, regularly in the business of making a market in claims against issuers and borrowers
(including debt securities or other debt).

         (mmmm)             “Remedial Action” has the meaning ascribed to such term in Section 2(b).

         (nnnn) “Requisite Consenting Lenders” means, at any applicable time of determination,
Consenting Lenders holding at least a majority of the aggregate outstanding principal amount held
by all of the Consenting Lenders of: (i) the Revolving Credit Exposure, (ii) the Term A Loan and
(iii) the Term B Loan, taken together.

      (oooo) “Revolving Credit Exposure” has the meaning set forth in Section 1.01 of the Credit
Agreement.

      (pppp) “Revolving Loan Claims” means any and all Claims related to the Revolving Credit
Exposure arising under the Credit Agreement.

        (qqqq) “RSA Trust” means any fund or trust secured for the benefit of collectors of AIR
MILES, including that certain Reserve Fund established pursuant to, and defined in (i) that certain
Amended and Restated Security Agreement, dated as of December 31, 2001, by and between
Loyalty Management Group Canada Inc. and Royal Trust Corporation of Canada, and (ii) that
certain Amended and Restated Redemption Reserve Agreement, dated as of December 31, 2001,
by and between Loyalty Management Group Canada Inc. and Royal Trust Corporation of Canada
(in each case as may be further amended, modified, supplemented or amended and restated from
time to time).

         (rrrr)      “Securities Act” has the meaning ascribed to such term in Section 7(a)(iii).



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         (ssss) “SISP” has the meaning ascribed to such term in the Recitals.

       (tttt) “SISP Approval Order” means an order of the Ontario Court in the CCAA
Proceeding, inter alia, approving and authorizing LoyaltyOne to conduct the SISP, in the form
attached hereto as Exhibit H.

       (uuuu) “Solicitation Materials” means all documents, forms and other materials provided
in connection with solicitation of votes on the Combined DS and Plan pursuant to sections 1125
and 1126 of the Bankruptcy Code.

      (vvvv) “Stakeholder Termination Event” has the meaning set forth in Section 4(a) of this
Agreement.

       (wwww)               “Stakeholder Termination Notice” has the meaning ascribed to such term in
Section 4(a).

      (xxxx) “Term A Loan” has the meaning set forth in Section 2.01(b) of the Credit
Agreement.

        (yyyy) “Term A Loan Claims” means any and all Claims related to the Term A Loan
arising under the Credit Agreement.

      (zzzz) “Term B Loan” has the meaning set forth in Section 2.01(c) of the Credit
Agreement.

        (aaaaa) “Term B Loan Claims” means any and all Claims related to the Term B Loan
arising under the Credit Agreement.

        (bbbbb)          “Termination Date” means the date on which termination of this Agreement
as to a Party is effective in accordance with Section 4.

         (ccccc) “Termination Events” has the meaning ascribed to such term in Section 4(b).

         (ddddd)            “Termination Notice” has the meaning ascribed to such term in Section
4(b).

         (eeeee) “Transaction Documents” has the meaning ascribed to such term in the Recitals.

       (fffff) “Transaction Effective Date” means the later of (i) the consummation of the CCAA
Transaction, (ii) the consummation of the transactions contemplated by the BrandLoyalty Purchase
Agreement, (iii) the Plan Effective Date, and (iv) the consummation of the LVI Lux Dissolution.

        (ggggg)         “Transaction Support Period” means, with respect to a Party, the period
commencing on the Agreement Effective Date and ending on the earlier of (i) the Transaction
Effective Date and (ii) the Termination Date applicable to such Party.

         (hhhhh)            “Transactions” has the meaning ascribed to such term in the Recitals.

         (iiiii)     “Transfer” has the meaning ascribed to such term in Section 2(e).


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                     2.   Agreements of the Consenting Stakeholders.

        (a)     Support of Transactions. Subject in all respects and giving full effect to the consent
rights of the Requisite Consenting Lenders contained herein and any consent rights of the Requisite
Consenting Lenders in the Definitive Documents, each of the Consenting Stakeholders or the
Consenting Lenders, as applicable, agrees that, for the duration of the Transaction Support Period,
unless otherwise consented to in writing by the Company Parties, such Consenting Stakeholder or
Consenting Lender, as applicable, shall:

                (i)    with respect to the Consenting Stakeholders, support, and take all
reasonable actions necessary (or reasonably requested by the Company Parties) to facilitate the
implementation and consummation of the Transactions; provided that no Consenting Stakeholder
shall be obligated to waive or amend any condition to the consummation of the Transactions;

               (ii)    with respect to the Consenting Stakeholders, and subject in all respects to
the Milestones (as may be extended or waived by the Company Parties and the Requisite
Consenting Lenders), to the extent any legal or structural impediment arises that would prevent,
hinder or delay the consummation of any of the Transactions contemplated herein, take all steps
reasonably necessary to address any such impediment , including to negotiate in good faith
appropriate additional or alternative provisions (consistent with the terms of this Agreement) to
address any such impediment;

               (iii)   with respect to the Consenting Lenders, validly and timely deliver, and not
withdraw, the consents, proxies, signature pages, tenders or other means of voting or participating
in the Transactions with respect to all of its Company Claims/Interests;

               (iv)    with respect to the Consenting Lenders, support the release and exculpation
provisions contained in the Combined DS and Plan and in the CCAA Transaction Order;

               (v)   with respect to the Consenting Lenders, not opt out of the release provisions
contained in the Combined DS and Plan;

                (vi)   with respect to the Consenting Stakeholders, use commercially reasonable
efforts to support, and to instruct its respective advisors to support, all motions, applications and
other pleadings filed by (A) the Chapter 11 Debtors in the Chapter 11 Cases and (B) LoyaltyOne
in the CCAA Proceeding, in each case, that are consistent with and in furtherance of this
Agreement, the Transactions and the Combined DS and Plan;

               (vii) with respect to the Consenting Stakeholders, consent (A) to the Chapter 11
DIP Facility and entry of the Chapter 11 Interim DIP Order and the Chapter 11 Final DIP Order
on terms and conditions consistent with the Chapter 11 DIP Term Sheet, and (B) to entry of the
Cash Collateral Order;

               (viii) with respect to the Consenting Lenders, (A) subject to the receipt by the
Consenting Lenders of the Combined DS and Plan, timely vote, or cause to be voted, its Claims
against the Chapter 11 Debtors, and exercise any powers or rights available to it (including in any
process requiring voting or approval to which they are legally entitled to participate in their
capacity as holders of Company Claims/Interests), to accept the Combined DS and Plan by


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delivering its duly executed and completed ballot accepting the Combined DS and Plan on a timely
basis following commencement of the Chapter 11 Solicitation; and (B) not change, withdraw or
revoke such vote (or cause or direct such vote to be changed, withdrawn or revoked); provided
that any such vote may be withdrawn or revoked (and upon such withdrawal or revocation, be
deemed void ab initio) by the applicable Consenting Lender in the event this Agreement is
terminated pursuant to Section 4 with respect to such Consenting Lender;

              (ix)   with respect to the Consenting Stakeholders, support, and not object to, the
motion seeking approval of the Chapter 11 KERP;

               (x)     with respect to the Consenting Stakeholders: (A) support the relief sought
in the CCAA Initial Order and the CCAA ARIO, including approval of each of the charges
provided therein, the CCAA KERP and the CCAA DIP Facility on terms and conditions consistent
with the CCAA DIP Term Sheet (and the use of the CCAA DIP Facility proceeds in accordance
therewith); (B) support the SISP Approval Order; (C) not submit (as to the Consenting Lenders),
or direct the Administrative Agent to submit, a credit bid in the SISP; (D) support the CCAA
Transaction resulting from the SISP; and (E) support the CCAA Transaction Order;

                  (xi)   with respect to the Consenting Stakeholders, not: (A) directly or indirectly
seek, propose, support, assist, solicit or vote for any Alternative Transaction; (B) support or
encourage the termination or modification of the Chapter 11 Debtors’ exclusive periods for the
filing or soliciting of a plan in the Chapter 11 Cases; or (C) take any other action, including, to the
extent applicable, initiating any legal proceedings or enforcing rights as a holder of Company
Claims/Interests that is inconsistent with this Agreement or the Definitive Documents, or could
prevent, interfere with, delay or impede the implementation or consummation of the Transactions
(including (1) the Ontario Court’s approval of the applicable Definitive Documents and the CCAA
Transaction and the entry of the CCAA Transaction Order and consummation of the CCAA
Transaction, (2) the Bankruptcy Court’s approval of the applicable Definitive Documents and
confirmation and consummation of the Combined DS and Plan, (3) consummation of the
BrandLoyalty Sale Transaction or (4) the Bankruptcy Court’s approval or the Ontario Court’s
approval and consummation of the other Transactions, as applicable);

               (xii) with respect to the Consenting Stakeholders, not object to and not support
any other person’s efforts to oppose or object to, in each case, directly or indirectly, the approval
of the First Day Pleadings and other motions, applications and pleadings, in each case, consistent
with this Agreement and filed by the Chapter 11 Debtors in furtherance of the Transactions;

               (xiii) with respect to the Consenting Lenders, to the extent applicable, timely vote
or cause to be voted its Claims against the Chapter 11 Debtors against and not consent to, or
otherwise directly or indirectly support, solicit, assist, encourage or participate in the formulation,
pursuit or support of, any Alternative Transaction (unless the Company Parties and Requisite
Consenting Lenders consent in writing otherwise);

               (xiv) with respect to the Consenting Stakeholders, not exercise any right or
remedy for the enforcement, collection or recovery of any of the Company Claims/Interests, or of
any of the Company Parties, in each case, other than in accordance with this Agreement and the
Definitive Documents;


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                (xv) with respect to the Consenting Lenders, give any notice, order, instruction
or direction to the Administrative Agent reasonably necessary to give effect to the Transactions;

               (xvi) with respect to the Consenting Stakeholders, not file or have filed on its
behalf any motion, pleading or other document with the Ontario Court, the Bankruptcy Court or
any other court that, in whole or in part, is inconsistent with this Agreement, any other Definitive
Document or the Transactions;

                (xvii) with respect to the Consenting Stakeholders, not initiate, or have initiated
on its behalf, any litigation or proceeding of any kind with respect to the CCAA Proceeding, the
Chapter 11 Cases, this Agreement or the Transactions against the Company Parties or the other
Parties other than to enforce this Agreement or any Definitive Document or as otherwise permitted
under this Agreement;

               (xviii) with respect to the Consenting Stakeholders, provide such reasonable
assistance, as may be requested by the Company Parties, in connection with satisfying the
Milestones (as may be extended or waived by the Requisite Consenting Lenders);

               (xix) with respect to the Consenting Stakeholders, refrain from taking any action
not required by law that is inconsistent with, or that would delay or impede approval, confirmation
or consummation of the Combined DS and Plan or the Transactions, and that is otherwise
inconsistent with the express terms of this Agreement and/or the Combined DS and Plan;

                (xx) with respect to the Consenting Stakeholders, and following the
consummation of the CCAA Transaction, cooperate with LoyaltyOne to expeditiously satisfy in
full and/or discharge, as applicable, all of the Charges (as defined in the CCAA ARIO); provided
that in all cases any court order necessary to effect the foregoing shall be in form and substance
acceptable to the Consenting Lenders and LoyaltyOne, each acting reasonably;

               (xxi) with respect to the Consenting Stakeholders, reasonably cooperate in good
faith and coordinate with the Company Parties to structure and implement the Transactions in a
tax efficient manner; and

              (xxii) with respect to the Consenting Stakeholders, negotiate in good faith and use
commercially reasonable efforts to execute and deliver the Definitive Documents and any other
required agreements to effectuate and consummate the Transactions as contemplated by this
Agreement.

         Notwithstanding anything to the contrary in this Section 2(a), no Consenting Stakeholder
shall be required to incur any unreimburseable out-of-pocket fees, expenses or other monetary
obligations in connection with fulfilling any of its obligations herein, in each case, other than such
fees, expenses or other monetary obligations with respect to which the Company Parties have
agreed in writing to pay or reimburse.




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        (b)    Forbearance and Waiver.1 Each Consenting Lender, during the Transaction
Support Period, hereby agrees to, and directs the Administrative Agent to, and the Administrative
Agent agrees to, forbear (the “Forbearance”) from exercising their rights and remedies under the
Credit Agreement and the other Loan Documents and applicable law (collectively, a “Remedial
Action”) against the Company Parties (including LVI Lux Financing) (or any of their respective
assets or properties, whether or not constituting Collateral) after the occurrence of any Event of
Default under the Credit Agreement, including as a result of (whether or not constituting an Event
of Default):

              (i)    any of the steps, actions or transactions required by, specified or
contemplated in and/or implemented by or undertaken pursuant to this Agreement or the
commencement of the Chapter 11 Cases, the CCAA Proceeding (including the CCAA Transaction
and the BrandLoyalty Sale Transaction) or any insolvency, liquidation or similar proceeding for
any of the Company Parties should the BrandLoyalty Sale Transaction not be consummated;

               (ii)   any of the Company Parties failing to make any payment of principal,
amortization, interest or other amounts due under the Credit Agreement, including to the
Administrative Agent; or

              (iii)   the failure by any of the Company Parties or their Subsidiaries to comply
with any covenant, term or other provision under the Credit Agreement.

       For the avoidance of doubt, during the Transaction Support Period, each Consenting
Lender agrees that it shall not deliver any notice or instruction directing the Administrative Agent
to exercise any Remedial Action against the Company Parties (including LVI Lux Financing).
Each of the Consenting Lenders hereby expressly acknowledges that the Forbearance by the
Consenting Lenders during the Transaction Support Period (including with respect to any
Remedial Action against LVI Lux Financing or any of its assets or properties) is a fundamental
and material inducement to the Company Parties’ entry into this Agreement.

         Each of the Consenting Lenders and the Administrative Agent (acting at the direction of
the Consenting Lenders that constitute Required Lenders) hereby consents to and agrees that, upon
the closing of the LVI Lux Dissolution and contingent upon the payment of any proceeds
remaining and available to be distributed under applicable law at the closing of the LVI Lux
Dissolution to the Lenders pursuant to the terms of the Credit Agreement: (i) all guaranties by LVI
Lux Financing in respect of the “Obligations” under the Credit Agreement shall be immediately,
automatically and irrevocably released, terminated and discharged, with no further action on the
part of the Consenting Lenders, the Administrative Agent, any other party to the Credit Agreement
or any other party; (ii) the Credit Agreement and the other Loan Documents with respect to LVI
Lux Financing will be immediately, automatically and irrevocably terminated, cancelled and be of
no further force and effect with respect thereto, with no further action on the part of the Consenting
Lenders, the Administrative Agent, any other party to the Credit Agreement or any other party;
(iii) all of the Administrative Agent’s, Consenting Lenders’ and any other Lenders’ security
interests in, and other Liens, encumbrances or charges of whatever nature on, all real and personal

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     Capitalized terms used but not defined in this Section 2(b) shall have the meanings ascribed to them in the Credit
     Agreement.



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property assets and rights of LVI Lux Financing providing collateral for the liabilities or otherwise
under the Loan Documents will be immediately, automatically and irrevocably terminated,
discharged and released, with no further action on the part of the Consenting Lenders, the
Administrative Agent, any other party to the Credit Agreement or any other party and (iv) all of
the other respective obligations of LVI Lux Financing under the Credit Agreement and the Loan
Documents will be immediately, automatically and irrevocably terminated, discharged and
released, with no further action on the part of the Consenting Lenders, the Administrative Agent,
any other party to the Credit Agreement or any other party.

        (c)     BrandLoyalty Sale Transaction. In the event any of the BrandLoyalty Transaction
Agreements are terminated or the sale of the BrandLoyalty business is not consummated in
accordance with the BrandLoyalty Transaction Agreements, the Forbearance shall terminate with
respect to the BL Entities (as defined in the BL Consent Agreement) upon notice to the Company
Parties from the Administrative Agent.

        (d)    Rights of Consenting Stakeholders Unaffected. Notwithstanding anything herein to
the contrary, nothing contained herein shall:

               (i)     limit the rights of the Consenting Stakeholders under any applicable
proceeding under the CCAA, the Bankruptcy Code or any applicable bankruptcy, receivership,
insolvency, foreclosure or similar proceeding, including appearing as a party in interest in any
matter to be adjudicated in order to be heard concerning any matter arising in the CCAA
Proceeding or the Chapter 11 Cases, in each case, so long as such consultation or appearance is
consistent with the Consenting Stakeholders’ obligations hereunder and under any applicable
Confidentiality Agreement and is not intended or reasonably likely to hinder, delay or prevent
approval, confirmation or the consummation of the Transactions (including the Ontario Court’s
approval of the applicable Definitive Documents and the CCAA Transaction, and the Bankruptcy
Court’s approval of the applicable Definitive Documents, the Chapter 11 Solicitation and
confirmation and consummation of the Combined DS and Plan);

               (ii)    except as otherwise expressly provided herein, limit any Consenting
Stakeholders’ rights under the Credit Agreement, any other loan document, or applicable law to
appear and participate as a party in interest in any matter to be adjudicated in any case in the
Bankruptcy Court or in the Ontario Court concerning the Company Parties (subject to the terms of
any applicable intercreditor agreement), so long as such appearance and the positions advocated
in connection therewith are not inconsistent with any terms of this Agreement;

                (iii)   affect the ability of any Consenting Stakeholder to consult with any other
Party hereto, any other holder or prospective holder of Company Claims/Interests, or any party in
interest in the Chapter 11 Cases or CCAA Proceeding (including any official committee, ad hoc
committee, the office of the United States Trustee and the CCAA Monitor), in each case, so long
as such consultation or appearance is consistent with the Consenting Stakeholders’ obligations
hereunder and under any applicable Confidentiality Agreement and is not intended or reasonably
likely to materially hinder, delay or prevent approval, confirmation or the consummation of the
Transactions (including the Ontario Court’s approval of the applicable Definitive Documents and
the CCAA Transaction, and the Bankruptcy Court’s approval of the applicable Definitive



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Documents, the Chapter 11 Solicitation and confirmation and consummation of the Combined DS
and Plan);

               (iv)     except as otherwise expressly provided herein, constitute a waiver or
amendment of any provision of the Credit Agreement or any other loan document, each of which
shall remain in full force and effect; or

               (v)    prevent any Consenting Stakeholder from taking any action that is required
by applicable law or require any Consenting Stakeholder to take any action that is prohibited by
applicable law or to waive or forego the benefit of any applicable legal privilege.

        (e)      Transfers Generally. Each Consenting Lender agrees that, for the duration of the
Transaction Support Period, such Consenting Lender shall not sell, transfer, loan, issue, pledge,
hypothecate, assign, grant or sell a participation or sub-participation in, or otherwise dispose of,
directly or indirectly, in whole or in part, any ownership (including any beneficial ownership as
defined in Rule 13d-3 under the Securities Exchange Act of 1934, as amended) in any of its
Company Claims/Interests, or any option thereon or any right or interest therein (including
granting any proxies, depositing any Company Claims/Interests into a voting trust or entering into
a voting agreement with respect to any Company Claims/Interests) (collectively, “Transfer”),
unless: (i) the prior written consent of the Company Parties is obtained; or (ii) prior to or effective
upon such Transfer, the transferee agrees in writing to become a Consenting Lender and to be
bound by all of the terms of this Agreement (including with respect to any and all Company
Claims/Interests it already may hold prior to such Transfer) by executing a joinder agreement in
the form attached hereto as Exhibit I (the “Joinder Agreement”), and delivering an executed copy
thereof, within two (2) business days of closing of such Transfer, to Akin Gump Strauss Hauer &
Feld LLP, as counsel to the Company Parties, in which event (x) the transferee shall be deemed to
be a Consenting Lender hereunder solely to the extent of such transferred rights and obligations
(and all Company Claims/Interests it already may hold prior to such Transfer) and (y) the
transferor shall be deemed to relinquish its rights (and be released from its obligations) under this
Agreement solely to the extent of such transferred rights and obligations; provided, that each
Consenting Lender agrees that any Transfer of any Company Claims/Interests that does not comply
with the terms and procedures set forth herein shall be deemed void ab initio, and the Company
Parties and each other Consenting Stakeholder shall have the right to enforce the voiding of such
transfer. Notwithstanding anything contained herein to the contrary, during the Transaction
Support Period, a Consenting Lender may offer, sell or otherwise Transfer any or all of its
Company Claims/Interests to any entity that, as of the date of Transfer, controls, is controlled by,
or is under common control with, such Consenting Lender; provided, that such entity shall
automatically be (A) subject to the terms of this Agreement and (B) deemed a party hereto and
shall execute a Joinder Agreement hereto.

        (f)     Notwithstanding anything to the contrary herein, the restrictions on Transfer set
forth in Section 2(e) shall not apply to the grant of any liens or encumbrances on any Company
Claims/Interests in favor of a bank or broker-dealer holding custody of such Company
Claims/Interests in the ordinary course of business and which lien or encumbrance is released upon
the Transfer of such Company Claims/Interests.




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        (g)     The Parties understand that the Consenting Lenders may be engaged in a wide range
of financial services and businesses, and, in furtherance of the foregoing, the Parties acknowledge
and agree that the obligations set forth in this Agreement shall only apply to the trading desk(s)
and/or business group(s) of each Consenting Lender that manage and/or supervise such Consenting
Lender’s Company Claims/Interests and shall not apply to any other trading desk or business group
of such Consenting Lender, so long as it is not acting at the direction or for the benefit of such
Consenting Lender or unless it becomes party hereto.

        (h)     Additional Company Claims/Interests; Transfers to Consenting Lenders.
Notwithstanding anything to the contrary contained in Section 2(e), a Consenting Lender may
Transfer its Company Claims/Interests to another Consenting Lender. To the extent any of the
Consenting Lenders acquires additional Company Claims/Interests, each such Consenting Lender
agrees that any such Company Claims/Interests shall automatically and immediately (regardless
of when notice is provided) be deemed subject to this Agreement and such acquiring Consenting
Lender shall promptly (and, in no event, later than two (2) business days following such
acquisition) inform Akin Gump Strauss Hauer & Feld LLP, as counsel to the Company Parties, of
such acquisition and such Consenting Lender’s aggregate ownership of Company
Claims/Interests, and that, for the duration of the Transaction Support Period, it shall vote (or cause
to be voted), to the extent applicable, any such additional Company Claims/Interests in a manner
consistent with Section 2(a) hereof.

         (i)    Qualified Marketmakers. Notwithstanding Section 2(e), a Qualified Marketmaker
that acquires any Company Claims/Interests with the purpose and intent of acting as a Qualified
Marketmaker for such Company Claims/Interests shall not be required to execute and deliver a
Joinder Agreement in respect of such Company Claims/Interests if: (i) such Qualified
Marketmaker subsequently transfers such Company Claims/Interests (by purchase, sale
assignment, participation, or otherwise) within five (5) business days of its acquisition to a
transferee that is an entity that is not an affiliate, affiliated fund or affiliated entity with a common
investment advisor; (ii) the transferee otherwise is a permitted transferee under Section 2(e); and
(iii) the Transfer otherwise is a permitted Transfer under Section 2(e). To the extent that a
Consenting Lender is acting in its capacity as a Qualified Marketmaker, it may Transfer (by
purchase, sale, assignment, participation or otherwise) any right, title or interests in Company
Claims/Interests that the Qualified Marketmaker acquires from a holder of the Company
Claims/Interests who is not a Consenting Lender without the requirement that the transferee be a
permitted transferee. For the avoidance of doubt, if a Qualified Marketmaker acquires any
Company Claims/Interests from a Consenting Lender and is unable to transfer such Company
Claims/Interests within the five (5) business day-period referred to above, the Qualified
Marketmaker shall promptly execute and deliver a Joinder Agreement in respect of such Company
Claims/Interests.

        (j)    With respect to the Transfer of any Equity Interests only, such Transfer shall not in
the reasonable business judgment of the Company Parties and their legal and tax advisors
adversely affect (i) the Company Parties’ ability to maintain the value of and utilize their net
operating loss carryforwards or other tax attributes or (ii) the Company Parties’ ability to obtain
the regulatory consents or approvals necessary to effectuate the Transactions.




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                     3.   Agreements of the Company Parties.

       (a)     Affirmative Covenants. Subject to Section 22 hereof, the Company Parties, jointly
and severally, agree that, for the duration of the Transaction Support Period, unless otherwise
consented to in writing by the Requisite Consenting Lenders, the Company Parties shall:

               (i)    support, and take all reasonable actions necessary to facilitate the
implementation and consummation of the Transactions (including (A) the Bankruptcy Court’s
approval of the applicable Definitive Documents and confirmation and consummation of the
Combined DS and Plan, (B) the Ontario Court’s entry of the CCAA Initial Order, the CCAA ARIO
and the SISP Approval Order, (C) the implementation and consummation of the SISP, (D) the
Ontario Court’s entry of the CCAA Transaction Order, (E) the implementation of the AIR MILES
Sale Transaction (if selected as the successful bid) or other CCAA Transaction and (F) the
implementation and consummation of the BrandLoyalty Sale Transactions);

                (ii)    subject in all respects to the Milestones (as may be extended or waived by
the Company Parties and the Requisite Consenting Lenders), to the extent any legal or structural
impediment arises that would prevent, hinder or delay the consummation of the Transactions
contemplated herein, take all steps reasonably necessary to address any such impediment ,
including to negotiate in good faith appropriate additional or alternative provisions (consistent with
the terms of this Agreement) to address any such impediment;

             (iii)   satisfy the Milestones (as may be extended or waived by the Requisite
Consenting Lenders);

                (iv)    support the release and exculpation provisions in the Combined DS and
Plan, as described in the Transaction Documents and in the CCAA Transaction Order;

               (v)     use commercially reasonable efforts to obtain any required government,
regulatory and/or third party approvals for the Transactions;

               (vi)    oppose any objections and any appeals by parties in interest relating to the
Transactions, including the First Day Pleadings, the Combined DS and Plan, the Confirmation
Order and the CCAA Transaction Order.

              (vii) negotiate in good faith and use commercially reasonable efforts to execute
and deliver the Definitive Documents and any other required agreements to effectuate and
consummate the Transactions as contemplated by this Agreement;

             (viii) provide those Consenting Lenders then subject to a Confidentiality
Agreement with the Company Parties with reasonable access to information regarding the
Company Parties’ operations and financial condition reasonably promptly following any request
therefore;

               (ix)    provide draft copies of all material (A) motions, (B) documents and (C)
other pleadings to be filed in the Chapter 11 Cases (excluding any retention applications) or the
CCAA Proceeding to the Consenting Revolver/Term A Loan Lenders’ Advisors and the
Consenting Term B Loan Lenders’ Advisors as soon as reasonably practicable, but in no event less


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than two (2) business days prior to the date when the applicable Company Parties file such
documents, and, without limiting any approval rights set forth herein, consult in good faith with
the Consenting Revolver/Term A Loan Lenders’ Advisors and the Consenting Term B Loan
Lenders’ Advisors regarding the form and substance of any such proposed filing; provided, that in
the event not less than two (2) business days’ notice is impossible or impracticable under the
circumstances, the Company Parties shall provide draft copies of any motions, documents or other
pleadings (excluding any retention applications) to the Consenting Revolver/Term A Loan
Lenders’ Advisors and the Consenting Term B Loan Lenders’ Advisors as soon as practicable
before the date when the applicable Company Parties file any such motion, document or other
pleading;

                (x)     timely file a formal objection to any motion filed with the Bankruptcy Court
by a third party seeking the entry of an order: (A) directing the appointment of a trustee or examiner
(with expanded powers beyond those set forth in Bankruptcy Code sections 1106(a)(3) and (4) of
the Bankruptcy Code); (B) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code; (C) dismissing the Chapter 11 Cases or (D) modifying or terminating the
Company Parties’ exclusive right to file and/or solicit acceptances of a plan of reorganization;

                (xi)   following the consummation of the CCAA Transaction, cooperate with the
Consenting Lenders to expeditiously satisfy in full and/or discharge, as applicable, all of the
Charges (as defined in the CCAA ARIO) and thereafter take those steps necessary to promptly
ensure that the directors of LoyaltyOne have resigned without liability; provided that in all cases
any court order necessary to effect the foregoing shall be in form and substance acceptable to the
Consenting Lenders and LoyaltyOne, each acting reasonably, and LoyaltyOne and its advisors
shall not be required to incur any unreimbursed fees, out of pocket expenses, or other monetary
obligations in connection therewith;

              (xii) provide to the Consenting Stakeholders copies of the CCAA DIP Cash Flow
Projection Materials as and when provided to the CCAA DIP Lender and the CCAA Monitor; and

             (xiii) provide to the Consenting Stakeholders any notices of any default or breach
of the CCAA DIP Facility as and when provided by the CCAA DIP Lender.

      (b)    Negative Covenants. Unless otherwise consented to in writing by the Requisite
Consenting Lenders and subject to Section 22 hereof, the Company Parties shall not:

               (i)    modify the Combined DS and Plan, in whole or in part, in a manner that is
inconsistent with any material aspect of this Agreement;

              (ii)   directly or indirectly propose, file, support, or consent to any Alternative
Transaction, or encourage any other person or entity to take any such action, subject to the
Company Parties’ rights in Section 22 hereof;

                (iii)  except in accordance with the Transactions and subject to the terms of the
CCAA ARIO, directly or indirectly redeem or make or declare any dividends, distributions, or
other payments on account of its Equity Interests, or otherwise make any transfers or payments on
account of its Equity Interests, except as otherwise approved in an order of the Bankruptcy Court
or Ontario Court, or as otherwise necessary to consummate the Transactions;

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                     (iv)   file any other Definitive Document that is inconsistent with the terms of this
Agreement;

                (v)    file or otherwise support any motion or pleading challenging the amount,
validity, enforceability, priority, or perfection, or seeking avoidance, subordination,
recharacterization or other similar relief with respect to the Revolving Loan Claims, Term A Loan
Claims, and Term B Loan Claims, as applicable, or the liens and security interests securing the
Revolving Loan Claims, Term A Loan Claims, and Term B Loan Claims, as applicable, and timely
object to any motion seeking standing to bring such challenges, in each case, except in accordance
with the Transactions contemplated by the CCAA DIP Facility or the Chapter 11 DIP Facility;

               (vi)    except in accordance with the Transactions, the CCAA KERP or the
Chapter 11 KERP, directly or indirectly enter into or amend, grant, establish, adopt, restate,
supplement, increase, or otherwise modify or accelerate any indemnification, compensation,
incentive, success, retention, bonus, benefit plan or agreement, or any other compensatory or
benefit arrangements, policies, programs, plans, or agreements, including, without limitation, offer
letters, employment agreements, consulting agreements, severance arrangements, retention
arrangements, or change in control arrangements with or for the benefit of any employee or
consultant, except as required by applicable law;

                (vii) settle, compromise, release, transfer or dispose of, directly or indirectly, (i)
any claims or causes of action that the Company Parties have or may have against Bread Financial
Holdings, Inc., any of its direct or indirect affiliates, or any of their present or former officers or
directors, and all proceeds of such claims and causes of action, including any insurance proceeds,
or (ii) any of the Company Parties’ tax attributes, including any amounts payable or that may
become payable to the Company Parties, or any of their direct or indirect affiliates, from the
Canada Revenue Agency, by refund or otherwise, in each case, without the consent of the Requisite
Consenting Lenders;

              (viii) fund any proceeds of the Chapter 11 DIP Facility or CCAA DIP Facility
into the RSA Trust, except as expressly contemplated by the CCAA DIP Term Sheet or the CCAA
DIP Cash Flow Projection Materials;

             (ix)     seek approval from the Bankruptcy Court or the Ontario Court of the
Chapter 11 DIP Facility, CCAA DIP Facility, or any other financing, in each case, prior to the
Comeback Hearing;

                (x)     modify, or permit any modification of, the funding rate of the RSA Trust as
compared to the currently operative historical rate (which, for the avoidance of doubt, is the
applicable rate as of the date hereof), including in respect of the Required Reserve Amount or any
Reserve Deficiency (each as defined in the RSA Trust documentation); or

                 (xi)   take any action or file any motion, pleading or other Definitive Document
in the Ontario Court or the Bankruptcy Court (including any modifications or amendments thereof)
that is materially inconsistent with this Agreement or the Combined DS and Plan.




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                     4.   Termination of Agreement.

        (a)     Stakeholder Termination Events. The Requisite Consenting Lenders, on behalf of
the Consenting Stakeholders, may terminate this Agreement, upon written notice
(the “Stakeholder Termination Notice”) delivered in accordance with Section 19 hereof, at any
time after the occurrence of any of the following events (each, a “Stakeholder Termination Event”),
unless waived in writing by the Requisite Consenting Lenders:

                (i)     the breach in any material respect by the Company Parties of any of their
covenants, obligations, representations or warranties under this Agreement, any Definitive
Document or the terms of any material Order issued by the Ontario Court or the Bankruptcy Court,
as the case may be, the effect of which would have a material adverse effect on the ability of the
Company Parties to consummate the Transactions, and such breach remains uncured for a period
of five (5) business days from the receipt of the Stakeholder Termination Notice; provided, that in
no event shall a Stakeholder Termination Event arise if the BrandLoyalty Transaction Agreements
are terminated or if the BrandLoyalty Sale Transaction is not consummated;

                 (ii)   the failure of the Company Parties to satisfy any of the Milestones (unless
the applicable Milestone is extended or waived by the Requisite Consenting Lenders); provided,
that the right to terminate this Agreement under this Section 4(a)(ii) shall not be available to the
Requisite Consenting Lenders if the failure of such Milestone to be achieved is caused by, or
results from, the breach by any Consenting Lender comprising the terminating Requisite
Consenting Lenders of its covenants, agreements or other obligations under this Agreement;

                (iii)   the issuance by any governmental authority, including any regulatory
authority, or court of competent jurisdiction, of any ruling, judgment or order enjoining the
consummation of a material portion of the Transactions, unless, in each case, (A) such ruling,
judgment or order has been issued at the request of or with the acquiescence of any Consenting
Stakeholder or such ruling, judgment or order is subject to a bona fide challenge or appeal, or, in
all other circumstances, such ruling, judgment or order has not been stayed, reversed or vacated
within ten (10) business days after such issuance or (B) such ruling, judgment or order is solely
with respect to, or solely enjoins, the consummation of the BrandLoyalty Sale Transaction;

             (iv)    any Definitive Document or the Combined DS and Plan is amended,
supplemented or otherwise modified without the consent of the Requisite Consenting Lenders;

                (v)    the Bankruptcy Court enters an order (A) directing the appointment of an
examiner with expanded powers or a chapter 11 trustee, unless the motion or request seeking such
relief is withdrawn prior to the earlier of (x) ten (10) business days after filing such motion or
request with the Bankruptcy Court and (y) entry of an order by the Bankruptcy Court approving
the requested relief, (B) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code, (C) dismissing the Chapter 11 Cases or (D) denying confirmation or approval
of the Combined DS and Plan;

             (vi)   the AIR MILES Transaction Agreement is terminated without
contemporaneous entry into another CCAA Transaction that is acceptable to the Requisite
Consenting Lenders;


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              (vii) the Company Parties withdraw the Combined DS and Plan and such
Combined DS or Plan is not refiled in form and substance acceptable to the Requisite Consenting
Lenders within five (5) business days thereof;

                (viii) an order is entered by a court of competent jurisdiction (including by the
Bankruptcy Court granting relief from the automatic stay imposed by section 362 of the
Bankruptcy Code) authorizing any person or entity to proceed against any asset of the Company
Parties with a fair market value in excess of $2,000,000;

               (ix)    the Company Parties fail to pay any fees and expenses of the Consenting
Revolver/Term A Loan Lenders’ Advisors or the Consenting Term B Loan Lenders’ Advisors as
and when required pursuant to the terms of this Agreement, and such fees and expenses remain
outstanding for a period of ten (10) business days following the delivery of notice of such failure
by the applicable advisor to the Company Parties;

                 (x)    the Company Parties file any motion or pleading in a court of competent
jurisdiction (including the Bankruptcy Court) seeking relief that is materially inconsistent with this
Agreement;

                (xi)    the Company Parties file any motion, application, or adversary proceeding
challenging the validity, enforceability, perfection, or priority of, or seeking avoidance,
recharacterization, or subordination of, any portion of the Company Claims/Interests held by the
Consenting Stakeholders, or any liens securing such Company Claims/Interests, in each case,
except in accordance with the Transactions contemplated by the CCAA DIP Facility or the Chapter
11 DIP Facility;

               (xii) the entry of an order by the Bankruptcy Court terminating the Chapter 11
Debtors’ exclusive right to file a chapter 11 plan or to solicit acceptances thereof pursuant to
section 1121 of the Bankruptcy Code; or

               (xiii) the Company Parties terminate this Agreement pursuant to Section 4(b)(iii)
hereof or otherwise consent to, support or agree to support an Alternative Transaction.

       (b)     Company Termination Events. The Company Parties may terminate this
Agreement as to all Parties, upon written notice (the “Company Termination Notice”) delivered in
accordance with Section 19 hereof, upon the occurrence of any of the following events (each,
a “Company Termination Event” and, together with the Stakeholder Termination Events,
the “Termination Events”) unless waived in writing by the Company Parties:

               (i)     the breach in any material respect by one or more of the Consenting
Stakeholders of any of the covenants, obligations, representations or warranties under this
Agreement or the BL Consent Agreement, which breach remains uncured for a period of five (5)
business days from the receipt of the Company Termination Notice; provided that so long as the
non-breaching Consenting Lenders continue to hold or control at least 66 ⅔ % of the Loan Claims,
such termination shall be effective only with respect to such breaching Consenting Stakeholders;

              (ii)    the issuance by any governmental authority, including any regulatory
authority or court of competent jurisdiction, of any ruling, judgment or order enjoining the


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consummation of a material portion of the Transactions, unless, in each case, such ruling, judgment
or order has been issued at the request of or with the acquiescence of the Company Parties or such
ruling, judgment or order is subject to a bona fide challenge or appeal, or, in all other
circumstances, such ruling, judgment or order has not been stayed, reversed or vacated within ten
(10) business days after such issuance;

               (iii)  consistent with Section 22 hereof, the board of directors, board of managers
or similar governing body of a Company Party, after consultation with counsel, reasonably
determines in good faith that continued performance under this Agreement would be inconsistent
with the exercise of its fiduciary duties under applicable law, in each case, excluding any
termination of the BrandLoyalty Transaction Agreements;

              (iv)    if it is determined that the Combined DS and Plan cannot meet the
requirements set forth in Bankruptcy Code sections 1126(c), unless it is established that such
requirements can be met within ten (10) business days after such determination;

               (v)    the Bankruptcy Court enters an order (A) directing the appointment of an
examiner with expanded powers or a chapter 11 trustee, unless such order is revoked within ten
(10) business days thereafter, (B) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code or (C) dismissing the Chapter 11 Cases;

               (vi)    the Requisite Consenting Lenders terminate this Agreement pursuant to
Section 4(a) hereof; or

             (vii) the AIR MILES Transaction Agreement is terminated without
contemporaneous entry into another CCAA Transaction that is acceptable to the Requisite
Consenting Lenders.

       (c)   Milestones. The following Milestones shall apply to this Agreement unless
extended or waived in writing by each of the Company Parties and the Requisite Consenting
Lenders:

                     (i)   Milestones for the Chapter 11 Cases:

                           (A)    By no later than March 10, 2023, the Chapter 11 Cases shall have
                                  been commenced.

                           (B)    By no later than March 15, 2023, the Bankruptcy Court shall have
                                  entered the Conditional Disclosure Statement Order.

                           (C)    By no later than March 24, 2023, the Bankruptcy Court shall have
                                  entered the Chapter 11 Interim DIP Order.

                           (D)    By no later than May 1, 2023, the Bankruptcy Court shall have
                                  entered the Chapter 11 Final DIP Order.

                           (E)    By no later than April 28, 2023, the Bankruptcy Court shall have
                                  entered the Confirmation Order.


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                            (F)   By no later than May 5, 2023, the effective date of the Combined
                                  DS and Plan shall have occurred.

                     (ii)   Milestones for the CCAA Proceeding:

                            (A)   By no later than March 10, 2023, the CCAA Proceeding shall have
                                  been commenced.

                            (B)   By no later than March 20, 2023, the Ontario Court shall have
                                  entered the SISP Approval Order.

                            (C)   By no later than May 30, 2023, the Ontario Court shall have
                                  entered the CCAA Transaction Order.

                            (D)   By no later than the Outside Date (as such term is defined in the
                                  SISP), the CCAA Transaction shall have been consummated.

      (d)    Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual written agreement among the Company Parties and the Requisite
Consenting Lenders.

        (e)     Automatic Termination. This Agreement shall terminate automatically without any
further required action or notice upon the Transaction Effective Date.

         (f)     Effect of Termination. Upon the termination of this Agreement in accordance with
this Section 4, and except as provided in Section 13 herein, this Agreement shall forthwith become
void and of no further force or effect and each Party shall, except as otherwise expressly provided
in this Agreement, be immediately released from its liabilities, obligations, commitments,
undertakings and agreements under or related to this Agreement and shall have all the rights and
remedies that it would have had and shall be entitled to take all actions, whether with respect to
any of the Transactions or otherwise, that it would have been entitled to take had it not entered
into this Agreement, including all rights and remedies available to it under applicable law, the
Credit Agreement and any ancillary documents or agreements thereto; provided, that in no event
shall any such termination relieve a Party hereto from liability for its breach or non-performance
of its obligations hereunder prior to the date of such termination. Notwithstanding anything to the
contrary herein, any of the Termination Events may be waived in accordance with the procedures
established by Section 8 hereof, in which case the Termination Event so waived shall be deemed
not to have occurred, this Agreement shall be deemed to continue in full force and effect, and the
rights and obligations of the Parties hereto shall be restored, subject to any modification set forth
in such waiver. Nothing in this Agreement shall be construed as prohibiting a Company Party or
any of the Consenting Stakeholders from contesting whether any such termination is in accordance
with its terms or to seek enforcement of any rights under this Agreement that arose or existed
before a Termination Date. No purported termination of this Agreement shall be effective under
this Section 4 or otherwise if the Party seeking to terminate this Agreement is in material breach
of this Agreement.




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                     5.   Good Faith Cooperation; Further Assurances; Acknowledgement.

        The Parties shall cooperate with each other in good faith and shall coordinate their activities
(to the extent practicable and appropriate and subject to the terms hereof) in respect of (a) all
matters relating to their rights hereunder in respect of the Company Parties or otherwise in
connection with their relationship with the Company Parties, (b) all matters concerning, or related
to, the implementation of the Transactions and (c) the pursuit and support of the Transactions.
This Agreement is not, and shall not be deemed, a solicitation of votes for the acceptance of a
chapter 11 plan. The acceptance of the Combined DS and Plan by the Consenting Lenders will
not be solicited until the Consenting Stakeholders have received the Combined DS and Plan and
related ballots.

                     6.   Definitive Documents.

       Each Party hereby covenants and agrees to: (i) negotiate in good faith the Definitive
Documents (and, consistent with Section 8, any modifications, restatements, supplements or
amendments to any Definitive Document), each of which (inclusive of any such modifications ,
restatements, supplements or amendments) shall (x) contain terms consistent in all material
respects with the terms set forth in this Agreement and (y) except as otherwise expressly provided
for herein, be in form and substance acceptable to the Company Parties and the Requisite
Consenting Lenders; and (ii) execute (to the extent such Party is a party thereto) and otherwise
support the Definitive Documents, as applicable.

                     7.   Representations and Warranties.

        (a)     Each Party, severally (and not jointly), represents and warrants to the other Parties
that the following statements are true, correct and complete as of the date hereof (or as of the date
a Consenting Stakeholder becomes a party hereto):

                (i)    such Party is validly existing and in good standing under the laws of its
jurisdiction of incorporation or organization, and has all requisite corporate, partnership, limited
liability company or similar authority to enter into this Agreement and carry out or otherwise
support the Transactions contemplated under this Agreement and perform its obligations
contemplated under this Agreement, and the execution and delivery of this Agreement and the
performance of such Party’s obligations under this Agreement have been duly authorized by all
necessary corporate, limited liability company, partnership or other similar action on its part;

                (ii)    the execution, delivery and performance by such Party of this Agreement
does not and will not violate any provision of law, rule or regulation applicable to it or any of its
subsidiaries or its charter or bylaws (or other similar governing documents) or those of any of its
subsidiaries;

                (iii)  the execution, delivery and performance by such Party of this Agreement
does not and will not require any registration or filing with, consent or approval of, or notice to, or
other action to, with or by, any federal, state or governmental authority, regulatory body or
commission, except such filings as may be necessary or required under the Securities Act of 1933,
as amended (the “Securities Act”), the Securities Exchange Act of 1934, as amended, or any rule
or regulation promulgated thereunder, “blue sky” laws, Canadian Securities Laws, or in connection

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with the Combined DS and Plan, the CCAA Transaction and the BrandLoyalty Sale Transaction;
and

                (iv)    subject to the provisions of Bankruptcy Code sections 1125 and 1126, this
Agreement is the legally valid and binding obligation of such Party, enforceable in accordance
with its terms, except as enforcement may be limited by bankruptcy, insolvency, reorganization,
moratorium or other similar laws relating to or limiting creditors’ rights generally or by equitable
principles relating to enforceability or a ruling of the Bankruptcy Court or the Ontario Court.

        (b)    Each Consenting Lender severally (and not jointly), represents and warrants to the
Company Parties that, as of the date hereof (or as of the date such Consenting Lender becomes a
Party), such Consenting Lender (i) is the beneficial owner of the principal amount or number of
Company Claims/Interests, as applicable, set forth below its name on the signature page hereof (or
below its name on the signature page of a Joinder Agreement for any Consenting Lender that
becomes a party hereto after the date hereof), and/or (ii) has, with respect to the beneficial owners
of such Company Claims/Interests, as applicable, (A) sole investment or voting discretion with
respect to such Company Claims/Interests, (B) full power and authority to vote on and consent to
matters concerning such Company Claims/Interests, or to exchange, assign and Transfer such
Company Claims/Interests or (C) full power and authority to bind or act on behalf of such
beneficial owners.

        (c)      Each Consenting Lender severally (and not jointly), represents and warrants to the
Company Parties that such Consenting Lender has made no prior assignment, sale, participation,
grant, conveyance or other Transfer of, and has not entered into any other agreement to assign,
sell, participate, grant, convey or otherwise Transfer, in whole or in part, any portion of its right,
title, or interests in any Company Claims/Interests that is inconsistent with the other
representations and warranties of such Consenting Lender herein or would render such Consenting
Lender otherwise unable to comply with this Agreement and perform its obligations hereunder.

         (d)     Each Consenting Lender severally (and not jointly), represents and warrants to the
Company Parties that its Company Claims/Interests are free and clear of any option, proxy, voting
restriction, right of first refusal or other limitation on disposition of any kind, that might adversely
affect in any way the performance by such Consenting Lender of its obligations contained in this
Agreement at the time such obligations are required to be performed.

          (e)   Each Consenting Lender severally (and not jointly), represents and warrants to the
Company Parties that it is (i) a qualified institutional buyer as defined in Rule 144A of the
Securities Act, (ii) not a U.S. person (as defined in Regulation S of the Securities Act) or (iii) an
institutional accredited investor (as defined in the Rules of the Securities Act).

                     8.   Amendments and Waivers.

        Except as otherwise expressly provided herein, this Agreement, including any exhibits or
schedules hereto, may not be modified, amended, waived or supplemented except in a writing
signed by (a) the Company Parties and the Requisite Consenting Lenders and (b) solely to the
extent such modification, amendment, waiver, or supplement has a material, disproportionate, and
adverse effect on the economic rights arising hereunder of any individual Consenting Stakeholders


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(for the avoidance of doubt, without giving effect to any Consenting Stakeholder’s specific
holdings of Company Claims/Interests, specific tax or economic position or any other matters
personal to such Consenting Stakeholder), such materially, disproportionately, and adversely
affected Consenting Stakeholder. In determining whether any such modification, amendment,
waiver or supplement, or any consent, extension or approval has been given or obtained by the
Requisite Consenting Lenders, an affected Consenting Stakeholder and/or all Consenting Lenders,
as applicable, any then-existing Consenting Lender that is in material breach of its covenants,
obligations or representations under this Agreement (and the portion of the Revolving Loan, Term
A Loan or Term B Loan held by such breaching Consenting Lenders) shall be excluded from such
determination and the portion of the Revolving Loan, Term A Loan and/or Term B Loan held by
such breaching Consenting Lender shall be treated as if they were not outstanding. Any proposed
modification, amendment, waiver or supplement that does not comply with this Section 8 shall be
ineffective and void ab initio.

                     9.    Effectiveness.

       This Agreement shall become effective and binding on the Parties upon the first date and
time on which the following conditions have been satisfied or waived in accordance with this
Agreement (the “Agreement Effective Date”):

                (a)     counterpart signature pages to this Agreement have been executed and
delivered by (i) the Company Parties, (ii) holders of at least 66 ⅔ % of the aggregate Loan Claims,
and (iii) the Administrative Agent;

               (b)   the Company shall have paid all reasonable and documented fees, costs and
expenses of the Consenting Revolver/Term A Loan Lenders’ Advisors and the Consenting Term
B Loan Lenders’ Advisors for which a corresponding invoice has been delivered; and

                (c)    the Company Parties shall have given notice to the Consenting
Revolver/Term A Loan Lenders’ Advisors and the Consenting Term B Loan Lenders’ Advisors
that the foregoing conditions in this Section 9 have been satisfied.

        Upon the Agreement Effective Date, the Transaction Documents shall be deemed effective
solely for the purposes of this Agreement and thereafter the terms and conditions therein may only
be amended, modified, waived or otherwise supplemented as set forth in Section 8 hereof. With
respect to any Consenting Stakeholder that becomes a party to this Agreement by executing and
delivering a Joinder Agreement after the Agreement Effective Date, this Agreement shall become
effective at the time such Joinder Agreement is delivered to the Company Parties. Notwithstanding
the foregoing, the obligations or LoyaltyOne in this Agreement shall only become effective upon
approval of this Agreement by the Ontario Court.

                     10.   Conflicts Between Definitive Documents.

        In the event of any conflict among the Definitive Documents and this Agreement, the
Definitive Documents shall control. The BL Consent Agreement is not, in any way, superseded,
amended, or modified by this Agreement, and no party to the BL Consent Agreement is required
to become a party to this Agreement nor is any party to this Agreement required to become a party
to the BL Consent Agreement. In the event of any conflict among the terms and provisions of the

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Combined DS and Plan, this Agreement or the Definitive Documents, the terms and provisions of
the Combined DS and Plan shall control. In the event of any conflict among the terms and
provisions of the Confirmation Order, the Combined DS and Plan, this Agreement or the Definitive
Documents, the terms of the Confirmation Order shall control. Notwithstanding the foregoing,
nothing contained in this Section 10 shall affect, in any way, the requirements set forth herein for
the amendment of this Agreement or any Definitive Document.

                     11.   GOVERNING LAW; JURISDICTION; WAIVER OF JURY TRIAL.

         THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING
EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT
IN THE APPLICATION OF THE LAWS OF ANY OTHER JURISDICTION. Notwithstanding
the foregoing consent to jurisdiction in either a state or federal court of competent jurisdiction in
the State and County of New York, upon the commencement of the Chapter 11 Cases, each of the
Parties hereby agrees that, if the Chapter 11 Cases are pending, the Bankruptcy Court shall have
exclusive jurisdiction over all matters arising out of or in connection with this Agreement. Each
Party hereto agrees that it shall bring any action or proceeding in respect of any claim arising out
of or related to this Agreement, to the extent possible, in the Bankruptcy Court, and solely in
connection with claims arising under this Agreement: (a) irrevocably submits to the exclusive
jurisdiction of the Bankruptcy Court; (b) waives any objection to laying venue in any such action
or proceeding in the Bankruptcy Court; and (c) waives any objection that the Bankruptcy Court is
an inconvenient forum or does not have jurisdiction over any Party hereto. Notwithstanding the
foregoing, during the pendency of the CCAA Proceeding, the Ontario Court shall have jurisdiction
over actions arising out of or in connection therewith.

                     12.   Specific Performance/Remedies.

        (a)    Specific Performance. It is understood and agreed by the Parties that, without
limiting any other remedies at law or in equity, money damages would be an insufficient remedy
for any breach of this Agreement by any Party and each non-breaching Party shall be entitled to
specific performance and injunctive or other equitable relief (including attorney’s fees and costs)
as a remedy of any such breach, in addition to any other remedy to which such non-breaching
Party may be entitled, at law or in equity, without the necessity of proving the inadequacy of money
damages as a remedy, including, an order of the Bankruptcy Court and/or the Ontario Court
requiring any Party to comply promptly with any of its obligations hereunder. Each Party agrees
to waive any requirement for the securing or posting of a bond or to provide proof of actual
damages in connection with such remedy.

        (b)     Remedies Cumulative. All rights, powers and remedies provided under this
Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and not
alternative, and the exercise of any right, power or remedy thereof by any Party shall not preclude
the simultaneous or later exercise of any other such right, power, or remedy by such Party.




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                     13.    Survival.

        Notwithstanding the termination of this Agreement pursuant to Section 4 hereof, the
agreements and obligations of the Parties in this Section 13 and Sections 4(f), 8, 9, 11, 12, 14, 15,
16, 17, 18, 19, 20, 21, 22, 23, 24 and 25 hereof (and any defined terms used in any such Sections)
shall survive such termination and shall continue in full force and effect in accordance with the
terms hereof.

                     14.    Interpretation.

         For purposes of this Agreement:

        (a)    In the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine or
neuter gender shall include the masculine, feminine and the neuter gender;

        (b)    Capitalized terms defined only in the plural or singular form shall nonetheless have
their defined meanings when used in the opposite form;

        (c)     Unless otherwise specified, any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms
and conditions means that such document shall be substantially in such form or substantially on
such terms and conditions;

        (d)      Unless otherwise specified, any reference herein to an existing document, schedule
or exhibit shall mean such document, schedule or exhibit, as it may have been or may be amended,
restated, supplemented or otherwise modified from time to time; provided that any capitalized
terms herein which are defined with reference to another agreement, are defined with reference to
such other agreement as of the date of this Agreement, without giving effect to any termination of
such other agreement or amendments to such capitalized terms in any such other agreement
following the date hereof;

       (e)      Unless otherwise specified, all references herein to “Sections” are references to
Sections of this Agreement;

        (f)     The words “herein,” “hereof” and “hereto” refer to this Agreement in its entirety
rather than to any particular portion of this Agreement;

        (g)    The headings of the sections, paragraphs and subsections of this Agreement are
inserted for convenience only and shall not affect the interpretation hereof or, for any purpose, be
deemed a part of this Agreement;

        (h)      References to “shareholders,” “directors” and/or “officers” shall also include
“members” and/or “managers,” as applicable, as such terms are defined under the applicable
limited liability company or similar laws; and

         (i)         The use of “include” or “including” is without limitation, whether stated or not.



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                     15.   Successors and Assigns; Severability; Several Obligations.

        This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, assigns, heirs, executors, administrators and representatives; provided, that
nothing contained in this Section 15 shall be deemed to permit sales, assignments or other
Transfers of Company Claims/Interests other than in accordance with Section 2(h) of this
Agreement. If any provision of this Agreement, or the application of any such provision to any
person or circumstance, shall be held invalid or unenforceable in whole or in part, such invalidity
or unenforceability shall attach only to such provision or part thereof and the remaining part of
such provision hereof and this Agreement shall continue in full force and effect.

                     16.   No Third-Party Beneficiaries.

       Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties
and no other person or entity shall be a third-party beneficiary hereof.

                     17.   Prior Negotiations; Entire Agreement.

        This Agreement, including the exhibits and schedules hereto, constitutes the entire
agreement of the Parties, and supersedes all other prior negotiations and agreements, oral or
written, with respect to the subject matter hereof, except that the Parties acknowledge the BL
Consent Agreement and that any Confidentiality Agreements heretofore executed between any of
the Company Parties and any Consenting Stakeholders shall continue in full force and effect.

                     18.   Counterparts.

        This Agreement may be executed in several counterparts and by way of electronic signature
and delivery, each such counterpart shall be deemed to be an original, and all of which together
shall be deemed to be one and the same agreement. Execution copies of this Agreement may be
delivered by facsimile or otherwise, which shall be deemed to be an original for the purposes of
this Section 18.

                     19.   Notices.

        All notices hereunder shall be deemed given if in writing and delivered, if sent by electronic
mail, facsimile, courier or by registered or certified mail (return receipt requested) to the following
addresses and facsimile numbers (or at such other addresses or facsimile numbers as shall be
specified by like notice):

                     If to the Company Parties:

                     Loyalty Ventures Inc.
                     8235 Douglas Avenue, Suite 1200
                     Dallas, Texas 75225
                     Attention: General Counsel
                     Email: generalcounsel@loyalty.com




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                     with a copy to (which shall not constitute notice):

                     Akin Gump Strauss Hauer & Feld LLP
                     One Bryant Park
                     New York, New York 10036-6745
                     Facsimile: (212) 872-1002
                     Attention: Philip C. Dublin; Meredith A. Lahaie; Iain Wood; Alan L. Laves
                     Email: pdublin@akingump.com; mlahaie@akingump.com;
                     iwood@akingump.com; alaves@akingump.com

                     and

                     Cassels, Brock & Blackwell LLP
                     Scotia Plaza, Suite 2100
                     40 King Street West
                     Toronto, ON M5H 3C2
                     Attention: Ryan C. Jacobs; Jane O. Dietrich; Natalie E. Levine
                     Email: rjacobs@cassels.com; jdietrich@cassels.com; nlevine@cassels.com

                     If to the Consenting Term B Loan Lenders:

                     To each Consenting Term B Loan Lender at the addresses or facsimile numbers
                     set forth below the Consenting Term B Loan Lender’s signature to this
                     Agreement or as set forth in their Joinder Agreement, as applicable

                     with a copy to (which shall not constitute notice):

                     Gibson, Dunn & Crutcher LLP
                     200 Park Avenue
                     New York, New York 10166
                     Attention: Scott J. Greenberg; Steven A. Domanowski; AnnElyse S. Gains
                     Email: sgreenberg@gibsondunn.com; sdomanowski@gibsondunn.com;
                     agains@gibsondunn.com

                     and

                     Bennett Jones LLP
                     100 King Street West, Suite 3400
                     Toronto, ON M5X 1A4
                     Attention: Kevin J. Zych; Jesse Mighton
                     Email: zychk@bennettjones.com; mightonj@bennettjones.com

                     If to the Consenting Revolver Lenders or the Consenting Term A Loan
                     Lenders:

                     To each Consenting Revolver Lender or Consenting Term A Loan Lender, as
                     applicable, at the addresses or facsimile numbers set forth below the signature of


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                     the Consenting Revolver Lender or the Consenting Term A Loan Lender, as
                     applicable, to this Agreement or Joinder Agreement, as applicable

                     with a copy to (which shall not constitute notice):

                     Haynes and Boone, LLP
                     2323 Victory Avenue
                     Suite 700
                     Dallas, TX 75219
                     Attention: Eli Columbus; James Markus; Frasher Murphy; Matt Ferris
                     Email: eli.columbus@haynesboone.com; james.markus@haynesboone.com;
                     frasher.murphy@haynesboone.com; matt.ferris@haynesboone.com


        Any notice given by delivery, mail or courier shall be effective when received. Any notice
given by electronic mail or facsimile shall be effective upon oral, machine or electronic mail (as
applicable) confirmation of transmission.

                     20.    Reservation of Rights; No Admission.

         Except as expressly provided in this Agreement and in any amendment among the Parties,
nothing herein is intended to, or does, in any manner, waive, limit, impair or restrict the ability of
each of the Parties to protect and preserve its rights, remedies and interests, including , without
limitation, its claims against any of the other Parties (or their respective affiliates or subsidiaries)
or its full participation the CCAA Proceeding, the Chapter 11 Cases or any similar proceeding
filed by any of the Company Parties. Except as expressly provided in this Agreement and in any
amendment among the Parties, if the transactions contemplated by the Transactions are not
consummated, or if this Agreement is terminated for any reason, the Parties fully reserve any and
all of their rights. This Agreement is part of a proposed settlement of matters that could otherwise
be the subject of litigation among the Parties. Pursuant to Rule 408 of the Federal Rule of
Evidence, any applicable state rules of evidence and any other applicable law, foreign or domestic,
this Agreement and all negotiations relating thereto shall not be admissible into evidence in any
proceeding other than a proceeding to enforce its terms. This Agreement shall in no event be
construed as or be deemed to be evidence of an admission or concession on the part of any Party
of any claim or fault or liability or damages whatsoever. Each of the Parties denies any and all
wrongdoing or liability of any kind and does not concede any infirmity in the claims or defenses
which it has asserted or could assert.

                     21.    Prevailing Party.

       If any Party brings an action or proceeding against any other Party based upon a breach by
such Party of its obligations hereunder, the prevailing Party shall be entitled to the reimbursement
of all reasonable fees and expenses incurred, including reasonable attorneys’, accountants’ ,
investments bankers’ and financial advisors’ fees in connection with such action or proceeding,
from the non-prevailing Party.




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                     22.   Fiduciary Duties.

         Notwithstanding anything to the contrary in this Agreement, (i) nothing in this Agreement
shall require a Company Party or the board of directors, board of managers or similar governing
body of a Company Party (including any directors, officers, managers or employees of an equity
holder in their capacity as a member of any such body), after consulting with counsel, to take any
action or to refrain from taking any action with respect to this Agreement or the Transactions, to
the extent taking or failing to take such action would be inconsistent with applicable law or its
fiduciary obligations under applicable law, and (ii) any action or inaction pursuant to this
Section 22 shall not be deemed to constitute a breach of this Agreement, and such persons or
entities may take such action or refrain from taking such action without incurring any liability to
any Party under this Agreement.

        Notwithstanding anything to the contrary in this Agreement, but subject to the terms of this
Section 22, and except as may be permitted or required by the terms of the SISP Approval Order
(if applicable), each Company Party and its respective directors, partners, officers, employees,
investment bankers, attorneys, accountants, consultants and other advisors, agents or
representatives shall have the right to: (a) consider, respond to and facilitate Alternative
Transaction Proposals; (b) provide access to non-public information concerning any Company
Party to any person or entity or enter into Confidentiality Agreements or nondisclosure agreements
with any person or entity; (c) maintain or continue discussions or negotiations with respect to
Alternative Transaction Proposals; (d) otherwise cooperate with, assist, participate in or facilitate
any inquiries, proposals, discussions or negotiation of Alternative Transaction Proposals; and
(e) enter into or continue discussions or negotiations with holders of Company Claims/Interests
(including any Consenting Stakeholder) or any other person or entity regarding the Transactions
or any Alternative Transaction Proposals; provided, in each case, the Company Parties shall, to
the extent permitted following the Company Parties exercising commercially reasonable efforts to
obtain such permission, (i) provide notice and a copy of any bona fide Alternative Transaction
Proposal or any written response thereto, each on a strictly confidential basis, to the Consenting
Revolver/Term A Loan Lenders’ Advisors and the Consenting Term B Loan Lenders’ Advisors
within one (1) business day following receipt.

        Notwithstanding anything to the contrary herein, nothing in this Agreement shall create
any additional fiduciary obligations on the part of any Company Party or any members, partners,
managers, managing members, equity holders, officers, directors, employees, advisors, principals,
attorneys, professionals, accountants, investment bankers, consultants, agents or other
representatives of the same or their respective affiliated entities, in such person’s capacity as a
member, partner, manager, managing member, equity holder, officer, director, employee, advisor,
principal, attorney, professional, accountant, investment banker, consultant, agent or other
representative of such Company Party or its affiliated entities, that such persons or entities did not
have prior to the execution of this Agreement.

                     23.   Representation by Counsel.

        Each Party acknowledges that it has been represented by counsel, or has had the
opportunity to be represented by counsel, in connection with the negotiation of this Agreement
and the Transactions contemplated herein. Accordingly, any rule of law or any legal decision that


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would provide any Party with a defense to the enforcement of the terms of this Agreement against
such Party based upon lack of legal counsel shall have no application and is expressly waived.

                     24.   Independent Analysis.

        Each of the Consenting Stakeholders hereby confirms that it has made its own decision to
execute this Agreement based upon its own independent assessment of documents and information
available to it, as it deemed appropriate.

                     25.   Miscellaneous.

        (a)    Several, Not Joint, Claims. Except where otherwise specified, the agreements,
representations, warranties and obligations of the Parties under this Agreement are, in all respects,
several and not joint.

        (b)    Capacities of Consenting Lenders. Each Consenting Lender has entered into this
Agreement on account of all Company Claims/Interests that it holds (directly or through
discretionary accounts that it manages or advises) and, except where otherwise specified in this
Agreement, shall take or refrain from taking all actions that it is obligated to take or refrain from
taking under this Agreement with respect to all such Company Claims/Interests.

       (c)     Enforceability of Agreement. Each of the Parties to the extent enforceable waives
any right to assert that the exercise of termination rights under this Agreement is subject to the
automatic stay provisions of the Bankruptcy Code, and expressly stipulates and consents hereunder
to the prospective modification of the automatic stay provisions of the Bankruptcy Code for
purposes of exercising termination rights under this Agreement, to the extent the Bankruptcy Court
determines such relief is required.

         (d)     Public Announcements. Other than as may be required by applicable law and
regulation or by any governmental or regulatory authority, no Party shall disclose to any person
(including for the avoidance of doubt, any other Consenting Lender), other than legal, accounting,
financial and other advisors to the Company Parties (who are under obligations of confidentiality
to the Company Parties with respect to such disclosure, and whose compliance with such
obligations the Company Parties shall be responsible for), the principal amount or percentage of
the Company Claims/Interests held by any Consenting Lender or any of its respective subsidiaries
(including, for the avoidance of doubt, any Company Claims/Interests acquired pursuant to any
Transfer); provided, that the Company Parties shall be permitted to disclose at any time the
aggregate principal amount of, and aggregate percentage of, any class of Company
Claims/Interests held by the Consenting Lenders collectively. Notwithstanding the foregoing, the
Consenting Lenders hereby consent to the disclosure of the execution, terms and contents of this
Agreement by the Company Parties in the Definitive Documents or as otherwise required by law
or regulation; provided, that (a) if any of the Company Parties determines that they are required to
attach a copy of this Agreement or any Joinder Agreement to any Definitive Documents or any
other filing or similar document relating to the transactions contemplated hereby, they will redact
any reference to or concerning a specific Consenting Lender’s holdings of Company
Claims/Interests (including before filing any pleading with the Bankruptcy Court) and (b) if
disclosure of additional identifying information of any Consenting Lender is required by


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applicable law, advance notice of the intent to disclose, if permitted by applicable law, shall be
given by the disclosing Party to each Consenting Lender (who shall have the right to seek a
protective order prior to disclosure). The Company Parties further agree that such information
shall be redacted from “closing sets” or other representations of the fully executed Agreement or
any Joinder Agreement. Notwithstanding the foregoing, the Company Parties will submit to the
Consenting Revolver/Term A Loan Lenders’ Advisors and the Consenting Term B Loan Lenders’
Advisors all press releases, public filings, public announcements or other communications with
any news media, in each case, to be made by the Company Parties relating to this Agreement or
the Transactions contemplated hereby and any amendments thereof at least two (2) business days
(it being understood that such period may be shortened to the extent there are exigent
circumstances that require such public communication to be made to comply with applicable law)
in advance of release. Nothing contained herein shall be deemed to waive, amend or modify the
terms of any Confidentiality Agreement.

        (e)    Email Consents. Where a written consent, acceptance, approval or waiver is
required pursuant to or contemplated by this Agreement, including written approval by the
Company Parties or the Requisite Consenting Lenders, such written consent, acceptance, approval
or waiver shall be deemed to have occurred if, by agreement between counsel to the Parties
submitting and receiving such consent, acceptance, approval or waiver, it is conveyed in writing
(including electronic mail) between each such counsel without representation or warranties of any
kind of behalf of such counsel.

                     26.   Fees and Expenses.

        Subject to the terms of the Chapter 11 DIP Orders, the CCAA Initial Order, the CCAA
ARIO and any other applicable orders of the Bankruptcy Court and the Ontario Court (including
applicable notice and review procedures and periods required pursuant to the foregoing), the
Company Parties shall timely pay in full and in cash as and when invoiced all reasonable and
documented fees, costs and expenses related to the Transactions, the CCAA Proceedings, and the
Chapter 11 Case (including, for the avoidance of doubt, all reasonable and documented fees and
expenses incurred prior to the date hereof or following the Transaction Effective Date) of the
Consenting Revolver/Term A Loan Lenders’ Advisors and the Consenting Term B Loan Lenders’
Advisors; provided, that no Company Party shall be obligated to pay any such fees, costs and
expenses under this Section 26 to the extent such fees, costs and expenses are incurred after date
on which this Agreement is terminated. Subject to applicable law and applicable orders of the
Bankruptcy Court, the occurrence of each of the consummation of the CCAA Transaction and the
Plan Effective Date shall be conditioned upon and subject to the payment by the Chapter 11
Debtors of all reasonable and documented fees, costs and expenses of Akin Gump Strauss Hauer
& Feld LLP, Jackson Walker LLP, Friedman Kaplan Seiler Adelman & Robbins LLP, Alvarez &
Marsal North America, LLC, the Consenting Revolver/Term A Loan Lenders’ Advisors and the
Consenting Term B Loan Lenders’ Advisors, in each case, that are then due and owing after receipt
of applicable invoices. Notwithstanding anything to the contrary contained herein, the Parties
agree that in the event that an applicable Company Party (including any Chapter 11 Debtor) does
not have sufficient readily available funds to pay the amounts contemplated to be paid by this
Section 26, then such amounts will be paid prior to the distribution of any proceeds to the Lenders,
whether pursuant to the Combined DS and Plan, proceeds from the CCAA Transaction, any
applicable order with respect thereto, or otherwise.


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                              [Signature pages follow]




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        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
and delivered by their respective duly authorized officers, solely in their respective capacity as
officers of the undersigned and not in any other capacity, as of the date first set forth above.

                                                 COMPANY PARTIES:

                                                 LOYALTY VENTURES INC.


                                                 By:
                                                 Name: J. Jeffrey Chesnut
                                                 Title: Executive Vice President, Chief
                                                        Financial Officer


                                                 LOYALTYONE,, CO.


                                                 By:
                                                 Name: Shawn D. Stewart
                                                                  S
                                                 Title: President


                                                 LVI LUX HOLDINGS S.À R.L.


                                                 By:
                                                 Name: Cynthia L. Hageman
                                                 Title: Class A Manager


                                                 By:
                                                 Name: Stéphane Hepineuze
                                                 Title: Class B Manager




                      [Transaction Support Agreement Signature Page]
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                                 EXHIBIT A
                     AIR MILES TRANSACTION AGREEMENT




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                                                             Execution Version




                   ASSET PURCHASE AGREEMENT

                             LOYALTYONE, CO.

                                   as Seller

                                    - and -

                            BANK OF MONTREAL

                                   as Buyer



                                 March 9, 2023




THIS DOCUMENT SHALL BE KEPT CONFIDENTIAL PURSUANT TO THE TERMS
OF THE CONFIDENTIALITY AGREEMENT DATED FEBRUARY 22, 2023, ENTERED
INTO BY THE SELLER AND THE BUYER, WITH RESPECT TO THE SUBJECT
MATTER HEREOF.




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                                    ASSET PURCHASE AGREEMENT

THIS AGREEMENT is made as of March 9, 2023

B E T W E E N:

                   LOYALTYONE, CO., an unlimited company incorporated under the laws of
                   Nova Scotia,

                   (the “Seller”)

                   - and -

                   BANK OF MONTREAL, a Schedule I bank under the Bank Act (Canada),

                   (the “Buyer”)

RECITALS:

A.      The Seller: (i) operates end-to-end customer loyalty rewards programs (including the “AIR
        MILES®” rewards program) that help clients drive increased customer engagement and
        retention with their brands across Canada; and (ii) provides advertisers the ability to buy
        ad placements both on and off Seller’s digital platforms (collectively, the “Business”). The
        term “Business” shall also be deemed in this Agreement to include all business conducted
        by Travel Services.

B.      Subject to Court approval, the Seller will be indebted to Bank of Montreal (“BMO”, or the
        “DIP Lender”) under the DIP Term Sheet (as defined herein) in a maximum principal
        amount of up to $70,000,000, together with all interest, fees and costs incurred or accruing
        on or thereafter or relating thereto.

C.      The Buyer is the DIP Lender.

D.      The Seller intends to seek the Initial Order and the A&R Initial Order (both as defined
        below) from the Ontario Superior Court of Justice (Commercial List) (the “Court”) to
        obtain protection from its creditors under the Companies’ Creditors Arrangement Act,
        R.S.C. 1985, c. C-36, as amended (the “CCAA” and the “CCAA Proceedings”).

E.      The Seller will seek the SISP Order (as defined herein) in order to obtain Court approval
        of this Agreement as a “stalking horse bid” and the SISP (as defined herein).

F.      In the event that this Agreement is selected as the Successful Bid (as defined in the SISP
        Order) in accordance with the terms of the SISP, the Seller shall sell and the Buyer shall
        purchase the Business and substantially all of the Seller’s property and assets used in
        connection with the Business (except as specifically provided herein), and the Buyer shall
        assume certain liabilities in connection therewith, as set out herein.




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G.      The Seller has determined that it is in the best interests of the Seller and its stakeholders to
        enter into this Agreement and, subject to the Court approval and the terms of the SISP, to
        consummate the transactions contemplated herein on the terms set forth herein.

NOW THEREFORE in consideration of the mutual covenants and agreements contained in this
Agreement and other good and valuable consideration (the receipt and sufficiency of which are
acknowledged), the Parties agree as follows:

                                             ARTICLE 1
                                          INTERPRETATION

1.1     Definitions

        In this Agreement,

        (a)        “A&R Initial Order” means the amended and restated initial order of the Court
                   substantially in the form attached hereto as Schedule E, and as may be further
                   amended or restated from time to time, in each case in form and substance
                   acceptable to the Buyer and the Seller;

        (b)        “ABAC Laws” has the meaning given to such term in Section 4.24(b);

        (c)        “Adjustment Escrow Amount” has the meaning given to such term in Section
                   3.3(a);

        (d)        “Advance Ruling Certificate” means an advance ruling certificate issued by the
                   Commissioner pursuant to subsection 102(1) of the Competition Act in respect of
                   the Transaction, such advance ruling certificate having not been modified or
                   withdrawn prior to the Closing Time;

        (e)        “affiliate” of any Person means, at the time such determination is being made, any
                   other Person controlling, controlled by or under common control with such first
                   Person, in each case, whether directly or indirectly through one or more
                   intermediaries, and “control” and any derivation thereof means the control by one
                   Person of another Person in accordance with the following: a Person (“A”) controls
                   another Person (“B”) where A has the power to determine the management and
                   policies of B by contract or status (for example the status of A being the general
                   partner of B) or by virtue of beneficial ownership of a majority of the voting
                   interests in B; and, for certainty, if A owns shares to which are attached more than
                   50% of the votes permitted to be cast in the election of directors (or other Persons
                   performing a similar role) of B, then A controls B for this purpose;

        (f)        “Agency License” means all Permits and Licenses required in connection with the
                   operation of a travel agency, including in respect of the sale of travel insurance, in
                   the jurisdictions in which Travel Services conducts business;

        (g)        “Agreement” means this Asset Purchase Agreement and all attached Schedules,
                   and the Disclosure Letter, in each case as the same may be supplemented, amended,


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                   restated or replaced from time to time, and the expressions “hereof”, “herein”,
                   “hereto”, “hereunder”, “hereby” and similar expressions refer to this Agreement
                   and all attached Schedules and unless otherwise indicated, references to Articles,
                   Sections and Schedules are to Articles, Sections and Schedules in this Agreement;

        (h)        “Air Miles License Agreements” means the Amended and Restated License To
                   Use The Air Miles® Trade Marks In Canada dated as of July 24, 1998, between
                   Air Miles International Holdings N.V. and Loyalty Management Group Canada
                   Inc., and the Amended and Restated License To Use And Exploit The Air Miles®
                   Scheme In Canada dated as of July 24, 1998, between Air Miles International
                   Holdings N.V. and Loyalty Management Group Canada Inc., as they may be
                   amended from time to time;

        (i)        “Air Miles Program” means the AIR MILES® Reward Program operated by the
                   Seller in Canada;

        (j)        “AMEX Contract” means the Master Licensing, Co-Branding and Program
                   Participation Agreement between Loyalty Management Group Canada Inc. and
                   Amex Bank Canada dated January 1, 2006, as amended by product addendum no.
                   1 dated June 24, 2010, and as further amended by product addendum no. 3 dated
                   June 24, 2010, and as further amended by a product addendum no. 4 dated June 24,
                   2010, and as further amended by product addendum no. 2 dated October 7, 2011,
                   and as further amended by a letter amendment agreement dated May 31, 2012, and
                   as further amended by a second letter amendment agreement dated September 24,
                   2012, and as further amended by a third letter amendment agreement dated
                   November 26, 2012, and as further amended by an amending agreement dated
                   January 1, 2013, and as further amended by a product addendum no. 6 dated
                   September 24, 2013, and as further amended by a fourth letter amendment
                   agreement dated May 29, 2019, and as further amended by a second amending
                   agreement dated September 16, 2019, and as further amended by a fifth letter
                   amendment agreement dated December 16, 2020, and as further amended by a sixth
                   letter amendment agreement dated December 16, 2021, and as further amended by
                   a seventh letter amendment agreement dated February 10, 2022, and as further
                   amended by all other addendums and amendments thereto; the Corporate Charge
                   Card Agreement between Loyalty Management Group Canada Inc. and Amex
                   Bank of Canada March 8, 2004; and the Termination Letter from American Express
                   dated December 13, 2022;

        (k)        “AML Laws” means all Applicable Law concerning or related to money
                   laundering, corruption, bribery or financing terrorism including, but not limited to,
                   the Proceeds of Crime (Money Laundering) and Terrorist Financing Act (Canada);

        (l)        “AMs” means AIR MILES® Reward Miles issued to Collectors as part of and
                   pursuant to the Air Miles Program;

        (m)        “Applicable Law” means any domestic or foreign statute, law (including the
                   common law), directive, decree, code, ordinance, rule, regulation, restriction, by-


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                   law (zoning or otherwise), order (whether preliminary, interlocutory or Final), or
                   any consent, exemption, approval or License of any Governmental Authority,
                   including all guidelines and policies of federal and provincial Governmental
                   Authorities (whether or not having the force of law), that applies in whole or in part
                   to the Transaction, the Seller, the Buyer, Travel Services, the Business or any of
                   the Purchased Assets or Assumed Liabilities;

        (n)        “Approval and Vesting Order” means the approval and vesting order of the Court
                   substantially in the form attached as Schedule C to this Agreement;

        (o)        “Assumed Contracts” has the meaning given to such term in Section 2.1(b);

        (p)        “Assumed Employees” has the meaning given to such term in Section 8.10(c);

        (q)        “Assumed Liabilities” has the meaning given to such term in Section 2.3;

        (r)        “BMO” means Bank of Montreal;

        (s)        “BMO LCs” means all letters of credit issued by BMO for the benefit of the Seller;

        (t)        “BMO Sponsorship Agreement” means that certain Amended and Restated
                   Program Participation Agreement between LoyaltyOne and BMO dated as of
                   November 1, 2017, as amended;

        (u)        “Books and Records” has the meaning given to such term in Section 2.1(n);

        (v)        “Bread” has the meaning given to such term in Section 2.2(b);

        (w)        “Break Fee” has the meaning given to such term in Section 9.2;

        (x)        “Business” has the meaning given to such term in Recital A;

        (y)        “Business Day” means any day, other than a Saturday or Sunday, on which the
                   principal commercial banks in Toronto are open for commercial banking business
                   during normal banking hours;

        (z)        “Business IT Systems” has the meaning given to such term in Section 4.20(a);

        (aa)       “Buyer” has the meaning given to such term in the preamble to this Agreement;

        (bb)       “Cash Purchase Amount” has the meaning given to such term in Section 3.1;

        (cc)       “CASL” means the Canadian Anti-Spam Legislation enacted by way of An Act to
                   promote the efficiency and adaptability of the Canadian economy by regulating
                   certain activities that discourage reliance on electronic means of carrying out
                   commercial activities, and to amend the Canadian Radio-television and
                   Telecommunications Commission Act, the Competition Act, the Personal
                   Information Protection and Electronic Documents Act and the Telecommunications
                   Act, S.C. 2010, c. 23, as amended;

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        (dd)       “CCAA” has the meaning given to such term in Recital D;

        (ee)       “CCAA Proceedings” has the meaning given to such term in Recital D;

        (ff)       “Chapter 11 Cases” means those cases commenced under Chapter 11 of Title 11
                   of the United States Code by LVI and certain of its affiliates in the United States
                   Bankruptcy Court for the Southern District of Texas;

        (gg)       “Claims” has the meaning given to such term in Section 8.13;

        (hh)       “Closing” means the completion of the Transaction at the Closing Time;

        (ii)       “Closing Date” means: (i) the date that is three (3) Business Days following the
                   day on which the last of the conditions to Closing set out in Article 7 (other than
                   those conditions that by their nature can only be satisfied as of the Closing Date,
                   but assuming the satisfaction or waiver of such conditions on the Closing Date, as
                   applicable) has been satisfied or waived by the appropriate Party; or (ii) such later
                   date as the Parties may agree in writing, acting reasonably;

        (jj)       “Closing Documents” means all contracts, agreements and instruments required
                   by this Agreement to be delivered at or before the Closing, including: (i) this
                   Agreement; and (ii) an agreement setting out the Parties’ allocation of the Purchase
                   Price in accordance with Section 3.5;

        (kk)       “Closing Statement” has the meaning given to such term in Section 3.4(a);

        (ll)       “Closing Time” means 12:01 a.m. (Toronto time) on the Closing Date or such other
                   time on the Closing Date as the Parties agree in writing that the Closing Time shall
                   take place;

        (mm) “Collecting Party” has the meaning given to such term in Section 8.9(c);

        (nn)       “Collective Agreements” has the meaning given to such term in Section 4.18(a);

        (oo)       “Collector” means any Person participating or enrolled in the Air Miles Program
                   for whom the Seller maintains or is under an obligation to maintain an account
                   relating to or in respect of AMs;

        (pp)       “Collector Account” means each account established and maintained, or required
                   to be established and maintained, by the Seller pursuant to an agreement with a
                   Collector under the Air Miles Program;

        (qq)       “Collector Data” means the following as and to the extent applicable and relating
                   to the Collector Accounts and maintained, possessed or controlled, whether directly
                   or indirectly through third party service providers, by the Seller:




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                    (i)     the files and information reflected on the data processing system maintained
                            or used by the Seller to process and service the Collector Accounts, to the
                            extent relating to or in respect of the Collector Accounts;

                    (ii)    the historical reflection of the files and information referred to in clause (i),
                            in whatever medium such files and information are stored;

                    (iii)   all correspondence between the Seller or its affiliates and any Collectors,
                            and all customer service and collections correspondence, notes and other
                            documentation;

                    (iv)    to the extent authorized by Applicable Law, all correspondence with
                            Governmental Authorities relating to any Collector complaints and
                            compliance with Applicable Laws;

                    (v)     all Collector applications, documentation and correspondence with past or
                            current Collectors, personal information of past or current Collectors,
                            Collector agreements, documentation of finance and other charges, and
                            credit, redemption and payment history with respect to the Collector
                            Accounts, and electronic statements of historical credit, redemption and
                            payment activity; and

                    (vi)    any other written records or materials of whatever form or nature
                            (excluding, however, electronic media but including the information
                            contained therein) arising from or relating to any of the foregoing to the
                            extent related to a Collector Account;

        (rr)       “Commissioner” means the Commissioner of Competition appointed under the
                   Competition Act or any Person duly authorized to exercise powers of the
                   Commissioner of Competition;

        (ss)       “Competition Act” means the Competition Act, R.S.C., 1985, c. C-34, as amended,
                   and the regulations promulgated thereunder;

        (tt)       “Competition Act Approval” means that: (i) the Commissioner shall have issued
                   an Advance Ruling Certificate; (ii) both of: (A) the applicable waiting period under
                   section 123 of the Competition Act shall have expired or been waived by the
                   Commissioner, or the obligation to submit a notification shall have been waived
                   under paragraph 113(c) of the Competition Act; and (B) the Commissioner shall
                   have issued a No Action Letter; or (iii) at the election of the Buyer only, the waiting
                   period, including any extension of such waiting period, under section 123 of the
                   Competition Act shall have expired or been terminated.

        (uu)       “Conditions Certificates” has the meaning given to that term in Section 7.4;

        (vv)       “Confidential Information” means all non-public, confidential, personal or
                   proprietary information, documents or materials (in every form and media) relating
                   to the Business and/or the Purchased Assets;


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        (ww) “Confidentiality Agreement” means that certain confidentiality agreement dated
             February 22, 2023, between an affiliate of the Buyer and the Seller;

        (xx)       “Consents and Approvals” means the consents, approvals, Permits and Licenses,
                   notifications or waivers from, and filings with, third parties (including any
                   Governmental Authority) as may be required in connection with or to complete the
                   Transaction, in form and substance satisfactory to the Buyer, acting reasonably, as
                   set forth in Schedule A, which Schedule A shall be updated in accordance with
                   Section 2.5;

        (yy)       “Contracts” means contracts, licenses, deeds, leases, agreements, commitments,
                   entitlements or engagements to which the Seller or Travel Services is a party or by
                   which the Seller or Travel Services is bound;

        (zz)       “Court” means the Ontario Superior Court of Justice (Commercial List);

        (aaa)      “Credit Agreement” means the credit agreement among LVI, Brand Loyalty
                   Group B.V., Brand Loyalty Holding B.V., and Brand Loyalty International B.V. as
                   the Borrowers, LVI and certain subsidiaries of LVI, as Guarantors., Bank of
                   America, N.A., as Administrative Agent, Swing Line Lender and an L/C Issuer,
                   and the other Lenders party thereto, and Bank of America., N.A., Deutsche Bank
                   Securities, MUFG Bank, Ltd., RBC Capital Markets, LLC, Morgan Stanley Senior
                   Funding., Inc., Regions Capital Markets, A Division of Regions Bank, Citizens
                   Bank, National Association, Fifth Third Bank, National Association, Trust
                   Securities, Inc., Wells Fargo Securities, LLC, Mizuho Bank, Ltd., JPMorgan Chase
                   Bank, N.A., and Texas Capital Bank, as Joint Lead Arrangers and Joint
                   Bookrunners, dated as of November 3, 2021, as amended by Amendment No. 1 to
                   Credit Agreement (Financial Covenant) dated as of July 29, 2022 and by Consent
                   dated as of March 1, 2023, as may be amended, restated, supplemented, or
                   otherwise modified from time to time;

        (bbb) “Cure Cap” means $10,000,000;

        (ccc)      “Cure Cap Adjustment” means: (i) if the aggregate amount of the Cure Costs
                   exceeds the Cure Cap, the amount of that excess; or (ii) if the aggregate amount of
                   the Cure Costs is less than or equal to the Cure Cap, nil;

        (ddd) “Cure Costs” means the aggregate of: (i) if an Assumed Contract is assigned to the
              Buyer pursuant to section 11.3 of the CCAA, the amounts, if any, that are required
              to be paid to cure any monetary defaults of the Seller as of the Closing Time under
              such Assumed Contract; or (ii) if an Assumed Contract is not assigned pursuant to
              section 11.3 of the CCAA, the amounts, if any, payable to cure any monetary
              defaults in respect of such Assumed Contract;

        (eee)      “Cure Costs Schedule” has the meaning given to such term in Section 2.5(e);

        (fff)      “Data Breach” means any confirmed or reasonably suspected loss or theft of, or
                   unauthorized or unlawful Processing of, Personal Information;

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        (ggg) “Data Security Requirements” means, collectively, all of the following to the
              extent relating to Processing of Personal Information and applicable to Purchased
              Assets or the Business: (i) the Seller’s and Travel Services’ own rules, policies, and
              procedures relating to privacy, data protection or cybersecurity; (ii) Applicable
              Laws and requirements of any Governmental Authority relating to privacy, data
              protection or cybersecurity; and (iii) Contracts to which the Seller or Travel
              Services is bound relating to the Processing of Personal Information under the
              Seller’s or Travel Services’ control;

        (hhh) “DIP Facility” means the debtor-in-possession credit facility to be made available
              and advanced by BMO to the Seller pursuant to the DIP Term Sheet;

        (iii)      “DIP Lender” has the meaning given to such term in Recital B;

        (jjj)      “DIP Term Sheet” means the term sheet expected to be dated as of March 10, 2023
                   between the DIP Lender and the Seller providing for the DIP Facility;

        (kkk) “Disclosure Letter” means the letter entitled “Disclosure Letter” delivered by the
              Seller to the Buyer on the date hereof;

        (lll)      “Disputed Items” has the meaning given to such term in Section 3.4(d);

        (mmm)“Draft Closing Statement” has the meaning given to such term in Section 3.4(a);

        (nnn) “Employee Plans” means all oral or written plans, arrangements, agreements,
              programs, policies, practices or undertakings, with the exception of statutory or
              government sponsored plans, with respect to the Assumed Employees of the Seller
              or the beneficiaries or dependents of any such Assumed Employees to which the
              Seller is a party to or bound by or to which the Seller has an obligation to contribute
              relating to:

                   (i)     bonus, profit sharing or deferred profit sharing, performance compensation,
                           deferred or incentive compensation, share compensation, share purchase or
                           share option purchase, share appreciation rights, phantom stock, employee
                           loans, or any other compensation or perquisites (including vehicles) in
                           addition to salary or wages;

                   (ii)    retirement or retirement savings, including registered or unregistered
                           pension plans, pensions, supplemental pensions, registered retirement
                           savings plans and retirement compensation arrangements;

                   (iii)   insured or self-insured benefits for or relating to income continuation or
                           other benefits during absence from work (including short-term disability,
                           long-term disability and workers compensation), hospitalization, health,
                           welfare, legal costs or expenses, medical or dental treatments or expenses,
                           life insurance, accident, death or survivor’s benefits, vacation or vacation
                           pay, sick pay, supplementary employment insurance, day care, tuition or



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                           professional commitments or expenses or similar employment benefits and
                           post-employment benefits; or

                   (iv)    any plans, programs, or practices similar to the foregoing,

                   but excluding any statutory benefit plans that the Seller is required to participate
                   in or comply with, including the Canada and Quebec Pension Plans and plans
                   administered pursuant to applicable health tax, workplace safety insurance and
                   employment insurance legislation;

        (ooo) “Employee Plans (Travel Services)” means all oral or written plans,
              arrangements, agreements, programs, policies, practices or undertakings, with the
              exception of statutory or government sponsored plans, with respect to the
              employees of Travel Services or the beneficiaries or dependents of any such
              employees to which Travel Services is a party to or bound by or to which Travel
              Services has an obligation to contribute relating to:

                   (i)     bonus, profit sharing or deferred profit sharing, performance compensation,
                           deferred or incentive compensation, share compensation, share purchase or
                           share option purchase, share appreciation rights, phantom stock, employee
                           loans, or any other compensation or perquisites (including vehicles) in
                           addition to salary;

                   (ii)    retirement or retirement savings, including registered or unregistered
                           pension plans, pensions, supplemental pensions, registered retirement
                           savings plans and retirement compensation arrangements;

                   (iii)   insured or self-insured benefits for or relating to income continuation or
                           other benefits during absence from work (including short-term disability,
                           long-term disability and workers compensation), hospitalization, health,
                           welfare, legal costs or expenses, medical or dental treatments or expenses,
                           life insurance, accident, death or survivor’s benefits, vacation or vacation
                           pay, sick pay, supplementary employment insurance, day care, tuition or
                           professional commitments or expenses or similar employment benefits and
                           post-employment benefits; or

                   (iv)    any plans, programs, or practices similar to the foregoing,

                   but excluding any statutory benefit plans that Travel Services is required to
                   participate in or comply with, including the Canada and Quebec Pension Plans and
                   plans administered pursuant to applicable health tax, workplace safety insurance
                   and employment insurance legislation;

        (ppp) “Employees” has the meaning given to that term in Section 8.10(a);

        (qqq) “Encumbrance” means:




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                   (i)     any security interest, debenture, lien (statutory or other), deemed trust, prior
                           claim, charge, consignment, deed of trust, hypothec, hypothecation,
                           assignment (as security), deposit arrangement, reservation of ownership,
                           pledge, encumbrance, mortgage, royalty interest, defect of title or adverse
                           claim of any nature or kind;

                   (ii)    the interest of a vendor or a lessor under any conditional sale agreement,
                           capital or financial lease, or title retention agreement having substantially
                           the same economic effect as any of the foregoing, relating to any property;

                   (iii)   any purchase option, call or similar right of a third party in respect of
                           securities; and

                   (iv)    any other arrangement having the effect of creating a lien or security
                           interest;

        (rrr)      “Environmental Law” means any Applicable Law concerning pollution or
                   protection of the environment, protection of human health or safety, including all
                   those relating to the use, production, generation, handling, transportation,
                   treatment, storage, disposal, distribution, labeling, testing, processing, discharge,
                   release, threatened release, control or clean-up of any hazardous material;

        (sss)      “Escrow Agreement” means the escrow agreement to be entered into between the
                   Seller, the Buyer and the Monitor on or before the Closing Date;

        (ttt)      “Estimate” has the meaning given to such term in Section 3.2;

        (uuu) “Estimated Cash Purchase Amount” shall be: (i) $160,000,000; less (ii) the
              amount by which the Estimated Value of the Reserve Fund is less than the
              Estimated Required Reserve Amount; less (iii) the Estimated Trade Creditor
              Amount; less (iv) the Estimated Cure Cap Adjustment;

        (vvv) “Estimated Purchase Price” shall be: (i) the Estimated Cash Purchase Amount;
              plus (ii) the amount of the Assumed Liabilities as of the Closing Time;

        (www) “Estimated Reserve Deficiency” means the Estimated Required Reserve Amount
              less the Estimated Value of the Reserve Fund;

        (xxx) “Estimated Value of the Reserve Fund” has the meaning given to such term in
              Section 3.2;

        (yyy) “Excluded Assets” has the meaning given to such term in Section 2.2;

        (zzz)      “Excluded Cash” has the meaning given to such term in Section 2.2;

        (aaaa) “Excluded Claims” has the meaning given to such term in Section 2.4(j);

        (bbbb) “Excluded Contracts” has the meaning given to such term in Section 2.4(d);


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        (cccc) “Excluded Liabilities” has the meaning given to such term in Section 2.4;

        (dddd) “Expense Reimbursement” has the meaning given to such term in Section 9.2;

        (eeee) “Expense Reimbursement and Break Fee Charge” has the meaning given to
               such term in Section 9.2;

        (ffff)     “FACFOA” has the meaning given to such term in Section 4.24(b);

        (gggg) “Final” with respect to any order of any court of competent jurisdiction, means
               that: (i) such order shall not have been stayed, appealed, varied (except with the
               consent of the Buyer and Seller) or vacated, and all time periods within which such
               order could at law be appealed shall have expired; or (ii) such order is no longer the
               subject of any continuing proceedings seeking to stay, appeal, vary (except with the
               consent of the Buyer and the Seller) or vacate such order, all such proceedings
               having been discontinued, denied, dismissed, and otherwise unsuccessfully
               concluded, and the time for appealing or further appealing the disposition of such
               proceedings shall have expired;

        (hhhh) “Final Closing Date Amount” means the Cash Purchase Amount, as calculated
               pursuant to the Closing Statement;

        (iiii)     “Final Required Reserve Amount” means the Required Reserve Amount, as
                   finally determined pursuant to Section 3.4(c), (d) and/or (e);

        (jjjj)     “Final Reserve Deficiency” means the value of the Reserve Deficiency, as finally
                   determined pursuant to Section 3.4(c), (d) and/or (e);

        (kkkk) “Final Trade Creditor Amount” means the Trade Creditor Amount, as finally
               determined pursuant to Section 3.4(c), (d) and/or (e);

        (llll)     “Final Value of the Reserve Fund” means the Value of the Reserve Fund, as
                   finally determined pursuant to Section 3.4(c), (d) and/or (e);

        (mmmm)     “Financial Statements” means the internally prepared balance sheet and
            income statement of the Seller dated as of the Financial Statements Date attached
            as Schedule G to this Agreement;

        (nnnn) “Financial Statements Date” means February 28, 2023;

        (oooo) “Fundamental Representations (Buyer)” means the representations and
               warranties made by the Buyer in Sections: (i) 5.1 (Incorporation and Status); (ii)
               5.4 (Approvals and Consents);

        (pppp) “Fundamental Representations (Seller)” means the representations and
               warranties made by the Seller in Sections: (i) 4.1 (Incorporation and Status); (ii)
               4.2 (Due Authorization and Enforceability of Obligations); (iii) 4.3 (Right to Sell,
               and Title to, Purchased Assets); (iv) 4.4 (Validity of and Compliance with Reserve


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                   Agreement); (v) 4.9 (Approvals and Consents); (vi) 6.1 (Incorporation and Status);
                   and (vii) 6.2 (Capitalization);

        (qqqq) “Governmental Authority” means any government, regulatory authority,
               governmental department, agency, commission, bureau, court, judicial body,
               arbitral body or other law, rule or regulation-making entity, including any Taxing
               Authority:

                   (i)    having jurisdiction over the Seller, the Buyer, Travel Services, the
                          Purchased Assets or the Assumed Liabilities on behalf of any country,
                          province, state, locality or other geographical or political subdivision
                          thereof; or

                   (ii)   exercising or entitled to exercise any administrative, judicial, legislative or
                          regulatory power;

        (rrrr)     “HST” means all goods and services tax and harmonized sales tax imposed under
                   the HST Legislation, and any provincial, territorial or foreign legislation imposing
                   a similar value added or multi-staged tax;

        (ssss) “HST Legislation” means Part IX of the Excise Tax Act, R.S.C., 1985, c. E-15, and
               any corresponding provincial legislation, in each case as amended;

        (tttt)     “IFRS” means International Financial Reporting Standards;

        (uuuu) “Individual Travel Agent” means a Person who engages in the business or
               occupation of selling or otherwise providing, to the public, travel services supplied
               by another Person on behalf of Travel Services or in connection with the Business;

        (vvvv) “Individual Travel Agent License” means a license to engage in the business or
               occupation of Individual Travel Agent;

        (wwww)      “Initial Order” means the initial order of the Court substantially in the form
             attached hereto as Schedule D;

        (xxxx) “Insolvency Proceedings” means any action, application, petition, suit or other
               proceeding under any bankruptcy, receivership arrangement, reorganization,
               dissolution, liquidation, insolvency, winding-up or similar law of any jurisdiction
               now or hereafter in effect, for the relief from or otherwise affecting creditors of the
               Seller, including under the Bankruptcy and Insolvency Act, R.S.C., 1985, c. B-3, as
               amended (including the filing of a notice of intention to make a proposal), the
               CCAA (including the CCAA Proceedings), the Winding-up and Restructuring Act,
               R.S.C., 1985, c. W-11, as amended, or the United States Bankruptcy Code by,
               against, or in respect of the Seller;

        (yyyy) “Insurance Policies” has the meaning given thereto in 4.16;

        (zzzz) “Intellectual Property” has the meaning given to such term in Section 2.1(j);


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        (aaaaa) “Intercompany DIP” has the meaning given to such term in Section 2.1(r);

        (bbbbb)        “Inventory” has the meaning given to such term in Section 2.1(f);

        (ccccc) “Investment” means any intangibles, documents of title, instruments, investment
                property, or other assets or property of the Seller, including, without limitation: (i)
                negotiable or transferable money market instruments, in bearer form, or in
                registered form and registered in the name of RBC Investor Services Trust; (ii)
                instruments in registered form registered in the name of RBC Investor Services
                Trust and representing deposit obligations (including, without limitation,
                certificates of deposit, guaranteed investment certificates, deposit receipts or
                evidence of demand deposits); (iii) letters of credit, guarantees or similar
                obligations of any bank, trust company, loan company or other financial institution;
                and (iv) the benefit of any security interest in favour of Seller in any monies and/or
                in any investments;

        (ddddd)        “Investment Canada Act” means the Investment Canada Act, R.S.C. 1985,
               C. 29 (1st Supp.), as amended and the regulations promulgated thereunder;

        (eeeee) “Key Employee Retention Agreements” means key employee retention and
                bonus arrangements set out in Section 1.1(eeeee) of the Disclosure Letter;

        (fffff) “knowledge of the Seller” or “the Seller’s knowledge” shall mean the knowledge
                of Shawn Stewart, Jeff Chesnut, Jeff Fair, Jack Taffe, Dimitri Benak and Laura
                Santillan of the Seller after reasonable inquiry;

        (ggggg)        “L/C” has the meaning given to such term in Section 8.16;

        (hhhhh)        “Leased Real Property” means all real property used in connection with
               the Business in which the Seller or Travel Services has a valid leasehold interest or
               sub-leasehold interest pursuant to the Real Property Lease, as set out in Section
               4.21 of the Disclosure Letter;

        (iiiii) “Legal Proceedings” has the meaning given to such term in Section 4.25;

        (jjjjj) “Licensed Air Miles IP” means the rights (including intellectual property rights)
                licensed to the Seller under the Air Miles License Agreements;

        (kkkkk)        “LVI” means Loyalty Ventures, Inc.;

        (lllll) “LVI Promissory Note” has the meaning given to such term in Section 2.1(r);

        (mmmmm) “Material Adverse Change” or “Material Adverse Effect” means any
            change, development, effect, event, circumstance, fact or occurrence that,
            individually or in the aggregate with such other changes, developments, effects,
            events, circumstances, facts or occurrences, is, or would reasonably be expected to
            be, material and adverse to: (A) the operations or results of operations of the
            Business, the Purchased Assets and the Assumed Liabilities; other than any change,


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                   development, effect, event, circumstance, fact or occurrence arising out of,
                   attributable to or resulting from: (i) any action expressly required by this
                   Agreement, the CCAA Proceedings or the SISP; (ii) general political, economic or
                   financial conditions in Canada or elsewhere in the world; (iii) any change generally
                   affecting the industries in which the Business is conducted (including changes in
                   prices, costs of materials, labor, or shipping, general market prices, or regulatory
                   changes in any such industry); (iv) acts of terrorism or war (whether or not
                   declared); (v) any changes to existing Applicable Law (including the interpretation
                   thereof); (vi) any changes to IFRS or the adoption, implementation or proposal of
                   any new accounting principles; (vii) hurricanes, earthquakes, storms, floods or
                   other natural disasters, epidemics, pandemics, outbreak or escalation of hostilities,
                   the declaration of war, acts of terrorism, or acts of God; (viii) any action consented
                   to in writing by the Buyer; or (ix) any change in the operations or results of
                   operations of the Business, the Purchased Assets and the Assumed Liabilities
                   following the public announcement of the CCAA Proceedings or the Transaction,
                   including any increase in Collector redemption cadence following such public
                   announcement; provided that any change, development, effect, event,
                   circumstance, fact or occurrence referred to in clauses (ii), (iii), (iv), (v), (vi) or (vii)
                   shall be taken into account in determining whether a Material Adverse Change has
                   occurred or would reasonably be expected to occur to the extent that such change,
                   development, effect, event, circumstance, fact or occurrence has a disproportionate
                   effect on the Business, the Purchased Assets, the Assumed Liabilities and/or Travel
                   Services compared to other participants in the industries in which the Seller and/or
                   Travel Services, as applicable, conducts the Business; or (B) the ability of the Seller
                   to timely consummate the Transaction and the related Closing Documents or
                   perform its obligations under the Transaction or the Closing Documents;

        (nnnnn)             “Material Contracts” means:

                    (i)     each Contract with a Material Customer including, for certainty, that certain
                            Program Participation Agreement dated October 1, 2022 between the Seller
                            and Shell Canada Products and that certain Program Participation
                            Agreement dated July 1, 2022 between the Seller and Metro Ontario Inc.;

                    (ii)    each Contract with a Material Supplier;

                    (iii)   each Contract relating to the sale of goods, or the provisions of any services
                            by, the Seller or Travel Services involving aggregate consideration in
                            excess of $350,000 and that, in each case, cannot be cancelled by the Seller
                            or Travel Services without penalty or by giving less than 90 days' notice;

                    (iv)    each Contract that requires the Seller or Travel Services to purchase their
                            total requirements of any product or service from a third party or that
                            contain "take or pay" provisions;

                    (v)     each Contract relating to or requiring the acquisition or disposition by the
                            Seller or Travel Services of any business, division or product line (including


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                          any material asset of the Business) or the capital stock of any other Person,
                          in each case pursuant to which any earn-outs or deferred, contingent
                          purchase price or material indemnification obligations or any other
                          obligations of the Seller or Travel Services remain outstanding;

                   (vi)   each Contract providing for the incurrence, assumption, surety or guarantee
                          of, or that relate to evidence of, any of outstanding indebtedness as of the
                          date of this Agreement or the making of any outstanding loans as of the date
                          of this Agreement;

                   (vii) each Contract with any Governmental Authority to which the Seller or
                         Travel Services is a party;

                   (viii) each Contract: (A) containing a covenant expressly limiting in any material
                          respect the freedom of the Seller or Travel Services (or that would limit in
                          any material respect the freedom of the Buyer after the Closing) to engage
                          in any business with any Person or to compete with any Person in any
                          geographic area or during any period of time, other than Contracts
                          containing customary non-solicitation and no-hire provisions entered into
                          in the Ordinary Course; (B) expressly limiting in any material respect the
                          ability of the Seller or Travel Services to incur indebtedness for borrowed
                          money; (C) obligating the Seller or Travel Services to purchase or otherwise
                          obtain any product or service exclusively from a single party or sell any
                          product or service exclusively to a single party; or (D) containing any
                          provision that grants any Person a right of first refusal, first offer or similar
                          right to purchase any right, asset or property of the Seller or Travel Services;
                          or any equity interest in Travel Services;

                   (ix)   the Air Miles License Agreements, along with each other Contract pursuant
                          to which the Seller or Travel Services have provided funds to or made any
                          loan, capital contribution or other investment in, or assumed any liability or
                          obligation of, any Person, including take-or-pay contracts or keepwell
                          agreements;

                   (x)    each Contract providing for indemnification by the Seller or Travel Services
                          of any Person with respect to Claims relating to the Business or the
                          Purchased Assets other than Contracts with customers and suppliers entered
                          into in the Ordinary Course;

                   (xi)   each Contract to sell, lease or otherwise dispose of any material asset of the
                          Business (other than in the Ordinary Course) that have obligations that have
                          not been satisfied or performed;

                   (xii) each Contract with any labor union, works council, employee association,
                         trade union, or other similar employee representative body or employee
                         committee;



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                   (xiii) each Contract that obligates the Seller or Travel Services to make any
                          capital expenditure or investment in excess of $100,000;

                   (xiv) each Contract that includes a sale or retention bonus or similar payment,
                         commitment or arrangement that will be triggered by the Transaction other
                         than the Key Employee Retention Agreements;

                   (xv) each Contract relating to Travel Services that requires a consent to or
                        otherwise contain a provision relating to a “change of control,” or that
                        would prohibit or delay the consummation of the Transaction;

                   (xvi) each Contract reflecting a settlement of any threatened or pending Legal
                         Proceedings or Claim that has obligations of Seller or Travel Services that
                         have not been satisfied or performed, other than releases entered into with
                         former employees or independent contractors of the Seller or Travel
                         Services, on an individual (and not class or collective basis), in the Ordinary
                         Course in connection with the routine cessation of such employee’s or
                         independent contractor’s employment with the Seller or Travel Services;

                   (xvii) each operating lease (as lessor or lessee) of tangible personal property (other
                          than any such lease calling for payments of less than $100,000 per year);

                   (xviii) each Contract that results in any Person holding a power of attorney from
                           the Seller or Travel Services that relates to the Business or the Purchased
                           Assets;

                   (xix) the Air Miles License Agreements, along with each other Contract to which
                         the Seller or Travel Services is a named party and: (A) licenses in
                         Intellectual Property exclusively or for consideration in excess of $100,000;
                         or (B) licenses out exclusively or for Intellectual Property for consideration
                         in excess of $100,000, in each case, other than ordinary course non-
                         exclusive license agreements, non-exclusive customer agreements, non-
                         disclosure agreements, and/or agreements for generally commercially
                         available “off-the-shelf’ software that is licensed on standard and non-
                         negotiable commercial terms;

                   (xx) each Contract to which the Seller or Travel Services is a party that provide
                        for: (A) any joint venture, partnership or similar arrangement by the Seller
                        or Travel Services; and/or (B) mergers, asset or stock purchases or
                        divestitures that are material to the Business; and

                   (xxi) each shareholder agreement, pooling agreement, voting trust or similar
                         agreement with respect to the ownership or voting of any of the Travel
                         Services Shares or restriction of the power of the directors of the Seller or
                         Travel Services to manage, or supervise the management of, the business
                         and affairs of the Seller or Travel Services;




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        (ooooo)        “Material Customers” has the meaning given to such term in Section
               4.15(a);

        (ppppp)       “Material Permits and Licenses” means any Permit and License that is
               material to the Seller, Travel Services, or the Business;

        (qqqqq)       “Material Suppliers” has the meaning given to such term in Section
               4.15(b);

        (rrrrr) “Monitor” means KSV Restructuring Inc. in its capacity as monitor in the CCAA
                Proceedings, as contemplated to be appointed by the Court under the Initial Order;

        (sssss) “Monitor’s Certificate” means the certificate, substantially in the form to be
                attached as Schedule “A” to the Approval and Vesting Order, to be delivered by
                the Monitor to the Seller and the Buyer in accordance with Section 7.4, and
                thereafter filed by the Monitor with the Court;

        (ttttt) “No Action Letter” means written confirmation from the Commissioner that the
                Commissioner does not, at that time, intend to make an application under section
                92 of the Competition Act in respect of the Transaction, such written confirmation
                having not been modified or withdrawn prior to the Closing Time;

        (uuuuu)        “Notice of Arbitration” has the meaning given to such term in Section
               3.4(e);

        (vvvvv)        “Notice of Objection” has the meaning given to such term in Section 3.4(c);

        (wwwww)        “OFAC” has the meaning given to such term in Section 4.24(b);

        (xxxxx)        “Ordinary Course”, when used in relation to the conduct of the Business,
               means any transaction that constitutes an ordinary day-to-day business activity of
               the Seller or Travel Services, as applicable, conducted in a manner consistent with
               the Seller’s or Travel Services’, as applicable, past practice in respect of the
               Business since November 3, 2021, and, with respect to transactions that occur from
               and after the date of the Initial Order to and including the Closing Date, shall also
               mean in accordance with the DIP Agreement Cash Flow Projection (as that term is
               defined in the DIP Term Sheet);

        (yyyyy)        “Organizational Documents” means any trust document, charter,
               certificate or articles of incorporation or amalgamation, articles of amendment,
               articles of association, articles of organization, articles of continuance, bylaws, as
               amended, partnership agreement or similar formation or governing documents of a
               Person (excluding individuals);

        (zzzzz) “Outside Date” means June 30, 2023; provided that: (i) the Parties may at any time
                extend the Outside Date by written agreement; and (ii) if the Closing Date has not
                occurred by such date solely as a result of the failure to satisfy any of the conditions
                set forth in Section 7.1(g), then either Party may elect by notice in writing delivered


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                   to the other Party by no later than the date that is three Business Days before such
                   date, to extend the Outside Date up to two times by 45 day increments for a
                   maximum of 90 days;

        (aaaaaa)       “Parties” means the Seller and the Buyer together, and “Party” means
               either the Seller or the Buyer;

        (bbbbbb)      “Permits and Licenses” has the meaning given to such term in Section
              2.1(o);

        (cccccc)           “Permitted Encumbrances” means all:

                   (i)     Encumbrances in respect of the Reserve Agreement and the Security
                           Agreement;

                   (ii)    Encumbrances with respect to trust accounts required to be maintained by
                           or for Travel Services under Applicable Law of the provincial travel and
                           insurance regulators;

                   (iii)   Encumbrances contained within any Assumed Contracts in favour of the
                           counterparties to such Assumed Contracts;

                   (iv)    To the extent not included in the Encumbrances listed in clause (ii) above
                           of this definition of “Permitted Encumbrances”, normal and customary
                           rights of setoff or compensation upon deposits in favour of depository
                           institutions, and liens of a collecting bank on cheques and other payments
                           in the course of collection;

                   (v)     Encumbrances associated with, and financing statements evidencing, the
                           rights of equipment lessors under any of the Personal Property Leases that
                           are registered under the PPSA;

                   (vi)    Encumbrances in favour of the DIP Lender;

                   (vii) the right reserved to or vested in any municipality or government, or to any
                         statutory or public authority, by the terms of any lease, license, franchise,
                         grant or permit required by the Seller or any statutory provision to terminate
                         any such lease, license, franchise, grant or permit, or to require annual or
                         other periodic payments as a condition to the continuance thereof; and

                   (viii) Encumbrances listed in Section 1.1(cccccc) of the Disclosure Letter;

        (dddddd)       “Person” means any individual, partnership, limited partnership, limited
              liability company, joint venture, syndicate, sole proprietorship, company or
              corporation with or without share capital, unincorporated association, trust, trustee,
              executor, administrator or other legal personal representative, Governmental
              Authority or other entity however designated or constituted;



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        (eeeeee)       “Personal Information” means any information: (i) about an identified or
               identifiable individual, including without limitation Collectors and Employees; or
               (ii) that constitutes “personal information” under Applicable Laws relating to
               privacy or data protection;

        (ffffff) “Personal Property Leases” has the meaning given to such term in Section 2.1(i);

        (gggggg)       “Post-Closing Claims” means Claims (other than the Assigned Claims)
              and orders (including injunctions, judgments, administrative complaints, decrees,
              rulings, awards, assessments, directions, instructions, penalties or sanctions issued,
              filed or imposed by any Governmental Authority or arbitrator and includes remedial
              orders), assessments or reassessments and judgments flowing from any past,
              current or future Legal Proceedings, contingent or otherwise, whether liquidated or
              unliquidated, matured or unmatured, disputed or undisputed, contractual, legal or
              equitable, or tort, arising from or in relation to any facts, circumstances, events or
              occurrences existing or arising from and after the Closing Date, in in respect of or
              relating to the Purchased Assets and the Assumed Liabilities;

        (hhhhhh)      “Post-Closing Tax Period” means a Taxation year or other fiscal period
              that begins at or after the Closing Time and, with respect to a Tax Straddle Period,
              the portion of such taxation year or period beginning at the Closing Time;

        (iiiiii) “PPSA” means the Personal Property Security Act, R.S.O. 1990, c. P.10, as
                 amended;

        (jjjjjj) “Pre-Closing Tax Period” means a Taxation year or other fiscal period that ends
                 on or before the Closing Time;

        (kkkkkk)      “Processed” or “Processing” means the collection, use, retention or
              disclosure, of any Personal Information or confidential information (whether in
              electronic or any other form or medium);

        (llllll) “Purchase Price” has the meaning given to such term in Section 3.1;

        (mmmmmm) “Purchased Assets” has the meaning given to such term in Section 2.1;

        (nnnnnn)      “QST” means the Québec sales tax payable under an Act respecting Québec
              sales tax (Québec);

        (oooooo)       “RBC” means RBC Investor Services Trust;

        (pppppp)     “RBC Accounts” means the bank accounts at RBC Investor & Treasury
              Services held in the name of the Seller and bearing account numbers: 116462003
              and 116462005;

        (qqqqqq)     “Real Property” means all real or immoveable property, and all plants,
              buildings, structures, improvements, appurtenances and fixtures (including fixed



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                   machinery and fixed equipment) thereon, forming part thereof or benefiting such
                   real or immoveable property;

        (rrrrrr) “Real Property Lease” has the meaning given to such term in Section 4.21 of the
                 Disclosure Letter;

        (ssssss)          “Released Parties” has the meaning given to such term in Section 8.13;

        (tttttt) “Representatives” means as to any Person, such Person’s affiliates, and its and
                 their respective directors, officers, employees, managing members, partners,
                 general partners, agents, advisors and consultants (including legal advisors,
                 financial advisors and accountants);

        (uuuuuu)     “Required Reserve Amount” for any month shall mean the “Required
              Reserve Amount” as set forth in the Trust Certificate for such month;

        (vvvvvv)     “Reserve Agreement” means that certain Amended and Restated
              Redemption Reserve Agreement dated as of December 31, 2001, between Loyalty
              Management Group Canada Inc. and Royal Trust Corporation of Canada, as
              amended by the Amending Agreement made with effect as of January 1, 2006,
              between Loyalty Management Group Canada Inc. and RBC Dexia Investor
              Services Trust, as successor to Royal Trust Corporation of Canada;

        (wwwwww) “Reserve Agreement Assignment and Assumption” has the meaning
             given to such term in Section 8.5;

        (xxxxxx)   “Reserve Deficiency” for any month shall mean the Required Reserve
              Amount less the Value of the Reserve Fund;

        (yyyyyy)    “Reserve Fund” has the meaning given to such term in the Reserve
              Agreement and the Security Agreement;

        (zzzzzz)      “Security Agreement” means that certain Amended and Restated Security
               Agreement dated as of December 31, 2001, between Loyalty Management Group
               Canada Inc. and Royal Trust Corporation of Canada, as amended by the Amending
               Agreement made with effect as of January 1, 2006, between Loyalty Management
               Group Canada Inc. and RBC Dexia Investor Services Trust, as successor to Royal
               Trust Corporation of Canada;

        (aaaaaaa)    “Seller” has the meaning given to such term in the preamble to this
               Agreement;

        (bbbbbbb)         “Seller Registered IP” has the meaning given to such term in Section 4.19;

        (ccccccc)         “SEMA” has the meaning given to such term in Section 4.24(b);

        (ddddddd)         “Settlement Date” has the meaning given to such term in Section 3.4(g);



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        (eeeeeee)   “Settlement Payment” is the amount by which the Final Cash Purchase
               Amount is greater than the Estimated Cash Purchase Amount, if any, up to a
               maximum amount equal to the Adjustment Escrow Amount;

        (fffffff)“SISP” means those certain sale and investment solicitation procedures attached as
                 Schedule B hereto;

        (ggggggg)    “SISP Order” means an order of the Court substantially in the form
              attached hereto as Schedule F;

        (hhhhhhh)     “Sobeys Contract” means the Program Participation Agreement between
              Seller and Sobeys Capital Incorporated dated as of May 1, 2014, including all
              amendments, notices and extensions thereto, and all other Program Participation
              Agreements between Seller and any member of the Sobeys group of companies,
              including all amendments, extensions, notices thereto;

        (iiiiiii) “Successful Bid” has the meaning set out in the SISP;

        (jjjjjjj) “Tax” and “Taxes” means any and all:

                   (i)     taxes, surtaxes, duties, fees, excises, premiums, assessments, imposts,
                           levies, dues and other charges or assessments of any kind whatsoever
                           imposed or collected by any Governmental Authority, whether disputed or
                           not, including those with respect to income, goods and services, harmonized
                           sales, sales, value added, transfer, land transfer, use, real or personal
                           property, registration fees, franchise, capital, tangible, withholding,
                           employment, employer health, payroll, social security, social contribution,
                           unemployment compensation, disability, excise, customs duties,
                           consumption, gross receipts, stamp, countervail, and any instalments
                           thereof;

                   (ii)    all related charges, interest, penalties, fines, additions to tax or other
                           additional amounts imposed by any Governmental Authority on or in
                           respect of amounts of the type described in clause (i) above or this
                           clause (ii);

                   (iii)   all Canada Pension Plan contributions and employment insurance premiums
                           or similar contributions/premiums required in any jurisdictions; and

                   (iv)    any liability for any of the foregoing as a result of any express or implied
                           obligation to indemnify any other Person or as transferee, guarantor,
                           successor, or by contract, operation of law or otherwise;

        (kkkkkkk)    “Tax Act” means the Income Tax Act (Canada) as amended, and any
              relevant provincial legislation imposing tax similar to the Income Tax Act (Canada);

        (lllllll) “Tax Attributes” has the meaning given to such term in Section 2.2(g);



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        (mmmmmmm)          “Tax Dispute” means the dispute with the Canada Revenue Agency
            relating to a portion of the reserve made by the Seller pursuant to paragraph
            20(1)(m) of the Tax Act for the Seller’s 2013 taxation year and any subsequent
            taxation year;

        (nnnnnnn)      “Tax Returns” means all returns (including any withholding Tax Returns
              and information returns), declarations, reports, elections, designations, filings,
              statements, schedules, notices, forms or other documents or information (whether
              in tangible or intangible form and including any amendments, schedules,
              attachments, supplements, appendices and exhibits thereto), filed or required to be
              filed in respect of the determination, assessment, collection or payment of any Tax
              or in connection with the administration, implementation or enforcement of any
              legal requirement relating to any Tax;

        (ooooooo)      “Tax Straddle Period” means a taxation period that begins before, and
              ends after, the Closing Time. For the purposes of allocating Taxes in respect of any
              Tax Straddle Period, the amount of Taxes allocable to the portion of the Tax
              Straddle Period ending immediately before the Closing Time shall be deemed to
              be: (i) in the case of Taxes imposed on a periodic basis (such as real or personal
              property Taxes), the amount of such Taxes for the entire period (or, in the case of
              such Taxes determined on an arrears basis, the amount of such Taxes for the
              immediately preceding period) multiplied by a fraction, the numerator of which is
              the number of days in the Tax Straddle Period ending on and including the Closing
              Date and the denominator of which is the number of days in the entire relevant Tax
              Straddle Period; and (ii) in the case of Taxes not described in clause (i) above (such
              as franchise Taxes, withholding Taxes, Taxes that are based upon or related to
              income or receipts, based upon occupancy or imposed in connection with any sale
              or other transfer or assignment of property (real or personal, tangible or
              intangible)), the amount of any such Taxes shall be determined as if such taxable
              period ended immediately before the Closing Time. All determinations necessary
              to give effect to or relevant to the foregoing allocations will be made by Travel
              Services acting in good faith, taking into account the prior practice of Travel
              Services and Applicable Law;

        (ppppppp)     “Taxing Authority” means any Governmental Authority having
              jurisdiction over the assessment, determination, collection, or other imposition of
              any Tax;

        (qqqqqqq)     “Trade Creditor Amount” means the amount of trade creditor liabilities
              and obligations that are (i) not represented by either Assumed Contracts or
              Excluded Contracts, (ii) are incurred after the date hereof and on or prior to the
              Closing Date, (iii) and are required pursuant to their terms to be paid; and (iv) were
              contemplated to be paid prior to the Closing Date in accordance with the DIP
              Agreement Cash Flow Projection (as that term is defined in the DIP Term Sheet),
              in each case that were not paid and such non-payment is not in the Ordinary Course,
              but for the avoidance of doubt excluding all Cure Costs;



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        (rrrrrrr)“Trade Obligations” has the meaning given to such term in Section 2.3(d);

        (sssssss)       “Transaction” means, collectively, the sale and purchase of the Business
                and the Purchased Assets and assumption of the Assumed Liabilities pursuant to
                this Agreement, the Approval and Vesting Order and all other transactions
                contemplated by this Agreement or entered into in order to give effect to this
                Agreement that are to occur contemporaneously or otherwise in connection with
                the sale and purchase of the Business and the Purchased Assets;

        (ttttttt) “Transaction Personal Information” means any Personal Information in the
                  possession, custody or control of the Seller or Travel Services at or before the
                  Closing Date that is disclosed to the Buyer or any representative or affiliate of the
                  Buyer in connection with the Transaction;

        (uuuuuuu)      “Transfer Taxes” has the meaning given to such term in Section 8.9(c);

        (vvvvvvv)    “Transition Services” means those services to be provided to the Seller
              pursuant to the Transition Services Agreement;

        (wwwwwww) “Transition Services Agreement” means the Acknowledgement
             Agreement between LVI and the Seller dated as of the date hereof;

        (xxxxxxx)   “Travel Services” means LoyaltyOne Travel Services Co. / Cie Des
              Voyages LoyaltyOne;

        (yyyyyyy)    “Travel Services Approvals” means approvals from Governmental
              Authorities in respect of the Material Permits and Licenses maintained by Travel
              Services;

        (zzzzzzz)      “Travel Services Shares” has the meaning given to such term in Section
               2.1;

        (aaaaaaaa)    “Trust Certificate” the Corporate Certificate (as defined in the Reserve
               Agreement) that has been delivered in the Ordinary Course in compliance with the
               terms of the Reserve Agreement;

        (bbbbbbbb) “Ultimate Redemption Rate” means the estimated percentage of AMs
              issued to Collectors that the Seller has determined, using methodologies consistent
              with past practice and taking into account relevant historical data, will be redeemed
              by such Collectors, and which calculation the Seller has provided to the Buyer prior
              to the date hereof together with all reasonable supporting documentation requested
              by the Buyer in connection therewith;

        (cccccccc)    “Value of the Reserve Fund” for any month shall mean the “Value of the
               Reserve Fund” as set out in the Trust Certificate for such month; and




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        (dddddddd) “WestJet Contract” means that certain Sales Agreement entered into by
              and between WestJet (an Alberta Partnership) and the Seller as of November 16,
              2022, as may be amended from time to time.

1.2     Schedules

        The following Schedules form part of this Agreement:

        Schedule A         -    Consents and Approvals
        Schedule B         -    Sale and Investment Solicitation Procedures
        Schedule C         -    Approval and Vesting Order
        Schedule D         -    Initial Order
        Schedule E         -    A&R Initial Order
        Schedule F         -    SISP Order
        Schedule G         -    Financial Statements
        Schedule H         -    Trust Certificate

1.3     Statutes

       Unless specified otherwise, reference in this Agreement to a statute refers to that statute as
it may be amended, or to any restated or successor legislation of comparable effect.

1.4     Headings and Table of Contents

       The inclusion of headings and a table of contents in this Agreement is for convenience of
reference only and shall not affect the construction or interpretation hereof.

1.5     Gender and Number

       In this Agreement, unless the context otherwise requires, words importing the singular
include the plural and vice versa and words importing gender include all genders.

1.6     Interpretation

        In this Agreement: (i) the words "include", "includes" and "including" shall be deemed to
be followed by the words "without limitation"; (ii) the word "or" is not exclusive; and (iii) the
words "herein", "hereof", "hereby", "hereto" and "hereunder" refer to this Agreement as a whole.

1.7     Further Rules

        Unless the context otherwise requires, references herein: (i) to Articles, Sections and
Exhibits mean the Articles and Sections of, and Exhibits attached to, this Agreement; (ii) to an
agreement, instrument or other document means such agreement, instrument or other document as
amended, supplemented and modified from time to time to the extent permitted by the provisions
thereof

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1.8     No Presumption

        This Agreement shall be construed without regard to any presumption or rule requiring
construction or interpretation against the party drafting an instrument or causing any instrument to
be drafted.

1.9     Disclosure Letter and Exhibits

         The Disclosure Letter and Exhibits referred to herein shall be construed with, and as an
integral part of, this Agreement to the same extent as if they were set forth verbatim herein.

1.10    Currency

        Except where otherwise expressly provided, all amounts in this Agreement are stated and
shall be paid in United States dollars.

1.11    Invalidity of Provisions

       Each of the provisions contained in this Agreement is distinct and severable and a
declaration of invalidity or unenforceability of any such provision or part thereof by a court of
competent jurisdiction shall not affect the validity or enforceability of any other provision hereof.

1.12    Entire Agreement

        This Agreement, the Disclosure Letter, the Approval and Vesting Order, the agreements
and other documents required to be delivered pursuant to this Agreement and to effect the
Transaction and, subject to Section 12.1, the Confidentiality Agreement, constitute the entire
agreement between the Parties and set out all the covenants, promises, warranties, representations,
conditions and agreements between the Parties in connection with the subject matter of this
Agreement and supersede all prior agreements, understandings, negotiations and discussions,
whether oral or written, pre-contractual or otherwise. There are no covenants, promises,
warranties, representations, conditions, understandings or other agreements, whether oral or
written, pre-contractual or otherwise, express, implied or collateral between the Parties in
connection with the subject matter of this Agreement except as specifically set forth in this
Agreement and any document required to be delivered pursuant to this Agreement.

1.13    Waiver, Amendment

       Except as expressly provided in this Agreement, no amendment or waiver of this
Agreement shall be binding unless executed in writing by all Parties hereto. No waiver of any
provision of this Agreement shall constitute a waiver of any other provision nor shall any waiver
of any provision of this Agreement constitute a continuing waiver unless otherwise expressly
provided.

1.14    Governing Law; Jurisdiction and Venue

      This Agreement, the rights and obligations of the Parties under this Agreement, and any
Claims or controversy directly or indirectly based upon or arising out of this Agreement or the


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Transaction (whether based on contract, tort, or any other theory), including all matters of
construction, validity and performance, shall in all respects be governed by, and interpreted,
construed and determined in accordance with, the laws of the Province of Ontario and the federal
laws of Canada applicable therein, without regard to the conflicts of law principles thereof. The
Parties consent to the jurisdiction and venue of the courts of Ontario for the resolution of any such
disputes arising under this Agreement. Each Party agrees that service of process on such Party as
provided in Section 12.5 shall be deemed effective service of process on such Party.

                                           ARTICLE 2
                                       PURCHASE AND SALE

2.1     Agreement to Purchase and Sell Purchased Assets

         Upon and subject to the terms and conditions of this Agreement (including the provisions
of Section 2.6) and at the times specified in Section 2.7 and 2.8, the Seller shall sell and the Buyer
shall purchase, free and clear of: (i) all Encumbrances other than Permitted Encumbrances; and
(ii) Claims (other than the Assumed Liabilities), all of the Seller’s right, title and interest in, to and
under, or relating to, the assets, property, interests, undertaking and other rights of the Seller,
relating to or owned or used in connection with the Business other than the Excluded Assets
(collectively the “Purchased Assets”), including, but not limited to, the following:

        (a)        Cash and Accounts Receivable – except as set forth in Sections 2.2(d), 2.2(e), 2.2(f)
                   and 2.2(g) all cash and all accounts receivable (including unbilled revenue and
                   holdbacks), bills receivable, trade accounts, trade debts and book debts due or
                   accruing, including any refunds and rebates receivable relating to the Purchased
                   Assets and the full benefit of all security (including cash deposits), guarantees and
                   other collateral held by the Seller, and amounts receivable (or that may become
                   receivable) by the Seller under agreements whereby the Seller has disposed of a
                   business, facility or other assets, or under royalty (or other) agreements or
                   documents related thereto, and any asset-backed commercial paper or other
                   investments, and, to the extent practicable, all bank accounts agreed upon by the
                   Parties;

        (b)        Assumed Contracts – all Contracts relating to the Business and/or the Purchased
                   Assets, including, without limitation, those Contracts listed in Section 2.1(b) the
                   Disclosure Letter (collectively, the “Assumed Contracts”) but excluding all
                   Contracts with a person not dealing at arm’s length with the Seller for purposes of
                   the Tax Act (other than pursuant to Section 2.1(m)); provided that the Seller shall
                   update Section 2.1(b) of the Disclosure Letter in accordance with Section 8.1;

        (c)        Reserve Agreement – all of the Seller’s rights, powers and interests under and in
                   respect of the Reserve Agreement and the Security Agreement, and all accounts
                   (including the RBC Account), deposits, funds (including the Reserve Fund) and
                   monies relating thereto including, for greater certainty, in respect of or related to
                   the RBC Accounts and the Reserve Fund: (i) all Investments which are at any time
                   or from time to time deposited with or specifically assigned to RBC or its agent by
                   the Seller for the purposes of the Reserve Agreement and all Investments derived


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                   from the Investment of any monies or other Investments which, in each case, are
                   part of the Reserve Fund (as defined in the Reserve Agreement); (ii) without
                   limiting (i), the right of the Seller to be paid or receive any and all Redemption Fees
                   (as defined in the Reserve Agreement) payable at any time or from time to time
                   thereunder; (iii) all substitutions, accretions and additions to any of the monies or
                   Investments described in the foregoing, including without limitation, all interest,
                   dividends or other amounts earned or derived therefrom; (iv) all certificates and
                   instruments evidencing the foregoing; (v) all proceeds of any of the foregoing of
                   any nature and kind including, without limitation, goods, intangibles, documents of
                   title, instruments, investment property, or other personal property; and (vi) goods,
                   intangibles, documents of title, instruments, investment property, or other personal
                   property and any other assets or property forming part of the Reserve Fund;

        (d)        Travel Services Shares – all of the issued and outstanding shares in the capital of
                   Travel Services (the “Travel Services Shares”);

        (e)        Prepaid Expenses – the full benefit of all advances, prepaid assets, security and
                   other deposits, prepayments and other current assets relating to, or used of or held
                   for use in connection with, the Business or the Purchased Assets (but excluding all
                   prepaid assets relating to Excluded Assets and any retainers paid to professional
                   service advisors);

        (f)        Inventory – all items that are held by the Seller for sale, license, rental, lease or
                   other distribution in the Ordinary Course, or are being produced for sale, or are to
                   be consumed, directly or indirectly, in the production of goods or services to be
                   available for sale, of every kind and nature and wheresoever situate relating to the
                   Business including inventories of raw materials, spare parts, work-in-progress,
                   finished goods and by-products, operating supplies and packaging materials
                   (collectively, the “Inventory”);

        (g)        Fixed Assets and Equipment – all machinery, equipment, office equipment,
                   communications equipment, furnishings, furniture, parts, dies, molds, tooling,
                   tools, computer hardware, information technology infrastructure, supplies,
                   accessories and other tangible personal and moveable property (other than
                   Inventory) owned or used or held by the Seller for use in or relating to the Business,
                   whether located on the Seller’s premises or elsewhere;

        (h)        Vehicles – all motor vehicles, including all trucks, vans, cars and forklifts owned or
                   used or held by the Seller for use in or relating to the Business;

        (i)        Personal Property Leases – all leases of personal or moveable property that relate
                   to the Business, including all benefits, rights and options pursuant to such leases
                   and all leasehold improvements forming part thereof (the “Personal Property
                   Leases”);

        (j)        Intellectual Property – all right, title and interest of the Seller to all intellectual
                   property held for, used in or relating to the Business, including each item listed in


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                   Section 2.1(j) of the Disclosure Letter and the Licensed Air Miles IP, (collectively,
                   the “Intellectual Property”) including:

                    (i)     all trademarks, trade names, websites and domain names, certification
                            marks, service marks, and other source indicators, and the goodwill of any
                            business symbolized thereby, patents, copyrights, works, computer
                            systems, code, applications, systems, databases, data, website content,
                            know-how, formulae, processes, inventions, technical expertise, research
                            data, trade secrets, industrial designs and other similar property;

                    (ii)    all registrations and applications for registration thereof;

                    (iii)   any and all licenses, sub-licenses or any other evidence of a right to use any
                            of the foregoing;

                    (iv)    the right to obtain renewals, extensions, substitutions, continuations,
                            continuations-in-part, divisions, re-issues, re-examinations or similar legal
                            protections related thereto, subject to the terms and conditions of licenses
                            for Licensed Air Miles IP; and

                    (v)     the right to bring an action at law or equity for the infringement of the
                            foregoing before the Closing Time, including the right to receive all
                            proceeds and damages therefrom, owned, or used or held by the Seller for
                            use in or relating to the Business, subject to the terms and conditions of
                            licenses for Licensed Air Miles IP;

        (k)        Computer Software – all software and documentation therefor used in the Business,
                   including, all electronic data processing systems, program specifications, source
                   codes, object code, input data, report layouts, formats, algorithms, record file
                   layouts, diagrams, functional specifications, narrative descriptions, flow charts,
                   operating manuals, training manuals and other related material;

        (l)        Goodwill – subject to the terms and conditions of licenses for Licensed Air Miles
                   IP, the goodwill of the Business and relating to the Purchased Assets, and
                   information and documents relevant thereto including lists of customers and
                   suppliers, credit information, telephone and facsimile numbers, e-mail addresses,
                   research materials, research and development files and Confidential Information
                   and the exclusive right of the Buyer to represent itself as carrying on the Business
                   in succession to the Seller;

        (m)        Transition Services – all rights, power, title and interests of the Seller in and to all
                   Contracts in respect of or related to services that the Seller receives pursuant to the
                   Transition Services Agreement;

        (n)        Books and Records – all books, records and files (whether written, electronic or in
                   any other medium) of the Business, including all files and data related to Assumed
                   Employees, advertising and promotional materials and similar items, all sales
                   related materials, the general ledger and accounting records relating to the Business,

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                   all customer lists and lists of suppliers, all operating manuals, plans and
                   specifications and all of the right, interest and benefit, if any, thereunder and to and
                   in the domain names, telephone numbers, facsimile numbers and e-mail addresses,
                   related to, used for or held for use in connection with the Business or the Purchased
                   Assets, and all records, files and information necessary or desirable for Buyer to
                   conduct or pursue the rights described in Section 2.1(q) (collectively, the “Books
                   and Records”), however Books and Records shall not include the Seller’s
                   Organizational Documents (other than Organizational Documents in respect of or
                   relating to Travel Services) and any books and records solely relating to Excluded
                   Assets and Excluded Liabilities, whether privileged or not; provided, however, that
                   the Seller may retain copies of all books and records included in the Purchased
                   Assets solely to the extent necessary for the administration of any Insolvency
                   Proceedings, the filing of any Tax Return, compliance with any Applicable Law or
                   the terms of this Agreement, to support any Excluded Assets or required to initiate,
                   prosecute, advance or defend any Claims forming part of the Excluded Assets or
                   consummate any wind-up of the Seller. To the extent that any Books and Records
                   includes materials subject to the attorney work-product doctrine or attorney-client
                   privilege, the Seller is not waiving and shall not be deemed to have waived or
                   diminished its attorney work- product protections, attorney-client privileges or
                   similar protections and privileges as a result of disclosing any Books and Records
                   (including any information related to pending or threatened litigation) to Buyer,
                   and the Parties agree that they have a commonality of interest with respect to such
                   matters. All Books and Records that are entitled to protection under the work-
                   product doctrine, attorney-client privilege or other applicable privilege shall remain
                   entitled to such protection under these privileges, this Agreement and the joint-
                   defense-doctrine;

        (o)        Permits and Licenses – all permits, licenses, approvals, authorizations, orders,
                   certificates, consents, directives, notices, variances, registrations or other rights
                   issued to or held or used or required by the Seller relating to the Business or any of
                   the Purchased Assets by or from any Governmental Authority (the “Permits and
                   Licenses”);

        (p)        Insurance –

                    (i)     the interests of the Seller in all Insurance Policies, to the extent such
                            interests are assignable, but excluding any director and officer and any
                            errors and omissions Insurance Policies;

                    (ii)    any proceeds, net of any deductibles and retention, recovered by the Seller
                            under all other Contracts of insurance, insurance policies (excluding for
                            certainty proceeds paid directly by the insurer to or on behalf of directors
                            and officers under directors’ and officers’ insurance policies) and insurance
                            plans after the Closing Date; and

                    (iii)   the full benefit of the Seller’s rights to insurance Claims (excluding for
                            certainty proceeds paid directly by the insurer to or on behalf of directors


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                          and officers under directors’ and officers’ insurance policies) and amounts
                          recoverable in respect thereof net of any deductible;

        (q)        Claims – all: (i) Claims that have been, or that may in the future be, asserted,
                   commenced, pursued or exercised by the Seller as against any Person or property
                   in respect of occurrences, events, accidents or losses suffered prior to the Closing
                   Time; (ii) proceeds flowing from any Claims or Legal Proceeding in respect
                   thereof; and (iii) in respect of the foregoing, rights of indemnity, warranty rights,
                   rights of contribution, rights to refunds, rights of reimbursement and other rights of
                   recovery, in each case held by the Seller as of the Closing Date (regardless of
                   whether such rights are currently exercisable) (collectively, the “Assigned
                   Claims”), including those Claims set out in Section 2.1(q) of the Disclosure Letter;
                   but excluding all Claims constituting Excluded Assets under Section 2.2(b), 2.2(g)
                   and any Claims constituting Excluded Liabilities under Section 2.4(j);

        (r)        Loans – any loans or debts in respect of or relating to the operation of the Business
                   due prior to the Closing Date to the Seller, but excluding all amounts now or
                   hereafter owing by LVI to the Seller under and pursuant to: (i) the promissory note
                   dated February 26, 2023 (the “LVI Promissory Note”) evidencing a loan made by
                   the Seller to LVI in the amount of CAD$18,000,000.00; and (ii) the Senior Secured
                   Superpriority Debtor in Possession Credit Facility Term Sheet to be entered into
                   between the Seller as lender and LVI as borrower to evidence a loan to be made by
                   the Seller to LVI (the “Intercompany DIP”);

        (s)        Warranty Rights – all warranty rights against manufacturers, builders, contractors
                   or suppliers relating to any of the Purchased Assets, to the extent the foregoing are
                   transferable; and

        (t)        Confidentiality Agreements, etc. – all rights (but not any obligations) of the Seller
                   under non-disclosure or confidentiality, non-compete, or non-solicitation
                   agreements with current and former employees to the extent primarily relating to
                   the Purchased Assets, Assumed Liabilities or the Business (or any portion thereof).

2.2     Excluded Assets

        Notwithstanding any provision of this Agreement to the contrary, the Purchased Assets
shall not include any of the following assets of the Seller (collectively, the “Excluded Assets”):

        (a)        Non-Canadian Assets – assets, if any, that: (i) are located exclusively outside of
                   Canada; and (ii) do not relate to the Business;

        (b)        Bread Financial Holdings – all Claims against Bread Financial Holdings, Inc. f/k/a
                   Alliance Data Systems Corporation (“Bread”) and any of its current affiliates or
                   their respective present and former direct and indirect shareholders, officers,
                   directors, employees, advisors (including financial advisors), legal counsel and
                   agents, but excluding all Claims against Bread relating to Bread’s provision of
                   services to the Seller;


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        (c)        Excluded Contracts – the Excluded Contracts;

        (d)        DIP Proceeds – all cash that is advanced to the Seller pursuant to the DIP Term
                   Sheet;

        (e)        Purchase Price – all cash that is paid in satisfaction of the Purchase Price;

        (f)        Excluded Cash – cash in the amount of $2,000,000 (the “Excluded Cash”);

        (g)        Tax Attributes – all Tax assets, Tax refunds, Tax payments, Tax credits, or other
                   Tax attributes (including: (i) any amounts that are owed or may become owing to
                   the Seller from any Taxing Authority and any Claims in respect thereof; and (ii) the
                   Tax Dispute) (“Tax Attributes”) of the Seller; excluding, however, any Tax
                   Attributes relating to, or attributable to, Travel Services and/or the Travel Services
                   Shares; and

        (h)        LVI Intellectual Property – all right, title and interest of the Seller to all intellectual
                   property listed on Section 2.2(h) of the Disclosure Letter.

2.3     Assumption of Liabilities

        The Buyer shall assume as of the Closing Date and shall pay, discharge and perform, as
the case may be, from and after the Closing Date, the following liabilities and obligations of the
Seller with respect to the Business and/or the Purchased Assets other than the Excluded Liabilities
(collectively, the “Assumed Liabilities”), which shall, for greater certainty, not include the
Excluded Liabilities:

        (a)        Obligations under Contracts, etc. – all liabilities and obligations arising under the
                   Assumed Contracts, from and after the Closing Date, including all Cure Costs, in
                   each case provided that such contracts are assigned to the Buyer (whether as of
                   right, on consent, or by Court order) from and after the Closing Date;

        (b)        Permits and Licenses – all liabilities and obligations arising from and after the
                   Closing Date pursuant to or in respect of Permits and Licenses;

        (c)        Reserve Agreement – all of the Seller’s present and future liabilities and obligations
                   under the Reserve Agreement and the Security Agreement, in both cases which are
                   and shall be assigned to the Buyer (whether as of right, on consent, or by an order
                   of the Court);

        (d)        Trade Obligations – all trade obligations payable or accrued (including, for
                   certainty, customer credit balances and open purchase orders) of the Business from
                   and after the Closing Date (collectively, the “Trade Obligations”);

        (e)        Letters of Credit – the BMO LCs;




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        (f)        Obligations to Collectors – all liabilities and obligations of the Seller to any
                   Collector in respect of the Air Miles Program, in accordance with the terms and
                   conditions of the Air Miles Program; and

        (g)        Employee Matters – all liabilities and obligations of the Buyer as expressly set out
                   in Section 8.10.

2.4     Excluded Liabilities

         Except as expressly assumed pursuant to Section 2.3, all debts, obligations, Contracts and
liabilities of the Seller, of any kind or nature, shall remain the sole responsibility of the Seller, and
the Buyer shall not assume, accept or undertake any debt, obligation, duty, contract or liability of
the Seller of any kind, whatsoever, whether accrued, contingent, known or unknown or otherwise,
and specifically excluding the following liabilities or obligations that shall be retained by, and that
shall remain the sole responsibility of the Seller (collectively, the “Excluded Liabilities”):

        (a)        Intercompany Obligations – all liabilities and obligations due or accruing due prior
                   to the Closing Date from the Seller to any of its affiliates or its affiliates’ respective
                   present and former direct and indirect shareholders, officers, directors, employees,
                   advisors (including financial advisors), legal counsel, advisors and agents (except
                   all liabilities and obligations expressly assumed by Buyer pursuant to Section
                   2.3(g)), excluding liabilities and obligations as between the Seller and Travel
                   Services;

        (b)        Credit Agreement – all liabilities and obligations of the Seller under the Credit
                   Agreement or as a guarantor or indemnitor of any obligation or liability thereunder;

        (c)        Excluded Assets – all liabilities and obligations relating to or otherwise arising,
                   whether before, on or after the Closing, out of, or in connection with the Excluded
                   Assets;

        (d)        Excluded Contracts – all liabilities and obligations in connection with the Contracts
                   listed in Section 2.4(d) of the Disclosure Letter (such contracts, the “Excluded
                   Contracts”);

        (e)        KEIP / KERP Obligations – all liabilities and obligations relating to any key
                   employee retention plan or key employee incentive plan, to the extent that the Seller
                   enters into any such plan(s) during Insolvency Proceedings;

        (f)        Non-Assumed Employees – all liabilities and obligations of the Seller arising out of,
                   relating to or with respect to current or former employees, contractors or consultants
                   that are not explicitly assumed by the Buyer pursuant to Section 8.10;

        (g)        Employee Plans – all liabilities and obligations relating to or with respect to the
                   Employee Plans;

        (h)        Taxes – all liabilities and obligations for Taxes of the Seller whether in respect of
                   the period before, on or after the Closing;


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        (i)        Transaction Expenses – all liabilities and obligations for costs and expenses
                   (including legal and other advisory and professional fees) of the Seller or its
                   affiliates in connection with the Transaction and the CCAA Proceedings whether
                   in respect of the period before, on or after the Closing Date;

        (j)        Claims – Claims and orders (including injunctions, judgments, administrative
                   complaints, decrees, rulings, awards, assessments, directions, instructions,
                   penalties or sanctions issued, filed or imposed by any Governmental Authority or
                   arbitrator and includes remedial orders), assessments or reassessments and
                   judgments flowing from any past, current or future Legal Proceedings, contingent
                   or otherwise, whether liquidated or unliquidated, matured or unmatured, disputed
                   or undisputed, contractual, legal or equitable, or tort, arising from or in relation to
                   any facts, circumstances, events or occurrences existing or arising prior to, on or
                   after the Closing Date, in all such cases: (A) against the Seller or any of its affiliates
                   (other than Travel Services), or their respective present and former direct and
                   indirect shareholders, officers, directors, employees, advisors (including financial
                   advisors), legal counsel and agents, including Claims relating to any breach of law,
                   product liability claims, and any Claims relating to the environment or occupational
                   health and safety, including: (i) Claims arising in connection with properties owned,
                   leased or operated by the Seller at any time prior to, on or after the Closing Date;
                   (ii) Claims arising in connection with facilities or properties to which the Seller sent
                   hazardous material for disposal prior to, on or after the Closing Date; (iii) Claims
                   arising in connection with any hazardous material generated, used, emitted,
                   released, stored, transported or disposed of prior to, on or after the Closing Date in
                   connection with the Business or by the Seller; (iv) Claims that constitute fines,
                   penalties or other liabilities arising from violations of or non-compliances with
                   Environmental Law or environmental Permits and Licenses occurring prior to, on
                   or after the Closing Date, all to the maximum extent permitted by Applicable Law;
                   and (v) the Tax Dispute; (B) all Claims: (i) that are not Assigned Claims; or (ii) that
                   are held by the Seller against any of the Seller’s affiliates but excluding any Claims
                   as between the Seller and Travel Services; or (C) all Claims as set forth in Section
                   2.4(j) of the Disclosure Letter (collectively, the “Excluded Claims”), provided
                   that, for greater certainty, Excluded Claims shall not include any Post-Closing
                   Claims; and

        (k)        Unrelated Matters – all Claims of the Seller or any of its affiliates that are unrelated
                   to the Purchased Assets or the Assumed Liabilities.

2.5     Assignment of Assumed Contracts and Payment of Cure Costs

        (a)        Promptly following the date hereof and, in any event, no later than 20 calendar days
                   following the date hereof, the Seller shall deliver to Buyer an updated Schedule A
                   listing Consents and Approvals.

        (b)        Promptly following the date hereof, the Seller shall use commercially reasonable
                   efforts to obtain all Consents and Approvals that are required from contractual
                   counterparties to assign the Assumed Contracts to the Buyer and shall continue to


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                   use such commercially reasonable efforts as Schedule A is updated. The Buyer
                   shall cooperate, using commercially reasonable efforts, with and assist the Seller in
                   obtaining all such Consents and Approvals.

        (c)        To the extent that any Assumed Contract is not assignable without the consent of
                   the counterparty or any other Person, and such consent has not been obtained prior
                   to the hearing before the Court for the Seller’s motion for the Approval and Vesting
                   Order and such Assumed Contract is one that is capable of being assigned pursuant
                   to section 11.3 of the CCAA: (A) the Seller’s rights, benefits and interests in, to
                   and under such Assumed Contract may be assigned to the Buyer pursuant to the
                   Approval and Vesting Order or further order made pursuant to section 11.3 of the
                   CCAA; (B) the Seller will use commercially reasonable efforts to obtain the
                   Approval and Vesting Order or such further order made pursuant to section 11.3 of
                   the CCAA on such terms as are necessary to give effect to such assignment and on
                   requisite notice to the affected contractual counterparty(ies); and (C) if such a
                   assignment occurs, the Buyer shall accept the assignment of such Assumed
                   Contract on the terms provided by the Approval and Vesting Order or such further
                   order made pursuant to section 11.3 of the CCAA.

        (d)        Unless the Parties otherwise agree, to the extent that any Cure Cost is payable with
                   respect to any Assumed Contract, Buyer shall: (A) where such Assumed Contract
                   is assigned pursuant to the Approval and Vesting Order or such further order made
                   pursuant to section 11.3 of the CCAA, pay such Cure Cost in accordance with such
                   order; and (B) where such Assumed Contract is not assigned pursuant to the
                   Approval and Vesting Order or such further order made pursuant to section 11.3 of
                   the CCAA, pay such Cure Cost in the manner set out in the contract in question or
                   the consent of the applicable counterparty, or as otherwise may be agreed to by the
                   Buyer and such counterparty.

        (e)        No earlier than seven (7) Business Days before and no later than two (2) Business
                   Days before the Closing Date (or such other date as the Parties may agree to in
                   writing), the Seller shall use its commercially reasonable efforts to deliver to the
                   Buyer a schedule (the “Cure Costs Schedule”) that contains a true and complete
                   list of each Assumed Contract, the Seller’s good faith estimate of the Cure Cost
                   payable with respect to such Assumed Contract, a brief description of such
                   Assumed Contract, and the name of the counterparty(ies) to the Assumed Contract.

2.6     Changes to Purchased Assets and Assumed Liabilities

        The Parties agree that, notwithstanding any other provision of this Agreement:

        (a)        the Buyer shall retain the right for a period of thirty (30) days following the
                   execution of this Agreement to revise the scope of the Purchased Assets and the
                   Excluded Assets: (i) in its sole and absolute discretion, so as to: (A) remove any
                   asset from the list of Purchased Assets (including in respect of the Sobeys Contract
                   and the AMEX Contract); (B) add any asset to the list of Excluded Assets; or (C)
                   add or remove any Contract to or from the Assumed Contracts and Excluded


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                   Contracts lists, respectively; and (ii) with the Seller’s consent, not to be
                   unreasonably withheld, conditioned or delayed, so as to: (A) add any asset to the
                   list of Purchased Assets; or (B) remove any asset from the list of Excluded Assets;
                   provided, however, that none of the foregoing actions shall result in a decrease to
                   the Cash Purchase Amount;

        (b)        the Buyer shall retain the right for a period of thirty (30) days following the
                   execution of this Agreement to add to the scope of the Excluded Liabilities and,
                   with the Seller’s consent, not to be unreasonably withheld, conditioned or delayed,
                   to add to the scope of the Excluded Liabilities and, revise the scope of the Assumed
                   Liabilities; provided, however, that any such further revisions shall not result in a
                   decrease to the Cash Purchase Amount; and

        (c)        notwithstanding any of the foregoing, the Buyer shall not be permitted to move any
                   Excluded Asset to the list of Purchased Assets or move any Assumed Liability to
                   the list of Excluded Liabilities.

2.7     Purchase and Sale of Travel Services Shares

         On the terms of this Agreement, the Seller agrees that it will, as of the Closing Time, sell,
assign, convey and transfer, and the Buyer agrees that it will, as of the Closing Time, purchase and
accept the assignment, conveyance and transfer of all right, title, and interest of the Seller in and
to all Travel Services Shares, free and clear of any Encumbrances. Each of the Seller and the Buyer
acknowledges and agrees that the Parties intend that the purchase and sale of the Travel Services
Shares occur as of the Closing Time.

2.8     Purchase and Sale of Purchased Assets

         On the terms of this Agreement, the Seller agrees that it will, as of five (5) minutes
following completion of the transaction described in Section 2.7, sell, assign, convey and transfer,
and the Buyer agrees that it will, as of five (5) minutes following completion of the transaction
described in Section 2.7, purchase and accept the assignment, conveyance and transfer of all right,
title, and interest of the Seller in and to the Purchased Assets (excluding, for greater certainty, the
Travel Services Shares purchased pursuant to Section 2.7).

                                       ARTICLE 3
                          PURCHASE PRICE AND RELATED MATTERS

3.1     Purchase Price

      The purchase price payable by the Buyer to the Seller for the Purchased Assets (the
“Purchase Price”) shall be:

        (a)        $160,000,000; less

                   (i)    the amount of the Final Reserve Deficiency, if any; less

                   (ii)   the Final Trade Creditor Amount; less


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                   (iii)   the Final Cure Cap Adjustment,

                   (collectively, the foregoing (i) to (iii), the “Final Cash Purchase Amount”); plus

        (b)        the amount of the Assumed Liabilities as of the Closing Time.

3.2     Delivery of Estimate

        Each of the Parties acknowledges that it is not possible to determine the Cash Purchase
Amount until the same is finally determined in accordance with Section 3.4. Accordingly, not later
than two (2) Business Days prior to the Closing Date, the Seller shall deliver to the Buyer a
certificate detailing the Seller’s good faith estimate of (including reasonably detailed calculations
of the components thereof and such information as reasonably requested by the Buyer as may be
necessary to support such calculations) (the “Estimate”): (i) the Value of the Reserve Fund (the
“Estimated Value of the Reserve Fund”), the Required Reserve Amount (the “Estimated
Required Reserve Amount”) and the resulting Estimated Reserve Deficiency, in each case
calculated for the most recent month ended prior to the Closing Date, on the basis of the principles
and methodology used by the Seller to prepare the Trust Certificate, and only to the extent, in the
case of the Estimated Reserve Deficiency, that such deficiency has not been remedied by the Seller
prior to the Closing Time; (ii) the Trade Creditor Amount as of the Closing Date (the “Estimated
Trade Creditor Amount”); (iii) the Cure Cap Adjustment as of the Closing Date (the “Estimated
Cure Cap Adjustment”); and on the basis of the foregoing estimates, (v) the Estimated Cash
Purchase Amount. The Estimate shall be prepared on a basis consistent with the preparation of the
most recent Financial Statements, the relevant Trust Certificate and the cash flow statement
attached hereto as Schedule H, as applicable. Prior to the Closing, the Seller shall afford the Buyer
the opportunity to review and comment on the Estimate, and the Seller shall consider in good faith
any comments from the Buyer thereon; provided that, for greater certainty, in the event of any
disagreement between the Buyer and the Seller, the Estimate delivered by the Seller shall be used
for purposes of the Closing.

3.3     Payment of Purchase Price at Closing

       The Buyer shall satisfy the Estimated Purchase Price at the Closing Time: (i) as to the
amount of the Assumed Liabilities by assuming such Assumed Liabilities and (ii) as to the
Estimated Cash Purchase Amount:

        (a)        by depositing $10,000,000 (the “Adjustment Escrow Amount”) in immediately
                   available funds into an escrow account maintained by the Monitor pursuant to the
                   Escrow Agreement as security for any Settlement Payment; and

        (b)        by delivering, by way of wire transfer of immediately available funds to an account
                   designated in writing by the Seller to the Buyer, the balance of the Estimated Cash
                   Purchase Amount after deducting the payment of the Adjustment Escrow Amount
                   in accordance with Section 3.3(a) above.

         The Buyer shall pay any applicable Transfer Taxes in addition to the Estimated Purchase
Price in accordance with Section 8.9(c).



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        The amounts held by the Monitor pursuant to this Section 3.3 shall be invested and
distributed as provided in the Escrow Agreement and this Agreement.

3.4     Closing Statement

        (a)        Delivery of Draft Closing Statement. Not later than 90 calendar days after the
                   Closing Date, the Buyer shall cause a draft statement to be prepared and delivered
                   to the Seller, with a copy to the Monitor, which shall set forth in reasonable detail
                   the Buyer’s good faith calculation of:

                   (i)     the Value of the Reserve Fund, the Required Reserve Amount and the
                           resulting Reserve Deficiency, in each case calculated for the most recent
                           month ended prior to the Closing Date, on the basis of the principles and
                           methodology used by the Seller to prepare the Trust Certificate, and only to
                           the extent, in the case of the Reserve Deficiency, that such deficiency has
                           not been remedied by the Seller prior to the Closing Time;

                   (ii)    the Trade Creditor Amount as of the Closing Date;

                   (iii)   the Cure Cap Adjustment as of the Closing Date; and

                   (iv)    the resulting Settlement Payment, based on such amounts

                   (the “Draft Closing Statement” and, as finally determined pursuant to the
                   provisions of this Section 3.4 the “Closing Statement”).

        (b)        Cooperation. Upon reasonable request: (i) the Seller shall cooperate fully with the
                   Buyer to the extent required to prepare the Draft Closing Statement; and (ii) at any
                   time after the delivery of the Draft Closing Statement, the Buyer shall provide to
                   the Seller access to all work papers of the Buyer, its accounting and financial books
                   and records and the appropriate personnel to verify the accuracy, presentation and
                   other matters relating to the preparation of the Draft Closing Statement during
                   normal business hours and provided that such access is not unduly disruptive to the
                   Business.

        (c)        Objection Period. Within 30 calendar days following delivery of the Draft Closing
                   Statement, the Seller shall notify the Buyer in writing, with a copy to the Monitor,
                   if the Seller has any objections to the Draft Closing Statement (the “Notice of
                   Objection”). The Notice of Objection must state in reasonable detail the basis of
                   each objection and the approximate amounts in dispute. The Seller shall be deemed
                   to have accepted the Draft Closing Statement to be the Closing Statement if the
                   Seller does not deliver a Notice of Objection within such period of 30 calendar days
                   and: (i) the Value of the Reserve Fund in the Draft Closing Statement shall be
                   deemed to be the Final Value of the Reserve Fund; (ii) the Required Reserve
                   Amount in the Draft Closing Statement shall be deemed to be the Final Required
                   Reserve Amount; (iii) the Reserve Deficiency in the Draft Closing Statement shall
                   be deemed to the Final Reserve Deficiency; (iv) the Trade Creditor Amount in the
                   Draft Closing Statement shall be deemed to be the Final Trade Creditor Amount;

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                   and (iv) the Cure Cap Adjustment in the Draft Closing Statement shall be deemed
                   to be the Final Cure Cap Adjustment.

        (d)        Settlement of Dispute. If the Seller sends a Notice of Objection in accordance with
                   Section 3.4(c), then the Buyer and the Seller shall work expeditiously and in good
                   faith within a further period of 20 calendar days after the date of the delivery of the
                   Notice of Objection in an attempt to resolve objections as to the computation of any
                   item in the Draft Closing Statement that has been specifically identified in the
                   Notice of Objection the Notice of Objection, failing which, the items that remain in
                   dispute (the “Disputed Items”) may be submitted in writing by the Seller or the
                   Buyer for determination to the Monitor, and items for which there is not
                   disagreement or dispute shall be deemed to be agreed to by the Buyer and the Seller.
                   The Buyer and the Seller shall use commercially reasonable efforts to cause the
                   Monitor to complete its work within 30 calendar days of the submission of the
                   Disputed Items to the Monitor in writing and shall provide the Monitor with full
                   cooperation and shall make reasonable efforts to be available when requested by
                   the Monitor. While the Monitor is performing its engagement, the Parties shall not
                   communicate with the Monitor on the Disputed Items, except by joint conference
                   call, joint meeting or letter with copy simultaneously delivered to the other Party.
                   The Monitor shall allow the Buyer and the Seller to present their respective
                   positions regarding the Disputed Items, as applicable, and each of the Buyer and
                   the Seller shall have the right to present additional documents, materials and other
                   information, and make an oral presentation to the Monitor regarding the Disputed
                   Items. The Monitor shall consider such additional documents, materials and other
                   information and such oral presentations and the Monitor shall make its
                   determination solely based on presentations by the Seller and the Buyer and not by
                   independent review, provided that nothing in this sentence shall be construed so as
                   to restrict the Monitor from consulting with counsel or such other advisors as it
                   considers necessary or appropriate. Any such other documents, materials or other
                   information must be copied to the Buyer and the Seller and each of the Buyer and
                   the Seller shall be entitled to attend any such oral presentation, and to reply thereto.
                   With respect to each Disputed Item, the Monitor shall adopt a position that is either
                   equal to the Buyer’s proposed position, equal to the Seller’ proposed position, or
                   between (but not necessarily the “midpoint” of) the positions proposed by the Seller
                   and the Buyer. Unless arbitration is commenced in accordance with Section 3.4(e),
                   the determination of the Monitor shall be final and binding upon the Parties and
                   shall not be subject to appeal, absent manifest error. The Monitor shall be acting as
                   an expert and not as an arbitrator.

        (e)        Arbitration. In the event that: (i) the Monitor’s determination of the Settlement
                   Payment rendered in accordance with Section 3.4(d) is greater than 10% (in either
                   direction) of the Buyer’s calculation of the Settlement Payment as set out in the
                   Draft Closing Statement; and (ii) the Seller, the Buyer or both dispute the Monitor’s
                   position that was rendered in accordance with Section 3.4(d), the disputing Party
                   shall send the other Party a written notice (the “Notice of Arbitration”) within five
                   (5) days of the Monitor’s delivery of such position, following which the dispute
                   shall be finally resolved in accordance with the following arbitration provisions:

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                   (i)     the arbitration tribunal shall consist of one arbitrator appointed by
                           unanimous agreement of the parties to the arbitration who is qualified by
                           education and training to pass upon the dispute, or in the event of failure to
                           agree within ten (10) days, any of the Parties may apply to a Judge of the
                           Ontario Superior Court of Justice to appoint an arbitrator;

                   (ii)    the arbitrator shall be instructed that time is of the essence in proceeding
                           with his or her determination of any Disputed Item and, in any event, the
                           arbitration award must be rendered within thirty (30) days of the
                           submissions of such dispute to arbitration;

                   (iii)   the arbitration shall take place in Toronto, Ontario, and the law to be applied
                           in connection with the arbitration shall be the laws of Ontario;

                   (iv)    the arbitrator’s decision on any Disputed Item shall be given in writing and
                           shall be final and binding on the Parties, not subject to any appeal on a
                           matter of law, a matter of fact or a matter of mixed fact and law;

                   (v)     the arbitrator’s decision shall deal with the question of costs of arbitration
                           and all matters related thereto; and

                   (vi)    any arbitration hereunder shall be conducted in accordance with the
                           provisions of the Arbitration Act, 1991, S.O. 1991, c. 17, as amended,
                           except as varied or excluded by the express provisions of this Section 3.4(e).

        (f)        Only Dispute Resolution. The Parties agree that the procedures set forth in this
                   Section 3.4 for resolving disputes with respect to the Closing Statement shall be the
                   sole and exclusive method for resolving any such disputes; provided that this
                   provision shall not prohibit the Buyer or its Representatives from instituting
                   litigation to enforce any final determination of the Cash Purchase Amount in
                   accordance with this Section 3.4 or to compel any Party to submit any dispute
                   arising in connection with this Section 3.4 pursuant to and in accordance with the
                   terms and conditions of this Section 3.4, in any court or other tribunal of competent
                   jurisdiction.

        (g)        Final Settlement.

                   (i)     On the third Business Day following the later of: (x) the date on which the
                           Seller and the Buyer agree to the Closing Statement (or are deemed to have
                           agreed to the Closing Statement pursuant to Section 3.4(c)); (y) the date on
                           which a determination in respect of a Notice of Objection is made by the
                           Monitor pursuant to Section 3.4(d); and (iii) the date on which a
                           determination in respect of a Notice of Arbitration is made by the arbitration
                           pursuant to Section 3.4(e) (such date, the “Settlement Date”):

                           (A)    if the Final Closing Date Amount is less than the Estimated Cash
                                  Purchase Amount, then the Seller shall pay to the Buyer an
                                  aggregate amount of cash equal to the Settlement Payment, which

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                                  shall be satisfied by the distribution to the Buyer (or as the Buyer
                                  may direct) of that portion of the Adjustment Escrow Amount equal
                                  to (i) such Settlement Payment, plus (ii) the portion of the Transfer
                                  Taxes paid by the Buyer pursuant to Section 3.3 applicable to such
                                  Settlement Payment. For greater certainty, the amount to be paid
                                  pursuant to this Section 3.4(g)(i)(A) shall not exceed the Adjustment
                                  Escrow Amount. Any portion of the Adjustment Escrow Amount
                                  remaining after payment of the Settlement Payment shall be
                                  distributed to the Seller; and

                          (B)     if the Final Closing Date Amount is equal to the Estimated Cash
                                  Purchase Amount, the entire amount of the Adjustment Escrow
                                  Amount shall be distributed to the Seller; and

                          (C)     if the Value of the Reserve Fund as of the Closing Date is greater
                                  than the Final Value of the Reserve Fund, the excess shall be
                                  removed from the Reserve Account and paid to the Seller or, as
                                  designated by the Seller, the administrative agent under the Credit
                                  Agreement.

                   (ii)   On the Settlement Date, the Buyer and the Seller shall provide a joint notice
                          and direction to the Monitor, pursuant to this Agreement and the Escrow
                          Agreement, for the release of the Adjustment Escrow Amount in such
                          amount(s) and to such Party(ies) (or as such Party(ies) may direct) who are
                          entitled to receive such amount(s) in accordance with this Section 3.4(g).

3.5     Purchase Price Allocation

        The Purchase Price shall be allocated among the Purchased Assets as agreed by the Parties
prior to the Closing Date, acting reasonably. Such allocation shall be binding and the Buyer and
the Seller shall report the purchase and sale of the Purchased Assets and file all filings that are
necessary or desirable under the Tax Act to give effect to such allocations and shall not take any
position or action inconsistent with such allocation. If the Purchase Price is adjusted pursuant to
Section 3.4, the Purchase Price allocation pursuant to this Section 3.5 shall be adjusted on a pro
rata basis.

3.6     As Is, Where Is

        (a)        The Purchased Assets shall be sold and delivered to the Buyer on an “as is, where
                   is” basis. Other than those representations and warranties contained herein and any
                   certificate or documentation delivered in connection with the Agreement, the Buyer
                   acknowledges and agrees that: (i) no representation, warranty or condition is
                   expressed or can be implied as to title, encumbrances, description, fitness for
                   purpose, merchantability, condition or quality or in respect of any other matter or
                   thing whatsoever, including with respect to the Purchased Assets; and (ii) the
                   Monitor has not provided any representations and warranties in respect of any
                   matter or thing whatsoever in connection with the Transaction contemplated


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                   hereby, including with respect to the Purchased Assets. The disclaimer in this
                   Section 3.6 is made notwithstanding the delivery or disclosure to the Buyer or its
                   directors, officers, employees, agents or representatives of any documentation or
                   other information (including financial projections or supplemental data not
                   included in this Agreement). Without limiting the generality of the foregoing and
                   unless and solely to the extent expressly set forth in this Agreement or in any
                   documents required to be delivered pursuant to this Agreement, any and all
                   conditions, warranties or representations, expressed or implied, pursuant to
                   Applicable Law do not apply hereto and are hereby expressly waived by the Buyer.

        (b)        Without limiting the generality of the foregoing, except as may be expressly set out
                   in this Agreement and any certificate or documentation delivered in connection
                   with the Agreement, no representations or warranties have been given by any Party
                   with respect to the liability any Party has with respect to Taxes in connection with
                   entering into this Agreement, the issuance of the Approval and Vesting Order, the
                   consummation of the Transaction or for any other reason. Each Party is to rely on
                   its own investigations in respect of any liability for Taxes payable, collectible or
                   required to be remitted by the Seller or any other Party on or after Closing and the
                   quantum of such liability, if any.



                                ARTICLE 4
               REPRESENTATIONS AND WARRANTIES BY THE SELLER

       The Seller represents and warrants to the Buyer, as of the date hereof and as of the Closing,
and acknowledges that the Buyer is relying upon the following representations and warranties in
connection with its purchase of the Purchased Assets the matters set out below:

4.1     Incorporation and Status

        The Seller is an unlimited company duly incorporated, organized and validly existing under
the laws of Nova Scotia, is in good standing under such laws and has the power and authority to
enter into, deliver and, subject to the granting of the SISP Order and the Approval and Vesting
Order, perform its obligations under this Agreement.

4.2     Due Authorization and Enforceability of Obligations

        Subject to obtaining the SISP Order and the Approval and Vesting Order, the Seller has all
necessary power, authority and capacity to enter into this Agreement and to carry out its obligations
under this Agreement. The execution and delivery of each of this Agreement, the Closing
Documents and the consummation of the Transaction has been duly authorized by all necessary
corporate action of the Seller. This Agreement is, and at the Closing Time the Closing Documents
will be, duly executed and delivered by the Seller and constitutes valid and binding obligations of
the Seller enforceable against it in accordance with its terms, as such enforceability may be limited
by bankruptcy, insolvency, moratorium, reorganization and similar laws affecting creditors
generally and by general principles of equity.


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4.3     Title to Purchased Assets

        The Seller is the legal owner of all of the Purchased Assets.

4.4     Validity of and Compliance with Reserve Agreement and Security Agreement

        (a)        Except for any Royal Bank of Canada standard form agreements relating to the
                   operation of bank or securities accounts, Section 4.4 of the Disclosure Letter sets
                   forth the particulars of the bank accounts (the “Accounts”) in which deposits, funds
                   and monies are held pursuant to the Reserve Agreement.

        (b)        The Reserve Agreement and the Security Agreement are the only agreements and
                   arrangements governing or in respect of the Accounts. Section 4.4(b) of the
                   Disclosure Letter sets forth any and all Encumbrances in respect of the Accounts.

        (c)        The Seller is in compliance with each of the terms and conditions of the Reserve
                   Agreement and Security Agreement, in all respects, and there is currently no breach
                   or default by the Seller of any of its obligations thereunder.

        (d)        The Seller has satisfied all of its obligations under the Reserve Agreement and the
                   Security Agreement, all reserves and other accounts that the Seller is required to
                   fund and/or maintain under or related to the Reserve Agreement and the Security
                   Agreement, if applicable, and the Reserve Fund has been funded in amounts
                   required by the terms of the Reserve Agreement and the Security Agreement, as
                   applicable.

        (e)        The Seller, in preparing, estimating and considering any calculations in respect of
                   or related to the Reserve Agreement used good faith efforts, methodologies
                   consistent with past practice, relevant historical data and any other information that
                   would reasonably be required to prepare a good faith calculation of any such
                   amounts.

4.5     No Consents or Conflicts

        Subject to the terms of the SISP Order and the Approval and Vesting Order, the execution,
delivery and performance by the Seller of this Agreement, its obligations hereunder in respect of
the Reserve Agreement and Security Agreement, and the other Closing Documents to which it is
a party, and the consummation of the transactions contemplated hereby and thereby, do not and
will not: (a) conflict with or result in a violation or breach of, or default under, any provision of
the Organizational Documents of the Seller or Travel Services; (b) conflict with or result in a
violation or breach of any provision of any Applicable Law applicable to the Seller or Travel
Services; or (c) except for the Consents and Approvals, require the consent, notice or other action
by any person under, conflict with, result in a violation or breach of, constitute a default or an
event that, with or without notice or lapse of time or both, would constitute a default under, result
in the acceleration of or create in any party the right to accelerate, terminate, modify or cancel any
Material Contract to which the Seller or Travel Services is a party or by which the Seller is bound
or to which any of their respective assets are subject or any of the Permits and Licenses affecting



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the Purchased Assets or the Business; or (d) result in the creation or imposition of any
Encumbrance other than Permitted Encumbrances on any assets of the Seller or Travel Services.

4.6     Dataroom Disclosures

        The Seller has provided the Buyer with true and complete copies of the following materials
and all such materials are true and correct in all respects:

        (a)        the calculations prepared by the Seller in respect of the Reserve Fund and
                   Redemption Fees (each as defined in the Reserve Agreement) for the Corporation
                   Certificate (as defined in the Reserve Agreement) dated December 2022 and
                   January 2023, which calculations have been prepared in the Ordinary Course
                   consistent with past practice;

        (b)        all Contracts between the Seller and a Material Customer or a Material Supplier
                   that have not been terminated;

        (c)        the Reserve Agreement and the Security Agreement; and

        (d)        the Air Miles License Agreement.

4.7     Sufficiency of Assets

        The Purchased Assets as defined as at the date hereof (and not adjusted pursuant to 2.6)
(together with all Transition Services) are sufficient for the continued conduct of the Business after
the Closing in all material respects and for performance of Seller’s obligations under the Assumed
Contracts in substantially the same manner as conducted prior to the Closing and constitute all of
the rights, property, and assets necessary to conduct the Business as conducted currently and
during the twelve (12) month period prior to the date of this Agreement. None of the Excluded
Assets as defined as at the date hereof (and not adjusted pursuant to 2.6) are required for the
operation of the Business.

4.8     Redemption Liabilities

               The Seller has implemented internal controls in order to track Collectors’ AMs in
the Air Miles Program. The model used as part of the process to support the Ultimate Redemption
Rate uses data that is sourced from the system used to track AMs. The output of such model used
to support the Ultimate Redemption Rate is reviewed for reasonableness in comparison to actual
observed data and other evidence related to the Air Miles Program to support the estimate. To the
knowledge of the Seller, there have been no significant issues identified in the internal controls,
processes and systems outlined in this Section 4.8, nor in the calculations used to determine the
Ultimate Redemption Rate.

4.9     Approvals and Consents

       Except for the SISP Order, the Approval and Vesting Order, the Competition Act
Approval, the Travels Services Approvals and the Consents and Approvals, no authorization,
consent or approval of, or filing with or notice to, any Governmental Authority is required in


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connection with the execution, delivery or performance of this Agreement by the Sellers and each
of the Closing Documents to be executed and delivered by the Seller hereunder or the purchase of
any of the Purchased Assets hereunder.

4.10    Financial Statements

        The Financial Statements present fairly, in all material respects, the financial position of
the Seller and Travel Services as of the dates and throughout the periods indicated, and the results
of the operations and cash flows for the periods therein indicated. The Financial Statements are
based on the Books and Records of the Seller and Travel Services and have been prepared in
accordance with U.S. GAAP applied on a basis consistent with the preceding period.

4.11    Liabilities and Guarantees

        Except as set out in Section 4.11 of the Disclosure Letter, the Seller does not have any
outstanding liabilities, contingent or otherwise, and are not bound by any agreement of guarantee,
support, indemnification, assumption or endorsement of, or any other similar commitment with
respect to the obligations, liabilities (contingent or otherwise) or indebtedness of any Person, other
than, in each case, those set out in the Financial Statements and those incurred in the Ordinary
Course of the Business since the Financial Statements Date.

4.12    Absence of Unusual Transactions and Events

        (a)        Since the Financial Statements Date, except in respect of the CCAA Proceedings,
                   there has not been any effect, event, change, occurrence, state of facts, development
                   or circumstance that, individually or in the aggregate, has had or could reasonably
                   be expected to have a Material Adverse Effect or any event that would or could
                   reasonably be expected to materially impair or delay the ability of the Seller to
                   consummate the Transaction or otherwise perform its obligations under the Closing
                   Documents.

        (b)        The Seller and Travel Services have not, since the Financial Statements Date,
                   except in respect of the CCAA Proceedings and as otherwise set forth in Section
                   4.12(b) of the Disclosure Letter, conducted the Business or entered into any
                   Contract or transaction other than in the Ordinary Course, and, without limiting the
                   generality of the foregoing, have not since such date taken any action as set out
                   below:

                   (i)     sold, licensed or otherwise disposed of any of the assets of the kind
                           comprising Purchased Assets or cancelled any Claims comprising part of
                           the Purchased Assets except in the Ordinary Course;

                   (ii)    imposed any Encumbrance upon any of the Purchased Assets, except for
                           Permitted Encumbrances;

                   (iii)   accelerated, terminated, materially amended or cancelled any Assumed
                           Contracts or Permits and Licenses, except in the Ordinary Course;



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                    (iv)   made any material change in the manner of its billings, or the credit terms
                           made available by them, to any of their customers;

                    (v)    paid, declared or agreed to pay any dividends or similar distributions to any
                           shareholders;

                    (vi)   other than the LVI Promissory Note and the Intercompany DIP, made, or
                           received any loans to, any affiliate, or otherwise entered into a transaction
                           with any affiliate outside of the Ordinary Course;

                    (vii) taken any action following such date that would be prohibited by Section
                          8.2 or 8.3, as applicable, if such action were taken after the date of this
                          Agreement;

                    (viii) given any promotions, made any increase in the compensation or other
                           benefits payable or to become payable to the employees, contractors and
                           consultants of the Seller, other than pursuant to existing written agreements,
                           including Collective Agreements, disclosed to the Buyer to the extent
                           required under Section 4.18, Key Employee Retention Agreements or in the
                           Ordinary Course; or

                    (ix)   authorized or agreed or otherwise become committed to do any of the
                           foregoing.

4.13    Non-Arm’s Length Transactions

        There are no outstanding accounts receivable due to Seller from any affiliate, officer,
director, employee or any other Person with whom the Seller is not dealing at arm’s length (within
the meaning of the Tax Act), except for the LVI Promissory Note and the Intercompany DIP.

4.14    Material Contracts

        (a)        Section 4.14 of the Disclosure Letter sets out a true and complete list of all Material
                   Contracts of the Seller and Travel Services; provided that, as of the date hereof,
                   such Section 4.14 of the Disclosure Letter may not list all such Material Contracts
                   but the Seller shall, in accordance with Section 8.1 hereof provide the Buyer with
                   an updated Section 4.14 of the Disclosure Letter.

        (b)        Each Material Contract: (i) is a valid and binding agreement of the Seller or Travel
                   Services, as applicable, and, to the knowledge of the Seller, the other parties thereto;
                   and (ii) is in full force and effect and is enforceable in accordance with its terms,
                   except to the extent any Material Contract terminates in accordance with its terms
                   after the date of this Agreement and prior to the Closing (subject to Applicable
                   Laws relating to Insolvency Proceedings).

        (c)        The Seller and, to the knowledge of the Seller, each of the other parties thereto,
                   except as a result of the CCAA Proceedings and the Chapter 11 Cases are not in
                   breach of, default or violation under, any of such Material Contracts and no event


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                   has occurred other than events in respect of the CCAA Proceedings and the Chapter
                   11 Cases that with notice or lapse of time, or both, would constitute such a breach,
                   default or violation.

        (d)        Except as set out in Section 4.14 of the Disclosure Letter, the Seller has not received
                   any written notice of any termination, default or event that with notice or lapse of
                   time, or both, would constitute a default by the Seller under any Material Contract.

4.15    Material Customers and Suppliers

        (a)        Section 4.15(a) of the Disclosure Letter sets forth: (i) the Seller’s top ten customers
                   based on an aggregate consideration paid to the Seller and Travel Services for goods
                   or services rendered in the two most recent financial years (collectively, the
                   "Material Customers"); and (ii) the amount of consideration paid by each Material
                   Customer during such periods. Other than as set out in Section 4.15(a) of the
                   Disclosure Letter, neither the Seller nor Travel Services has received any notice,
                   nor do they have reason to believe, that any of their Material Customers has ceased,
                   or intends to cease after the Closing, to use their goods or services or to otherwise
                   terminate or materially reduce its relationship with the Seller or Travel Services.

        (b)        Section 4.15(b) of the Disclosure Letter sets forth: (i) the Seller’s top ten suppliers
                   based on consideration paid by the Seller and Travel Services for goods or services
                   rendered in the two most recent financial years (collectively, the "Material
                   Suppliers"); and (ii) the amount of purchases from each Material Supplier during
                   such periods. Other than as set out in Section 4.15(b) of the Disclosure Letter,
                   neither the Seller nor Travel Services has received any notice, nor do they have
                   reason to believe, that any of their Material Suppliers has ceased, or intends to
                   cease, to supply goods or services to the Seller or Travel Services or to otherwise
                   terminate or materially reduce its relationship with the Seller or Travel Services.

4.16    Insurance

         Section 4.16 of the Disclosure Letter sets forth a true and complete list of all current
policies, binders or Contracts of fire, liability, product liability, umbrella liability, real and personal
property, workplace safety and insurance, workers' compensation, vehicle, directors' and officers'
liability, fiduciary liability and other casualty and property insurance maintained by the Seller and
Travel Services that relate to the Purchased Assets, Assumed Liabilities, Business, operations and
employees of the Seller or Travel Services (collectively, the "Insurance Policies"). The Insurance
Policies are in full force and effect.

4.17    Permits and Licenses

        Section 4.17 of the Disclosure Letter sets out a correct and complete list of all Material
Permits and Licenses. The Material Permits and Licenses include all the Permits and Licenses that
the Seller holds, or are required to hold, in connection with their ownership of the Purchased Assets
or the operation of the Business as presently conducted. The Material Permits and Licenses are in
full force and effect; the Seller is in material compliance with all the terms and conditions relating
to the Material Permits and Licenses; and there are no proceedings in progress, pending or, to the

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knowledge of the Seller, threatened that may result in revocation, cancellation, suspension,
rescission or any material adverse modification of any of the Material Permits and Licenses.

4.18    Employment Matters

        (a)        Neither the Seller nor Travel Services is a party to or bound by any collective
                   bargaining agreements together with any related letters of understanding, letters of
                   intent or other written agreements with any trade union, council of trade unions,
                   employee bargaining agent or affiliated bargaining agent (collectively, the
                   “Collective Agreements”). At the date hereof, the Seller has not conducted
                   negotiations with respect to any future Collective Agreement. To the knowledge of
                   the Seller, there are no current or threatened attempts to organize or establish any
                   trade union or employee association with respect to the employees of the Seller.

        (b)        None of the Employee Plans or Employee Plans (Travel Services) provide benefits
                   beyond retirement or other termination of service to current or former directors,
                   officers, employees, contractors or consultants or to the beneficiaries or dependents
                   of such directors, officers, employees, contractors or consultants.

        (c)        To the knowledge of the Seller, the Seller is in compliance with all Applicable Laws
                   relating to employees, including with respect to Taxes, except where non-
                   compliance would not reasonably be expected to be material to the Business.

        (d)        No Employee Plans or Employee Plans (Travel Services) contain a “defined benefit
                   provision” as that term is defined in section 147.1(1) of the Tax Act.

        (e)        There is no material work stoppage or, to the knowledge of the Seller, threatened
                   against the Seller.

        (f)        Except as set out in Section 4.18 of the Disclosure Letter and except for grievances
                   or notices of potential Claims arising in the Ordinary Course of the Business and in
                   any event that would not reasonably be expected to be material to the Business,
                   there is no Claim or Legal Proceedings pending or, to the knowledge of the Seller,
                   threatened involving any employee of the Seller or benefits pending or, to the
                   knowledge of the Seller, any Employee Plan or its assets.

4.19    Intellectual Property

       Section 2.1(j) of the Disclosure Letter sets forth a complete and accurate listing of all
applications and registrations of Intellectual Property owned or held by the Seller and Travel
Services (the “Seller Registered IP”). Immediately prior to the Closing, either the Seller or Travel
Services shall be the owner of record for each item of Seller Registered IP. Except as set out in
Section 4.19 of the Disclosure Letter:

        (a)        the Seller or Travel Services owns all right, title and interest in and to, or has the
                   valid right to use all the Licensed Air Miles IP and all other Intellectual Property
                   that is material to the conduct of the Business, as currently conducted, including for
                   certainty all Intellectual Property relating to the Air Miles Program;


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        (b)        no affiliate of Seller (other than Travel Services) owns or hold any: (i) Intellectual
                   Property relating to the Air Miles Program; or (ii) other intellectual property used
                   in the conduct of the Business, other than such items to be provided to Buyer under
                   the Transition Services Agreement;

        (c)        to the knowledge of the Seller, the conduct of the Business does not infringe,
                   misappropriate, violate or otherwise conflict with or harm the intellectual property
                   rights of any other Person and no actions or proceedings have been instituted or are
                   pending or threatened in respect thereof. No Claim has been received by the Seller
                   or Travel Services alleging any such infringement, misappropriation, violation,
                   conflict or harm of any intellectual property rights of any other Persons; and

        (d)        to the knowledge of the Seller, no other Person has infringed, misappropriated,
                   violated or otherwise conflicted with or harmed the Intellectual Property.

4.20    Computer Systems and Software

        (a)        The computer systems and software of and used by the Seller and Travel Services
                   or made available to the Seller or Travel Services by means of cloud computing,
                   including servers, personal computers and special purpose systems, websites,
                   databases, telecommunications equipment and facilities and other information
                   technology systems are, in each case included in the Purchased Assets (together,
                   the “Business IT Systems”) and are operational in all material resects and are
                   together adequate for the current needs of the Seller and Travel Services in the
                   conduct of the Business. The Purchased Assets include, or the Assumed Contracts
                   include the right to access at no cost at all times, all documentation required for the
                   operation of the Business IT Systems, including the Air Miles Program’s web
                   platform and mobile software platform. The Seller has obtained and has held at all
                   times all necessary rights, licenses and permissions from third parties to use the
                   Business IT Systems and any other computer systems and software used by the
                   Seller for purposes of operation of the Business.

        (b)        No affiliate of the Seller (other than Travel Services) owns, hold or control any
                   Business IT Systems, other than such items to be provided to the Buyer under the
                   Transition Services Agreement. The Business IT Systems to be provided under the
                   Transition Services Agreement are neither required for the operation of the Air
                   Miles Program nor (except as set out in Section 4.20 of the Disclosure Letter)
                   material to the operation of the Business.

        (c)        The Collector Data on Business IT Systems represents all of the Collector Data
                   with respect to each member of the Air Miles Program. The Collector Data
                   accurately reflects in all respects the status of the Collector Accounts. All disputes
                   raised by Collectors of the Air Miles Program in respect of the Collector Accounts
                   are accurately reflected in the Collector Data, and recorded in the Seller’s computer
                   systems in the Ordinary Course of the Business.




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        (d)        The Seller and Travel Services have implemented policies and procedures that are
                   necessary to comply with, and have fully complied in all material respects with, the
                   requirements of all Applicable Laws and Data Security Requirements concerning:
                   (i) the safeguarding of Collector Data; (ii) the acquisition, operation and use of all
                   computer systems, including concerning the outsourcing of business activities,
                   functions and services to third parties; and (iii) the identification and reporting of
                   technology and cybersecurity incidents. Such policies and procedures include:
                   technical, administrative, organizational and physical safeguards, controls and
                   measures in place to protect the computer systems against unauthorized access or
                   use and to safeguard the security, confidentiality, and integrity of data; and incident
                   response procedures.

        (e)        There are no restrictions in any Contract that would limit or restrict the Buyer’s
                   ability to use Collector Data in accordance with the Seller’s or Travel Services’
                   respective privacy policies and procedures, or otherwise to conduct the Business in
                   substantially the same manner as conducted prior to the Closing.

        (f)        The Seller and Travel Services have conducted security assessments and tests of
                   the computer systems for vulnerabilities and security threats on no less than an
                   annual basis and to the extent that any vulnerabilities have been detected, all such
                   vulnerabilities have been addressed.

        (g)        The Seller and Travel Services have implemented appropriate tools and procedures
                   consistent with industry practice to protect the computer systems from any virus,
                   trojan horse, worm, or other software routines or hardware components designed to
                   permit unauthorized access, to disable, erase, distort, modify, replicate or otherwise
                   harm software, hardware, or data.

        (h)        The Seller and Travel Services have implemented back-up systems and disaster
                   recovery and business continuity plans to provide for the business continuity of the
                   Business in material respects.

        (i)        Except as set out in Section 4.20 of the Disclosure Letter, neither the Seller nor
                   Travel Services have experienced any material technology or cybersecurity
                   incidents.

4.21    Real Property

        (a)        Owned Real Property:

                    (i)    Neither the Seller nor Travel Services own any legal and/or beneficial
                           interest in Real Property.

                    (ii)   Neither the Seller nor Travel Services have agreed to acquire or are subject
                           to any agreement or option to own, legally and/or beneficially, any Real
                           Property or any interest in any Real Property, other than the Real Property
                           Lease.



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        (b)        Leased Real Property:

                   (i)     The Seller or Travel Services, as applicable, has a good and valid leasehold
                           interest in all Leased Real Property set forth on Section 4.21 of the
                           Disclosure Letter, free and clear of all Encumbrances other than Permitted
                           Encumbrances and enjoy peaceful and undisturbed possession of such
                           Leased Real Property.

                   (ii)    The Real Property Lease as set forth on Section 4.21 of the Disclosure Letter
                           is in full force and effect, binding and enforceable on the Seller in
                           accordance with its respective terms.

                   (iii)   All rent that is due by the lessee under each Real Property Lease has been
                           paid and except for any default under the Real Property Lease in connection
                           with the CCAA Proceedings, there are no outstanding defaults or breaches
                           under the Real Property Lease on the part of the Seller. Furthermore, except
                           for the CCAA Proceedings, no event has occurred, or circumstance exists
                           which, with the delivery of notice, passage of time or both, would constitute
                           such a default or breach. Seller has not received any written notice from any
                           lessor or sublessor of such Leased Real Property of, nor does there exist any
                           default, event or circumstance that, with notice or lapse of time, or both,
                           would constitute a default by the party that is the lessee or lessor of such
                           Leased Real Property.

                   (iv)    As of the date of this Agreement, no written notice has been received by the
                           Seller from any Governmental Authority advising of any defects in the
                           construction of the buildings located on the Leased Real Property or any
                           installations therein, or related to any work order, deficiency notice or non-
                           compliance with any building restrictions, zoning by-laws, fire codes or
                           other regulations or agreements with governmental or quasi-governmental
                           authorities, in each case in respect of the Leased Real Property, which has
                           not been addressed or remedied.

                   (v)     To the Seller’s knowledge, the Leased Real Property is in working order
                           and repair for the operation of the Business as currently conducted. To the
                           Seller’s knowledge, all buildings, structures, fixtures and other
                           improvements, situated on the Leased Real Property are supplied with
                           utilities and other services necessary for the operations of the Business
                           presently conducted on such Leased Real Property.

                   (vi)    To the Seller’s knowledge, the Seller has in full force and effect all Permits
                           and Licenses required in connection with the use of the Leased Real
                           Property, and the use and occupancy by the Seller of the Leased Real
                           Property is not in breach, violation or non-compliance of or with any
                           applicable Laws in any material respect.




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                   (vii) To the Seller’s knowledge, no part of the Leased Real Property has been
                         taken, condemned or expropriated by any Governmental Authority and the
                         Seller has not received any written notice of the commencement of, or any
                         intention or proposal to commence, any proceeding in respect thereof.

                   (viii) There are no Contracts to which the Seller is a party granting to any third
                          party any sublease, license or other right to use, occupy, possess or
                          otherwise encumber any portion of the Leased Real Property.

                   (ix)   To the Seller’s knowledge, there are no amounts or concentrations of any
                          hazardous materials at, on, above, in or under any of the property subject to
                          the Real Property Lease, other than in accordance with Environmental Law.

4.22    No Subsidiaries

       Except for the Seller’s ownership of the Travel Services Shares, the Seller does not have
any subsidiaries, and Travel Services does not have any subsidiaries.

4.23    Compliance with Laws

        (a)        The Seller and Travel Services are conducting and have at all times during the past
                   five (5) years conducted the Business in compliance in all material respects with all
                   Applicable Laws.

        (b)        Travel Services is conducting and has at all times during the past five (5) years
                   conducted the Business in compliance in all material respects with all applicable
                   industry codes and guidelines (whether or not having the force of law) that relate
                   to insurance or to the marketing, advertising, sale or administration of insurance
                   policies.

        (c)        The Seller and Travel Services have: (i) implemented reasonable policies, security
                   measures and training to comply with Data Security Requirements and CASL and
                   to protect Personal Information in their possession, custody or control against Data
                   Breaches; and (ii) have maintained records to demonstrate their compliance with
                   Data Security Requirements and CASL.

        (d)        Except as set out in Section 4.23 of the Disclosure Letter, neither the Seller nor
                   Travel Services, during the past five (5) years, has experienced any Data Breach
                   and, to the knowledge of the Seller, no service provider to the Seller or Travel
                   Services has reported any Data Breach involving Personal Information under the
                   control of the Seller or Travel Services.

4.24    Anti-Money Laundering; Sanctions; Anti-Corruption

       Except as set out in Section 4.24 of the Disclosure Letter, none of the Seller, Travel
Services or any of their respective Representatives:




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        (a)        has violated, and the Seller’s execution and delivery of and performance of its
                   obligations under this Agreement will not violate, any AML Laws;

        (b)        has, in the course of its actions for, or on behalf of, the Seller and/or Travel Services,
                   as applicable: (i) knowingly used any corporate funds for any unlawful
                   contribution, gift, entertainment or other unlawful expense relating to political
                   activity; (ii) offered, provided, paid or received any bribe or otherwise unlawfully
                   offered, provided paid or received, directly or indirectly, anything of value to or
                   from any foreign or domestic government employee or official or any other Person;
                   (iii) violated or taken any act that would violate any applicable provision of the
                   Criminal Code (Canada), the Corruption of Foreign Public Officials Act (Canada),
                   the Foreign Corrupt Practices Act of 1977 (United States), and the Bribery Act
                   (UK) or other similar laws of other jurisdictions to the extent such laws are
                   applicable to the Seller or Travel Services (collectively, “ABAC Laws”); (iv)
                   violated or taken any act that would violate the Special Economic Measures Act
                   (Canada) ("SEMA") or other similar laws of other jurisdictions to the extent such
                   laws are applicable to the Seller or Travel Services; or (v) violated or taken any act
                   that would violate the Freezing Assets of Corrupt Foreign Public Officials Act
                   (Canada) ("FACFOA") or other similar laws of other jurisdictions to the extent
                   such laws are applicable to the Seller or Travel Services, in each case to which the
                   Seller and/or Travel Services are subject;

        (c)        has been, in the course of its actions for, or on behalf of, the Seller and/or Travel
                   Services, as applicable: (i) convicted of a violation of applicable anti-corruption,
                   bribery or fraud laws or regulations including the ABAC Laws; or (ii) the subject
                   of an investigation by a Governmental Authority for a violation of ABAC Laws;

        (d)        has, directly or indirectly, taken any action in violation of any export restrictions,
                   anti-boycott regulations, embargo regulations or other similar Applicable Laws;

        (e)        is a "specially designated national" or "blocked person" under United States
                   sanctions administered by the Office of Foreign Assets Control of the United States
                   Department of the Treasury ("OFAC"), a Person identified under SEMA,
                   FACFOA, the United Nations Act (Canada) or otherwise a target of economic
                   sanctions under other similar Applicable Laws; or

        (f)        has engaged in any business with any Person with whom, or in any country in which
                   it is prohibited for a Person to engage under SEMA, FACFOA, the United Nations
                   Act (Canada) or any other Applicable Laws.

        The representations and warranties given in this Section 4.24 shall not be made by nor
apply to the Seller and/or Travel Services in so far as such representation or warranty would result
in a violation of or conflict with the Foreign Extraterritorial Measures Act (Canada) or any other
Applicable Law in effect in Canada from time to time.




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4.25    Litigation and Other Proceedings

        Except as set out in Section 4.25 of the Disclosure Letter, there is no court, administrative,
regulatory or similar proceeding (whether civil, quasi-criminal or criminal); arbitration or other
dispute settlement procedure; investigation or inquiry by any Governmental Authority; or any
similar matter or proceeding (collectively, “Legal Proceedings”) against Travel Services or
against the Seller in respect of the Business, the Purchased Assets, or any Employee Plan (whether
in progress, pending or, to the knowledge of the Seller, threatened) that seeks non-monetary relief
or damages in excess of $25,000 and, except as set out in Section 4.25 of the Disclosure Letter,
there is no material judgment, decree, injunction, rule, award or order of any Governmental
Authority outstanding against Travel Services or the Seller in respect of the Purchased Assets or
the Business.

4.26    Books and Records

       Financial transactions of Travel Services, or the Seller relating to the Business, as
applicable have been accurately recorded in such Books and Records in all material respects.

4.27    Residence of the Seller

      The Seller is not a non-resident of Canada and is not a partnership for the purposes of the
Tax Act.

4.28    HST and QST Registration

        The Seller and Travel Services are registered for purposes of the Excise Tax Act (Canada)
and, if applicable, an Act respecting Québec sales tax (Québec), and their HST and, if applicable,
QST registration numbers are set out in Section 4.28 the Disclosure Letter.

4.29    Tax Matters Relating to Seller

        Except, in each case, as set out in Section 4.29 of the Disclosure Letter:

        (a)        there are no Encumbrances for Taxes upon any of the Purchased Assets nor, to the
                   Seller’s knowledge, is any Governmental Authority in the process of imposing any
                   Encumbrance for Taxes on any of the Purchased Assets;

        (b)        there are no unpaid Taxes which, to the Seller’s knowledge, are capable of forming
                   or resulting in a lien on the Purchased Assets or becoming a liability or obligation
                   of the Buyer; and

        (c)        there are no inquiries, investigations, disputes, audits, actions, objections, appeals,
                   suits or other proceedings or claims in progress, or, to the Seller’s knowledge,
                   pending or threatened by or against the Seller by any Governmental Authority with
                   respect of any Taxes in respect of the Seller that can result in a lien on the Purchased
                   Assets. The Seller has withheld, collected and remitted to the proper Governmental
                   Authority all amounts required to have been withheld, collected and remitted by it
                   in respect of Taxes, on a timely basis and in respect of such amounts withheld that


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                   are not yet required to be remitted, has properly set aside such amounts for such
                   purpose.

4.30    U.S. Presence

        The Business does not have any operations, offices or other physical locations in the United
States, and no employees of the Business reside or are located in the United States.

                                ARTICLE 5
               REPRESENTATIONS AND WARRANTIES BY THE BUYER

        The Buyer represents and warrants to the Seller as follows, and acknowledges that the
Seller is relying upon the following representations and warranties in connection with their sale of
the Purchased Assets:

5.1     Incorporation and Status

        The Buyer is a legal person duly incorporated, organized and validly existing under the
laws of Canada, is in good standing under such laws and has the power and authority to enter into,
deliver and perform its obligations under this Agreement.

5.2     Due Authorization and Enforceability of Obligations

        Subject to obtaining the SISP Order and the Approval and Vesting Order, the Buyer has
all necessary power, authority and capacity to enter into this Agreement and to carry out its
obligations under this Agreement. The execution and delivery of each of this Agreement, the
Closing Documents and the consummation of the Transaction has been duly authorized by all
necessary corporate action of the Buyer. This Agreement has been, and at the Closing Time the
Closing Documents will be (subject to the Transaction being the “Successful Bid” pursuant to the
SISP), duly executed and delivered by the Buyer and constitutes a valid and binding obligation of
the Buyer enforceable against it in accordance with its terms, as such enforceability may be limited
by bankruptcy, insolvency, moratorium, reorganization and similar laws affecting creditors
generally and by general principles of equity.

5.3     No Conflicts

         The execution, delivery and performance by the Buyer of this Agreement and any other
Closing Document to which it is a party, and the consummation of the transactions contemplated
hereby and thereby, do not and will not: (a) conflict with or result in a violation or breach of, or
default under, any provision of the Organizational Documents of Buyer; or (b) conflict with or
result in a violation or breach of any provision of any Applicable Law applicable to the Buyer.

5.4     Approvals and Consents

       Except for: (a) approval of the Court through the SISP Order and the Approval and Vesting
Order; and (b) the Competition Act Approval, no authorization, consent or approval of, or filing
with or notice to, any Governmental Authority, court or other Person is required in connection
with the execution, delivery or performance of this Agreement by the Buyer and each of the


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agreements to be executed and delivered by the Buyer hereunder or the purchase of any of the
Purchased Assets hereunder.

5.5     Residence of the Buyer

      The Buyer is not a non-resident of Canada and is not a partnership for the purposes of the
Tax Act.

5.6     HST and QST Registration

        The Buyer, or its assignee(s) acquiring the Purchased Assets, is, or at the Closing Time
will be, registered for purposes of the Excise Tax Act (Canada) and, if applicable, an Act respecting
Québec sales tax (Québec), and will provide its registration numbers to the Seller.

5.7     Brokers

        No broker, finder or investment banker is entitled to any brokerage commission, finder’s
fee or other similar payment in connection with the Transaction based upon arrangement made by
or on behalf of the Buyer.

5.8     Sufficiency of Funds

       The Buyer has, or will have at the Closing, sufficient cash on hand or other sources of
immediately available funds to enable it to make payment of the Purchase Price and consummate
the Transaction.

5.9     Investment Canada Act

        The Buyer is not a “non-Canadian” within the meaning of the Investment Canada Act.

                           ARTICLE 6
  ADDITIONAL REPRESENTATIONS AND WARRANTIES SPECIFIC TO TRAVEL
                           SERVICES

       The Seller represents and warrants to the Buyer and acknowledges that the Buyer is relying
upon the following representations and warranties in connection with its purchase of the Travel
Services Shares the matters set out below:

6.1     Incorporation and Status

              Travel Services is an unlimited company duly organized and validly existing under
the laws of Nova Scotia and in good standing under such laws.

6.2     Capitalization

        (a)        Section 6.2 of the Disclosure Letter contains a complete and accurate list showing,
                   as of the date of this Agreement, Travel Services’ authorized and issued and
                   outstanding share capital, securities or other ownership interests (together with the
                   holders thereof).

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        (b)        As of the Closing, the Travel Services Shares: (i) represent all of the issued and
                   outstanding share capital, securities and other ownership interests in the capital of
                   Travel Services; (ii) are duly authorized and validly issued and are fully paid and
                   non-assessable; (iii) are owned directly by the Seller, free and clear of all
                   Encumbrances and Seller is the record owner of and beneficially owns the Travel
                   Services Shares; and (iv) are not issued in violation of any pre-emptive or similar
                   rights.

        (c)        The Travel Services Shares have been issued in compliance with all Applicable
                   Laws.

        (d)        Travel Services does not own, or have any interest in, any shares or have securities,
                   or another ownership interest, in any other Person.

        (e)        Other than as set forth in Section 6.2 the Disclosure Letter, there is no:

                   (i)     outstanding security held by any Person that is convertible into, or
                           exchange-able or exercisable for, shares, securities or rights in the capital
                           of Travel Services;

                   (ii)    subscription, option, warrant, convertible security, plan, Contract, right or
                           commitment of any nature whatsoever (pre-emptive, contingent or other-
                           wise), written or oral, requiring or that may require, whether or not subject
                           to conditions, Travel Services to issue, sell, redeem, purchase or transfer
                           any of its securities (including shares) or any securities convertible into, or
                           exchangeable or exercisable for, or otherwise evidencing a right to sub-
                           scribe for or acquire, any of its securities;

                   (iii)   agreement, commitment or understanding of any nature whatsoever, written
                           or oral (other than this Agreement) that grants to any Person the right to
                           purchase or otherwise acquire or have a Claim against issued and
                           outstanding securities (including shares) of Travel Services;

                   (iv)    shareholders’ agreement, partnership agreement, voting trust, voting
                           agreement, pooling agreement, proxy or similar arrangement with respect
                           to any shares, securities or other ownership interests of Travel Services; or

                   (v)     partnership, trust, joint venture, association or similar jointly owned
                           business undertaking of whatsoever nature involving Travel Services.

6.3     Liabilities and Guarantees

       Except as set out in Section 6.3 of the Disclosure Letter, Travel Services does not have any
indebtedness for borrowed money and is not bound by any guarantee or support agreement with
respect to indebtedness for borrowed money of any Person other than those incurred in the
Ordinary Course.




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6.4     Non-Arm’s Length Transactions

        (a)        Travel Services has not made any payment or loan to, or borrowed any monies from
                   or is otherwise indebted to, any affiliate, officer, director, employee or any other
                   Person with whom Travel Services is not dealing at arm’s length (within the
                   meaning of the Tax Act), except compensation paid in the Ordinary Course.

        (b)        Except for Contracts of employment entered into in the Ordinary Course and Key
                   Employee Retention Agreements, Travel Services is not a party to any Contract
                   with any affiliate, officer, director, employee or any other Person with whom Travel
                   Services is not dealing at arm’s length (within the meaning of the Tax Act).

        (c)        There are no outstanding notes payable to, accounts receivable from or advances
                   by Travel Services with respect to its business relating to any affiliate, officer,
                   director, employee or any other Person with whom Travel Services is not dealing
                   at arm’s length (within the meaning of the Tax Act).

6.5     Employment Matters

       No employees are employed by Travel Services and there are no Employee Plans (Travel
Services).

6.6     Authorizations and Conduct of the Business

        (a)        Section 6.6 of the Disclosure Letter sets forth a list of all Agency Licenses issued
                   to Travel Services and Individual Travel Agent Licenses issued to the Individual
                   Travel Agents, and such Agency Licenses and Individual Travel Agent Licenses
                   are the only Permits and Licenses necessary for Travel Services to conduct its
                   business as presently conducted. The Business is being conducted in compliance
                   with all such Agency Licenses and Individual Travel Agent Licenses in all material
                   respects. All such Agency Licenses and Individual Travel Agent License are valid
                   and in full force and effect. Travel Services has not received written notice of any
                   Claim that could reasonably be expected to result in the termination, revocation,
                   suspension or restriction of any Agency License or Individual Travel Agent License
                   or the imposition of any material fine, penalty or other sanctions for violation of
                   any requirements or conditions relating to any such Agency License or Individual
                   Travel Agent License or for contravention of Applicable Laws.

        (b)        Since January 1, 2018 there has not been any examination, investigation, review or
                   inquiry, or similar, of Travel Services issued by any Governmental Authority that
                   identified any material deficiencies or violations, or potential deficiencies or
                   violations, that have not been resolved, in all material respects to the satisfaction of
                   the Governmental Authority that noted such deficiencies or violations.

        (c)        Since January 1, 2018, there has not been any material complaint regarding Travel
                   Services, whether reported to Travel Services by the Person affected, a
                   Governmental Authority or by another source.



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6.7     Banking Information and Power of Attorney

       Section 6.7 of the Disclosure Letter sets forth the name and location (including municipal
address) of each bank, trust company or other financial institution in which Travel Services has an
account, money on deposit or a safety deposit box. Section 6.7 of the Disclosure Letter sets out a
true and complete list of any and all outstanding power of attorney, agency and mandate granted
by Travel Services to any Person, copies of which have been provided to the Buyer prior to the
date hereof.

6.8     Tax Matters Relating to Travel Services

        Except, in each case, as set out in Section 6.8 of the Disclosure Letter:

        (a)        Travel Services has filed all Tax Returns that it was required to file by all
                   Applicable Laws and all such Tax Returns are true, correct and prepared in
                   compliance with all Applicable Laws. The information contained in such Tax
                   Returns is correct and complete in all material respects;

        (b)        Travel Services has timely paid in full all material Taxes due and owing by it
                   (whether or not shown on any Tax Return) and has paid all assessments and
                   reassessments it has received in respect of Taxes. Travel Services has paid all
                   installments on account of Taxes for its current taxation year. Travel Services has
                   made adequate provision in its Books and Records and the Financial Statements for
                   all Taxes for the period covered thereby.

        (c)        Travel Services does not have any outstanding agreements, arrangements, waivers
                   or objections extending the statutory limitations period or providing for an
                   extension of time with respect to the assessment or reassessment of Taxes of Travel
                   Services or the filing of any Tax Return by, or any payment of Taxes by, Travel
                   Services, nor is there any outstanding written request for any such agreement,
                   waiver, objection or arrangement. Travel Services has not made any elections,
                   designations or similar filings with respect to Taxes or entered into any agreement
                   in respect of Taxes or Tax Returns that have an effect for any period ending after
                   the Closing Date except as delivered to the Buyer. Travel Services has not
                   requested, received or entered into any advance Tax rulings or advance pricing
                   agreements from or with any Governmental Authority;

        (d)        Travel Services has timely withheld and timely paid all Taxes required to have been
                   withheld and paid in connection with any amounts paid or owing to any Employee,
                   independent contractor, creditor, or other person, as required under Applicable
                   Laws;

        (e)        No material deficiencies or assessments or reassessments for any Taxes have been
                   proposed, asserted or assessed in writing by any Governmental Authority against
                   Travel Services that are still pending, and there are no matters (including any Tax
                   Return filed by Travel Services) under discussion, examination, audit or appeal
                   with or by any Governmental Authority, and there are no proceedings, claims,


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                   demands, audits, investigations, or actions now pending or threatened against
                   Travel Services in writing in each case with respect to Taxes;

        (f)        There are no Encumbrances for Taxes on any assets of Travel Services;

        (g)        Travel Services has collected from each receipt from any of its past and present
                    customers (or other persons paying amounts to Travel Services) the amount of all
                    Taxes required to be collected and have paid and remitted such Taxes when due,
                    in the form required under Applicable Laws. Without limiting the generality of the
                    foregoing, Travel Services has charged, collected and remitted on a timely basis
                    all Taxes as required under Applicable Law on any sale, supply or delivery
                    whatsoever, made by it;

        (h)        All tax credits, refunds, rebates, overpayments and similar adjustments of Taxes
                   claimed by each of Travel Services has been validly claimed and correctly
                   calculated as required by Applicable Laws, and Travel Services has retained all
                   documentation prescribed by Applicable Laws to support such claims;

        (i)        Travel Services has complied with all registration, reporting, payment, collection
                   and remittance requirements in respect of HST, QST and any other sales and use
                   Taxes and Transfer Taxes;

        (j)        Travel Services has not acquired property from any person in circumstances where
                   it became liable for any Taxes of such person. Travel Services has not entered into
                   any agreement with, or provided any undertaking to, any person pursuant to which
                   they have assumed liability for the payment of Taxes owing by such person;

        (k)        Travel Services has delivered, or will deliver within ten (10) days of the date hereof,
                    to the Buyer a true copy of all material Tax Returns filed by Travel Services for
                    2018-2022 and all material correspondence with any Governmental Authority
                    relating to Taxes, including all notices of assessment or reassessment;

        (l)        Travel Services has maintained and continues to maintain all Books and Records
                   required to be maintained by it under the Tax Act and all other Applicable Laws in
                   respect of Taxes;

        (m)        Travel Services has not been engaged in a trade or business in any country, other
                    than Canada, by virtue of having an office, employees, or a permanent
                    establishment in such country. To the knowledge of the Seller, no claim has ever
                    been made by a Governmental Authority in a jurisdiction where Travel Services
                    does not file Tax Returns that it is or may be subject to the imposition of any Tax
                    by, or required to file Tax Returns in, that jurisdiction;

        (n)        Travel Services is not required to include any item of income in, or to the
                    knowledge of the Seller, exclude any item of deduction from, taxable income for
                    any Post-Closing Tax Period as a result of any (i) change in accounting method
                    for any Pre-Closing Tax Period, (ii) installment sale, open transaction or other
                    transaction made on or prior to the Closing Date, (iii) prepaid amount received on

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                    or prior to the Closing Date, or are otherwise required to include any item of
                    income in, or exclude any item of deduction from, taxable income for any Post-
                    Closing Tax Period attributable to income that accrued, or that was required to be
                    reported for financial accounting purposes, in a prior taxable or fiscal period but
                    that was not included in taxable income for that or another prior taxable or fiscal
                    period, or (iv) forgiveness of any debt incurred by Travel Services prior to the
                    Closing Time. Travel Services has not claimed any reserves for purposes of the
                    Tax Act (or any other Applicable Law) for the most recent Tax or fiscal period
                    ended prior to the date of this Agreement or for any Tax period ending as a result
                    of the completion of the Transaction;

        (o)        To the knowledge of the Seller, there are no circumstances which exist and could
                    result in, or have existed and resulted in, the application of any of sections 17, 79,
                    79.1 or 80 to 80.04, inclusive, of the Tax Act (or any similar provision under any
                    Applicable Law in respect of Taxes) to Travel Services and, for greater certainty,
                    the cost amount to Travel Services of each debt obligation, if any, owed to it
                    (taking into account the assumptions in paragraphs 80.01(a) and (b) and
                    subparagraphs 80.01(c)(i) and (ii)) is equal to the principal amount of such debt
                    obligation plus any accrued and unpaid interest;

        (p)        To the knowledge of the Seller, Travel Services has not incurred any deductible
                    outlay or expense owing to a person not dealing at arm’s length for purposes of
                    the Tax Act with it the amount of which would, assuming there is no agreement
                    filed under paragraph 78(1)(b) of the Tax Act, be included in its income for
                    Canadian income tax purposes, as the case may be, for any taxation year or fiscal
                    period beginning on or after the Closing Date under paragraph 78(1)(a) of the Tax
                    Act or any analogous provision of any comparable Law of any province or territory
                    of Canada;

        (q)        The terms and conditions made or imposed in respect of every material transaction
                    (or series of transactions) between Travel Services and any person that is not
                    dealing at arm’s length with Travel Services for purposes of the Tax Act do not
                    differ from those that would have been made between persons dealing at arm’s
                    length for purposes of the Tax Act;

        (r)        Travel Services has, on a timely basis, made or obtained records or documents that
                   meet the requirements of paragraphs 247(4)(a) to (c) of the Tax Act as may be
                   needed to demonstrate that the terms of any such transaction entered into at any
                   time by Travel Services is and was on comparable terms of similar transactions by
                   arm’s length persons and has delivered copies of all such records and documents to
                   the Buyer;

        (s)        To the knowledge of the Seller, Travel Services has not participated in a “reportable
                    transaction” within the meaning of the Tax Act or a “notifiable transaction” (each
                    as modified by or defined in (respectively) the revised legislative proposals to
                    amend the Tax Act released by the Department of Finance (Canada) on August 9,



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                   2022) (or any similar transaction that is reportable or notifiable under any
                   applicable analogous provisions of Applicable Laws); and

        (t)        Travel Services is not a party to, bound by, and does not have any obligation under,
                   any Tax allocation or sharing agreement or similar contract or arrangement or any
                   agreement that obligates it to make any payment computed by reference to the
                   Taxes, taxable income or taxable losses of any other Person. Travel Services has
                   not acquired property from any Person in circumstances where it became liable for
                   any Taxes of such Person. Travel Services has not entered into any agreement with,
                   or provided any undertaking to, any Person pursuant to which it has assumed
                   liability for or provided an indemnification for the payment of Taxes owing by such
                   Person.

6.9     Brokers

        No broker, finder or investment banker is entitled to any brokerage commission, finder’s
fee or other similar payment in connection with the Transaction based upon arrangement made by
or on behalf of Travel Services.

                                              ARTICLE 7
                                             CONDITIONS

7.1     Conditions for the Benefit of the Buyer and the Seller

       The respective obligations of the Buyer and of the Seller to consummate the Transaction
are subject to the satisfaction of, or compliance with, at or prior to the Closing Time, each of the
following conditions:

        (a)        the Initial Order shall have been obtained and shall be Final;

        (b)        the A&R Initial Order shall have been obtained and shall be Final;

        (c)        the SISP Order shall have been obtained and shall be Final;

        (d)        this Agreement shall be the Successful Bid (as determined pursuant to the SISP);

        (e)        the Approval and Vesting Order, and to the extent applicable in accordance with
                   this Agreement, such further order pursuant to section 11.3 of the CCAA, shall have
                   been obtained and shall be Final;

        (f)        the Reserve Agreement Assignment and Assumption Agreement shall have been
                   executed and delivered by each of the Seller and the Buyer;

        (g)        the Competition Act Approval shall have been obtained; and

        (h)        no provision of any Applicable Law and no judgment, injunction, order or decree
                   that prohibits the consummation of the purchase of the Purchased Assets pursuant
                   to this Agreement shall be in effect.


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        The Parties acknowledge that the foregoing conditions are for the mutual benefit of the
Buyer and Seller. None of the conditions set out in this Section 7.1 may be waived by the Buyer,
the Seller or both of them, save and except that the Parties may mutually waive in writing any
requirement that any of the orders referred to in this Section 7.1 shall be Final.

7.2     Conditions for the Benefit of the Buyer

        The obligation of the Buyer to consummate the Transaction is subject to the satisfaction
of, or compliance with, or waiver by the Buyer of, at or prior to the Closing Time, each of the
following conditions (each of which is acknowledged to be for the exclusive benefit of the Buyer):

        (a)        the SISP shall have been conducted in accordance with its terms and the terms of
                   the SISP Order;

        (b)        the Approval and Vesting Order shall have been obtained by no later than May 31,
                   2023, or such later date as the Buyer may agree to in writing, and shall be Final;

        (c)        the Fundamental Representations (Seller) shall be true and correct in all but de
                   minimis respects on and as of the Closing Date with the same effect as though made
                   at and as of such date;

        (d)        the representations and warranties in Section 4.5 (No Consents or Conflicts) and
                   Section 4.14(c) (Material Contracts) shall be true and correct in all material
                   respects on and as of the Closing Date with the same effect as through made at and
                   as of such date;

        (e)        except as would not have or would not reasonably be expected to have a Material
                   Adverse Effect, either individually or in the aggregate, all representations and
                   warranties of the Seller set out in this Agreement, including those set forth in
                   Article 4 and Article 6, other than the Fundamental Representations (Seller) and the
                   representations and warranties in Section 4.5 (No Consents or Conflicts) and
                   Section 4.14(c) (Material Contracts), shall be true and correct as of the date hereof
                   and the Closing Date with the same force and effect as if such representations or
                   warranties were made on and as of such date; provided, however, that: (i) if a
                   representation and warranty is qualified by a materiality or Material Adverse Effect
                   qualification, such qualification shall be disregarded for the purposes of this Section
                   7.2(e); and (ii) if a representation or warranty speaks only as of a specific date it
                   only needs to be true and correct as of that date;

        (f)        the covenants contained in this Agreement to be performed by the Seller at or prior
                   to the Closing Time shall have been performed in all material respects as at the
                   Closing Time;

        (g)        from the date of this Agreement, there shall not have occurred any Material Adverse
                   Change;

        (h)        the Buyer shall have received a certificate confirming the satisfaction of the
                   conditions contained in Sections 7.2(c), 7.2(e), 7.2(f) and 7.2(g) signed for and on


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                   behalf of the Seller without personal liability by an executive officer of the Seller
                   or other Persons reasonably acceptable to the Buyer, in each case in form and
                   substance reasonably satisfactory to the Buyer;

        (i)        the Buyer shall have received Consents and Approvals in respect of Contracts with
                   Materials Customers, Material Suppliers (including the WestJet Contract) and any
                   Permits and Licenses from a Governmental Authority;

        (j)        the Buyer shall have obtained any consents that are necessary, as determined in the
                   Buyer’s sole discretion, acting reasonably, to effect the Reserve Agreement
                   Assignment and Assumption such that the Reserve Agreement Assignment and
                   Assumption Agreement shall have become effective, or shall become effective
                   contemporaneously with Closing;

        (k)        the Seller shall have delivered the Cure Costs Schedule to the Buyer by no later
                   than seven (7) days prior to the Closing Date, or such other date as the Buyer may
                   agree to in writing; and

        (l)        the Buyer shall have received from the Seller each of the closing deliveries listed
                   in Section 11.2(a), together with all such other instruments of assignment or
                   conveyance, and other documents, instruments and certificate, duly executed by the
                   Seller as shall be reasonably requested by the Buyer, in the form and substance
                   reasonably acceptable to the Buyer, or reasonably necessary to transfer the
                   Purchased Assets to the Buyer free and clear of all Encumbrances (other than
                   Permitted Encumbrances) in accordance with this Agreement.

       The foregoing conditions are for the exclusive benefit of the Buyer. Any condition in this
Section 7.2 may be waived by the Buyer in whole or in part, without prejudice to any of its rights
of termination in the event of non-fulfillment of any other condition in whole or in part. Any such
waiver shall be binding on the Buyer only if made in writing.

7.3     Conditions for the Benefit of the Seller

        The obligation of the Seller to consummate the Transaction is subject to the satisfaction of,
or compliance with, or waiver where applicable, by the Seller of, at or prior to the Closing Time,
each of the following conditions (each of which is acknowledged to be for the exclusive benefit of
the Seller):

        (a)        the Fundamental Representations (Buyer) shall be true and correct in all but de
                   minimis respects on and as of the Closing Date with the same effect as though made
                   at and as of such date;

        (b)        except as would not have or would not reasonably be expected to have a Material
                   Adverse Effect, either individually or in the aggregate, all representations and
                   warranties of the Buyer set out in this Agreement, including those set forth in
                   Article 5, other than the Fundamental Representations (Buyer) shall be true and
                   correct in all material respects as of the date hereof and the Closing Date with the
                   same force and effect as if such representations or warranties were made on and as

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                   of such date; provided, however, that: (i) if a representation and warranty is
                   qualified by materiality, such qualification shall be disregarded for the purposes of
                   this Section 7.3(b); and (ii) if a representation or warranty speaks only as of a
                   specific date it only needs to be true and correct as of that date

        (c)        the covenants contained in this Agreement to be performed by the Buyer at or prior
                   to the Closing Time shall have been performed in all material respects as at the
                   Closing Time;

        (d)        the Approval and Vesting Order shall have been obtained by no later than May 31,
                   2023, or such later date as the Seller may agree to in writing, and shall be Final;

        (e)        the Seller shall have received a certificate confirming the satisfaction of the
                   conditions contained in Sections 7.3(a), 7.3(b) and 7.3(c) signed for and on behalf
                   of the Buyer without personal liability by an executive officer of the Buyer or other
                   persons reasonably acceptable to the Seller, in each case in form and substance
                   reasonably satisfactory to the Seller;

        (f)        the Seller shall have received from the Buyer each of the closing deliveries listed
                   in Section 11.2(b) together with all such other instruments of assignment or
                   conveyance, and other documents, instruments and certificate, duly executed by the
                   Buyer as shall be reasonably requested by the Seller, in the form and substance
                   reasonably acceptable to the Seller; and

        (g)        all amounts due and payable by BMO under the BMO Sponsorship Agreement as
                   of the Closing Date shall have been paid in accordance with the terms of the BMO
                   Sponsorship Agreement.

       The foregoing conditions are for the exclusive benefit of the Seller. Any condition in this
Section 7.3 may be waived by the Seller in whole or in part, without prejudice to any of its rights
of termination in the event of non-fulfillment of any other condition in whole or in part. Any such
waiver shall be binding on the Seller only if made in writing.

7.4     Monitor’s Certificate

        (a)        When the conditions to Closing set out in Sections 7.1, 7.2 and 7.3 have been
                   satisfied and/or waived by the Seller and/or the Buyer, as applicable, the Seller and
                   the Buyer or their respective counsel will each deliver to the Monitor confirmation
                   that such conditions of Closing, as applicable, have been satisfied and/or waived
                   (the “Conditions Certificates”). Upon receipt of the Conditions Certificates, the
                   Monitor shall: (a) issue forthwith its Monitor's Certificate concurrently to the Seller
                   and the Buyer, at which time the Closing will be deemed to have occurred; and (b)
                   file as soon as practicable a copy of the Monitor's Certificate with the Court (and
                   shall provide a true copy of such filed certificate to the Seller and the Buyer). In the
                   case of (a) and (b) above, the Monitor will be relying exclusively on the basis of
                   the Conditions Certificates without any obligation whatsoever to verify the
                   satisfaction or waiver of the applicable conditions.


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        (b)        The Parties agree and acknowledge that the Monitor shall have no liability to the
                   Parties in connection with the Monitor’s Certificate or otherwise in connection with
                   the Transaction, including in its capacity as Escrow Agent and in performing the
                   engagement contemplated by Section 3.4(d) hereof, and in performing such roles
                   the Monitor shall be acting in its capacity as such and shall have all of the rights,
                   protections, limitations on liability and benefits of the CCAA, the Initial Order, the
                   A&R Initial Order, any other order of the Court made in the CCAA Proceedings
                   and as an officer of the Court.

                                     ARTICLE 8
                        ADDITIONAL AGREEMENTS OF THE PARTIES

8.1     Access to Information and Update of Disclosure Schedules

        Until the Closing Time, the Seller shall give to the Buyer’s personnel engaged in the
Transaction and their Representatives during normal business hours reasonable access to its
premises and to all books and records and other materials relating to the Business, the Purchased
Assets and the Assumed Liabilities and to members of the Seller’s senior management, shall
furnish them with all such information relating to the Business, the Purchased Assets and the
Assumed Liabilities as the Buyer may reasonably request in connection with the Transaction,
including as the Buyer may request in order to complete additional confirmatory due diligence: (i)
as may be applicable in respect of Section 2.6; and/or (ii) relating to consumer protection and
similar matters, and shall coordinate reasonable access by the Buyer to the customers and suppliers
of the Business. Notwithstanding anything in this Section 8.1 to the contrary, any such
investigation shall be conducted upon reasonable advance notice and in such manner as does not
materially disrupt the conduct of the Business and shall be subject to restrictions under Applicable
Law and nothing in this Section 8.1 or otherwise shall require the Seller to furnish to the Buyer
any unredacted competitively sensitive material or unredacted confidential materials prepared by
the Seller’s financial advisors or legal advisors or any materials subject to any solicitor-client or
other privilege, provided that the Seller shall use commercially reasonable efforts to coordinate
with the Buyer regarding any processes or systems that can be put in place, including use of a
“clean team”, in order to facilitate such disclosure. In connection with any such access and
examination, the Buyer and its Representatives shall cooperate with the Seller and Travel Services
and their Representatives and shall use their commercially reasonable efforts to minimize any
disruption to the business of the Seller and Travel Services. The Seller shall also deliver to the
Buyer authorizations to Governmental Authorities necessary to permit the Buyer to obtain
information in respect of the Purchased Assets from the files of such Governmental Authorities.
No investigation by the Buyer or other information received by the Buyer or its representatives
shall operate as a waiver or otherwise affect any representation, warranty, covenant or agreement
given or made by the Seller in this Agreement or any other Closing Document. Promptly after the
date hereof, the Seller shall, using good faith efforts, update Section 4.14 of the Disclosure Letter
in respect of Material Contracts and provide an updated Disclosure Letter that sets out a true and
complete list of all Material Contracts of the Seller and Travel Services, as of the date hereof, and
no later than fourteen (14) days prior to the Closing Date, deliver such updated Disclosure Letter
to the Seller. For greater certainty, the condition to closing threshold set forth in Section 7.2(e)
shall apply, as set forth herein, to such updated Disclosure Letter.



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8.2     Conduct of Business Until Closing Time

        From the date hereof and until the Closing Time, except: (1) as expressly required by this
Agreement; (2) as required by the DIP Term Sheet; (3) with the prior written consent of the Buyer
(not to be unreasonably withheld, conditioned or delayed); (4) provided for in any of the orders
made in the CCAA Proceedings; or (5) as required by Applicable Law, the Seller shall and shall
cause Travel Services to:

        (a)        operate the Business in the Ordinary Course and not amend any material term of
                   the Air Miles Program nor make any changes to the Air Miles Program that may be
                   expected to have an adverse impact on retaining Collectors as members of the Air
                   Miles Program;

        (b)        use commercially reasonable efforts to preserve the Business, including the
                   services of their respective officers and employees (other than any termination of
                   employees’ employment in the Ordinary Course), and their respective business
                   relationships and goodwill with customers, suppliers and others having business
                   dealings with it;

        (c)        not: (i) materially amend any Assumed Contract, other than in the Ordinary Course;
                   (ii) disclaim, terminate or repudiate any Assumed Contract without the Buyer’s
                   written consent, not to be unreasonably withheld; and (iii) except as permitted by
                   the A&R Initial Order, keep all Assumed Contracts in good standing;

        (d)        consistent with past practice: (i) preserve the present Business operations,
                   organizations, rights and goodwill of the Seller and Travel Services; and (ii)
                   preserve the rights, goodwill and present relationships with customers and suppliers
                   of the Seller and Travel Services;

        (e)        keep and maintain (including defending and protecting) the Seller’s and Travel
                   Services’ assets and properties in good repair and normal operating condition,
                   subject to reasonable wear and tear;

        (f)        maintain, and cause Travel Services to maintain, in good standing all Permits and
                   Licenses held as of the date hereof, including the renewal of any Permits and
                   Licenses scheduled to expire before Closing;

        (g)        maintain the Books and Records in accordance with past practice;

        (h)        not make any loans, advances or capital contributions to any Person, except as
                   otherwise provided in this Agreement;

        (i)        continue to fulfil all of its obligations under the Reserve Agreement and Security
                   Agreement;

        (j)        not exercise its right to remove or replace RBC under the Reserve Agreement;




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        (k)        not withdraw any amounts or monies from the Reserve Fund including any portion
                   or all of the Reserve Excess (as defined in the Reserve Agreement), except in the
                   Ordinary Course in respect of Collector point redemptions;

        (l)        not exercise a termination right or trigger an Event of Termination (as defined in
                   the Reserve Agreement) under the Reserve Agreement;

        (m)        not transfer, assign, sell, abandon, lease, sublease, fail to maintain or dispose of any
                   of the Purchased Assets or cancel any debts or entitlements;

        (n)        not transfer, assign or grant any license or sublicense of any material rights under
                   or with respect to any of the Intellectual Property or any intellectual property of
                   Travel Services;

        (o)        not impose any Encumbrance upon any of the Purchased Assets (including in
                   respect of or related to the RBC Accounts);

        (p)        not make or agree to make any write off or write down, or any determination to
                   write off or write down, or revalue, any material amount of the Purchased Assets,
                   or to change in any respect any reserves associated therewith, or to waive or release
                   any material right or claim associated therewith;

        (q)        continue to fulfil all of its obligations in respect of the Air Miles Program, including
                   all of its obligations owed to BMO under the BMO Sponsorship Agreement;

        (r)        not increase the compensation or benefits of any Assumed Employee or any
                   employee, contractor or consultant of Travel Services;

        (s)        other than the Key Employee Retention Agreements, not: (i) grant any bonuses,
                   whether monetary or otherwise, or increase any wages, salary, severance, pension
                   or other compensation or benefits in respect of its current or former employees,
                   officers, directors, independent contractors or consultants, other than as provided
                   for in any written agreements, required by Applicable Law or permitted by any key
                   employee retention plan or key employee incentive plan; (ii) change the terms of
                   employment for any employee or any termination of any employees for which the
                   aggregate costs and expenses exceed $50,000; or (iii) accelerate the vesting or
                   payment of any compensation or benefit for any current or former employee,
                   officer, director, independent contractor or consultant;

        (t)        not waive or release any material Claims held by it related to the Business that are
                   included in the Purchased Assets;

        (u)        not make any changes in the selling, distribution, advertising, promotion, terms of
                   sale or collection practices of the Business, other than in the Ordinary Course;

        (v)        pay Taxes of the Business when due;




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        (w)        not make or rescind any express or deemed election, information schedule, return
                   or designation relating to Taxes, or file any amended Tax Returns; make a request
                   for a Tax ruling or enter into a settlement agreement with any Governmental
                   Authority with respect to Taxes; settle or compromise any claim, assessment,
                   reassessment, liability, action, suit, litigation, proceeding, arbitration, investigation,
                   audit or controversy relating to Taxes; surrender any right to claim Tax abatement,
                   reduction, deduction, exemption, credit or refund; make any changes to methods,
                   principles, policies or practices of reporting income, deductions or accounting for
                   Tax purposes (with respect to those employed prior to the date of this Agreement),
                   except as required under Applicable Laws, or consent to the extension or waiver of
                   the limitation period applicable to any Tax matter;

        (x)        not waive, release, permit the lapse of, relinquish or assign any rights of the
                   Business under any Assumed Contract other than in the Ordinary Course;

        (y)        accelerate the delivery or sale of services or products, or offer discounts or price
                   protection on the sale of services or products or premiums on the purchase of any
                   materials other than in the Ordinary Course; and

        (z)        not agree or make a commitment, whether in writing or otherwise, to do any of the
                   foregoing.

        Nothing in this Agreement gives the Buyer the right, directly or indirectly, to control or
direct the Seller’s operations for purposes of any applicable antitrust laws before receipt of any
applicable approvals and consummation of the Transaction.

8.3     Conduct in Respect of Travel Services Until Closing Time

        Except: (1) as expressly required by this Agreement; (2) as required by the DIP Term
Sheet; (3) with the prior written consent of the Buyer (not to be unreasonably withheld or delayed);
(4) as provided for in any of the orders made in the CCAA Proceedings; or (5) as required by
Applicable Law, from the date hereof until the Closing Time, neither the Seller nor Travel Services
shall:

        (a)        amend Travel Services’ Organizational Documents;

        (b)        split, consolidate or reclassify any shares in Travel Services;

        (c)        issue, sell or otherwise dispose of any shares in Travel Services, or grant any
                   options, warrants or other rights to purchase or obtain (including upon conversion,
                   exchange or exercise) any shares in Travel Services; or

        (d)        declare or pay any dividends or distributions on or in respect of any shares in Travel
                   Services or redeem, retract, purchase or acquire its shares.




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8.4     Misallocated Assets

        (a)        If after the Closing: (i) the Buyer or any of its affiliates holds, is the owner of,
                   receives or otherwise comes to possess any Excluded Assets or Excluded
                   Liabilities; or (ii) the Seller or any of its affiliates hold, is the owner of, receives or
                   otherwise comes to possess any Purchased Assets or Assumed Liabilities, the Buyer
                   or the Seller, as applicable, will: (A) promptly give written notice to the other Party;
                   and (B) promptly transfer assign, convey and deliver (or cause to be transferred,
                   assigned, conveyed and delivered) such assets or assume (or cause to be assumed)
                   such Assumed Liabilities or Excluded Liabilities to or from (as applicable) the other
                   Party. Prior to any such transfer, the Party receiving or possessing any such asset
                   will hold it in trust for the benefit of such other Party. Each Party will cooperate
                   with the other Party and use its commercially reasonable efforts to set up procedures
                   and notifications as are reasonably necessary or advisable to effectuate the
                   assignment, transfer, conveyance and delivery, or assumption, contemplated by this
                   Section 8.4. Following the Closing, the Seller will, and will cause its affiliates to,
                   deliver as promptly as practicable any Purchased Assets that were not provided to
                   the Buyer at the Closing. Without duplication or limitation of the foregoing, in the
                   event that: (x) the Seller or any of its affiliates receives any payment, invoice or
                   other correspondence from customers, suppliers or other contracting parties related
                   to the Purchased Assets or the Assumed Liabilities, after the Closing, the Seller
                   agrees to promptly remit (or cause to be promptly remitted) such funds, invoices or
                   other correspondence to the Buyer; or (y) the Buyer or any of its affiliates receive
                   any payment, invoice or other correspondence from customers, suppliers or other
                   contracting parties of the Seller, or otherwise related to the Excluded Assets or the
                   Excluded Liabilities, after the Closing, the Buyer agrees to promptly remit (or cause
                   to be promptly remitted) such funds, invoices or other correspondence to the Seller.

        (b)        If any Party hereto brings a Legal Proceeding in connection with any controversy,
                   disagreement or dispute arising under this Section 8.4, the losing Party in any such
                   Legal Proceeding shall reimburse the prevailing Party for its reasonable and
                   documented costs and expenses (including reasonable and documented attorneys’
                   fees) in connection with such Legal Proceeding.

        (c)        Prior to the Closing, the Seller shall, and as applicable shall cause Travel Services
                   to, update the owner of record for each item of Seller Registered IP to be the Seller
                   or Travel Services, where any such item has on the date of this Agreement as the
                   owner of record any entity or name other than the name of the Seller or Travel
                   Services, as applicable, immediately prior to Closing.

8.5     Reserve Agreement Assignment and Assumption

        With regard to the assignment by the Seller to the Buyer of all of the Seller’s rights and
interests under the Reserve Agreement and the Security Agreement and the assumption by the
Buyer of all of the Seller’s present and future liabilities and obligations under the Reserve
Agreement and the Security Agreement (the “Reserve Agreement Assignment and
Assumption”):


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        (a)        the Seller shall, promptly after the date hereof, use commercially reasonable efforts
                   provide to third parties such notice or other documentation of the Reserve
                   Agreement Assignment and Assumption (which will become effective on the
                   Closing) as may be required by the Seller’s Contracts;

        (b)        the Seller and the Buyer shall enter into on the Closing Date an assignment and
                   assumption agreement (the “Reserve Agreement Assignment and Assumption
                   Agreement”) to document the Reserve Agreement Assignment and Assumption,
                   which assignment and assumption shall be in form and substance satisfactory to
                   each of the Seller and Buyer, acting reasonably, and, for certainty, shall not include
                   any additional representations or warranties or covenants regarding the Reserve
                   Agreement, the Reserve Fund or any other matters relating to or in connection with
                   the Transaction;

        (c)        the Seller will provide notice of this Agreement and the proposed Reserve
                   Agreement Assignment and Assumption to RBC (in the event that this Agreement
                   is selected as the Successful Bid), and the Seller shall provide reasonable
                   cooperation to the Buyer to assist the Buyer, but for certainty without the
                   requirement to pay for any costs, expenses or fees, to obtain a consensual consent
                   to the Reserve Agreement Assignment and Assumption from RBC, provided that
                   for certainty no consent from RBC shall be required as a condition of Closing for
                   the benefit of the Buyer;

        (d)        concurrently with or promptly after the Closing, at the Buyer’s written request, the
                   Seller shall make reasonable best efforts, and cooperate with the Buyer, to effect
                   the transfer of the RBC Accounts to the Buyer; and

        (e)        the Seller shall, at the Buyer’s written request, promptly furnish the Buyer with
                   copies of such documents and information, including financial information, as the
                   Buyer may reasonably request in connection with the Reserve Agreement and
                   Security Agreement.

8.6     Approvals and Consents

        (a)        The Parties shall, as soon as reasonably practicable following the date hereof, seek
                   all Consents and Approvals, make all such filings and deliver all such notices as
                   may be required in respect therewith, including notices to each of the Governmental
                   Authorities listed in Section 8.6 of the Disclosure Letter, and request any expedited
                   processing available. The Parties shall use (and shall cause their respective affiliates
                   to use) their respective commercially reasonable efforts to obtain the Competition
                   Act Approval on or before the Outside Date.

        (b)        The Seller shall cooperate in and use reasonable best efforts to facilitate negotiation
                   and completion of an assignment of the Licensed Air Miles IP to the Buyer, in lieu
                   of an assignment of the Air Miles License Agreements to Buyer, upon the Closing.

        (c)        Without limiting the generality of the foregoing, with respect to the Competition
                   Act Approval:

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                   (i)     the Buyer shall, as soon as reasonably practicable, and in no event more
                           than ten (10) Business Days after the date hereof, submit a request to the
                           Commissioner for an Advance Ruling Certificate or, in the alternative, a No
                           Action Letter in respect of the Transaction;

                   (ii)    if an Advance Ruling Certificate or No Action Letter shall not have been
                           obtained within five (5) Business Days following the filing of the Buyer’s
                           request, then the Parties shall consider the advisability of making
                           notification filings in accordance with Part IX of the Competition Act in
                           respect of the Transaction and, if either party determines, acting reasonably,
                           that such filings are advisable, shall each submit a notification filing within
                           ten (10) Business Days of such determination; and

                   (iii)   the Buyer shall be responsible for the payment of any filing fees required to
                           be paid in connection with any filing made in respect of the Competition
                           Act Approval.

        (d)        The Parties shall: (i) give each other reasonable advance notice of all material
                   meetings or other oral communications with any Governmental Authority relating
                   to the Competition Act Approval, and provide as soon as practicable and within
                   any required time any additional submissions, information and/or documents
                   requested by any Governmental Authority necessary, proper or advisable to obtain
                   the Competition Act Approval; (ii) not participate independently in any such
                   material meeting or other oral communication without first giving the other Party
                   (or their outside counsel) an opportunity to attend and participate in such material
                   meeting or other oral communication, unless otherwise required or requested by
                   such Governmental Authority; (iii) if any Governmental Authority initiates an oral
                   communication regarding the Competition Act Approval, promptly notify the other
                   Party of the substance of such communication; (iv) subject to Applicable Laws
                   relating to the exchange of information, provide each other (or their outside
                   counsel) with a reasonable advance opportunity to review and comment upon and
                   consider in good faith the views of the other in connection with all written
                   communications (including any filings, notifications, submissions, analyses,
                   presentations, memoranda, briefs, arguments, opinions and proposals) made or
                   submitted by or on behalf of a Party with a Governmental Authority regarding the
                   Competition Act Approval; and (v) promptly provide each other (or their outside
                   counsel) with copies of all written communications to or from any Governmental
                   Authority relating to the Competition Act Approval.

        (e)        Each Party shall, at the other Party’s request, furnish that other Party with copies
                   of such documents and information, including financial information, as the
                   requesting Party may reasonably request in connection with the obtaining of any
                   Consents and Approvals contemplated by Sections 8.6(a) to 8.6(d).

        (f)        Each of the Parties may, as advisable and necessary, reasonably designate any
                   competitively or commercially sensitive material provided to the other under this
                   Section 8.6 as “Outside Counsel Only Material”. Such materials and the


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                   information contained therein shall be given only to the outside legal counsel of the
                   recipient and, subject to any additional agreements between the Parties, will not be
                   disclosed by such outside legal counsel to employees, officers or directors of the
                   recipient unless express written permission is obtained in advance from the source
                   of the materials or its legal counsel.

        (g)        Neither Party shall enter into any transaction, investment, agreement, arrangement
                   or joint venture or take any other action, the effect of which would reasonably be
                   expected to make obtaining the Competition Act Approval materially more difficult
                   or challenging, or reasonably be expected to materially delay the obtaining of the
                   Competition Act Approval.

        (h)        The obligations of the Buyer to use its commercially reasonable efforts to obtain
                   the Competition Act Approval does not require the Buyer or any affiliate thereof to
                   propose, negotiate, effect or agree to, a sale, divestiture, license, or other disposition
                   of any assets or business of the Buyer or its affiliates (including the Purchased
                   Assets) or otherwise take any action that limits the freedom of action with respect
                   to, or the Buyer’s ability to retain any of the businesses, product lines or assets of
                   the Buyer or its affiliates (including the Purchased Assets).

        (i)        In the event of a Legal Proceeding relating to, arising from or in connection with
                   the Transaction, each Party shall use commercially reasonable efforts to: (i) oppose
                   or defend against such Legal Proceeding and/or (ii) appeal, overturn or have lifted
                   or rescinded any Applicable Law relating to itself or any of its subsidiaries which
                   may materially adversely affect the ability of the Parties to consummate the
                   Transaction; and (iii) appeal or overturn or otherwise have lifted or rendered non-
                   applicable in respect of the Transaction, any Applicable Law that makes
                   consummation of the Transaction illegal or otherwise prohibits or enjoins either of
                   the Parties from consummating the Transaction.

8.7     Access of the Seller to Books and Records

         The Seller (including any receiver or trustee appointed in respect thereof) shall, for a period
of six (6) years from the Closing Date, have access to, and the right to copy, at its expense, for
bona fide business purposes and for purposes of any Insolvency Proceedings, litigation, or
winding-up of the Seller, and during usual business hours, upon reasonably prior notice to the
Buyer, all Books and Records relating to the Business, the Purchased Assets and the Assumed
Liabilities that are transferred and conveyed to the Buyer pursuant to this Agreement. The Buyer
shall retain and preserve all such Books and Records for such six (6) year period. Notwithstanding
anything herein to the contrary, no such Books and Records shall be made available to the extent
that it would: (a) unreasonably disrupt the operations of the Business or the Buyer; or (b) require
the Buyer to disclose information subject to attorney-client privilege.

8.8     Further Assurances

       Each of the Parties hereto shall promptly do, make, execute or deliver, or cause to be done,
made, executed or delivered, all such further acts, documents and things as the other Parties hereto


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may reasonably require from time to time for the purpose of giving effect to this Agreement and
shall use commercially reasonable efforts and take all such steps as may be reasonably within its
power to implement to their full extent the provisions of this Agreement. Upon and subject to the
terms and conditions of this Agreement and subject to the directions of any applicable courts to
the Seller, the Parties shall use their commercially reasonable efforts to take or cause to be taken
all actions and to do or cause to be done all things necessary proper or advisable under Applicable
Laws to consummate and make effective the Transaction, including using commercially
reasonable efforts to satisfy the conditions precedent to the obligations of the Parties hereto.

8.9     Tax Matters

        (a)        The Buyer and the Seller agree to use commercially reasonable efforts to furnish or
                   cause to be furnished to each other, as promptly as practicable, such information
                   and assistance relating to the Business, the Purchased Assets and the Assumed
                   Liabilities as is reasonably necessary for the preparation and filing of any Tax
                   Return, claim for refund or other required or optional filings relating to Tax matters,
                   for the preparation for and proof of facts during any Tax audit, for the preparation
                   for any Tax protest, for the prosecution of any suit or other proceedings relating to
                   Tax matters and for the answer to any governmental or regulatory inquiry relating
                   to Tax matters.

        (b)        For purposes of any income Tax Return, the Buyer and the Seller agree to report
                   the Transaction in a manner consistent with the Purchase Price allocation
                   determined in accordance with Section 3.5, and the Buyer and the Seller shall not
                   voluntarily take any action inconsistent therewith in any such Tax Return, refund
                   claim, litigation or otherwise, unless required by applicable Tax laws. The Buyer
                   and the Seller shall each be responsible for the preparation of their own statements
                   required to be filed under the Tax Act and other similar forms in accordance with
                   applicable Tax laws.

        (c)        All amounts payable by either Party to the other Party pursuant to this Agreement
                   are exclusive of any HST, QST or any other federal, provincial, state or local or
                   foreign value-added, sale, use, consumption, multi-staged, ad valorem, personal
                   property, customs, excise, stamp, transfer, land or real property transfer, or similar
                   Taxes, duties, or charges, or any recording or filing fees or similar charges
                   (collectively, “Transfer Taxes”). All Transfer Taxes are the responsibility of and
                   for the account of the Party required to pay such taxes under Applicable Laws. The
                   Buyer and the Seller agree to cooperate to determine the amount of Transfer Taxes
                   payable in connection with the Transaction. If a Party (the “Collecting Party”) is
                   required by Applicable Law or by administration thereof to collect any applicable
                   Transfer Taxes from the other Party, such other Party shall pay such amounts to the
                   Collecting Party concurrent with the payment of any consideration payable
                   pursuant to this Agreement, and the Collecting Party shall remit or account for such
                   Transfer Taxes to the applicable Governmental Authority on a timely basis and
                   otherwise in accordance with Applicable Laws, unless the other Party qualifies for
                   an exemption from any such applicable Transfer Taxes, in which case the other
                   Party shall, in lieu of payment of such applicable Transfer Taxes to the Collecting


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                   Party, deliver to the Collecting Party such certificates, elections, or other
                   documentation required by law or the administration thereof to substantiate and
                   effect the exemption claimed by the other Party.

        (d)        If requested by the Buyer, in the event that either or both of subsection 184(2) and
                   subsection 185.1(1) of the Tax Act would otherwise apply at any time to all or any
                   part of any dividend or other amount paid by Travel Services before the Closing
                   Time, Travel Services will file an election or elections under either or both of
                   subsection 184(3) and subsection 185.1(2) of the Tax Act in a timely manner with
                   the appropriate Governmental Authority such that no Tax is payable by Travel
                   Services under either of Part III and III.1 of the Tax Act in connection with the
                   declaration and payment of such dividend. The Seller agrees that it shall concur or
                   shall cause the recipient of the relevant dividend to concur, as applicable, in the
                   making of any election under either or both of subsection 184(3) and subsection
                   185.1(2) of the Tax Act to the extent that such Person received a dividend in respect
                   of which the election applies, and will provide evidence of such concurrence to the
                   Buyer on Closing.

        (e)        If requested by the Buyer, the Seller and the Buyer shall jointly make the election
                   provided for in paragraph 167(1)(b) of the Excise Tax Act (Canada) and any
                   equivalent or corresponding provision under any applicable provincial or territorial
                   legislation (including section 75 of an Act respecting Québec sales tax (Québec)),
                   in prescribed form and within the required time period, to have subsection 167(1.1)
                   of the Excise Tax Act (Canada) and any equivalent or corresponding provision
                   under any applicable provincial or territorial legislation apply in respect of the sale
                   and purchase of the Purchased Assets under this Agreement. The Buyer shall file
                   the completed election form with the applicable Governmental Authority no later
                   than the due date for the Buyer’s HST or QST returns, as applicable, for the first
                   reporting period in which HST or QST, as applicable, would, in the absence of this
                   election, become payable in connection with the transactions contemplated by this
                   Agreement. Notwithstanding such election and anything to the contrary in this
                   Agreement, in the event it is finally determined by any relevant Governmental
                   Authority that the Seller is liable to collect and remit HST or QST in respect of the
                   sale of the Purchased Assets and the Business, the Buyer shall forthwith pay such
                   HST or QST, as applicable, plus any applicable interest and penalties, to the Seller
                   for remittance to the applicable Governmental Authority and the Buyer shall
                   indemnify and save the Seller (and any present or former directors and officers of
                   the Seller) harmless with respect to any Taxes and costs payable resulting from
                   such determination. This indemnity shall survive the Closing Date in perpetuity.

        (f)        If requested by the Buyer, the Seller and the Buyer will jointly execute, and each
                   of them will file promptly following the Closing Date, an election under section 22
                   of the Tax Act and any corresponding provisions of any applicable provincial
                   income Tax legislation, in prescribed form and within the required time period, with
                   respect to any debts referred to in such section 22 and any corresponding provisions
                   of any applicable provincial income Tax legislation. For the purposes of such
                   elections, the Buyer, acting reasonably and in consultation with the Seller, will


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                   designate the portion of the Purchase Price allocable to the debts in respect of which
                   such elections are made. For greater certainty, the Seller and the Buyer agree to
                   prepare and file their respective Tax Returns in a manner consistent with such
                   election(s).

        (g)        The Seller and the Buyer will jointly elect under subsection 20(24) of the Tax Act
                   and any corresponding provisions of any applicable provincial income Tax
                   legislation, in the prescribed manner and within the required time period, with
                   respect to the amount of the Assumed Liabilities. For the purposes of such
                   election(s), the Parties, acting reasonably, shall determine the elected amount and
                   the Buyer and the Seller acknowledge that the Seller is transferring assets to the
                   Buyer which have a value equal to such elected amount as consideration for the
                   assumption by the Buyer of such obligations of the Seller.

        (h)        The Seller and the Buyer shall make any other election or amended election under
                   the Tax Act or any other Tax legislation that the Seller and the Buyer agree to make
                   and reasonably determine is available and necessary or advisable and the parties
                   agree to revise or amend any such elections to reflect any adjustment to the
                   purchase price pursuant to Section 3.4.

        (i)        All registration fees, transfer taxes and similar payments arising out of the
                   completion of this transaction and not expressly addressed in this Agreement shall
                   be paid by the Seller and the Buyer in accordance with Applicable Law or custom.

        (j)        Notwithstanding any other provision of this Agreement, in the event that, as a result
                   of a breach, modification or termination of this Agreement at any time, an amount,
                   including damages and amounts payable under Section 9.2, is to be paid or forfeited
                   by Seller, or a debt or other obligation is to be reduced or extinguished without
                   payment by Seller on account of the debt or obligation and section 182 of the Excise
                   Tax Act (Canada) applies to the amount to be paid, forfeited, reduced or
                   extinguished, as the case may be, the amount shall be increased so that the amount
                   received by the Buyer net of the applicable HST is equal to the amount that the
                   Buyer would have received had section 182 of the Excise Tax Act (Canada) not
                   applied.

8.10    Employee Matters

        (a)        As soon as possible after the date hereof, and in any event within five (5) Business
                   Days of the date hereof, the Seller shall provide the Buyer with a correct and
                   complete list, as of the date set out therein:

                   (i)    of all employees of the Seller (the “Employees”), including the following
                          information by employee: name; date of hire; title or position; grade/level;
                          location; whether full-time, part-time or fixed term employment; eligibility
                          for overtime pay; visa or work permit details (if any); whether on short-term
                          or long-term disability or other leave; salary or hourly rate of pay; annual
                          cash incentive eligibility and cash incentives received in each of the


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                            previous three (3) years; annual vacation entitlement; annual sick leave
                            entitlement; equity/deferred compensation incentive eligibility and
                            incentives received in each of the previous three (3) years; and any other
                            material compensation arrangements. For any employees who are on a
                            short-term or long-term disability or other leave, such list shall set out their
                            type of absence, length of absence, and expected return to work (if any);

                    (ii)    of all contractors and consultants of the Seller, including the following
                            information: date of engagement, general description of services provided,
                            fee rate and annual fees paid in each of the previous three (3) years; and

                    (iii)   a true and complete list of all Employee Plans.

        (b)        Prior to but conditional on Closing and with effect as of the Closing Time, the
                   Buyer or its designee shall make written offers of employment to all of the
                   Employees that are located in Canada, such offers of employment to be: (i) in
                   respect of salary or hourly rate of pay and annual cash incentive opportunity,
                   substantially similar, in the aggregate, as those existing with the Seller in respect of
                   such Employees immediately prior to Closing for a period of one year following
                   the Closing; (ii) in respect of working from home arrangements in Canada only, the
                   same as those existing with the Seller in respect of such Employees for a period of
                   six (6) months following the Closing, at which time they will be subject to the
                   flexible work arrangements of the Buyer, and Buyer will determine whether each
                   position is to be onsite, hybrid or remote, and such designation will be decided in
                   good faith, and changes to Employee status as remote workers, if any, will
                   contemplate a transition period of at least sixty (60) days; and (iii) in respect of
                   benefits, on terms and conditions that are applicable to similarly situated employees
                   of the Buyer for a period of one year following the Closing. Prior to the Closing
                   Time, the Buyer may, in coordination and consultation with the Seller, send to each
                   Employee an offer letter, which will be followed by materials relating to a
                   background check, consistent with the offer letter and background check typically
                   required by the Buyer and its Affiliates for similarly situated employees. The Seller
                   shall assist the Buyer with obtaining Employee consents for such background
                   checks. If any Employee requires a visa, work permit or other approval for their
                   employment to continue with the Buyer or its designee following Closing, the
                   Buyer or its designee shall use commercially reasonable efforts to promptly make
                   any necessary applications and to secure the necessary visa, permit or other
                   approval. Buyer shall not be required to make offers of employment to any
                   employee of the Seller that is located in or a resident of the United States.

        (c)        All of the Employees who accept the Buyer’s or its designee’s offer of employment
                   and commence active employment with the Buyer shall hereinafter be referred to
                   as “Assumed Employees”. The Buyer or its designee shall recognize all service of
                   Assumed Employees with the Seller or, if longer, as recognized by the Seller. The
                   Seller will cooperate with the Buyer and its designee, if any, in giving notice to the
                   Employees concerning such matters referred to in this Section 8.10 as are



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                   reasonable under the circumstances. The Seller and Buyer shall exercise reasonable
                   efforts to persuade the Employees to accept the Buyer’s offers of employment.

        (d)        The Buyer or its designee shall assume and be responsible for all liabilities and
                   obligations with respect to the Assumed Employees arising on or after their
                   commencement of employment with the Buyer or its designee, including all
                   severance pay, termination pay, pay in lieu of notice, damages and other liabilities,
                   which will be provided in all cases in accordance with Applicable Law and, where
                   applicable, in accordance with any written employment agreement.

        (e)        Subject to the CCAA Proceedings, Seller shall remain solely responsible for the
                   satisfaction of all claims for medical, dental, life insurance, health, accident or
                   disability benefits brought by or in respect of current or former employees, officers,
                   directors, independent contractors or consultants of the Seller or the spouses,
                   dependents or beneficiaries thereof, which claims relate to events occurring on or
                   before the later of: (i) the Closing Date; or (ii) the date of their commencement of
                   employment or engagement with the Buyer or its designee. Seller also shall remain
                   solely responsible for all claims under the Workplace Safety and Insurance Act,
                   1997 (Ontario) (or the comparable legislation of any other jurisdiction) of any
                   current or former employees, officers, directors, independent contractors or
                   consultants of the Seller that relate to events occurring on or before the later of: (i)
                   the Closing Date; or (ii) the date of their commencement of employment or
                   engagement with the Buyer or its designee. Solely to the extent required by
                   Applicable Law, including any order of the CCAA Court or the Bankruptcy Court,
                   Seller shall pay, or cause to be paid, all such amounts to the appropriate persons as
                   and when due.

        (f)        Subject to the CCAA Proceedings, Seller shall be solely responsible, and neither
                   Buyer nor its designee shall have any obligations whatsoever, for any compensation
                   or other amounts payable to any current or former employee, officer, director,
                   independent contractor or consultant of the Seller for any period relating to the
                   service with Seller at any time before their commencement of employment with the
                   Buyer or its designee, including liabilities and obligations related to any required
                   notice of termination, termination or severance pay (required under Applicable Law
                   or under contract), employment insurance, workplace safety and
                   insurance/workers’ compensation, Canada Pension Plan, salary or wages, accrued
                   and unused vacation entitlements, sabbatical days and other paid time off, statutory
                   holiday pay, overtime pay, payroll or employer health taxes, commissions, bonuses,
                   employee benefit plan payments or contributions and any other Claims. Seller shall
                   pay to Employees all such amounts due and owing to the date of Closing in the
                   normal course, but for greater certainty shall not pay any amounts in respect of
                   termination pay that becomes due and payable after the commencement of the
                   CCAA Proceedings. Subject to the CCAA Proceedings, and to the Buyer’s
                   obligations as set out in this Section 8.10, Seller shall be and remain solely
                   responsible, and neither Buyer nor its designee shall have any obligations
                   whatsoever, for all liabilities and obligations related to the employment by the
                   Seller of any Employees, including any such liabilities and obligations incurred


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                   after the Closing Date, in respect of any Employee who: (i) rejects the Buyer’s or
                   its designee’s offer of employment; (ii) receives an offer of employment from the
                   Buyer or its designee but does not become an Assumed Employee; or (iii) resigns
                   from employment with the Seller prior to their commencement of employment with
                   the Buyer or its designee.

        (g)        The terms of any offer of employment by the Buyer or its designee to any Employee
                   who is absent from work as of the date of such offer due to a short or long-term
                   disability, pregnancy, parental or any other statutory leave of absence may, in the
                   sole discretion of the Buyer or its designee, specify that the offer of employment is
                   conditional upon such Employee returning to work with any accommodations that
                   may be required by Applicable Law no later than eighteen (18) months after the
                   Closing Date, and each such Employee shall only become an Assumed Employee
                   as of the date, if any, on which such Employee returns to work and shall remain an
                   employee of the Seller until the earliest of (i) the date on which the Employee
                   becomes an Assumed Employee (if applicable), or (ii) the appointment of trustee
                   in bankruptcy in respect of the Seller. In the event that the Employee does not
                   become an Assumed Employee within eighteen (18) months after the Closing Date,
                   the Seller shall bear all resulting liabilities and obligations including any liabilities
                   and obligations that relate to events occurring after the Closing Date.

        (h)        The Assumed Employees shall cease to participate in all Employee Plans and shall
                   be entitled to participate in Buyer’s benefit plans, programs, policies and
                   arrangements in accordance with the terms and conditions of such plans, with
                   recognition of prior service for purposes of satisfying any waiting periods. The
                   Buyer shall not assume any of the Employee Plans, and the Seller shall retain all
                   rights, obligations and liabilities under and in relation to such Employee Plans.

8.11    Fees and Expenses

       Except as expressly provided in this Agreement, including pursuant to Section 9.2 hereof,
and subject to the terms of the DIP Term Sheet, all fees and expenses incurred in connection with
the negotiation and settlement of this Agreement and the completion of the Transaction (excluding,
for greater certainty, the DIP Facility and the DIP Term Sheet), including the fees and
disbursements of counsel, financial advisors and accountants, shall be paid by the Person incurring
such fees or expenses.

8.12    Name Discontinuance

       On or promptly following the Closing Date, and except as may be required for purposes of
any Insolvency Proceedings, the Seller and its affiliates shall discontinue use of the name “AIR
MILES” and any variation thereof, except where legally required to advise that its name has been
changed to another name or to refer to the historical fact that the Seller previously conducted the
Business under the “AIR MILES” name.




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8.13    Release

        Notwithstanding any other provisions of this Agreement, effective as of the Closing Time,
each of the Buyer and the Seller, on behalf of itself and its affiliates, does hereby forever release
and discharge: (i) the Monitor and its affiliates and each of their respective present and former
direct and indirect shareholders, officers, directors, partners, employees, advisors (including
financial advisors and legal counsel) and agents; and (ii) such other Party and its affiliates
(including the release of Travel Services by the Seller) and each of their respective present and
former direct and indirect shareholders (excluding Bread and its present and former directors and
officers), officers, directors, employees, advisors (including financial advisors and legal counsel)
and agents (collectively, the “Released Parties”) from any and all demands, claims, liabilities,
actions, causes of action, counterclaims, expenses, costs, damages, losses, suits, debts, sums of
money, refunds, accounts, indebtedness, rights of recovery, rights of set-off, rights of recoupment
and liens of whatever nature (whether direct or indirect, absolute or contingent, asserted or
unasserted, secured or unsecured, matured or not yet matured due or to become due, accrued or
unaccrued or liquidated or unliquidated) and including all costs, fees and expenses relating thereto
(collectively, “Claims”) based in whole or in part on any act or omission, transaction, dealing or
other occurrence existing or taking place on or prior to the Closing Time relating to, arising out of
or in connection with, the Purchased Assets, the Business, the Assumed Liabilities, the SISP, the
Transaction, the CCAA Proceedings, or the Chapter 11 Cases, save and except for Claims:
(a) under this Agreement (including the acquisition of the Purchased Assets and assumption of the
Assumed Liabilities by the Buyer) or any document ancillary thereto; (b) arising out of fraud, gross
negligence or wilful misconduct of or by the Released Parties; and/or (c) relating to Bread. For
greater certainty, the Seller is not releasing any of its affiliates pursuant to this Section 8.13, other
than Travel Services.

8.14    Wind-Up

        The Buyer acknowledges that following the Closing Date, the Seller may pursue further
proceedings to wind-up its affairs, whether pursuant to further restructuring proceedings (including
a plan in respect of a distribution of sale proceeds to its creditors), commencing proceedings
pursuant to the Bankruptcy and Insolvency Act, R.S.C., 1985, c. B-3, as amended, or otherwise.
Nothing in this Agreement shall prohibit the Seller from ceasing its operations or winding up its
affairs at any time after the Closing Date. Any costs and expenses incurred by the Seller in
connection with such proceedings shall be borne exclusively by the Seller, without any recourse
to the Buyer, and the Buyer shall have no obligation to participate in (including to incur any costs
in respect of), and shall be unaffected in all respects by, any such further proceedings.

8.15    Reserve Agreement Reporting

        (a)        The Seller shall, on or before the 15th day following the end of each month after the
                   date hereof, provide the Buyer with a notice setting out the Seller’s estimate (the
                   “Funding Estimate”) of the funds required to be deposited in the Reserve Account
                   in order to ensure that a Reserve Fund Deficiency will not arise in respect of the
                   previous month’s activities together with evidence that such funds have been
                   deposited into the Reserve Account. The Funding Estimate shall be prepared on the



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                   basis of the principles and the methodology that have been used by the Seller to
                   prepare such estimates for its internal use prior to the date hereof.

        (b)        The Seller shall, on the last Business Day of each month following the date hereof,
                   provide the Buyer with a copy of the Trust Certificate prepared in respect of the
                   previous month as well as evidence that sufficient funds have been deposited (if
                   necessary) to ensure that a Reserve Fund Deficiency in respect of such month will
                   not arise in respect of such month, based on the amounts set out in such Trust
                   Certificate.

8.16    Replacement of BofA Letter of Credit

        At or prior to the Closing, the Buyer shall replace that certain Letter of Credit No.
68182913 dated December 14, 2022 and issued to Regie des Alcools Des Courses des Jeux (the
“L/C”) in the amount of $100,000 Canadian dollars issued by Bank of America, N.A. with a parent
guarantee, letter of credit, bond, indemnity, cash (if acceptable to the beneficiary thereof) or
another non-cash credit assurance of a comparable and sufficient nature that satisfies the
requirements of the beneficiary such that the Seller and Bank of America, N.A. shall have received
evidence of the cancellation, surrender or return for cancellation of the L/C at or prior to Closing
without any unreimbursed drawing having been made under the L/C; provided that for certainty,
nothing contemplated by this Section 8.16 shall in any way affect or change the Purchase Price or
any amount required to be paid by the Buyer hereunder.

                                            ARTICLE 9
                                        CCAA PROCEEDINGS

9.1     CCAA Proceedings

        (a)        The Parties acknowledge and agree that the Seller shall apply to the Court by no
                   later than March 10, 2023, for the Initial Order, substantially in the form of
                   Schedule D hereto, and all Parties will use commercially reasonable efforts to have
                   the Initial Order issued.

        (b)        The Parties acknowledge and agree that the Seller shall apply to the Court by no
                   later than March 20, 2023, for the A&R Initial Order, substantially in the form of
                   Schedule E, and all Parties will use commercially reasonable efforts to have the
                   A&R Initial Order issued.

        (c)        The Parties acknowledge and agree that the Seller shall apply to the Court by no
                   later than March 20, 2023, for the SISP Order, substantially in the form of
                   Schedule F hereto, and all Parties will use commercially reasonable efforts to have
                   the SISP Order issued. The Buyer acknowledges and agrees that the SISP is in
                   contemplation of determining whether a superior bid can be obtained for the
                   Purchased Assets or some alternative form of sale, investment or restructuring
                   transaction in respect of the Seller, the Purchased Assets and/or the Business.

        (d)        The Seller shall provide the Buyer for review, reasonably in advance of filing, drafts
                   of such material motions, pleadings or other filing related to the process of

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                   consummating the Transaction to be filed with the Court, including the motions for
                   issuance of the Initial Order, A&R Initial Order, the SISP Order, an order pursuant
                   to section 11.3 of the CCAA, and the Approval and Vesting Order, and shall
                   promptly inform the Buyer of any notice, correspondence or court materials it
                   receives from another Person with respect to any objections, concerns, or positions
                   purportedly intended to be raised with the Court.

        (e)        In the event an appeal is taken or a stay pending appeal is requested from the SISP
                   Order, an order pursuant to section 11.3 of the CCAA, or the Approval and Vesting
                   Order, the Seller shall promptly notify the Buyer of such appeal or stay request and
                   shall promptly provide the Buyer a copy of the related notice of appeal or order of
                   stay. The Seller shall also provide the Buyer with written notice of any motion or
                   application filed in connection with any appeal from such orders. The Seller agrees
                   to take all action as may be reasonable and appropriate to defend against such
                   appeal or stay request and the Seller and the resolution of such appeal or stay
                   request, provided that nothing herein shall preclude the Parties hereto from
                   consummating the Transaction contemplated hereby, if the Approval and Vesting
                   Order shall have been issued and has not been stayed and if the Buyer and the Seller,
                   in their respective sole discretion, waive in writing the condition that the Approval
                   and Vesting Order be Final.

9.2     Expense Reimbursement and Break Fee

        In consideration for the Buyer’s considerable expenditure of time and money and
agreement to act as the initial bidder and the preparation of this Agreement, and in performing due
diligence pursuant to this Agreement, in the event that: (i) the Transaction is not consummated for
any reason other than a termination of this Agreement by the Seller pursuant to Section 10.3 or by
mutual consent of the Buyer and the Seller pursuant to Section 10.1(b); and (ii) a transaction is
selected as the Successful Bid in accordance with the SISP that is not this Transaction, the Buyer
shall be entitled to: (A) an expense reimbursement for the Buyer’s and its affiliates’ documented
reasonable out-of-pocket third party expenses incurred in connection with this Agreement and/or
the Transaction in an aggregate amount equal to the amount of such expenses, plus applicable
Taxes, up to a maximum of $1,000,000 (the “Expense Reimbursement”) provided such expenses
have not otherwise been paid or reimbursed pursuant to the terms of the DIP Term Sheet; and (B)
a break fee in the amount of $3,000,000 (the “Break Fee”), which Expense Reimbursement and
Break Fee shall be payable by the Seller to the Buyer on the date upon which closing occurs in
respect of such alternative transaction; provided, however, that the Buyer shall not be entitled to
payment of the Expense Reimbursement and Break Fee if no Successful Bid is selected in
accordance with the SISP and the SISP terminates in accordance with its terms. The payment of
the Expense Reimbursement and the Break Fee shall be approved in the SISP Order and shall be
secured by a Court-ordered charge against the Seller’s assets in priority to amounts secured by
existing security other than amounts secured by the various charges approved by the Court in the
Initial Order and/or the A&R Initial Order (the “Expense Reimbursement and Break Fee
Charge”). Each of the Parties hereto acknowledges and agrees that the Expense Reimbursement
and the Break Fee together represent a fair and reasonable estimate of the costs that will be incurred
by the Buyer as a result of non-completion of the Transaction, and are not intended to be punitive
in nature nor to discourage competitive bidding for the Business and/or the Purchased Assets, and


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no Party shall take a position inconsistent with this Section 9.2. The Seller irrevocably waives any
right it may have to raise as a defence that any such liquidation damages are excessive or punitive.
Each of the Parties acknowledge and agree that the Expense Reimbursement in this Section 9.2 is
an integral part of this Agreement and of the Transaction, and that without these agreements, the
Buyer would not enter into this Agreement. Upon payment of the Expense Reimbursement and
the Break Fee to the Buyer, the Buyer shall be precluded from any other remedy against the Seller
at law or in equity or otherwise in respect of the disclaimer, repudiation, breach or termination of
this Agreement; provided that nothing herein shall preclude any Party from seeking injunctive
relief to restrain any breach or threatened breach of the covenants or agreements set forth in this
Agreement or to compel specific performance of this Agreement.

                                            ARTICLE 10
                                           TERMINATION

10.1    Termination – Buyer and Seller

       This Agreement may be terminated by the Buyer and/or the Seller at any time prior to
Closing upon written notice to the other Party as follows:

        (a)        if Closing does not occur on or before the Outside Date; provided, however, that
                   the Party seeking to terminate this Agreement may not terminate pursuant to this
                   Section 10.1(a) if the Closing’s non-occurrence on or by the Outside Date is caused
                   by such Party’s failure to perform or comply with any of the covenants, agreements
                   or conditions hereof to be performed or complied with by it before the Closing
                   Date;

        (b)        subject to any approvals required from the Court or otherwise pursuant to any
                   Insolvency Proceedings, by mutual written consent of the Seller and the Buyer;

        (c)        if this Agreement is not selected as the Successful Bid (as determined pursuant to
                   the SISP), or if the Court otherwise approves a transaction that is not this
                   Agreement; provided, however, that the Party seeking to terminate this Agreement
                   may not terminate pursuant to this Section 10.1(c) if the Agreement’s non-selection
                   as the Successful Bid or the Court’s aforementioned non-approval of this
                   Agreement is caused by such Party’s failure to perform or comply with any of the
                   covenants, agreements or conditions hereof to be performed or complied with by it
                   before the Closing Date; and

        (d)        if the Court, or any other court of competent jurisdiction or Governmental Authority
                   (including the Competition Bureau) takes action to restrain, enjoin or otherwise
                   prohibit all or any of the transactions contemplated hereby and such action is not
                   capable of opposition or appeal; provided that the Party seeking to terminate this
                   Agreement may not terminate pursuant to this Section 10.1(d) if such Party did not
                   make commercially reasonable efforts to oppose and appeal such action, or if the
                   aforementioned action was caused by the acts or omissions of such Party such
                   Party’s failure to perform or comply with any of the covenants, agreements or
                   conditions hereof to be performed or complied with by it before the Closing Date.


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10.2     Termination – Buyer

                This Agreement may be terminated by the Buyer at any time prior to Closing upon
written notice to the Seller as follows:

        (a)        if any condition set forth in Section 7.1 or 7.2 is not satisfied, waived or performed
                   on or before the earlier of: (i) the date specified therefor (or, in the case of the
                   condition set forth in Section 7.2(b), within five (5) Business Days following the
                   date specified therefor); or (ii) the Closing Date;

        (b)        if there has been a material violation or breach by the Seller of any covenant,
                   representation or warranty that would prevent the satisfaction of any condition set
                   forth in Section 7.1 or 7.2 on the Closing Date and such violation or breach has not
                   been waived by the Buyer or cured within seven (7) calendar days after written
                   notice thereof from the Buyer, unless the Buyer is in material breach of their
                   obligations under this Agreement;

        (c)        if the CCAA Proceedings are terminated or a trustee in bankruptcy or a receiver is
                   appointed in respect of the Seller and/or its assets, and such trustee in bankruptcy
                   or receiver refuses to proceed with the Transaction; and

        (d)        if the Seller, or any of its affiliates, request or support, or the Court approves, any
                   amendments or modifications to the SISP that materially and adversely affect the
                   rights and obligations of the Buyer pursuant to this Agreement.

10.3    Termination – Seller

        This Agreement may be terminated by the Seller at any time prior to Closing upon written
notice to the Buyer:

        (a)        If any condition set forth in Section 7.1 or 7.3 is not satisfied, waived or performed
                   on or before the earlier of (i) the date specified therefor or (ii) the Closing Date;
                   and

        (b)        if there has been a material violation or breach by the Buyer of any covenant,
                   representation or warranty that would prevent the satisfaction of any condition set
                   forth in Section 7.1 or 7.3 on the Closing Date and such violation or breach has not
                   been waived by the Seller or cured within seven (7) calendar days after written
                   notice thereof from the Seller, unless the Seller is in material breach of its
                   obligations under this Agreement.

10.4    Effect of Termination

        In the event of termination of this Agreement pursuant to Sections 10.1, 10.2 and/or 10.3
this Agreement shall forthwith become null and void, except as set forth in Sections 1.2 through
1.14, 9.2, 10.4 and Article 12, and nothing herein shall relieve any Party from liability for any
breach of this Agreement prior to termination.



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                                              ARTICLE 11
                                               CLOSING

11.1    Location and Time of Closing

        The Closing shall take place at the Closing Time on the Closing Date by means of an
electronic closing, or such other place or fashion as may be agreed in writing upon by the Parties
hereto, in which the closing documentation will be delivered by email exchange of signature pages
in PDF or functionally equivalent electronic format, which delivery will be effective without any
further physical exchange of the originals or copies of the originals except as otherwise provided
in this Agreement.

11.2    Closing Deliveries

        (a)        At the Closing, the Seller shall deliver to the Buyer:

                   (i)     signature pages to each of the Closing Documents duly executed by the
                           Seller;

                   (ii)    the documents required to be delivered by the Seller pursuant to
                           Sections 7.1 and 7.2;

                   (iii)   certified copies of the resolutions duly adopted by the Seller’s board of
                           directors authorizing the execution, delivery and performance of this
                           Agreement and each of the other agreements in connection with the
                           Transaction, as well as any other approvals required for the Seller to
                           consummate the Transaction;

                   (iv)    reasonable documentation evidencing the release, or authorizing the release,
                           of any Encumbrances existing as of the Closing on any of the Purchased
                           Assets, other than Permitted Encumbrances;

                   (v)     any certificates, duly executed elections or other documents required to be
                           delivered pursuant to Section 8.9;

                   (vi)    the Trust Certificate, dated as of the Closing Date;

                   (vii) reasonable documentation evidencing that the Seller properly withheld and
                         remitted applicable Taxes on any Intercompany Loans (as defined in the
                         DIP Term Sheet) imposed under the Tax Act and any other Applicable
                         Laws; and

                   (viii) actual possession of the Purchased Assets.

        (b)        At the Closing, the Buyer shall deliver to the Seller:

                   (i)     signature pages to each of the Closing Documents duly executed by the
                           Buyer;


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                   (ii)    payment of the Purchase Price in accordance with Section 3.3, and in
                           respect of any amount payable to the Seller to such account as specified by
                           Seller in writing no less than two (2) days prior to the Closing Date, or
                           otherwise in accordance with the Approval and Vesting Order;

                   (iii)   certified copies of the resolutions duly adopted by the Buyer’s board of
                           directors authorizing the execution, delivery and performance of this
                           Agreement and each of the other agreements in connection with the
                           Transaction, as well as any other approvals required for the Buyer to
                           consummate the Transaction;

                   (iv)    any certificates, duly executed elections or other documents required to be
                           delivered pursuant to Section 8.9;

                   (v)     the documents required to be delivered by the Buyer pursuant to
                           Section 7.3; and

                   (vi)    an instrument of assumption of liabilities with respect to the Assumed
                           Liabilities in a form satisfactory to the Seller, acting reasonably.

                                           ARTICLE 12
                                        GENERAL MATTERS

12.1    Confidentiality

                The Buyer and the Seller acknowledge and agree that the terms of the
Confidentiality Agreement are hereby incorporated by reference and shall continue in full force
and effect until the Closing, at which time the obligations thereunder shall terminate. From and
after the Closing, the Seller shall, and shall cause its affiliates to, hold, and shall use its reasonable
best efforts to cause its or their respective Representatives to hold, in confidence any and all
information, whether written or oral, concerning the Business, the Purchased Assets and Assumed
Liabilities, except to the extent that Seller can show that such information: (a) is generally available
to, and known by, the public through no fault of Seller, any of its affiliates or any of their respective
Representatives; or (b) is lawfully acquired by Seller, any of its affiliates or any of their respective
Representatives from sources that are not prohibited from disclosing such information by a legal,
contractual or fiduciary obligation. If Seller, any of its affiliates or any of their respective
Representatives are compelled to disclose any information by judicial or administrative process or
by other requirements of Applicable Law, Seller shall promptly notify Buyer in writing and shall
disclose only that portion of such information that Seller is advised by its counsel in writing is
legally required to be disclosed; provided that Seller shall use its reasonable best efforts to obtain
an appropriate protective order or other reasonable assurance that confidential treatment will be
accorded such information.

12.2    Transaction Personal Information

        (a)        The Buyer shall collect and use Transaction Personal Information prior to Closing
                   only as necessary for purposes related to the Transaction and for the completion of
                   such Transaction. Prior to Closing, the Buyer shall not disclose Transaction

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                   Personal Information to any Person other than to its representatives who are
                   evaluating and advising on the Transaction.

        (b)        Prior to the Closing, the Parties shall protect and safeguard the Transaction Personal
                   Information against Data Breaches, as required by Applicable Law and shall cause
                   their representatives to protect and safeguard the Transaction Personal Information.
                   If the Seller or the Buyer terminates this Agreement as provided herein, the Buyer
                   shall promptly destroy all Transaction Personal Information in its possession or in
                   the possession of any of its Representatives and affiliates, including all copies,
                   reproductions, summaries or extracts thereof.

        (c)        After the Closing, the Buyer shall provide any notices required by Applicable Law
                   to individuals whose Transaction Personal Information was transferred by the
                   Seller to the Buyer before or on the Closing.

12.3    Public Notices

        No press release or other announcement concerning the Transaction shall be made by the
Seller or by the Buyer without the prior consent of the other (such consent not to be unreasonably
withheld); provided, however, that subject to the last sentence of this Section 12.3, any Party may,
without such consent, make such disclosure if the same is required by Applicable Law (including
the CCAA Proceedings and the Chapter 11 Cases) or by any stock exchange on which any of the
securities of such Party or any of its affiliates are listed or by any insolvency or other court or
securities commission or other similar regulatory authority having jurisdiction over such Party or
any of its affiliates, and, if such disclosure is required, the Party making such disclosure shall use
commercially reasonable efforts to give prior oral or written notice to the other, and if such prior
notice is not possible, to give such notice immediately following the making of such disclosure.
Notwithstanding the foregoing: (a) this Agreement may be filed by the Seller with the Court,
subject to redacting confidential or sensitive information as permitted by Applicable Law; and
(b) the Transaction may be disclosed by the Seller to the Court. The Parties further agree that:

        (a)        the Monitor may prepare and file reports and other documents with the Court
                   containing references to the Transaction and the terms thereof, which reports shall
                   be posted on the Monitor’s website; and

        (b)        the Seller and its professional advisors may prepare and file such reports and other
                   documents with any Insolvency Proceeding containing references to the
                   Transaction and the terms thereof as may reasonably be necessary to complete the
                   Transaction or to comply with their obligations in connection therewith. Wherever
                   possible, the Buyer shall be afforded an opportunity to review and comment on
                   such materials prior to their filing.

       Each of the Parties may issue a press release announcing the execution and delivery of this
Agreement, in form and substance mutually agreed to by all of the Parties. Notwithstanding
anything herein to the contrary, each of the Parties shall be permitted to issue a press release or
other announcement concerning the Transaction (without the prior consent of the other Party)



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provided that all the information contained in such press release or other announcement shall be
information that has previously been reviewed and consented to by the other Party.

12.4    Assignment; Buyer Designees; Binding Effect

        (a)        Except in accordance with Section 12.4(b), no Party may assign its right or benefits
                   under this Agreement without the consent of each of the other Parties hereto.

        (b)        Prior to the Closing, the Buyer may designate, with prior written notice to the Seller
                   at least ten (10) days prior to the scheduled date for the hearing of the Approval and
                   Vesting Order, one or more affiliates who are residents of Canada for purposes of
                   the Tax Act to, at the Closing: (i) to acquire all or part of the Purchased Assets
                   (including, for certainty, all or part of the Travel Services Shares); and/or (ii) to
                   assume all or part of the Assumed Liabilities, in which event all references herein
                   to Buyer will be deemed to refer to such affiliates, as appropriate; provided,
                   however, that: (A) no such designation will in any event limit, relieve or affect: (x)
                   the obligations of the Buyer to pay the Estimated Purchase Price at Closing in
                   accordance with Section 3.3; and/or (y) any other obligations of the Buyer under
                   this Agreement to the extent not performed by such affiliates; and (B) if the Buyer
                   shall have assigned all of its rights and obligations hereunder the Buyer shall,
                   immediately following the Closing, be deemed fully released from all the Buyer’s
                   obligations hereunder except with respect to its obligations under Section 8.13.

        (c)        This Agreement shall be binding upon and inure to the benefit of the Parties and
                   their respective permitted successors and permitted assigns. Nothing in this
                   Agreement shall create or be deemed to create any third Person beneficiary rights
                   in any Person or entity not a Party to this Agreement other than: (i) any affiliate(s)
                   of the Buyer designated to acquire Purchased Assets and/or assume Assumed
                   Liabilities in accordance with Section 12.4(b); and (ii) the Monitor; and (iii) the
                   Released Parties, who shall be express third party beneficiaries of Sections 8.13
                   and 12.4 hereof.

12.5    Notices

        Any notice, request, demand or other communication required or permitted to be given to
a Party pursuant to the provisions of this Agreement will be in writing and will be effective and
deemed given under this Agreement on the earliest of: (a) the date of personal delivery; (b) the
date of transmission by email, with confirmed transmission and receipt (if sent during normal
business hours of the recipient, if not, then on the next Business Day); (c) two (2) days after
deposit with a nationally-recognized courier or overnight service such as Federal Express; or
(d) five (5) days after mailing via certified mail, return receipt requested. All notices not delivered
personally or by email will be sent with postage and other charges prepaid and properly addressed
to the Party to be notified at the address set forth for such Party:

        (a)        If to the Buyer at:

                   BMO Bank of Montreal
                   First Canadian Place

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                    100 King Street West
                    Toronto, Ontario
                    M5X 1A3

                    Attention:      Mark Pratt; Theresa Duckett
                    Email:          Matt.Pratt@bmo.com; Theresa.Duckett@bmo.com

                    with copies (which shall not in itself constitute notice) to:

                    Torys LLP
                    TD Centre
                    79 Wellington Street West, 30th Floor
                    Toronto, Ontario
                    M5K 1N2

                    Attention:      David Bish; Kevin Morris
                    Email:          dbish@torys.com; kmorris@torys.com

        (b)        If to the Seller at:

                    Loyalty Ventures Inc.
                    8235 Douglas Avenue, Suite 1200
                    Dallas, Texas 75225

                    Attention:   General Counsel
                    Email: generalcounsel@loyalty.com

                    with copies (which shall not in itself constitute notice) to:

                    Akin Gump Strauss Hauer & Feld LLP
                    One Bryant Park
                    New York, New York 10036-6745
                    Facsimile: (212) 872-1002

                    Attention: Philip C. Dublin; Meredith A. Lahaie; Iain Wood; Alan L. Laves
                    Email: pdublin@akingump.com; mlahaie@akingump.com;
                    iwood@akingump.com; alaves@akingump.com

                    and

                    Cassels, Brock & Blackwell LLP
                    Scotia Plaza, Suite 2100
                    40 King Street West
                    Toronto, ON M5H 3C2

                    Attention: Ryan C. Jacobs; Jane O. Dietrich; Jeffrey Roy; Colin Ground
                    Email: rjacobs@cassels.com; jdietrich@cassels.com; jroy@cassels.com;
                    cground@cassels.com


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       Any Party may change its address for service from time to time by notice given in
accordance with the foregoing and any subsequent notice shall be sent to such Party at its changed
address.

12.6    No Survival

        None of the representations and warranties of the Seller or the Buyer contained in Article,
4, Article 5 or Article 6 hereof, respectively, including the Disclosure Letter or any certificate or
instrument delivered in connection herewith at or prior to the Closing, and none of the covenants
contained in Article 8 to be performed on or prior to the Closing shall survive the Closing. The
Parties’ respective covenants and agreements set forth herein that by their specific terms
contemplate performance after Closing shall survive the Closing indefinitely unless otherwise set
forth herein

12.7    Counterparts; Electronic Signatures

        This Agreement may be signed in counterparts and each of such counterparts shall
constitute an original document and such counterparts, taken together, shall constitute one and the
same instrument. Execution of this Agreement by any of the Parties hereto may be effected by
“wet ink” or electronic signature, and may be delivered by facsimile, email or internet transmission
bearing such signature which, for all purposes, shall be deemed to be an original signature.

                            [Remainder of page intentionally blank]




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        IN WITNESS WHEREOF the Parties hereto have executed this Agreement as of the date
first written above.


                                                   LOYALTYONE, CO.



                                                   By:
                                                          Name: Shawn Stewart
                                                          Title: President




                                   Signature Page – APA
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                                 EXHIBIT B
                            CCAA DIP TERM SHEET




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                                                                                   EXECUTION COPY

                                          DIP TERM SHEET

                                     Dated as of March 10, 2023

        WHEREAS the Borrower (as defined below) has requested and the DIP Lender (as defined below)
has agreed to provide funding in order to fund certain obligations of the Borrower in the context of its
proceeding under the Companies’ Creditors Arrangement Act (Canada) (the “CCAA”, and such
proceeding, the “Proceeding”) before the Ontario Superior Court of Justice (Commercial List) (the
“Court”) in accordance with the terms set out herein;

        NOW THEREFORE the parties, in consideration of the foregoing and the mutual agreements
contained herein (the receipt and sufficiency of which are hereby acknowledged), agree as follows:

 1.    DIP BORROWER:              LoyaltyOne, Co. (the “Borrower”).

 2.    DIP LENDER:                Bank of Montreal (the “DIP Lender”).

 3.    PURPOSE:                   As set out in Section 16(c) below.

 4.  DIP FACILITY AND             A non-revolving, secured credit facility (the “DIP Facility”) in the amount
 MAXIMUM AMOUNT                   of US$70,000,000 (the “Maximum Amount”). For certainty, any interest
                                  or fees that are capitalized and added to the principal amount owing
                                  hereunder as contemplated by the terms hereof shall not constitute part of
                                  the Maximum Amount, and the Borrower is and shall be permitted to borrow
                                  up to the Maximum Amount without taking into account any such
                                  capitalized amounts, subject to the terms and conditions hereof.

                                  Advances under the DIP Facility (a “DIP Advance”) made in accordance
                                  herewith shall be deposited to the Borrower’s current account with Bank of
                                  Montreal (set out in Section 9 of this DIP Term Sheet) or such other
                                  account(s) with a financial institution approved in advance by the DIP
                                  Lender (the “Borrower’s Account”) and withdrawn by the Borrower in
                                  accordance with the terms hereof.

 5.    REPAYMENT:                 The aggregate principal amount owing under the DIP Facility, all accrued
                                  and unpaid interest, and all fees and expenses incurred by the DIP Lender as
                                  provided herein in connection with the DIP Facility (collectively, the “DIP
                                  Obligations”) shall be repaid in full on the earliest to occur of: (i) the
                                  occurrence of any Event of Default hereunder that is continuing, has not
                                  been cured or waived in writing by the DIP Lender, in its sole discretion,
                                  and where the DIP Lender has notified the Borrower in writing that the DIP
                                  Obligations have been accelerated; (ii) the closing of one or more sale
                                  transactions for all or substantially all of the assets of the Borrower approved
                                  by an order of the Court, including in connection with the SISP (as defined
                                  below); (iii) the BMO Purchase Agreement is the successful bid in the SISP
                                  but is unable to be completed and closed due to the failure of any condition
                                  precedent to be satisfied by the closing date of the transaction contemplated
                                  by the BMO Purchase Agreement (the “Closing Date”) which condition
                                  precedent has not been waived by the Borrower and/or the DIP Lender, as
                                  applicable, and (iv) June 30, 2023 (the “Maturity Date”). The Maturity
                                  Date may be extended at the request of the Borrower, following consultation


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                         with the Monitor, and with the prior written consent of the DIP Lender, in
                         its sole discretion, for such period and on such terms and conditions as the
                         Borrower and the DIP Lender may agree.

                         The commitment in respect of the DIP Facility shall expire on the Maturity
                         Date and all DIP Obligations shall be repaid in full on the Maturity Date,
                         without the DIP Lender being required to make demand upon the Borrower
                         or to give notice that the DIP Facility has expired and/or that the DIP
                         Obligations are due and payable.

                         All payments received by the DIP Lender shall be applied first to any fees
                         and expenses due hereunder, then to accrued and unpaid interest and then,
                         after all such fees, expenses and interest are brought current, to principal.

 6.  CASH FLOW           The Borrower, in consultation with KSV Restructuring Inc., in its capacity
 PROJECTIONS:            as court-appointed monitor (the “Monitor”) in the Proceeding, has provided
                         to the DIP Lender the cash flow projections attached at Schedule “A” hereto,
                         which are in form and substance satisfactory to the DIP Lender and which
                         have been filed with the Court, reflecting the projected cash requirements of
                         the Borrower for the 13-week period from March 10, 2023, through the
                         period ending June 9, 2023, calculated on a weekly basis (the “Cash Flow
                         Projection”).

                         The Borrower shall keep the DIP Lender apprised of its cash flow
                         requirements by providing: (i) an updated cash flow projection for the same
                         period as the Cash Flow Projection by no later than 5:00 p.m. (Toronto time)
                         on the Thursday of each second week ending after the week in which the
                         initial DIP Advance occurs, such updated cash flow projection to be in a
                         form consistent with the Cash Flow Projection (a “Proposed Amended
                         Cash Flow Projection”); provided that the Borrower, at its option, may
                         provide a Proposed Amended Cash Flow Projection on a more frequent
                         basis, but in any event, not more than twice in any calendar week and (ii) on
                         a weekly basis, (x) actual cash flow results from the immediately preceding
                         one week period and (y) a comparison of the actual cash flow results from
                         the immediately preceding one week period as against the DIP Agreement
                         Cash Flow Projection (as defined below) for such week, such information
                         described in this clause (ii) to be delivered to the DIP Lender weekly by no
                         later than 5:00 p.m. (Toronto time) on the Thursday of each week.

                         The DIP Lender in its sole discretion may object to any Proposed Amended
                         Cash Flow Projection that varies from the DIP Agreement Cash Flow
                         Projection by providing notice to the Borrower and Monitor within two (2)
                         business days of receipt of such Proposed Amended Cash Flow Projection.
                         In the event that a Proposed Amended Cash Flow Projection is objected to
                         by the DIP Lender, the Borrower may submit to the DIP Lender a further
                         revised Proposed Amended Cash Flow Projection within two (2) business
                         days of receipt of such a notice of objection, or such other time as the DIP
                         Lender may agree to in writing. On the date that is two (2) business days
                         after receipt by the DIP Lender, unless and until a Proposed Amended Cash
                         Flow Projection has been objected to by the DIP Lender in accordance
                         herewith, the Proposed Amended DIP Agreement Cash Flow Projection


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                         shall be deemed to be the DIP Agreement Cash Flow Projection for all
                         purposes hereunder.

                         At any given time, the cash flow projection in force and effect (whether the
                         Cash Flow Projection or any subsequent Proposed Amended Cash Flow
                         Projection which has become effective and to which the DIP Lender has not
                         objected in accordance herewith) shall be the “DIP Agreement Cash Flow
                         Projection”.

                         For greater certainty, the DIP Lender shall not be required to initiate any
                         DIP Advances pursuant to a Proposed Amended Cash Flow Projection, nor
                         is the Borrower entitled to utilize any DIP Advance to make payments set
                         out in a Proposed Amended Cash Flow Projection, unless and until it has
                         become effective in accordance with this Section 6.

 7.  AVAILABILITY        DIP Advances shall be in the minimum principal amount of $100,000 and
 UNDER DIP FACILITY:     in increments of $100,000 and are to be funded within two (2) business days
                         following delivery of the drawdown certificate for the related DIP Advance
                         in accordance with paragraph 8(e) below, unless within one (1) business day
                         of delivery of such drawdown certificate the DIP Lender delivers to the
                         Borrower and the Monitor a notice of non-consent to such DIP Advance as
                         a result of one or more of the conditions precedent not being met or the
                         occurrence of an Event of Default that is continuing and such notice shall
                         include reasonable details outlining any such unsatisfied condition
                         precedent or Event of Default. The DIP Lender may also consent to the
                         making of a DIP Advance prior to the second (2nd) business day following
                         delivery of the drawdown certificate by providing its written consent to same
                         to the Monitor and the Borrower.

                         The proceeds of each DIP Advance shall be applied by the Borrower solely
                         in accordance with the DIP Agreement Cash Flow Projections subject to the
                         Permitted Variance, or as may otherwise be agreed to in writing by the DIP
                         Lender, in its sole discretion, from time to time.

                         Notwithstanding anything to the contrary herein, the Borrower shall be
                         prohibited from using the proceeds of any DIP Advance to pay: (i) any
                         expenses that are not of a type of expense that falls within an expense line-
                         item contained in the DIP Agreement Cash Flow Projection, subject to the
                         Permitted Variance (and for certainty including the exceptions contained
                         therein), (ii) professional fees of the Borrower or the Existing Lenders (as
                         defined below) to contest, challenge or in any way oppose (or support any
                         other person in contesting, challenging or opposing) the DIP Lender on the
                         ARIO, SISP, SISP Order, or the Sale Approval and Vesting Order, (iii) the
                         Restructuring Fee (as such term is defined in the engagement letter dated as
                         of July 11, 2022 among PJT Partners LP and Akin Gump Strauss Hauer &
                         Feld LLP) (the “Restructuring Fee”) and (iv) the USD~$3,000,000 success
                         fee (or similar) owing to the financial advisor of the Existing Lenders (the
                         “Success Fee”).

                         For the purposes of this DIP Agreement, “Permitted Variance” shall mean
                         an adverse variance of not more than 15% of the aggregate disbursements in


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                         the DIP Agreement Cash Flow Projection on a cumulative basis starting on
                         the start date of the initial Cash Flow Projection referred to in the first
                         paragraph of Section 7 above; provided, however, that the Permitted
                         Variance calculation shall not take into account (i) the Expenses, (ii) the fees
                         and expenses (and for certainty fees and expenses incurred in connection
                         with the Borrower’s Proceeding) of (x) the legal and financial advisors of
                         the Borrower, (y) the Monitor and its counsel, and (z) the legal and financial
                         advisors of the Existing Lenders (as defined below) (for certainty, proceeds
                         of the DIP Facility may only be used to pay such fees and expenses incurred
                         by the Existing Lenders if the consenting lenders execute and deliver support
                         agreement(s) that binds all of the Existing Lenders, in form and substance
                         satisfactory to the DIP Lender, supporting the SISP, the Court Orders and
                         the BMO Transaction), or (iii) any amounts required to be paid by the
                         Borrower into the reserve account (the “Reserve Account”) pursuant to the
                         Amended and Restated Redemption Reserve Agreement dated as of
                         December 31, 2001 between Loyalty Management Group Canada Inc. and
                         Royal Trust Corporation of Canada (the “Reserve Agreement”).

 8.  CONDITIONS          The following conditions precedent shall be satisfied, or waived in writing
 PRECEDENT TO DIP        by the DIP Lender, in its sole discretion, prior to the initial DIP Advance
 FACILITY ADVANCES       hereunder:

                         (a)     The initial DIP Advance shall be in an amount not greater than the
                                 amount set out in the DIP Agreement Cash Flow Projection (which
                                 for certainty shall not be greater than the Maximum Amount) and
                                 shall be subject to the terms and conditions hereof;

                         (b)     The Court shall have issued an amended initial order in substantially
                                 the form attached as Schedule “B” hereto (the “ARIO”) on or before
                                 March 20, 2023, the effect of which, among other things, is to
                                 authorize and approve the DIP Facility on the terms and conditions
                                 hereof including without limitation the DIP Charge securing the
                                 principal amount of US$70,000,000 and the other DIP Obligations
                                 not constituting the principal amount thereof with the priority
                                 contemplated herein, and such ARIO shall have been obtained on
                                 notice to all parties entitled thereto pursuant to the CCAA or
                                 otherwise identified for such service by the DIP Lender;

                         (c)     Commensurate with the ARIO, the Court shall have issued an order
                                 (the “SISP Order”) approving a sales and investment solicitation
                                 process (the “SISP”) relating to the sale of all or substantially all of
                                 the assets of the Borrower, which: (i) SISP Order shall be
                                 substantially in the form set out in Schedule “C” hereto; and (ii)
                                 SISP shall be substantially in the form set out in Schedule “D”
                                 hereto;

                         (d)     None of the ARIO, the Intercompany Loan Order (as defined below)
                                 nor any other order in the Proceeding or the Chapter 11 Cases (as
                                 defined below) pertaining to the DIP Facility has been vacated,




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                               stayed or otherwise caused to become ineffective or is amended in
                               a manner prejudicial to the DIP Lender;

                         (e)   Delivery to the DIP Lender, with a copy to the Monitor of a
                               drawdown certificate, in substantially the form set out in Schedule
                               “E” hereto, executed by an officer on behalf of the Borrower,
                               certifying, inter alia, that the proceeds of the DIP Advance
                               requested thereby will be applied solely in accordance with the DIP
                               Agreement Cash Flow Projection and Section 3 of the DIP Term
                               Sheet, and that the Borrower is in compliance with the Court Orders
                               (as defined below) and that no Default or Event of Default has
                               occurred or is continuing;

                         (f)   There is no Default or Event of Default that has occurred and is
                               continuing, nor will any such event occur as a result of the DIP
                               Advance;

                         (g)   No material adverse change in the financial condition or operation
                               of the Borrower or otherwise affecting the Borrower shall have
                               occurred after the date of the issue of the ARIO; provided that the
                               foregoing shall exclude changes to the Borrower’s business or its
                               performance (including without limitation collector redemption
                               cadence) solely as a result of commencement, announcement or
                               continuance of the Proceeding, the Chapter 11 Cases,
                               announcement of the BMO Transaction (as defined below),
                               announcement of the BL Transactions (as defined below),
                               performance by the Borrower of its obligations under that certain
                               purchase agreement (as may be amended from time to time, the
                               “BMO Purchase Agreement”) between the Borrower and a newly
                               formed wholly owned direct or indirect subsidiary of BMO (the
                               “Purchaser”) setting out the terms of a transaction to purchase
                               certain property and assets of, and assume certain liabilities of the
                               Borrower (the “BMO Transaction”), performance by certain
                               affiliates of the Borrower of their obligations under that certain
                               purchase agreement (as may be amended from time to time, the “BL
                               Purchase Agreement”) between LVI Lux Financing S.A.R.L.
                               (“LVI Lux”) and Opportunity Partners B.V., setting out the terms
                               of a transaction to purchase certain property and assets of, and
                               assume certain liabilities of, LVI Lux and its subsidiaries (the “BL
                               Transaction”), conducting the SISP (as defined below), or the
                               Chapter 11 Cases;

                         (h)   Each of the representations and warranties made in this DIP Term
                               Sheet shall be true and correct in all material respects as of the date
                               made or deemed made (unless any representation and warranty is
                               qualified by materiality, in which case it shall be true and correct in
                               all respects as of the date made or deemed made);

                         (i)   There are no pending motions for leave to appeal, appeals,
                               injunctions relating to the DIP Facility, or pending litigation seeking



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                                 to restrain, vary or prohibit the operation of all or any part of this
                                 DIP Term Sheet;

                         (j)     The DIP Lender has received, as and when required hereunder, all
                                 information to which it is entitled hereunder (including, without
                                 limitation, the information and cash flow projections required
                                 pursuant to Section 6 herein);

                         (k)     There shall be no liens ranking in priority to the DIP Charge except
                                 for: (i) Specified Permitted Encumbrances (as defined on Schedule
                                 “F”); and (ii) the Priority Charges (as defined below);

                         (l)     The Borrower shall have paid all statutory liens, trust and other
                                 government claims arising after the commencement of the
                                 Proceeding (but for greater certainty, not including any such claims
                                 in existence at the time of the commencement of the Proceeding)
                                 including, without limitation, source deductions, except, in each
                                 case, for any such amounts that are not yet due and payable or which
                                 are in dispute, in which case appropriate reserves have been made.

                         The following conditions precedent shall be satisfied, or waived in writing
                         by the DIP Lender, in its sole discretion, prior to each subsequent DIP
                         Advance hereunder:

                         (a)     Each DIP Advance (together with all previous DIP Advances) must
                                 be no greater in the aggregate than the Maximum Amount and shall
                                 be subject to the terms and conditions hereof;

                         (b)     Neither the ARIO, the SISP Order, the Intercompany Loan Order
                                 nor any other order in the Proceeding or the Chapter 11 Cases
                                 pertaining to the DIP Facility has been vacated, stayed or otherwise
                                 caused to become ineffective or is amended in a manner prejudicial
                                 to the DIP Lender;

                         (c)     Delivery to the DIP Lender with a copy to the Monitor of a
                                 drawdown certificate, in substantially the form set out in Schedule
                                 “E” hereto, executed by an officer on behalf of the Borrower,
                                 certifying, inter alia, that the proceeds of the DIP Advance
                                 requested thereby will be applied solely in accordance with the DIP
                                 Agreement Cash Flow Projection and Section 3 of the DIP Term
                                 Sheet, and that the Borrower is in compliance with the Court Orders
                                 and that no Default or Event of Default has occurred or is
                                 continuing;

                         (d)     There is no Default or Event of Default that has occurred and is
                                 continuing, nor will any such event occur as a result of the DIP
                                 Advance;

                         (e)     No material adverse change in the financial condition or operation
                                 of the Borrower or otherwise affecting the Borrower shall have
                                 occurred after the date of the issue of the ARIO; provided that the


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                                 forgoing shall exclude changes to the Borrower’s business or its
                                 performance (including without limitation collector redemption
                                 cadence) solely as a result of commencement, announcement or
                                 continuance of the Proceeding, the Chapter 11 Cases,
                                 announcement of the BMO Transaction or BL Transaction,
                                 performance by the Borrower of its obligations under the BMO
                                 Purchase Agreement or BL Purchase Agreement, conducting the
                                 SISP or the Chapter 11 Cases;

                         (f)     Each of the representations and warranties made in this DIP Term
                                 Sheet shall be true and correct in all material respects as of the date
                                 made or deemed made (unless any representation and warranty is
                                 qualified by materiality, in which case it shall be true and correct in
                                 all respects as of the date made or deemed made);

                         (g)     There are no pending motions for leave to appeal, appeals,
                                 injunctions relating to the DIP Facility, or pending litigation seeking
                                 to restrain, vary or prohibit the operation of all or any part of this
                                 DIP Term Sheet;

                         (h)     The DIP Lender has received, as and when required hereunder, all
                                 information to which it is entitled hereunder (including, without
                                 limitation, the information and cash flow projections required
                                 pursuant to Section 6 herein);

                         (i)     There shall be no liens ranking in priority to the DIP Charge except
                                 for: (i) Specified Permitted Encumbrances; and (ii) Priority
                                 Charges;

                         (j)     The Borrower shall have paid all statutory liens, trust and other
                                 government claims arising after the commencement of the
                                 Proceeding (but for greater certainty, not including any such claims
                                 in existence at the time of the commencement of the Proceeding)
                                 including, without limitation, source deductions, except, in each
                                 case, for any such amounts that are not yet due and payable or which
                                 are in dispute, in which case appropriate reserves have been made;
                                 and

                         (k)     The Borrower shall at all times have diligently and in good faith
                                 implemented and conducted the SISP in accordance with the SISP
                                 Order.

                         Notwithstanding the foregoing or any other provisions of this DIP Term
                         Sheet, to the extent that an emergency cash need arises in the Borrower’s
                         business that is not contemplated in the DIP Agreement Cash Flow
                         Projection, the Borrower may request a DIP Advance from the DIP Lender
                         by providing written particulars relating to such emergency cash need to the
                         DIP Lender and the Monitor, which DIP Advance shall only be permitted
                         with the prior written consent of the DIP Lender delivered to the Borrower




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                          and the Monitor, in its sole and absolute discretion, and provided further that
                          in no case shall the Maximum Amount be exceeded.

 9.    DISBURSEMENTS      All proceeds of DIP Advances shall be deposited by the DIP Lender by way
                          of direct deposit into the Borrower’s US$ account with the DIP Lender
                          bearing account number 4623105 (branch address being 100 King Street
                          West, Toronto, Ontario) (subject to any change approved by the DIP
                          Lender).

 10. INTERCOMPANY         Subject to the terms of this DIP Term Sheet (including, without limitation,
 LOANS                    the DIP Agreement Cash Flow Projection) and the ARIO, as applicable, the
                          Borrower shall be permitted to use proceeds of DIP Advances to make first
                          lien priming loans with superpriority administrative expense status (each, an
                          “Intercompany Loan”) to Loyalty Ventures Inc. (the “Parent”) provided
                          that the following conditions precedent shall be satisfied, or waived in
                          writing by the DIP Lender, in its sole discretion, prior to the Borrower
                          making any Intercompany Loan:

                          (a)     The quantum and timing of each Intercompany Loan shall be in
                                  accordance with the DIP Agreement Cash Flow Projection;

                          (b)     There shall be no Event of Default outstanding that has not been
                                  cured or waived in writing by the DIP Lender, in its sole discretion;

                          (c)     The Intercompany Loans shall have been approved by order (the
                                  “Intercompany Loan Order”) of the U.S. Bankruptcy Court in the
                                  chapter 11 cases of the Parent and certain of its affiliates (the
                                  “Chapter 11 Cases”) and given a first priority priming lien over all
                                  present and after-acquired property, assets and undertakings of the
                                  Parent (subject to exceptions specified in the Intercompany Loan
                                  Term Sheet) and superpriority administrative expense status, such
                                  order shall attach the Intercompany Loan Term Sheet and be in form
                                  and substance reasonably satisfactory to the DIP Lender (including
                                  as to use of proceeds); and

                          (d)     The Intercompany Loan Order shall provide that after (i) the
                                  occurrence and during the continuance of an Event of Default and
                                  the termination of the DIP Facility by the DIP Lender in accordance
                                  with Section 20 of this DIP Term Sheet and (ii) the Court having
                                  issued an order authorizing the DIP Lender to do so (such order
                                  sought by the DIP Lender on not less than three (3) business days’
                                  notice to the Borrower and the Monitor after the occurrence and
                                  during the continuance of an Event of Default), the DIP Lender shall
                                  have the right to instruct the Borrower to, and the Borrower acting
                                  at the direction of the DIP Lender shall, pursue all remedies against
                                  the Parent that are available to the Borrower as a lender under the
                                  Intercompany Loans, the Intercompany Loan Order and applicable
                                  law, in each case, solely to the extent that any DIP Obligations
                                  remain outstanding after the DIP Lender has exercised remedies
                                  against all other Collateral; and



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                           (e)     The terms of the Intercompany Loan shall be set forth on a term
                                   sheet in form and substance reasonably satisfactory to the Parent,
                                   the Borrower and the DIP Lender (the “Intercompany Loan Term
                                   Sheet”) that shall be attached as an exhibit to the Intercompany
                                   Loan Order.

                           The Borrower shall be permitted to withhold and remit applicable Taxes
                           (as defined below) on any Intercompany Loans imposed under the Income
                           Tax Act (Canada) and any other applicable law.

 11. VOLUNTARY             The Borrower may prepay the DIP Obligations at any time prior to the
 PREPAYMENTS:              Maturity Date in minimum amounts of $500,000 and in increments of
                           $100,000 in excess thereof, without premium or penalty, and any amounts
                           so prepaid may not be re-borrowed by the Borrower hereunder.

 12.    INTEREST RATE:     The outstanding principal amount of all DIP Advances shall bear interest at
                           a rate per annum equal to Base Rate (as defined below) plus 6.00% (the
                           “Interest Rate”), and upon the occurrence and during the continuance of an
                           Event of Default, the Interest Rate shall be increased by an additional 2%
                           per annum, calculated and payable monthly in arrears on the last business
                           day of each calendar month.

                           The Borrower shall pay interest on the DIP Advances by adding such
                           accrued interest to the principal amount of the DIP Obligations on the last
                           business day of each calendar month. Amounts representing the interest
                           payable hereunder that are added to the principal amount of the DIP
                           Obligations shall thereafter constitute principal and bear interest in
                           accordance with Section 12.

                           Interest on each DIP Advance shall accrue daily from and after the date of
                           advance of such DIP Advance to the Borrower to, but excluding, the date of
                           repayment, as well as before and after maturity, demand and default and
                           before and after judgment, and shall be calculated and compounded on a
                           daily basis on the principal amount of such DIP Advance and any overdue
                           interest remaining unpaid from time to time and on the basis of the actual
                           number of days elapsed in a year of 365 days.

                           For the purposes of the Interest Act (Canada), the annual rates of interest
                           referred to in this DIP Term Sheet calculated in accordance with the
                           foregoing provisions of this DIP Term Sheet, are equivalent to the rates so
                           calculated multiplied by the actual number of days in a calendar year and
                           divided by 365.

                           If any provision of this DIP Term Sheet or any ancillary document in
                           connection with this DIP Term Sheet would obligate the Borrower to make
                           any payment of interest or other amount payable to the DIP Lender in an
                           amount or calculated at a rate which would be prohibited by law or would
                           result in a receipt by the DIP Lender of interest at a criminal rate (as such
                           terms are construed under the Criminal Code (Canada)) then,
                           notwithstanding such provision, such amount or rate shall be deemed to have
                           been adjusted with retroactive effect to the maximum amount or rate of


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                           interest, as the case may be, as would not be so prohibited by law or so result
                           in a receipt by the DIP Lender of interest at a criminal rate and any such
                           amounts actually paid by the Borrower in excess of the adjusted amount
                           shall be forthwith refunded to the Borrower.

                           For the purposes of this DIP Agreement, “Base Rate” means a fluctuating
                           rate of interest per annum, expressed on the basis of a year of three-hundred
                           and sixty-five (365) days or three-hundred and sixty-six (366) days, as
                           applicable, which is equal at all times to the greater of (a) the base rate of
                           interest (however designated) of the DIP Lender for determining interest
                           chargeable by it on United States Dollar commercial loans in Canada and
                           (b) the sum of (i) the Federal Funds Effective Rate and (ii) 1.00% per annum.

                           For the purposes of this DIP Agreement, “Federal Funds Effective Rate”
                           means, for any day, an annual rate of interest, expressed on the basis of a
                           year of 360 days, equal, for each day during such period, to the weighted
                           average of the rates on overnight United States federal funds transactions
                           with members of the Federal Reserve System arranged by United States
                           federal funds brokers, as published for such day (or, if such day is not a
                           business day, for the preceding business day) by the Federal Reserve Bank
                           of New York or, for any day on which that rate is not published for that day
                           by the Federal Reserve Bank of New York, the simple average of the
                           quotations for that day for such transactions received by the DIP Lender
                           from three United States federal funds brokers of recognized standing
                           selected by it.

 13.    DIP SECURITY:      All obligations of the Borrower under or in connection with the DIP Facility
                           and this DIP Term Sheet shall be secured by a Court-ordered charge (the
                           “DIP Charge”) over all present and after-acquired property, assets and
                           undertakings of the Borrower (including for greater certainty and without
                           limitation, insurance proceeds, those assets set forth on the financial
                           statements of the Borrower, the Intercompany Loans and all receivables and
                           other indebtedness, obligations or other amounts owing to a Borrower in
                           connection with the Intercompany Loans), including all proceeds therefrom
                           and all causes of action of the Borrower (collectively, the “Collateral”).

                           The DIP Charge shall be a priority charge which shall rank ahead of the liens
                           securing the Existing Debt (as defined below) and all other liens, but shall
                           be subject to and shall rank behind: (A) the Specified Permitted
                           Encumbrances; (B) an administration charge (the “Administration
                           Charge”) in the maximum amount of CAD$3,000,000 to secure payment of
                           the fees, expenses and disbursements of: (I) the Borrower’s counsel,
                           financial advisors and agents; and (II) the Monitor and its counsel and
                           agents; (C) a charge in an amount not to exceed CAD$15,409,000 in favour
                           of the officers and directors of the Borrower (the “D&O Charge”) to secure
                           the customary obligations and liabilities that they may incur in such capacity
                           from and after the commencement of the Proceeding as a backstop to any
                           available directors’ and officers’ insurance and to the extent that any funds
                           in trust for such persons are not sufficient to satisfy such claims; (D) a charge
                           in an amount not to exceed CAD$5,350,000 in favour of certain key
                           employees to secure their entitlements under a key employee retention plan


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                              (the “KERP”, and such charge, the “KERP Charge”); (E) a charge in an
                              amount not to exceed $6,000,000 in favour of the Borrower’s financial
                              advisor to secure its fees and expenses not otherwise secured by the
                              Administration Charge (the “FA Charge”, and together with the KERP
                              Charge, the D&O Charge, the Administration Charge and the DIP Charge,
                              collectively, the “Court Ordered Charges”); (F) any claims that would
                              otherwise have priority to the foregoing debt claims including, for greater
                              certainty, any purchase money security interests; and (G) any further claims
                              having express priority ahead of the DIP Charge pursuant to the ARIO and
                              to which the DIP Lender has consented in writing (the charges set out in the
                              foregoing items (A) through (G) being collectively, the “Priority
                              Charges”).

                              “Existing Debt” means the debt owing as at March 10, 2023, in the
                              aggregate principal amount of approximately US$665,000,000 (which for
                              certainty, includes amounts outstanding under term and revolving credit
                              facilities and outstanding letters of credit), plus interest, fees, costs and
                              expenses payable in addition to such aggregate principal amount, under the
                              credit agreement dated as of November 3, 2021 among Loyalty Ventures
                              Inc., Brand Loyalty Group B.V., Brand Loyalty Holding B.V. and Brand
                              Loyalty International B.V, as borrowers thereunder, the guarantors party
                              thereto (including the Borrower), the lenders party thereto (the “Existing
                              Lenders”), and Bank of America, N.A., as administrative agent, as amended
                              by Amendment No. 1 to Credit Agreement (Financial Covenant) dated as of
                              July 29, 2022 and by Consent, dated as of March 1, 2023 (such credit
                              agreement as so amended is called the “Existing Credit Agreement”).

 14. MANDATORY                The proceeds of any debt or equity issuance by the Borrower that occurs
 REPAYMENTS:                  from and after the date hereof, and the proceeds of Collateral (for greater
                              certainty, net of reasonable costs and closing adjustments, as applicable),
                              including, without limitation, arising from: (a) any sale of Collateral out of
                              the ordinary course of business (including for greater certainty, any sale of
                              all or substantially all of the Collateral); or (b) insurance proceeds in respect
                              of any damage, loss or destruction of the Collateral (collectively, the “Net
                              Proceeds”) shall be paid: (i) first, to satisfy the Priority Charges in the
                              manner and order set out in the applicable Court Order; (ii) second, to satisfy
                              the DIP Obligations; (iii) third, to satisfy other indebtedness and liabilities
                              of the Borrower including the Existing Debt as may be ordered by the Court;
                              and (iv) fourth, to the Borrower or such other persons as are entitled thereto
                              in accordance with applicable law.

                              The Maximum Amount shall be permanently reduced in an amount equal to
                              the Net Proceeds so paid to the DIP Lender. For greater certainty, any
                              mandatory repayments shall not be subject to any premium or penalty.

 15. REPRESENTATIONS The Borrower represents and warrants to the DIP Lender, upon which the
 AND WARRANTIES:     DIP Lender relies in entering into this DIP Term Sheet, that subject to the
                     entry of the ARIO:

                              (a)     The Borrower is a corporation duly incorporated and validly
                                      existing under the laws of its governing jurisdiction and is duly


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                               qualified, licensed or registered to carry on business under the laws
                               applicable to it in all jurisdictions in which the nature of its assets or
                               business makes such qualification necessary, except where the
                               failure to have such qualification, license or registration would not
                               have a Material Adverse Effect. For the purpose of this DIP Term
                               Sheet, “Material Adverse Effect” means a material adverse effect
                               on: (i) the financial condition, business or assets of the Borrower; or
                               (ii) the ability of the Borrower to comply with its obligations
                               hereunder or under any Court Order;

                         (b)   Subject to the granting of the ARIO, the Borrower has all requisite
                               corporate or other power and authority to: (i) carry on its business;
                               (ii) own property, borrow monies and enter into agreements
                               therefor; and (iii) execute and enter into the DIP Term Sheet and
                               observe and perform the terms and provisions thereof;

                         (c)   Subject to the granting of the ARIO, the execution and delivery of
                               this DIP Term Sheet by the Borrower and the performance by the
                               Borrower of its obligations hereunder has been duly authorized by
                               all necessary corporate or other action and any actions required
                               under applicable laws. Except as has been obtained and is in full
                               force and effect, no registration, declaration, consent, waiver or
                               authorization of, or filing with or notice to, any governmental body
                               is required to be obtained in connection with the performance by the
                               Borrower of its obligations under this DIP Term Sheet;

                         (d)   Subject to the granting of the ARIO, this DIP Term Sheet has been
                               duly executed and delivered by the Borrower and constitutes a legal,
                               valid and binding obligation of the Borrower, enforceable against it
                               in accordance with its terms, subject only to any limitation under
                               applicable laws relating to (i) bankruptcy, insolvency,
                               reorganization, moratorium or creditors’ rights generally; (ii) the
                               fact that specific performance and injunctive relief may only be
                               given at the discretion of the courts; and (iii) the equitable or
                               statutory powers of the courts to stay proceedings before them and
                               to stay the execution of judgments;

                         (e)   The execution and delivery of this DIP Term Sheet by the Borrower
                               and the performance by the Borrower of its obligations hereunder
                               and compliance with the terms, conditions and provisions hereof,
                               will not conflict with or result in a breach in any material respect of
                               any of the terms, conditions or provisions of: (i) its constating
                               documents (including any shareholders’ agreements) or by-laws;
                               (ii) any applicable laws; (iii) except as stayed pursuant to the
                               Proceeding by the terms of the ARIO, any contractual restriction
                               binding on or affecting it or its material properties; or (iv) any
                               material judgment, injunction, determination or award which is
                               binding on it;

                         (f)   The Borrower is in compliance with all applicable laws of each
                               jurisdiction in which its business has been or is being carried on,


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                               non-compliance with which would reasonably be expected to have
                               a Material Adverse Effect;

                         (g)   There are no actions, suits or proceedings pending, taken or, to the
                               Borrower’s knowledge, threatened, before or by any governmental
                               body or by any elected or appointed public official or private person
                               in Canada or elsewhere, whether or not having the force of law,
                               which would reasonably be expected to have a Material Adverse
                               Effect and have not been stayed pursuant to the Proceeding;

                         (h)   The DIP Agreement Cash Flow Projection includes a provision for
                               payment of all projected obligations of any kind whatsoever
                               reasonably anticipated by the Borrower on the date hereof that, if
                               not paid, could result in statutory liens ranking in priority to the DIP
                               Charge, except for purchase money security interests;

                         (i)   As at the date of the ARIO, the Borrower has good and marketable
                               title to all of the Collateral free from any liens except for: (i)
                               Permitted Encumbrances, and for certainty after the issuance of the
                               ARIO, the Priority Charges; and (ii) title defects or irregularities that
                               do not, individually or in the aggregate, materially affect the
                               operation of the business of the Borrower;

                         (j)   The Borrower has filed all material tax returns that are required to
                               be filed and has in all material respects paid all taxes, interest and
                               penalties, if any, which have become due pursuant to such returns
                               or pursuant to any assessment received by it, except any such
                               assessment that is being contested in good faith by proper legal
                               proceedings. Without limiting the foregoing, all employee source
                               deductions (including in respect of income taxes, employment
                               insurance and Canada Pension Plan) payroll taxes and workers’
                               compensation dues are currently paid and up to date, subject to
                               normal course accruals;

                         (k)   Except as previously disclosed in writing by the Borrower to the
                               DIP Lender and set out on Schedule “G”, there are no actions, suits
                               or proceedings (including any tax-related matter) by or before any
                               arbitrator or governmental authority or by any other person pending
                               against or threatened against or affecting the Borrower that could
                               reasonably be expected, individually or in the aggregate, to result in
                               a Material Adverse Effect that have not been stayed pursuant to the
                               Proceeding;

                         (l)   The Borrower maintains insurance policies and coverage that: (i) is
                               sufficient for compliance with any applicable law and all material
                               agreements to which it is a party; and (ii) provide adequate
                               insurance coverage in at least such amounts and against at least such
                               risks as are usually insured against in the same general area by
                               persons engaged in the same or similar business to the assets and
                               operations of the Borrower;



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                         (m)    All factual information provided by or on behalf of the Borrower to
                                the DIP Lender for the purposes of or in connection with this DIP
                                Term Sheet or any transaction contemplated herein, is true and
                                accurate in all material respects on the date as of which such
                                information is dated or certified and remains true in all material
                                respects as of the date provided and is not incomplete by omitting
                                to state any fact necessary to make such information (taken as a
                                whole) not materially misleading at such time in light of the
                                circumstances under which such information was provided. With
                                respect to any projections, future business plans or forward looking
                                financial statements, the Borrower is not guaranteeing in giving this
                                representation and warranty that the actual future results will be as
                                forecast or projected (but, for greater certainty, the DIP Lender has
                                all of its rights hereunder in the event that such actual future results
                                are not as forecast or projected, including, without limitation, as
                                provided for in Section 19(e) herein); and

                         (n)    As of the date hereof, the Borrower does not administer any pension
                                plans and does not have any outstanding payment obligations in
                                respect of special payments or amortization payments, including
                                without limitation, in respect of pension plans, payments related to
                                post-retirement benefits, solvency deficiencies or wind-up shortfalls
                                in relation to any pension plan.

 16. AFFIRMATIVE         The Borrower covenants and agrees to do the following until such time as
 COVENANTS:              the DIP Obligations are repaid in full:

                         (a)    Keep the DIP Lender apprised on a timely basis of all material
                                developments with respect to the Collateral and the business and
                                affairs of the Borrower;

                         (b)    Perform its obligations hereunder and under any other contract or
                                agreement with the DIP Lender or any of its affiliates as and when
                                required and in the manner required;

                         (c)    Use the proceeds of the DIP Facility (at all times solely in
                                accordance with the terms hereof and the DIP Agreement Cash Flow
                                Projections subject to the Permitted Variance) only for the limited
                                purpose of facilitating the Proceeding, including the SISP and for
                                the purpose of funding: (i) transaction costs and expenses incurred
                                by the DIP Lender in connection with the DIP Facility; (ii)
                                professional fees and expenses incurred by the Borrower (excluding
                                for certainty, the Restructuring Fee and the Success Fee), and the
                                Monitor in respect of the DIP Facility, the Proceeding and the
                                Chapter 11 Cases in accordance with the terms of the DIP Facility
                                and professional fees, and expenses incurred by the Existing
                                Lenders in respect of the Proceeding and the Chapter 11 Cases
                                (provided that the consenting lenders execute and deliver support
                                agreement(s) that binds all of the Existing Lenders, in form and
                                substance satisfactory to the DIP Lender, supporting the SISP, the
                                Court Orders and the BMO Transaction); (iii) the operating costs,


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                               expenses, capital expenditures and ordinary course liabilities
                               (including, without limitation, wages, bonuses, vacation pay, active
                               employee benefits and entitlements under the KERP) of the
                               Borrower and LoyaltyOne Travel Services Co./Cie Des Voyages
                               LoyaltyOne; and (iv) the making of the Intercompany Loans where
                               the Parent requires the Intercompany Loans in order to fund the
                               Chapter 11 Cases and its operating costs, capital expenditures and
                               ordinary course liabilities including professional fees and expenses
                               as specifically provided in the DIP Agreement Cash Flow Projection
                               subject to the Permitted Variance;

                         (d)   Comply with the provisions of the court orders made in connection
                               with the Proceeding (collectively, the “Court Orders” and each a
                               “Court Order”), the Intercompany Loan Order and any other order
                               entered in connection with the Chapter 11 Cases relating to the DIP
                               Facility;

                         (e)   Preserve, renew and keep in full force Borrower’s corporate or other
                               existence and all material licenses, permits, approvals, etc. required
                               in respect of their respective business, properties, assets or any
                               activities or operations carried out therein;

                         (f)   Maintain the insurance in existence of the date hereof with respect
                               to the Collateral;

                         (g)   Conduct its activities in accordance with the DIP Agreement Cash
                               Flow Projection, subject to the Permitted Variance;

                         (h)   Promptly notify the DIP Lender and the Monitor of the occurrence
                               of any Event of Default, or of any event or circumstance (a
                               “Default”) that may, with the passage of time or the giving of
                               notice, constitute an Event of Default;

                         (i)   Promptly notify the DIP Lender and the Monitor of the
                               commencement of, or receipt of notice of intention to commence,
                               any action, suit, investigation, litigation or proceeding before any
                               court, governmental department, board, bureau, agency or similar
                               body affecting the Borrower;

                         (j)   Promptly after the same is available, but in no event later than the
                               day that is two (2) business days prior to the date on which the same
                               is to be served or if such advance notice is not possible then as soon
                               as reasonably practicable prior to the date on which the same is to
                               be served, provide copies to the DIP Lender of all pleadings, motion
                               records, application records, judicial information, financial
                               information and other documents filed by or on behalf of the
                               Borrower in the Proceeding and the Chapter 11 Cases;

                         (k)   Subject to the CCAA and the Court Orders, comply in all material
                               respects with all applicable laws, rules and regulations applicable to



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                                 its business, including, without limitation, health and safety, and
                                 environmental laws;

                         (l)     Except where a stay of proceedings or Court Order otherwise
                                 applies, pay when due all statutory liens, trust and other Crown
                                 claims including employee source deductions, GST, HST, PST,
                                 employer health tax, and workplace safety and insurance premiums,
                                 but only with respect to: (i) payments that rank in priority to the DIP
                                 Charge; or (ii) payments that are otherwise authorized pursuant to
                                 the ARIO;

                         (m)     Treat as unaffected the DIP Obligations in any plan of compromise
                                 or arrangement, proposal or any other restructuring whatsoever;

                         (n)     At all times be and remain subject to the Proceeding until the DIP
                                 Obligations are irrevocably and unconditionally repaid in full, with
                                 no further right to DIP Advances;

                         (o)     Ensure that all motion records, pleadings, application records,
                                 orders and other documents (the “Court Documents”) filed,
                                 proposed, sought, served, and obtained by the Borrower or in
                                 respect of which the Borrower consents or does not object, in or in
                                 connection with the Proceeding or the Chapter 11 Cases shall be in
                                 form and substance reasonably satisfactory to the DIP Lender, and
                                 provide to the DIP Lender copies of such Court Documents as soon
                                 as practicable prior to any filing or service in the Proceeding, but in
                                 no event later than the day that is two (2) business days prior to the
                                 date on which the same is to be served or if such advance notice is
                                 not possible then as soon as reasonably practicable prior to the date
                                 on which the same is to be served;

                         (p)     Subject to the CCAA and the Court Orders, grant the DIP Lender
                                 and its professional advisors reasonable access to the Collateral and
                                 their business, properties, and books and records; and

                         (q)     Conduct the SISP strictly in accordance with its terms (including
                                 milestones and timelines) and strictly comply with the SISP Order.

 17. NEGATIVE            The Borrower covenants and agrees not to do the following or permit any
 COVENANTS:              subsidiary to do the following while any DIP Obligations remain
                         outstanding, other than with the prior written consent of the DIP Lender or
                         pursuant to an Order of the Court:

                         (a)     Transfer, lease or otherwise dispose of all or any part of its property,
                                 assets or undertaking except: (i) pursuant to any Intercompany
                                 Loans; (ii) where permitted pursuant to the ARIO; and (iii) where
                                 such transaction results in the repayment of DIP Obligations in
                                 accordance with the provisions herein under the paragraph entitled
                                 “Mandatory Repayments”;




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                         (b)   Make any payment of principal or interest in respect of any
                               indebtedness outstanding prior to the commencement of the
                               Proceeding (“Existing Indebtedness”) other than as may be
                               permitted or required herein or by a Court Order.

                         (c)   Create or permit to exist indebtedness for borrowed money other
                               than: (i) Existing Indebtedness; (ii) debt contemplated by this DIP
                               Facility; (iii) post-filing trade credit obtained in the ordinary course
                               of business, in accordance with the DIP Agreement Cash Flow
                               Projection;

                         (d)   Permit any new liens to exist on any Collateral other than the
                               Priority Charges and Permitted Encumbrances;

                         (e)   Either: (i) change its name, amalgamate, consolidate with or merge
                               into, or enter into any similar transaction with any other entity; or
                               (ii) make any changes to its organizational documents that could be
                               adverse to the DIP Lender;

                         (f)   Other than Intercompany Loans or as permitted by the terms of this
                               DIP Term Sheet, make any acquisitions, investments or loans to any
                               person or guarantee the obligations of any person, other than those
                               in existence on the date hereof and disclosed to the DIP Lender in
                               writing;

                         (g)   Enter into any transaction with any affiliate (including the Parent)
                               other than: (i) any transaction on terms and conditions at least as
                               favourable to the Borrower as could reasonably be obtained in an
                               arms-length transaction, including ordinary course transactions with
                               of LoyaltyOne Travel Services Co./Cie Des Voyages LoyaltyOne;
                               (ii) those in existence on the date hereof and disclosed to the DIP
                               Lender in writing; or (iii) any Intercompany Loans;

                         (h)   Pay any dividends, distributions or advances to shareholders of the
                               Borrower, or any management bonus or similar payments (except
                               for the KERP), except to the extent provided for in the DIP
                               Agreement Cash Flow Projection;

                         (i)   Hold or use any bank accounts other than as set out on Schedule “H”
                               or otherwise agreed to by the DIP Lender;

                         (j)   Engage in new businesses;

                         (k)   Change its fiscal year or accounting practices;

                         (l)   Issue any equity;

                         (m)   Take any action (or in any way support the taking of any action by
                               another person) that has, or may have, a material adverse impact on
                               the rights and interests of the DIP Lender, including, without
                               limitation, any action in furtherance of challenging the validity,


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                                 enforceability or amount of the obligations owing in respect of the
                                 DIP Facility; and

                         (n)     except in accordance with the BMO Purchase Agreement or the
                                 SISP Order, commence, continue or seek any stakeholder or court
                                 approval for any sale, restructuring transaction or plan without the
                                 prior written consent of the DIP Lender in its sole discretion.

 18. INDEMNITY AND       The Borrower agrees to indemnify and hold harmless the DIP Lender and
 RELEASE:                each of its directors, officers, employees, agents, attorneys, advisors and
                         affiliates (all such persons and entities being referred to hereafter as
                         “Indemnified Persons”) from and against any and all actions, suits,
                         proceedings (including any investigations or inquiries), claims, losses,
                         damages, liabilities or expenses of any kind or nature whatsoever (excluding
                         indirect or consequential damages and claims for lost profits) which may be
                         incurred by or asserted against or involve any Indemnified Person as a result
                         of or arising out of or in any way related to or resulting from the Proceeding
                         or the Chapter 11 Cases, this DIP Term Sheet or any advance made
                         hereunder, and, upon demand, to pay and reimburse any Indemnified Person
                         for any reasonable legal or other out-of-pocket expenses incurred in
                         connection with investigating, defending or preparing to defend any such
                         action, suit, proceeding (including, without limitation, any inquiry or
                         investigation) or claim (whether or not any Indemnified Person is a party to
                         any action or proceeding out of which any such expenses arise); provided,
                         however, the Borrower shall not be obligated to indemnify pursuant to this
                         paragraph any Indemnified Person against any loss, claim, damage, expense
                         or liability to the extent it resulted from the gross negligence or willful
                         misconduct of such Indemnified Person as finally determined by a court of
                         competent jurisdiction.

                         The indemnities granted under this DIP Term Sheet shall survive any
                         termination of the DIP Facility.

                         The Borrower shall not contest, challenge or in any way oppose (or support
                         any other person in contesting, challenging or opposing) the validity and
                         enforceability of the DIP Obligations or any loan, security or other
                         documents relating thereto. The Borrower further covenants to, and does
                         hereby, release the DIP Lender in its capacity as lender hereunder and its
                         respective predecessors, successors, agents, advisors, representatives and
                         assigns of and from all claims and liabilities relating to any act or omission
                         prior to the date of this DIP Term Sheet.

 19. EVENTS OF           The occurrence of any one or more of the following events, without the prior
 DEFAULT:                written consent of the DIP Lender, shall constitute an event of default
                         (“Event of Default”) under this DIP Term Sheet:

                         (a)     The issuance of an order terminating the Proceeding or lifting the
                                 stay in the Proceeding to permit the enforcement of any security
                                 against the Borrower or the Collateral (being Collateral with an
                                 aggregate fair market value as reasonably determined by the
                                 Borrower in excess of $500,000), or the appointment of a receiver


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                               and manager, receiver, interim receiver or similar official or the
                               making of a bankruptcy order against the Borrower or the Collateral
                               (being Collateral with an aggregate fair market value as reasonably
                               determined by the Borrower in excess of $500,000);

                         (b)   The issuance of an order granting a lien of equal or superior status
                               to that of the DIP Charge, other than as provided in section 13
                               hereof;

                         (c)   The issuance of any Court Order: (i) staying, reversing, vacating or
                               otherwise modifying the DIP Charge; or (ii) that adversely impacts
                               or could reasonably be expected to adversely impact the rights and
                               interests of the DIP Lender in connection with the Collateral or
                               under this DIP Term Sheet or the ARIO, as determined by the DIP
                               Lender, acting reasonably; provided, however, that any such order
                               that provides for payment in full forthwith of all of the obligations
                               of the Borrower under the DIP Facility shall not constitute an Event
                               of Default;

                         (d)   Failure of the Borrower to pay any principal, interest, fees or any
                               other amounts, in each case when due and owing hereunder (subject
                               to a three (3) business day cure period in the case of interest, fees
                               and any other amounts (other than principal amounts) due
                               hereunder);

                         (e)   Any update to the DIP Agreement Cash Flow Projection required to
                               be made in accordance with Section 6 hereof indicating that the
                               Borrower would require additional funding above the Maximum
                               Amount to meet its obligations at any time during the period of the
                               DIP Agreement Cash Flow Projection;

                         (f)   Any representation or warranty by the Borrower herein or in any
                               certificate delivered by the Borrower to the DIP Lender shall be
                               incorrect or misleading in any material respect as of the date made
                               or deemed made;

                         (g)   A court order is made (whether in the Proceeding, the Chapter 11
                               Cases or otherwise), a liability arises or an event occurs, including
                               any change in the business, assets, or conditions, financial or
                               otherwise, of the Borrower, that has or will have a Material Adverse
                               Effect; provided that the forgoing shall exclude changes to the
                               Borrower’s business or its performance (including without
                               limitation collector redemption cadence) solely as a result of
                               commencement, announcement or continuance of the Proceeding,
                               the Chapter 11 Cases, announcement of the BMO Transaction or BL
                               Transaction, performance by the Borrower of its obligations under
                               the BMO Purchase Agreement or BL Purchase Agreement, or
                               conducting the SISP;




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                           (h)     Any material breach of any Court Order upon receipt by the
                                   Borrower of notice from the DIP Lender of such breach by the
                                   Borrower;

                           (i)     Failure of the Borrower to perform or comply with any other term
                                   or covenant under this DIP Term Sheet and such default shall
                                   continue unremedied for a period of three (3) business days after the
                                   earlier of (i) delivery of notice given by the DIP Lender to the
                                   Borrower, with a copy to the Monitor or (ii) the Borrower’s
                                   knowledge of such failure to perform or comply;

                           (j)     Any change of control of the Borrower;

                           (k)     The seeking or support by the Borrower, or the issuance, of any
                                   court order (in the Proceeding, the Chapter 11 Cases or otherwise)
                                   that is materially inconsistent with the terms of this DIP Term Sheet;
                                   or

                           (l)     Without limiting the foregoing, the SISP is not completed by the
                                   SISP Order Outside Date.

 20.    REMEDIES:          Upon the occurrence and during the continuance of an Event of Default,
                           whether or not there is availability under the DIP Facility (a) without any
                           notice to the Borrower, the Borrower shall have no right to receive any
                           additional DIP Advances or other accommodation of credit from the DIP
                           Lender except in the sole discretion of the DIP Lender; and (b) the DIP
                           Lender may immediately terminate the DIP Facility and demand immediate
                           payment of all DIP Obligations by providing such a notice and demand to
                           the Borrower, with a copy to the Monitor. With the leave of the Court sought
                           on not less than three (3) business days’ notice to the Borrower and the
                           Monitor after the occurrence and during the continuance of an Event of
                           Default, the DIP Lender shall have the right to enforce the DIP Charge and
                           to exercise all other rights and remedies in respect of the DIP Obligations
                           and the DIP Charge, including the right to realize on all Collateral and to
                           apply to the Court for the appointment of a Court-appointed receiver (subject
                           to the application of proceeds of realization to Priority Charges, as
                           applicable), and, subject to the terms of the Intercompany Loan Order, the
                           right to enforce the Intercompany Loan and to exercise all rights and
                           remedies under any documents entered into in respect of the Intercompany
                           Loans against the Parent consistent therewith. No failure or delay by the DIP
                           Lender in exercising any of its rights hereunder or at law shall be deemed a
                           waiver of any kind, and the DIP Lender shall be entitled to exercise such
                           rights in accordance with this DIP Term Sheet at any time. No further
                           Intercompany Loan shall be made by the Borrower after the occurrence of
                           an Event of Default, unless such Event of Default is cured or waived in
                           writing by the DIP Lender, or the DIP Lender otherwise agrees in writing.

 21.    FEES:              The Borrower shall pay to the DIP Lender an upfront fee (the “Upfront
                           Fee”), as compensation for making the DIP Facility available, in an amount
                           equal to 2% of the Maximum Amount (being $1,400,000). The Upfront Fee
                           shall be earned and payable upon execution and delivery of this DIP Term


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                           Sheet to the DIP Lender and approval of this DIP Term Sheet, the ARIO and
                           the SISP Order by the Court. The Upfront Fee, once earned and payable,
                           shall be non-refundable under all circumstances and shall be paid by adding
                           the amount of such fee to the principal amount of DIP Obligations on the
                           Closing Date. Amounts representing the Upfront Fee that are added to the
                           principal amount of the DIP Obligations shall thereafter constitute principal
                           and bear interest in accordance with Section 12.

                           The Borrower shall pay to the DIP Lender a standby fee (the “Standby
                           Fee”), calculated at 1.25% per annum on the daily unadvanced portion of
                           the DIP Facility. The Standby Fee shall be calculated and accrue daily from
                           the date hereof. The Borrower shall pay the Standby Fee by adding the
                           amount of such fee to the principal amount of DIP Obligations on the last
                           business day of each calendar month. Amounts representing the Standby Fee
                           that are added to the principal amount of the DIP Obligations shall thereafter
                           constitute principal and bear interest in accordance with Section 12.

 22.    LEGAL FEES:        The Borrower shall pay by wire transfer, within seven (7) days of receipt of
                           a summary invoice, all reasonable and documented out-of-pocket expenses,
                           including all reasonable legal expenses on a solicitor-client basis, incurred
                           by the DIP Lender in connection with the Proceeding, this DIP Term Sheet
                           and the DIP Facility, including those with any respect to any enforcement of
                           the terms hereof or of the DIP Charge or otherwise incurred in connection
                           with the DIP Facility (the “Expenses”), but for certainty excluding the DIP
                           Lender’s fees and expenses incurred in connection with the BMO Purchase
                           Agreement and BMO Transaction.

                           Subject to Court approval of this DIP Term Sheet, all Expenses shall be non-
                           refundable under all circumstances.

 23. DIP LENDER            Any consent, approval, instruction or other expression of the DIP Lender to
 APPROVALS:                be delivered in writing may be delivered by any written instrument,
                           including by way of email, by the DIP Lender pursuant to the terms hereof.

 24.    TAXES:             All payments by the Borrower under this DIP Term Sheet to the DIP Lender,
                           including any payments required to be made from and after the exercise of
                           any remedies available to the DIP Lender upon an Event of Default, shall be
                           made free and clear of, and without reduction for or on account of, any
                           present or future taxes, levies, imposts, duties, charges, fees, deductions or
                           withholdings of any kind or nature whatsoever or any interest or penalties
                           payable with respect thereto now or in the future imposed, levied, collected,
                           withheld or assessed by any country or any political subdivision of any
                           country (collectively, “Taxes”), other than Taxes imposed on or measured
                           by net income (however denominated), franchise Taxes, branch profits
                           Taxes and any applicable Canadian withholding Taxes arising as a result of
                           (i) the DIP Lender not dealing at arm’s length (within the meaning of the
                           Income Tax Act (Canada) (“ITA”)) with the Borrower at the time of making
                           such payment, or (ii) the DIP Lender being a “specified non-resident
                           shareholder” (as defined in subsection 18(5) of the ITA) of the Borrower or
                           not dealing at arm’s length (for the purposes of the ITA) with a “specified
                           shareholder” (as defined in subsection 18(5) of the ITA) of the Borrower,


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                           except, in the case of (i) and (ii), (x) where the non-arm’s length relationship
                           arises, or (y) where the DIP Lender is a “specified non-resident shareholder”
                           of the Borrower or does not deal at arm’s length with a “specified
                           shareholder” of the Borrower, in connection with or as a result of the DIP
                           Lender having become a party to, executed, delivered, received payments
                           under, performed its obligations under, received or perfected a security
                           interest under, or received or enforced any rights under, any loan document.

 25. FURTHER               The Borrower shall, at its expense, from time to time do, execute and deliver,
 ASSURANCES:               or will cause to be done, executed and delivered, all such further acts,
                           documents and things as the DIP Lender may reasonably request for the
                           purpose of giving effect to this DIP Term Sheet. Without limiting the
                           foregoing, the Borrower agrees that if so requested by the DIP Lender, acting
                           reasonably, it shall promptly execute and deliver to the DIP Lender any
                           general security agreement or other security documents securing its
                           obligations to the DIP Lender hereunder in forms reasonable and customary
                           for debtor in possession financings, provided however that the execution of
                           any such security document shall not be a condition precedent to funding the
                           Maximum Amount or DIP Advances hereunder.

 26. ENTIRE                This DIP Term Sheet, including the schedules hereto constitutes the entire
 AGREEMENT;                agreement between the parties relating to the subject matter hereof.
 CONFLICT:

 27. AMENDMENTS,           No waiver or delay on the part of the DIP Lender in exercising any right or
 WAIVERS, ETC.:            privilege hereunder will operate as a waiver hereof or thereof unless made
                           in writing and delivered in accordance with the terms of this DIP Term
                           Sheet. Any amendment to the terms of this DIP Term Sheet shall be made
                           in writing and signed by the parties hereto.

 28.    ASSIGNMENT:        After the occurrence and during the continuance of an Event of Default, the
                           DIP Lender may assign this DIP Term Sheet and its rights and obligations
                           hereunder, in whole or in part, to any party acceptable to the DIP Lender in
                           its sole and absolute discretion, provided that the Monitor shall have
                           provided its prior written consent, including that the Monitor is satisfied that
                           the proposed assignee has the financial capacity to act as DIP Lender.

                           Prior to the occurrence and continuance of an Event of Default, the DIP
                           Lender shall not be permitted to assign its rights and obligations hereunder,
                           in whole or in part, without the prior written consent of (i) the Borrower,
                           such consent not to be unreasonably withheld; and (ii) the Monitor,
                           including that the Monitor is satisfied that the proposed assignee has the
                           financial capacity to act as DIP Lender.

                           Notwithstanding anything to the contrary in the DIP Term Sheet including
                           without limitation Section 24, hereof, the DIP Lender shall be responsible
                           for and shall indemnify and pay to the Borrower (and its officers and
                           directors if applicable) on demand any costs and expenses incurred or arising
                           in connection with any assignment of this DIP Term Sheet by the DIP
                           Lender (including without limitation any applicable Taxes required to be
                           paid by the Borrower (and its officers and directors if applicable) as a result


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                           of the assignment), other than with respect to any assignment made after the
                           occurrence and during the continuance of an Event of Default, and this
                           indemnity shall survive the termination of the DIP Facility and repayment
                           of the DIP Obligations.

                           Neither this DIP Term Sheet nor any right and obligation hereunder may be
                           assigned by the Borrower.

 29.    SEVERABILITY:      Any provision in this DIP Term Sheet that is prohibited or unenforceable in
                           any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
                           such prohibition or unenforceability without invalidating the remaining
                           provisions hereof or affecting the validity or enforceability of such provision
                           in any other jurisdiction.

 30. COUNTERPARTS          This DIP Term Sheet may be executed in any number of counterparts and
 AND SIGNATURES:           by electronic transmission, each of which when executed and delivered shall
                           be deemed to be an original, and all of which when taken together shall
                           constitute one and the same instrument. Any party may execute this DIP
                           Term Sheet by signing any counterpart of it.

 31.    NOTICES:           Any notice, request or other communication hereunder to any of the parties
                           shall be in writing and be well and sufficiently given if delivered personally
                           or sent by electronic mail to the attention of the person as set forth below:

                           (a) In the case of the Borrower:

                           LoyaltyOne, Co.
                           351 King Street East
                           Suite 200
                           Toronto, Ontario M5A 0L6

                           Attention:        Shawn Stewart
                           Email:
                                             sstewart@loyalty.com

                           With a copy to:

                           Akin Gump Strauss Hauer & Feld LLP
                           One Bryant Park
                           New York, New York 10036-6745

                           Attention:        Philip Dublin, Meredith Lahaie, Alan Laves
                           Email:
                                             pdublin@akingump.com, mlahaie@akingump.com,
                                             alaves@akingump.com

                           And with a copy to:

                           Cassels Brock & Blackwell LLP
                           Scotia Plaza, Suite 2100




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                         40 King St. W
                         Toronto, ON M5H 3C2

                         Attention:              Ryan Jacobs, Jane Dietrich, Michael Wunder
                         Email:
                                                 rjacobs@cassels.com, jdietrich@cassels.com,
                                                 mwunder@cassels.com

                         And with a copy to the Monitor:

                         KSV Restructuring Inc.
                         150 King Street West
                         Suite 2308, Box 42
                         Toronto, Ontario M5H 1J9

                         Attention:              David Sieradzki and Noah Goldstein
                         Email:
                                                 dsieradzki@ksvadvisory.com,
                                                 ngoldstein@ksvadvisory.com

                         And with a copy to the Monitor’s Counsel:

                         Goodmans LLP
                         333 Bay Street
                         Suite 3400
                         Toronto, Ontario M5H 2S7

                         Attention:        Brendan O’Neill and Chris Armstrong
                         Email:            boneill@goodmans.ca, carmstrong@goodmans.ca

                         (b) In the case of the DIP Lender:

                         Bank of Montreal
                         100 King St West, 19th Floor
                         Toronto, Ontario, M5X 1A1

                         Attention:        Mike Johnson and Joshua Seager
                         Email:            michaelm.johnson@bmo.com, joshua.seager@bmo.com

                         With a copy to:

                         Torys LLP
                         79 Wellington Street East
                         Suite 3000
                         Toronto, ON M5K 1N2

                         Attention: David Bish / Amanda Balasubramanian
                         Email: dbish@torys.com / ABalasubramanian@torys.com




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                         Any such notice shall be deemed to be given and received, when received,
                         unless received after 5:00 EST or on a day other than a business day, in
                         which case the notice shall be deemed to be received the next business day.

 32. GOVERNING LAW       This DIP Term Sheet shall be governed by, and construed in accordance
 AND JURISDICTION:       with, the laws of the Province of Ontario and the federal laws of Canada
                         applicable therein.

 33. CURRENCY AND        Unless otherwise specified herein, all dollar amounts are in the lawful
 JUDGMENT CURRENCY:      currency of the United States of America. The Borrower shall pay to the DIP
                         Lender all payments on account of principal and interest hereunder in lawful
                         money of the United States of America.

                         If in the recovery by the DIP Lender of any amount owing by the Borrower
                         hereunder in any currency, judgment can only be obtained in another
                         currency and because of changes in the exchange rate of such currencies
                         between the date of judgment and payment in full of the amount of such
                         judgment, the amount received by the DIP Lender is less than the recovery
                         provided for under the judgment, the Borrower shall immediately pay any
                         such shortfall to the DIP Lender and such shortfall can be claimed by the
                         DIP Lender against the Borrower as an alternative or additional cause of
                         action.



                              - signature pages follow -




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                                      BANK OF MONTREAL

                                      By:
                                            Name:
                                            Title:




                                      By:
                                            Name:
                                            Title:
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                                   EXHIBIT C
                     BRANDLOYALTY TRANSACTION AGREEMENTS




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                      SALE AND PURCHASE AGREEMENT



                              PROJECT POINTS




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                          THIS SALE AND PURCHASE AGREEMENT (THE "AGREEMENT") IS MADE ON
                          _____________________
                                       1 MARCH 2023 BY AND BETWEEN:

                          I.     LVI LUX FINANCING S.À R.L., a private limited liability company (société à
                                 responsabilité limitée) incorporated under the laws of Luxembourg, having its
                                 registered office at 11-13 boulevard de la Foire, L-1528 Luxembourg and registered
                                 with the Luxembourg Trade and Companies Register under number B181593 (the
                                 "Seller"); and

                          II.    OPPORTUNITY PARTNERS B.V., a private company with limited liability (besloten
                                 vennootschap met beperkte aansprakelijkheid), incorporated under the laws of the
                                 Netherlands with its corporate seat in 's-Hertogenbosch, the Netherlands, having its
                                 place of business at Deutersestraat 37, 5266 AW Cromvoirt, the Netherlands, and
                                 registered with the trade register of the Chamber of Commerce under number
                                 66500427, (the "Purchaser");

                          the Seller and the Purchaser, are hereafter collectively referred to as the "Parties" and each
                          individually, a "Party".

                          RECITALS:

                          A.     The Seller is the legal and beneficial owner of all issued and outstanding shares
                                 (the "Shares") in the capital of APOLLO HOLDINGS B.V., a private company with
                                 limited liability (besloten vennootschap met beperkte aansprakelijkheid),
                                 incorporated under the laws of the Netherlands with its corporate seat in
                                 Amsterdam, the Netherlands, having its registered place of business at Koningsweg
                                 101, 5211 BH 's-Hertogenbosch, the Netherlands, and registered with the trade
                                 register of the Chamber of Commerce under number 59143215 (the "Company").

                          B.     The Company, directly or indirectly, is the sole legal and beneficial owner of all
                                 issued and outstanding shares in the capital of the subsidiaries as set out in the
                                 corporate chart attached as Schedule 2 (Corporate structure) (the ''Subsidiaries'',
                                 and together with the Company, the ''Group'' and the ''Group Companies'', and
                                 each individually, a ''Group Company'').

                          C.     The Group is active in the development, implementation and evaluation of tailor-
                                 made loyalty concepts and campaigns for high frequency retailers mostly in the
                                 supermarket industry and trading for retail- and production companies that deliver
                                 to this industry (the ''Business'').
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                          D.    The Parties entered into that certain term sheet for share purchase agreement and
                                bridge loan dated 13 February 2023 and attached hereto as Schedule 3 (Term
                                Sheet) (the "Term Sheet"), providing for the key terms regarding (i) a transaction
                                pursuant to which the Purchaser will purchase and acquire all Shares from the
                                Seller, and the Seller will sell and transfer the Shares to the Purchaser (the
                                "Transaction") and (ii) a revolving credit facility of EUR 25,000,000 (twenty-five
                                million euros) provided by the Purchaser (or any of its Affiliates) to the Group as a
                                bridge loan for purposes of funding the working capital needs of the Business in the
                                period between the date of this Agreement and the Completion Date (the "Bridge
                                Loan").

                          E.    Prior to or on the date of this Agreement each of (A) that certain Consent and
                                Release Agreement by and between Bread Financial Holdings, Inc., the Purchaser
                                and the Seller's Parent (the "Bread Consent") and (B) the Lenders' Consent (as
                                defined below), were entered into, copies of which are attached hereto in Schedule
                                4 (Bread and Lenders' Consents).

                          F.    The Parties have reached agreement on the definitive terms and conditions under
                                which they are willing to enter into the Transaction and therefore each of the Parties
                                wishes to enter into this Agreement.

                          G.    Concurrently with the entering into of this Agreement, (i) the Purchaser as lender
                                and Brand Loyalty International B.V. and Brand Loyalty Sourcing B.V. as borrowers,
                                entered into the Bridge Loan agreement (the “Bridge Loan Agreement”) and (ii)
                                the Purchaser, Brand Loyalty Sourcing B.V. and the Agent (as defined below)
                                entered into the intercreditor agreement including inventory pledge securing the
                                obligations of the borrowers under the Bridge Loan (the ''Bridge Loan Pledge''),
                                both attached hereto in Schedule 5 (Bridge Loan Documents).

                          H.    The Parties have complied with the provisions of the Social and Economic Council
                                Merger Regulation (SER-Fusiegedragsregels 2015).

                          I.    Except as explicitly set out otherwise in this Agreement, the Seller and the
                                Purchaser have obtained all internal and external approvals and consents required
                                for (i) the entering into and execution of this Agreement and (ii) consummation of
                                the Transaction.
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                          IT IS HEREBY AGREED AS FOLLOWS:

                          1.     DEFINITIONS AND INTERPRETATION

                                 In this Agreement, save where explicitly provided otherwise, capitalised words and
                                 expressions have the meanings specified or referred to in Paragraph 1 of
                                 Schedule 1 (Definitions and interpretation). The provisions of this Agreement shall
                                 be interpreted in accordance with Paragraph 2 of Schedule 1 (Definitions and
                                 interpretation), unless specifically provided otherwise in this Agreement.

                          2.     SALE AND PURCHASE OF THE SHARES

                          2.1.   Sale and purchase
                                 Subject to the terms and conditions of this Agreement, the Seller hereby sells the
                                 Shares to the Purchaser and the Purchaser hereby purchases the Shares from the
                                 Seller.

                          2.2.   Transfer
                                 Subject to the terms and conditions of this Agreement, the Seller shall transfer the
                                 Shares to the Purchaser, who shall accept such Shares, free from any and all
                                 Encumbrances, on the date on which the consummation of the Transaction in
                                 accordance with Clause 6 (“Completion") takes place (the “Completion Date"),
                                 by the execution of a customary notarial deed of transfer to be prepared by the
                                 Notary and negotiated between the Parties in good faith as soon as reasonably
                                 possible following the date of this Agreement (the "Deed of Transfer").

                          2.3.   Effective Time

                                 Subject to Completion taking place, the sale and transfer of the Shares will have
                                 economic effect from 0.00 hours a.m. CET on the Completion Date (the "Effective
                                 Time") and, consequently, subject to the provisions of this Agreement, the benefit
                                 and risk of the Shares, together with the benefit and risk of the Group and the
                                 Business, will be for the account of the Purchaser as of the Effective Time.

                          2.4.   Purchaser's nomination right

                                 The Purchaser shall be entitled to nominate at its own cost, by notice to the Seller
                                 delivered no later than three (3) Business Days prior to the Completion Date, an
                                 Affiliate of the Purchaser (the "Purchaser's Nominee"), to which all of the Shares
                                 will be transferred at Completion (instead of to the Purchaser itself), provided that
                                 such nomination shall not derogate from the Purchaser's obligations towards the
                                 Seller under this Agreement. In the event the Purchaser invokes its rights under
                                 this Clause 2.4 the relevant Clauses and provisions relating to the transfer of the
                                 Shares shall be deemed to read as such that the Purchaser's Nominee will be
                                 acquiring and accepting transfer of the Shares.
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                          3.       PURCHASE PRICE

                          3.1.     Purchase Price

                          3.1.1.   The purchase price for the Shares (the "Purchase Price") will be USD 6,000,000
                                   (six million US dollars).

                          3.1.2.   The consideration provided by the Purchaser to Seller pursuant to this Agreement
                                   constitutes reasonably equivalent value and fair consideration for the Shares.

                          3.2.     Payment of the Purchase Price

                          3.2.1.   The Purchaser shall pay the amount of the Purchase Price to the Seller in cash at
                                   Completion in accordance with Clause 6.2 and without any deduction, set-off or
                                   suspension.

                          3.2.2.   Any payment made under this Agreement by or on behalf of the Seller to the
                                   Purchaser, or by the Purchaser to the Seller, shall be deemed to be an adjustment
                                   of the Purchase Price and shall be treated accordingly by the Parties in all relevant
                                   aspects, to the extent permitted by applicable Law.

                          4.       PRE-COMPLETION COVENANTS

                          4.1.     General conduct
                                   Between the date of this Agreement and the Completion Date (the “Interim
                                   Period"), the Seller shall use its reasonable best efforts to cause each Group
                                   Company to carry on its part of the Business as a going concern in the Ordinary
                                   Course of Business and in a manner most likely to preserve its value. During the
                                   Interim Period and to the extent permitted by Law (including in particular
                                   competition Law), the Seller shall immediately notify the Purchaser of any fact,
                                   matter, circumstance or event outside the Ordinary Course of Business which it
                                   should reasonably understand to be of material importance to the Purchaser as
                                   purchaser of the Shares.

                          4.2.     Consent matters

                          4.2.1.   Notwithstanding Clause 4.1, to protect the value of the Group Companies in the
                                   Interim Period, the Seller shall procure that, during the Interim Period and to the
                                   extent permitted by Law, including in particular competition Law, none of the Group
                                   Companies carries out any of the following actions without the prior written consent
                                   of the Purchaser, which consent shall not be unreasonably withheld, delayed or
                                   made conditional:

                                    a. acquiring or agreeing to acquire any share(s) or other equity interest, or make
                                       any capital contributions to or investments in any person other than any Group
                                       Company;
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                                  b. repay, redeem or repurchase, or allow to be repaid, redeemed or
                                     repurchased, any share capital of any Group Company to a person other than
                                     a Group Company;

                                  c. sell, transfer, issue or otherwise dispose of any share(s) of any Group
                                     Company;

                                  d. give any guarantee, indemnity, or otherwise agree to secure an obligation of
                                     any person other than for the benefit of the Group;

                                  e. disposing of any material assets (including cash outside the Ordinary Course
                                     of Business, but excluding the disposal or transfer of cash to a member of the
                                     Seller’s Group other than any Group Company (whether in the Ordinary
                                     Course of Business or not)) or imposing any Encumbrance thereupon to or for
                                     the benefit of any person other than any Group Company; excluding
                                     Encumbrances currently existing under the Credit Agreement, the Bridge
                                     Loan Agreement and the Bridge Loan Pledge;

                                  f.   entering into contracts or any similar binding obligation or commitment having
                                       a future liability in excess of EUR 1,000,000 (one million euros) in the
                                       aggregate;

                                  g. lend or borrow any money, other than under the Bridge Loan, in excess of
                                     EUR 500,000 (five hundred thousand euros);

                                  h. entering into, amending or terminating any Material Contracts;

                                  i.   initiating or settling any litigation that is or could reasonably be expected to
                                       be material to the Business;

                                  j.   hiring any employees for positions related to the Business that is out of the
                                       ordinary course of business;

                                  k. any dividend or any other distribution, whether by way of share redemption,
                                     repayment, or repurchase, share capital reduction, cancellation or otherwise,
                                     and any other payment in respect of any share capital, loan capital, bonds or
                                     other securities of any Group Company, in each case whether in cash, stock
                                     or in kind, declared, paid or made (whether actual or deemed) by any Group
                                     Company to any member of the Seller’s Group;

                                  l.   any waiver, deferral, discount or release by any Group Company of any
                                       amount, obligation or liability owed to any Group Company by any member of
                                       the Seller’s Group or for the benefit of any member of the Seller’s Group,
                                       except pursuant to Clause 4.4;

                                  m. any indebtedness or liability (agreed to be) incurred, assumed or indemnified
                                     by any Group Company to any member of the Seller's Group;
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                                    n. the borrowing of any monies by any member of the Seller’s Group from any
                                       Group Company;

                                    o. the acquisition or transfer by any Group Company from or to any member of
                                       the Seller's Group of any assets;

                                    p. any action or omittance that triggers or may trigger the enforcement by the
                                       relevant beneficiary of an Encumbrance granted by any Group Company; and

                                    q. the agreement or undertaking by any Group Company to do any of the matters
                                       set out in paragraphs a to p above.

                          4.2.2.   Any request for consent in connection with Clause 4.2.1 shall be made to the
                                   Purchaser by sending an email with a request for acknowledgment of receipt to
                                   Martijn ten Berge at martijn@oppartners.nl and Wieger Jansen at
                                   wieger@oppartners.nl. A written response to a request for consent must be
                                   provided by reply email to the sender of the email as soon as reasonably
                                   practicable and in any event within two (2) Business Days after receipt of the
                                   relevant request and, in case of an objection, setting out in reasonable detail the
                                   reasons for its objections, which must relate to the Business.

                          4.2.3.   If such written response is not received within such period, consent will be deemed
                                   to have been given by the Purchaser to the Seller. In the event the Purchaser timely
                                   and duly notifies the Seller of its objection, the Parties will as soon as reasonably
                                   possible discuss the proposed action and the Purchaser’s objection with the
                                   objective of reaching agreement with regard to the action to be undertaken.

                            4.3.   Permitted Actions

                                   The Seller shall not be in breach of any of Clause 4.1 or Clause 4.2 if and to the
                                   extent that the relevant Group Company undertakes or performs:

                                   a.   any action in order to perform or meet any mandatory legal or contractual
                                        obligations existing or in effect as of the date of this Agreement, or originating
                                        from the period prior to the date of this Agreement;

                                   b.   any act or conduct which the relevant Group Company is required to take, or
                                        omit to take in order to comply with:

                                        (i)     any Law, or any change or foreseeable change in Law;

                                        (ii)    a request of any Governmental Authority; or

                                        (iii)   the obligations under this Agreement;

                                   c.   any act or conduct explicitly consented to by the Purchaser under Clause 4.2
                                        and permitted under this Agreement; and/or
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                                   d.   any action in respect of which the relevant Group Company could not
                                        reasonably have acted otherwise without material detriment to, or without
                                        foregoing a material benefit to, any part of its Business.

                          4.4.     Intragroup arrangements, mutual releases and discharge

                          4.4.1.   Except as explicitly set out in this Agreement, the Seller undertakes to the
                                   Purchaser and, by means of an irrevocable third party undertaking for no
                                   consideration (onherroepelijk derdenbeding om niet), each Group Company that (i)
                                   all existing arrangements (including any outstanding balances) between the Seller
                                   or any member of the Seller’s Group on the one hand and any Group Company on
                                   the other hand and, (ii) all assumptions, guarantees, indemnities, surety, letters of
                                   comfort, rights of recourse, security rights, attachments, Encumbrances or other
                                   assurances issued by, given by or binding on any Group Company on the one hand
                                   in relation to any obligations or liabilities of the Seller or any member of the Seller’s
                                   Group on the other hand, shall be terminated without cost or early termination fees
                                   for the Purchaser or any Group Company, effective per Completion, on or prior to
                                   Completion.

                          4.4.2.   Subject to and effective per Completion:

                                    a. each of the Seller for itself and on behalf of each other member of the Seller’s
                                       Group hereby absolutely, unconditionally and irrevocably covenant not to sue
                                       and fully, finally and forever completely releases and discharges the
                                       Purchaser and, by means of an irrevocable third party undertaking for no
                                       consideration (onherroepelijk derdenbeding om niet), each Group Company
                                       from any and all past, current and future claim, actions, obligations, liabilities,
                                       entitlements (legal and beneficial), demands and or causes of actions, of
                                       whatever kind or character, whether assertable directly or derivatively,
                                       whether now known or unknown which the Seller or any member of the
                                       Seller’s Group has or might claim to have, or that could be asserted by or on
                                       behalf of the Seller or any member of the Seller’s Group, against any Group
                                       Company or the Purchaser and will grant each Group Company and the
                                       Purchaser full and final release and discharge of and from any and all post,
                                       current and future claims, actions, obligations, liabilities, entitlements (legal
                                       and beneficial), demands and or causes of action, of whatever kind or
                                       character, whether now known or unknown other than pursuant to this
                                       Agreement; and

                                    b. the Purchaser for itself and on behalf of each other member of the Purchaser's
                                       Group (including the Group Companies) hereby absolutely, unconditionally
                                       and irrevocably covenant not to sue and fully, finally and forever completely
                                       releases and discharges the Seller and, by means of an irrevocable third party
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                                        undertaking for no consideration (onherroepelijk derdenbeding om niet), each
                                        other member of the Seller's Group from any and all past, current and future
                                        claim, actions, obligations, liabilities, entitlements (legal and beneficial),
                                        demands and or causes of actions, of whatever kind or character, whether
                                        assertable directly or derivatively, whether now known or unknown which the
                                        Purchaser or any member of the Purchaser's Group has or might claim to
                                        have, or that could be asserted by or on behalf of the Purchaser or any
                                        member of the Purchaser's Group, against any member of the Seller's Group
                                        and will grant each member of the Seller's Group full and final release and
                                        discharge of and from any and all post, current and future claims, actions,
                                        obligations, liabilities, entitlements (legal and beneficial), demands and or
                                        causes of action, of whatever kind or character, whether now known or
                                        unknown other than pursuant to this Agreement.

                          4.4.3.   For purposes of this Clause 4.4 only, the term "Seller's Group" means the Seller
                                   and its Affiliates, including each of their employees, Representatives, agents or
                                   successors in title.

                            4.5.   On-going information to the Purchaser during the Interim Period

                                   During the Interim Period and upon reasonable request of the Purchaser, the Seller
                                   shall, and will procure that each Group Company shall, (i) provide the Purchaser
                                   with specific and regular updates on the performance of the Business and answer
                                   any questions raised by the Purchaser in that respect, and (ii) as soon as possible
                                   notify the Purchaser if the Seller or any Group Company becomes aware of any
                                   fact, matter or circumstance which may have caused, or is likely to give cause to,
                                   a breach of the Clauses 4.1 or 4.2. For the avoidance of doubt, nothing in this
                                   Clause 4.5 should be interpreted as requiring the Seller or a Group Company to
                                   provide the Purchaser with any information that from a competition Law perspective
                                   would be deemed to be competitively sensitive in nature.

                            4.6.   Finalisation of ancillary documents and Schedules

                                   Where any of the Schedules or ancillary document or agreement is not yet in
                                   agreed form at the date of this Agreement, the Seller and the Purchaser shall use
                                   their respective reasonable efforts and negotiate in good faith to finalise the same
                                   as soon as practicable after the date of this Agreement.

                            4.7.   Execution of Notary Letter

                                   Ultimately on the last Business Day prior to the Completion Date the Parties and
                                   any other relevant party shall sign a customary notary letter to be prepared by the
                                   Notary and negotiated between the Parties in good faith as soon as reasonably
                                   possible following the date of this Agreement (the ''Notary Letter'').
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                          5.     CONDITIONS PRECEDENT

                          5.1.   Conditions Precedent
                                 The Seller and the Purchaser shall only be obliged to complete the Transaction
                                 and perform the actions set out in Clause 6.3 when the following conditions
                                 precedent have been fulfilled (or waived in accordance with Clause 5.3) by the
                                 Long Stop Date (and, where applicable, continues to be fulfilled) (the “Conditions
                                 Precedent"):

                                 a. Each of the Bread Consent and the Lenders' Consent being in full force and
                                    effect (the “Consents Condition”);

                                 b. No Encumbrance granted by any Group Company being enforced by any
                                    relevant beneficiary, other than an Encumbrance granted by any Group
                                    Company to the Purchaser or Purchaser’s Group (the “Non-Enforcement
                                    Condition”);

                                 c. The BL Bridge Loan Consent Effective Date has occurred (the “BL Bridge
                                    Loan Consent Condition”);

                                 d. The Seller’s Warranties are true and accurate (the “Seller’s Warranties
                                    Condition”);

                                 e. The Purchaser’s Warranties are true and accurate (the “Purchaser’s
                                    Warranties Condition”);

                                 f.   All required notifications, filings and application with the Competition Authorities
                                      in connection with the Transaction ("Merger Clearance Filings") having been
                                      made, and each of the relevant Competition Authorities having either:

                                      (i)     issued a written statement or decision confirming that execution and
                                              performance of this Agreement does not fall within the scope of authority
                                              of the relevant Competition Authority (A) without referring the Transaction
                                              or any part thereof to another competition authority, or (B) referring the
                                              Transaction or any part thereof to another competition authority in
                                              accordance with relevant Law and one of the requirements listed in items
                                              (i) through (iii) having been fulfilled in respect of such other competition
                                              authority;

                                      (ii)    issued a written statement or decision unconditionally clearing the
                                              execution and performance of this Agreement; or

                                      (iii)   not having issued a written statement or decision prior to expiry of the
                                              relevant waiting period or applicable time period under the relevant
                                              competition Laws thereby implying that unconditional clearance to the
                                              execution and performance of this Agreement has been given,
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                                          (the "Merger Clearance Condition"); and

                                   g. If and to the extent required to be made prior to consummation of the
                                      Transaction to comply with any mandatory Laws, any other regulatory
                                      notification, filing and application with any Governmental Authority in
                                      connection with the Transaction having been made (e.g. CFIUS), and each of
                                      the relevant Governmental Authorities having either:

                                          (i)      issued a written statement or decision confirming that execution and
                                                   performance of this Agreement does not fall within the scope of authority
                                                   of the relevant Governmental Authority (A) without referring the
                                                   Transaction or any part thereof to another Governmental Authority, or (B)
                                                   referring the Transaction or any part thereof to another Governmental
                                                   Authority in accordance with relevant Law and one of the requirements
                                                   listed in items (i) through (iii) having been fulfilled in respect of such other
                                                   Governmental Authority;

                                          (ii)     issued a written statement or decision unconditionally approving,
                                                   consenting to or otherwise clearing the execution and performance of this
                                                   Agreement; or

                                          (iii) not having issued a written statement or decision prior to expiry of the
                                                relevant waiting period or applicable time period under the relevant Laws
                                                thereby implying that unconditional approval, consent or clearance (as the
                                                case may be) to the execution and performance of this Agreement has
                                                been given,

                                          (the “Regulatory Condition”).

                          5.2.     Satisfaction of the Merger Clearance Condition and the Regulatory Condition

                          5.2.1.   All filings, requests and enquiries relating to the satisfaction of the Merger
                                   Clearance Condition set out in Clause 5.1.f shall be dealt with by the Purchaser
                                   also on behalf of, and in reasonable consultation with the Seller as provided for in
                                   this Clause 5.2.

                          5.2.2.   The Purchaser shall:

                                   (i)           file the Merger Clearance Filings with the Competition Authorities as soon as
                                                 reasonably possible after the date of this Agreement and to the extent
                                                 relevant, in compliance with any filing deadlines included in the relevant
                                                 competition Laws;

                                   (ii)          promptly supply any additional information and documentation that may be
                                                 requested by any Competition Authority;
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                                   (iii)   provide the Seller with drafts of the Merger Clearance Filings and all other
                                           material communications to, and from, the Competition Authorities and give
                                           the Seller two (2) Business Days to comment on them, and provide the Seller
                                           with final copies of all such communications, whereby: (i) the Seller shall
                                           make available to the Purchaser all information and documentation that the
                                           Purchaser may reasonably require to assess, make or supplement any
                                           Merger Clearance Filings with any Competition Authority in a correct and
                                           timely manner or answer any related questions by any Competition Authority
                                           within the applicable time limits, (ii) the Purchaser shall not submit any
                                           Merger Clearance Filings, or offers to, engage in material communications
                                           with, the Competition Authorities containing information pertaining to the
                                           Group or its shareholders without the Seller’s prior written consent, such
                                           consent not to be unreasonably withheld, delayed or made conditional, and
                                           (iii) business secrets and other confidential information may be redacted by
                                           the Parties in exchanging drafts and final copies of communications,
                                           provided that such information will then be provided to the outside lawyers of
                                           either Party on a counsel-to-counsel basis without redaction; and

                                   (iv)    use its reasonable best efforts to procure that the Merger Clearance
                                           Condition is satisfied in the first phase of the procedures promulgated by the
                                           Competition Authorities, and in any case as soon as possible, provided that
                                           the Purchaser shall not be obliged to make any divestment or implement any
                                           requirements of any Competition Authority or perform any behavioural
                                           remedies in order to obtain clearance from any Competition Authority.

                          5.2.3.   The Purchaser shall bear all filing fees and costs incurred in relation the Merger
                                   Clearance Filings. The Purchaser shall also bear all costs, penalties and fines
                                   resulting from not filing in any jurisdiction where it is determined that filing should
                                   have taken place unless such not filing was attributable to the Seller not complying
                                   with its obligations under this Clause 5.2.

                          5.2.4.   Notwithstanding Clause 5.2.2(iv), the Parties will refrain from carrying out any
                                   action or omitting anything that could cause delay or jeopardize the satisfaction of
                                   the Merger Clearance Condition, except where such action or omission is required
                                   by Law or a binding decision by (i) a court to which no appeal is possible or (ii) any
                                   Governmental Authority to which no objection is allowed.

                          5.2.5.   The provisions of this Clause 5.2 shall apply, as much as possible, mutatis
                                   mutandis to any notifications, filings, submissions or communications to any
                                   Governmental Authority made in connection with the Regulatory Condition.
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                          5.2.6.   For the avoidance of doubt, where no Party has, prior to Completion, identified any
                                   aforementioned notifications, filings, submissions or communications being
                                   required to be made prior to consummation of the Transaction (in each case a
                                   "Regulatory Filing Requirement"), the Regulatory Condition shall be deemed
                                   satisfied.

                          5.3.     Waiver of certain Conditions Precedent

                          5.3.1.   The Consents Condition, the Non-Enforcement Condition, the BL Bridge Loan
                                   Consent Condition and the Seller’s Warranties Condition may be fully or partly
                                   waived by the Purchaser in writing to the Seller.

                          5.3.2.   The Purchaser’s Warranties Condition may be fully or partly waived by the Seller
                                   in writing to the Purchaser.

                          5.4.     Long Stop Date

                          5.4.1.   If (i) the Merger Clearance Condition has not been satisfied on or before the date
                                   falling 4 (four) months after the date of this Agreement (the "Long Stop Date"), (ii)
                                   to the extent a Regulatory Filing Requirement has been identified by either Party
                                   prior to the Long Stop Date, the Regulatory Condition has not been satisfied on or
                                   before the Long Stop Date, or (iii) the Consents Condition, the Non-Enforcement
                                   Condition, the BL Bridge Loan Consent Condition, the Seller’s Warranties
                                   Condition or the Purchaser’s Warranties Condition is not satisfied or waived in
                                   accordance with Clause 5.3 at any time on or prior to the Completion Date, each
                                   Party may at its own discretion, without being or becoming liable to the other Party,
                                   through a written notification to the other Party:

                                    a. propose to postpone the Long Stop Date to another date (it being agreed that
                                       no Party shall be obliged to agree to such postponement); or

                                    b. terminate this Agreement with immediate effect, except for the Surviving
                                       Clauses which shall survive such termination indefinitely and without
                                       prejudice to all other rights or remedies available, including the right to claim
                                       damages;

                                   it being understood however, that the right to terminate this Agreement under this
                                   Clause 5.4 shall not be available to a Party if such Party has breached its
                                   obligations under Clauses 5.2 or 5.4 or has materially breached any of its other
                                   obligations under this Agreement, and such breach has contributed materially to
                                   the non-satisfaction of the relevant Condition Precedent. For the avoidance of
                                   doubt, termination of the Agreement as provided for herein shall not relieve any
                                   Party for a breach of this Agreement prior to the applicable termination date.
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                          5.4.2.   Each Party will notify the other Party in writing within three (3) Business Days once
                                   it becomes aware of (i) a Regulatory Filing Requirement existing, (ii) the
                                   satisfaction of the Merger Clearance Condition or the Regulatory Condition or (iii)
                                   any circumstance that will or is likely to result in a failure or delay to satisfy any
                                   Condition Precedent, accompanied by the relevant documentation.

                          6.       COMPLETION

                          6.1.     Date and place
                                   Subject to the Conditions Precedent continuing to be satisfied, Completion shall
                                   take place at the offices of the Notary on the fifth (5th) Business Days after the date
                                   on which the Merger Clearance Condition and the BL Bridge Loan Consent
                                   Condition, and if applicable the Regulatory Condition has been satisfied, or as
                                   otherwise agreed between Parties.

                          6.2.     Payment
                                   The Purchaser shall procure that the Purchaser Price has been transferred to and
                                   received on the Notary's Account in accordance with the Notary Letter no later than
                                   at 04.00pm CET on the Completion Date.

                          6.3.     Completion actions

                          6.3.1.   After confirmation by the Notary that the Purchase Price has been received in the
                                   Notary’s Account, the following shall occur on the Completion Date, in the order
                                   stated in this Clause 6.3 and further, to the extent relevant, in accordance with the
                                   Notary Letter:

                                    a. the Seller shall provide the Notary with the Company's shareholders register
                                       which reflects the Seller as the owner of the Shares and the Shares are not
                                       Encumbered (other than such Encumbrances on the Shares released
                                       pursuant to the Lenders' Consent), in which the release of Encumbrances on
                                       the Shares pursuant to the Lenders' Consent and the transfer of the Shares
                                       shall be registered;

                                    b. the Seller shall provide written evidence of payment of the amounts due by
                                       the Loan Parties to the Agent and the Term B Group (as defined in the
                                       Lenders' Consent) pursuant to Section 3(b)(ii) of the Lenders' Consent (the
                                       "Lender Payment Amount"), provided that the Seller shall be deemed to
                                       have complied with its obligations under this sub-clause b, if and to the extent
                                       (A) the Agent either for itself or also on behalf of the Term B Group (as defined
                                       in the Lenders' Consent), and to the extent relevant, the Term B Group (as
                                       defined in the Lenders' Consent) is or are (as the case may be) a party to the
                                       Notary Letter, and (B) the Notary Letter provides for the Lender Payment
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                                         Amount to be paid out of the Purchase Price received in the Notary's Account
                                         in accordance with 6.2;

                                  c. the Seller shall deliver to the Purchaser, with a copy to the Notary, the written
                                     resignations of each of the persons set out in Schedule 6 (D&O Changes)
                                     stating that they resign from their respective board positions with the Group
                                     Companies as set out in that Schedule and that they waive any claims they
                                     have or may have against the Group Companies, effective upon the execution
                                     of the Deed of Transfer;

                                  d. the Seller shall procure the adoption of written resolutions to:

                                       (i)   grant full discharge to and accept the resignation of all members of the
                                             management boards of the Group Companies referred to in Clause
                                             6.3.1.b, effective as per the execution of the Deed of Transfer; and

                                       (ii) appoint the new members of the management boards of each of the Group
                                            Companies as set out in Schedule 6 (D&O Changes), effective upon the
                                            execution of the Deed of Transfer;

                                  e. the Seller shall deliver to the Purchaser a written statement, substantially in
                                     the form of Schedule 7 (Form of Seller’s and Seller’s Parent’s Closing
                                     Statement), in which (i) each of the Seller and the Seller's Parent affirms the
                                     terminations as referred to in Clause 4.4.1 and 4.4.2, and (ii) the Seller's
                                     Parent agrees as undertaking to procure compliance by itself and any member
                                     of the Seller's Group with the Seller's obligations set forth in Clauses 7.3 and
                                     12;

                                  f.     the Seller, the Purchaser and the Company shall each deliver to the Notary a
                                         duly executed power of attorney and, as and where required by the Notary,
                                         legalised and apostilled, authorising each other (deputy) civil law notary and
                                         employee associated with Houthoff Coöperatief U.A. to enter into and execute
                                         the Deed of Transfer on its behalf and know-your-customer information
                                         satisfactory to the Notary;

                                  g. the Seller, the Purchaser and the Company shall deliver to the Notary a written
                                     confirmation set out in the Notary Letter, instructing the Notary to transfer the
                                     Shares to the Purchaser;

                                  h. the Seller and the Purchaser shall cause the Shares to be transferred to the
                                     Purchaser by way of execution of the Deed of Transfer by the Notary; and

                                  i.     the Seller and the Purchaser shall cause the Notary to hold the Purchase
                                         Price (minus the Lender Payment Amount if so agreed upon in the Notary
                                         Letter) for the benefit of the Seller, and to pay out all funds held in accordance
                                         with the Notary Letter.
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                          6.3.2.   The effectiveness of each of the actions taken by or on behalf of the Purchaser
                                   pursuant to Clause 6.3.1 is conditional upon the occurrence of all actions required
                                   to be taken by the Seller and the Seller’s Parent pursuant to Clause 6.3.1 and vice
                                   versa.

                          6.4.     Breach of Completion obligations

                          6.4.1.   If any Party fails to comply with any of its obligations under Clause 6.3, the non-
                                   defaulting Party shall be entitled, in addition and without prejudice to all other rights
                                   and remedies available to it (including any right to claim payment of damages),
                                   through a written notification to the defaulting Party:

                                    a. to set a new time and date for Completion, which new Completion Date cannot
                                       be earlier than five (5) Business Days after the date originally scheduled for
                                       Completion, provided that Completion may not be deferred beyond the Long
                                       Stop Date without the consent of the other Party; or

                                    b. to require the defaulting Party to proceed with, and effect, Completion to the
                                       extent practicable (taking into consideration the defaults that have occurred)
                                       and set a new date for the finalization of Completion through the effecting of
                                       the remaining obligations and actions as set out in Clause 6.3 on such date,
                                       which cannot be earlier than five (5) Business Days after the original
                                       Completion Date, provided that Completion may not be deferred beyond the
                                       Long Stop Date without the consent of the other Party.

                          6.4.2.   In the event Completion is wholly or partially deferred to a new date pursuant to
                                   Clause 6.4.1.a or 6.4.1.b:

                                    a. the provisions of this Agreement shall apply as if that later date was originally
                                       set for Completion; and

                                    b. if on such new date, any Party fails to comply with any of its obligations under
                                       Clause 6.3, Clause 6.4.1 shall apply mutatis mutandis, provided that in
                                       addition to the rights conferred to the non-defaulting Party under Clause 6.4.1,
                                       the non-defaulting Party shall also be entitled to terminate this Agreement with
                                       immediate effect, except for the Surviving Clauses which shall survive such
                                       termination indefinitely.

                          7.       POST-COMPLETION COVENANTS

                          7.1.     Further Assurances
                                   On or after Completion, each Party shall, at its own expense, execute and perform
                                   (or procure to be executed and performed by any other relevant person) all such
                                   deeds, documents, acts and activities as may from time to time be required in order
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                                 to vest all the Shares in the Purchaser or as otherwise may be necessary for the
                                 consummation of the Transaction.

                          7.2.   Retention of records

                                 For a period of seven (7) years after the Completion Date, the Purchaser shall
                                 procure that each Group Company shall retain all books, records and other written
                                 information relating to such Group Company and, to the extent reasonably required
                                 by the Seller, the Purchaser shall allow the Seller access during normal office hours
                                 to these books, records and written information, including the right to make copies,
                                 at all times at the Seller’s own expense, except where such access might result in
                                 a breach by the Seller of any applicable Law, or would cause undue disruption to
                                 the business activities of the Group Companies or their management (but in such
                                 event as soon as reasonably possible thereafter).

                          7.3.   Cooperation

                                 Following Completion, each Party shall (and shall cause their respective Affiliates
                                 to): (i) reasonably cooperate with any other Party in preparing any tax returns and
                                 regulatory or other filings which such other Party is responsible for preparing
                                 related to the Business or any Group Company; (ii) reasonably cooperate with any
                                 other Party in preparing for any audits of, or disputes with, any Governmental
                                 Authorities or other relevant third party regarding, any tax returns, filings, fines or
                                 claims relating to the Business or any Group Company; (iii) make available to any
                                 other Party and to any Governmental Authority as reasonably requested all
                                 information, records, and documents relating to any taxes, filings, fines or claims
                                 relating to the Business or any Group Company for which such other Party has or
                                 may have liability; (iv) provide timely notice to the other(s) in writing of any pending
                                 or threatened tax audits, tax assessments or claims for which the other(s) has,
                                 have or may have a liability; and (v) furnish the other(s) with copies of all
                                 correspondence received from any Governmental Authority or other relevant third
                                 party in connection with any tax audit or information request with respect to any
                                 such tax audit or assessment or any filings, fines or claims for which the other(s)
                                 has, have or may have liability. Notwithstanding anything to the contrary in this
                                 Agreement, nothing in this Agreement shall prohibit the Seller from ceasing its
                                 operations or winding up its affairs at any time after the Completion Date, it being
                                 acknowledged and agreed by the Purchaser that it is a possibility the Seller may
                                 wind up its affairs and liquidate and dissolve its existence as soon as reasonably
                                 practicable following the Completion Date.
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                          8.       DUE DILIGENCE REVIEW

                          8.1.     Due Diligence Review

                          8.1.1.   The Purchaser acknowledges and confirms that:

                                    a. it has performed a review of the Disclosed Information (the "Due Diligence
                                       Review"); and

                                    b. it has had opportunity to raise questions to the Seller in connection with the
                                       issues that it deemed relevant in order to take its decision to enter into this
                                       Agreement and carry out the Transaction which questions have been
                                       answered by the Seller.

                          8.1.2.   The Seller has no obligation to update any (part of the) Disclosed Information as
                                   of the date of this Agreement.

                          9.       SELLER'S WARRANTIES

                          9.1.     Representations and warranties

                                   Subject to Completion occurring, the Seller represents and warrants to the
                                   Purchaser that the Seller's Warranties set out in Schedule 8 (Seller's Warranties)
                                   are true and accurate on the date of this Agreement and will be true and accurate
                                   on the Completion Date.

                          9.2.     No other form of comfort

                          9.2.1.   The Purchaser agrees that, save to the extent explicitly covered by a Seller’s
                                   Warranty, no warranty, guarantee or any other form of comfort, whether express
                                   or implied, is given to the Purchaser concerning the Seller, the Shares, the Group
                                   Companies, the Business or any part of the Disclosed Information. The Purchaser
                                   agrees that no warranty, guarantee or any other form of comfort, whether express
                                   or implied, is given relating to any forward looking statements, forecasts, estimates,
                                   interpretations, analysis, projections, whether or not part of the Disclosed
                                   Information. The Purchaser acknowledges that none of the Seller’s Warranties
                                   shall survive Completion and all rights, claims and causes of action (whether in
                                   contract or in tort or otherwise or whether at law or in equity) with respect thereto
                                   shall terminate upon Completion.

                          9.2.2.   The Purchaser acknowledges that, except for the Seller's Warranties, the Shares,
                                   and hence the Group Companies and the Business, are sold to the Purchaser as
                                   is, where is (in de staat waarin het zich bevindt).

                          9.2.3.   The Purchaser hereby waives its rights, if any, to invoke section 7:17 Dutch Civil
                                   Code with respect to this Agreement.
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                          10.       PURCHASER'S WARRANTIES

                            10.1.   The Purchaser represents and warrants to the other Parties that the Purchaser’s
                                    Warranties set out in Schedule 9 (Purchaser's warranties) are, and will be, true
                                    and accurate on the date of this Agreement and on the Completion Date. In the
                                    event the Purchaser invokes its nomination rights pursuant to Clause 2.4, the
                                    Purchaser's Warranties shall be deemed given by the Purchaser with respect to
                                    the Purchaser and the Purchaser's Nominee (whereby any reference to the
                                    Purchaser in the Purchaser's Warranties shall be deemed a reference to the
                                    Purchaser and the Purchaser's Nominee).

                          10.2.     The Seller acknowledges that none of the Purchaser’s Warranties shall survive
                                    Completion and all rights, claims and causes of action (whether in contract or in
                                    tort or otherwise or whether at law or in equity) with respect thereto shall terminate
                                    upon Completion.

                          11.       AUTHORISATION

                                    Each of the Seller on behalf of itself and each member of the Seller’s Group, and
                                    the Purchaser hereby represent and warrant that it has the power and authority to
                                    execute, deliver and perform this Agreement, and that this Agreement has been
                                    duly authorised by all necessary corporate action on the part of (i) the Seller on
                                    behalf of itself and each member of the Seller’s Group, and (ii) the Purchaser, on
                                    behalf of itself and each member of the Purchaser's Group (including the Group
                                    Companies), respectively, and that this Agreement constitutes a legal, valid and
                                    binding obligation of each such party, and that the execution, delivery and
                                    performance of this Agreement by such party does not contravene or conflict with
                                    any provision or Law or of its charter or bylaws or any Agreement, instrument or
                                    order binding on such party.

                          12.       CONFIDENTIALITY

                          12.1.     No Party shall disclose or use any information regarding or in relation to the
                                    Agreement, the Transaction or the business of any other Party or any of its
                                    Affiliates, except:

                                     a. to the extent required by applicable Law or stock exchange regulations or any
                                        Governmental Authority and, to the extent reasonably possible, after
                                        consultation with the other Party about the timing and content of such
                                        disclosure;

                                     b. to professional advisors or auditors bound by a duty of confidentiality, to the
                                        extent necessary for any lawful purpose;
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                                     c. to the extent that the information is public knowledge without a breach of this
                                        Agreement and/or any applicable confidentiality agreement;

                                     d. as required to conduct the defence of a claim of a third party or to initiate or
                                        conduct any dispute on the basis of, and in accordance with, this Agreement;

                                     e. to any of its Affiliates; or

                                     f.   for public announcements agreed between the Parties and made or sent by a
                                          Party to advise the press, employees, customers, suppliers or agents of the
                                          Group Companies of the acquisition of the Shares and the Business.

                          12.2.     Parties agree and acknowledge that, substantially simultaneously with this
                                    Agreement (i) the Seller's Parent will file a Form-8k current report with the
                                    Securities and Exchange Commission, and (ii) the Purchaser and the Group will
                                    jointly issue a press release, each in a form to be finalized in the Interim Period
                                    based on the preliminary drafts attached hereto as Schedule 10 (Public
                                    Announcement).

                          13.       MISCELLANEOUS

                          13.1.     Notices

                          13.1.1.   Notwithstanding the right of each of the Parties to give notice in any other valid
                                    manner, notices shall be deemed to have been validly given if they have been sent,
                                    either by prepaid registered mail or by courier (with proof of delivery), to the
                                    following addresses (unless and until a Party notifies the other Party in accordance
                                    with this Clause 13.1 of another address):

                          13.1.2.   If to the Seller:

                                    LVI Lux Financing S.à r.l.

                                    Attn: Cynthia Hageman

                                    11-13 boulevard de la Foire

                                    L-1528 Luxembourg

                                    Luxembourg

                                    Email: generalcounsel@loyalty.com

                                    with    copy    to:     mlahaie@akingump.com;         skuhn@akingump.com;
                                    alaves@akingump.com; c.zijderveld@houthoff.com; p.van.der.eijk@houthoff.com
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                          13.1.3.   If to the Purchaser:

                                    Opportunity Partners

                                    Attn: Martijn ten Berge and Wieger Jansen

                                    Deutersestraat 37

                                    5266 AW Cromvoirt

                                    The Netherlands

                                    Email: martijn@oppartners.nl and wieger@oppartners.nl

                                    with copy to: mspelman@paulweiss.com; jweber@paulweiss.com;
                                    janlouis@burggraafhoekstra.com; tyshanti@burggraafhoekstra.com



                          13.2.     Assignment
                                    Except as set forth in Clause 2.4, without the prior written consent of the other
                                    Party, no rights under or in connection with this Agreement can be assigned or
                                    encumbered (goederenrechtelijk onoverdraagbaar en niet te bezwaren) in
                                    accordance with Section 3:83(2) of the Dutch Civil Code, nor can any rights or
                                    obligations under this Agreement in any way be transferred.

                          13.3.     Entire agreement
                                    This Agreement constitutes the entire agreement and understanding of the Parties
                                    with respect to its subject matter and replaces and supersedes all prior
                                    agreements, arrangements, undertakings or statements regarding such subject
                                    matter.

                          13.4.     Exclusion Dutch Civil Code provisions
                                    The Parties hereby agree to exclude the applicability of Title 1 of Book 7 and article
                                    89 of Book 6 of the Dutch Civil Code to the extent legally possible.

                          13.5.     Conflicting provisions
                                    In the event of a conflict between any of the provisions of this Agreement on the
                                    one hand and any of the other ancillary agreements, the provisions of this
                                    Agreement shall prevail unless required by mandatory Law or explicitly agreed
                                    otherwise in this Agreement.

                          13.6.     Amendment
                                    Any amendment or variation of this Agreement is not valid unless it is agreed
                                    between all Parties in writing. Each Party waives its right to seek amendment of
                                    this Agreement in court or in any other manner.
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                          13.7.    Notary
                                   The Purchaser acknowledges that the Notary is associated with Seller's legal
                                   counsel. The Purchaser is aware of the Dutch guidelines on associations between
                                   civil law notaries (notarissen) and lawyers (advocaten) established by the Board of
                                   the Royal Notarial Society (Koninklijke Notariële Beroepsorganisatie). The
                                   Purchaser explicitly agrees that the Seller may be presented by Houthoff
                                   Coöperatief U.A. in any matter relating to this Agreement and any disputes in
                                   connection therewith.

                          13.8.    Partial invalidity
                                   If any provision of this Agreement is or becomes invalid or non-binding, the Parties
                                   shall remain bound by all other provisions hereof. In that event, the Parties shall
                                   replace the invalid or non-binding provision by provisions that are valid and binding
                                   and that have, to the greatest extent possible, a similar effect as the invalid or non-
                                   binding provision, given the contents and purpose of such provision and this
                                   Agreement.

                          13.9.    Waiver
                                   No Party shall be deemed to have waived any of its rights under this Agreement
                                   unless such waiver has been made explicitly and in writing. Any waiver of any rights
                                   relating to a violation of the obligations contained in this Agreement shall not
                                   constitute a waiver of such rights relating to future violations contained in this
                                   Agreement.

                          13.10.   No rescission / nullification
                                   Except as explicitly provided for in this Agreement, each Party hereby explicitly and
                                   irrevocably waives the right:

                                    a. to rescind (ontbinden), nullify (vernietigen) or otherwise terminate or amend
                                       this Agreement in whole or in part by way of an out-of-court declaration
                                       (buitengerechtelijke verklaring) or in any other manner; or

                                    b. to seek the rescission (ontbinding) or nullification (vernietiging) or amendment
                                       in whole or in part of this Agreement in court.

                          13.11.   Effects of termination
                                   If this Agreement is terminated in accordance with its terms:

                                    a. all documents and records that relate to a Seller or the Group Companies and
                                       that were furnished to the Purchaser or its advisors in anticipation of
                                       Completion shall be returned to the relevant Seller or the Group Companies,
                                       as the case may be, and the Purchaser shall not retain any copies of such
                                       documents and records; and

                                    b. the Surviving Clauses shall survive such termination.
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                            13.12. Gross up
                                   Any sum payable under this Agreement shall be paid free and clear of all Tax
                                   Deductions and any other deductions and withholdings for whatever reason, except
                                   as required by Law. If any such sum is subject to a Tax deduction or withholding
                                   for whatever reason required by Law, such payment shall be increased to ensure
                                   that after the relevant deduction or withholding the relevant recipient receives a net
                                   amount equal to the amount it would have been entitled to if the sum payable under
                                   this Agreement would not have been subject to such deduction or withholding.

                          13.13.   Costs

                          13.13.1. Unless this Agreement provides otherwise, all costs which a Party has incurred or
                                   will incur in preparing, concluding or performing this Agreement or in connection
                                   with the Transaction are for its own account.

                          13.13.2. The Purchaser shall bear all notarial fees in relation to the Transaction and any
                                   and all required transfer taxes, consent fees, transfer fees, change of control fees
                                   and third party filing fees in connection with the Transaction, the Bridge Loan and
                                   the Bridge Loan Pledge, other than consent fees, change of control fees and break
                                   fees payable to (i) the Agent, the Lenders or any party acting on any of their behalf
                                   pursuant to the Credit Agreement, or (ii) any other person that is not a supplier,
                                   customer, licensor, lessor or other business partner in relation to the Business.

                          13.14.   No third party beneficiaries

                                   This Agreement is concluded for the benefit of the Parties and their respective
                                   successors and permitted assigns, and nothing in this Agreement is intended to or
                                   implicitly confers upon any other person any right, benefit or remedy of any nature
                                   whatsoever, except to the extent explicitly stated in this Agreement (including the
                                   irrevocable third party undertakings for no consideration (onherroepelijk
                                   derdenbeding om niet) set forth in Clause 4.4 and Schedule 7 (Form of Seller’s and
                                   Seller’s Parent’s Closing Statement)). In the event that any third party stipulation
                                   contained in this Agreement is accepted by any third party, such third party will not
                                   become a party to this Agreement.

                          13.15.   Counterparts
                                   This Agreement may be entered into by a Party by way of executing a separate
                                   counterpart, but it shall not be effective until each Party has executed at least one
                                   counterpart. Each counterpart, when executed, shall constitute an original, and all
                                   the counterparts shall together constitute one and the same instrument.
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                          14.     GOVERNING LAW AND DISPUTE SETTLEMENT

                          14.1.   Governing Law
                                  This Agreement (including Clause 14.2) shall be governed by and construed in
                                  accordance with the Laws of the Netherlands, explicitly excluding the conflict of
                                  laws provisions.

                          14.2.   Dispute Settlement

                                  All disputes arising out of or in connection with this Agreement, if no amicable
                                  settlement can be reached between the Parties, will be exclusively submitted to
                                  the competent court of Amsterdam, the Netherlands.

                                              - Signature page SPA Project Points to follow -
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                          SCHEDULE 1     DEFINITIONS AND INTERPRETATION


                          1.     Definitions

                          1.1.   In this Agreement, save where explicitly provided otherwise, capitalised words and
                                 expressions have the following meanings:


                                 Affiliates          an "Affiliate" of any person means any other person who,
                                                     directly or indirectly, through one or more intermediaries,
                                                     controls, or is controlled by, or is under common control
                                                     with, such person; and for these purposes "controlling
                                                     person" means any person who controls any other person;
                                                     "control" (including the terms "controlling", "controlled by"
                                                     and "under common control with") means the possession,
                                                     direct or indirect, of the power to direct or cause the
                                                     direction of the management, policies or activities of a
                                                     person whether through the ownership of securities, by
                                                     contract or agency or otherwise; and for these purposes the
                                                     term "person" is deemed to include a company and a
                                                     partnership; for the avoidance of doubt, "Affiliate" includes
                                                     shareholders holding an interest of at least fifty percent
                                                     (50%), subsidiaries (dochtermaatschappijen) and group
                                                     companies (groepsmaatschappijen) within the meaning of
                                                     Sections 2:24a and 2:24b respectively of the Dutch Civil
                                                     Code;

                                 Agent               means the      administrative   agent   under    the   Credit
                                                     Agreement;

                                 Agreement           this sale and purchase agreement;

                                 BL Bridge Loan has the meaning given in Clause 5.1.c;
                                 Consent Condition

                                 BL Bridge Loan has the meaning given in the Lenders’ Consent;
                                 Consent Effective
                                 Date

                                 Bridge Loan         has the meaning given in Recital D;

                                 Bridge        Loan has the meaning given in Recital G;
                                 Agreement
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                                 Bridge        Loan has the meaning given in Recital G;
                                 Pledge

                                 Business            has the meaning given in Recital C;

                                 Business Day        any day (other than a Saturday or a Sunday) on which
                                                     banks are open for normal banking business in New York
                                                     (U.S.), Luxembourg, the Netherlands;

                                 Chamber of          the Dutch Chamber           of   Commerce      (Kamer     van
                                 Commerce            Koophandel);

                                 Company             has the meaning given in Recital A;

                                 Competition         means the German competition authorities as well as (i)
                                 Authorities         any competition authorities to which the Transaction or any
                                                     part thereof is referred in accordance with Clause 5.1.f(i) or
                                                     (ii) the competition authorities in any other jurisdictions in
                                                     which the Parties agree in writing that a filing is required;

                                 Completion          has the meaning given in Clause 2.2;

                                 Completion Date     has the meaning given in Clause 2.2;

                                 Conditions          has the meaning given in Clause 5.1;
                                 Precedent

                                 Consents            has the meaning given in Clause 5.15.1.a;
                                 Condition

                                 Credit Agreement means the credit agreement dated as of 3 November 2021,
                                                  among inter alios Bank of America, N.A., as Agent, on
                                                  behalf of the Lenders, the Seller and certain Group
                                                  Companies identified therein;

                                 Data Room           means the virtual data room prepared by the Seller and
                                                     hosted with Intralinks an index of which is attached hereto
                                                     as Schedule 11 (Data Room) and in relation to which all
                                                     Parties acknowledge receipt of the USB data driver or down
                                                     load link made available to them by the data room provider
                                                     prior to or on the date hereof;

                                 Deed of Transfer    has the meaning given in Clause 2.2;

                                 Disclosed           means the information that has been made available to the
                                 Information         Purchaser in the Data Room;
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                                 Due Diligence       has the meaning given in Clause 8.1.1.a;
                                 Review

                                 Effective Time      has the meaning given in Clause 2.3;

                                 Encumbrances        any mortgage, pledge, charge, option, claim, right to
                                                     acquire, conversion right, third party right, attachment
                                                     (beslag), title retention or conditional sale arrangement
                                                     outside the Ordinary Course of Business or an agreement,
                                                     arrangement or obligation to create any of the foregoing;

                                 Governmental        means any international, supranational, European Union,
                                 Authority           national, provincial or local governmental body, regulatory
                                                     body or authority exercising an executive, legislative,
                                                     judicial, regulatory, administrative or other governmental
                                                     function with jurisdiction in respect of the relevant matter;

                                 Group Companies has the meaning given in Recital B;
                                 and Group

                                 Interim Period      has the meaning given in Clause 4.1;

                                 Law                 any international, European Union, national, state,
                                                     provincial or local law, regulation, order, rule, statute,
                                                     administrative order or treaty, or any other legal
                                                     requirement;

                                 Lenders             means the lenders under the Credit Agreement;

                                 Lenders’ Consent means that certain consent entered into by and among the
                                                  Seller’s Parent, Brand Loyalty Group B.V., Brand Loyalty
                                                  Holding B.V, Brand Loyalty International B.V., the Lenders
                                                  and the Agent dated on the date hereof;

                                 Lender Payment has the meaning given in Clause 6.3.1.b;
                                 Amount

                                 Long Stop Date      has the meaning given in Clause 5.4.1;

                                 Loss                damages (vermogensschade) as meant in article 6:96 et
                                                     seq. of the Dutch Civil Code suffered by the Purchaser or
                                                     any of the Group Companies or the Seller's Group, as
                                                     applicable;

                                 Material Contract   means any agreement or arrangement to which any of the
                                                     Group Companies is a party and which are material to the
                                                     Business taken as a whole;
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                                 Merger Clearance has the meaning given in Clause 5.1.f;
                                 Condition

                                 Merger Clearance has the meaning given in Clause 5.1.f;
                                 Filings

                                 Non-Enforcement has the meaning given in Clause 5.1.b;
                                 Condition

                                 Notary             any civil law notary (notaris) of Houthoff Coöperatief U.A.
                                                    or such civil law notary’s substitute;

                                 Notary Letter      has the meaning given in Clause 4.6;

                                 Notary’s Account the third party bank account of the Notary as specified in
                                                  the Notary Letter;

                                 Ordinary Course    means ordinary course of business consistent with past
                                 of Business        practices of the Group Companies up to the date of this
                                                    Agreement, taking into consideration the distressed state
                                                    of affairs of the Business;

                                 Parties or Party   has the meaning given to it in the preamble of this
                                                    Agreement;

                                 Purchase Price     has the meaning given in Clause 3.1.1;

                                 Purchaser          has the meaning given in the preamble of this Agreement;

                                 Purchaser's        has the meaning given in Clause 2.4;
                                 Nominee

                                 Purchaser's        the warranties as set out in Schedule 9 (Purchaser's
                                 Warranties         warranties)

                                 Purchaser’s        has the meaning given in Clause 5.1.e;
                                 Warranties
                                 Condition

                                 Regulatory         has the meaning given in Clause 5.1.g;
                                 Condition

                                 Representative     in relation to a person, its directors, employees, legal
                                                    advisor, financial advisor, accountant or other advisor or
                                                    agent;

                                 Seller             has the meaning given in the preamble of this Agreement;
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                                 Seller's Group       means the Seller and its Affiliates (excluding, as from
                                                      Completion, each Group Company), including each of their
                                                      employees, Representatives, agents or successors in title;

                                 Seller’s Parent      means LOYALTY VENTURES INC., a corporation
                                                      incorporated under the laws of Delaware, the United States
                                                      of America, having its place of business at 8235 Douglas
                                                      Avenue, Suite 1200, Dallas Texas, the United States of
                                                      America;

                                 Seller’s             the warranties as set out in Schedule 8 (Seller's
                                 Warranties           Warranties), and each of them a "Seller’s Warranty";

                                 Seller’s             has the meaning given in Clause 5.1.d;
                                 Warranties
                                 Condition

                                 Shares               has the meaning given in Recital A;

                                 Subsidiaries         has the meaning given in Recital B;

                                 Subsidiary           has the meaning given in paragraph 2.2 of Schedule 8
                                 Shares               (Seller's Warranties);

                                 Surviving            the following Clauses: 1 (Definitions and Interpretation), 12
                                 Clauses              (Confidentiality), 13 (Miscellaneous) and 14 (Governing
                                                      Law and Dispute Settlement); and

                                 Transaction          has the meaning given in Recital F.

                          2.    Interpretation

                                In this Agreement, unless specified otherwise:

                                a.   "Clause", "Recital", "Paragraph", "Schedule" or "Annex" means a clause
                                     (including all subclauses), a recital, a paragraph, a schedule or an annex in or
                                     to this Agreement;

                                b.   the Recitals, Schedules, Annexes and any other attachments to this Agreement
                                     form an integral part of this Agreement and shall have the same force and effect
                                     as if expressly set out in the body of this Agreement and a reference to this
                                     Agreement includes the Recitals, Schedules, Annexes to Schedules and any
                                     other attachments to this Agreement;

                                c.   the headings are included for convenience of reference only and shall not affect
                                     the interpretation of this Agreement or of any provisions thereof;
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                                d.     legal terms refer to Dutch legal concepts only, references to legal terms or
                                       concepts apply even where the concept referred to by such term does not exist
                                       outside the Netherlands and, if necessary, shall include a reference to the term
                                       in that jurisdiction outside the Netherlands that most approximates the Dutch
                                       term;

                                e.     the words "include", "includes" and "including" shall be deemed to be followed
                                       by the phrase "without limitation";

                                f.     a reference to a person includes any individual, corporation, entity, limited
                                       liability partnership, limited liability company, partnership, joint venture,
                                       association, joint stock company, trust, unincorporated organisation or
                                       government, whether or not having separate legal personality, and wherever
                                       incorporated or registered;

                                g.     references to books, records or other information shall include books, records
                                       or other information stored in any form, including electronic data carriers and
                                       any other form of data carrier;

                                h.     the singular includes the plural and vice versa, and each gender includes any
                                       other gender; and

                                i.     the words "as of" shall be deemed to include the date or moment in time
                                       specified thereafter.

                          3.         Drafting
                                     The provisions of this Agreement shall not be interpreted adversely against a Party
                                     for the reason that such Party or any of its advisors was or were, or is or are
                                     deemed to have been, responsible for the drafting of that provision.
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                                              BRIDGE LOAN AGREEMENT

This bridge loan agreement (the “Agreement”) is made on 1 March 2023 by and among:

1. OPPORTUNITY PARTNERS B.V., a private company with limited liability (besloten vennootschap met beperkte
   aansprakelijkheid), incorporated under the laws of the Netherlands with its corporate seat in 's-Hertogenbosch,
   the Netherlands, having its place of business at Deutersestraat 37, 5266 AW Cromvoirt, the Netherlands, and
   registered with the trade register of the Chamber of Commerce under number 66500427 (in its capacity as a lender,
   and together with any permitted assignee, the “Lender”);

2. BRAND LOYALTY INTERNATIONAL B.V., a private company with limited liability (besloten vennootschap met
   beperkte aansprakelijkheid), incorporated under the laws of the Netherlands with its corporate seat in ‘s-
   Hertogenbosch, the Netherlands, having its place of business at Koningsweg 101, 5211 BH 's-Hertogenbosch, the
   Netherlands, and registered with the trade register of the Chamber of Commerce under number 17116091 (“Brand
   Loyalty International”); and

3. BRAND LOYALTY SOURCING B.V., a private company with limited liability (besloten vennootschap met beperkte
   aansprakelijkheid), incorporated under the laws of the Netherlands with its corporate seat in ‘s-Hertogenbosch,
   the Netherlands, having its place of business at Koningsweg 101, 5211 BH 's-Hertogenbosch, the Netherlands, and
   registered with the trade register of the Chamber of Commerce under number 1718752 (“Brand Loyalty Sourcing”);

Brand Loyalty International and Brand Loyalty Sourcing are hereinafter individually also referred to as a “Borrower” and
collectively as the “Borrowers”. The Lender and the Borrowers are hereinafter individually also referred to as a “Party”
and collectively as “Parties”,

WHEREAS:

(A)      On or around the date of this Agreement, Opportunity Partners B.V. (such entity or the Purchaser Nominee (as
         defined in the SPA), as applicable, the “Buyer”) entered into a sale and purchase agreement (the “SPA”)
         pursuant to which the Buyer purchases all shares in the capital of Apollo Holdings B.V. (Dutch trade register
         number 59143215; the “Target”) from LVI Lux Financing S.à r.l. (Luxembourg trade and companies register
         number B181593; the “Seller”) with the transfer of such shares in the capital of the Target to the Buyer being
         subject to the satisfaction or waiver of certain conditions precedent set forth in the SPA (such transfer of such
         shares, the “Completion”);
(B)      The Borrowers are indirect 100% subsidiaries of the Target;
(C)      The Borrowers, certain other members of the Target Group, Loyalty Ventures Inc., the Lenders (as defined in
         the Credit Agreement), and Bank of America, N.A. entered into that certain Credit Agreement, dated as of 3
         November 2021 (as amended by that certain amendment agreement no. 1 to the Credit Agreement (Financial
         Covenant), dated as of 29 July 2022, as amended, supplemented and waived by that certain Consent by and
         among the Borrowers (as defined in the Consent), each Guarantor (as defined in the Credit Agreement), the
         Lenders (as defined in the Credit Agreement) party thereto and Bank of America, N.A., dated as of
         1 March 2023 (the “Consent”), and as may be further amended, restated, supplemented, extended, or
         otherwise modified from time to time, the “Credit Agreement”);
(D)      The Borrowers, the Target and the Target’s other direct and indirect subsidiaries (the “Target Group”) have
         the need for temporary funding of the working capital needs of the business of the Target Group in the period
         between the date upon which the SPA is executed by the Seller and the Lender and the Completion Date (as
         defined below); and

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(E)       The Lender has agreed to provide a bridge loan in the amount of up to EUR 25,000,000 (twenty-five million
          euro) to the Borrowers to temporarily finance the working capital needs of the business of the Target Group
          under the terms and subject to the conditions set out in this Agreement and the Pledgor (as defined below)
          providing security for repayment of the Loan (as defined below) and interest accrued thereon by executing the
          ICA (as defined below).

IT IS AGREED as follows:

1.        DEFINITIONS AND INTERPRETATION

1.1.      Definitions

In this Agreement, save where explicitly provided otherwise, capitalized words and expressions have the meanings
specified or referred to in the overview below:

“BL Business” has the meaning given to that term in the Consent.

“Borrowers” has the meaning given to that term in the preamble.

“Brand Loyalty International” has the meaning given to that term in the preamble under 2.

“Brand Loyalty Sourcing” has the meaning given to that term in the preamble under 3.

“Business Day” means a day (other than a Saturday or Sunday) on which banks are open for general business in the
Netherlands.

“Buyer” has the meaning given to that term in recital A.

"Change of Control“ means any of the following events (whether in one or in a series of related transactions): (i) the
sale or issue of shares or securities or reorganization of a member of the Target Group (whether by that member of the
Target Group or by shareholders of the Target Group) resulting in the Seller ceasing to, directly or indirectly, beneficially
and/or legally hold the issued and outstanding shares or securities of the members of the Target Group as set out in
schedule 2 to the SPA; (ii) merger or consolidation of any member of the Target Group with any person not being a
member of the Target Group; and (iii) the sale of all or (in the reasonable opinion of the Lender) substantially all assets
of the Target Group, unless in the case of each of clauses (i), (ii) and (iii) such event is (A) permitted under clause 8.3
hereto, (B) permitted under clause 4.3 of the SPA or consented to by the Lender in accordance with clause 4.2 of the
SPA, or (C) the acquisition of the Target Group in accordance with the terms of the SPA.

“Consent” has the meaning given to that term in recital C.

“Completion” has the meaning given to that term in recital A.

“Completion Date” has the meaning given to that term in the SPA.

“Credit Agreement” has the meaning given to that term in recital C.

“Credit Facility” has the meaning given to that term in clause 2.1.1.

“Encumbrance” has the meaning given to that term in the SPA.


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“Event of Default” means any event or circumstance specified as such in clause 6 (Events of Default).

“Guarantor” has the meaning given to that term in the Consent.

“ICA” the intercreditor agreement including inventory pledge as attached hereto as Schedule 1.

“Lender” has the meaning given to that term in the preamble under 1.

“Loan” means the aggregate of the principal amounts drawn and borrowed under the Credit Facility by the Borrowers
and lent and paid by the Lender from time to time.

“Maturity Date” has the meaning given to that term in clause 4.1.

“Maximum Commitment Amount” means EUR 25,000,000 (twenty-five million euro).

“Party” has the meaning given to that term in the preamble.

“Pledgor” has the meaning given to that term in the ICA.

“Seller” has the meaning given to that term in recital A.

“SPA” has the meaning given to that term in recital A.

“Target” has the meaning given to that term in recital A.

“Target Group” has the meaning given to that term in recital D.

1.2.      Interpretation

          a.    Unless a contrary indication appears, any reference in this Agreement to:

                 (i)     the “Borrowers”, the “Lender” or any “Party” or any other person shall be construed so as to
                         include its successors in title, permitted assigns and permitted transferees;

                 (ii)    “assets” includes present and future properties, revenues and rights of every description;

                 (iii)   this “Agreement” or any other agreement or instrument is a reference to this Agreement or
                         other agreement or instrument as amended, novated, supplemented, extended, restated or
                         otherwise modified;

                 (iv)    “indebtedness” includes any obligation (whether incurred as principal or as surety) for the
                         payment or repayment of money, whether present or future, actual or contingent;

                 (v)     a “person” includes any individual, firm, company, corporation, government, state or agency of
                         a state or any association, trust, joint venture, consortium or partnership (whether or not having
                         separate legal personality);

                 (vi)    the singular includes the plural and vice versa;

                 (vii)   a provision of law is a reference to that provision as amended or re-enacted; and

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                 (viii) a time of day is a reference to Amsterdam time.

          b.     Clause and Schedule headings are for ease of reference only.

          c.     An Event of Default is “continuing” if it has not been waived or cured or otherwise remedied.

2.        THE CREDIT FACILITY

2.1.      Commitment

2.1.1.    On the terms and subject to the conditions of this Agreement, the Lender makes available to the Borrowers a
          revolving credit facility up to the Maximum Commitment Amount (the “Credit Facility”).

2.1.2.    Upon request of the Borrowers, the Borrowers may draw, borrow and re-borrow, and the Lender will lend and
          pay to the Borrowers amounts of up to the Maximum Commitment Amount in increments of EUR 10,000 (ten
          thousand euro).

2.1.3.    The Lender shall make the amounts funded under the Credit Facility available by transferring each drawn
          amount into the following bank account of Brand Loyalty International and with the reference as described
          below; provided that, solely with respect to the first draw down request made in accordance with Clause 2.1.2,
          the first draw down shall be subject to the Borrowers providing a written statement to the Lender concurrently
          with the first draw down (i) confirming that the Loan Parties (as defined in the Consent) have paid all invoices
          that the Loan Parties received for reimbursement of out-of-pocket fees, costs and expenses in accordance with
          Section 3(a)(vi) of the Consent; and (ii) attaching evidence of bank transfers relating to such payments made.

          a.     Account Holder:              Brand Loyalty International B.V.

          b.     IBAN:                        NL39DEUT0508486297.

          c.     BIC:                         DEUTNL2AXXX

          d.     Reference:                   OP/BL Loan Agreement

2.2.      Purpose

          The Borrowers shall apply all amounts drawn and borrowed under the Credit Facility solely towards the
          financing of the working capital needs of the business of the Target Group.

3.        INTEREST

3.1.      Rate

          The Borrowers shall pay interest on the then-outstanding principal balance of the Loan, as of the drawdown
          date of each applicable advance made by the Lender, at a percentage per year of 10% (ten per cent).

3.2.      Calculation

          Any interest under this Agreement will accrue from day to day and is calculated on the basis of the actual
          number of days elapsed and a year of 365 days.


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3.3.      Payment of interest

          The accrued interest shall be due and payable solely on the Maturity Date.

4.        REPAYMENT AND PREPAYMENT

4.1.      Repayment of the Loan
          The Borrowers shall repay the Loan in full on the earlier of (i) 20 Business Days after the Completion Date and
          (ii) 3 Business Days after the date of termination of the SPA in accordance with its terms (the “Maturity Date”).

4.2.      Voluntary prepayment

          The Borrowers may, if they give the Lender not less than 3 Business Days' prior notice, prepay the whole or
          any part of the Loan.

4.3.      Restrictions

          a.     Any notice of prepayment given by the Borrowers under Clause 4.2 (Voluntary prepayment) shall be
                 irrevocable and shall specify the date or dates upon which the relevant prepayment is to be made and
                 the amount of that prepayment.

          b.     Any prepayment under this Agreement shall be made together with accrued and unpaid interest on the
                 principal amount of the Loan that is prepaid but without premium or penalty.

4.4.      Application of proceeds

          If the Lender receives a payment on the Maturity Date or a voluntary prepayment date, in each case, that is
          insufficient to repay all amounts then due and payable by the Borrowers to the Lender under this Agreement,
          the Lender shall apply that payment towards the obligations of the Borrowers in the following order:

          a.     first, in or towards payment pro rata of any costs and expenses of the Lender due but unpaid under this
                 Agreement;

          b.     secondly, in or towards payment of any accrued interest and fees due but unpaid under this Agreement;

          c.     thirdly, in or towards payment of principal due but unpaid under this Agreement; and

          d.     fourthly, in or towards payment of any other sum but unpaid under this Agreement.

5.        SECURITY

          As security for the repayment of the Loan and any other amount payable pursuant to this Agreement, Pledgor
          shall grant the Lender on the date of this Agreement a first ranking right of pledge over the Collateral (as
          defined in the ICA).

6.        EVENT OF DEFAULT
          Each of the events or circumstances set out in this Clause 6 (Events of Default) is an “Event of Default” (save
          for Clause 6.10 (Acceleration)).

6.1.      Non-payment

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          The Borrowers do not pay on the applicable due date any amount payable pursuant to this Agreement at the
          place and in the currency in which it is expressed to be payable unless such payment is made within 5 Business
          Days of its due date.

6.2.      Change of Control
          A Change of Control having occurred.

6.3.      Liquidation event
          Any order made by any competent court or other relevant authority, or any resolution passed by or with
          respect to a member of the Target Group for the appointment of a liquidator (including a ‘curator’),
          administrator (including a ‘bewindvoerder’) or receiver of, or individual or legal entity with a similar position or
          role in any jurisdiction in which such member of the Target Group is operating, or the winding up of, any
          member of the Target Group or a moratorium is imposed or declared over any or all of the assets and business
          of any member of the Target Group which is not frivolous or vexatious and is contested in good faith within 10
          (ten) Business Days and not dismissed within 20 (twenty) Business Days of commencement.

6.4.      Ceasing of business
          Any member of the Target Group ceases or suspends carrying on its business in its entirety or a material part
          of its business, except as permitted under clause 4.3 of the SPA or consented to by the Lender in accordance
          with clause 4.2 of the SPA.

6.5.      Foreclosure
          Any encumbrancer (including any of the Lenders as defined in the SPA) takes possession of or a receiver,
          liquidator, supervisor, compulsory manager, administrator or similar official is appointed over any shares or
          securities of any member of the Target Group, or the whole or, in the reasonable opinion of the Lender, any
          material part of the assets of any member of the Target Group or a distress, execution or other process is levied
          or enforced upon or sued out against the whole or a material part of the assets of any member of the Target
          Group.

6.6.      Encumbrance
          Creation of any Encumbrance over any shares, securities, other assets or the business of any member of the
          Target Group either by contract, tort, law, equity or pursuant to any other theory of law or otherwise, other
          than any Encumbrance (i) pursuant to this Agreement, (ii) the ICA, (iii) the existing Encumbrances under the
          Credit Agreement, or (iv) permitted under clause 4.3 of the SPA or consented to by the Lender in accordance
          with clause 4.2 of the SPA, as applicable.

6.7.      Unlawfulness
          It becomes unlawful or impossible (i) for the Borrowers and/or the Pledgor to discharge any liability under this
          Agreement or to comply with any other material obligation under this Agreement or the ICA; or (ii) for the
          Lender to exercise or enforce any right under, or to enforce any security right created by or under, this
          Agreement or the ICA.

6.8.      Change in priority (ranking)
          Any material provision of this Agreement proves to have been or becomes invalid or unenforceable, or any
          security right created by the ICA proves to have been or becomes invalid or unenforceable or, subject to the
          ICA, any such security right proves to rank or have ranked after, or loses its priority to, another security right
          of a third party (including the Lenders as defined in the SPA) or any other third party claim or interest.



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6.9.      Obligations

          a.     The Borrowers do not comply with any provision of this Agreement (other than those referred to in
                 Clause 6.1 (Non-payment)).

          b.     No Event of Default under paragraph (a) above will occur if the failure to comply is capable of remedy
                 and is remedied within 15 Business Days of the earlier of: (i) the Borrowers’ receipt of written notice
                 from the Lender in accordance with this Agreement; and (ii) the Borrower becoming aware of the failure
                 to comply.

6.10.     Acceleration
          On and at any time after the occurrence of an Event of Default which is continuing the Lender may by notice
          to the Borrowers:

          a.     declare that all or part of the then-outstanding principal balance of the Loan, together with accrued and
                 unpaid interest, and all other amounts accrued and unpaid under this Agreement be immediately due
                 and payable, whereupon they shall become immediately due and payable; and/or

          b.     declare that all or part of the Loan be payable on demand, whereupon it shall immediately become
                 payable on demand by the Lender.

7.        COSTS AND EXPENSES; INDEMNITY

7.1.      Transaction expenses
          Each Party will bear all costs and expenses (including legal fees) incurred by such Party in connection with the
          negotiation, preparation, execution and administration of this Agreement.

7.2.      Enforcement and preservation costs
          The Borrowers shall, within 3 Business Days of written demand, pay to the Lender the amount of all costs and
          expenses (including legal fees) incurred by the Lender in connection with the enforcement of, or the
          preservation of any rights under, this Agreement, the ICA or any other security created in connection with this
          Agreement and with any proceedings instituted by or against the Lender as a consequence of it entering into
          this Agreement, taking or holding any security created in connection with this Agreement, or enforcing those
          rights.

8.        ASSIGNMENTS AND TRANSFERS

8.1.      Borrowers
          No rights or obligations under or in connection with this Agreement can be assigned or encumbered
          (goederenrechtelijk onoverdraagbaar en niet te bezwaren) by any of the Borrowers in accordance with section
          3:83(2) of the Dutch Civil Code (Burgerlijke Wetboek), nor can any rights or obligations under this Agreement
          in any way be transferred by any of the Borrowers, without the prior written consent of the Lender.

8.2.      Lender
          Subject to the ICA, the Lender shall have the right to assign and transfer its rights and obligations under this
          Agreement to an Affiliate (as defined in the SPA). To the extent necessary, each Borrower hereby grants its
          irrevocable and unconditional consent and co-operation to any such assignment or transfer in advance.



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8.3.      Anticipated transactions

8.3.1.    The Lender acknowledges and agrees that (a) one or both Borrowers may transfer any assets forming part of
          the BL Business to a member of the Target Group that is a Guarantor and (b) the merger, de-merger,
          amalgamation, dissolution, liquidation or consolidation of one or both Borrowers with or into one or more
          Guarantors that are members of the Target Group (with the Guarantor being the surviving entity); provided
          that in no event shall any part of the BL Business be transferred outside of the Target Group (other than
          transfers in the ordinary course of the BL Business that are expressly permitted by the ICA or the Credit
          Agreement).

8.3.2.    Each Borrower undertakes and represents towards the Lender that:

          a.    in the event of the merger or de-merger of one or both Borrowers with or into one or more Guarantors
                that are members of the Target Group (with the Guarantor being the surviving entity) in accordance
                with title 7 of Book 2 of the Dutch Civil Code, it shall procure that the notarial deed(s) of merger or de-
                merger, as the case may be, will explicitly provide that this Agreement will transfer to the surviving
                entity under universal title; and

          b.    in the event of:

                (i)     the merger or de-merger other than pursuant to title 7 of Book 2 of the Dutch Civil Code; or

                (ii)    amalgamation, dissolution, liquidation or consolidation of one or both Borrowers with or into
                        one or more Guarantors that are members of the Target Group (with the Guarantor being the
                        surviving entity); or

                (iii)   a transfer of any assets forming part of the BL Business from a Borrower to a member of the
                        Target Group,

                it shall, and shall procure that the surviving and/or receiving member(s) of the Target Group shall,
                immediately prior to such merger, de-merger, amalgamation, dissolution, liquidation, consolidation or
                transfer of assets, jointly enter into a Dutch law governed deed of transfer and assignment (akte van
                contractsoverneming) with the Lender which will provide for the transfer and assignment of this
                Agreement in accordance with section 6:159 of the Dutch Civil Code to any such member(s) of the Target
                Group. Any deed of transfer and assignment of this Agreement by a member(s) of the Target Group,
                which is not a mere transfer of all rights and obligations of this Agreement to the surviving and/or
                receiving member(s) of the Target Group in accordance with section 6:159 of the Dutch Civil Code, shall
                be subject to the consent rights of the Administrative Agent and the Required Lenders (in each case, as
                defined in the Credit Agreement), as applicable, set forth in Clause 13.5.

9.        PAYMENT MECHANICS

9.1.      Payments to the Lender

          a.    On each date on which the Borrowers are required to make a payment under this Agreement, the
                Borrowers shall make the same available to the Lender for value on the due date.




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          b.     Payment shall be made to the following bank account of the Lender and with the reference as described
                 below:

                 (i)     Account holder:               Opportunity Partners B.V.

                 (ii)    IBAN:                         NL29 ABNA 0477 8244 63

                 (iii)   BIC:                          ABNANL2A

                 (iv)    Reference:                    OP/BL Loan Agreement

9.2.      Business Days
          Any payment which is due to be made on a day that is not a Business Day shall be made on the next Business
          Day in the same calendar month (if there is one) or the preceding Business Day (if there is not).

10.       INFORMATION UNDERTAKINGS
          The Borrowers shall inform the Lender in writing:

          a.     of the occurrence of an Event of Default or an event, change or circumstance that occurs or threatens
                 to occur that results in or could result in an Event of Default, promptly upon becoming aware thereof;
                 and

          b.     promptly upon the Lender’s request, and to the extent permitted by applicable law (in particular
                 competition law), such further information regarding the financial condition, assets and operations of
                 any member of the Target Group as the Lender may reasonably request.

11.       SET-OFF
          Subject to the ICA (if applicable), each Party may set off any obligation (whether or not due, actual or
          contingent) owed by a Party to the other Party under this Agreement against any obligation (whether or not
          due) owed by a Party to the other Party, regardless of the place of payment or currency of either obligation. If
          an obligation is in different currencies, such obligation will be converted at the market rate of exchange at the
          time, and for the purpose of, that set-off.

12.       NOTICES

12.1.     Communications in writing
          Any communication to be made under or in connection with this Agreement shall be made in writing and,
          unless otherwise stated, may be made by email or letter.

12.2.     Addresses
          The address and email address of each party to this Agreement for any communication or document to be
          made or delivered under or in connection with this Agreement is that as set out in the signature page to this
          Agreement or any substitute address or email address as that party may notify to the other party to this
          Agreement by not less than 5 Business Days’ notice.




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13.      MISCELLANEOUS

13.1.    Accounts
         In any litigation or arbitration proceedings arising out of or in connection with this Agreement, the entries
         made in the accounts maintained by the Lender are prima facie evidence of the matters to which they relate,
         subject to proof of the contrary.

13.2.    Certificates and determinations
         Any certification or determination by the Lender of a rate or amount under this Agreement is, in the absence
         of manifest error, conclusive evidence of the matters to which it relates, subject to proof of the contrary.

13.3.    Partial invalidity
         If, at any time, any provision of this Agreement is or becomes illegal, invalid or unenforceable in any respect
         under any law of any jurisdiction, neither the legality, validity or enforceability of the remaining provisions nor
         the legality, validity or enforceability of such provision under the law of any other jurisdiction will in any way
         be affected or impaired.

13.4.    Remedies and waivers
         No failure to exercise, nor any delay in exercising, on the part of the Lender, any right or remedy under this
         Agreement shall operate as a waiver, nor shall any single or partial exercise of any right or remedy prevent any
         further or other exercise or the exercise of any other right or remedy. The rights and remedies provided in this
         Agreement are cumulative and not exclusive of any rights or remedies provided by law.

13.5.    Amendments and waivers
         Any term of this Agreement may be amended, supplemented, varied, increased, extended, added, waived or
         consented to only with the written consent of the Lender and the Borrowers and, to the extent required by
         the ICA and the Consent, as applicable, the Administrative Agent and the Required Lenders (each term as
         defined in the Credit Agreement), as applicable.

13.6.    Waiver
         Each Party hereby explicitly and irrevocably waives, to the fullest extent permitted by law, any right it may
         have at any time to:

         a.     rescind (ontbinden), nullify (vernietigen) or otherwise terminate or amend this Agreement in whole or
                in part by way of an out-of-court declaration (buitengerechtelijke verklaring) or in any other manner; or

         b.     seek the rescission (ontbinding) or nullification (vernietiging) or termination or amendment in whole or
                in part of this Agreement in court.

13.7.    Counterparts
         This Agreement may be executed in any number of counterparts, and this has the same effect as if the
         signatures on the counterparts were on a single copy of this Agreement.

14.      GOVERNING LAW
         This Agreement is governed by Dutch law.




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15.      ENFORCEMENT
         The competent court of Amsterdam, the Netherlands, has exclusive jurisdiction to settle any dispute arising
         out of or in connection with this Agreement (including a dispute relating to the existence, validity or
         termination of this Agreement).



                                       - signature page and Schedule follow –




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         Frank Bekkers
                 Frank.bekkers@brandloyalty-int.com




         Frank Bekkers
                 Frank.bekkers@brandloyalty-int.com
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                              INTERCREDITOR AGREEMENT
                             INCLUDING INVENTORY PLEDGE



                                     dated 1 March 2023

                                           among

                             BRAND LOYALTY SOURCING B.V.
                                      as Pledgor



                                             and



                              OPPORTUNITY PARTNERS B.V.
                                   as Inventory Pledgee



                                             and



                       BANK OF AMERICA, N.A. as Administrative Agent

                                     as Exisiting Pledgee




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THIS AGREEMENT is dated 1 March 2023 and made among:
1.       BRAND LOYALTY SOURCING B.V. a private company with limited liability
         (besloten vennootschap met beperkte aansprakelijkheid), having its corporate seat at 's-
         Hertogenbosch (address: Koningsweg 101, 5211 BH, 's-Hertogenbosch, the Netherlands,
         trade register number: 17187852) as pledgor (the "Pledgor");
2.       OPPORTUNITY PARTNERS B.V. a private company with limited liability (besloten
         vennootschap met beperkte aansprakelijkheid), having its corporate seat at 's-
         Hertogenbosch (address: Deutersestraat 37, 5203DK, 's-Hertogenbosch, the Netherlands,
         trade register number: 66500427) as grantee of a new pledge over the Collateral (the
         "Inventory Pledgee"); and
3.       BANK OF AMERICA, N.A. a national banking association organized under the laws of
         the United States of America, with its registered office at 100 North Tyron Street,
         Charlotte, North Carolina, 28255, United States of America as Administrative Agent and
         holder of an existing first ranking pledge granted over the Collateral (the "Existing
         Pledgee").
WHEREAS
(A)      On or about the date of this Agreement the Purchaser (as defined in the SPA) and LVI
         Lux Financing S.à r.l entered into a sale and purchase agreement (the "SPA") pursuant to
         which the Purchaser shall acquire all shares in the capital of Apollo Holdings B.V. (the
         "Target"), with the transfer of such shares being subject to the satisfaction or waiver of
         certain conditions precedent set forth in the SPA (the "Sale").
(B)      In connection with the Sale, the Inventory Pledgee has agreed to provide a revolving
         credit facility in an amount up to EUR 25,000,000 under the terms and conditions of that
         certain Bridge Credit Agreement (as defined below) to Brand Loyalty International B.V.
         and Brand Loyalty Sourcing B.V. (as borrowers) in order to temporarily finance the
         interim working capital needs of the (business of the) Target and its subsidiaries until
         consummation of the Sale.
(C)      The Pledgor owns all or substantially all of the inventory (voorraad) used in the business
         of the Target and its subsidiaries.
(D)      As security for the repayment of any and all amounts due and payable under the Bridge
         Credit Agreement it has been agreed that the Pledgor shall enter into this Agreement and,
         subject to the terms and conditions set forth herein, provide first ranking security over all
         its present and future inventory (voorraden).
IT IS AGREED as follows:
1.       DEFINITIONS AND INTERPRETATION
1.1      Definitions Bridge Credit Agreement
         Unless otherwise defined in this Agreement, capitalised terms and expressions defined in
         the Bridge Credit Agreement or the Consent Letter, as applicable, have the same
         meanings when used in this Agreement (including the preamble and recitals).


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1.2      Definitions
         In this Agreement:
         "Agreement" means this Intercreditor Agreement Including Inventory Pledge.
         "Bridge Credit Agreement" means the EUR 25,000,000 bridge loan agreement, dated
         as of 1 March 2023, by and among the Inventory Pledgee as lender and Brand Loyalty
         International B.V. and Brand Loyalty Sourcing B.V. as borrowers
         "Clause" means a clause in this Agreement.
         "Collateral" means all present and future inventory (voorraden) owned (whether fully or
         conditionally) by the Pledgor, including the inventory kept at the locations listed in
         Schedule 1 (Inventory).
         "Consent Letter" means that certain consent, dated as of 1 March 2023, by and among,
         among others, Loyalty Ventures, Inc. as company, Brand Loyalty Group B.V., Brand
         Loyalty Holding B.V. and Brand Loyalty International B.V. as Netherlands borrowers,
         each guarantor party thereto, each lender party thereto and Bank of America, N.A. as
         administrative agent.
         "DCC" means the Dutch Civil Code (Burgerlijk Wetboek).
         "Enforcement Event" means an Event of Default which is continuing and is, or has
         resulted in, a default as referred to in section 3:248 DCC with respect to the payment of
         the Secured Obligations and after the Inventory Pledgee has served a notice under clause
         6.10 (Acceleration) of the Bridge Credit Agreement.
         "Existing Dutch Security Agreement" means the Dutch security agreement, dated as of
         November 3, 2021, by and among, Apollo Holdings B.V. and its subsidiairies as listed
         therein as pledgors and the Existing Pledgee as pledgee.
         "Party" means a party to this Agreement.
         "Pledge" means any pledge created and any pledge purported to be created under or
         pursuant to this Agreement for the benefit of the Inventory Pledgee.
         "Sale" has the meaning given thereto in recital (A) of this Agreement.
         "Schedule" means a schedule to this Agreement.
         "Secured Obligations" means all monetary payment obligations, whether present or
         future, actual or contingent, owed to the Inventory Pledgee under or in connection with
         the Bridge Credit Agreement.
         "SPA" has the meaning given thereto in recital (A) of this Agreement.
         "Target" has the meaning given thereto in recital (A) of this Agreement.
1.3      Construction and interpretation
         (a)       A reference to any agreement, deed or other document is a reference to such
                   agreement, deed or other document as amended, novated, supplemented,
                   extended or restated.


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         (b)       A reference to the "Inventory Pledgee", the "Existing Pledgee" or the "Pledgor"
                   shall be construed to include its respective successors or assigns.
         (c)       A reference to "Purchaser" shall be construed to include the Purchaser' Nominee
                   (as defined in the SPA).
         (d)       The word "includes" and its derivatives means "includes, but is not limited to"
                   and corresponding derivative expressions.
         (e)       A "person" includes any individual, firm, company, corporation, government,
                   state or agency of a state or any association, trust, joint venture, consortium,
                   partnership or other entity (whether or not having separate legal personality).
         (f)       A "right" against a person means a right to receive an amount of money from
                   that person and any other right against that person.
         (g)       An Event of Default is "continuing" if it has not been waived or cured or
                   otherwise remedied in accordance with the Bridge Credit Agreement.
         (h)       Capitalised terms and expressions denoting the singular shall include the plural
                   and vice versa.
         (i)       The words used in this Agreement to describe legal concepts, although in English,
                   refer to concepts under the laws of the Netherlands only and the interpretation of
                   those words under the laws of any country other than the Netherlands is to be
                   disregarded.
1.4      Intention of Parties
         The Pledgor, the Inventory Pledgee and the Existing Pledgee confirm that, with regard to
         this Agreement and the Existing Dutch Security Agreement, for as long as this Agreement
         remains in place:

         (a)       in case of any conflict between the Existing Dutch Security Agreement and this
                   Agreement, the provisions of this Agreement will take priority over the
                   provisions of the Existing Dutch Security Agreement (for the avoidance of doubt,
                   including when this would affect the priority of any security created under the
                   Existing Dutch Security Agreement) provided such provisions do not affect the
                   validity or enforceability of the Existing Dutch Security Agreement.
         (b)       any reference to the respective ranking of security under the Existing Dutch
                   Security Agreement (including, for the avoidance of doubt, any representations
                   or warranty made by the Pledgor as to the respective ranking of certain security),
                   should be understood to be a reference to the ranking as changed by this
                   Agreement, as applicable; and
         (c)       any representation or warranty made by the Pledgor stating that any Collateral is
                   free of any limited right (beperkt recht) or attachment", that the Collateral has not
                   been transferred, encumbered or attached in advance" or that the Pledgor has not
                   agreed to a "transfer or encumbrance in advance", should be understood as a
                   representation and warranty by the Pledgor which is qualified by the rights and
                   obligations agreed to by the Pledgor and the other parties hereto under this
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                   Agreement (including the change of ranking, if applicable) and the Existing
                   Dutch Security Agreement.
2.       AGREEMENT AND CREATION OF PLEDGE
2.1      Agreement to pledge Collateral
         In accordance with the Bridge Credit Agreement, the Pledgor hereby agrees to pledge to
         the Inventory Pledgee, also by way of third party security (derdenzekerheid), on the terms
         of this Agreement, all Collateral, as security for the payment when due of the Secured
         Obligations.
2.2      Creation of pledge over Collateral
         As security for the payment when due of the Secured Obligations, the Pledgor hereby
         pledges to the Inventory Pledgee all its Collateral. The Inventory Pledgee hereby accepts
         such pledge.
2.3      Ranking
         (a)       Notwithstanding the date, time, method or order of grant of a pledge over the
                   Collateral, but subject to paragraph (b) below, the Pledge shall rank senior to the
                   pledge created under or pursuant to the Existing Dutch Security Agreement.
                   Subject to paragraph (b) below, each of the Parties, including the Existing
                   Pledgee, irrevocably consent to (stemmen in met) the change of ranking such that
                   the Pledge ranks senior to the pledge created under or pursuant to the Existing
                   Dutch Security Agreement.
         (b)       The agreement on the change of ranking of the pledge created under or pursuant
                   to the Existing Dutch Security Agreement and the Pledge set forth in paragraph
                   (a) above terminates if and when any of the following events occur: (i) the Bridge
                   Credit Agreement is terminated and all obligations due thereunder are paid in full,
                   (ii) the SPA is terminated by agreement of the parties thereto, (iii) the SPA is
                   terminated as a result of a material breach by the Purchaser, (iv) the Sale does not
                   close within 4 months of the date of the SPA, due to the action or inaction of the
                   Purchaser to consummate the Sale when it is required to do so under the SPA, (v)
                   the Inventory Pledgee or the Purchaser violates the provisions of Clause 5
                   (Inventory Pledgee undertaking) (other than an immaterial inadvertent violation
                   of clause (b) thereof that is not cured within three (3) Business Days after such
                   violation) or Clause 15.2 (Transfer of rights and obligations) of this Agreement
                   or (vi) the Inventory Pledgee fails to make any funding under the Bridge Loan
                   Credit Agreement when required to do so by the terms thereof (provided the
                   conditions to such funding have been satisfied) (any such event described in
                   clauses (i), (ii), (iii), (iv), (v) or (vi) above, a "Termination Event"). Upon a
                   Termination Event, the pledge created under or pursuant to the Existing Dutch
                   Security Agreement and the Pledge take rank in accordance with their respective
                   dates of creation.
2.4      Registration
         (a)       The Pledgor shall:

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                   (i)     promptly upon signing this Agreement, and in any event within two (2)
                           Business Days thereof, submit this Agreement to the office of the Dutch
                           tax authorities in Rotterdam for registration in accordance with the 1970
                           Registration Act (Registratiewet 1970), and provide the Inventory
                           Pledgee and the Exisiting Pledgee with a copy of such request for
                           registration; and
                   (ii)    provide the Inventory Pledgee and the Existing Pledgee without delay
                           with evidence that registration has been completed.
         (b)       The above obligations are without prejudice to the Inventory Pledgee's power by
                   law to effectuate such registration itself.
2.5      Parties' intent
         (a)       The Pledgor confirms that each Pledge is intended to extend to, and shall not be
                   affected by, any amendment, supplement, variation, increase, extension, addition
                   or other event (however fundamental) of, to or affecting the Bridge Credit
                   Agreement and/or of, to or affecting any facility or amount made available under
                   the Bridge Credit Agreement, notwithstanding any other event that may affect the
                   Secured Obligations, including any rescheduling of indebtedness under any
                   facility, any accession of a party to or retirement of a party from the Bridge Credit
                   Agreement, any deferral or redenomination of any amount owing under the
                   Bridge Credit Agreement, any change in the purpose for which any facility or
                   amount is made available, any addition of a new facility, any increase of the
                   amount of a facility, or any increase in the margin, fee or commission or any other
                   amount owing or accruing under the Bridge Credit Agreement, and shall extend
                   to any fees, costs and/or expenses associated with any such amendment,
                   supplement, variation, increase, extension, addition or other event, in each case
                   provided such amendment, supplement, variation, increase, extension, addition
                   or other event has been approved in writing by the Existing Pledgee and Required
                   Lenders to the extent required by, and in accordance, with Clause 5 (Inventory
                   Pledgee undertaking) of this Agreement.
         (b)       The Pledgor and the Inventory Pledgee confirm and agree that, to the extent the
                   Secured Obligations are transferred to the Pledgor or any other person by way of
                   subrogation or otherwise, whether in whole or in part, the Pledge shall not secure
                   the Secured Obligations so transferred and neither the Pledgor nor any other
                   person shall have the benefit of the Pledge or any rights of the Inventory Pledgee
                   under this Agreement to the extent related to the Secured Obligations so
                   transferred.
         (c)       It is the Parties' intention that this Agreement creates security interests over the
                   Collateral, wherever located. However, if a court outside the Netherlands holds
                   that pursuant to a rule of private international law applied by that court, the laws
                   of any other jurisdiction apply to the creation and validity of a security interest
                   over any of the Collateral under this Agreement, then the security interest over
                   such Collateral is intended to be created under the laws of that other jurisdiction
                   as well.
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3.       REPRESENTATIONS AND WARRANTIES
         Subject to certain limitations due to license agreements and purchase agreements and
         otherwise in respect of certain parts of the Collateral (in the ordinary course of business
         in line with past practice or, insofar it relates to the present agreements, as known to the
         Purchaser based on the information fairly disclosed in the Data Room (as defined in the
         SPA)), the Pledgor represents and warrants to the Inventory Pledgee that on the date of
         this Agreement:
         (a)       it has full title to its Collateral (to the extent acquired prior to the moment of this
                   representation) and power to dispose of and encumber that Collateral;
         (b)       its Collateral is not subject to any limited right or other encumbrance other than
                   the pledge created under or pursuant to the Existing Dutch Security Agreement,
                   no offer has been made or agreement entered into to transfer or encumber its
                   Collateral, whether or not in advance, other than under this Agreement or the
                   Existing Dutch Security Agreement, and no attachment has been levied on its
                   Collateral;
         (c)       its Collateral is freely transferable and capable of being pledged;
         (d)       the information set out in Schedule 1 (Inventory) or provided pursuant to Clause
                   4.1 (Information), is complete and correct;
         (e)       subject to paragraph (c) of Clause 2.5 (Parties' intent), this Agreement creates, or
                   with respect to Collateral to be acquired in the future will create, a valid pledge
                   over its Collateral, but only to the extent such Collateral is located in the
                   Netherlands at present,or, with respect to Collateral to be acquired in the future,
                   on the date such Collateral is acquired by the Pledgor;
         (f)       no corporate action or any other steps have been taken, nor any legal proceedings
                   have been instituted, in relation to the application for or granting of a (provisional
                   or final) suspension of payments or bankruptcy or the appointment of a receiver
                   or similar officer for it or any or all of its assets (including Collateral);
         (g)       it has obtained all approvals and consents required for entering into this
                   Agreement; and
         (h)       substantially all the inventory (voorraad) of the Pledgor is stored at a location in
                   the Netherlands.
4.       PLEDGOR UNDERTAKINGS
4.1      Information
         At the Inventory Pledgee's reasonable request and in such form as the Inventory Pledgee
         may designate, the Pledgor shall provide all information, evidence and documents
         relating to its Collateral which the Inventory Pledgee deems necessary to exercise its
         rights under this Agreement. If requested by the Inventory Pledgee (acting reasonably),
         the Pledgor shall update the information set out in Schedule 1 (Inventory).




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4.2      Inspection of Collateral and books and records
         The Inventory Pledgee shall be granted access to the premises of the Pledgor (and the
         custodian referred to in Schedule 1 (Inventory)) to inspect the Pledgor's Collateral and the
         Pledgor's books and records relating to the Collateral.
4.3      Duty to notify third parties
         The Pledgor shall promptly notify any third party who claims an interest in any of its
         Collateral of the Pledge. This Clause 4.3 is without prejudice to the Inventory Pledgee's
         authority to notify such third parties of the Pledge.
4.4      Duty to notify the Inventory Pledgee
         The Pledgor shall notify the Inventory Pledgee promptly of any circumstance of which it
         becomes aware which could adversely affect the Pledge or the value of its Collateral,
         including if:
         (a)       an attachment is levied on its Collateral or part thereof and/or any claim is made
                   or notice is given by any third party with respect to its Collateral or part thereof;
                   and
         (b)       an event analogous to any of the above occurs under the laws of any other
                   jurisdiction with respect to the Pledgor or its Collateral or part thereof.
4.5      Disposal and negative pledge
         The Pledgor shall not without the Inventory Pledgee's prior written consent:
         (a)       other than in the ordinary course of business and on arm's length terms sell,
                   transfer or otherwise dispose of some or all of its Collateral whether or not in
                   advance (including by way of jobber sales);
         (b)       create or permit to subsist, whether or not in advance, any limited right or other
                   encumbrance on its Collateral or permit to subsist any attachment over its
                   Collateral other than the pledge created under or pursuant to the Existing Dutch
                   Security Agreement; or
         (c)       other than in the ordinary course of business and on arm's length terms, vary the
                   term of, waive, release, or take any other action in respect of its Collateral if that
                   would have a material adverse effect on the Pledge.
4.6      Undertakings applicable to the Collateral
         (a)       The Pledgor shall at its own expense keep its Collateral in good condition and
                   shall insure them with reputable insurance companies to such an extent and
                   against such risks as companies engaged in a similar business normally insure
                   them. It shall provide copies of the relevant insurance policies to the Inventory
                   Pledgee for review at the Inventory Pledgee's request.
         (b)       Other than when such Collateral is in transit, the Pledgor shall not keep its
                   Collateral at a location other than a location notified to the Inventory Pledgee.
         (c)       The Pledgor undertakes that substantially all future inventory (voorraad) of the
                   Target Group will be delivered and kept at a location in the Netherlands.
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4.7      Further assurances
         At the Inventory Pledgee's reasonable request, the Pledgor shall, at its own expense,
         provide any assurances to or for the benefit of the Inventory Pledgee and perform all acts
         which the Inventory Pledgee reasonably considers necessary for the creation or protection
         of the Pledge or to exercise, enforce, or have the full benefit of its rights under or in
         connection with this Agreement.
4.8      Limitations to Pledgor's Undertakings
         For the avoidance of doubt, nothing in this Clause 4 (Pledgor Undertaking) shall be
         interpreted as requiring the Pledgor to provide the Inventory Pledgee with, or grant the
         Inventory Pledgee access to any information that from an applicable mandatory
         competition law perspective would be deemed to be competitively sensitive in nature and
         hence cannot be shared.

5.       INVENTORY PLEDGEE UNDERTAKING
         (a)       (i) the Inventory Pledgee and Purchaser shall not enter into any amendments,
                   supplements, variations, increases, extensions, additions, waivers or consents to
                   this Agreement, the Bridge Credit Agreement, the Purchase Agreement, the
                   Dutch Notarial Letter Agreement, the Dutch Notarial Deed of Transfer, any other
                   principal BL Bridge Loan Document or any other principal BL Sale Document,
                   as applicable, without the prior written approval of the Administrative Agent and
                   the Required Lenders and (ii) no party to any of the documents listed in clause (i)
                   hereof shall have entered into any new agreements, letters, or documents or have
                   taken any actions with respect to the BL Business and BL Entities that alter,
                   amend, or supplement the transactions contemplated in the Consent Letter, the
                   BL Sale Documents or the BL Loan Documents in a manner adverse to the
                   Existing Pledgee or the Required Lenders without the prior written approval of
                   the Administrative Agent and the Required Lenders.
         (b)       The Inventory Pledgee and the Purchaser shall not enter into any amendments,
                   supplements, variations, increases, extensions, additions, waivers or consents to
                   any non-principal BL Bridge Loan Document or any non-principal BL Sale
                   Document, as applicable, that could change the terms thereof in a manner adverse
                   to the Term B Group Lenders and/or the Administrative Agent (as determined by
                   counsel for the Term B Group Lenders and the Administrative Agent, as
                   applicable, in their reasonable discretion) without the prior written approval of
                   the Administrative Agent and the Required Lenders (such approval of the
                   Administrative Agent and the Required Lenders, as applicable, not to be
                   unreasonably withheld or delayed).
6.       AUTHORITY TO REQUIRE POSSESSION
         During the continuation of an Event of Default:
         (a)       the Inventory Pledgee shall have the right to enter any location where Collateral
                   is located and to require that the Collateral be brought into its possession or the
                   possession of a third party appointed by it for this purpose;
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         (b)       the Inventory Pledgee is authorised (but not obliged) to discharge any outstanding
                   claims of any supplier of Collateral to the Pledgor, and to enter into compromises,
                   settlements and other agreements with such supplier on behalf and in the name of
                   the Pledgor. Unless with the prior approval of the Inventory Pledgee, the Pledgor
                   hereby undertakes not to take any of the actions described in the previous
                   sentence (other than discharging any outstanding claims of any supplier in full)
                   following the occurrence of an Event of Default which is continuing. The Pledgor
                   and the Inventory Pledgee hereby agree that in case of discharge of the claim of
                   a supplier as a result of a payment by the Inventory Pledgee, the Inventory
                   Pledgee will by operation of law acquire the claim of such supplier vis-à-vis the
                   relevant Pledgor by way of subrogation (as referred to in section 6:150(d) DCC),
                   and that the Pledge will also secure the claim acquired from the supplier as a
                   result of such subrogation; and
         (c)       the Inventory Pledgee shall consult with and give notice to the Existing Pledgee
                   at least 3 Business Days prior to the initial exercise of any rights as set out in
                   paragraphs (a) and (b) of this Clause 6.
7.       ENFORCEMENT
7.1      Enforcement of the Inventory Pledge
         (a)       Upon the occurrence of an Enforcement Event, the Inventory Pledgee may,
                   without any further notice of default or other notice to the Pledgor being required:
                   (i)     sell any or all of the Collateral and take recourse against the proceeds of
                           sale; and
                   (ii)    exercise any other right, remedy, power or discretion it may have under
                           this Agreement or otherwise,
                   in each case in accordance with applicable law.
         (b)       The Pledgor waives its right to file a request with the court under section 3:251(1)
                   DCC to sell its Collateral in a manner other than as provided for in section 3:250
                   DCC.
         (c)       The Inventory Pledgee shall not be obliged to notify the Pledgor of the sale or of
                   how, where or when it will be or was conducted as provided for in section
                   3:249(1) DCC and 3:252 DCC.
         (d)       The Inventory Pledgee is not obliged to enforce any other security right created
                   under or in connection with the Bridge Credit Agreement prior to enforcement of
                   the Pledge.
         (e)       The Pledgor hereby irrevocably and unconditionally waives any right it may have
                   or acquire under sections 3:233, 3:234, 6:139 and 6:154 DCC.
         (f)       Upon the occurrence of an Enforcement Event the Inventory Pledgee shall
                   promptly inform the Existing Pledgee of the occurrence of such Enforcement
                   Event.


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         (g)       The Inventory Pledgee shall consult with and give written notice to the Existing
                   Pledgee at least 15 Business Days prior to commencing to enforce its right of
                   Pledge created under or pursuant to this Agreement in order to allow the Existing
                   Pledgee, at its option, to (i) cure the Enforcement Event, (ii) repay the outstanding
                   Secured Obligations on behalf of the Borrowers (as defined in the Bridge Credit
                   Agreement), or (iii) take over the enforcement in accordance with Clause 7.2
                   (Enforcement of the pledge under the Existing Dutch Security Agreement) of this
                   Agreement.
7.2      Enforcement of the pledge under the Existing Dutch Security Agreement
         (a)       Notwithstanding the agreement on ranking in Clause 2.3 (Ranking) of this
                   Agreement, the Existing Pledgee shall continue to have the right to enforce the
                   pledge over the Collateral under the Existing Dutch Security Agreement in
                   accordance with the terms of the Existing Dutch Security Agreement and sell the
                   Collateral free from the Pledge, provided that Existing Pledgee shall refrain from
                   enforcing such right prior to the occurrence of either a Termination Event or a
                   bankruptcy or other insolvency event relating to the Pledgor.
         (b)       The proceeds of any enforcement by either the Existing Pledgee or the Inventory
                   Pledgee shall be distributed between the Existing Pledgee and the Inventory
                   Pledgee in accordance with the ranking agreed in Clause 2.3 (Ranking) of this
                   Agreement.
         (c)       The Existing Pledgee shall consult with and give written notice to the Inventory
                   Pledgee at least 15 Business Days prior to commencing to enforce its right of
                   pledge over the Collateral.
         (d)       The Existing Pledgee is not obliged to enforce any other security right prior to
                   enforcement of the pledge over the Collateral under the Existing Dutch Security
                   Agreement. The Inventory Pledgee hereby irrevocably and unconditionally
                   waives any right it may have or acquire under section 3:234 DCC.
8.       LICENCE TO ENFORCE
         (a)       Subject to paragraphs (b) and (c) below, the Pledgor hereby grants to the
                   Inventory Pledgee a licence in respect of, or other right to use, its rights in relation
                   to its Collateral, whether under licence, sub-licence, or other agreement, for the
                   sole purpose of the Inventory Pledgee exercising any of its rights in accordance
                   with paragraph (a) of Clause 7.1 (Enforcement of the Inventory Pledge) and the
                   Inventory Pledgee performing any act that may be necessary, useful or desirable
                   in connection therewith (each such licence a "Licence to Enforce").
         (b)       Each Licence to Enforce:
                   (i)     is granted without any liability for royalties or any other charge owing by
                           the Inventory Pledgee to the Pledgor;
                   (ii)    is irrevocable and non-exclusive; and
                   (iii)   may only be used by the Inventory Pledgee after the occurrence of an
                           Enforcement Event.
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         (c)       To the extent that a Licence to Enforce relates to any rights the Pledgor may have
                   under licences, sub licences or any other agreements in relation to the Collateral,
                   such Licence to Enforce shall only be granted to the extent that:
                   (i)     such licences, sub licences or other agreements do not prohibit the
                           granting of that Licence to Enforce; and
                   (ii)    the Pledgor will not be in default under such licences, sub licenses, or
                           other agreements as a result of the use by the Inventory Pledgee of that
                           Licence to Enforce.
9.       APPLICATION OF PROCEEDS
         The Inventory Pledgee, together with the Existing Pledgee and the Pledgor, shall apply
         the proceeds from the sale or the collection of any Collateral towards satisfaction of the
         Secured Obligations and the Secured Obligations (as defined in the Existing Dutch
         Security Agreement) in accordance with Clause 7.2(b) (Enforcement of the pledge under
         the Existing Dutch Security Agreement) of this Agreement, subject to applicable
         mandatory provisions of the laws of the Netherlands.
10.      CANCELLATION
         (a)       The Inventory Pledgee is entitled to cancel any Pledge and any contractual
                   arrangements set out in this Agreement in whole or in part by notice in writing to
                   the Pledgor as provided for in section 3:81(2)(d) DCC. The Parties hereby agree
                   that, upon the cancellation of the Pledge in whole by notice pursuant to this
                   Clause 10, the remaining contractual rights and obligations created under this
                   Agreement will be terminated without any further actions being required except
                   for the rights and obligations under Clause (d) (Liability), Clause 12 (Costs), and
                   Clause 16 (Governing law and jurisdiction) which will remain in full force and
                   effect.
         (b)       The Inventory Pledgee shall promptly inform the Existing Pledgee of the
                   cancellation of any Pledge and any contractual arrangements set out in this
                   Agreement.
         (c)       The Existing Pledgee shall promptly inform the Inventory Pledgee of the
                   cancellation of the pledge over the Collateral pursuant to the Existing Dutch
                   Security Agreement.
         (d)       The Parties hereby agree that (i) all continuing contractual rights and obligations
                   of the Existing Pledgee under this Agreement and (ii) all continuing contractual
                   rights and obligations of the Inventory Pledgee, solely as such rights and
                   obligations relate to the Existing Pledgee, under this Agreement shall
                   automatically terminate, without any further actions being required, on the BL
                   Sale Release Effective Date, except for the rights and obligations under Clause
                   11 (Liability), Clause 12 (Costs), and Clause 16 (Governing law and jurisdiction)
                   which will remain in full force and effect.




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11.      LIABILITY
         The Inventory Pledgee and the Existing Pledgee are not liable to the Pledgor for any loss
         or damage arising from any exercise of, or failure to exercise, their rights under this
         Agreement, except for gross negligence, bad faith or wilful misconduct of the Inventory
         Pledgee or the Existing Pledgee, as applicable.
12.      COSTS
         Each of the Inventory Pledgee and the Existing Pledgee may charge the applicable
         obligors with respect to all costs, losses, claims and expenses of whatever nature incurred
         by them in connection with this Agreement.
13.      POWER OF ATTORNEY
         (a)       The Pledgor hereby gives the Inventory Pledgee an irrevocable and unconditional
                   power of attorney, with the right of substitution, to perform all acts, including
                   acts of disposition, on behalf of the Pledgor which in the sole opinion of the
                   Inventory Pledgee are necessary in order to have the full benefit of any Pledge
                   (including performing any of the Pledgor's obligations under this Agreement and
                   exercising any of the Pledgor's rights to and in connection with its Collateral).
         (b)       In acting on behalf of the Pledgor pursuant to the power of attorney, the Inventory
                   Pledgee may act as counterparty of the Pledgor even in the event of a conflict of
                   interest.
14.      RIGHTS TO RECOURSE AND SUBROGATION
         If and to the extent under any applicable law the Pledgor shall have any right to recourse
         against any Borrower or to subrogate in any rights of the Inventory Pledgee in connection
         with the exercise by the Inventory Pledgee of any of its rights under this Agreement or
         the performance by the Pledgor of its obligations under this Agreement, the Pledgor shall
         not exercise any such rights until all Secured Obligations have been irrevocably paid in
         full, and any such rights shall be subordinated to the Secured Obligations.
15.      MISCELLANEOUS
15.1     No rescission, nullification or suspension
         To the extent permitted by law, the Pledgor hereby waives any right it may have at any
         time:
         (a)       under sections 6:228 or 6:265 DCC or on any other ground (under any applicable
                   law) to, in whole or in part, rescind or nullify, or otherwise terminate or amend
                   this Agreement or to demand its rescission or nullification in legal proceedings
                   or by way of an out of court declaration (buitengerechtelijke verklaring); and
         (b)       under sections 6:52, 6:262 or 6:263 DCC or on any other ground (under any
                   applicable law) to suspend the performance of any obligation under or in
                   connection with this Agreement.




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15.2     Transfer of rights and obligations
         (a)       The Pledgor cannot transfer any of its rights and/or obligations under or in
                   connection with this Agreement or its contractual relationship under this
                   Agreement without the prior written consent of the Inventory Pledgee and the
                   Existing Pledgee.
         (b)       The Inventory Pledgee cannot transfer its contractual relationship under this
                   Agreement in whole or in part to any person without the prior written consent of
                   the Existing Pledgee.
         (c)       The Existing Pledgee cannot transfer its contractual relationship under this
                   Agreement in whole or in part to any person without the prior written consent of
                   the Inventory Pledgee.
15.3     Notices
         Any notice or other communication under or in connection with this Agreement between
         the Inventory Pledgee and the Pledgor must be made in accordance with the Bridge Credit
         Agreement. Any notice or other communication under or in connection with this
         Agreement between the Inventory Pledgee and the Existing Pledgee shall be made in
         accordance with the following:
         (a)       Any such notice shall be made in writing and, unless otherwise stated, may be
                   made by email or letter.
         (b)       The address and email address (and the department or officer, if any, for whose
                   attention the communication is to be made) of the Inventory Pledgee and the
                   Existing Pledgee for any such communication or document to be made or
                   delivered under or in connection with this Agreement is that identified with its
                   name below.
                   The Inventory Pledgee
                   Name:           Opportunity Partners B.V.
                   Address:        Deutersestraat 37, 5266 AW Cromvoirt, the Netherlands
                   Attn:           Martijn ten Berge and Wieger Jansen
                   Email:          martijn@oppartners.nl and wieger@oppartners.nl
                   With copy to:   Burggraaf & Hoekstra B.V.
                   Address:        Honthorststraat 8A, 1071 DD Amsterdam, the Netherlands
                   Attn:           Jan Louis Burggraaf and Tyshanti de Jonge
                   Email:          JanLouis@burggraafhoekstra.com and
                                   tyshanti@burggraafhoekstra.com
                   The Existing Pledgee
                   Name:           Bank of America, N.A.
                   Address:        One Cowboys Way, Suite 500, Frisco, TX 75034, USA

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                   Attn:            Tyler D. Levings
                   Email:           tyler.d.levings@bofa.com
                   With copy to:    Haynes and Boone LLP
                   Address:         2323 Victory Avenue, Suite 700, Dallas, TX 75219
                   Attn:            James Markus and Eli Columbus
                   Email: James.Markus@haynesboone.com and
                   Eli.Columbus@haynesboone.com
                   And, with copy to:        Gibson, Dunn & Crutcher LLP
                   Address:         200 Park Avenue, New York, NY 10166-0193
                   Attn:            Scott J. Greenberg and Linda L. Curtis
                   Email:           SGreenberg@gibsondunn.com and LCurtis@gibsondunn.com
         (c)       Any such communication or document made or delivered by the Inventory
                   Pledgee or the Existing Pledgee to another under or in connection with this
                   Agreement will only be effective:
                   (i)      if by way of email, when actually received (or made available) in readable
                            form; or
                   (ii)     if by way of letter, when it has been left at the relevant address or five
                            Business Days after being deposited in the post postage prepaid in an
                            envelope addressed to it at that address,
                   and, if a particular department or officer is specified as part of its address details
                   provided under paragraph (b) above, if addressed to that department or officer.
         (d)       Any communication or document which becomes effective, in accordance with
                   paragraphs (a) to 0 above, after 5.00 pm in the place of receipt, or, in the case of
                   email, in the place in which the Party to whom the relevant communication is sent
                   or made available has its address for the purpose of this Agreement, shall be
                   deemed only to become effective on the following day.
         (e)       Any notice given under or in connection with this Agreement must be in English.
15.4     Records and calculations of the Inventory Pledgee
         The books and records maintained by the Inventory Pledgee and any calculation or
         determination by the Inventory Pledgee of the existence and the amount of the Secured
         Obligations are conclusive evidence (absent manifest error) within the meaning of section
         151 Dutch Code of Civil Procedure of the existence and the amounts of the Secured
         Obligations and other matters to which they relate.
15.5     Partial invalidity
         If, at any time, any provision of this Agreement is or becomes illegal, invalid or
         unenforceable in any respect under any law of any jurisdiction, neither the legality,
         validity or enforceability of the remaining provisions nor the legality, validity or

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         enforceability of such provision under the law of any other jurisdiction will in any way
         be affected or impaired.
15.6     Execution and amendments
         (a)       This Agreement may be signed in any number of counterparts.
         (b)       This Agreement may only be amended or otherwise modified or waived by a
                   written agreement executed by all of the Parties hereto.
         (c)       Any signature (including, without limitation, (x) any electronic symbol, process
                   or data attached to, or associated with, a contract or other record and adopted or
                   otherwise used by a person with the intent to sign, authenticate or accept such
                   contract or record and (y) any facsimile, .pdf or other digital record of a
                   handwritten signature) to this Agreement or any other agreement, deed or
                   document referred to in this Agreement or made pursuant to this Agreement
                   through electronic means, shall have the same legal effect as a manually
                   handwritten signature ("wet ink"). The Parties agree that any such signature
                   through electronic means provides for a sufficiently reliable method of signing
                   within the meaning of and in accordance with section 3:15a DCC. For the
                   avoidance of doubt, the foregoing also applies to any amendment, supplement,
                   extension or restatement of this Agreement or any other agreement, deed or
                   document referred to in this Agreement or made pursuant to this Agreement.
15.7     No implied waiver and no forfeiture
         (a)       Any waiver under this Agreement must be made by giving written notice to that
                   effect.
         (b)       Where the Inventory Pledgee does not exercise any right under or in connection
                   with this Agreement (which includes the granting by the Inventory Pledgee to the
                   Pledgor of an extension of time in which to perform its obligations under any of
                   these provisions), this will not constitute a waiver or forfeiture of that right.
         (c)       The rights of the Inventory Pledgee under this Agreement supplement any other
                   right that the Inventory Pledgee may have under the laws of the Netherlands or
                   any other law.
15.8     Conflicts
         If there is a conflict between this Agreement and the Bridge Credit Agreement, this
         Agreement shall take priority over the provisions of the Bridge Credit Agreement.
15.9     Continuing obligations
         The Existing Dutch Security Agreement shall remain in full force and effect and this
         Agreement shall merely effect the respective ranking of the relevant pledges created
         under the Existing Dutch Security Agreement to the extent set forth herein and effectuate
         the other changes explicitly agreed among parties in this Agreement.




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15.10 Security confirmation
         The Pledgor confirms that, subject to Clause 2.3 (Ranking) of this Agreement, any
         guarantee given and security created by it under the Existing Dutch Security Agreement
         continues to be in full force and effect.
16.      GOVERNING LAW AND JURISDICTION
         (a)       This Agreement (including any change of ranking (rangwisseling)) and any
                   Pledge shall be governed by the laws of the Netherlands (including (i) the
                   obligation of the Pledgor as set out in Clause 2.1 (Agreement to pledge
                   Collateral) to create the Pledge, notwithstanding the existence of a provision in
                   the Bridge Credit Agreement stating that this obligation is to be governed by the
                   laws of any other jurisdiction, and (ii) the submission to jurisdiction pursuant to
                   paragraph (c) of this Clause 16).
         (b)       If a Party is represented by an attorney in connection with the signing and/or
                   execution of this Agreement or any other agreement, deed or document referred
                   to in this Agreement or made pursuant to this Agreement, and the power of
                   attorney is governed by the laws of the Netherlands, it is hereby acknowledged
                   and accepted by each other Party that the existence and extent of the attorney's
                   authority and the effects of the attorney's exercise or purported exercise of his or
                   her authority shall be governed by the laws of the Netherlands.
         (c)       The courts of Amsterdam, the Netherlands have exclusive jurisdiction to settle
                   any dispute arising from or in connection with this Agreement (including a
                   dispute regarding the existence, validity or termination of this Agreement) and to
                   hear any action or application to a court regarding enforcement of the Pledge.
This Agreement has been entered into on the date stated at the beginning of this Agreement.




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                                  EXHIBIT D
                                    SISP




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Sale and Investment Solicitation Process
 1. On March 10, 2023, the Ontario Superior Court of Justice (Commercial List) (the “Court”)
    granted an order (the “Initial Order”), among other things, granting LoyaltyOne, Co. (the
    “Applicant”) relief pursuant to the Companies’ Creditors Arrangement Act, R.S.C. 1985,
    c. C-36 (the “CCAA”).

 2. On March [⚫], 2023, the Court granted (i) an order amending and restating the Initial Order
    (the “ARIO”), and (ii) an order (the “SISP Approval Order”) that, among other things: (a)
    authorized LoyaltyOne, Co. (the “Applicant”) to implement a sale and investment
    solicitation process (“SISP”) in accordance with the terms hereof; (b) authorized and
    empowered the Applicant to enter into the Stalking Horse Purchase Agreement; (c)
    approved the Bid Protections; and (d) granted the Bid Protections Charge. Capitalized
    terms that are not otherwise defined herein have the meanings ascribed to them in the
    ARIO or the SISP Approval Order, as applicable. Copies of the ARIO and the SISP
    Approval Order can be found at https://www.ksvadvisory.com/experience/case/loyaltyone.

 3. This SISP sets out the manner in which: (a) binding bids for executable transaction
    alternatives that are superior to the sale transaction contemplated by the Stalking Horse
    Purchase Agreement involving the business and assets of the Applicant and its subsidiary,
    LoyaltyOne Travel Services Co./Cie Des Voyages (together with the Applicant, the
    “LoyaltyOne Entities”), will be solicited from interested parties; (b) any such bids received
    will be addressed; (c) any Successful Bid (as defined below) will be selected; and (d) Court
    approval of any Successful Bid will be sought. Such transaction alternatives may include,
    among other things, a sale of some or all of the Applicant’s assets and/or business and/or
    an investment in the Applicant, each of which shall be subject to all terms set forth herein.

 4. The SISP shall be conducted by the Applicant with the assistance of PJT Partners LP (the
    “Financial Advisor”) under the oversight of KSV Restructuring Inc., in its capacity as
    Court-appointed monitor (the “Monitor”) of the Applicant and the Monitor shall be entitled
    to receive all information in relation to the SISP.

 5. Parties who wish to have their bids considered must participate in the SISP as conducted
    by the Applicant with the assistance of the Financial Advisor.

 6. The SISP will be conducted such that the Applicant and the Financial Advisor will (under
    the oversight of the Monitor):

        a) disseminate marketing materials and a process letter to potentially interested
           parties identified by the Applicant and the Financial Advisor;
        b) solicit interest from parties with a view to such interested parties entering into non-
           disclosure agreements (parties shall only obtain access to the data room and be
           permitted to participate in the SISP if they execute a non-disclosure agreement
           that is in form and substance satisfactory to the Applicant);
        c) provide applicable parties with access to a data room containing diligence
           information; and
        d) request that such parties (other than the Stalking Horse Purchaser or its designee)
           submit a binding offer meeting at least the requirements set forth in Section 8
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                     below, as determined by the Applicant in consultation with the Monitor (a
                     “Qualified Bid”), by the Qualified Bid Deadline (as defined below).

       7. The SISP shall be conducted subject to the terms hereof and the following key milestones:

                a) the Court issues the SISP Approval Order approving the: (i) SISP and (ii) the
                   Stalking Horse Purchase Agreement as the stalking horse in the SISP and the
                   Applicant entering into same – by no later than March 20, 2023;1
                b) the Applicant to commence solicitation process by no later than March 23, 2023;
                c) Deadline to submit a Qualified Bid – 5:00 p.m. Eastern Time on April 27, 2023 (the
                   “Qualified Bid Deadline”);
                d) Deadline to determine whether a bid is a Qualified Bid and, if applicable, to notify
                   those parties who submitted a Qualified Bid of the Auction (as defined below) – by
                   no later than 5:00 p.m. Eastern Time on May 1, 2023;
                e) the Applicant to hold an Auction (if applicable) and select a Successful Bid – by no
                   later than 10:00 a.m. Eastern Time on May 4, 2023;
                f) Approval and Vesting Order (as defined below) hearing:
                       o (if there is no Auction) – by no later than May 15, 2023, subject to Court
                           availability;
                       o (if there is an Auction) – by no later than May 18, 2023, subject to Court
                           availability; and
                g) closing of the Successful Bid as soon thereafter as possible and, in any event, by
                   not later than June 30, 2023, provided that such date shall be extended by up to
                   90 days where regulatory approvals are the only material remaining conditions to
                   closing (the “Outside Date”).

       8. In order to constitute a Qualified Bid, a bid must comply with the following:

                a) it provides for aggregate consideration, payable in full on closing, in an amount
                   equal to or greater than US$165 million (the “Consideration Value”), and provides
                   a detailed sources schedule that identifies, with specificity, the composition of the
                   Consideration Value and any assumptions that could reduce the net consideration
                   payable including details of any material liabilities that are being assumed or being
                   excluded;
                b) it includes an assumption of all obligations of the Applicant: (i) to consumers
                   enrolled in the AIR MILES® Reward Program; and (ii) pursuant to the terms of that
                   certain Amended and Restated Redemption Reserve Agreement dated December
                   31, 2001 and that certain Amended and Restated Security Agreement dated as of
                   December 31, 2001, each such agreement between Loyalty Management Group
                   Canada Inc. and Royal Trust Corporation of Canada;
                c) as part of the Consideration Value, it provides cash consideration sufficient to pay:
                   (i) all outstanding obligations under the DIP Term Sheet; (ii) any obligations in
                   priority to amounts owing under the DIP Term Sheet, including any applicable
                   charges granted by the Court in the Applicant’s CCAA proceeding; (iii) an amount
                   of US$5 million to fund a wind-up of the Applicant’s CCAA proceeding and any
                   further proceedings or wind-up costs; and (iv) an amount of US$4 million to satisfy
                   the Bid Protections;



1   To the extent any dates would fall on a non-business day, they shall be deemed to be the first business day thereafter.
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    d) closing of the transaction by not later than the Outside Date;
    e) it contains:
              i. duly executed binding transaction document(s);
             ii. the legal name and identity (including jurisdiction of existence) and contact
                 information of the bidder, full disclosure of its direct and indirect principals,
                 and the name(s) of its controlling equityholder(s);
            iii. a redline to the Stalking Horse Purchase Agreement;
            iv. evidence of authorization and approval from the bidder’s board of directors
                 (or comparable governing body) and, if necessary to complete the
                 transaction, the bidder’s equityholder(s);
             v. disclosure of any connections or agreements with the LoyaltyOne Entities
                 or any of their affiliates, any known, potential, prospective bidder, or any
                 officer, manager, director, member or known equity security holder of the
                 LoyaltyOne Entities or any of their affiliates; and
            vi. such other information reasonably requested by the Applicant or the
                 Monitor;
    f) it includes a letter stating that the bid is submitted in good faith, is binding and is
       irrevocable until closing of the Successful Bid; provided, that if such bid is not
       selected as the Successful Bid or as the next-highest or otherwise best Qualified
       Bid as compared to the Successful Bid (such bid, the “Back-Up Bid”) it shall only
       remain irrevocable until selection of the Successful Bid;
    g) it provides that the bid will serve as a Back-Up Bid if it is not selected as the
       Successful Bid and if selected as the Back-Up Bid it will remain irrevocable until
       the earlier of (i) closing of the Successful Bid or (ii) closing of the Back-Up Bid;
    h) it provides written evidence of a bidder’s ability to fully fund and consummate the
       transaction (including financing required, if any, prior to the closing of the
       transaction to finance the proceedings) and satisfy its obligations under the
       transaction documents, including binding equity/debt commitment letters and/or
       guarantees covering the full value of all cash consideration and the additional items
       (in scope and amount) covered by the guarantees provided by affiliates of the
       bidder in connection with the Successful Bid;
    i) it does not include any request for or entitlement to any break fee, expense
       reimbursement or similar type of payment;
    j) it is not conditional upon:
              i. approval from the bidder’s board of directors (or comparable governing
                 body) or equityholder(s);
             ii. the outcome of any due diligence by the bidder; or
            iii. the bidder obtaining financing;
    k) it includes an acknowledgment and representation that the bidder (i) has had an
       opportunity to conduct any and all required due diligence prior to making its bid,
       and has relied solely upon its own independent review, investigation and
       inspection in making its bid, (ii) is not relying upon any written or oral statements,
       representations, promises, warranties, conditions, or guaranties whatsoever,
       whether express or implied (by operation of law or otherwise), made by any person
       or party, including the Applicant, the Financial Advisor, the Monitor and their
       respective employees, officers, directors, agents, advisors and other
       representatives, regarding the proposed transactions, this SISP, or any
       information (or the completeness of any information) provided in connection
       therewith, except as expressly stated in the proposed transaction documents; (iii)
       is making its bid on an “as is, where is” basis and without surviving representations
       or warranties of any kind, nature, or description by the Applicant, the Financial
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             Advisor, the Monitor or any of their respective employees, officers, directors,
             agents, advisors and other representatives, except to the extent set forth in the
             proposed transactions documents (iv) is bound by this SISP and the SISP
             Approval Order, and (v) is subject to the exclusive jurisdiction of the Court with
             respect to any disputes or other controversies arising under or in connection with
             the SISP or its bid;
        l)   it specifies any regulatory or other third-party approvals the party anticipates would
             be required to complete the transaction (including the anticipated timing necessary
             to obtain such approvals);
        m)   it includes full details of the bidder’s intended treatment of the LoyaltyOne Entities’
             employees under the proposed bid;
        n)   it is accompanied by a cash deposit (the “Deposit”) by wire transfer of immediately
             available funds equal to 10% of the Consideration Value, which Deposit shall be
             retained by the Monitor in an interest bearing trust account in accordance with the
             terms hereof;
        o)   it includes a statement that the bidder will bear its own costs and expenses
             (including legal and advisor fees) in connection with the proposed transaction, and
             by submitting its bid is agreeing to refrain from and waive any assertion or request
             for reimbursement on any basis; and
        p)   it is received by the Applicant, with a copy to the Financial Advisor and the Monitor,
             by the Qualified Bid Deadline at the email addresses specified on Schedule “B”
             hereto.

9. The Qualified Bid Deadline may be extended by: (a) the Applicant for up to no longer than
   seven days with the consent of the Monitor; or (b) further order of the Court. In such
   circumstances, the milestones contained in Subsections 7 (d) to (f) shall be extended by
   the same amount of time.

10. The Applicant, in consultation with the Monitor, may waive compliance with any one or
    more of the requirements specified in Section 8 above and deem a non-compliant bid to
    be a Qualified Bid, provided that the Applicant shall not waive compliance with the
    requirements specified in Subsections 7 (a), (b), (c), (d)), (e)(i), (e)(ii), (e)(iv), (f), (k) or (n)
    without the prior written consent of the Stalking Horse Purchaser, acting reasonably.

11. Notwithstanding the requirements specified in Section 8 above, the transaction
    contemplated by the Stalking Horse Purchase Agreement (the “Stalking Horse Bid”), is
    deemed to be a Qualified Bid, provided that, for greater certainty: (i) no Deposit shall be
    required to be submitted in connection with the Stalking Horse Bid; and (ii) the Stalking
    Horse Bid shall not serve as a Back-Up Bid.

12. If one or more Qualified Bids (other than the Stalking Horse Bid) has been received by the
    Applicant on or before the Qualified Bid Deadline, the Applicant shall proceed with an
    auction process to determine the successful bid(s) (the “Auction”), which Auction shall be
    administered in accordance with Schedule “A” hereto. The successful bid(s) selected
    pursuant to the Auction shall constitute the “Successful Bid”. Forthwith upon determining
    to proceed with an Auction, the Applicant shall provide written notice to each party that
    submitted a Qualified Bid (including the Stalking Horse Bid) of which Qualified Bid is the
    highest or otherwise best bid (as determined by the Applicant, in consultation with the
    Monitor) along with a copy of such bid.
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13. If by the Qualified Bid Deadline, no Qualified Bid (other than the Stalking Horse Bid) has
    been received by the Applicant, then the Stalking Horse Bid shall be deemed the
    Successful Bid and shall be consummated in accordance with and subject to the terms of
    the Stalking Horse Purchase Agreement.

14. Following selection of a Successful Bid, the Applicant, with the assistance of its advisors,
    shall seek to finalize any remaining necessary definitive agreement(s) with respect to the
    Successful Bid in accordance with the milestones set out in Section 7. Once the necessary
    definitive agreement(s) with respect to a Successful Bid have been finalized, as
    determined by the Applicant, in consultation with the Monitor, the Applicant shall apply to
    the Court for an order or orders approving such Successful Bid and/or the mechanics to
    authorize the Applicant to complete the transactions contemplated thereby, as applicable,
    and authorizing the Applicant to: (a) enter into any and all necessary agreements and
    related documentation with respect to the Successful Bid; (b) undertake such other actions
    as may be necessary to give effect to such Successful Bid; and (c) implement the
    transaction(s) contemplated in such Successful Bid (each, an “Approval and Vesting
    Order”). If the Successful Bid is not consummated in accordance with its terms, the
    Applicant shall be authorized, but not required, to elect that the Back-Up Bid (if any) is the
    Successful Bid.

15. If a Successful Bid is selected and an Approval and Vesting Order authorizing the
    consummation of the transaction contemplated thereunder is granted by the Court, any
    Deposit paid in connection with such Successful Bid will be non-refundable and shall, upon
    closing of the transaction contemplated by such Successful Bid, be applied to the cash
    consideration to be paid in connection with such Successful Bid or be dealt with as
    otherwise set out in the definitive agreement(s) entered into in connection with such
    Successful Bid. Any Deposit delivered with a Qualified Bid that is not selected as a
    Successful Bid will be returned to the applicable bidder as soon as reasonably practicable
    (but not later than ten (10) business days) after the date upon which the Successful Bid is
    approved pursuant to an Approval and Vesting Order or such earlier date as may be
    determined by the Applicant, in consultation with the Monitor; provided, the Deposit in
    respect of the Back-Up Bid shall not be returned to the applicable bidder until the closing
    of the Successful Bid.

16. The Applicant shall provide information in respect of the SISP to consenting stakeholders
    who are party to support agreements with the Applicant (the “Consenting Stakeholders”)
    on a confidential basis and who have agreed to not submit a bid in connection with the
    SISP, including (A) access to the data room, (B) copies (or if not provided to the Applicant
    in writing, a description) of any Qualified Bid, no later than one (1) calendar day following
    receipt thereof by the Applicant or its advisors and (C) such other information as
    reasonably requested by the Consenting Stakeholders or their respective legal counsel or
    financial advisors (including Piper Sandler Corp. and FTI Consulting Canada Inc.
    (collectively, the “Lender FAs”)) or as necessary to keep the Consenting Stakeholders
    informed no later than one (1) calendar day after any such request or any material change
    to the proposed terms of any bid received, including any Qualified Bid, as to the terms of
    any bid, including any Qualified Bid, (including any changes to the proposed terms thereof)
    and the status and substance of discussions related thereto. The Financial Advisor shall
    consult with the Lender FAs in respect of the Applicant’s conduct of the SISP and prior to
    the Applicant making decisions in respect of the SISP (and during an Auction include the
    Lender FAs in discussions with Qualified Bidders, where practicable).
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17. The Applicant shall be permitted, in its discretion, to provide general updates and
    information in respect of the SISP to counsel to any creditor (each a “Creditor”) on a
    confidential basis, upon: (a) the irrevocable confirmation in writing from such counsel that
    the applicable Creditor will not submit any bid in the SISP; and (b) counsel to such Creditor
    executing confidentiality agreements with the Applicant, in form and substance
    satisfactory to the Applicant and the Monitor.

18. Any amendments to this SISP may only be made by the Applicant with the written consent
    of the Monitor, or by further order of the Court, provided that the Applicant shall not amend
    the requirements specified in Subsections 7(a), (b), (c), (d)), (e)(i), (e)(ii), (e)(iv), (f), (k) or
    (n) without the prior written consent of the Stalking Horse Purchaser, acting reasonably.
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                            SCHEDULE “A”: AUCTION PROCEDURES


        1.      Auction. If the Applicant receives at least one Qualified Bid (other than the
Stalking Horse Bid), the Applicant will conduct and administer the Auction in accordance with the
terms of the SISP. Instructions to participate in the Auction, which will take place via video
conferencing, will be provided to Qualified Parties (as defined below) not less than 24 hours prior
to the Auction.

        2.       Participation. Only parties that provided a Qualified Bid by the Qualified Bid
Deadline, including, for greater certainty, the Stalking Horse Bid (collectively, the “Qualified
Parties” and each a “Qualified Party”), shall be eligible to participate in the Auction. No later than
5:00 p.m. Eastern Time on the day prior to the Auction, each Qualified Party must inform the
Applicant and the Monitor in writing whether it intends to participate in the Auction. The Applicant
will promptly thereafter inform in writing each Qualified Party who has expressed its intent to
participate in the Auction of the identity of all other Qualified Parties that have indicated their intent
to participate in the Auction. If no Qualified Party (including the Stalking Horse Purchaser)
provides such expression of intent, the highest or otherwise best Qualified Bid as determined by
the Applicant, in consultation with the Monitor, shall be designated as the Successful Bid (as
defined below).

        3.      Auction Procedures. The Auction shall be governed by the following procedures:

                a.      Attendance. Only the Applicant, the Qualified Parties, the Monitor, and
                        Consenting Stakeholders, and each of their respective advisors will be
                        entitled to attend the Auction, and only the Qualified Parties will be entitled
                        to make any Overbids (as defined below) at the Auction;

                b.      No Collusion. Each Qualified Party participating at the Auction shall be
                        required to confirm on the record at the Auction that: (a) it has not engaged
                        in any collusion with respect to the Auction and the bid process; and (b) its
                        bid is a good-faith bona fide offer, it is irrevocable and it intends to
                        consummate the proposed transaction if selected as the Successful Bid (as
                        defined below);

                c.      Minimum Overbid and Back-Up Bid. The Auction shall begin with the
                        Qualified Bid that represents the highest or otherwise best Qualified Bid as
                        determined by the Applicant, in consultation with the Monitor (the “Initial
                        Bid”), and any bid made at the Auction by a Qualified Party subsequent to
                        the Applicant’s announcement of the Initial Bid (each, an “Overbid”), must
                        proceed in minimum additional cash increments of US$1,000,000, and all
                        such Overbids shall be irrevocable until closing of the Successful Bid;
                        provided, that if such Overbid is not selected as the Successful Bid or as
                        the Back-Up Bid (if any) it shall only remain irrevocable until selection of
                        the Successful Bid;

                d.      Bidding Disclosure. The Auction shall be conducted such that all bids will
                        be made and received in one group video-conference, on an open basis,
                        and all Qualified Parties will be entitled to be present for all bidding with the
                        understanding that the true identity of each Qualified Party will be fully
                        disclosed to all other Qualified Parties and that all material terms of each
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                       subsequent Qualified Bid will be fully disclosed to all other Qualified Parties
                       throughout the entire Auction; provided, however, that the Applicant, in its
                       discretion, may establish separate video conference rooms to permit
                       interim discussions among the Applicant, the Monitor and individual
                       Qualified Parties with the understanding that all formal bids will be delivered
                       in one group video conference, on an open basis;

               e.      Bidding Conclusion. The Auction shall continue in one or more rounds
                       and will conclude after each participating Qualified Party has had the
                       opportunity to submit an Overbid with full knowledge and confirmation of
                       the then-existing highest or otherwise best bid and no Qualified Party
                       submits an Overbid; and

               f.      No Post-Auction Bids. No bids will be considered for any purpose after
                       the Successful Bid has been designated, and therefore the Auction has
                       concluded.

                                   Selection of Successful Bid

        4.       Selection. During the Auction, the Applicant, in consultation with the Monitor, will:
(a) review each subsequent Qualified Bid, considering the factors set out in Section 8 of the SISP
and, among other things, (i) the amount of consideration being offered and, if applicable, the
proposed form, composition and allocation of same, (ii) the value of any assumption of liabilities
or waiver of liabilities not otherwise accounted for in (i) above, (iii) the likelihood of the Qualified
Party’s ability to close a transaction by not later than the Outside Date (including factors such as:
the transaction structure and execution risk; conditions to, timing of, and certainty of closing;
termination provisions; availability of financing and financial wherewithal to meet all commitments;
and required governmental or other approvals), (iv) the likelihood of the Court’s approval of the
Successful Bid, (v) the net benefit to the Applicant and its stakeholders and (vi) any other factors
the directors or officers of Applicant may, consistent with their fiduciary duties, reasonably deem
relevant; and (b) identify the highest or otherwise best bid received at the Auction (the
“Successful Bid” and the Qualified Party making such bid, the “Successful Party”).

        5.     Acknowledgement. The Successful Party shall complete and execute all
agreements, contracts, instruments or other documents evidencing and containing the terms and
conditions upon which the Successful Bid was made within one business day of the Successful
Bid being selected as such, unless extended by the Applicant in its sole discretion, subject to the
milestones set forth in Section 7 of the SISP.
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              SCHEDULE “B”: E-MAIL ADDRESSES FOR DELIVERY OF BIDS


To the counsel for the Applicant:

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emcgrady@akingump.com; mlahaie@akingump.com; alaves@akingump.com

with a copy to the Financial Advisor:

baird@pjtpartners.com; daniel.degosztonyi@pjtpartners.com

and with a copy to the Monitor and counsel to the Monitor:

dsieradzki@ksvadvisory.com; ngoldstein@ksvadvisory.com; boneill@goodmans.ca;
carmstrong@goodmans.ca
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                                  EXHIBIT E
                                  CCAA ARIO




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                                                                   Court File No.


                                       ONTARIO
                               SUPERIOR COURT OF JUSTICE
                                   COMMERCIAL LIST

 THE HONOURABLE                                )                            WEEKDAY, THE #
                                               )
 JUSTICE CONWAY                                                          DAY OF MARCH, 2023
                                               )


              IN THE MATTER OF THE COMPANIES' CREDITORS
              ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED


              AND IN THE MATTER OF A PLAN OF COMPROMISE OR
              ARRANGEMENT OF LOYALTYONE, CO.

                                                                (the "Applicant")


                        AMENDED AND RESTATED INITIAL ORDER
                       (Amending Initial Order Dated March 10, 2023)


       THIS MOTION, made by the Applicant, pursuant to the Companies' Creditors
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”), for an Amended and Restated
Initial Order was heard this day by judicial videoconference via Zoom.

       ON READING the affidavit of Shawn Stewart sworn March [⚫], 2023 and the Exhibits
thereto (the "Stewart Affidavit"), the Pre-Filing Report of KSV Restructuring Inc. (“KSV”) as the
proposed monitor dated [⚫], and the first report of KSV as the Court-appointed monitor of the
Applicant (in such capacity, the “Monitor”) dated March [⚫], 2023, and on being advised that the
secured creditors who are likely to be affected by the charges created herein were given notice,
and on hearing the submissions of counsel for the Applicant, the Monitor, and the other parties
listed on the counsel slip and no one appearing for any other party although duly served as
appears from the affidavit of service of Alec Hoy sworn March [⚫], 2023, and on reading the
consent of KSV to act as the Monitor,
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SERVICE AND DEFINITIONS

1.     THIS COURT ORDERS that the time for service of the Notice of Motion and the Motion
Record is hereby abridged and validated so that this Motion is properly returnable today and
hereby dispenses with further service thereof.

2.     THIS COURT ORDERS that capitalized terms used in this Order and not otherwise
defined herein shall have the meanings ascribed to them in the Stewart Affidavit.

APPLICATION

3.     THIS COURT ORDERS AND DECLARES that the Applicant is a company to which the
CCAA applies.

PLAN OF ARRANGEMENT

4.     THIS COURT ORDERS that the Applicant shall have the authority to file and may, subject
to further order of this Court, file with this Court a plan of compromise or arrangement (hereinafter
referred to as the "Plan").

POSSESSION OF PROPERTY AND OPERATIONS

5.     THIS COURT ORDERS that the Applicant shall remain in possession and control of its
current and future assets, licences, undertakings and properties of every nature and kind
whatsoever, and wherever situate including all proceeds thereof (the “Property”). Subject to
further Order of this Court, the Applicant shall continue to carry on business in a manner
consistent with the preservation of its business (the “Business”) and the Property. The Applicant
is authorized and empowered to continue to retain and employ the employees, consultants,
contractors, agents, experts, accountants, counsel and such other persons (collectively
“Assistants”) currently retained or employed by it, with liberty to retain such further Assistants as
it deems reasonably necessary or desirable in the ordinary course of business or for the carrying
out of the terms of this Order.

6.     THIS COURT ORDERS that the Applicant shall be entitled to continue to utilize the central
cash management system currently in place as described in the Stewart Affidavit or, with the prior
written consent of the Monitor and the DIP Lender, and on prior notice to the Consenting
Stakeholders (as defined in the Transaction Support Agreement) replace it with another
substantially similar central cash management system (the “Cash Management System”), and
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that any present or future bank providing the Cash Management System shall: (i) not be under
any obligation whatsoever to inquire into the propriety, validity or legality of any transfer, payment,
collection or other action taken under the Cash Management System, or as to the use or
application by the Applicant of funds transferred, paid, collected or otherwise dealt with in the
Cash Management System; (ii) be entitled to provide the Cash Management System without any
liability in respect thereof to any Person (as hereinafter defined) other than the Applicant, pursuant
to the terms of the documentation applicable to the Cash Management System; and (iii) be, in its
capacity as provider of the Cash Management System, an unaffected creditor under the Plan (if
any) with regard to any claims or expenses it may suffer or incur in connection with the provision
of the Cash Management System.

7.         THIS COURT ORDERS that, subject to the terms of the Definitive Documents (as
hereinafter defined), the Applicant shall be entitled but not required to pay the following expenses
whether incurred prior to, on, or after the date of this Order:

     (a)      all outstanding and future wages, salaries, employee and pension benefits, vacation
              pay and expenses payable prior to, on, or after the date of this Order, in each case
              incurred in the ordinary course of business and consistent with existing compensation
              policies and arrangements;

     (b)      with the prior written consent of the Monitor, amounts owing for goods and services
              actually supplied to the Applicant, including, without limiting the foregoing, services
              provided by contractors, prior to the date of this Order, with the Monitor considering,
              among other factors, whether: (i) the supplier or service provider is essential to the
              Business and ongoing operations of the Applicant and the payment is required to
              ensure ongoing supply; (ii) making such payment will preserve, protect or enhance the
              value of the Applicant’s Property or the Business; and (iii) the supplier or service
              provider is required to continue to provide goods or services to the Applicant after the
              date of this Order, including pursuant to the terms of this Order;

     (c)      the fees and disbursements of any Assistants retained or employed by the Applicant,
              at their standard rates and charges;

     (d)      all outstanding and future amounts related to honouring Collector obligations, whether
              existing before or after the date of this Order, including customer loyalty and reward
              programs, incentives, offers and benefits, in each case incurred in the ordinary course
              of business and consistent with existing policies and procedures; and
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     (e)      any amounts required to comply with the terms of the Reserve Agreement.

8.         THIS COURT ORDERS that, except as otherwise provided to the contrary herein and
subject to the terms of the Definitive Documents, the Applicant shall be entitled but not required
to pay all reasonable expenses incurred by the Applicant in carrying on the Business in the
ordinary course after the date of this Order, and in carrying out the provisions of this Order, which
expenses shall include, without limitation:

     (a)      all expenses and capital expenditures reasonably necessary for the preservation of
              the Property or the Business including, without limitation, payments on account of
              insurance (including directors’ and officers’ insurance), maintenance and security
              services; and

     (b)      payment for goods or services actually supplied to the Applicant on or following the
              date of this Order.

9.         THIS COURT ORDERS that the Applicant shall remit, in accordance with legal
requirements, or pay:

     (a)      any statutory deemed trust amounts in favour of the Crown in right of Canada or of
              any Province thereof or any other taxation authority which are required to be deducted
              from employees' wages, including, without limitation, amounts in respect of: (i)
              employment insurance; (ii) Canada Pension Plan; (iii) Quebec Pension Plan; and (iv)
              income taxes;

     (b)      all goods and services or other applicable sales taxes (collectively, “Sales Taxes”)
              required to be remitted by the Applicant in connection with the sale of goods and
              services by the Applicant, but only where such Sales Taxes are accrued or collected
              after the date of this Order, or where such Sales Taxes were accrued or collected prior
              to the date of this Order but not required to be remitted until on or after the date of this
              Order; and

     (c)      any amount payable to the Crown in right of Canada or of any Province thereof or any
              political subdivision thereof or any other taxation authority in respect of municipal
              realty, municipal business or other taxes, assessments or levies of any nature or kind
              which are entitled at law to be paid in priority to claims of secured creditors and which
              are attributable to or in respect of the carrying on of the Business by the Applicant.
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10.         THIS COURT ORDERS that until a real property lease is disclaimed in accordance with
the CCAA, the Applicant shall pay, without duplication, all amounts constituting rent or payable
as rent under real property leases (including, for greater certainty, common area maintenance
charges, utilities and realty taxes and any other amounts payable to the landlord under the lease,
but for greater certainty, excluding accelerated rent or penalties, fees or other charges arising as
a result of the insolvency of the Applicant or the making of this Order) or as otherwise may be
negotiated between the Applicant and the landlord from time to time (“Rent”), for the period
commencing from and including the date of this Order, monthly in equal payments on the first day
of each month, in advance (but not in arrears) or, with the prior written consent of the Monitor, at
such other time intervals and dates as may be agreed to between the Applicant and landlord, in
the amounts set out in the applicable lease. On the date of the first of such payments, any Rent
relating to the period commencing from and including the date of this Order shall also be paid.

11.         THIS COURT ORDERS that, except as specifically permitted herein and subject to the
Definitive Documents, the Applicant is hereby directed, until further Order of this Court: (i) to make
no payments of principal, interest thereon or otherwise on account of amounts owing by the
Applicant to any of its creditors as of this date; (ii) to grant no security interests, trust, liens,
charges or encumbrances upon or in respect of any of the Applicant’s Property; and (iii) to not
grant credit or incur liabilities except in the ordinary course of the Business.

RESTRUCTURING

12.         THIS COURT ORDERS that the Applicant shall, subject to such requirements as are
imposed by the CCAA and subject to the terms of the Definitive Documents, have the right to:

      (a)      permanently or temporarily cease, downsize or shut down any of its business or
               operations, and to dispose of redundant or non-material assets not exceeding $[●] in
               any one transaction or $[●] in the aggregate;

      (b)      in accordance with paragraphs 12 and 13 of this Order, vacate, abandon or quit any
               leased premises and/or disclaim any real property lease and any ancillary agreements
               relating to the leased premises in accordance with Section 32 of the CCAA;

      (c)      disclaim such other arrangements or agreements of any nature whatsoever with
               whomever, whether oral or written, as the Applicant deems appropriate, in accordance
               with Section 32 of the CCAA;
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      (d)      terminate the employment of such of its employees or temporarily lay off such of its
               employees as it deems appropriate; and

      (e)      pursue all avenues of refinancing of its Business or the Property, in whole or part,
               subject to prior approval of this Court being obtained before any material refinancing,

all of the foregoing to permit the Applicant to proceed with an orderly restructuring of the Business.

13.         THIS COURT ORDERS that the Applicant shall provide each relevant landlord with notice
of its intention to remove any fixtures from any leased premises at least seven (7) days prior to
the date of the intended removal. The relevant landlord shall be entitled to have a representative
present in the leased premises to observe such removal and, if the landlord disputes the
Applicant’s entitlement to remove any such fixture under the provisions of the lease, such fixture
shall remain on the premises and shall be dealt with as agreed between any applicable secured
creditors, such landlord and the Applicant, or by further Order of this Court upon application by
the Applicant on at least two (2) days’ notice to such landlord and any such secured creditors. If
the Applicant disclaims a lease governing a leased premises in accordance with Section 32 of the
CCAA, it shall not be required to pay Rent under such lease pending resolution of any such
dispute (other than Rent payable for the notice period provided for in Subsection 32(5) of the
CCAA), and the disclaimer of the lease shall be without prejudice to the Applicant's claim to the
fixtures in dispute.

14.         THIS COURT ORDERS that if a notice of disclaimer is delivered pursuant to Section 32
of the CCAA, then: (i) during the notice period prior to the effective time of the disclaimer, the
landlord may show the affected leased premises to prospective tenants during normal business
hours, on giving the Applicant and the Monitor 24 hours' prior written notice; and (ii) at the effective
time of the disclaimer, the relevant landlord shall be entitled to take possession of any such leased
premises without waiver of or prejudice to any claims or rights such landlord may have against
the Applicant in respect of such lease or leased premises, provided that nothing herein shall
relieve such landlord of its obligation to mitigate any damages claimed in connection therewith.

TRANSACTION SUPPORT AGREEMENT

15.         THIS COURT ORDERS that the Transaction Support Agreement is hereby approved and
the Applicant is authorized and empowered to enter into the Transaction Support Agreement,
nunc pro tunc, subject to such minor amendments as may be consented to by the Monitor and as
may be acceptable to each of the parties thereto, and is authorized, empowered and directed to
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take all steps and actions in respect of, and to comply with all of its obligations pursuant to, the
Transaction Support Agreement.

16.    THIS COURT ORDERS that, notwithstanding the Stay Period (as hereinafter defined), a
counterparty to the Transaction Support Agreement may exercise any termination right that may
become available to such counterparty pursuant to the Transaction Support Agreement, provided
that such termination right must be exercised pursuant to and in accordance with the Transaction
Support Agreement.

NO PROCEEDINGS AGAINST THE LOYALTYONE ENTITIES, THEIR BUSINESS OR THEIR
PROPERTY

17.    THIS COURT ORDERS that until and including May 18, 2023 or such later date as this
Court may order (the “Stay Period”), no proceeding or enforcement process in any court or
tribunal (each, a “Proceeding”, and collectively, “Proceedings”) shall be commenced or
continued against or in respect of the Applicant, its wholly owned subsidiary LoyaltyOne Travel
Services Co./Cie Des Voyages LoyaltyOne (“Travel Services” and together with the Applicant,
the “LoyaltyOne Entities”) or the Monitor, or their respective employees and representatives
acting in such capacities, or affecting the Business or the Property, or the business or property of
Travel Services, except with the written consent of the Applicant and the Monitor, or with leave of
this Court, and any and all Proceedings currently under way against or in respect of any of the
LoyaltyOne Entities or affecting the Business or the Property, or the business or property of Travel
Services, are hereby stayed and suspended pending further Order of this Court or the prior written
consent of the Applicant and the Monitor.

NO EXERCISE OF RIGHTS OR REMEDIES

18.    THIS COURT ORDERS that during the Stay Period, all rights and remedies of any
individual, firm, corporation, organization, governmental unit, body or agency, or any other entities
(all of the foregoing, collectively being "Persons" and each being a "Person") against or in respect
of any of the LoyaltyOne Entities or the Monitor, or their respective employees and
representatives acting in such capacities, or affecting the Business or the Property, or the
business or property of Travel Services, are hereby stayed and suspended except with the written
consent of the Applicant and the Monitor, or leave of this Court, provided that nothing in this Order
shall: (i) empower any of the LoyaltyOne Entities to carry on any business which it is not lawfully
entitled to carry on; (ii) affect such investigations, actions, suits or proceedings by a regulatory
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body as are permitted by Section 11.1 of the CCAA; (iii) prevent the filing of any registration to
preserve or perfect a security interest; or (iv) prevent the registration of a claim for lien.

NO INTERFERENCE WITH RIGHTS

19.     THIS COURT ORDERS that during the Stay Period, no Person shall accelerate, suspend,
discontinue, fail to honour, alter, interfere with, repudiate, rescind, terminate or cease to perform
any right, renewal right, contract, agreement, lease, sublease, licence, authorization or permit in
favour of or held by any of the LoyaltyOne Entities, except with the prior written consent of the
Applicant and the Monitor, or leave of this Court.

CONTINUATION OF SERVICES

20.     THIS COURT ORDERS that during the Stay Period, all Persons having oral or written
agreements with any of the LoyaltyOne Entities or statutory or regulatory mandates for the supply
of goods and/or services, including without limitation all computer software, communication and
other data services, centralized banking services, payroll and benefit services, accounting
services, insurance, transportation services, utility, or other services, to the Business or any of
the LoyaltyOne Entities, are hereby restrained until further Order of this Court from discontinuing,
altering, interfering with, suspending or terminating the supply of such goods or services as may
be required by any of the LoyaltyOne Entities or exercising any other remedy provided under the
agreements or arrangements, and that any of the LoyaltyOne Entities shall be entitled to the
continued use of its current premises, telephone numbers, facsimile numbers, internet addresses
and domain names, provided in each case that the normal prices or charges for all such goods
or services received after the date of this Order are paid by the applicable LoyaltyOne Entities in
accordance with the normal payment practices of the applicable LoyaltyOne Entities or such other
practices as may be agreed upon by the supplier or service provider and each of the Applicant
and the Monitor, or as may be ordered by this Court.

NON-DEROGATION OF RIGHTS

21.     THIS COURT ORDERS that, notwithstanding anything else in this Order, no Person shall
be prohibited from requiring immediate payment for goods, services, use of leased or licensed
property or other valuable consideration provided on or after the date of this Order, nor shall any
Person be under any obligation on or after the date of this Order to advance or re-advance any
monies or otherwise extend any credit to the Applicant. Nothing in this Order shall derogate from
the rights conferred and obligations imposed by the CCAA.
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NO PRE-FILING VS POST-FILING SET-OFF

22.    THIS COURT ORDERS that, no Person shall be entitled to set off any amounts that: (i)
are or may become due to the Applicant in respect of obligations arising prior to the date hereof
with any amounts that are or may become due from the Applicant in respect of obligations arising
on or after the date of this Order; or (ii) are or may become due from the Applicant in respect of
obligations arising prior to the date hereof with any amounts that are or may become due to the
Applicant in respect of obligations arising on or after the date of this Order, each without the
consent of the Applicant and the Monitor or further order of this Court.

PROCEEDINGS AGAINST DIRECTORS AND OFFICERS

23.    THIS COURT ORDERS that during the Stay Period, and except as permitted by
Subsection 11.03(2) of the CCAA, no Proceeding may be commenced or continued against any
of the former, current or future directors or officers of any of the LoyaltyOne Entities other than
Joseph L. Motes III and any other person who, at any time after November 5, 2021, has served
as a director, officer, or employee of (i) Bread Financial Holdings, Inc. f/k/a Alliance Data Systems
Corporation (“Bread”) or (ii) any other entity that, at any time after November 5, 2021, was or is
a direct or indirect subsidiary of Bread) (the “Directors and Officers”) with respect to any claim
against the Directors and Officers that arose before the date hereof and that relates to any
obligations of any of the LoyaltyOne Entities whereby the Directors and Officers are alleged under
any law to be liable in their capacity as the Directors and Officers for the payment or performance
of such obligations, until a compromise or arrangement in respect of the Applicant, if one is filed,
is sanctioned by this Court or is refused by the creditors of the Applicant or this Court.

DIRECTORS’ AND OFFICERS’ INDEMNIFICATION AND CHARGE

24.    THIS COURT ORDERS that the Applicant shall indemnify the Directors and Officers
against obligations and liabilities that they may incur as a director or officer of any of the
LoyaltyOne Entities after the commencement of the within proceedings, except to the extent that,
with respect to any Director or Officer, the obligation or liability was incurred as a result of such
Director's or Officer's gross negligence or wilful misconduct (the “D&O Indemnity”).

25.    THIS COURT ORDERS that the Directors and Officers shall be entitled to the benefit of
and are hereby granted a charge (the “Directors' Charge”) on the Property, which charge shall
not exceed an aggregate amount of $15,409,000, unless permitted by further Order of this Court,
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as security for the D&O Indemnity provided in paragraph 24 of this Order. The Directors' Charge
shall have the priority set out in paragraphs 46 and 48 hereof.

26.         THIS COURT ORDERS that, notwithstanding any language in any applicable insurance
policy to the contrary: (i) no insurer shall be entitled to be subrogated to or claim the benefit of the
Directors' Charge; and (ii) the Directors and Officers shall only be entitled to the benefit of the
Directors' Charge to the extent that they do not have coverage under any directors' and officers'
insurance policy, or to the extent that such coverage is insufficient to pay amounts indemnified in
accordance with paragraph 24 of this Order.

APPOINTMENT OF MONITOR

27.         THIS COURT ORDERS that KSV is hereby appointed pursuant to the CCAA as the
Monitor, an officer of this Court, to monitor the business and financial affairs of the Applicant with
the powers and obligations set out in the CCAA or set forth herein and that the Applicant and its
shareholders, officers, directors, and Assistants shall advise the Monitor of all material steps taken
by the Applicant pursuant to this Order, and shall co-operate fully with the Monitor in the exercise
of its powers and discharge of its obligations and provide the Monitor with the assistance that is
necessary to enable the Monitor to adequately carry out the Monitor's functions.

28.         THIS COURT ORDERS that the Monitor, in addition to its prescribed rights and obligations
under the CCAA, is hereby directed and empowered to:

      (a)      monitor the Applicant's receipts and disbursements;

      (b)      report to this Court at such times and intervals as the Monitor may deem appropriate
               with respect to matters relating to the Property, the Business, the Definitive
               Documents, the Chapter 11 Cases, and such other matters as may be relevant to the
               proceedings herein;

      (c)      assist the Applicant, to the extent required by the Applicant, in its dissemination, to (i)
               Bank of Montreal in its capacity as interim lender (the “DIP Lender”) under the DIP
               Financing Facility (as hereinafter defined), and (ii) such parties as may be entitled to
               receive same pursuant to the Transaction Support Agreement, its counsel as and
               when required or permitted under the Definitive Documents or otherwise requested by
               the parties entitled to receive such information, acting reasonably, of financial and
               other information as agreed to between the Applicant and the DIP Lender which may
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               be used in these proceedings including reporting on a basis to be agreed with the DIP
               Lender;

      (d)      advise the Applicant in its preparation of the Applicant’s cash flow statements and
               reporting required by the DIP Lender, which information shall be reviewed with the
               Monitor and delivered to the DIP Lender and its counsel as and when required under
               the Definitive Documents, or as otherwise agreed to by the DIP Lender;

      (e)      advise the Applicant in its development of the Plan and any amendments to the Plan;

      (f)      assist the Applicant, to the extent required by the Applicant, with the holding and
               administering of creditors’ or shareholders’ meetings for voting on the Plan;

      (g)      monitor all payments, obligations and transfers as between the Applicant and its
               affiliates or subsidiaries;

      (h)      have full and complete access to the Property, including the premises, books, records,
               data, including data in electronic form, and other financial documents of the Applicant,
               to the extent that is necessary to adequately assess the Applicant's business and
               financial affairs or to perform its duties arising under this Order;

      (i)      be at liberty to engage independent legal counsel or such other persons as the Monitor
               deems necessary or advisable respecting the exercise of its powers and performance
               of its obligations under this Order; and

      (j)      perform such other duties as are required by this Order or by this Court from time to
               time.

29.         THIS COURT ORDERS that the Monitor shall not take possession of the Property and
shall take no part whatsoever in the management or supervision of the management of the
Business and shall not, by fulfilling its obligations hereunder, be deemed to have taken or
maintained possession or control of the Business or the Property, or any part thereof.

30.         THIS COURT ORDERS that nothing herein contained shall require the Monitor to occupy
or to take control, care, charge, possession or management (separately and/or collectively,
“Possession”) of any of the Property that might be environmentally contaminated, might be a
pollutant or a contaminant, or might cause or contribute to a spill, discharge, release or deposit of
a substance contrary to any federal, provincial or other law respecting the protection,
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conservation, enhancement, remediation or rehabilitation of the environment or relating to the
disposal of waste or other contamination including, without limitation, the Canadian Environmental
Protection Act, the Ontario Environmental Protection Act, the Ontario Water Resources Act, the
Ontario Occupational Health and Safety Act and regulations thereunder (the “Environmental
Legislation”), provided however that nothing herein shall exempt the Monitor from any duty to
report or make disclosure imposed by applicable Environmental Legislation. The Monitor shall
not, as a result of this Order or anything done in pursuance of the Monitor's duties and powers
under this Order, be deemed to be in Possession of any of the Property within the meaning of any
Environmental Legislation, unless it is actually in possession.

31.     THIS COURT ORDERS that the Monitor shall provide any creditor of the Applicant, the
DIP Lender and the Consenting Stakeholders with information provided by the Applicant in
response to reasonable requests for information made in writing by such creditor addressed to
the Monitor. The Monitor shall not have any responsibility or liability with respect to the information
disseminated by it pursuant to this paragraph. In the case of information that the Monitor has
been advised by the Applicant is confidential, the Monitor shall not provide such information to
creditors unless otherwise directed by this Court or on such terms as the Monitor and the Applicant
may agree.

32.     THIS COURT ORDERS that, in addition to the rights and protections afforded to the
Monitor under the CCAA or as an officer of this Court, the Monitor, its directors, officers,
employees, counsel and other representatives acting in such capacities shall incur no liability or
obligation as a result of the Monitor’s appointment or the carrying out by it of the provisions of this
Order, save and except for any gross negligence or wilful misconduct on its part. Nothing in this
Order shall derogate from the protections afforded to the Monitor by the CCAA or any applicable
legislation.

33.     THIS COURT ORDERS that the Monitor, counsel to the Monitor, counsel to the Applicant,
PJT Partners LP in its capacity as financial advisor to the Applicant (the “Financial Advisor”),
and Alvarez & Marsal Inc. in its capacity as operational and restructuring advisor to the Applicant
( the “Restructuring Advisor”) shall be paid their reasonable fees and disbursements, whether
incurred prior to, on or subsequent to the date of this Order, in each case at their standard rates
and charges, by the Applicant as part of the costs of these proceedings. The Applicant is hereby
authorized and directed to pay the accounts of the Monitor, counsel for the Monitor, counsel for
the Applicant, the Financial Advisor, and the Restructuring Advisor on a bi-weekly basis.
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34.    THIS COURT ORDERS that the Monitor and its legal counsel shall pass their accounts
from time to time, and for this purpose the accounts of the Monitor and its legal counsel are hereby
referred to a judge of the Commercial List of the Ontario Superior Court of Justice.

ADMINISTRATION CHARGE

35.    THIS COURT ORDERS that the Monitor, counsel to the Monitor, the Applicant’s counsel,
the Financial Advisor and the Restructuring Advisor shall be entitled to the benefit of and are
hereby granted a charge (the “Administration Charge”) on the Property, which charge shall not
exceed an aggregate amount of $3,000,000, unless permitted by further Order of this Court, as
security for their professional fees and disbursements incurred at the standard rates and charges
of the Monitor and such advisors, both before and after the making of this Order, provided
however that any Transaction Fees earned by the Financial Advisor shall not be secured by the
Administration Charge. The Administration Charge shall have the priority set out in paragraphs
46 and 48 hereof.

APPROVAL OF FINANCIAL ADVISOR AGREEMENT

36.    THIS COURT ORDERS that the Agreement dated as of July 11, 2022 engaging the
Financial Advisor and attached as Exhibit “R” to the Stewart Affidavit (the “Financial Advisor
Agreement”), and the retention of the Financial Advisor under the terms thereof, is hereby ratified
and approved and the Applicant is authorized and directed nunc pro tunc to make the payments
contemplated thereunder when earned and payable in accordance with the terms and conditions
of the Financial Advisor Agreement.

37.    THIS COURT ORDERS that the Financial Advisor shall be entitled to the benefit of and is
hereby granted a charge (the “Financial Advisor Charge”) on the Property, which charge shall
not exceed an aggregate amount of US$6,000,000, as security solely for the Transaction Fees
earned and payable pursuant to the terms of the Financial Advisor Agreement. The Financial
Advisor Charge shall have the priority set out in paragraphs 46 and 48 herein.

EMPLOYEE RETENTION PLANS

38.    THIS COURT ORDERS that the Employee Retention Plans, as described in the Stewart
Affidavit and attached as Exhibit “Q” to the Stewart Affidavit, is hereby approved and the Applicant
is authorized to make the payments contemplated thereunder in accordance with the terms and
conditions of the Employee Retention Plans.
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39.     THIS COURT ORDERS that the employee beneficiaries under the Employee Retention
Plans shall be entitled to the benefit of and are hereby granted a charge (the "Employee
Retention Plans Charge") on the Property, which charge shall not exceed an aggregate amount
of $5,350,000, unless permitted by further Order of this Court, to secure any payments to the
employee beneficiaries under the Employee Retention Plans. The Employee Retention Plans
Charge shall have the priority set out in paragraphs 46 and 48 herein.

DIP FINANCING

40.     THIS COURT ORDERS that the Applicant is hereby authorized and empowered to obtain
and borrow under a credit facility from the DIP Lender (the “DIP Financing Facility”) in order to
finance the Applicant's working capital requirements, make intercompany loans to Loyalty
Ventures Inc. and other general corporate purposes and capital expenditures, all in accordance
with the Definitive Documents, provided that borrowings under the DIP Financing Facility shall
not exceed the aggregate principal amount of US$70,000,000, unless permitted by further Order
of this Court. For the avoidance of doubt, no amounts owing by the Applicant to the DIP Lender
or its affiliates, in any capacity, as of the date herein, shall be set off against any amounts available
to the Applicant under the DIP Financing Facility.

41.     THIS COURT ORDERS that the DIP Financing Facility shall be on the terms and subject
to the conditions set forth in the term sheet entered into between the Applicant and the DIP Lender
dated as of March [9], 2023 and attached as Exhibit “P” to the Stewart Affidavit (the “DIP Term
Sheet”).

42.     THIS COURT ORDERS that the Applicant is hereby authorized and empowered to
execute and deliver such credit agreements, mortgages, charges, hypothecs and security
documents, guarantees and other definitive documents (collectively, with the DIP Term Sheet,
the “Definitive Documents”), as are contemplated by the DIP Term Sheet or as may be
reasonably required by the DIP Lender pursuant to the terms thereof, and the Applicant is hereby
authorized and directed to pay and perform all of its indebtedness, interest, fees, liabilities and
obligations to the DIP Lender under and pursuant to the Definitive Documents as and when the
same become due and are to be performed, notwithstanding any other provision of this Order.
Notwithstanding any other provision in this Order, all payments and other expenditures to be
made by the Applicant to any Person (except the Monitor and its counsel) shall be in accordance
with the terms of the Definitive Documents.
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43.         THIS COURT ORDERS that the DIP Lender shall be entitled to the benefit of and is hereby
granted a charge (the “DIP Lender’s Charge”) on the Applicant’s Property up to the maximum
amount of US$70,000,000 (plus accrued and unpaid interest, fees and expenses) to secure
amounts advanced under the DIP Financing Facility, which DIP Lender’s Charge shall not secure
an obligation that exists before this Order is made. The DIP Lender’s Charge shall have the priority
set out in paragraphs 46 and 48 hereof.

44.         THIS COURT ORDERS that, notwithstanding any other provision of this Order:

      (a)      the DIP Lender may take such steps from time to time as it may deem necessary or
               appropriate to file, register, record or perfect the DIP Lender’s Charge or any of the
               Definitive Documents;

      (b)      upon the occurrence and during the continuance of an Event of Default (as defined in
               the DIP Term Sheet), whether or not there is availability under the DIP Financing
               Facility and notwithstanding any stay imposed by this Order: (i) without any notice to
               the Applicant, the Applicant shall have no right to receive any additional advances
               thereunder or other accommodation of credit from the DIP Lender except in the sole
               discretion of the DIP Lender; and (ii) the DIP Lender may immediately terminate the
               DIP Financing Facility and demand immediate payment of all obligations owing
               thereunder by providing such a notice and demand to the Applicant, with a copy to the
               Monitor;

      (c)      with the leave of the Court, sought on not less than three (3) business days’ notice to
               the Applicant, the Consenting Stakeholders and the Monitor after the occurrence and
               during the continuance of an Event of Default, the DIP Lender shall have the right to
               enforce the DIP Lender’s Charge and to exercise all other rights and remedies in
               respect of the obligations owing under the DIP Financing Facility and the DIP Lender’s
               Charge; and

      (d)      the foregoing rights and remedies of the DIP Lender shall be enforceable against any
               trustee in bankruptcy, interim receiver, receiver or receiver and manager of the
               Applicant or the Property.

45.         THIS COURT ORDERS AND DECLARES that the DIP Lender shall be treated as
unaffected in any plan of arrangement or compromise filed by the Applicant under the CCAA, or
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any proposal filed by the Applicant under the Bankruptcy and Insolvency Act of Canada (the
“BIA”), with respect to any advances made under the Definitive Documents.

VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER

46.    THIS COURT ORDERS that the priorities of the Administration Charge, the Directors’
Charge, the Employee Retention Plans Charge, the Financial Advisor Charge, and the DIP
Lender’s Charge (collectively, the "Charges"), as among them, shall be as follows:

               First – Administration Charge (to the maximum amount of $3,000,000);

               Second – Directors’ Charge (to the maximum amount of $15,409,000);

               Third – Employee Retention Plans Charge (to the maximum amount of
               $5,350,000);

               Fourth – Financial Advisor Charge (to the maximum amount of US$6,000,000);
               and

               Fifth – DIP Lender’s Charge (to the maximum amount of US$70,000,000, plus
               accrued and unpaid interest, fees and expenses).

47.    THIS COURT ORDERS that the filing, registration or perfection of the Charges shall not
be required, and that the Charges shall be valid and enforceable for all purposes, including as
against any right, title or interest filed, registered, recorded or perfected subsequent to the
Charges coming into existence, notwithstanding any such failure to file, register, record or perfect.

48.    THIS COURT ORDERS that each of the Charges (all as constituted and defined herein)
shall constitute a charge on the Property and such Charges shall rank in priority to all other
security interests, trusts, liens, charges and encumbrances, and claims of secured creditors,
statutory or otherwise (collectively, "Encumbrances") in favour of any Person notwithstanding
the order of perfection or attachment; provided that the Charges shall rank behind Encumbrances
in favour of (i) any Person with a properly perfected purchase money security interest under the
Personal Property Security Act (Ontario) or such other applicable legislation, including without
limitation Wells Fargo Equipment Finance Company and (ii) the Reserve Trustee in respect of the
Reserve Security.

49.    THIS COURT ORDERS that except as otherwise expressly provided for herein, or as may
be approved by this Court on notice to parties in interest, the Applicant shall not grant any
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Encumbrances over any Property that rank in priority to, or pari passu with, any of the Charges,
unless the Applicant also obtains the prior written consent of the Monitor, the Initial Consenting
Stakeholders (as defined in the Transaction Support Agreement), and the beneficiaries of each
of the Administration Charge, the Directors’ Charge, the Financial Advisor Charge and the DIP
Lender’s Charge, and the Initial Consenting Stakeholders, or further Order of this Court.

50.         THIS COURT ORDERS that the Charges shall not be rendered invalid or unenforceable
and the rights and remedies of the chargees entitled to the benefit of the Charges (collectively,
the “Chargees”) and/or the DIP Lender thereunder shall not otherwise be limited or impaired in
any way by: (i) the pendency of these proceedings and the declarations of insolvency made
herein; (ii) any application(s) for bankruptcy order(s) or receivership order(s) issued pursuant to
the BIA or otherwise, or any bankruptcy order or receivership order made pursuant to such
applications; (iii) the filing of any assignments for the general benefit of creditors made pursuant
to the BIA; (iv) the provisions of any federal or provincial statutes; or (v) any negative covenants,
prohibitions or other similar provisions with respect to borrowings, incurring debt or the creation
of Encumbrances, contained in any existing loan documents, lease, sublease, offer to lease or
other agreement (collectively, an “Agreement”) which binds the Applicant, and notwithstanding
any provision to the contrary in any Agreement:

      (a)      neither the creation of the Charges nor the execution, delivery, perfection, registration
               or performance of the Definitive Documents shall create or be deemed to constitute a
               breach by the Applicant of any Agreement to which it is a party;

      (b)      none of the Chargees shall have any liability to any Person whatsoever as a result of
               any breach of any Agreement caused by or resulting from the creation of the Charges,
               or the execution, delivery or performance of the Definitive Documents; and

      (c)      the payments made by the Applicant pursuant to this Order, the Definitive Documents
               and the granting of the Charges, do not and will not constitute preferences, fraudulent
               conveyances, transfers at undervalue, oppressive conduct, or other challengeable or
               voidable transactions under any applicable law.

51.         THIS COURT ORDERS that any Charge created by this Order over leases of real property
in Canada shall only be a Charge in the Applicant's interest in such real property lease.
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SERVICE AND NOTICE

52.    THIS COURT ORDERS that, subject to paragraph 53, the Monitor shall: (i) without delay,
publish in the National Post (National Edition), a notice containing the information prescribed
under the CCAA in the form attached as Exhibit “Q” to the Stewart Affidavit (the “Notice”); and (ii)
within five (5) days after the date of this Order, (A) make this Order publicly available in the manner
prescribed under the CCAA, (B) send, in the prescribed manner, a copy of the Notice to every
known creditor who has a claim against the Applicant of more than $1,000, and (C) prepare a list
showing the names and addresses of those creditors and the estimated amounts of those claims,
and make it publicly available in the prescribed manner, all in accordance with Subsection
23(1)(a) of the CCAA and the regulations made thereunder.

53.    THIS COURTS ORDERS that, notwithstanding paragraph 52 of this Order, Subsection
23(1)(a) of the CCAA, and the regulations made thereunder, with respect to consumers enrolled
in the AIR MILES® Reward Program holding reward miles balances that would entitle them to
redeem for items with a value of at least $1,000 (the “Specified Collectors”), the Monitor: (i) may
satisfy the notice obligation in paragraph 52 (B) hereof by (A) causing the Applicant to email a
copy of the Notice to the Specified Collectors at the current email address in the Applicant’s
records, or, if the Applicant does not have a current email address, (B) publishing the Notice in
the manner set out in paragraph 52 hereof and on the case website set out in paragraph 54
hereof; and (ii) subject to further Order of the Court, shall not publish information it receives about
the Specified Collectors from the Applicant, shall treat such information as confidential, and shall
exclude such information from the list of creditors set out in paragraph 52 hereof.

54.    THIS COURT ORDERS that the E-Service Guide of the Commercial List (the “Guide”) is
approved and adopted by reference herein and, in this proceeding, the service of documents
made in accordance with the Guide (which can be found on the Commercial List website at
https://www.ontariocourts.ca/scj/practice/practice-directions/toronto/eservice-commercial/) shall
be valid and effective service. Subject to Rule 17.05, this Order shall constitute an order for
substituted service pursuant to Rule 16.04 of the Rules of Civil Procedure, R.R.O. 1990. Reg.
194, as amended (the “Rules of Civil Procedure”). Subject to Rule 3.01(d) of the Rules of Civil
Procedure and paragraph 13 of the Guide, service of documents in accordance with the Guide
will be effective on transmission. This Court further orders that a Case Website shall be
established     in    accordance       with     the     Guide      with    the     following     URL:
https://www.ksvadvisory.com/experience/case/loyaltyone.
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55.    THIS COURT ORDERS that if the service or distribution of documents in accordance with
the Guide or the CCAA and the regulations thereunder is not practicable, the Applicant, the
Monitor and their respective counsel and agents are at liberty to serve or distribute this Order,
any other materials and orders in these proceedings, any notices or other correspondence, by
forwarding copies thereof by prepaid ordinary mail, courier, personal delivery, facsimile
transmission or electronic message to the Applicant’s creditors or other interested parties at their
respective addresses (including e-mail addresses) as last shown in the books and records of the
Applicant and that any such service or distribution shall be deemed to be received on the earlier
of (i) the date of forwarding thereof, if sent by electronic message on or prior to 5:00 p.m. Eastern
Time (or on the next business day following the date of forwarding thereof if sent on a non-
business day); (ii) the next business day following the date of forwarding thereof, if sent by courier,
personal delivery, facsimile transmission or electronic message sent after 5:00 p.m. Eastern Time;
or (iii) on the third business day following the date of forwarding thereof, if sent by ordinary mail.

56.    THIS COURT ORDERS that the Applicant, the Monitor and each of their respective
counsel are at liberty to serve or distribute this Order, and any other materials and orders as may
be reasonably required in these proceedings, including any notices or other correspondence, by
forwarding true copies thereof by electronic message (including by e-mail) to the Applicant's
creditors or other interested parties and their advisors, as applicable. For greater certainty, any
such service or distribution shall be deemed to be in satisfaction of a legal or judicial obligation,
and notice requirements within the meaning of Subsection 3(c) of the Electronic Commerce
Protection Regulations (SOR/2013-221).

57.    THIS COURT ORDERS that, except with respect to any motion to be heard, and subject
to further Order of this Court in respect of urgent motions, any interested party wishing to object
to the relief sought in a motion brought by the Applicant or the Monitor in these CCAA proceedings
shall, subject to further order of this Court, provide the service list in these proceedings (the
“Service List”) with responding motion materials or a written notice (including by e-mail) stating
its objection to the motion and the grounds for such objection by no later than 5:00 p.m. (Eastern
Time) on the date that is two (2) days prior to the date such motion is returnable (the “Objection
Deadline”). The Monitor shall have the ability to extend the Objection Deadline after consultation
with the Applicant.
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GENERAL

58.    THIS COURT ORDERS that any interested party that wishes to amend or vary this Order
shall be entitled to appear or bring a motion before this Court on not less than five (5) business
days’ notice to the Service List and any other party or parties likely to be affected by the Order
sought; provided, however, that the Chargees and the DIP Lender shall be entitled to rely on this
Order as granted and on the Charges and priorities set forth in paragraphs 44 and 46 hereof with
respect to any fees, expenses and disbursements incurred and in respect of advances made
under the Definitive Documents, as applicable, until the date this Order may be amended, varied
or stayed.

59.    THIS COURT ORDERS that notwithstanding paragraph 58 of this Order, the Applicant or
the Monitor may from time to time apply to this Court to amend, vary or supplement this Order or
for advice and directions in the discharge of its powers and duties hereunder or in the
interpretation of this Order.

60.    THIS COURT ORDERS that nothing in this Order shall prevent the Monitor from acting as
an interim receiver, a receiver, a receiver and manager, or a trustee in bankruptcy of the Applicant,
the Business or the Property.

61.    THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body having jurisdiction in Canada or in the United States, to give
effect to this Order and to assist the Applicant, the Monitor and their respective agents in carrying
out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are hereby
respectfully requested to make such orders and to provide such assistance to the Applicant and
to the Monitor, as an officer of this Court, as may be necessary or desirable to give effect to this
Order, to grant representative status to the Monitor in any foreign proceeding, or to assist the
Applicant and the Monitor and their respective agents in carrying out the terms of this Order.

62.    THIS COURT ORDERS that each of the Applicant and the Monitor be at liberty and are
hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative
body, wherever located, for the recognition of this Order and for assistance in carrying out the
terms of this Order, and that the Monitor is authorized and empowered to act as a representative
in respect of the within proceedings for the purpose of having these proceedings recognized in a
jurisdiction outside Canada.
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63.    THIS COURT ORDERS that the Initial Order of this Court dated March 10, 2023 is hereby
amended and restated pursuant to this Order, and this Order and all of its provisions are effective
as of 12:01 a.m. (Eastern Time) on the date of this Order without the need for entry or filing.




       ____________________________________
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IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF LOYALTYONE, CO.

                                                                                         Court File No. ⚫

                                                                                        ONTARIO
                                                                                SUPERIOR COURT OF JUSTICE
                                                                                    COMMERCIAL LIST

                                                                                PROCEEDING COMMENCED AT
                                                                                        TORONTO



                                                                          AMENDED AND RESTATED INITIAL ORDER
                                                                               (Amending Initial Order Dated [⚫])


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                                                                   Lawyers for the Applicant
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                                 EXHIBIT F
                             CCAA INITIAL ORDER




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                                                                             Court File No.

                                       ONTARIO
                               SUPERIOR COURT OF JUSTICE
                                   COMMERCIAL LIST


 THE HONOURABLE                                  )                            FRIDAY, THE 10th
                                                 )
 JUSTICE CONWAY                                                          DAY OF MARCH, 2023
                                                 )


               IN THE MATTER OF THE COMPANIES' CREDITORS
               ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED


               AND IN THE MATTER OF A PLAN OF COMPROMISE OR
               ARRANGEMENT OF LOYALTYONE, CO.


                                                                  (the “Applicant”)

                                        INITIAL ORDER

       THIS APPLICATION, made by the Applicant, pursuant to the Companies' Creditors
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”), for an Initial Order was heard
this day by judicial videoconference via Zoom.

       ON READING the affidavit of Shawn Stewart sworn March [⚫], 2023 and the Exhibits
thereto (the “Stewart Affidavit”) and the pre-filing report dated March [⚫], 2023 of the proposed
monitor, KSV Restructuring Inc. (“KSV”), and on being advised that the secured creditors who are
likely to be affected by the charges created herein were given notice, and on hearing the
submissions of counsel for the Applicant, the proposed monitor, and the other parties listed on
the counsel slip and no one appearing for any other party although duly served as appears from
the affidavit of service of Alec Hoy sworn March [⚫], 2023, and on reading the consent of KSV to
act as the Monitor,

SERVICE AND DEFINITIONS

1.     THIS COURT ORDERS that the time for service of the Notice of Application and the
Application Record is hereby abridged and validated so that this Application is properly returnable
today and hereby dispenses with further service thereof.
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2.     THIS COURT ORDERS that capitalized terms used in this Order and not otherwise
defined herein shall have the meanings ascribed to them in the Stewart Affidavit.

APPLICATION

3.     THIS COURT ORDERS AND DECLARES that the Applicant is a company to which the
CCAA applies.

POSSESSION OF PROPERTY AND OPERATIONS

4.     THIS COURT ORDERS that the Applicant shall remain in possession and control of its
current and future assets, licences, undertakings and properties of every nature and kind
whatsoever, and wherever situate including all proceeds thereof (the “Property”). Subject to
further Order of this Court, the Applicant shall continue to carry on business in a manner
consistent with the preservation of its business (the “Business”) and the Property. The Applicant
is authorized and empowered to continue to retain and employ the employees, consultants,
contractors, agents, experts, accountants, counsel and such other persons (collectively
“Assistants”) currently retained or employed by it, with liberty to retain such further Assistants as
it deems reasonably necessary or desirable in the ordinary course of business or for the carrying
out of the terms of this Order.

5.     THIS COURT ORDERS that the Applicant shall be entitled to continue to utilize the central
cash management system currently in place as described in the Stewart Affidavit or, with the prior
written consent of the Monitor, replace it with another substantially similar central cash
management system (the “Cash Management System”), and that any present or future bank
providing the Cash Management System shall: (i) not be under any obligation whatsoever to
inquire into the propriety, validity or legality of any transfer, payment, collection or other action
taken under the Cash Management System, or as to the use or application by the Applicant of
funds transferred, paid, collected or otherwise dealt with in the Cash Management System; (ii) be
entitled to provide the Cash Management System without any liability in respect thereof to any
Person (as hereinafter defined) other than the Applicant, pursuant to the terms of the
documentation applicable to the Cash Management System; and (iii) be, in its capacity as provider
of the Cash Management System, an unaffected creditor under a plan (if any) with regard to any
claims or expenses it may suffer or incur in connection with the provision of the Cash Management
System.
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6.         THIS COURT ORDERS that the Applicant shall be entitled but not required to pay the
following expenses whether incurred prior to, on, or after the date of this Order:

     (a)      all outstanding and future wages, salaries, employee and pension benefits, vacation
              pay and expenses payable prior to, on, or after the date of this Order, in each case
              incurred in the ordinary course of business and consistent with existing compensation
              policies and arrangements;

     (b)      with the prior written consent of the Monitor, amounts owing for goods and services
              actually supplied to the Applicant, including, without limiting the foregoing, services
              provided by contractors, prior to the date of this Order, with the Monitor considering,
              among other factors, whether: (i) the supplier or service provider is essential to the
              Business and ongoing operations of the Applicant and the payment is required to
              ensure ongoing supply; (ii) making such payment will preserve, protect or enhance the
              value of the Applicant’s Property or the Business; and (iii) the supplier or service
              provider is required to continue to provide goods or services to the Applicant after the
              date of this Order, including pursuant to the terms of this Order;

     (c)      the fees and disbursements of any Assistants retained or employed by the Applicant,
              at their standard rates and charges;

     (d)      all outstanding and future amounts related to honouring Collector obligations, whether
              existing before or after the date of this Order, including customer loyalty and reward
              programs, incentives, offers and benefits, in each case incurred in the ordinary course
              of business and consistent with existing policies and procedures; and

     (e)      any amounts required to comply with the Reserve Agreement.

7.         THIS COURT ORDERS that, except as otherwise provided to the contrary herein, the
Applicant shall be entitled but not required to pay all reasonable expenses incurred by the
Applicant in carrying on the Business in the ordinary course after the date of this Order, and in
carrying out the provisions of this Order, which expenses shall include, without limitation:

     (a)      all expenses and capital expenditures reasonably necessary for the preservation of
              the Property or the Business including, without limitation, payments on account of
              insurance (including directors’ and officers’ insurance), maintenance and security
              services; and
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     (b)      payment for goods or services actually supplied to the Applicant on or following the
              date of this Order.

8.         THIS COURT ORDERS that the Applicant shall remit, in accordance with legal
requirements, or pay:

     (a)      any statutory deemed trust amounts in favour of the Crown in right of Canada or of
              any Province thereof or any other taxation authority which are required to be deducted
              from employees' wages, including, without limitation, amounts in respect of: (i)
              employment insurance; (ii) Canada Pension Plan; (iii) Quebec Pension Plan; and (iv)
              income taxes;

     (b)      all goods and services or other applicable sales taxes (collectively, “Sales Taxes”)
              required to be remitted by the Applicant in connection with the sale of goods and
              services by the Applicant, but only where such Sales Taxes are accrued or collected
              after the date of this Order, or where such Sales Taxes were accrued or collected prior
              to the date of this Order but not required to be remitted until on or after the date of this
              Order; and

     (c)      any amount payable to the Crown in right of Canada or of any Province thereof or any
              political subdivision thereof or any other taxation authority in respect of municipal
              realty, municipal business or other taxes, assessments or levies of any nature or kind
              which are entitled at law to be paid in priority to claims of secured creditors and which
              are attributable to or in respect of the carrying on of the Business by the Applicant.

9.         THIS COURT ORDERS that until a real property lease is disclaimed in accordance with
the CCAA, the Applicant shall pay, without duplication, all amounts constituting rent or payable
as rent under real property leases (including, for greater certainty, common area maintenance
charges, utilities and realty taxes and any other amounts payable to the landlord under the lease,
but for greater certainty, excluding accelerated rent or penalties, fees or other charges arising as
a result of the insolvency of the Applicant or the making of this Order) or as otherwise may be
negotiated between the Applicant and the landlord from time to time (“Rent”), for the period
commencing from and including the date of this Order, monthly in equal payments on the first day
of each month, in advance (but not in arrears) or, with the prior written consent of the Monitor, at
such other time intervals and dates as may be agreed to between the Applicant and landlord, in
the amounts set out in the applicable lease. On the date of the first of such payments, any Rent
relating to the period commencing from and including the date of this Order shall also be paid.
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10.         THIS COURT ORDERS that, except as specifically permitted herein, the Applicant is
hereby directed, until further Order of this Court: (i) to make no payments of principal, interest
thereon or otherwise on account of amounts owing by the Applicant to any of its creditors as of
this date; (ii) to grant no security interests, trust, liens, charges or encumbrances upon or in
respect of any of the Applicant’s Property; and (iii) to not grant credit or incur liabilities except in
the ordinary course of the Business.

RESTRUCTURING

11.         THIS COURT ORDERS that the Applicant shall, subject to such requirements as are
imposed by the CCAA, have the right to:

      (a)      terminate the employment of such of its employees or temporarily lay off such of its
               employees as it deems appropriate; and

      (b)      pursue all avenues of refinancing of its Business or the Property, in whole or part,
               subject to prior approval of this Court being obtained before any material refinancing,

all of the foregoing to permit the Applicant to proceed with an orderly restructuring of the Business.

NO PROCEEDINGS AGAINST THE LOYALTYONE ENTITIES, THEIR BUSINESS OR THEIR
PROPERTY

12.         THIS COURT ORDERS that until and including March 20, 2023 (the “Initial Stay Period”),
or such later date as this Court may order (the “Stay Period”), no proceeding or enforcement
process in any court or tribunal (each, a “Proceeding”, and collectively, “Proceedings”) shall be
commenced or continued against or in respect of the Applicant, its wholly owned subsidiary
LoyaltyOne Travel Services Co./Cie Des Voyages LoyaltyOne (“Travel Services” and together
with the Applicant, the “LoyaltyOne Entities”) or the Monitor, or their respective employees and
representatives acting in such capacities, or affecting the Business or the Property, or the
business or property of Travel Services, except with the written consent of the Applicant and the
Monitor, or with leave of this Court, and any and all Proceedings currently under way against or
in respect of any of the LoyaltyOne Entities or affecting the Business or the Property, or the
business or property of Travel Services, are hereby stayed and suspended pending further Order
of this Court or the prior written consent of the Applicant and the Monitor.
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NO EXERCISE OF RIGHTS OR REMEDIES

13.     THIS COURT ORDERS that during the Stay Period, all rights and remedies of any
individual, firm, corporation, organization, governmental unit, body or agency, or any other entities
(all of the foregoing, collectively being “Persons” and each being a “Person”) against or in respect
of any of the LoyaltyOne Entities or the Monitor, or their respective employees and
representatives acting in such capacities, or affecting the Business or the Property, or the
business or property of Travel Services, are hereby stayed and suspended except with the written
consent of the Applicant and the Monitor, or leave of this Court, provided that nothing in this Order
shall: (i) empower any of the LoyaltyOne Entities to carry on any business which it is not lawfully
entitled to carry on; (ii) affect such investigations, actions, suits or proceedings by a regulatory
body as are permitted by Section 11.1 of the CCAA; (iii) prevent the filing of any registration to
preserve or perfect a security interest; or (iv) prevent the registration of a claim for lien.

NO INTERFERENCE WITH RIGHTS

14.     THIS COURT ORDERS that during the Stay Period, no Person shall accelerate, suspend,
discontinue, fail to honour, alter, interfere with, repudiate, rescind, terminate or cease to perform
any right, renewal right, contract, agreement, lease, sublease, licence, authorization or permit in
favour of or held by any of the LoyaltyOne Entities, except with the prior written consent of the
Applicant and the Monitor, or leave of this Court.

CONTINUATION OF SERVICES

15.     THIS COURT ORDERS that during the Stay Period, all Persons having oral or written
agreements with any of the LoyaltyOne Entities or statutory or regulatory mandates for the supply
of goods and/or services, including without limitation all computer software, communication and
other data services, centralized banking services, payroll and benefit services, accounting
services, insurance, transportation services, utility, or other services, to the Business or any of
the LoyaltyOne Entities, are hereby restrained until further Order of this Court from discontinuing,
altering, interfering with, suspending or terminating the supply of such goods or services as may
be required by any of the LoyaltyOne Entities or exercising any other remedy provided under the
agreements or arrangements, and that any of the LoyaltyOne Entities shall be entitled to the
continued use of its current premises, telephone numbers, facsimile numbers, internet addresses
and domain names, provided in each case that the normal prices or charges for all such goods
or services received after the date of this Order are paid by the applicable LoyaltyOne Entities in
accordance with the normal payment practices of the applicable LoyaltyOne Entities or such other
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practices as may be agreed upon by the supplier or service provider and each of the Applicant
and the Monitor, or as may be ordered by this Court.

NON-DEROGATION OF RIGHTS

16.    THIS COURT ORDERS that, notwithstanding anything else in this Order, no Person shall
be prohibited from requiring immediate payment for goods, services, use of leased or licensed
property or other valuable consideration provided on or after the date of this Order, nor shall any
Person be under any obligation on or after the date of this Order to advance or re-advance any
monies or otherwise extend any credit to the Applicant. Nothing in this Order shall derogate from
the rights conferred and obligations imposed by the CCAA.

PROCEEDINGS AGAINST DIRECTORS AND OFFICERS

17.    THIS COURT ORDERS that during the Stay Period, and except as permitted by
Subsection 11.03(2) of the CCAA, no Proceeding may be commenced or continued against any
of the former, current or future directors or officers of any of the LoyaltyOne Entities other than
Joseph L. Motes III and any other person who, at any time after November 5, 2021, has served
as a director, officer, or employee of (i) Bread Financial Holdings, Inc. f/k/a Alliance Data Systems
Corporation (“Bread”) or (ii) any other entity that, at any time after November 5, 2021, was or is
a direct or indirect subsidiary of Bread) (the “Directors and Officers”) with respect to any claim
against the Directors and Officers that arose before the date hereof and that relates to any
obligations of any of the LoyaltyOne Entities whereby the Directors and Officers are alleged under
any law to be liable in their capacity as the Directors and Officers for the payment or performance
of such obligations, until a compromise or arrangement in respect of the Applicant, if one is filed,
is sanctioned by this Court or is refused by the creditors of the Applicant or this Court.

DIRECTORS’ AND OFFICERS’ INDEMNIFICATION AND CHARGE

18.    THIS COURT ORDERS that the Applicant shall indemnify the Directors and Officers
against obligations and liabilities that they may incur as a director or officer of any of the
LoyaltyOne Entities after the commencement of the within proceedings, except to the extent that,
with respect to any Director or Officer, the obligation or liability was incurred as a result of such
Director's or Officer's gross negligence or wilful misconduct (the “D&O Indemnity”).

19.    THIS COURT ORDERS that the Directors and Officers shall be entitled to the benefit of
and are hereby granted a charge (the “Directors' Charge”) on the Property, which charge shall
not exceed an aggregate amount of $10,521,000, unless permitted by further Order of this Court,
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as security for the D&O Indemnity provided in paragraph 18 of this Order. The Directors' Charge
shall have the priority set out in paragraphs 30 and 32 hereof.

20.         THIS COURT ORDERS that, notwithstanding any language in any applicable insurance
policy to the contrary: (i) no insurer shall be entitled to be subrogated to or claim the benefit of the
Directors' Charge; and (ii) the Directors and Officers shall only be entitled to the benefit of the
Directors' Charge to the extent that they do not have coverage under any directors' and officers'
insurance policy, or to the extent that such coverage is insufficient to pay amounts indemnified in
accordance with paragraph 18 of this Order.

APPOINTMENT OF MONITOR

21.         THIS COURT ORDERS that KSV is hereby appointed pursuant to the CCAA as the
Monitor, an officer of this Court, to monitor the business and financial affairs of the Applicant with
the powers and obligations set out in the CCAA or set forth herein and that the Applicant and its
shareholders, officers, directors, and Assistants shall advise the Monitor of all material steps taken
by the Applicant pursuant to this Order, and shall co-operate fully with the Monitor in the exercise
of its powers and discharge of its obligations and provide the Monitor with the assistance that is
necessary to enable the Monitor to adequately carry out the Monitor's functions.

22.         THIS COURT ORDERS that the Monitor, in addition to its prescribed rights and obligations
under the CCAA, is hereby directed and empowered to:

      (a)      monitor the Applicant's receipts and disbursements;

      (b)      report to this Court at such times and intervals as the Monitor may deem appropriate
               with respect to matters relating to the Property, the Business, the Chapter 11 Cases
               and such other matters as may be relevant to the proceedings herein;

      (c)      have full and complete access to the Property, including the premises, books, records,
               data, including data in electronic form, and other financial documents of the Applicant,
               to the extent that is necessary to adequately assess the Applicant's business and
               financial affairs or to perform its duties arising under this Order;

      (d)      be at liberty to engage independent legal counsel or such other persons as the Monitor
               deems necessary or advisable respecting the exercise of its powers and performance
               of its obligations under this Order; and
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      (e)      perform such other duties as are required by this Order or by this Court from time to
               time.

23.         THIS COURT ORDERS that the Monitor shall not take possession of the Property and
shall take no part whatsoever in the management or supervision of the management of the
Business and shall not, by fulfilling its obligations hereunder, be deemed to have taken or
maintained possession or control of the Business or the Property, or any part thereof.

24.         THIS COURT ORDERS that nothing herein contained shall require the Monitor to occupy
or to take control, care, charge, possession or management (separately and/or collectively,
“Possession”) of any of the Property that might be environmentally contaminated, might be a
pollutant or a contaminant, or might cause or contribute to a spill, discharge, release or deposit of
a substance contrary to any federal, provincial or other law respecting the protection,
conservation, enhancement, remediation or rehabilitation of the environment or relating to the
disposal of waste or other contamination including, without limitation, the Canadian Environmental
Protection Act, the Ontario Environmental Protection Act, the Ontario Water Resources Act, the
Ontario Occupational Health and Safety Act and regulations thereunder (the “Environmental
Legislation”), provided however that nothing herein shall exempt the Monitor from any duty to
report or make disclosure imposed by applicable Environmental Legislation. The Monitor shall
not, as a result of this Order or anything done in pursuance of the Monitor's duties and powers
under this Order, be deemed to be in Possession of any of the Property within the meaning of any
Environmental Legislation, unless it is actually in possession.

25.         THIS COURT ORDERS that the Monitor shall provide any creditor of the Applicant with
information provided by the Applicant in response to reasonable requests for information made in
writing by such creditor addressed to the Monitor. The Monitor shall not have any responsibility
or liability with respect to the information disseminated by it pursuant to this paragraph. In the
case of information that the Monitor has been advised by the Applicant is confidential, the Monitor
shall not provide such information to creditors unless otherwise directed by this Court or on such
terms as the Monitor and the Applicant may agree.

26.         THIS COURT ORDERS that, in addition to the rights and protections afforded to the
Monitor under the CCAA or as an officer of this Court, the Monitor, its directors, officers,
employees, counsel and other representatives acting in such capacities shall incur no liability or
obligation as a result of the Monitor’s appointment or the carrying out by it of the provisions of this
Order, save and except for any gross negligence or wilful misconduct on its part. Nothing in this
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Order shall derogate from the protections afforded to the Monitor by the CCAA or any applicable
legislation.

27.     THIS COURT ORDERS that the Monitor, counsel to the Monitor, counsel to the Applicant,
PJT Partners LP in its capacity as financial advisor to the Applicant (the “Financial Advisor”),
and Alvarez & Marsal Inc. in its capacity as operational and restructuring advisor to the Applicant
(the “Restructuring Advisor”) shall be paid their reasonable fees and disbursements, whether
incurred prior to, on or subsequent to the date of this Order, in each case at their standard rates
and charges, by the Applicant as part of the costs of these proceedings. The Applicant is hereby
authorized and directed to pay the accounts of the Monitor, counsel for the Monitor, counsel for
the Applicant, the Financial Advisor, and the Restructuring Advisor on a bi-weekly basis.

28.     THIS COURT ORDERS that the Monitor and its legal counsel shall pass their accounts
from time to time, and for this purpose the accounts of the Monitor and its legal counsel are hereby
referred to a judge of the Commercial List of the Ontario Superior Court of Justice.

ADMINISTRATION CHARGE

29.     THIS COURT ORDERS that the Monitor, counsel to the Monitor, the Applicant’s counsel,
the Financial Advisor and the Restructuring Advisor shall be entitled to the benefit of and are
hereby granted a charge (the “Administration Charge”) on the Property, which charge shall not
exceed an aggregate amount of $2,000,000, unless permitted by further Order of this Court, as
security for their professional fees and disbursements incurred at the standard rates and charges
of the Monitor and such advisors, both before and after the making of this Order, provided
however that any Transaction Fee earned by the Financial Advisor shall not be secured by the
Administration Charge. The Administration Charge shall have the priority set out in paragraphs
30 and 32 hereof.

VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER

30.     THIS COURT ORDERS that the priorities of the Administration Charge and the Directors’
Charge (collectively, the “Charges”), as among them, shall be as follows:

               First – Administration Charge (to the maximum amount of $2,000,000); and

               Second – Directors’ Charge (to the maximum amount of $10,521,000).

31.     THIS COURT ORDERS that the filing, registration or perfection of the Charges shall not
be required, and that the Charges shall be valid and enforceable for all purposes, including as
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against any right, title or interest filed, registered, recorded or perfected subsequent to the
Charges coming into existence, notwithstanding any such failure to file, register, record or perfect.

32.    THIS COURT ORDERS that each of the Charges (all as constituted and defined herein)
shall constitute a charge on the Property and such Charges shall rank in priority to all other
security interests, trusts, liens, charges and encumbrances, and claims of secured creditors,
statutory or otherwise (collectively, “Encumbrances”) in favour of any Person notwithstanding
the order of perfection or attachment; provided that the Charges shall rank behind Encumbrances
in favour of (i) any Person with a properly perfected purchase money security interest under the
Personal Property Security Act (Ontario) or such other applicable legislation, including without
limitation Wells Fargo Equipment Finance Company, (ii) the Reserve Trustee in respect of the
Reserve Security, and (iii) any Person that has not been served with notice of the application for
this Order. The Applicant and the beneficiaries of the Charges shall be entitled to seek priority of
the Charges ahead of any Encumbrances over which the Charges may not have obtained priority
pursuant to this Order on a subsequent motion including, without limitation, on the Comeback
Date (as defined below), on notice to those Persons likely to be affected thereby.

33.    THIS COURT ORDERS that except as otherwise expressly provided for herein, or as may
be approved by this Court on notice to parties in interest, the Applicant shall not grant any
Encumbrances over any Property that rank in priority to, or pari passu with, any of the Charges,
unless the Applicant also obtains the prior written consent of the Monitor and the beneficiaries of
the Administration Charge and the Directors’ Charge, or further Order of this Court.

34.    THIS COURT ORDERS that the Charges shall not be rendered invalid or unenforceable
and the rights and remedies of the chargees entitled to the benefit of the Charges (collectively,
the “Chargees”) shall not otherwise be limited or impaired in any way by: (i) the pendency of
these proceedings and the declarations of insolvency made herein; (ii) any application(s) for
bankruptcy order(s) or receivership order(s) issued pursuant to the BIA or otherwise, or any
bankruptcy order or receivership order made pursuant to such applications; (iii) the filing of any
assignments for the general benefit of creditors made pursuant to the BIA; (iv) the provisions of
any federal or provincial statutes; or (v) any negative covenants, prohibitions or other similar
provisions with respect to borrowings, incurring debt or the creation of Encumbrances, contained
in any existing loan documents, lease, sublease, offer to lease or other agreement (collectively,
an “Agreement”) which binds the Applicant, and notwithstanding any provision to the contrary in
any Agreement:
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      (a)      the creation of the Charges shall not create or be deemed to constitute a breach by
               the Applicant of any Agreement to which it is a party;

      (b)      none of the Chargees shall have any liability to any Person whatsoever as a result of
               any breach of any Agreement caused by or resulting from the creation of the Charges;
               and

      (c)      the payments made by the Applicant pursuant to this Order and the granting of the
               Charges, do not and will not constitute preferences, fraudulent conveyances, transfers
               at undervalue, oppressive conduct, or other challengeable or voidable transactions
               under any applicable law.

35.         THIS COURT ORDERS that any Charge created by this Order over leases of real property
in Canada shall only be a Charge in the Applicant's interest in such real property lease.

SERVICE AND NOTICE

36.         THIS COURT ORDERS that, subject to paragraph 37, the Monitor shall: (i) without delay,
publish in the National Post (National Edition), a notice containing the information prescribed
under the CCAA in the form attached as Exhibit “Q” to the Stewart Affidavit (the “Notice”); and (ii)
within five (5) days after the date of this Order, (A) make this Order publicly available in the manner
prescribed under the CCAA, (B) send, in the prescribed manner, a copy of the Notice to every
known creditor who has a claim against the Applicant of more than $1,000, and (C) prepare a list
showing the names and addresses of those creditors and the estimated amounts of those claims,
and make it publicly available in the prescribed manner, all in accordance with Subsection
23(1)(a) of the CCAA and the regulations made thereunder.

37.         THIS COURTS ORDERS that, notwithstanding paragraph 36 of this Order, Subsection
23(1)(a) of the CCAA, and the regulations made thereunder, with respect to consumers enrolled
in the AIR MILES® Reward Program holding reward miles balances that would entitle them to
redeem for items with a value of at least $1,000 (the “Specified Collectors”), the Monitor: (i) may
satisfy the notice obligation in paragraph 36 (B) hereof by (A) causing the Applicant to email a
copy of the Notice to the Specified Collectors at the current email address in the Applicant’s
records, or, if the Applicant does not have a current email address, (B) publishing the Notice in
the manner set out in paragraph 36 hereof and on the website set out in paragraph 38 hereof;
and (ii) subject to further Order of the Court, shall not publish information it receives about the
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Specified Collectors from the Applicant, shall treat such information as confidential, and shall
exclude such information from the list of creditors set out in paragraph 36 hereof.

38.    THIS COURT ORDERS that the E-Service Guide of the Commercial List (the “Guide”) is
approved and adopted by reference herein and, in this proceeding, the service of documents
made in accordance with the Guide (which can be found on the Commercial List website at
https://www.ontariocourts.ca/scj/practice/practice-directions/toronto/eservice-commercial/) shall
be valid and effective service. Subject to Rule 17.05, this Order shall constitute an order for
substituted service pursuant to Rule 16.04 of the Rules of Civil Procedure, R.R.O. 1990. Reg.
194, as amended (the “Rules of Civil Procedure”). Subject to Rule 3.01(d) of the Rules of Civil
Procedure and paragraph 13 of the Guide, service of documents in accordance with the Guide
will be effective on transmission. This Court further orders that a Case Website shall be
established     in    accordance       with     the     Guide      with    the     following     URL:
https://www.ksvadvisory.com/experience/case/loyaltyone.

39.    THIS COURT ORDERS that if the service or distribution of documents in accordance with
the Guide or the CCAA and the regulations thereunder is not practicable, the Applicant, the
Monitor and their respective counsel and agents are at liberty to serve or distribute this Order,
any other materials and orders in these proceedings, any notices or other correspondence, by
forwarding copies thereof by prepaid ordinary mail, courier, personal delivery, facsimile
transmission or electronic message to the Applicant’s creditors or other interested parties at their
respective addresses (including e-mail addresses) as last shown in the books and records of the
Applicant and that any such service or distribution shall be deemed to be received on the earlier
of (i) the date of forwarding thereof, if sent by electronic message on or prior to 5:00 p.m. Eastern
Time (or on the next business day following the date of forwarding thereof if sent on a non-
business day); (ii) the next business day following the date of forwarding thereof, if sent by courier,
personal delivery, facsimile transmission or electronic message sent after 5:00 p.m. Eastern; or
(iii) on the third business day following the date of forwarding thereof, if sent by ordinary mail.

40.    THIS COURT ORDERS that the Applicant, the Monitor and each of their respective
counsel are at liberty to serve or distribute this Order, and any other materials and orders as may
be reasonably required in these proceedings, including any notices or other correspondence, by
forwarding true copies thereof by electronic message (including by e-mail) to the Applicant's
creditors or other interested parties and their advisors, as applicable. For greater certainty, any
such service or distribution shall be deemed to be in satisfaction of a legal or judicial obligation,
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and notice requirements within the meaning of Subsection 3(c) of the Electronic Commerce
Protection Regulations (SOR/2013-221).

41.       THIS COURT ORDERS that, except with respect to the Comeback Hearing (as defined
below), and subject to further Order of this Court in respect of urgent motions, any interested party
wishing to object to the relief sought in a motion brought by the Applicant or the Monitor in these
CCAA proceedings shall, subject to further order of this Court, provide the service list in these
proceedings (the “Service List”) with responding motion materials or a written notice (including
by e-mail) stating its objection to the motion and the grounds for such objection by no later than
5:00 p.m. (Eastern Time) on the date that is two (2) days prior to the date such motion is returnable
(the “Objection Deadline”). The Monitor shall have the ability to extend the Objection Deadline
after consultation with the Applicant.

COMEBACK HEARING

42.       THIS COURT ORDERS that the comeback motion in these CCAA proceedings shall be
heard on March [⚫], 2023 (the “Comeback Hearing”).

GENERAL

43.       THIS COURT ORDERS that any interested party (including the Applicant) may apply to
this Court to vary or amend this Order on not less than five (5) calendar days’ notice to the Service
List and any other party or parties likely to be affected by the Order sought; provided, however,
that the Chargees shall be entitled to rely on this Order as granted and on the Charges and
priorities set forth in paragraphs 30 and 32 hereof with respect to any fees, expenses and
disbursements incurred, as applicable, until the date this Order may be amended, varied or
stayed.

44.       THIS COURT ORDERS that, notwithstanding paragraph 43 of this Order, the Applicant or
the Monitor may from time to time apply to this Court to amend, vary or supplement this Order or
for advice and directions in the discharge of its powers and duties hereunder or in the
interpretation of this Order.

45.       THIS COURT ORDERS that nothing in this Order shall prevent the Monitor from acting as
an interim receiver, a receiver, a receiver and manager, or a trustee in bankruptcy of the Applicant,
the Business or the Property.
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46.    THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body having jurisdiction in Canada or in the United States, to give
effect to this Order and to assist the Applicant, the Monitor and their respective agents in carrying
out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are hereby
respectfully requested to make such orders and to provide such assistance to the Applicant and
to the Monitor, as an officer of this Court, as may be necessary or desirable to give effect to this
Order, to grant representative status to the Monitor in any foreign proceeding, or to assist the
Applicant and the Monitor and their respective agents in carrying out the terms of this Order.

47.    THIS COURT ORDERS that each of the Applicant and the Monitor be at liberty and is
hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative
body, wherever located, for the recognition of this Order and for assistance in carrying out the
terms of this Order, and that the Monitor is authorized and empowered to act as a representative
in respect of the within proceedings for the purpose of having these proceedings recognized in a
jurisdiction outside Canada.

48.    THIS COURT ORDERS that this Order and all of its provisions are effective as of
12:01 a.m. (Eastern Time) on the date of this Order without the need for entry or filing.




       ____________________________________
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IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF LOYALTYONE, CO.

                                                                                         Court File No. [⚫]

                                                                                        ONTARIO
                                                                                SUPERIOR COURT OF JUSTICE
                                                                                    COMMERCIAL LIST

                                                                                PROCEEDING COMMENCED AT
                                                                                        TORONTO



                                                                                         INITIAL ORDER


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                                                                   Lawyers for the Applicant
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                                EXHIBIT G
                         CCAA TRANSACTION ORDER




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                                                                                      Court File No.

                                       ONTARIO
                               SUPERIOR COURT OF JUSTICE
                                   COMMERCIAL LIST


 THE HONOURABLE ⚫                                )                            WEEKDAY, THE #
                                                 )
 JUSTICE ⚫                                                               DAY OF MONTH, 2023
                                                 )


               IN THE MATTER OF THE COMPANIES' CREDITORS
               ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED


               AND IN THE MATTER OF A PLAN OF COMPROMISE OR
               ARRANGEMENT OF LOYALTYONE, CO.

                                                                  (the “Applicant”)


                              APPROVAL AND VESTING ORDER


       THIS MOTION, made by the Applicant, pursuant to the Companies’ Creditors
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”), for an order approving the
sale transaction (the “Transaction”) contemplated by an asset purchase agreement between the
Applicant and Bank of Montreal (the “Buyer”), dated [⚫], 2023 (the “Asset Purchase
Agreement”) and vesting in the Buyer the Applicant’s right, title, and interest in and to the
Purchased Assets as defined in the Asset Purchase Agreement was heard this day by judicial
videoconference via Zoom.

       ON READING the Affidavit of Shawn Stewart, sworn [⚫], 2023, and the Exhibits thereto,
the [⚫] report of KSV Restructuring, Inc. (“KSV”) in its capacity as the court-appointed monitor of
the Applicant (the “[⚫] Report”), and such further materials as counsel may advise, and on
hearing the submissions of counsel to the Applicant, counsel to the Monitor, counsel to the Buyer
and counsel to [NAMES], and no one else appearing for any other party on the Service List
although duly served as appears from the affidavit of service of [⚫] sworn [⚫], 2023, filed:
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SERVICE AND DEFINITIONS

1.     THIS COURT ORDERS that the time for service of the Notice of Motion and Motion
Record herein is hereby abridged and validated so that this Motion is properly returnable today
and hereby dispenses with further service thereof.

2.     THIS COURT ORDERS that capitalized terms used herein that are otherwise not defined
shall have the meaning ascribed to them in the Asset Purchase Agreement and/or the Amended
and Restated Initial Order made in these proceedings on March [⚫], 2023 (the “A&R Initial
Order”), as applicable.

APPROVAL OF TRANSACTION

3.     THIS COURT ORDERS AND DECLARES that the Asset Purchase Agreement and the
Transaction is hereby approved and the execution of the Asset Purchase Agreement by the
Applicant is hereby authorized and approved, with such minor amendments as the Applicant, with
the consent of the Monitor, may deem necessary. The Applicant is hereby authorized and directed
to take such additional steps and execute such additional documents as may be necessary or
desirable for the completion of the Transaction and for the conveyance of the Purchased Assets
to the Buyer and the assumption of the Assumed Liabilities.

4.     THIS COURT ORDERS AND DECLARES that this Order shall constitute the only
authorization required by the Applicant to proceed with the Transaction and that no shareholder
or other approvals shall be required in connection therewith.

5.     THIS COURT ORDERS that the Applicant is authorized and directed to perform its
obligations under the Asset Purchase Agreement and any ancillary documents related thereto.

VESTING OF THE PURCHASED ASSETS

6.     THIS COURT ORDERS AND DECLARES that upon the delivery of a Monitor’s certificate
to the Applicant (or its counsel) and to the Buyer (or its counsel) substantially in the form attached
as Schedule “A” hereto (the “Monitor’s Certificate”), all of the Applicant’s right, title and interest
in and to the Purchased Assets shall vest absolutely in the Buyer, free and clear of and from (a)
the Excluded Claims; and (b) any and all security interests (whether contractual, statutory, or
otherwise), hypothecs, mortgages, trusts or deemed trusts (whether contractual, statutory, or
otherwise), liens, executions, levies, charges, or other financial or monetary claims, whether or
not they have attached or been perfected, registered or filed and whether secured, unsecured or
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otherwise, including, without limiting the generality of the foregoing: (i) any encumbrances or
charges created by the Initial Order, A&R Initial Order, the SISP Order, or any other orders made
in these CCAA proceedings; (ii) all charges, security interests or claims evidenced by registrations
pursuant to the Personal Property Security Act (Ontario) or any other personal property registry
system in any province or territory in Canada or the Civil Code of Quebec, including without
limitation those registrations listed on Schedule “B” hereto; (iii) all Taxes assessed or that could
be assessed, and any Claims or Encumbrances relating thereto, in respect of the Applicant or its
business, property, and assets; and (iv) those claims listed on Schedule “C” hereto (all of which
are collectively referred to as the “Encumbrances”, which term shall not include the Permitted
Encumbrances, listed on Schedule “D”), and, for greater certainty, this Court orders that all of
the Encumbrances affecting or relating to the Purchased Assets are hereby expunged and
discharged as against the Purchased Assets.

7.      THIS COURT ORDERS that all options, conversion privileges, equity-based awards,
warrants, securities, debentures, loans, notes or other rights, agreements, or commitments of any
kind whatsoever that are held by any Person that are convertible or exchangeable for any shares
in the capital of Travel Services, or otherwise relating thereto, shall be deemed terminated and
cancelled.

8.      THIS COURT ORDERS that except as expressly contemplated in the Asset Purchase
Agreement and subject to the payment of any amounts required to be paid pursuant to Section
11.3 of the CCAA (or such other amount as agreed upon between the Buyer and the counterparty
to the Assumed Contract), all Assumed Contracts will be and remain in full force and effect upon
and following delivery of the Monitor’s Certificate and completion of the Transaction, and no
Person who is a party to an Assumed Contract may accelerate, terminate, rescind, refuse to
perform or otherwise repudiate its obligations thereunder or enforce or exercise any right
(including any right of set-off, dilution or other remedy) or make any demand under or in respect
of any such arrangement, and no automatic termination or termination upon notice will have any
validity or effect by reason of:

        (a)     any event that occurred on or prior to the delivery of the Monitor’s Certificate and
                is not continuing that would have entitled such Person to enforce those rights or
                remedies (including defaults or events of default arising as a result of the
                insolvency of the Applicant, or any of their Affiliates);
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       (b)     the insolvency of the Applicant, or any of its Affiliates, or the fact that the Applicant
               or any affiliate sought or obtained relief under the CCAA or any of their Affiliates
               sought or obtained any relief under Chapter 11 of the U.S. Bankruptcy Code;

       (c)     any      compromises,     releases,     discharges,     cancellations,    transactions,
               arrangements, reorganizations, or other steps taken or effected pursuant to the
               Asset Purchase Agreement or to effect the Transaction, or the provisions of this
               Order, or of any other Order of this Court in this CCAA proceeding, or any Order
               of the U.S. Bankruptcy Court under the Bankruptcy Code in respect of an Affiliate
               of the Applicant; or

       (d)     any transfer or assignment, or any change of control of Travel Services arising
               from the Asset Purchase Agreement or the Transaction or the provisions of this
               Order.

9.     THIS COURT ORDERS that, as of the Effective Time and subject to the payment of any
amounts required to be paid pursuant to Section 11.3 of the CCAA, (or such other amount as
agreed upon between the Buyer and the counterparty to the Assumed Contract) all Persons shall
be deemed to have waived any and all defaults of the Applicant then existing or previously
committed by the Applicant, or caused by the Applicant, directly or indirectly, or non-compliance
with any covenant, warranty, representation, undertaking, positive or negative covenant,
provision, condition, or obligation, express or implied, in any Assumed Contract arising directly or
indirectly from the insolvency of the Applicant, the filing by the Applicant under the CCAA, the
Asset Purchase Agreement or the Transaction, including, without limitation, any of the matters or
events listed in paragraph 9 hereof and any and all notices of default and demands for payment
or any step or proceeding taken or commenced in connection therewith under an Assumed
Contract shall be deemed to have been rescinded and of no further force or effect.

10.    THIS COURT ORDERS that from and after the Effective Time, any and all Persons shall
be and are hereby forever barred, estopped, stayed and enjoined from commencing, taking,
applying for, or issuing or continuing any and all steps or proceedings, whether directly,
derivatively or otherwise, and including, without limitation, administrative hearings and orders,
declarations and assessments, commenced, taken, or proceeded with or that may be
commenced, taken, or proceeded with against the Buyer relating in any way to the Excluded
Assets, Excluded Liabilities, Excluded Contracts, any Encumbrances (other than Permitted
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Encumbrances), and any other claims, obligations, and other matters that are waived, released,
expunged or discharged pursuant to this Order.

11.    THIS COURT ORDERS that for the purposes of determining the nature and priority of
Encumbrances, the net proceeds from the sale of the Purchased Assets shall stand in the place
and stead of the Purchased Assets, and that from and after the delivery of the Monitor’s Certificate
all Encumbrances shall attach to the net proceeds from the sale of the Purchased Assets with the
same priority as they had with respect to the Purchased Assets immediately prior to the sale, as
if the Purchased Assets had not been sold and remained in the possession or control of the person
having that possession or control immediately prior to the sale.

12.    THIS COURT ORDERS AND DIRECTS the Monitor to file with the Court a copy of the
Monitor’s Certificate, forthwith after delivery thereof to the Applicant and the Buyer, or to their
respective counsel.

13.    THIS COURT ORDERS that the Monitor may rely on written notice from the Applicant and
the Buyer regarding the fulfilment or waiver of conditions to closing under the Asset Purchase
Agreement and shall have no liability with respect to delivery of the Monitor’s Certificate.

RESERVE ACCOUNT

14.    THIS COURT ORDERS that, without limiting anything herein, Buyer shall acquire at the
Effective Time all of the Applicant’s right, title, interest, and powers, and assume all obligations,
in, to, and under the Reserve Agreement and Security Agreement, and all accounts, deposits,
funds and monies subject thereto including, for greater certainty, in respect of or related to the
RBC Accounts and: (i) all Investments that are at any time or from time to time deposited with or
specifically assigned to RBC or its agent by the Applicant for the purposes of the Reserve
Agreement and all Investments derived from the Investment of any monies or other Investments
which, in each case, are part of the Reserve Fund (as defined in the Reserve Agreement); (ii)
without limiting (i), the right of the Applicant to be paid or receive any and all Redemption Fees
(as defined in the Reserve Agreement) payable at any time or from time to time thereunder; (iii)
all substitutions, accretions and additions to any of the monies or Investments described in the
foregoing, including without limitation, all interest, dividends or other amounts earned or derived
therefrom; (iv) all certificates and instruments evidencing the foregoing; (v) all proceeds of any of
the foregoing of any nature and kind including, without limitation, goods, intangibles, documents
of title, instruments, investment property, or other personal property; and (vi) goods, intangibles,
documents of title, instruments, investment property, or other personal property and any other
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assets or property forming part of the Reserve Fund, in each case free and clear of all Claims and
Encumbrances whatsoever save and except for the Permitted Encumbrance in favour of RBC.

PIPEDA

15.    THIS COURT ORDERS that, pursuant to clause 7(3)(c) of the Canada Personal
Information Protection and Electronic Documents Act, the Monitor and the Applicant are
authorized and permitted to disclose and transfer to the Buyer all human resources and payroll
information in the Applicant’s records pertaining to the Applicant’s past and current employees.
The Buyer shall maintain and protect the privacy of such information and shall be entitled to use
the personal information provided to it in a manner which is in all material respects identical to the
prior use of such information by the Applicant.

16.    THIS COURT ORDERS that, notwithstanding:

       (a)     the pendency of these proceedings;

       (b)     any applications for a bankruptcy or receivership order now or hereinafter issued
               pursuant to the Bankruptcy and Insolvency Act (Canada) (the “BIA”) or other
               applicable legislation, in respect of the Applicant or its property, and any
               bankruptcy or receivership order issued pursuant to any such applications; and

       (c)     any assignment in bankruptcy made in respect of the Applicant,

the entering into of the Asset Purchase Agreement and the vesting of the Purchased Assets in
the Buyer pursuant to this Order shall be binding on any trustee in bankruptcy or receiver that
may be appointed in respect of the Applicant and shall not be void or voidable by creditors of the
Applicant, nor shall it constitute nor be deemed to be a fraudulent preference, assignment,
fraudulent conveyance, transfer at undervalue, or other reviewable transaction under the BIA or
any other applicable federal or provincial legislation, nor shall it constitute oppressive or unfairly
prejudicial conduct pursuant to any applicable federal or provincial legislation.

REPAYMENT OF DIP FACILITY

17.    THIS COURT ORDERS that concurrently with or immediately following delivery of the
Monitor’s Certificate, the Applicant shall indefeasibly and irrevocably repay, or cause to be repaid,
in full in cash all obligations owing under the DIP Term Sheet (the “DIP Distribution”) and that
the Applicant is authorized to sign a direction at the time of closing the Transaction, in a form
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acceptable to the Monitor, irrevocably authorizing the Buyer to pay the DIP Distribution directly to
the DIP Lender. The DIP Distribution shall be free and clear of all Encumbrances and shall be
binding on any trustee in bankruptcy or receiver that may be appointed in respect of the Applicant
and shall not be void or voidable by creditors of the Applicant, nor shall it constitute nor be deemed
to be a fraudulent preference, a transfer at undervalue, a fraudulent conveyance or other
reviewable transaction under the BIA or any other applicable federal or provincial legislation, nor
shall it constitute oppressive or unfairly prejudicial conduct pursuant to any applicable federal or
provincial legislation.   Following payment of the DIP Distribution in accordance with this
paragraph, the DIP Lenders’ Charge shall be automatically released and terminated without any
further action.

PAYMENT TO FINANCIAL ADVISOR

18.     THIS COURT ORDERS that concurrently with or immediately following delivery of the
Monitor’s Certificate, the Applicant shall indefeasibly and irrevocably pay, or cause to be paid, in
full in cash all obligations owing to the Financial Advisor as secured by the Financial Advisor
Charge (the “Financial Advisor Payment”). The Financial Advisor Payment shall be free and
clear of all Encumbrances and shall be binding on any trustee in bankruptcy or receiver that may
be appointed in respect of the Applicant and shall not be void or voidable by creditors of the
Applicant, nor shall it constitute nor be deemed to be a fraudulent preference, a transfer at
undervalue, a fraudulent conveyance or other reviewable transaction under the BIA or any other
applicable federal or provincial legislation, nor shall it constitute oppressive or unfairly prejudicial
conduct pursuant to any applicable federal or provincial legislation. Following payment of the
Financial Advisor Payment, the Financial Advisor Charge shall be automatically released and
terminated without any further action.

RELEASES AND OTHER PROTECTIONS

19.     THIS COURT ORDERS that, effective as of the Closing Time, (a) the current and former
directors, officers, employees, legal counsel, agents and advisors of the Applicant and LoyaltyOne
Travel Services Co./Cie Des Voyages (“Travel Services”) (other than Joseph L. Motes III and
any other person who, at any time after November 5, 2021, has also served as a director, officer,
or employee of (i) Bread Financial Holdings, Inc. f/k/a Alliance Data Systems Corporation
(“Bread”) or (ii) any other entity that, at any time after November 5, 2021, was or is a direct or
indirect subsidiary of Bread); (b) the Monitor and its legal counsel and their respective present
and former directors, officers, partners, employees, agents and advisors; (c) the Buyer, its
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affiliates, and their respective current and former directors, officers, employees, agents, legal
counsel and advisors; (d) the DIP Lender, its affiliates, and their respective current and former
directors, officers, employees, agents, legal counsel and advisors; and (e) the Consenting
Stakeholders and their respective current and former directors, officers, employees, legal counsel,
agents and advisors (in such capacities, collectively, the “Released Parties” and each a
“Released Party”, which for greater certainty, do not include the Applicant or Travel Services)
shall be deemed to be forever irrevocably released by the Releasing Parties (as hereinafter
defined) and discharged from any and all present and future claims (including, without limitation,
claims for contribution or indemnity), liabilities, indebtedness, demands, actions, causes of action,
counterclaims, suits, damages, judgments, executions, recoupments, debts, sums of money,
expenses, accounts, liens, taxes, recoveries, and obligations of any nature or kind whatsoever
(whether direct or indirect, known or unknown, absolute or contingent, accrued or unaccrued,
liquidated or unliquidated, matured or unmatured or due or not yet due, in law or equity and
whether based in statute or otherwise) based in whole or in part on any act or omission,
transaction, dealing or other occurrence existing or taking place on or prior to the Closing Time
or undertaken or completed in connection with, in respect of, relating to, or arising out of (i) the
Applicant, Travel Services, the business, operations, assets, property and affairs of the Applicant
or Travel Services, wherever or however conducted or governed, the administration and/or
management of the Applicant or Travel Services, or this CCAA Proceeding, or (ii) the Asset
Purchase Agreement, the Closing Documents, the Transaction Support Agreement, any
agreement, document, instrument, matter or transaction involving the Applicant or Travel Services
arising in connection with or pursuant to any of the foregoing, and/or the consummation of the
Transaction (collectively, subject to the excluded matters below, the “Released Claims”), which
Released Claims shall be deemed to be fully, finally, irrevocably and forever waived, discharged,
released, cancelled and barred as against the Released Parties; provided that, nothing in this
paragraph shall waive, discharge, release, cancel or bar (x) any claim against a Released Party
that is not permitted to be released pursuant to section 5.1(2) of the CCAA or claim with respect
to any act or omission that is finally determined by a court of competent jurisdiction to have
constituted actual fraud, willful misconduct, or gross negligence, or (y) any obligations of any of
the Released Parties under or pursuant to the Asset Purchase Agreement, the Closing
Documents, the Transaction Support Agreement, the Definitive Documents and/or any
agreement, document, instrument, matter or transaction involving the Applicant or Travel Services
entered into pursuant to the foregoing. “Releasing Parties” means any and all Persons (other
than the Applicant and Travel Services and their respective current and former affiliates), and
their current and former affiliates, current and former members, directors, managers, officers,
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investment committee members, special committee members, equity holders (regardless of
whether such interests are held directly or indirectly), predecessors, successors, assigns,
participants, subsidiaries, affiliates, partners, limited partners, general partners, affiliated
investment funds or investment vehicles, managed accounts or funds, and each of their
respective current and former members, equity holders, officers, directors, managers, principals,
members, management companies, advisory board members, investment fund advisors or
managers, employees, agents, trustees, investment managers, financial advisors, partners, legal
counsel, accountants, investment bankers, consultants, representatives, and other professionals,
each in their capacity as such.

20.    THIS COURT ORDERS that, effective as of the Closing Time, the Released Parties shall
be deemed to be forever irrevocably released by each of the Applicant and Travel Services, and
discharged from, any and all Released Claims held by the Applicant or Travel Services as of the
Closing Time, which Released Claims shall be deemed to be fully, finally, irrevocably and forever
waived, discharged, released, cancelled and barred as against the Released Parties; provided
that, nothing in this paragraph shall waive, discharge, release, cancel or bar (a) any claim against
a Released Party that is not permitted to be released pursuant to section 5.1(2) of the CCAA or
claim with respect to any act or omission that is determined by a court of competent jurisdiction
to have constituted actual fraud, willful misconduct, or gross negligence; or (b) any obligations of
any of the Released Parties under or in connection with the Asset Purchase Agreement, the
Closing Documents, the Transaction Support Agreement, the Definitive Documents and/or any
agreement, document, instrument, matter or transaction involving the Applicant or Travel Services
arising in connection with or pursuant to any of the foregoing.

21.    THIS COURT ORDERS that any Claim that is not released pursuant to clause (x) of
paragraph 19 or clause (a) of paragraph 20 of this Order shall be irrevocably and forever limited
solely to recovery from the proceeds of any insurance policies payable on behalf of the Applicant
or Travel Services or their Directors and Officers in respect of any such Claim (each an
“Insurance Policy”), and such claimants shall have no right to, and shall not, directly or indirectly,
make any claim or seek any recoveries from any of the Directors or Officers in respect of any
such Claim, other than enforcing their rights to be paid from the proceeds of the applicable
insurance policies available to the Applicant or Travel Services. Nothing contained in this Order
prejudices, compromises, releases or otherwise affects any right, defence or obligation of any
insurer in respect of an Insurance Policy.
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22.      THIS COURT ORDERS that nothing in this Order shall (i) prejudice, compromise, release,
waive, discharge, cancel, bar or otherwise affect any present or future claim, liability,
indebtedness, demand, action, cause of action, counterclaim, suit, damage, judgment, execution,
recoupment, debt, sum of money, expense, account, lien, tax, recovery, and obligation of any
nature or kind whatsoever (whether direct or indirect, known or unknown, absolute or contingent,
accrued or unaccrued, liquidated or unliquidated, matured or unmatured or due or not yet due, in
law or equity and whether based in statute or otherwise) against or in respect of Joseph L. Motes
III and any other person who, at any time after November 5, 2021, has also served as a director,
officer, or employee of (a) Bread or (b) any other entity that, at any time after November 5, 2021,
was or is a direct or indirect subsidiary of Bread (collectively, the “Excluded Parties” and each,
an “Excluded Party”), which Excluded Parties, for greater certainty, shall not be, and shall not be
deemed to be, Released Parties, or (ii) limit recovery against any Excluded Party to the proceeds
of any insurance policies.

GENERAL

23.      THIS COURT ORDERS AND DECLARES that the Applicant, the Monitor or the Buyer
may apply to the Court as necessary to seek further orders and directions to give effect to this
Order.

24.      THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,
regulatory or administrative body having jurisdiction in Canada or in the United States to give
effect to this Order and to assist the Applicant, the Monitor and their respective agents in carrying
out the terms of this Order. All courts, tribunals, regulatory and administrative bodies are hereby
respectfully requested to make such orders and to provide such assistance to the Monitor, as an
officer of this Court, as may be necessary or desirable to give effect to this Order, to grant
representative status to the Monitor in any foreign proceeding or to assist the Applicant and the
Monitor and their respective agents in carrying out the terms of this Order.

25.      THIS COURTS ORDERS that this Order and all of its provisions are effective as of 12:01
a.m. Eastern Standard/Daylight Time on the date of this Order without any need for filing or entry.



                                                        ____________________________________
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                          Schedule “A” – Form of Monitor’s Certificate



                                                                            Court File No. __________

                                          ONTARIO
                                  SUPERIOR COURT OF JUSTICE
                                      COMMERCIAL LIST


                IN THE MATTER OF THE COMPANIES' CREDITORS
                ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED

                AND IN THE MATTER OF A PLAN OF COMPROMISE OR
                ARRANGEMENT OF LOYALTYONE, CO. (the “Applicant”)


                                     MONITOR’S CERTIFICATE

RECITALS

A.      Pursuant to an Order of the Honourable Justice [⚫] of the Ontario Superior Court of Justice
(Commercial List) (the “Court”) dated [⚫], 2023 (as amended and restated, and as may be further
amended and restated from time to time, the “Initial Order”), KSV Restructuring, Inc. was
appointed as monitor of the Applicant (in such capacity, the “Monitor”) in proceedings
commenced by the Applicant under the Companies’ Creditors Arrangement Act.

B.      Pursuant to the Approval and Vesting Order of the Court dated [⚫], 2023 (the “Approval
and Vesting Order”), the Court approved the Asset Purchase Agreement between the Applicant
and Bank of Montreal (the “Buyer”) dated [⚫], 2023 (the “Asset Purchase Agreement”),
providing for the vesting in the Buyer of all of the Applicant’s right, title and interest in and to all of
the Purchased Assets (as defined in the Asset Purchase Agreement), which vesting is to be
effective with respect to the Purchased Assets upon the delivery by the Monitor to the Buyer (or
its counsel) and the Applicant (or its counsel) of this Monitor’s Certificate.

C.      Unless otherwise indicated or defined herein, capitalized terms used in this Monitor’s
Certificate shall have the meanings given to them in the Approval and Vesting Order and/or the
Asset Purchase Agreement.

THE MONITOR CERTIFIES the following:
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1. The conditions to Closing set forth in the Asset Purchase Agreement have been satisfied or
   waived by the Applicant and the Buyer, as applicable.

2. The Buyer has paid and the Applicant has received the Purchase Price, subject to applicable
   adjustments (if any), for the Purchased Assets payable on the Closing Date pursuant to the
   Asset Purchase Agreement and/or the Approval and Vesting Order.

3. The Transaction has been completed to the satisfaction of the Applicant, the Monitor and the
   Buyer, respectively.

DATED at Toronto, Ontario this _______ day of _______________, 2023.




                                               KSV RESTRUCTURING INC., solely in its
                                               capacity as Monitor of the Applicant and not
                                               in its personal capacity

                                               Per:
                                                       Name:
                                                       Title:
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                        Schedule “B” – PPSA Registrations to be Released

•   Personal Property Security Act (Ontario) financing statement filed against the Applicant with
    registration number 20211027 1316 1590 1370 and reference file number 777686328 in
    favour of Bank of America, N.A., as Administrative Agent;

•   Personal Property Security Act (Alberta) financing statement filed against the Applicant with
    registration number 21102717456 in favour of Bank of America, N.A., as Administrative Agent;
    and

•   Personal Property Security Act (Nova Scotia) financing statement filed against the Applicant
    with registration number 35343458 in favour of Bank of America, N.A., as Administrative
    Agent.
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                                  Schedule “C” – Encumbrances

•   Encumbrances granted by the Applicant pursuant to, and in connection with, the Credit
    Agreement and the other Loan Documents (as defined therein).
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                             Schedule “D” – Permitted Encumbrances

1. Encumbrances in respect of the Reserve Agreement and the Security Agreement;

2. Encumbrances with respect to trust accounts required to be maintained by or for Travel Services
   under Applicable Law of the provincial travel and insurance regulators;

3. Encumbrances contained within any Assumed Contracts in favour of the counterparties to such
   Assumed Contracts;

4. Encumbrances associated with, and financing statements evidencing, the rights of equipment lessors
   under any of the Personal Property Leases that are registered under the PPSA;

5. Encumbrances in favour of the DIP Lender;

6. Encumbrances disclosed in a disclosure letter;

7. to the extent not included in the Encumbrances listed in #2 above in this Schedule “D”, normal and
   customary rights of setoff or compensation upon deposits in favour of depository institutions, and liens
   of a collecting bank on cheques and other payment items in the course of collection; and

8. the right reserved to or vested in any municipality or government, or to any statutory or public
   authority, by the terms of any lease, license, franchise, grant or permit acquired by the Applicant or
   any statutory provision to terminate any such lease, license, franchise, grant or permit, or to require
   annual or other periodic payments as a condition to the continuance thereof.
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IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF LOYALTYONE, CO.

                                                                                         Court File No. ⚫

                                                                                        ONTARIO
                                                                                SUPERIOR COURT OF JUSTICE
                                                                                    COMMERCIAL LIST

                                                                                PROCEEDING COMMENCED AT
                                                                                        TORONTO



                                                                               APPROVAL AND VESTING ORDER


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                                                                   Lawyers for the Applicant
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                                  EXHIBIT H
                            SISP APPROVAL ORDER




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                                                                             Court File No. CV-⚫

                                           ONTARIO
                               SUPERIOR COURT OF JUSTICE
                                      COMMERCIAL LIST

 THE HONOURABLE                                 )                                     ⚫, THE ⚫
                                                )
 JUSTICE CONWAY                                                         DAY OF MARCH, 2023
                                                )


               IN THE MATTER OF THE COMPANIES’ CREDITORS
               ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED


               AND IN THE MATTER OF A PLAN OF COMPROMISE OR
               ARRANGEMENT OF LOYALTYONE, CO.
                                                                                (the “Applicant”)



                                   SISP APPROVAL ORDER

       THIS MOTION, made by the Applicant pursuant to the Companies’ Creditors Arrangement
Act, R.S.C. 1985, c. C-36, as amended, for an order, inter alia, approving the Sale and Investment
Solicitation Process in respect of the business and assets of the Applicant and its affiliate,
LoyaltyOne Travel Services Co./Cie Des Voyages LoyaltyOne, in the form attached hereto as
Schedule “A” (the “SISP”) and certain related relief, was heard this day by judicial
videoconference via Zoom in Toronto, Ontario.

       ON READING the affidavit of Shawn Stewart sworn March [⚫], 2023 and the Exhibits
thereto (the “Stewart Affidavit”), the pre-filing report of KSV Restructuring Inc. (“KSV”) as the
proposed Monitor, and the first report of KSV as the Court-appointed monitor of the Applicant (in
such capacity, the “Monitor”) dated March [⚫], 2023, and on being advised that the secured
creditors who are likely to be affected by the charge created herein were given notice, and on
hearing the submissions of counsel for the Applicant, the Monitor, Bank of Montreal (the “Stalking
Horse Purchaser”), and the other parties listed on the counsel slip, no one appearing for any
other party although duly served as appears from the affidavit of service of Alec Hoy sworn March
[⚫], 2023,
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SERVICE AND DEFINITIONS

1.     THIS COURT ORDERS that the time for service of the Notice of Motion and the Motion

Record is hereby abridged and validated so that this Motion is properly returnable today and

hereby dispenses with further service thereof.


2.     THIS COURT ORDERS that capitalized terms used in this Order and not otherwise

defined herein shall have the meanings ascribed to them in the SISP, the Amended and Restated

Initial Order of this Court dated March [●], 2023 (the “ARIO”) or the Stewart Affidavit, as

applicable.


SALE AND INVESTMENT SOLICITATION PROCESS

3.     THIS COURT ORDERS that the SISP is hereby approved and the Applicant is hereby

authorized and directed to implement the SISP pursuant to the terms thereof. The Applicant, the

Monitor and the Financial Advisor are hereby authorized and directed to perform their respective

obligations and to do all things reasonably necessary to perform their obligations thereunder,

subject to prior approval of the Court being obtained before completion of any transaction(s) under

the SISP.


4.     THIS COURT ORDERS that the Applicant, the Monitor and the Financial Advisor and their

respective affiliates, partners, directors, officers, employees, legal advisors, representatives,

agents and controlling persons shall have no liability with respect to any and all losses, claims,

damages or liabilities of any nature or kind to any person in connection with or as a result of the

SISP, except to the extent of losses, claims, damages or liabilities that arise or result from the

gross negligence or wilful misconduct of the Applicant, the Monitor or the Financial Advisor, as

applicable, in performing their obligations under the SISP, as determined by this Court in a final

order that is not subject to appeal or other review.
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5.     THIS COURT ORDERS that in overseeing the SISP, the Monitor shall have all of the

benefits and protections granted to it under the CCAA, the ARIO and any other Order of this Court

in the within proceeding.


STALKING HORSE PURCHASE AGREEMENT

6.     THIS COURT ORDERS that the Applicant is hereby authorized and empowered to enter

into the purchase agreement dated March [●], 2023 (the “Stalking Horse Purchase

Agreement”) between the Applicant and the Stalking Horse Purchaser attached as Exhibit “O” to

the Stewart Affidavit, nunc pro tunc, and such minor amendments as may be acceptable to each

of the parties thereto and in consultation with the Consenting Stakeholders, with the approval of

the Monitor; provided that, nothing herein approves the sale and the vesting of any Property to

the Stalking Horse Purchaser (or any of its designees) pursuant to the Stalking Horse Purchase

Agreement and that the approval of any sale and vesting of any such Property shall be considered

by this Court on a subsequent motion made to this Court if the transaction set out in the Stalking

Horse Purchase Agreement is the Successful Bid pursuant to the SISP.


7.     THIS COURT ORDERS that, as soon as reasonably practicable following the Applicant

and the Stalking Horse Purchaser agreeing to any amendment to the Stalking Horse Purchase

Agreement permitted pursuant to the terms of this Order, the Applicant shall: (a) file a copy thereof

with this Court; (b) serve a copy thereof on the Service List; and (c) provide a copy thereof to each

SISP Participant (as hereinafter defined), excluding from the public record any confidential

information that the Applicant and the Stalking Horse Purchaser, with the consent of the Monitor,

agree should be redacted.


BID PROTECTONS


8.     THIS COURT ORDERS that the Bid Protections are hereby approved and the Applicant

is hereby authorized and directed to pay the Bid Protections to the Stalking Horse Purchaser (or
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to such other person as it may direct) in the manner and circumstances described in the Stalking

Horse Purchase Agreement.


9.      THIS COURT ORDERS that the Stalking Horse Purchaser shall be entitled to the benefit

of and is hereby granted a charge (the “Bid Protections Charge”) on the Property, which charge

shall not exceed US$4,000,000, as security for payment of the Bid Protections in the manner and

circumstances described in the Stalking Horse Purchase Agreement.


10.     THIS COURT ORDERS that the filing, registration or perfection of the Bid Protections

Charge shall not be required, and that the Bid Protections Charge shall be valid and enforceable

for all purposes, including against any right, title or interest filed, registered, recorded or perfected

subsequent to the Bid Protections Charge, notwithstanding any such failure to file, register, record

or perfect.


11.     THIS COURT ORDERS that the Bid Protections Charge shall constitute a charge on the

Property and the Bid Protections Charge shall rank in priority to all other Encumbrances in favour

of any Person notwithstanding the order of perfection or attachment, other than (i) any Person

with a properly perfected purchase money security interest under the Personal Property Security

Act (Ontario) or such other applicable legislation, including without limitation Wells Fargo

Equipment Finance Company; (ii) the Reserve Trustee in respect of the Reserve Security; and

(iii) the Charges.


12.     THIS COURT ORDERS that except for the Charges or as may be approved by this Court

on notice to parties in interest, the Applicant shall not grant any Encumbrances over any Property

that rank in priority to, or pari passu with, the Bid Protections Charge, unless the Applicant also

obtains the prior written consent of the Monitor and the Stalking Horse Purchaser, or further Order

of this Court.
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13.    THIS COURT ORDERS that the Bid Protections Charge shall not be rendered invalid or

unenforceable and the rights and remedies of the Stalking Horse Purchaser shall not otherwise

be limited or impaired in any way by: (i) the pendency of these proceedings and the declarations

of insolvency made herein; (ii) any application(s) for bankruptcy order(s) or receivership order(s)

issued pursuant to the Bankruptcy and Insolvency Act (Canada) (the “BIA”) or otherwise, or any

bankruptcy order or receivership order made pursuant to such applications; (iii) the filing of any

assignments for the general benefit of creditors made pursuant to the BIA; (iv) the provisions of

any federal or provincial statutes; or (v) any negative covenants, prohibitions or other similar

provisions with respect to borrowings, incurring debt or the creation of Encumbrances, contained

in any existing loan documents, lease, sublease, offer to lease or other agreement (collectively,

an “Agreement”) which binds the Applicant, and notwithstanding any provision to the contrary in

any Agreement:


       (a)     neither the creation of the Bid Protections Charge nor the execution, delivery,

               perfection, registration or performance of the Stalking Horse Purchase Agreement

               shall create, cause or be deemed to constitute a breach by the Applicant of any

               Agreement to which it is a party;


       (b)     the Stalking Horse Purchaser shall not have any liability to any Person whatsoever

               as a result of any breach of any Agreement caused by or resulting from the creation

               of the Bid Protection Charge or the execution, delivery or performance of the

               Stalking Horse Purchase Agreement; and


       (c)     the payments made by the Applicant pursuant to this Order, the Stalking Horse

               Purchase Agreement and the granting of the Bid Protection Charge, do not and

               will not constitute preferences, fraudulent conveyances, transfers at undervalue,

               oppressive conduct, or other challengeable or voidable transactions under any

               applicable law.
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14.      THIS COURT ORDERS that the Bid Protection Charge created by this Order over leases

of real property in Canada shall only be a charge in the Applicant's interest in such real property

lease.


15.      THIS COURT ORDERS AND DECLARES that the Stalking Horse Purchaser, with respect

to the Bid Protections Charge only, shall be treated as unaffected in any plan of arrangement or

compromise filed by the Applicant under the CCAA, or any proposal filed by the Applicant under

the BIA.


PIPEDA

16.      THIS COURT ORDERS that, pursuant to clause 7(3)(c) of the Personal Information

Protection and Electronic Documents Act, S.C. 2000, c. 5 and any similar legislation in any other

applicable jurisdictions the Monitor, the Applicant, the Financial Advisor and their respective

advisors are hereby authorized and permitted to disclose and transfer to prospective SISP

participants that are party to a non-disclosure agreement with the Applicant (each, a “SISP

Participant”) and their respective advisors personal information of identifiable individuals, but

only to the extent required to negotiate or attempt to complete a transaction pursuant to the SISP

(a “Transaction”). Each SISP Participant to whom such personal information is disclosed shall

maintain and protect the privacy of such information and limit the use of such information to its

evaluation for the purpose of effecting a Transaction, and, if it does not complete a Transaction,

shall return all such information to the Monitor, the Financial Advisor or the Applicant, or, in the

alternative, destroy all such information and provide confirmation of its destruction if requested by

the Monitor, the Financial Advisor or the Applicant. Any bidder with a Successful Bid shall maintain

and protect the privacy of such information and, upon closing of the Transaction(s) contemplated

in the Successful Bid(s), shall be entitled to use the personal information provided to it that is

related to the Business and/or Property acquired pursuant to the SISP in a manner that is in all

material respects identical to the prior use of such information by the Applicant, and shall return
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all other personal information to the Monitor, the Financial Advisor or the Applicant, or ensure that

all other personal information is destroyed and provide confirmation of its destruction if requested

by the Monitor, the Financial Advisor or the Applicant.


GENERAL

17.     THIS COURT ORDERS that this Order shall have full force and effect in all provinces and

territories in Canada.


18.     THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal and

regulatory or administrative bodies, having jurisdiction in Canada or in any other foreign

jurisdiction, to give effect to this Order and to assist the Applicant, the Monitor, and their respective

agents in carrying out the terms of this Order. All courts, tribunals and regulatory and

administrative bodies are hereby respectfully requested to make such orders and to provide such

assistance to the Applicant and the Monitor, as an officer of this Court, as may be necessary or

desirable to give effect to this Order or to assist the Applicant and the Monitor and their respective

agents in carrying out the terms of this Order.


19.     THIS COURT ORDERS that this Order and all of its provisions are effective as of

12:01 a.m. (Eastern Time) on the date of this Order without the need for entry or filing.




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                          SCHEDULE “A”
            SALE AND INVESTMENT SOLICITATION PROCESS
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IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c. C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF LOYALTYONE, CO.

                                                                                         Court File No. ⚫

                                                                                        ONTARIO
                                                                                SUPERIOR COURT OF JUSTICE
                                                                                    COMMERCIAL LIST

                                                                                PROCEEDING COMMENCED AT
                                                                                        TORONTO


                                                                                    SISP APPROVAL ORDER


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                                                                   Lawyers for the Applicant
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                                       EXHIBIT I
                                  JOINDER AGREEMENT

                                            [•], 2023

       The undersigned (“Transferee”) hereby acknowledges that it has read and understands the
Transaction Support Agreement, dated as of [•], 2023 (as amended, supplemented or otherwise
modified from time to time, the “Agreement”), by and among the Company Parties and the
Consenting Stakeholders. Capitalized terms used and not otherwise defined herein shall have the
meanings set forth in the Agreement.

        1.       Agreement to be Bound. The Transferee hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached hereto as Annex I (as the same has been or
may be hereafter amended, restated or otherwise modified from time to time in accordance with
the provisions hereof). The Transferee shall hereafter be deemed to be a “Consenting Stakeholder”
and a “Party” for all purposes under the Agreement and with respect to all claims against and
interests in the Company Parties held such Transferee.

        2.     Representations and Warranties. The Transferee hereby makes the representations
and warranties of the Consenting Stakeholder set forth in Section 7 of the Agreement to each other
Party to the Agreement.

         3.    Governing Law. This joinder agreement (the “Joinder Agreement”) to the
Agreement shall be governed by and construed in accordance with the internal laws of the State of
New York, without regard to any conflicts of law provisions which would require the application
of the law of any other jurisdiction.

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       IN WITNESS WHEREOF, the Transferee has caused this Joinder Agreement to be
executed as of the date first written above.

                                                Name of Transferor:


                                                Name of Transferee:


                                                By:
                                                      Name:
                                                      Title:


                                                       Address:




                                                       Email address(es):



 Aggregate Amounts Beneficially Owned or Managed on Account of:
 Credit Agreement – Term A Loan
 Credit Agreement – Term B Loan
 Credit Agreement – Revolving Credit Exposure
 Equity Interests




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                      ANNEX I TO JOINDER AGREEMENT
                     TRANSACTION SUPPORT AGREEMENT




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